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          $66(76$1'/,$%,/,7,(6$1'67$7(0(1762)),1$1&,$/$))$,56

                                                     ,QWURGXFWLRQ

        L+HDUW0HGLD,QF³L+HDUW´DQGLWVGHEWRUDIILOLDWHVDVGHEWRUVDQGGHEWRUVLQSRVVHVVLRQ
LQWKHDERYHFDSWLRQHGFKDSWHUFDVHVFROOHFWLYHO\WKH³'HEWRUV´ZLWKWKHDVVLVWDQFHRIWKHLU
DGYLVRUV KDYH ILOHG WKHLU UHVSHFWLYH 6FKHGXOHV RI $VVHWV DQG /LDELOLWLHV WKH³6FKHGXOHV´ DQG
6WDWHPHQWVRI)LQDQFLDO$IIDLUVWKH³6WDWHPHQWV´DQGWRJHWKHUZLWKWKH6FKHGXOHVWKH³6FKHGXOHV
DQG 6WDWHPHQWV´ ZLWK WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH 6RXWKHUQ 'LVWULFW RI 7H[DV
WKH³%DQNUXSWF\&RXUW´XQGHUVHFWLRQRIWLWOHRIWKH8QLWHG6WDWHV&RGHWKH³%DQNUXSWF\
&RGH´5XOHRIWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHWKH³%DQNUXSWF\5XOHV´DQG
5XOHRIWKH%DQNUXSWF\/RFDO5XOHVIRUWKH6RXWKHUQ'LVWULFWRI7H[DVWKH³%DQNUXSWF\
/RFDO5XOHV´

        7KHVH Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs WKH ³*OREDO 1RWHV´
SHUWDLQWRDUHLQFRUSRUDWHGE\UHIHUHQFHLQDQGFRPSULVHDQLQWHJUDOSDUWRIDOORIWKH'HEWRUV¶
6FKHGXOHVDQG6WDWHPHQWV7KH*OREDO1RWHVVKRXOGEHUHIHUUHGWRFRQVLGHUHGDQGUHYLHZHGLQ
FRQQHFWLRQZLWKDQ\UHYLHZRIWKH6FKHGXOHVDQG6WDWHPHQWV

        7KH6FKHGXOHVDQG6WDWHPHQWVGRQRWSXUSRUWWRUHSUHVHQWILQDQFLDOVWDWHPHQWVSUHSDUHGLQ
DFFRUGDQFHZLWK*HQHUDOO\$FFHSWHG$FFRXQWLQJ3ULQFLSOHVLQWKH8QLWHG6WDWHV³*$$3´QRU
DUHWKH\LQWHQGHGWREHIXOO\UHFRQFLOHGZLWKWKHILQDQFLDOVWDWHPHQWVRIHDFK'HEWRU$GGLWLRQDOO\
WKH6FKHGXOHVDQG6WDWHPHQWVFRQWDLQXQDXGLWHGLQIRUPDWLRQWKDWLVVXEMHFWWRIXUWKHUUHYLHZDQG


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       'XHWRWKHODUJHQXPEHURI'HEWRUVLQWKHVHFKDSWHUFDVHVIRUZKLFKMRLQWDGPLQLVWUDWLRQKDVEHHQ
        JUDQWHGDFRPSOHWHOLVWRIWKH'HEWRUVDQGWKHODVWIRXUGLJLWVRIWKHLUWD[LGHQWLILFDWLRQUHJLVWUDWLRQRU
        OLNH QXPEHUV LV QRW SURYLGHG KHUHLQ  $ FRPSOHWH OLVW RI VXFK LQIRUPDWLRQ PD\ EH REWDLQHG RQ WKH
        ZHEVLWHRIWKH'HEWRUV¶FODLPVDQGQRWLFLQJDJHQWDWKWWSVFDVHVZZZSULPHFOHUNFRPLKHDUWPHGLD
        7KHORFDWLRQRI'HEWRUL+HDUW0HGLD,QF¶VSULQFLSDOSODFHRIEXVLQHVVDQGWKH'HEWRUV¶VHUYLFHDGGUHVV
        LQWKHVHFKDSWHUFDVHVLV6WRQH2DN3DUNZD\6DQ$QWRQLR7H[DV

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SRWHQWLDODGMXVWPHQWDQGUHIOHFWVWKH'HEWRUV¶UHDVRQDEOHHIIRUWVWRUHSRUWWKHDVVHWVDQGOLDELOLWLHV
RIHDFK'HEWRURQDQXQFRQVROLGDWHGEDVLV

         7KH 'HEWRUV DQG WKHLU DJHQWV DWWRUQH\V DQG DGYLVRUV GR QRW JXDUDQWHH RU ZDUUDQW WKH
DFFXUDF\RUFRPSOHWHQHVVRIWKHGDWDWKDWLVSURYLGHGKHUHLQDQGVKDOOQRWEHOLDEOHIRUDQ\ORVVRU
LQMXU\ DULVLQJ RXW RI RU FDXVHG LQ ZKROH RU LQ SDUW E\ WKH DFWV HUURUV RU RPLVVLRQV ZKHWKHU
QHJOLJHQW RU RWKHUZLVH LQ SURFXULQJ FRPSLOLQJ FROOHFWLQJ LQWHUSUHWLQJ UHSRUWLQJ
FRPPXQLFDWLQJ RU GHOLYHULQJWKH LQIRUPDWLRQFRQWDLQHGKHUHLQ:KLOHUHDVRQDEOHHIIRUWV KDYH
EHHQPDGHWRSURYLGHDFFXUDWHDQGFRPSOHWHLQIRUPDWLRQKHUHLQLQDGYHUWHQWHUURUVRURPLVVLRQV
PD\H[LVW7KH'HEWRUVDQGWKHLUDJHQWVDWWRUQH\VDQGDGYLVRUVH[SUHVVO\GRQRWXQGHUWDNHDQ\
REOLJDWLRQWRXSGDWHPRGLI\UHYLVHRUUHFDWHJRUL]HWKHLQIRUPDWLRQSURYLGHGKHUHLQRUWRQRWLI\
DQ\ WKLUG SDUW\ VKRXOG WKH LQIRUPDWLRQ EH XSGDWHG PRGLILHG UHYLVHG RU UHFDWHJRUL]HG  ,Q QR
HYHQWVKDOOWKH'HEWRUVRUWKHLUDJHQWVDWWRUQH\VDQGDGYLVRUVEHOLDEOHWRDQ\WKLUGSDUW\IRUDQ\
GLUHFWLQGLUHFWLQFLGHQWDOFRQVHTXHQWLDORUVSHFLDOGDPDJHVLQFOXGLQJGDPDJHVDULVLQJIURPWKH
GLVDOORZDQFH RI D SRWHQWLDO FODLP DJDLQVW WKH 'HEWRUV RU GDPDJHV WR EXVLQHVV UHSXWDWLRQ ORVW
EXVLQHVVRUORVWSURILWVZKHWKHUIRUHVHHDEOHRUQRWDQGKRZHYHUFDXVHGHYHQLIWKH'HEWRUVRU
WKHLUDJHQWVDWWRUQH\VDQGDGYLVRUVDUHDGYLVHGRIWKHSRVVLELOLW\RIVXFKGDPDJHV

        0U6FRWW +DPLOWRQ 6HQLRU 9LFH 3UHVLGHQW &KLHI $FFRXQWLQJ 2IILFHU DQG $VVLVWDQW
6HFUHWDU\ RI 'HEWRU L+HDUW0HGLD ,QF KDV VLJQHG HDFK RI WKH 6FKHGXOHV DQG 6WDWHPHQWV  0U
+DPLOWRQ LV DQ DXWKRUL]HG VLJQDWRU\ IRU HDFK RI WKH 'HEWRUV  ,Q UHYLHZLQJ DQG VLJQLQJ WKH
6FKHGXOHVDQG6WDWHPHQWV0U+DPLOWRQQHFHVVDULO\KDVUHOLHGXSRQWKHHIIRUWVVWDWHPHQWVDQG
UHSUHVHQWDWLRQVRIYDULRXVSHUVRQQHOHPSOR\HGE\WKH'HEWRUVDQGWKHLUDGYLVRUV0U+DPLOWRQ
KDVQRWDQGFRXOGQRWKDYHSHUVRQDOO\YHULILHGWKHDFFXUDF\RIHDFKVWDWHPHQWDQGUHSUHVHQWDWLRQ
FRQWDLQHGLQWKH6FKHGXOHVDQG6WDWHPHQWVLQFOXGLQJVWDWHPHQWVDQGUHSUHVHQWDWLRQVFRQFHUQLQJ
DPRXQWVRZHGWRFUHGLWRUVFODVVLILFDWLRQRIVXFKDPRXQWVDQGFUHGLWRUDGGUHVVHV

                                        *OREDO1RWHVDQG2YHUYLHZRI0HWKRGRORJ\

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            DQGDFFXUDWH6FKHGXOHVDQG6WDWHPHQWVEXWLQDGYHUWHQWHUURUVRURPLVVLRQVPD\H[LVW7KH
            'HEWRUVUHVHUYHDOOULJKWVWRLDPHQGRUVXSSOHPHQWWKH6FKHGXOHVDQG6WDWHPHQWVIURP
            WLPH WR WLPH LQ DOO UHVSHFWV DV PD\ EH QHFHVVDU\ RU DSSURSULDWH LQFOXGLQJ WKH ULJKW WR
            DPHQGWKH6FKHGXOHVDQG6WDWHPHQWVZLWKUHVSHFWWRWKHGHVFULSWLRQGHVLJQDWLRQRU'HEWRU
            DJDLQVWZKLFKDQ\FODLPDJDLQVWD'HEWRU³&ODLP´LVDVVHUWHGLLGLVSXWHRURWKHUZLVH
            DVVHUW RIIVHWV RU GHIHQVHV WR DQ\ &ODLP UHIOHFWHG LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV DV WR
            DPRXQWOLDELOLW\SULRULW\VWDWXVRUFODVVLILFDWLRQLLLVXEVHTXHQWO\GHVLJQDWHDQ\&ODLP
            DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´ RU LY REMHFW WR WKH H[WHQW YDOLGLW\
            HQIRUFHDELOLW\SULRULW\RUDYRLGDELOLW\RIDQ\&ODLPUHJDUGOHVVRIZKHWKHURIVXFK&ODLP
            LV GHVLJQDWHG LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU
            ³XQOLTXLGDWHG´  $Q\ IDLOXUH WR GHVLJQDWH D &ODLP LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV DV
            ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´ GRHV QRW FRQVWLWXWH DQ DGPLVVLRQ E\ WKH
            'HEWRUV WKDW VXFK &ODLP RU DPRXQW LV QRW ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´

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        RIWKH%DQNUXSWF\&RGH

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        /LVWLQJD&ODLPGRHVQRWFRQVWLWXWHDQDGPLVVLRQRIOLDELOLW\E\WKH'HEWRUDJDLQVWZKLFK
        WKH&ODLPLVOLVWHGRUDJDLQVWDQ\RIWKH'HEWRUV)XUWKHUPRUHQRWKLQJFRQWDLQHGLQWKH
        6FKHGXOHVDQG6WDWHPHQWVVKDOOFRQVWLWXWHDZDLYHURIULJKWVZLWKUHVSHFWWRWKH'HEWRUV¶
        FKDSWHUFDVHVLQFOXGLQJLVVXHVLQYROYLQJ&ODLPVVXEVWDQWLYHFRQVROLGDWLRQGHIHQVHV
        HTXLWDEOHVXERUGLQDWLRQDQGRUFDXVHVRIDFWLRQDULVLQJXQGHUWKHSURYLVLRQVRIFKDSWHU
        RIWKH%DQNUXSWF\&RGHDQGDQ\RWKHUUHOHYDQWQRQEDQNUXSWF\ODZVWRUHFRYHUDVVHWVRU
        DYRLGWUDQVIHUV$Q\VSHFLILFUHVHUYDWLRQRUULJKWVFRQWDLQHGHOVHZKHUHLQWKH*OREDO1RWHV
        GRHVQRWOLPLWLQDQ\UHVSHFWWKHJHQHUDOUHVHUYDWLRQRIULJKWVFRQWDLQHGLQWKLVSDUDJUDSK
        1RWZLWKVWDQGLQJWKHIRUHJRLQJWKH'HEWRUVVKDOOQRWEHUHTXLUHGWRXSGDWHWKH6FKHGXOHV
        DQG6WDWHPHQWV

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        'DWH´WKH'HEWRUVILOHGYROXQWDU\SHWLWLRQVIRUUHOLHIXQGHUFKDSWHURIWKH%DQNUXSWF\
        &RGH

        7KHDVVHWLQIRUPDWLRQSURYLGHGKHUHLQUHSUHVHQWVWKHDVVHWGDWDRIWKH'HEWRUVDVRIWKH
        3HWLWLRQ 'DWH H[FHSW DV RWKHUZLVH QRWHG 7KH OLDELOLW\ LQIRUPDWLRQ SURYLGHG KHUHLQ
        UHSUHVHQWVWKHRXWVWDQGLQJSUHSHWLWLRQOLDELOLWLHVDVRIWKHGDWHRIILOLQJWKH6FKHGXOHV

     1HW %RRN 9DOXH RI $VVHWV  8QOHVV RWKHUZLVH LQGLFDWHG WKH 'HEWRUV¶ 6FKHGXOHV DQG
        6WDWHPHQWVUHIOHFWQHWERRNYDOXHVDVRI0DUFK7KHERRNYDOXHVRIFHUWDLQDVVHWV
        PD\PDWHULDOO\GLIIHUIURPWKHLUIDLUPDUNHWYDOXHVDQGRUWKH'HEWRUV¶HQWHUSULVHYDOXDWLRQ
        WKDWZLOOEHSUHSDUHGLQFRQQHFWLRQZLWKWKHGLVFORVXUHVWDWHPHQWWRWKH'HEWRUV¶FKDSWHU
        SODQRIUHRUJDQL]DWLRQ)RUWKHDYRLGDQFHRIGRXEWQRWKLQJFRQWDLQHGLQWKH6FKHGXOHV
        DQG6WDWHPHQWVLVLQGLFDWLYHRIWKH'HEWRUV¶HQWHUSULVHYDOXH

        %RRN YDOXHV RI DVVHWV SUHSDUHG LQ DFFRUGDQFH ZLWK *$$3 JHQHUDOO\ GR QRW UHIOHFW WKH
        FXUUHQWSHUIRUPDQFHRIWKHDVVHWVRUWKHLPSDFWRIWKHLQGXVWU\HQYLURQPHQWDQGPD\GLIIHU
        PDWHULDOO\IURPWKHDFWXDOYDOXHDQGRUSHUIRUPDQFHRIWKHXQGHUO\LQJDVVHWV

     5HFKDUDFWHUL]DWLRQ  1RWZLWKVWDQGLQJ WKH 'HEWRUV¶ UHDVRQDEOH HIIRUWV WR SURSHUO\
        FKDUDFWHUL]HFODVVLI\FDWHJRUL]HRUGHVLJQDWHFHUWDLQ&ODLPVDVVHWVH[HFXWRU\FRQWUDFWV
        XQH[SLUHGOHDVHVDQGRWKHULWHPVUHSRUWHGLQWKH6FKHGXOHVDQG6WDWHPHQWVWKH'HEWRUV
        PD\ QHYHUWKHOHVV KDYH LPSURSHUO\ FKDUDFWHUL]HG FODVVLILHG FDWHJRUL]HG GHVLJQDWHG RU
        RPLWWHG FHUWDLQ LWHPV GXH WR WKH FRPSOH[LW\ DQG VL]H RI WKH 'HEWRUV¶ EXVLQHVVHV
        $FFRUGLQJO\ WKH 'HEWRUV UHVHUYH DOO RI WKHLU ULJKWV WR UHFKDUDFWHUL]H UHFODVVLI\
        UHFDWHJRUL]HUHGHVLJQDWHDGGRUGHOHWHLWHPVUHSRUWHGLQWKH6FKHGXOHVDQG6WDWHPHQWVDW
        D ODWHU WLPH DV LV QHFHVVDU\ RU DSSURSULDWH DV DGGLWLRQDO LQIRUPDWLRQ EHFRPHV DYDLODEOH
        LQFOXGLQJZKHWKHUFRQWUDFWVRUOHDVHVOLVWHGKHUHLQZHUHGHHPHGH[HFXWRU\RUXQH[SLUHG
        DVRIWKH3HWLWLRQ'DWHDQGUHPDLQH[HFXWRU\DQGXQH[SLUHGSRVWSHWLWLRQ

     /LDELOLWLHV 7KH 'HEWRUV KDYH VRXJKW WR DOORFDWH OLDELOLWLHV EHWZHHQ WKHSUHSHWLWLRQ DQG
        SRVWSHWLWLRQSHULRGVEDVHGRQWKHLQIRUPDWLRQDQGUHVHDUFKFRQGXFWHGLQFRQQHFWLRQZLWK
        WKH SUHSDUDWLRQ RI WKH 6FKHGXOHV DQG 6WDWHPHQWV  $V DGGLWLRQDO LQIRUPDWLRQ EHFRPHV
        DYDLODEOH DQG IXUWKHU UHVHDUFK LV FRQGXFWHG WKH DOORFDWLRQ RI OLDELOLWLHV EHWZHHQ WKH
        SUHSHWLWLRQDQGSRVWSHWLWLRQSHULRGVPD\FKDQJH$FFRUGLQJO\WKH'HEWRUVUHVHUYHDOORI


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        WKHLUULJKWVWRDPHQGVXSSOHPHQWRURWKHUZLVHPRGLI\WKH6FKHGXOHVDQG6WDWHPHQWVDVLV
        QHFHVVDU\RUDSSURSULDWH

     ([FOXGHG$VVHWVDQG/LDELOLWLHV7KH'HEWRUVKDYHH[FOXGHGFHUWDLQFDWHJRULHVRIDVVHWV
        WD[DFFUXDOVDQGOLDELOLWLHVIURPWKH6FKHGXOHVDQG6WDWHPHQWVLQFOXGLQJHPSOR\HHEHQHILW
        DFFUXDOVDQGLQVRPHLQVWDQFHVDFFUXHGDFFRXQWVSD\DEOH,QDGGLWLRQFHUWDLQLPPDWHULDO
        DVVHWVDQGOLDELOLWLHVPD\KDYHEHHQH[FOXGHG

        7KH %DQNUXSWF\ &RXUW KDV DXWKRUL]HG EXW QRW GLUHFWHG WKH 'HEWRUV WR SD\ LQ WKHLU
        GLVFUHWLRQ FHUWDLQ RXWVWDQGLQJ &ODLPV RQ D SRVWSHWLWLRQ EDVLV  $V GLVFXVVHG EHORZ
        SUHSHWLWLRQOLDELOLWLHVWKDWWKH'HEWRUVKDYHSDLGSRVWSHWLWLRQSXUVXDQWWRUHOLHIJUDQWHGE\
        WKHFRXUWPD\QRWEHOLVWHGLQWKH6FKHGXOHVDQG6WDWHPHQWV

     ,QVLGHUV)RUSXUSRVHVRIWKH6FKHGXOHVDQG6WDWHPHQWVWKH'HEWRUVGHILQHG³LQVLGHUV´
        SXUVXDQW WR VHFWLRQ  RI WKH %DQNUXSWF\ &RGH DV  D GLUHFWRUV E RIILFHUV
        FSHUVRQVLQFRQWURORIWKH'HEWRUVGUHODWLYHVRIWKH'HEWRUV¶GLUHFWRUVRIILFHUVRU
        SHUVRQV LQ FRQWURO RI WKH 'HEWRUV DQG H GHEWRUQRQGHEWRU DIILOLDWHV RI WKH IRUHJRLQJ
        3HUVRQV OLVWHG DV ³LQVLGHUV´ KDYH EHHQ LQFOXGHG IRU LQIRUPDWLRQDO SXUSRVHV RQO\ DQG E\
        LQFOXGLQJWKHPLQWKH6FKHGXOHVVKDOOQRWFRQVWLWXWHDQDGPLVVLRQWKDWWKRVHSHUVRQVDUH
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        GRQRWWDNHDQ\SRVLWLRQZLWKUHVSHFWWRDDQ\LQVLGHU¶VLQIOXHQFHRYHUWKHFRQWURORIWKH
        'HEWRUV E WKH PDQDJHPHQW UHVSRQVLELOLWLHV RU IXQFWLRQV RI DQ\ VXFK LQVLGHU F WKH
        GHFLVLRQPDNLQJRUFRUSRUDWHDXWKRULW\RIDQ\VXFKLQVLGHURUGZKHWKHUWKH'HEWRUVRU
        DQ\VXFKLQVLGHUFRXOGVXFFHVVIXOO\DUJXHWKDWKHRUVKHLVQRWDQ³LQVLGHU´XQGHUDSSOLFDEOH
        ODZRUZLWKUHVSHFWWRDQ\WKHRULHVRIOLDELOLW\RUIRUDQ\RWKHUSXUSRVH

     3HUVRQDO,GHQWLILFDWLRQ,QIRUPDWLRQ3XUVXDQWWRWKHOrder (I) Authorizing the Debtors
        to File a Consolidated List of Creditors and a Consolidated List of the 30 Largest
        Unsecured Creditors, (II) Authorizing the Debtors to Redact Certain Personal
        Identification Information, (III) Approving the Form and Manner of Notifying Creditors of
        the Commencement of These Chapter 11 Cases, and (IV) Granting Related Relief>'RFNHW
        1R@WKH'HEWRUVKDYHUHGDFWHGFHUWDLQSHUVRQDOLGHQWLILFDWLRQLQIRUPDWLRQFRQWDLQHG
        LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV  3D\PHQWV PDGH WR LQGLYLGXDOV LQFOXGLQJ LQVLGHUV DV
        GLVFXVVHG DERYH DQG FHUWDLQ RWKHU LQVWDQFHV ZKHUH SHUVRQDOO\ LGHQWLILDEOH LQIRUPDWLRQ
        FRXOGRWKHUZLVHEHGLVFORVHGKDYHEHHQUHSRUWHGZLWKRXWGLVFORVLQJSHUVRQDOO\LGHQWLILDEOH
        LQIRUPDWLRQ,QDGGLWLRQSD\PHQWVWRRUIRUWKHEHQHILWRILQVLGHUVKDYHEHHQGLVFORVHGLQ
        DJJUHJDWH DPRXQWV ZLWKRXW VHSDUDWHO\ LGHQWLI\LQJ DPRXQWV SDLG WR D JLYHQ LQVLGHU RU
        RWKHUZLVHGLVFORVLQJSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQ

     ,QWHOOHFWXDO 3URSHUW\ 5LJKWV  ([FOXVLRQ RI FHUWDLQ LQWHOOHFWXDO SURSHUW\ VKDOO QRW EH
        FRQVWUXHG DV DQ DGPLVVLRQ WKDW VXFK LQWHOOHFWXDO SURSHUW\ ULJKWV KDYH EHHQ DEDQGRQHG
        WHUPLQDWHGDVVLJQHGH[SLUHGE\WKHLUWHUPVRURWKHUZLVHWUDQVIHUUHGSXUVXDQWWRDVDOH
        DFTXLVLWLRQRURWKHUWUDQVDFWLRQ&RQYHUVHO\LQFOXVLRQRIFHUWDLQLQWHOOHFWXDOSURSHUW\VKDOO
        QRWEHFRQVWUXHGWREHDQDGPLVVLRQWKDWVXFKLQWHOOHFWXDOSURSHUW\ULJKWVKDYHQRWEHHQ
        DEDQGRQHGKDYHQRWEHHQWHUPLQDWHGRURWKHUZLVHH[SLUHGE\WKHLUWHUPVRUKDYHQRWEHHQ
        DVVLJQHGRURWKHUZLVHWUDQVIHUUHGSXUVXDQWWRDVDOHDFTXLVLWLRQRURWKHUWUDQVDFWLRQ7KH
        'HEWRUV KDYH PDGH HYHU\ HIIRUW WR DWWULEXWH LQWHOOHFWXDO SURSHUW\ WR WKH ULJKWIXO 'HEWRU

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        RZQHU+RZHYHULQVRPHLQVWDQFHVLQWHOOHFWXDOSURSHUW\RZQHGE\RQH'HEWRUPD\LQ
        IDFWEHRZQHGE\DQRWKHU$FFRUGLQJO\WKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFW
        WRWKHOHJDOVWDWXVRIDQ\DQGDOOVXFKLQWHOOHFWXDOSURSHUW\ULJKWV

    ([HFXWRU\ &RQWUDFWV  $OWKRXJK WKH 'HEWRUV PDGH UHDVRQDEOH HIIRUWV WR DWWULEXWH DQ
        H[HFXWRU\ FRQWUDFW WR LWV ULJKWIXO 'HEWRU LQ FHUWDLQ LQVWDQFHV WKH 'HEWRUV PD\ KDYH
        LQDGYHUWHQWO\IDLOHGWRGRVRGXHWRWKHFRPSOH[LW\DQGVL]HRIWKH'HEWRUV¶EXVLQHVVHV
        $FFRUGLQJO\WKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFWWRWKHQDPHGSDUWLHVRIDQ\
        DQGDOOH[HFXWRU\FRQWUDFWVLQFOXGLQJWKHULJKWWRDPHQG6FKHGXOH*

    &ODVVLILFDWLRQV/LVWLQJDD&ODLPRQ6FKHGXOH'DV³VHFXUHG´ED&ODLPRQ6FKHGXOH
        ()DV³SULRULW\´FD&ODLPRQ6FKHGXOH()DV³XQVHFXUHG´RUGDFRQWUDFWRQ6FKHGXOH
        *DV³H[HFXWRU\´RU³XQH[SLUHG´GRHVQRWFRQVWLWXWHDQDGPLVVLRQE\WKH'HEWRUVRIWKH
        OHJDOULJKWVRIWKHFODLPDQWRUDZDLYHURIWKH'HEWRUV¶ULJKWVWRUHFKDUDFWHUL]HRUUHFODVVLI\
        VXFK&ODLPVRUFRQWUDFWVRUWRVHWRIIRIVXFK&ODLPV

    &ODLPV'HVFULSWLRQ6FKHGXOHV'DQG()SHUPLWHDFKRIWKH'HEWRUVWRGHVLJQDWHD&ODLP
        DV³GLVSXWHG´³FRQWLQJHQW´DQGRU³XQOLTXLGDWHG´$Q\IDLOXUHWRGHVLJQDWHD&ODLPRQD
        JLYHQ'HEWRU¶V6FKHGXOHVDQG6WDWHPHQWVDV³GLVSXWHG´³FRQWLQJHQW´RU³XQOLTXLGDWHG´
        GRHV QRW FRQVWLWXWH DQ DGPLVVLRQ E\ WKDW 'HEWRU WKDW VXFK DPRXQW LV QRW ³GLVSXWHG´
        ³FRQWLQJHQW´RU³XQOLTXLGDWHG´RUWKDWVXFK&ODLPLVQRWVXEMHFWWRREMHFWLRQ7KH'HEWRUV
        UHVHUYHDOORIWKHLUULJKWVWRGLVSXWHRUDVVHUWRIIVHWVRUGHIHQVHVWRDQ\&ODLPUHIOHFWHGRQ
        WKHLU UHVSHFWLYH 6FKHGXOHV DQG 6WDWHPHQWV RQ DQ\ JURXQGV LQFOXGLQJ OLDELOLW\ RU
        FODVVLILFDWLRQ  $GGLWLRQDOO\ WKH 'HEWRUV H[SUHVVO\ UHVHUYH DOO RI WKHLU ULJKWV WR
        VXEVHTXHQWO\ GHVLJQDWH VXFK &ODLPV DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´
        0RUHRYHUOLVWLQJD&ODLPGRHVQRWFRQVWLWXWHDQDGPLVVLRQRIOLDELOLW\E\WKH'HEWRUV

    &DXVHVRI$FWLRQ'HVSLWHWKHLUUHDVRQDEOHHIIRUWVWRLGHQWLI\DOONQRZQDVVHWVWKH'HEWRUV
        PD\QRWKDYHOLVWHGDOORIWKHLUFDXVHVRIDFWLRQRUSRWHQWLDOFDXVHVRIDFWLRQDJDLQVWWKLUG
        SDUWLHV DV DVVHWV LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV LQFOXGLQJ FDXVHV RI DFWLRQ WKDW DUH
        UHTXLUHGWREHNHSWFRQILGHQWLDODQGFDXVHVRIDFWLRQDULVLQJXQGHUWKHSURYLVLRQVRIFKDSWHU
        RIWKH%DQNUXSWF\&RGHDQGDQ\RWKHUUHOHYDQWQRQEDQNUXSWF\ODZVWRUHFRYHUDVVHWVRU
        DYRLGWUDQVIHUV7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFWWRDQ\FDXVHRIDFWLRQ
        LQFOXGLQJDYRLGDQFHDFWLRQVFRQWURYHUV\ULJKWRIVHWRIIFURVVFODLPFRXQWHUFODLPRU
        UHFRXSPHQWDQGDQ\FODLPRQFRQWUDFWVRUIRUEUHDFKHVRIGXWLHVLPSRVHGE\ODZRULQ
        HTXLW\GHPDQGULJKWDFWLRQOLHQLQGHPQLW\JXDUDQW\VXLWREOLJDWLRQOLDELOLW\GDPDJH
        MXGJPHQW DFFRXQW GHIHQVH SRZHU SULYLOHJH OLFHQVH DQG IUDQFKLVH RI DQ\ NLQG RU
        FKDUDFWHU ZKDWVRHYHU NQRZQ XQNQRZQ IL[HG RU FRQWLQJHQW PDWXUHG RU XQPDWXUHG
        VXVSHFWHGRUXQVXVSHFWHGOLTXLGDWHGRUXQOLTXLGDWHGGLVSXWHGRUXQGLVSXWHGVHFXUHGRU
        XQVHFXUHG DVVHUWDEOH GLUHFWO\ RU GHULYDWLYHO\ ZKHWKHU DULVLQJ EHIRUH RQ RU DIWHU WKH
        3HWLWLRQ'DWHLQFRQWUDFWRULQWRUWLQODZRULQHTXLW\RUSXUVXDQWWRDQ\RWKHUWKHRU\RI
        ODZFROOHFWLYHO\³&DXVHVRI$FWLRQ´WKH\PD\KDYHDQGQHLWKHUWKHVH*OREDO1RWHVQRU
        WKH6FKHGXOHVDQG6WDWHPHQWVVKDOOEHGHHPHGDZDLYHURIDQ\FODLPVRU&DXVHVRI$FWLRQ
        RULQDQ\ZD\SUHMXGLFHRULPSDLUWKHDVVHUWLRQRIVXFKFODLPVRU&DXVHVRI$FWLRQ

    6XPPDU\RI6LJQLILFDQW5HSRUWLQJ3ROLFLHV7KHIROORZLQJLVDVXPPDU\RIVLJQLILFDQW
        UHSRUWLQJSROLFLHV

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        x      8QGHWHUPLQHG$PRXQWV7KHGHVFULSWLRQRIDQDPRXQWDV³XQNQRZQ´³7%'´RU
                ³XQGHWHUPLQHG´LVQRWLQWHQGHGWRUHIOHFWXSRQWKHPDWHULDOLW\RIVXFKDPRXQW

        x      7RWDOV$OOWRWDOVWKDWDUHLQFOXGHGLQWKH6FKHGXOHVDQG6WDWHPHQWVUHSUHVHQWWRWDOV
                RIDOONQRZQDPRXQWV7RWKHH[WHQWWKHUHDUHXQNQRZQRUXQGHWHUPLQHGDPRXQWV
                WKHDFWXDOWRWDOPD\EHGLIIHUHQWWKDQWKHOLVWHGWRWDO

        x      3DLG &ODLPV  7KH 'HEWRUV ZHUH DXWKRUL]HG EXW QRW GLUHFWHG WR SD\ FHUWDLQ
                RXWVWDQGLQJ SUHSHWLWLRQ &ODLPV SXUVXDQW WR YDULRXV RUGHUV HQWHUHG E\ WKH
                %DQNUXSWF\ &RXUW  $FFRUGLQJO\ FHUWDLQ RXWVWDQGLQJ OLDELOLWLHV WKDW KDYH EHHQ
                UHGXFHGE\SRVWSHWLWLRQSD\PHQWVPDGHRQDFFRXQWRISUHSHWLWLRQOLDELOLWLHVKDYH
                EHHQGHVLJQDWHGDVFRQWLQJHQW7RWKHH[WHQWWKH'HEWRUVSD\DQ\RIWKH&ODLPV
                OLVWHG LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV SXUVXDQW WR DQ\ RUGHUV HQWHUHG E\ WKH
                %DQNUXSWF\&RXUWWKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVWRDPHQGRUVXSSOHPHQW
                WKH6FKHGXOHVDQG6WDWHPHQWVRUWDNHRWKHUDFWLRQDVLVQHFHVVDU\RUDSSURSULDWHWR
                DYRLGRYHUSD\PHQWRIRUGXSOLFDWHSD\PHQWVIRUDQ\VXFKOLDELOLWLHV

        x      8QNQRZQ'HEWRUV,QFHUWDLQLQVWDQFHVFRQWUDFWVGRQRWVSHFLI\DSDUWLFXODU'HEWRU
                RU LQFOXGH DQ LQFRUUHFW OHJDO HQWLW\ DV WKH FRQWUDFWXDO FRXQWHUSDUW\  ,Q DGGLWLRQ
                WKUHDWHQHGOLWLJDWLRQRQRFFDVLRQGRHVQRWLQGLFDWHWKHSRWHQWLDOO\OLDEOH'HEWRUV
                ,Q WKHVH LQVWDQFHV UHVSRQVHV KDYH EHHQ OLVWHG LQ WKH DSSURSULDWH 6WDWHPHQW RU
                6FKHGXOH DW L+HDUW0HGLD 0DQDJHPHQW 6HUYLFHV ,QF RXW RI DQ DEXQGDQFH RI
                FDXWLRQ

        x      %XVLQHVV 8QLW /HYHO  7KH 'HEWRUV KDYH FUHDWHG EXVLQHVV XQLWV WKDW IXQFWLRQ DV
                SURILWDQGFRVWFHQWHUVIRUSXUSRVHVRIUHFRUGLQJILQDQFLDODFWLYLWLHV%XVLQHVVXQLWV
                KDYH EHHQ KLVWRULFDOO\ WUHDWHG DV GLVFUHWHHQWLWLHV IRUDFFRXQWLQJ SXUSRVHV EXW
                VXFK EXVLQHVVXQLWVDUH QRW VHSDUDWH OHJDO HQWLWLHV7KXVEXVLQHVVXQLWVKDYH EHHQ
                FRPELQHG ZLWKLQ WKH UHOHYDQW 'HEWRU HQWLW\ IRU SXUSRVHV RI UHSRUWLQJ LQ WKH
                6WDWHPHQWVDQG6FKHGXOHV

        x      /LHQV3URSHUW\DQGHTXLSPHQWOLVWHGLQWKH6FKHGXOHVDQG6WDWHPHQWVDUHSUHVHQWHG
                ZLWKRXW FRQVLGHUDWLRQ RI DQ\ OLHQV WKDW PD\ DWWDFK RU KDYH DWWDFKHG WR VXFK
                SURSHUW\DQGHTXLSPHQW

    &XUUHQF\$OODPRXQWVDUHUHIOHFWHGLQ86GROODUV

    ,QWHUFRPSDQ\ 3D\DEOHV DQG 5HFHLYDEOHV  ,QWHUFRPSDQ\ SD\DEOHVDQG UHFHLYDEOHV
        EHWZHHQ WKH 'HEWRUV DV RI WKH 3HWLWLRQ 'DWH DUH VHW IRUWK RQ 6FKHGXOH () RU 6FKHGXOH
        $%DVDSSOLFDEOH

         $V GHVFULEHG PRUH IXOO\ LQ WKH Debtors’ Emergency Motion for Entry of Interim and
         Final Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
         Management System and Maintain Existing Bank Accounts and (B) Continue to Perform
         Intercompany Transactions and (III) Granting Related Relief >'RFNHW 1R @
         WKH³&DVK 0DQDJHPHQW 0RWLRQ´ WKH 'HEWRUV HQJDJH LQ D UDQJH RI LQWHUFRPSDQ\
         WUDQVDFWLRQVLQWKHRUGLQDU\FRXUVHRIEXVLQHVV3XUVXDQWWRWKHRUGHUJUDQWLQJWKHUHOLHI
         UHTXHVWHG LQ WKH&DVK0DQDJHPHQW0RWLRQ>'RFNHW1R@WKH³&DVK0DQDJHPHQW

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         2UGHU´ WKH %DQNUXSWF\ &RXUW KDV JUDQWHG WKH 'HEWRUV DXWKRULW\ WR FRQWLQXH WKH
         LQWHUFRPSDQ\WUDQVDFWLRQV LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV 

         ,QWHUFRPSDQ\WUDQVDFWLRQVDPRQJVWWKH'HEWRUVWKDWUHVXOWIURPRSHUDWLRQVDUHUHFRUGHG
         LQWKH'HEWRUV¶ERRNVDQGUHFRUGVLQLQWHUFRPSDQ\DFFRXQWVUHFHLYDEOHDWWKHEXVLQHVV
         XQLWOHYHO$V SUHYLRXVO\ GLVFXVVHG WKHVH EXVLQHVV XQLWV FRPELQH LQWR  VSHFLILF OHJDO
         HQWLWLHV 1HDUO\ DOO WUDQVDFWLRQV SHUIRUPHG E\ WKH 'HEWRUV UHVXOW LQ DQ LQWHUFRPSDQ\
         WUDQVDFWLRQZKLFKDUHDFFUHWLYHWRSULRUEDODQFHVUHFRUGHGLQWKH'HEWRUV¶ERRNV DQG
         UHFRUGV$VGLVFXVVHGLQWKH&DVK0DQDJHPHQW0RWLRQDOOIXQGVWKDWHQWHUWKH'HEWRUV¶
         FDVKPDQDJHPHQWV\VWHPDUHKHOGLQDQDFFRXQWRZQHGE\L+HDUW0HGLD0DQDJHPHQW
         6HUYLFHV,QF*LYHQWKHFRQFHQWUDWLRQRIIXQGVUHFHLYHGRQEHKDOIRIDOO'HEWRUVLQWRDQ
         DFFRXQW RZQHG E\ L+HDUW0HGLD 0DQDJHPHQW 6HUYLFHV ,QF DQG WKH VXEVHTXHQW
         GLVWULEXWLRQRIIXQGVWKHUHIURPIRUWKHEHQHILWRIDOO'HEWRUVRUWRDFFRXQWVRZQHGE\
         RWKHU'HEWRUVIRUSXUSRVHVRISUHVHQWDWLRQRILQWHUFRPSDQ\EDODQFHVWKH'HEWRUV¶KDYH
         DWWULEXWHG DOO UHFHLYDEOH DQG SD\DEOH SRVLWLRQV RI WKH 'HEWRUV WR L+HDUW0HGLD
         0DQDJHPHQW 6HUYLFHV ,QF IRU LOOXVWUDWLYH SXUSRVHV VROHO\ IRU WKH SXUSRVHV RI WKH
         6FKHGXOHVDQG6WDWHPHQWV

         ,Q DGGLWLRQ WR LQWHUFRPSDQ\ WUDQVDFWLRQV WKDW UHVXOW IURP RSHUDWLRQV WKH 'HEWRUV
         PDLQWDLQFHUWDLQQRWHVSD\DEOHZKLFKUHIOHFWGRFXPHQWHGDJUHHPHQWVDPRQJVWFHUWDLQ
         OHJDOHQWLWLHVRIWKH'HEWRUV)RUSXUSRVHVRISUHVHQWDWLRQWKHVHDPRXQWVDUHVKRZQDV
         SD\DEOHVWRRUUHFHLYDEOHVIURPWKRVHOHJDOHQWLWLHVVSHFLILHGLQWKHDJUHHPHQWV

         ,Q FRQQHFWLRQ ZLWK WKH FDVK PDQDJHPHQW DUUDQJHPHQWV IRU &OHDU &KDQQHO 2XWGRRU
         +ROGLQJV,QF³&&2+´WKH'HEWRUVPDLQWDLQDQLQWHUFRPSDQ\UHYROYLQJSURPLVVRU\
         QRWH SD\DEOH WR &&2+ WKH ³,QWHUFRPSDQ\ 1RWH´ ZKLFK PDWXUHV RQ 0D\ 
         3XUVXDQWWRWKH&DVK0DQDJHPHQW2UGHUDVRI0DUFKWKHSUHSHWLWLRQ
         EDODQFHRIWKH,QWHUFRPSDQ\1RWHKDVEHHQIUR]HQ

         7KH OLVWLQJ E\ WKH 'HEWRUV RI DQ\ DFFRXQW EHWZHHQ D 'HEWRU DQG DQRWKHU 'HEWRU
         RU EHWZHHQ D 'HEWRU DQG D QRQ'HEWRU DIILOLDWH LV D VWDWHPHQW RI ZKDW DSSHDUV LQ D
         SDUWLFXODU 'HEWRU¶V ERRNV DQG UHFRUGV DQG GRHV QRW UHIOHFW DQ\ DGPLVVLRQ RU
         FRQFOXVLRQ RI WKH'HEWRUV UHJDUGLQJ WKH DOORZDQFH FODVVLILFDWLRQ FKDUDFWHUL]DWLRQ
         YDOLGLW\RUSULRULW\RIVXFK DFFRXQW7KH 'HEWRUV WDNH QR SRVLWLRQ LQ WKHVH 6FKHGXOHV
         DQG 6WDWHPHQWV DVWRZKHWKHUVXFKDFFRXQWVZRXOGEHDOORZHGDVD&ODLPDQ,QWHUHVW
         RU QRW DOORZHG DW DOO7KH'HEWRUVUHVHUYHDOOULJKWVZLWKUHVSHFWWRVXFKDFFRXQWV 

    6HWRIIV7KH'HEWRUVSHULRGLFDOO\LQFXUFHUWDLQVHWRIIVLQWKHRUGLQDU\FRXUVHRIEXVLQHVV

        6HWRIIVLQWKHRUGLQDU\FRXUVHFDQUHVXOWIURPYDULRXVLWHPVLQFOXGLQJEXWQRWOLPLWHGWR
        LQWHUFRPSDQ\ WUDQVDFWLRQV SULFLQJ GLVFUHSDQFLHV UHWXUQV ZDUUDQWLHV FUHGLWV UHIXQGV
        QHJRWLDWLRQV DQGRU GLVSXWHV EHWZHHQ WKH 'HEWRUV DQG WKHLU YHQGRUV RU FXVWRPHUV DQG
        RWKHUGLVSXWHVEHWZHHQWKH'HEWRUVDQGWKHLUFXVWRPHUVDQGRUVXSSOLHUV7KHVHQRUPDO
        VHWRIIVDUHFRQVLVWHQWZLWKWKHRUGLQDU\FRXUVHRIEXVLQHVVLQWKH'HEWRUV¶LQGXVWU\DQGFDQ
        EHSDUWLFXODUO\YROXPLQRXVPDNLQJLWXQGXO\EXUGHQVRPHDQGFRVWO\IRUWKH'HEWRUVWROLVW
        VXFKRUGLQDU\FRXUVHVHWRIIV7KHUHIRUHDOWKRXJKVXFKVHWRIIVDQGRWKHUVLPLODUULJKWVPD\
        KDYHEHHQDFFRXQWHGIRUZKHQVFKHGXOLQJFHUWDLQDPRXQWVWKHVHRUGLQDU\FRXUVHVHWRIIV
        DUHQRWLQGHSHQGHQWO\DFFRXQWHGIRUDQGDVVXFKDUHRUPD\EHH[FOXGHGIURPWKH'HEWRUV¶
        6FKHGXOHVDQG6WDWHPHQWV

    *OREDO1RWHV&RQWURO,QWKHHYHQWWKDWWKH6FKHGXOHVDQG6WDWHPHQWVGLIIHUIURPWKHVH
        *OREDO1RWHVWKH*OREDO1RWHVVKDOOFRQWURO
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                   6SHFLILF'LVFORVXUHVZLWK5HVSHFWWRWKH'HEWRUV¶6FKHGXOHV

6FKHGXOHV 6XPPDU\  ([FHSW DV RWKHUZLVH QRWHG WKH DVVHW DQG OLDELOLW\ LQIRUPDWLRQ SURYLGHG
KHUHLQUHSUHVHQWVWKH'HEWRUV¶DVVHWVDQGOLDELOLWLHVDVRIWKH3HWLWLRQ'DWH

)RUILQDQFLDOUHSRUWLQJSXUSRVHVWKH'HEWRUVDQGFHUWDLQRIWKHLUQRQ'HEWRUDIILOLDWHVRUGLQDULO\
SUHSDUH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV  8QOLNH WKH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV WKH
6FKHGXOHVUHIOHFWWKHDVVHWVDQGOLDELOLWLHVRIHDFK'HEWRURQDQRQFRQVROLGDWHGEDVLV$FFRUGLQJO\
WKH WRWDOV OLVWHG LQ WKH 6FKHGXOHV ZLOO OLNHO\ GLIIHU DW WLPHV PDWHULDOO\ IURP WKH FRQVROLGDWHG
ILQDQFLDOUHSRUWVSUHSDUHGE\WKH'HEWRUVIRUILQDQFLDOUHSRUWLQJSXUSRVHVRURWKHUZLVH

7KH6FKHGXOHVGRQRWSXUSRUWWRUHSUHVHQWILQDQFLDOVWDWHPHQWVSUHSDUHGLQDFFRUGDQFHZLWK*$$3
QRUDUHWKH\LQWHQGHGWREHIXOO\UHFRQFLOHGZLWKWKHILQDQFLDOVWDWHPHQWVRIHDFK'HEWRU&HUWDLQ
ZULWHGRZQV LPSDLUPHQWV DQG RWKHU DFFRXQWLQJ DGMXVWPHQWV PD\ QRW EH UHIOHFWHG LQ WKH
6FKHGXOHV$GGLWLRQDOO\WKH6FKHGXOHVFRQWDLQXQDXGLWHGLQIRUPDWLRQWKDWLVVXEMHFWWRIXUWKHU
UHYLHZDQGSRWHQWLDODGMXVWPHQWDQGUHIOHFWWKH'HEWRUV¶UHDVRQDEOHEHVWHIIRUWVWRUHSRUWWKHDVVHWV
DQGOLDELOLWLHVRIHDFK'HEWRURQDQXQFRQVROLGDWHGEDVLV0RUHRYHUJLYHQDPRQJRWKHUWKLQJV
WKHXQFHUWDLQW\VXUURXQGLQJWKHFROOHFWLRQDQGRZQHUVKLSRIFHUWDLQDVVHWVDQGWKHYDOXDWLRQDQG
QDWXUHRIFHUWDLQOLDELOLWLHVWRWKHH[WHQWWKDWD'HEWRUVKRZVPRUHDVVHWVWKDQOLDELOLWLHVWKLVLVQRW
DQDGPLVVLRQWKDWWKH'HEWRUZDVVROYHQWDVRIWKH3HWLWLRQ'DWHRUDWDQ\WLPHEHIRUHWKH3HWLWLRQ
'DWH/LNHZLVHWRWKHH[WHQWD'HEWRUVKRZVPRUHOLDELOLWLHVWKDQDVVHWVWKLVLVQRWDQDGPLVVLRQ
WKDWWKH'HEWRUZDVLQVROYHQWDVRIWKH3HWLWLRQ'DWHRUDWDQ\WLPHEHIRUHWKH3HWLWLRQ'DWH

6FKHGXOH$%7KHEDQNDFFRXQWEDODQFHVOLVWHGDUHDVRIWKH3HWLWLRQ'DWHDQGPD\YDU\IURP
ERRNEDODQFHV:KLOHFHUWDLQLQGLYLGXDODFFRXQWVPD\EHOLVWHGLQ6FKHGXOH$%ZLWKDQHJDWLYH
EDODQFHWKH'HEWRUVDQGWKHLUEDQNVYLHZWKHFDVKSRRODVDVLQJOHDJJUHJDWHGV\VWHPZKLFKKDV
DQHWSRVLWLYHEDODQFH$FFRXQWVOLVWHGLQFOXGHDYDULHW\RIW\SHVLQFOXGLQJRQHDFFRXQWDW)LGHOLW\
HQGLQJLQ[ZKLFKKROGVDVVHWVIRUWKH'HEWRUV¶GHIHUUHGFRPSHQVDWLRQSODQ

6FKHGXOH$%7KH'HEWRUVRZQRYHU85/QDPHVVRPHRIZKLFKWKH\GRQRWXVH7KH
'HEWRUVKDYHQRWOLVWHGDOOVXFK85/QDPHVJLYHQWKHYROXPLQRXVDPRXQWRILQIRUPDWLRQEXWGR
QRWGLVFODLPDQ\RZQHUVKLSULJKWVRYHUVXFK85/QDPHVZKLFKULJKWVDUHKHUHE\UHVHUYHG)RU
DQ\85/VOLVWHGIRUZKLFKRZQHUVKLSFRXOGQRWEHGHWHUPLQHGL+0,GHQWLW\,QFZDVDVVLJQHGDV
WKHRZQHU

6FKHGXOH $%  7KH 'HEWRUV DOORFDWH DOO DFFRXQWV UHFHLYDEOH DWWULEXWDEOH WR UDGLR VWDWLRQ
RSHUDWLRQV DW L+HDUW0HGLD 0DQDJHPHQW 6HUYLFHV ,QF ZKLOH WKH FRUUHVSRQGLQJ DOORZDQFH IRU
GRXEWIXO DFFRXQWV UHPDLQV RQ WKH ERRNV RI WKH 'HEWRU HQWLW\ WKDW RSHUDWHV WKH DSSOLFDEOH UDGLR
VWDWLRQV

6FKHGXOH $%  (TXLW\ LQWHUHVWV LQ VXEVLGLDULHV DQG DIILOLDWHV SULPDULO\ DULVH IURP FRPPRQ
VWRFNRZQHUVKLSRUPHPEHURUSDUWQHUVKLSLQWHUHVWV)RUSXUSRVHVRIWKHVH6FKHGXOHVWKH'HEWRUV
KDYHOLVWHGDQXQGHWHUPLQHGYDOXHIRUWKHHTXLW\LQWHUHVWVRIDOOVXEVLGLDULHVDQGDIILOLDWHV1RWKLQJ
LQWKHVH6FKHGXOHVLVDQDGPLVVLRQE\RUFRQFOXVLRQRIWKH'HEWRUVUHJDUGLQJWKHYDOXHRIVXFK
VXEVLGLDU\DQGDIILOLDWHHTXLW\LQWHUHVWVZKLFKXQGHUFHUWDLQIDLUPDUNHWRUHQWHUSULVHYDOXDWLRQ
DQDO\VHVPD\KDYHYDOXH7KHERRNYDOXHVRIFHUWDLQDVVHWVPD\PDWHULDOO\GLIIHUIURPWKHLUIDLU


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PDUNHW YDOXHV DQGRU WKH 'HEWRUV¶ HQWHUSULVH YDOXDWLRQ WR EH SUHSDUHG LQ FRQQHFWLRQ ZLWK WKH
'LVFORVXUH6WDWHPHQW

,QWKHRUGLQDU\FRXUVHRIEXVLQHVVWKH'HEWRUVHQJDJHLQEDUWHUUHODWLRQVKLSVE\ZKLFKWKH\RIIHU
PHGLDRUDGYHUWLVLQJVSDFHLQH[FKDQJHIRUHTXLW\LQWKHFRPSDQ\WKDWZLOOXWLOL]HWKHPHGLDRU
DGYHUWLVLQJVSDFH)RUSXUSRVHVRIWKHVH6FKHGXOHVWKH'HEWRUVKDYHOLVWHGDQXQGHWHUPLQHGYDOXH
IRUWKHVHHTXLW\LQWHUHVWV1RWKLQJLQWKHVH6FKHGXOHVLVDQDGPLVVLRQRUFRQFOXVLRQRIWKH'HEWRUV
UHJDUGLQJWKHYDOXHRIHDFKHTXLW\LQWHUHVW

%RRN YDOXHV RI DVVHWV SUHSDUHG LQ DFFRUGDQFH ZLWK *$$3 JHQHUDOO\ GR QRW UHIOHFW WKH FXUUHQW
SHUIRUPDQFHRIWKHDVVHWVRUWKHLPSDFWRIWKHLQGXVWU\HQYLURQPHQWDQGPD\GLIIHUPDWHULDOO\IURP
WKHDFWXDOYDOXHDQGRUSHUIRUPDQFHRIWKHXQGHUO\LQJDVVHWV$VVXFKWKHYDOXHOLVWHGLQWKHVH
6FKHGXOHV DQG 6WDWHPHQWV FDQQRW EH DQG ZDV QRW XVHG WR GHWHUPLQH WKH 'HEWRUV¶ HQWHUSULVH
YDOXDWLRQ

6FKHGXOH$%,WZRXOGEHWLPHFRQVXPLQJDQLQHIILFLHQWXVHRIWKH'HEWRUV¶UHVRXUFHVRU
RWKHUZLVH LPSUDFWLFDEOH WR UHYLHZ DQG GHWHUPLQH WKHMXULVGLFWLRQDOWUHDWPHQW IRU HDFK SLHFH RI
SURSHUW\ OLVWHG RQ 6FKHGXOH $%  &RQVHTXHQWO\ WKH 'HEWRUV WDNH QR SRVLWLRQ DV WR WKH WD[
WUHDWPHQWIRUSURSHUW\OLVWHGRQWKLVVFKHGXOH

6FKHGXOH $% 7KLV DPRXQW LQFOXGHV DOO 12/V RI WKH FRQVROLGDWHG WD[ JURXS RI ZKLFK
L+HDUW0HGLD,QFLVWKHSDUHQWLQFOXGLQJFHUWDLQDPRXQWVWKDWXQGHUWKHDSSOLFDEOHFRQVROLGDWHG
WD[UHWXUQUXOHVDUHDWWULEXWDEOHWRQRQ'HEWRUVXEVLGLDULHV

6FKHGXOH$%7KHOLVWLQJE\WKH'HEWRUVRIDQ\DFFRXQWEHWZHHQD'HEWRUDQGDQRWKHU'HEWRU
RUEHWZHHQD'HEWRUDQGDQRQ'HEWRUVXEVLGLDU\RUDIILOLDWHLVDVWDWHPHQWRIZKDWDSSHDUVLQD
SDUWLFXODU 'HEWRU¶V ERRNV DQG UHFRUGV DQG GRHV QRW UHIOHFW DQ\ DGPLVVLRQ RU FRQFOXVLRQ RI WKH
'HEWRUV UHJDUGLQJ WKH DOORZDQFH FODVVLILFDWLRQ FKDUDFWHUL]DWLRQ YDOLGLW\ RU SULRULW\ RI VXFK
DFFRXQW  7KH 'HEWRUV WDNH QR SRVLWLRQ LQ WKHVH 6FKHGXOHV DQG 6WDWHPHQWV DV WR ZKHWKHU VXFK
DFFRXQWV ZRXOG EH DOORZHG DV D &ODLPDQ,QWHUHVWRUQRWDOORZHGDWDOO7KH'HEWRUVDQG DOO
SDUWLHVLQLQWHUHVWUHVHUYHDOOULJKWVZLWKUHVSHFWWRVXFKDFFRXQWV

6FKHGXOH'7KH'HEWRUVKDYHQRWLQFOXGHGSDUWLHVWKDWPD\EHOLHYHWKHLU&ODLPVDUHVHFXUHG
WKURXJKVHWRIIULJKWVLQFKRDWHVWDWXWRU\OLHQULJKWVRURWKHUOLHQULJKWVFUHDWHGE\WKHODZVRIWKH
YDULRXVMXULVGLFWLRQVLQZKLFKWKH'HEWRUVRSHUDWH9DULRXV'HEWRUVDUHERUURZHUVDQGFHUWDLQRI
WKH RWKHU 'HEWRUV DUH JXDUDQWRUV XQGHU SUHSHWLWLRQVHFXUHG IXQGHG GHEW REOLJDWLRQV  $OWKRXJK
WKHUHDUHQXPHURXVEHQHILFLDOKROGHUVRIVXFKGHEWRQO\WKHDGPLQLVWUDWLYHDJHQWVKDYHEHHQOLVWHG
IRU SXUSRVHV RI 6FKHGXOH ' ZKHUH DSSOLFDEOH  )RU WKH DYRLGDQFH RI GRXEW WKH IXQGHG GHEW
DPRXQWVOLVWHGLQ6FKHGXOH'LQFOXGHREOLJDWLRQVZKHUHWKHEHQHILFLDOKROGHULVDQRWKHU'HEWRU
7KHDPRXQWVRXWVWDQGLQJXQGHUWKH'HEWRUV¶SUHSHWLWLRQVHFXUHGGHEWUHIOHFWDSSUR[LPDWHDPRXQWV
DVRIWKH3HWLWLRQ'DWH

'HVFULSWLRQV SURYLGHG RQ 6FKHGXOH ' DUH LQWHQGHG RQO\ WR EH D VXPPDU\  5HIHUHQFH WR WKH
DSSOLFDEOHORDQDJUHHPHQWVDQGUHODWHGGRFXPHQWVLVQHFHVVDU\IRUDFRPSOHWHGHVFULSWLRQRIWKH
FROODWHUDODQGWKHQDWXUHH[WHQWDQGSULRULW\RIDQ\OLHQV

6FKHGXOH()7KHOLVWLQJE\WKH'HEWRUVRIDQ\DFFRXQWEHWZHHQD'HEWRUDQGDQRWKHU'HEWRURU
EHWZHHQ D 'HEWRU DQG D QRQ'HEWRU VXEVLGLDU\ RU DIILOLDWH LV D VWDWHPHQW RI ZKDW DSSHDUV LQ D
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SDUWLFXODU 'HEWRU¶V ERRNV DQG UHFRUGV DQG GRHV QRW UHIOHFW DQ\ DGPLVVLRQ RU FRQFOXVLRQ RI WKH
'HEWRUV UHJDUGLQJ WKH DOORZDQFH FODVVLILFDWLRQ FKDUDFWHUL]DWLRQ YDOLGLW\ RU SULRULW\ RI VXFK
DFFRXQW  7KH 'HEWRUV WDNH QR SRVLWLRQ LQ WKHVH 6FKHGXOHV DQG 6WDWHPHQWV DV WR ZKHWKHU VXFK
DFFRXQWV ZRXOG EH DOORZHG DV D &ODLPDQ,QWHUHVWRUQRWDOORZHGDWDOO7KH'HEWRUVDQG DOO
SDUWLHVLQLQWHUHVWUHVHUYHDOOULJKWVZLWKUHVSHFWWRVXFKDFFRXQWV9DULRXV'HEWRUVDUHERUURZHUV
DQGFHUWDLQRIWKHRWKHU'HEWRUVDUHJXDUDQWRUVXQGHUSUHSHWLWLRQIXQGHGREOLJDWLRQV$OWKRXJK
WKHUHDUHQXPHURXVEHQHILFLDOKROGHUVRIVXFKGHEWRQO\WKHDGPLQLVWUDWLYHDJHQWVDQGLQGHQWXUH
WUXVWHHVDVDSSOLFDEOHKDYHEHHQOLVWHGIRUSXUSRVHVRI6FKHGXOH()ZKHUHDSSOLFDEOH)RUWKH
DYRLGDQFHRIGRXEWWKHIXQGHGGHEWDPRXQWVOLVWHGLQ6FKHGXOH()LQFOXGHREOLJDWLRQVZKHUHWKH
EHQHILFLDOKROGHULVDQRWKHU'HEWRU

7KHFODLPVRILQGLYLGXDOFUHGLWRUVIRUDPRQJRWKHUWKLQJVJRRGVSURGXFWVVHUYLFHVFXVWRPHU
UHIXQGVRUWD[HVDUHOLVWHGDVWKHDPRXQWVHQWHUHGRQWKH'HEWRUV¶ERRNVDQGUHFRUGVDQGPD\QRW
UHIOHFW FUHGLWV DOORZDQFHV RU RWKHU DGMXVWPHQWV GXH IURP VXFK FUHGLWRUV WR WKH 'HEWRUV  7KH
'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHJDUGWRVXFKFUHGLWVDOORZDQFHVDQGRWKHUDGMXVWPHQWV
LQFOXGLQJWKHULJKWWRDVVHUWFODLPVREMHFWLRQVDQGRUVHWRIIVZLWKUHVSHFWWRWKHVDPH

8QGHU WKH Order (I) Authorizing the Payment of Certain Prepetition Taxes and Fees, and
(II) Granting Related Relief >'RFNHW1R@WKH³7D[2UGHU´WKH%DQNUXSWF\&RXUWJUDQWHG
WKH'HEWRUVDXWKRULW\WRSD\WKHSUHSHWLWLRQ&ODLPVRIUHJXODWRU\DXWKRULWLHVRQDFFRXQWRIWD[HV
DQGIHHV7KHDPRXQWVDFFUXHGDQGSD\DEOHRQDFFRXQWRIVXFK&ODLPVPD\QRWEHUHIOHFWHGRQ
WKH6FKHGXOH()

8QGHUWKHFinal Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
Compensation, and Reimbursable Expenses, and (B) Continue Employee Benefits Programs and
(II) Granting Related Relief >'RFNHW1R@WKH³:DJHV2UGHU´WKH%DQNUXSWF\&RXUWJUDQWHG
WKH'HEWRUVDXWKRULW\WRSD\RUKRQRUFHUWDLQSUHSHWLWLRQREOLJDWLRQVIRUHPSOR\HHZDJHVVDODULHV
DQG RWKHU FRPSHQVDWLRQ UHLPEXUVDEOH HPSOR\HH H[SHQVHV DQG HPSOR\HH PHGLFDO DQG VLPLODU
EHQHILWV7KH'HEWRUVKDYHQRWOLVWHGRQ6FKHGXOH()DQ\ZDJHRUZDJHUHODWHGREOLJDWLRQVWKDW
WKH 'HEWRUV KDYH SDLG SRVWSHWLWLRQ SXUVXDQW WR UHOLHI JUDQWHG E\ FRXUW RUGHU HQWHUHG E\ WKH
%DQNUXSWF\&RXUW

8QGHUWKHFinal Order (I) Authorizing the Debtors to Honor Certain Prepetition Obligations to
Customers and Continue Certain Customer Programs in the Ordinary Course of Business and
(II) Granting Related Relief >'RFNHW 1R @ WKH %DQNUXSWF\ &RXUW JUDQWHG WKH 'HEWRUV WKH
DXWKRULW\ WR SD\ KRQRU RU PDLQWDLQ LWV FXVWRPHU SURJUDPV i.e. DG VDOH REOLJDWLRQV FXVWRPHU
UHIXQGREOLJDWLRQVSUHSDLGHYHQWDQGQHZVOHWWHUREOLJDWLRQVDQGVRIWZDUHDQGGDWDREOLJDWLRQV
7KH'HEWRUVKDYHQRWOLVWHGRQ6FKHGXOH()DQ\FXVWRPHURUFXVWRPHUUHODWHGREOLJDWLRQVWKDWWKH
'HEWRUVKDYHSDLGSRVWSHWLWLRQSXUVXDQWWRUHOLHIJUDQWHGE\FRXUWRUGHUHQWHUHGE\WKH%DQNUXSWF\
&RXUW

8QGHU WKH Final Order (I) Authorizing the Debtors to Pay or Honor Prepetition Claims and
Obligations of On-Air Talent, Station Affiliates, and Copyright Owners and (II) Granting Related
Relief>'RFNHW1R@WKH%DQNUXSWF\&RXUWJUDQWHGWKH'HEWRUVWKHDXWKRULW\WRSD\RUKRQRU
REOLJDWLRQV ZLWK UHVSHFW WR LWV RQDLU WDOHQW i.e. SD\LQJ WDOHQW VHUYLFH IHHV UHYHQXH VKDULQJ
SD\PHQWVSD\PHQWVGXHXQGHUDIILOLDWHFRQWUDFWVREOLJDWLRQVUHODWHGWRWKH.DW]EXVLQHVVDQG
UR\DOW\ REOLJDWLRQV 7KH 'HEWRUV KDYH QRW OLVWHG RQ 6FKHGXOH () DQ\ 2Q$LU 7DOHQW 6WDWLRQ

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$IILOLDWHRU&RS\ULJKWREOLJDWLRQVWKDWWKH'HEWRUVKDYHSDLGSRVWSHWLWLRQSXUVXDQWWRUHOLHIJUDQWHG
E\FRXUWRUGHUHQWHUHGE\WKH%DQNUXSWF\&RXUW

6FKHGXOH()GRHVQRWLQFOXGHFHUWDLQGHIHUUHGFKDUJHVGHIHUUHGOLDELOLWLHVDFFUXDOVRUJHQHUDO
UHVHUYHV6XFKDPRXQWVDUHKRZHYHUUHIOHFWHGRQWKH'HEWRUV¶ERRNVDQGUHFRUGVDVUHTXLUHGLQ
DFFRUGDQFHZLWK*$$36XFKDFFUXDOVDUHJHQHUDOHVWLPDWHVRIOLDELOLWLHVDQGGRQRWUHSUHVHQW
VSHFLILF &ODLPV DV RI WKH 3HWLWLRQ 'DWH  7KH 'HEWRUV KDYH PDGH HYHU\ HIIRUW WR LQFOXGH DV
FRQWLQJHQWXQOLTXLGDWHGRUGLVSXWHGWKH&ODLPRIDQ\YHQGRUQRWLQFOXGHGRQWKH'HEWRUV¶RSHQ
DFFRXQWVSD\DEOHWKDWLVDVVRFLDWHGZLWKDQDFFRXQWWKDWKDVDQDFFUXDO)XUWKHULQDGGLWLRQWRWKH
LWHPV OLVWHG LQ 6FKHGXOH () FHUWDLQ RI WKH 'HEWRUV IURP WLPH WR WLPH SURYLGH SHUIRUPDQFH
JXDUDQWHHVRIREOLJDWLRQVRIFHUWDLQRWKHU'HEWRUVRU'HEWRUDIILOLDWHVLQFRQQHFWLRQZLWKYDULRXV
FRQWUDFWXDOREOLJDWLRQVZKLFKPD\QRWEHOLVWHGLQWKH6FKHGXOHV

6FKHGXOH*$OWKRXJKUHDVRQDEOHHIIRUWVKDYHEHHQPDGHWRHQVXUHWKHDFFXUDF\RI6FKHGXOH*
UHJDUGLQJ H[HFXWRU\ FRQWUDFWV DQG XQH[SLUHG OHDVHV LQDGYHUWHQW HUURUV RPLVVLRQV RU
RYHULQFOXVLRQPD\KDYHRFFXUUHGLQSUHSDULQJ6FKHGXOH*&HUWDLQRIWKHLQVWUXPHQWVUHIOHFWHG
RQ6FKHGXOH*PD\FRQWDLQUHQHZDORSWLRQVJXDUDQWHHVRISD\PHQWVRSWLRQVWRSXUFKDVHULJKWV
RIILUVWUHIXVDODQGRWKHUPLVFHOODQHRXVULJKWV6XFKULJKWVSRZHUVGXWLHVDQGREOLJDWLRQVDUH
QRWVHSDUDWHO\VHWIRUWKRQ6FKHGXOH*7KH'HEWRUVKHUHE\H[SUHVVO\UHVHUYHWKHULJKWWRDVVHUW
WKDWDQ\LQVWUXPHQWOLVWHGRQ6FKHGXOH*LVDQH[HFXWRU\FRQWUDFWZLWKLQWKHPHDQLQJRIVHFWLRQ
RIWKH%DQNUXSWF\&RGH7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVFODLPVDQGFDXVHVRIDFWLRQ
ZLWK UHVSHFW WR FODLPV DVVRFLDWHG ZLWK DQ\ FRQWUDFWV DQG DJUHHPHQWV OLVWHG RQ 6FKHGXOH $%
LQFOXGLQJWKHLUULJKWWRGLVSXWHRUFKDOOHQJHWKHFKDUDFWHUL]DWLRQRUWKHVWUXFWXUHRIDQ\WUDQVDFWLRQ
GRFXPHQWRULQVWUXPHQWLQFOXGLQJDQ\LQWHUFRPSDQ\DJUHHPHQWUHODWHGWRDFUHGLWRU¶VFODLP

&HUWDLQ FRQILGHQWLDOLW\ KROG KDUPOHVV DQG QRQFRPSHWH DJUHHPHQWV PD\ QRW EH OLVWHG RQ
6FKHGXOH*  ,Q DGGLWLRQ DJUHHPHQWV DQG XQGHUO\LQJ GRFXPHQWDWLRQ UHODWHG WR WKH 'HEWRUV¶
SUHSHWLWLRQGHEWLVQRWLQFOXGHGLQ6FKHGXOH*7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFW
WRVXFKDJUHHPHQWV

&HUWDLQ RI WKH FRQWUDFWV DQG DJUHHPHQWV OLVWHG RQ 6FKHGXOH * PD\ FRQVLVW RI VHYHUDO SDUWV
LQFOXGLQJSXUFKDVHRUGHUVDPHQGPHQWVUHVWDWHPHQWVZDLYHUVOHWWHUVDQGRWKHUGRFXPHQWVWKDW
PD\QRWEHOLVWHGRQ6FKHGXOH*RUWKDWPD\EHOLVWHGDVDVLQJOHHQWU\

7KH'HEWRUVDUHSDUW\WRWKRXVDQGVRIRUGLQDU\FRXUVHFRQWUDFWVWHUPVDQGFRQGLWLRQVLQVHUWLRQ
RUGHUVDQGVLPLODUDJUHHPHQWVZULWWHQDQGRUDOSURYLGLQJIRUWKHVDOHRIDGYHUWLVLQJWLPHWRD
FXVWRPHUFROOHFWLYHO\WKH³,QVHUWLRQ2UGHUV´,QVHUWLRQ2UGHUVDUHW\SLFDOO\VKRUWWHUPFRQWUDFWV
ZLWKWHUPVRI>WKUHH@PRQWKVRIOHVV,WZRXOGEHWLPHFRQVXPLQJDQGDQLQHIILFLHQWXVHRIWKH
'HEWRUV¶ UHVRXUFHV RU RWKHUZLVH LPSUDFWLFDEOH WR LGHQWLI\ DQG UHYLHZ HDFK ,QVHUWLRQ 2UGHU
&RQVHTXHQWO\6FKHGXOH*GRHVQRWOLVW,QVHUWLRQ2UGHUVHYHQWKRXJKVRPHRIWKHFRQWUDFWVRQ
6FKHGXOH*PD\EH,QVHUWLRQ2UGHUVRURWKHUFXVWRPHUFRQWUDFWV

7KHFRQWUDFWVDJUHHPHQWVDQGOHDVHVOLVWHGRQ6FKHGXOH*PD\KDYHH[SLUHGRUPD\KDYHEHHQ
PRGLILHG DPHQGHG RU VXSSOHPHQWHG IURP WLPH WR WLPH E\ YDULRXV DPHQGPHQWV UHVWDWHPHQWV
ZDLYHUV HVWRSSHO FHUWLILFDWHV OHWWHUV PHPRUDQGD DQG RWKHU GRFXPHQWV LQVWUXPHQWV DQG
DJUHHPHQWVWKDWPD\QRWEHOLVWHGWKHUHLQGHVSLWHWKH'HEWRUV¶XVHRIUHDVRQDEOHHIIRUWVWRLGHQWLI\
VXFKGRFXPHQWV)XUWKHUXQOHVVRWKHUZLVHVSHFLILHGRQ6FKHGXOH*HDFKH[HFXWRU\FRQWUDFWRU

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XQH[SLUHG OHDVH OLVWHG WKHUHRQ VKDOO LQFOXGH DOO H[KLELWV VFKHGXOHV ULGHUV PRGLILFDWLRQV
GHFODUDWLRQV DPHQGPHQWV VXSSOHPHQWV DWWDFKPHQWV UHVWDWHPHQWV RU RWKHU DJUHHPHQWV PDGH
GLUHFWO\RULQGLUHFWO\E\DQ\DJUHHPHQWLQVWUXPHQWRURWKHUGRFXPHQWWKDWLQDQ\PDQQHUDIIHFWV
VXFKH[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHZLWKRXWUHVSHFWWRZKHWKHUVXFKDJUHHPHQWLQVWUXPHQW
RURWKHUGRFXPHQWLVOLVWHGWKHUHRQ,QVRPHFDVHVWKHVDPHVXSSOLHURUSURYLGHUDSSHDUVPXOWLSOH
WLPHVRQ6FKHGXOH*7KLVPXOWLSOHOLVWLQJLVLQWHQGHGWRUHIOHFWGLVWLQFWDJUHHPHQWVEHWZHHQWKH
DSSOLFDEOH'HEWRUDQGVXFKVXSSOLHURUSURYLGHU

6FKHGXOH+$OWKRXJKWKHUHDUHPXOWLSOHEHQHILFLDOKROGHUVRIWKH'HEWRUV¶SUHSHWLWLRQGHEWRQO\
WKHDGPLQLVWUDWLYHDJHQWVDQGLQGHQWXUHWUXVWHHVKDYHEHHQOLVWHGRQ6FKHGXOH+

                 6SHFLILF'LVFORVXUHVZLWK5HVSHFWWRWKH'HEWRUV¶6WDWHPHQWV

6WDWHPHQW   )RU ILQDQFLDO UHSRUWLQJ SXUSRVHV WKH 'HEWRUV DQG FHUWDLQ RI WKHLU QRQ'HEWRU
DIILOLDWHV KLVWRULFDOO\ SUHSDUH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV  8QOLNH WKRVH FRQVROLGDWHG
ILQDQFLDO VWDWHPHQWV 6WDWHPHQW  UHIOHFWV WKH QRQEXVLQHVV UHYHQXH RI HDFK 'HEWRU RQ D
QRQFRQVROLGDWHGEDVLV$FFRUGLQJO\QRQEXVLQHVVUHYHQXHUHSRUWHGIRULQGLYLGXDO'HEWRUVPD\
EHVKRZQLQWKH6WDWHPHQWVDVUHYHQXHIRUWKDW'HEWRUZKHUHDVRQDFRQVROLGDWHGEDVLVPD\EH
VKRZQDVDQHWH[SHQVH

6WDWHPHQW   ,Q 6WDWHPHQW  GLVEXUVHPHQWV PDGH RQ DFFRXQW RI PXOWLSOH LQYRLFHV PD\ EH
UHIOHFWHGDVDVLQJOHSD\PHQW
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$OOGLVEXUVHPHQWVOLVWHGLQ6WDWHPHQWDUHPDGHWKURXJKWKH'HEWRUV¶FDVKPDQDJHPHQWV\VWHP
PRUHIXOO\GHVFULEHGLQWKH&DVK0DQDJHPHQW0RWLRQ'DWHVOLVWHGLQ6WDWHPHQWUHIOHFWWKHGDWHV
XSRQ ZKLFK WKH 'HEWRU WUDQVIHUUHG IXQGV WR WKH UHOHYDQW SD\HH RU GLVEXUVLQJ DJHQW  &HUWDLQ
GLVEXUVHPHQWV PD\ EH H[FOXGHG IURP 6WDWHPHQW  LQFOXGLQJ GLVEXUVHPHQWV WR LQVLGHUV
GLVEXUVHPHQWV WR FKDULWLHV DQG GLVEXUVHPHQWV WR FHUWDLQ UHWDLQHG SURIHVVLRQDOV UHSRUWHG
HOVHZKHUH
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6WDWHPHQW3D\PHQWVPDGHWRLQGLYLGXDOLQVLGHUVKDYHEHHQUHSRUWHGLQDJJUHJDWHDPRXQWVE\
EDVLVRIGLVWULEXWLRQ6XFKSD\PHQWVUHIOHFWH[SHQVHUHLPEXUVHPHQWVSDLGGLUHFWO\WRWKHLQGLYLGXDO
LQVLGHUDQGGRQRWLQFOXGHEXVLQHVVH[SHQVHVLQFXUUHGE\WKHLQGLYLGXDOLQVLGHUZKHQSDLGGLUHFWO\
E\WKHFRPSDQ\WRDWKLUGSDUW\LQFOXGLQJXQGHUFRUSRUDWHFDUGSURJUDPV

,QGLYLGXDOSD\PHQWVWR'HEWRUDIILOLDWHVDUHQRWUHIOHFWHGLQ6WDWHPHQWGXHWRWKHLUFRPSOH[LW\
DQGYROXPLQRXVQDWXUH7KH'HEWRUVKDYHUHSRUWHGQHWLQWHUFRPSDQ\SRVLWLRQVLQ6WDWHPHQWIRU
WKHSHULRGWR,QDGGLWLRQLQWHUFRPSDQ\SD\DEOHVDQGUHFHLYDEOHVDVRIWKH
3HWLWLRQ'DWHFDQEHIRXQGRQ6FKHGXOH()DQG6FKHGXOH$%
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6WDWHPHQW   7KH 'HEWRU¶V UDGLR VWDWLRQVURXWLQHO\RIIHULQNLQGGRQDWLRQVRIUDGLRDLUWLPH WR
FKDULWLHV7KLVLVQRWWUDFNHGIRUWD[UHSRUWLQJSXUSRVHVDQGWKHUHIRUHQRWUHSRUWHGLQWKLVUHVSRQVH
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6WDWHPHQW   $OO GLVEXUVHPHQWV OLVWHG LQ 6WDWHPHQW  ZHUH LQLWLDWHG DQG GLVEXUVHG E\
L+HDUW0HGLD0DQDJHPHQW6HUYLFHV,QFEXWZHUHIRUWKHEHQHILWRIDOORIWKH'HEWRUV
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6WDWHPHQW7KH'HEWRUVGRQRWWDNHDQ\SRVLWLRQZLWKUHVSHFWWRZKHWKHUWUDQVIHUVLGHQWLILHG
LQ WKH UHVSRQVH WR 4XHVWLRQ  LQ WKH 6WDWHPHQWV DUH PDGH LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV
&HUWDLQWUDQVIHUVOLVWHGLQWKLVUHVSRQVHDUHLQFOXGHGVROHO\RXWRIDQDEXQGDQFHRIFDXWLRQ

6WDWHPHQW,QIRUPDWLRQOLVWHGLQ6WDWHPHQWLVEDVHGRQEHVWKLVWRULFDOFRUSRUDWHVWUXFWXUH
LQIRUPDWLRQ DYDLODEOH  &HUWDLQ GDWHV RI RZQHUVKLS PD\ EH DSSUR[LPDWH DQG FHUWDLQ KLVWRULFDO
DGGUHVVLQIRUPDWLRQPD\EHXQDYDLODEOHIRUHQWLWLHVWKDWQRORQJHUH[LVW,QWKHFDVHRIQRQ86
HQWLWLHV86WD[,'QXPEHUVDUHQRWDSSOLFDEOH

6WDWHPHQWE7KH'HEWRUVKDYHOLVWHG(UQVW	<RXQJ//3WKHLQGHSHQGHQWUHJLVWHUHGSXEOLF
DFFRXQWLQJILUPWKDWKDVDXGLWHGWKHLUFRQVROLGDWHGILQDQFLDOVWDWHPHQWVLQ6WDWHPHQWEIRUDOO
'HEWRUV

6WDWHPHQW G  &HUWDLQ RI WKH 'HEWRUV DUH UHJLVWUDQWV ZLWK WKH 6HFXULWLHV DQG ([FKDQJH
&RPPLVVLRQWKH³6(&´DQGILOHZLWKVXFKDJHQF\SHULRGLFILQDQFLDOUHSRUWVRQDFRQVROLGDWHG
EDVLV  7KHVH UHSRUWV DOVR FRQWDLQ LQIRUPDWLRQ DERXW WKRVH 'HEWRUV¶ ILQDQFHV DQG DUH DYDLODEOH
SXEOLFO\WKURXJKWKH&RPSDQ\¶VZHEVLWH

6WDWHPHQW2ZQHUVKLSLQWHUHVWVOLVWHGLQ6WDWHPHQWUHIOHFWVKDUHVGLUHFWO\KHOG
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iHeartMedia Management Services, Inc.

                     Southern                Texas,
                                             Houston
           18-31301 (MI)                     Divison




                                                                         37,122,074.00
                                                                  + undetermined amounts



                                                                     15,276,672,414.25
                                                                  + undetermined amounts



                                                                     15,313,794,488.25
                                                                  + undetermined amounts




                                                                                    0.00
                                                                  + undetermined amounts




                                   5a                                               0.00
                                                                  + undetermined amounts



                                                                     21,623,210,139.86
                                        5b                        + undetermined amounts




                                                                     21,623,210,139.86
                                                                  + undetermined amounts




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           iHeartMedia Management Services, Inc.

                                   Southern        Texas,
                                                   Houston
                         18-31301 (MI)             Divison




X




                                                                                     1,250.00




    See Attached Rider                                                           98,210,072.66




    None                                                                                  0.00




                                                                                 98,211,322.66




X




    See Attached Rider                                                             4,838,712.17




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           iHeartMedia Management Services, Inc.                 18-31301 (MI)




    See Attached Rider                                                                   66,393,832.44




                                                                                         71,232,544.59




X




                              437,143,244.00             0.00                          437,143,244.00


                               84,207,982.00       -832,803.00                          85,040,785.00



                                                                                       522,184,029.00




X




    None                                                                                            0.00




    See Attached Rider                                                                              0.00
                                                                                   + undetermined amounts




    None                                                                                            0.00




                                                                                                  0.00
                                                                                 + undetermined amounts




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            iHeartMedia Management Services, Inc.                              18-31301 (MI)




 X




None                                                                                                 0.00



Inventory                                           N/A   430,115.00   Net Book Value          430,115.00




None                                                                                                 0.00



None                                                                                                 0.00



                                                                                               430,115.00




 X




 X




 X




                                                                                                            17 of 803
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           iHeartMedia Management Services, Inc.                         18-31301 (MI)




                                                                                                           0.00




 X




See Attached Rider                                  4,903,829.00                                 4,903,829.00



See Question 39.




See Attached Rider                                 71,789,399.00                                71,789,399.00




     Various Recording Artist Memorabilia          Undetermined    N/A                          Undetermined




                                                                                                76,693,228.00
                                                                                         + undetermined amounts




X



X




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           iHeartMedia Management Services, Inc.                             18-31301 (MI)




X




    See Attached Rider                              116,143.00                                 116,143.00




    None                                                                                              0.00




    Aircraft - Leasehold Improvements              5,697,882.00   Net Book Value              5,697,882.00




See Attached Rider                                 5,111,854.00                               5,111,854.00



                                                                                             10,925,879.00




X



X




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           iHeartMedia Management Services, Inc.                            18-31301 (MI)




X




    See Attached Rider                             37,122,074.00                                   37,122,074.00
                                                                                            + undetermined amounts




                                                                                                   37,122,074.00
                                                                                            + undetermined amounts




X


X




X




See Attached Rider                                           0.00                                            0.00
                                                                                            + undetermined amounts


None                                                                                                         0.00


None                                                                                                         0.00


None                                                                                                         0.00


None                                                                                                         0.00


Goodwill                                           155,948,871.00   Net Book Value               155,948,871.00


                                                                                                 155,948,871.00
                                                                                            + undetermined amounts




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          iHeartMedia Management Services, Inc.                 18-31301 (MI)




X




X


X




X




                                                  42,391.00                                42,391.00
Note Receivable Great Eastern Radio LLC




None
                                                                                                 0.00




See Attached Rider                                                                               0.00
                                                                                + undetermined amounts




None                                                                                             0.00




None                                                                                             0.00




None                                                                                             0.00




See Attached Rider                                                                14,341,004,034.00




                                                                                  14,341,046,425.00
                                                                                + undetermined amounts



X




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iHeartMedia Management Services, Inc.                                     18-31301 (MI)




                                                98,211,322.66


                                                71,232,544.59



                                               522,184,029.00


                                                         0.00
                                           + undetermined amounts

                                                   430,115.00


                                                         0.00



                                                76,693,228.00
                                           + undetermined amounts

                                                10,925,879.00


                                                                             37,122,074.00
                                                                    + undetermined amounts

                                               155,948,871.00
                                           + undetermined amounts

                                            14,341,046,425.00
                                           + undetermined amounts

                                             15,276,672,414.25                37,122,074.00
                                        + undetermined amounts      + undetermined amounts




                                                                                                15,313,794,488.25
                                                                                              + undetermined amounts




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Debtor Name: iHeartMedia Management Services, Inc.                                                 Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                            Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage                                            Last 4 digits of account         Current value of debtor's
                                             Type of account
firm)                                                                             number                           interest
BANK OF AMERICA                             Disbursement                         6812                                                $212,203.78

BANK OF AMERICA                             Disbursement                         3953                                                    $999.55

BANK OF AMERICA                             Lockbox                              7481                                                      $0.00

BANK OF AMERICA                             Lockbox                              8238                                                      $0.00

BANK OF AMERICA                             Master Concentration                 6586                                              $2,306,099.27

BANK OF AMERICA                             Lockbox                              6750                                                      $0.00

BANK OF AMERICA                             Master Disbursement                  1402                                              $1,068,382.86

BANK OF AMERICA                             Disbursement                         7415                                                $328,950.70

CITIBANK                                    Deposit                              9359                                                $257,332.72

CITIBANK                                    Deposit                              5075                                                $190,596.76

CITIBANK                                    Deposit                              6001                                                $223,941.72

CITIBANK                                    Deposit                              1943                                                      $0.00

CITIBANK                                    Escrow                               7601                                                      $0.00

CITIBANK                                    Deposit                              9340                                                $703,249.79

FEDERATED INVESTORS                         Investment                           3888                                                      $0.00

FIDELITY                                    Investment                           8321                                                      $0.00

FROST BANK                                  Deposit                              0148                                                  $6,254.93

GOLDMAN SACHS                               Investment                           2342                                                      $0.00

GOLDMAN SACHS                               Investment                           2340                                                      $0.00

GOLDMAN SACHS                               Investment                           5311                                                      $0.00

GOLDMAN SACHS                               Investment                           8552                                                      $0.00

GOLDMAN SACHS                               Investment                           5589                                                      $0.00

GOLDMAN SACHS                               Investment                           5775                                                      $0.00

GOLDMAN SACHS                               Postpetition Investment              2344                                                      $0.00

GOLDMAN SACHS                               Investment                           5773                                                      $0.00

GOLDMAN SACHS                               Investment                           7265                                                      $0.00

GOLDMAN SACHS                               Investment                           0500                                                      $0.00

GOLDMAN SACHS                               Investment                           2341                                                      $0.00

GOLDMAN SACHS                               Investment                           5774                                                      $0.00

GOLDMAN SACHS                               Investment                           8616                                                      $0.00

GOLDMAN SACHS                               Investment                           2343                                                      $0.00



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Debtor Name: iHeartMedia Management Services, Inc.                                                 Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                            Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage                                            Last 4 digits of account         Current value of debtor's
                                             Type of account
firm)                                                                             number                           interest
GOLDMAN SACHS                               Investment                           5711                                                      $0.00

INVESCO                                     Postpetition Investment              0266                                                      $0.00

MERRILL LYNCH                               Postpetition Investment              0420                                             $90,406,726.06

STATE STREET                                Investment                           1421                                                      $0.00

STONE CASTLE CASH MANAGEMENT                Investment                           4539                                                      $0.00

U.S. BANK                                   Master Funding                       0507                                              $2,386,861.45

U.S. BANK                                   Disbursement                         5450                                                      $0.00

U.S. BANK                                   Payroll                              5138                                                  $2,154.41

U.S. BANK                                   Disbursement                         5112                                                      $0.00

U.S. BANK                                   Payroll                              1880                                                $106,409.07

U.S. BANK                                   Disbursement                         5146                                                      $0.00

U.S. BANK                                   Payroll                              5120                                                      $0.00

U.S. BANK                                   Disbursement                         5070                                                      $0.00

U.S. BANK                                   Payroll                              1898                                                  $9,909.59

U.S. BANK                                   Disbursement                         5088                                                      $0.00

                                                                                                       TOTAL                      $98,210,072.66




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   Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                    Assets - Real and Personal Property

                                 Part 2, Question 7: Deposits, including security deposits and utility deposits




Description                                                    Name of holder of deposit                          Current value of debtor's interest
Utility Deposit                                                ADCO Electrical Corp                                                       $1,837.88
Travel Management Deposit                                      AMEX Global Business Travel                                               $30,000.00
Bond                                                           AON Risk Services Southwest Inc.                                         $147,220.23
Political Consultant Deposit                                   Appian Consulting LLC                                                      $5,483.87
Other Deposit                                                  Architecture Plus Information                                            $123,310.23
Other Deposit                                                  ASD                                                                       $10,125.00
Lease Security Deposit                                         Avalon                                                                     $3,500.00
Political Consultant Deposit                                   Beekeeper Group                                                           $19,184.35
Other Deposit                                                  Beneville Studios Inc                                                     $15,940.27
Other Deposit                                                  Betsch Associates Inc                                                      $2,830.00
Escrow                                                         Bluegrass integrated Communications                                       $77,177.00
Political Consultant Deposit                                   Bounceology Inc                                                            $5,483.87
Other Deposit                                                  Chapman Construction Design Company                                        $8,910.00
Political Consultant Deposit                                   Chartwell Strategy Group LLC                                               $5,483.87
Utility Deposit                                                Con Edison                                                                 $3,970.00
Legal Deposit                                                  Covington Burling LLP                                                    $231,144.35
Political Consultant Deposit                                   David Leach LLC                                                            $5,448.50
Advisor Deposit                                                Deloitte                                                                  $50,890.34
Other Deposit                                                  Dyer Brown & Associates Inc                                               $45,071.08
Political Consultant Deposit                                   Epiphany Productions Inc                                                   $2,193.55
Advisor Deposit                                                Ernst & Young LLP                                                         $32,012.90
Advisor Deposit                                                Finsbury LLC                                                             $236,451.61
Business Aviation Deposit                                      Gama Aviation LLC                                                      $1,036,902.36
Legal Deposit                                                  Garlick & Markison                                                       $118,375.00
Other Deposit                                                  Heery International Inc                                                    $1,400.00
Business Aviation Deposit                                      Jetflite                                                                  $10,967.74
Other Deposit                                                  John Gallin & Son Inc                                                     $55,062.00
Legal Deposit                                                  K&L Gates LLP                                                             $60,479.70
Legal Deposit                                                  Kellogg Hansen Todd Figel & Frederick PL                                   $9,381.59
Advance payment retainer                                       Kirkland & Ellis                                                       $1,125,884.27
Political Consultant Deposit                                   Lawrence Sidman                                                            $4,387.10
Legal Deposit                                                  Littler Mendelson Pc                                                      $21,610.67
Legal Deposit                                                  Loeb & Loeb LLP                                                           $30,972.19
Other Deposit                                                  Malitz Construction Inc                                                   $99,347.82
Political Consultant Deposit                                   Mehlman Castagnetti Rosen & Thomas                                         $8,225.81
Legal Deposit                                                  Milbank (New York)                                                        $29,267.50
Other Deposit                                                  Mitchell Contract Interiors Inc                                          $173,457.00
Political Consultant Deposit                                   ONeill Athy & Casey PC                                                     $6,580.65
Other Deposit                                                  Pape-Dawson Engineers Inc                                                 $30,000.00
Legal Deposit                                                  Paul Hastings LLP                                                         $82,254.92
Office Rent Deposit                                            PK5 LLC transferred deposit from Barr                                      $9,500.00
                                                               Systems Inc.
Political Consultant Deposit                                   Polaris Consulting LLC                                                    $19,193.55


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   Debtor Name: iHeartMedia Management Services, Inc.                                                 Case Number: 18-31301 (MI)

                                                    Assets - Real and Personal Property

                                 Part 2, Question 7: Deposits, including security deposits and utility deposits




Description                                                    Name of holder of deposit                          Current value of debtor's interest
Advisor Deposit                                                Pricewaterhousecoopers LLP                                               $111,707.76
Political Consultant Deposit                                   Public Affairs Support Services Inc                                       $10,756.99
Legal Deposit                                                  Repp Law Firm                                                             $10,444.00
Other Deposit                                                  Scobey Moving & Storage                                                    $9,145.00
Legal Deposit                                                  Seitz Ross Aronstam & Moritz LLP                                         $133,603.19
Other Deposit                                                  Sigma Solutions Inc.                                                     $229,774.43
Other Deposit                                                  Smith & Wessel Associates Inc                                              $1,900.00
Political Consultant Deposit                                   The Gibson Group LLC                                                       $5,483.87
Other Deposit                                                  The Pinnacle Club                                                         $36,179.26
Legal Deposit                                                  Thompson Hine                                                             $13,072.70
Legal Deposit                                                  Tripp Scott                                                               $70,758.00
Political Consultant Deposit                                   TwinLogic Strategies LLP                                                   $1,645.16
Lease Security Deposits                                        Various locations                                                         $13,910.00
Other Deposit                                                  WB Engineers Consultants                                                  $34,892.50
Legal Deposit                                                  Wiley Rein LLP                                                            $69,191.55
Legal Deposit                                                  Wilkinson Barker                                                          $20,060.66
Legal Deposit                                                  Wilson Sonsini Goodrich & Rosati                                          $69,268.33
                                                                                                      TOTAL                           $4,838,712.17




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   Debtor Name: iHeartMedia Management Services, Inc.                                                    Case Number: 18-31301 (MI)

                                                        Assets - Real and Personal Property

                   Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                        Name of holder of prepayment                  Current value of debtor's interest
Software License                                                   Adaptive Planning                                                        $5,557.08
Outside Research                                                   Advertising Research Foundation Inc                                    $69,125.00
Event                                                              Agence Impact                                                            $6,850.59
Prepaid Expense                                                    Agence Impact                                                          $31,532.10
Event                                                              Aloft                                                                     $979.17
Dues/Subscriptions                                                 Amazon Web Services                                                      $6,721.06
Event                                                              Amazon.com                                                             $30,413.00
Outside Services                                                   Ando Media Triton                                                     $150,999.98
Event                                                              Andrew Poland                                                            $3,225.00
Prepaid Radio                                                      AP Invoices                                                          $2,289,799.13
Software                                                           App Annie Feb18 - Aug18                                                  $7,403.49
Software                                                           App Annie Ltd                                                          $20,628.44
Music License Fees                                                 ASCAP                                                               $10,759,647.26
Long-Term Prepaid Other                                            Atlassian                                                              $40,705.72
Software                                                           Atlassian                                                              $22,203.17
Prepaid Expense                                                    Auto Contact List                                                        $2,000.00
Prepaids Related To Trade Shows                                    AV Dimensions (Vendor related to Trade                                   $2,376.20
                                                                   Show)
Software Annual License                                            BIA Financial                                                            $9,186.14
Event                                                              Billy Gomes                                                               $550.00
Hitpredictor Royalty                                               BMI                                                                      $1,133.33
Dues/Subscriptions                                                 Boomi                                                                  $79,599.47
Prepaids Related To Trade Shows                                    Booth Storage - MM                                                        $189.65
Prepaids Related To Trade Shows                                    Booth Storage - RCS                                                       $217.08
Event                                                              Bootleggers Touring Inc                                                  $5,000.00
Other Prepaid Expense                                              Braze Inc                                                              $42,000.00
Event                                                              Brian Kip McDonald                                                       $1,263.00
Music License Fees                                                 Broadcast Music Inc                                                  $2,949,040.25
Prepaid Expense                                                    Cannes Lions                                                          $124,390.49
A/C Maint. Contract                                                Carey & Walsh/Alpha Aire                                                  $355.02
Prepaids Related To Trade Shows                                    Catholic Radio Conf                                                         $1.00
Prepaid Expense                                                    Ccinca Port De Cannes                                                  $15,116.46
Prepaids Related To Trade Shows                                    Central Canada B/E                                                       $2,279.41
Prepaids Related To Trade Shows                                    Christian Music B/C                                                      $5,053.81
Other Prepaid Expense                                              Circle Graphics Inc                                                   $151,517.30
Long-Term Prepaid Other                                            Civis Analytics                                                       $205,000.00
Outside Services                                                   Clearslide                                                             $30,912.93
Event                                                              Clint Thompson                                                           $1,800.00
Internet Data Provider                                             Competitrack                                                           $74,056.25
Event                                                              Conde Nast                                                            $277,852.48
Prepaid Health Savings Account company contribution to             ConnectYourCare                                                      $3,274,670.72
employee accounts
Outside Services                                                   Cornerstone                                                            $51,367.89
Event                                                              db Video LLC                                                             $2,671.76

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  Debtor Name: iHeartMedia Management Services, Inc.                                                     Case Number: 18-31301 (MI)

                                                        Assets - Real and Personal Property

                   Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                        Name of holder of prepayment                  Current value of debtor's interest
Other Prepaid Expense                                              Delta                                                                  $10,991.67
Event                                                              Delta Airlines                                                         $16,798.42
Site Monitoring                                                    Devolutions                                                               $499.75
Prepaids Related To Trade Shows                                    Digital Dealers Conf Tampa                                             $11,460.00
Software License                                                   Digital River Graphics S/W License                                       $2,907.69
Prepaid Postage                                                    Easypermit                                                               $7,868.34
Prepaid Expense                                                    Edmiston & Co                                                          $49,556.90
Dues/Subscriptions                                                 Elasticsearch Inc                                                      $33,660.35
Outside Research                                                   eMarketer                                                              $66,470.64
Prepaid Payroll and Other Employee Costs                           Employees                                                           $10,739,843.57
Prepaids Related To Trade Shows                                    Experient Exhibitor                                                       $499.00
Other Prepaid Expense                                              Facebook                                                                 $4,075.19
Event                                                              Fairmont Miramar Hotel Santa Monica                                    $31,478.00
Outside Services                                                   FIS AvantGard LLC                                                      $26,879.90
Outside Services                                                   Flo Partner, Inc.                                                      $18,000.00
Long-Term Prepaid Other                                            FLO Partners, Inc                                                      $16,500.00
Prepaids Related To Trade Shows                                    Florida Ass'n of B/C                                                      $300.00
Subscription                                                       Geotrust Subscription                                                    $1,166.67
Event                                                              Giancarlo Curzi                                                           $200.00
Music License Fees                                                 Global Music Rights                                                  $1,249,999.98
Monthly Expenses                                                   Global Music Rights LLC                                                     $0.31
Music License Fees                                                 Global Music Rights LLC                                              $1,666,666.67
Dues/Subscriptions                                                 Greenhouse Software Inc                                                $15,000.00
Event                                                              Henry C Warrick Jr                                                       $1,500.00
Other Prepaid Expense                                              Hits Magazine                                                          $37,500.01
Outside Services                                                   Horizon Media Inc                                                      $37,500.00
Event                                                              Hotel Du Cap Ede                                                       $11,508.37
Phone System Licenses                                              Huntel                                                                 $10,213.43
Software                                                           IBM                                                                  $2,710,088.68
Software                                                           Interactive Tracking                                                     $9,000.00
IT Maintenance agreements                                          IT Maintenance agreements                                            $5,412,115.14
Prepaid Implementation Costs                                       Jaggaer                                                                $37,811.46
Other Prepaid Expense                                              Jeannette Tully                                                        $20,500.00
Software License                                                   JetBrains ReSharper Ann License                                           $478.00
Event                                                              Juan Fiesta Corp                                                       $12,500.00
Newspaper Data                                                     Kantar                                                                    $289.67
Employee Exp Rept For Trade Show                                   Kevin Miller                                                             $2,120.96
Other Prepaid Expense                                              LinkedIn Corporation                                                     $9,534.03
Event                                                              LIRR Mobile Ticketing                                                       $7.50
Dues/Subscriptions                                                 List Partners                                                          $14,166.66
Other Prepaid Expense                                              Looker Data Sciences Inc                                               $51,824.50
Folding Machine Lease                                              MailFinance                                                              $1,595.11
Event                                                              Maria Valletta                                                            $500.00


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  Debtor Name: iHeartMedia Management Services, Inc.                                                      Case Number: 18-31301 (MI)

                                                        Assets - Real and Personal Property

                   Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                        Name of holder of prepayment                  Current value of debtor's interest
Outside Services                                                   Marketing Science Consulting Group Inc                                 $1,666.67
Outside Research                                                   Media Rating Council Inc                                              $18,125.03
Event                                                              Meg Cameron Boes                                                         $500.00
Prepaid Expense                                                    Misc.                                                                  $3,460.19
Other Prepaid Expense                                              Mongo DB                                                              $38,428.75
Outside Services                                                   Mouette LLC                                                            $4,000.00
Prepaids Related To Trade Shows                                    NADA (LV)                                                              $2,425.40
Prepaids Related To Trade Shows                                    National Association of Broadcasters                                   $3,435.00
Prepaids Related To Trade Shows                                    Nat'l Ass'n of Broadcasters                                          $173,147.59
Prepaids Related To Trade Shows                                    Nat'l Ass'n of Broadcasters                                           $45,082.00
Prepaids Related To Trade Shows                                    Nat'l Ass'n of Broadcasters Radio                                      $1,500.00
Prepaids Related To Trade Shows                                    Nat'l Ass'n of Broadcasters Radio                                        $799.66
Prepaids Related To Trade Shows                                    Nat'l College Journalism Conf                                            $316.00
Consultants For Software                                           NetatWork Consolidation Project                                        $2,000.00
Software                                                           NetBase                                                              $254,221.88
Outside Services                                                   NetNet Inc                                                            $45,193.75
Prepaid Implementation Costs                                       Netsuite                                                            $4,231,375.34
Software                                                           New Relic Inc                                                        $216,389.00
Prepaids Related To Trade Shows                                    NY Ass'n of B/C                                                          $500.00
Prepaid Implementation Costs                                       O365/Okta                                                            $100,214.25
Prepaids Related To Trade Shows                                    OAAA                                                                   $4,170.00
Prepaids Related To Trade Shows                                    Oklahoma B/C                                                             $500.00
Prepaids Related To Trade Shows                                    Other                                                                  $3,573.20
Mm Imaging Software                                                Paragon                                                                $1,869.73
Software                                                           Parsely Inc                                                           $89,375.01
Prepaids Related To Trade Shows                                    PBS (show)                                                             $7,000.00
Software                                                           Premiere Response LLC                                                 $15,170.20
Office Rent                                                        Prepaid Expenses                                                      $94,577.34
Prepaid Insurance premiums                                         Prepaid insurance premiums                                           $832,301.00
Prepaid International insurance premiums                           Prepaid international insurance premiums                              $88,310.52
EMC & VNX Annual Maintenance                                       Presidio                                                              $10,470.63
MM Site Monitoring                                                 Presidio                                                               $1,861.96
Dues/Subscriptions                                                 PTTOW LLC                                                             $37,500.00
Prepaids Related To Trade Shows                                    RAB Board Meeting                                                      $7,833.20
Prepaids Related To Trade Shows                                    RAB Board Meeting                                                      $7,250.00
Dues/Subscriptions                                                 Radius Intelligence                                                   $75,000.00
Dues/Subscriptions                                                 RCS                                                                    $8,067.17
Intercompany                                                       RCS                                                                 $2,002,951.92
Support Services                                                   RCS Europe                                                            $25,000.00
Intercompany                                                       RCS Media Monitors                                                  $2,583,910.21
Prepaids Related To Trade Shows                                    Response Expo                                                            $595.00
Other Prepaid Expense                                              Return Path Inc                                                       $29,940.65
Software                                                           Return Path Inc                                                       $14,879.58


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  Debtor Name: iHeartMedia Management Services, Inc.                                                      Case Number: 18-31301 (MI)

                                                        Assets - Real and Personal Property

                   Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                        Name of holder of prepayment                  Current value of debtor's interest
Software                                                           RL Polk                                                              $122,145.82
Event                                                              Robert Bennett                                                         $1,500.00
Event                                                              Row Crop LLC                                                          $50,000.00
Outside Research                                                   S P Global Market Intelligence                                         $8,208.20
Software Annual Support/ Maint                                     SAGE AccPac                                                            $3,449.03
Long-Term Prepaid Other                                            Salesforce                                                          $1,334,035.44
Software                                                           Salesforce                                                            $10,119.45
Software                                                           Salesforce Com Inc                                                   $617,014.24
Event                                                              Second Star LLC                                                       $27,500.00
Software                                                           ServiceNow                                                            $58,139.13
Event                                                              Shannon Gamble                                                         $1,100.00
Event                                                              Sheraton Austin                                                       $13,000.00
Software                                                           Sigma Solutions Inc                                                    $3,669.33
Software                                                           SintecMedia NYC Inc                                                   $55,286.50
Event                                                              Sophie Koorhan                                                           $438.90
Event                                                              Spike ODoyle Touring Inc.                                             $12,500.00
Data                                                               Sqad                                                                  $71,819.01
Data                                                               Sqad                                                                  $27,137.69
Data                                                               Sqad                                                                  $14,733.33
Outside Research                                                   Sqad LLC                                                              $16,469.26
Other Trade Prepayment                                             STX                                                                 $3,000,000.00
Software                                                           Tableau Software                                                      $22,100.00
Event                                                              Taxi                                                                     $150.71
Annual Support License                                             Teamviewer                                                             $2,603.74
Prepaid Expense                                                    Tech Summit                                                            $7,646.41
SW Testing Program                                                 Testcomplete 7                                                         $1,390.28
Prepaids Related To Trade Shows                                    Texas A'ssn of Broadcasters                                            $1,530.00
Prospect Data Base                                                 The List                                                               $6,755.38
Software                                                           TLIC - MB                                                              $1,743.42
Outside Research                                                   Tracx US                                                               $3,629.18
Event                                                              Travis A Jones                                                         $1,500.00
Dues/Subscriptions                                                 Trustworthy Accountability Group Inc                                  $13,125.01
Event                                                              Uber                                                                     $216.31
Event                                                              United                                                                 $1,789.58
Other Prepaid Expense                                              Universal Music Group Inc                                            $281,250.00
Software                                                           User Testing Inc                                                      $60,890.63
Corporate Prepaid Expenses                                         Various                                                             $2,134,924.59
Event                                                              Viacom International Inc                                               $4,160.00
Outside Services                                                   Vinyl Development dba Zudy                                            $32,662.50
Software Support                                                   VMWare                                                                 $8,156.81
Event                                                              W Austin                                                                 $458.85
Performance Royalties                                              Warner Brothers Records                                              $828,333.33
Other Prepaid Expense                                              Warner Music Group                                                    $30,000.00


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  Debtor Name: iHeartMedia Management Services, Inc.                                                    Case Number: 18-31301 (MI)

                                                        Assets - Real and Personal Property

                   Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                        Name of holder of prepayment                  Current value of debtor's interest
Long-Term Prepaid Other                                            Westwood One                                                         $1,700,222.27
Outside Services                                                   Westwood One/Cumulus                                                 $1,457,333.33
Software                                                           Winforms Upgrade (DevExpress)                                             $899.97
Other Trade Prepayment                                             WorldAdobe                                                             $84,522.58
Dues/Subscriptions                                                 Wrike Inc                                                              $49,569.00
Outside Services                                                   ZynBit.com                                                             $16,148.00
                                                                                                        TOTAL                          $66,393,832.44




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Debtor Name: iHeartMedia Management Services, Inc.                                                      Case Number: 18-31301 (MI)

                                                      Assets - Real and Personal Property

   Part 4, Question 15: Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
                                                            partnership, or joint venture


                                                                                      Valuation method used for      Current value of debtor's
Name of Entity                                  % of ownership
                                                                                      current value                  interest
BUT Radio Computing Services, Inc.                                         100.00%                                                     Undetermined

Radio Computing Services (India) Pvt Ltd.                                  100.00%                                                     Undetermined

Radio Computing Services (Africa) Pty Ltd.                                 100.00%                                                     Undetermined

Radio Computing Services (NZ) Ltd.                                         100.00%                                                     Undetermined

Radio Computing Services (SEA) Pte Ltd.                                    100.00%                                                     Undetermined

Radio Computing Services (Thailand) Ltd.                                   100.00%                                                     Undetermined

Radio Computing Services (UK) Ltd.                                         100.00%                                                     Undetermined

Radio Computing Services Canada Ltd.                                       100.00%                                                     Undetermined

BORDER CITY MEDIA INC.                                                Undetermined                                                     Undetermined

Radio Computing Services of Australia Pty                                  100.00%                                                     Undetermined
Ltd.
RCS Europe SARL                                                            100.00%                                                     Undetermined

RCS Radio Computing China, Inc.                                            100.00%                                                     Undetermined

Aircheck India Pvt Ltd.                                                    100.00%                                                     Undetermined

Media Monitors (M) Sdn. Bhd.                                               100.00%                                                     Undetermined

Media Monitors Dominican Republic                                          100.00%                                                     Undetermined

Clear Channel Real Estate Services, LLC                                    100.00%                                                     Undetermined

                                                                                                            TOTAL                          $0.00
                                                                                                                          + undetermined amounts




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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                                      Part 7, Question 39: Office furniture



                                            Net book value of debtor's               Valuation method used for   Current value of debtor's
General description
                                            interest                                 current value               interest
Furniture & Fixtures                                               $15,548,765.00 Net Book Value                                 $15,548,765.00

Furniture & Fixtures - Clearing Account                                $12,569.00 Net Book Value                                    $12,569.00

Furniture and Fixtures - Accumulated                              ($10,657,505.00) Net Book Value                              ($10,657,505.00)
Depreciation
                                                                                                        TOTAL                     $4,903,829.00




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Debtor Name:           iHeartMedia Management Services, Inc.                                        Case Number:          18-31301 (MI)

                                                    Assets - Real and Personal Property

           Part 7, Question 41: Office equipment, including all computer equipment and communication systems equipment and software




General description        Basis                     Depreciation            Net book value of     Valuation method     Current value of
                                                                             debtor's interest     used for current     debtor's interest
                                                                                                   value
Computer Equipment                                                                $333,737,506.00 Net Book Value             $333,737,506.00

Computer Equipment -                                                             ($274,006,429.00) Net Book Value           ($274,006,429.00)
Accumulated
Depreciation
Computer Equipment -                                                                  $118,927.00 Net Book Value                  $118,927.00
Clearing Account
Construction In Progress                                                           $11,939,395.00 Net Book Value               $11,939,395.00

                                                                                                  TOTAL                        $71,789,399.00




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Debtor Name: iHeartMedia Management Services, Inc.                                                     Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                         Part 8, Question 47: Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



                                              Net book value of debtor's             Valuation method used for       Current value of debtor's
General description
                                              interest                               current value                   interest
Automobiles                                                           $668,473.00 Net Book Value                                       $668,473.00

Automobiles - Accumulated Depreciation                               ($552,330.00) Net Book Value                                     ($552,330.00)

                                                                                                           TOTAL                       $116,143.00




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Debtor Name:           iHeartMedia Management Services, Inc.                                         Case Number:              18-31301 (MI)

                                                      Assets - Real and Personal Property

                      Part 8, Question 50: Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




General description        Basis                       Depreciation          Net book value of     Valuation method        Current value of
                                                                             debtor's interest     used for current        debtor's interest
                                                                                                   value
Other Accumulated                                                                    ($457,186.00) Net Book Value                    ($457,186.00)
Depreciation
Studio Equipment                                                                   $14,334,540.00 Net Book Value                   $14,334,540.00

Studio Equipment -                                                                ($10,293,069.00) Net Book Value                 ($10,293,069.00)
Accumulated
Depreciation
Towers Transmitters And                                                             $2,126,348.00 Net Book Value                    $2,126,348.00
Equipment
Towers, Transmitters and                                                             ($598,779.00) Net Book Value                    ($598,779.00)
Equipment - Accumulated
Depreciation
                                                                                                   TOTAL                            $5,111,854.00




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Debtor Name:             iHeartMedia Management Services, Inc.                                             Case Number:             18-31301 (MI)

                                                         Assets - Real and Personal Property

            Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Description and location of           Nature and extent of             Net book value of         Valuation method used        Current value of
property                              debtor's interest                debtor's interest         for current value            debtor's interest
Building Improvements                                                              $525,208.00 Net Book Value                               $525,208.00

Building Improvements -                                                           ($363,031.00) Net Book Value                            ($363,031.00)
Accumulated Depreciation
Buildings                                                                          $289,983.00 Net Book Value                               $289,983.00

Buildings - Accumulated                                                           ($109,503.00) Net Book Value                            ($109,503.00)
Depreciation
Land Total                                                                        $1,532,643.00 Net Book Value                            $1,532,643.00

Land Improvement - Accumulated                                                     ($11,710.00) Net Book Value                              ($11,710.00)
Depreciation
Leasehold Improvements                                                           $70,568,019.00 Net Book Value                           $70,568,019.00

Leasehold Improvements -                                                      ($35,309,535.00) Net Book Value                          ($35,309,535.00)
Accumulated Depreciation
Office/Studio Lease - Gainesville,    Leased                                      Undetermined N/A                                        Undetermined
FL Florical Systems Office, 4500
NW 27th Avenue, Gainesville, FL
32606
Office/Studio Lease - New York    Leased                                          Undetermined N/A                                        Undetermined
RCS HQ, 445 Hamilton Avenue,
Suite 210, White Plains, NY 10601
Owned Land - , Farm Tract 40,         Owned                                       Undetermined N/A                                        Undetermined
West & Adams Tract Subdivision,
Weslaco, TX
Owned Land - Charlotte Studio         Owned                                       Undetermined N/A                                        Undetermined
Expansion Land, Lot 4D,
Woodridge Center Dr., Charlotte,
NC 28217
Owned Land - Cincinnati Wharf   Owned                                             Undetermined N/A                                        Undetermined
Property, Campbell County Road,
Brent, KY 41076
Owned Land - Miami, FL Studio         Owned                                       Undetermined N/A                                        Undetermined
Parking Lot, 7601 Riviera
Boulevard, Miramar, FL
Owned Land - Nashville, TN       Owned                                            Undetermined N/A                                        Undetermined
Studios (Parking), 59 Music
Square West, Nashville, TN 37203
Owned Land - New Orleans         Owned                                            Undetermined N/A                                        Undetermined
Studio Parking (915 Howard), 915
Howard Avenue, New Orleans, LA
70113
Owned Land - New Orleans         Owned                                            Undetermined N/A                                        Undetermined
Studio Parking (953 Howard), 953
Howard Avenue, New Orleans, LA
70112
Owned Office Property - 16651         Owned                                       Undetermined N/A                                        Undetermined
Knott Avenue, La Mirada, CA
90638
Owned Office Property -               Owned                                       Undetermined N/A                                        Undetermined
Greensboro, NC Studios, 236
N.C. Highway 68, Greensboro,
NC 27409



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Debtor Name:          iHeartMedia Management Services, Inc.                                             Case Number:             18-31301 (MI)

                                                      Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Description and location of        Nature and extent of             Net book value of         Valuation method used        Current value of
property                           debtor's interest                debtor's interest         for current value            debtor's interest
Owned Office Property - Ogallala Owned                                        Undetermined N/A                                         Undetermined
Prophet Systems (111 3rd St.),
111 West 3rd Street, Ogallala, NE
69153
Owned Office Property - Ogallala   Owned                                      Undetermined N/A                                         Undetermined
Prophet Systems (214 Spruce),
214 N. Spruce Street, Ogallala,
NE
Owned Office Property - Ogallala   Owned                                      Undetermined N/A                                         Undetermined
Prophet Systems (216 Spruce),
216 N. Spruce Street, Ogallala,
NE 69153
Owned Office Property - Toledo,    Owned                                      Undetermined N/A                                         Undetermined
OH Studios, 125 South Superior
Street, Toledo, OH 43602
Owned Office Property - TTWN       Owned                                      Undetermined N/A                                         Undetermined
Boston Office, 99 Revere Beach
Parkway, Medford, MA 02155
Owned Parking Property -           Owned                                      Undetermined N/A                                         Undetermined
Huntington, WV Studio Parking,
148 Fourth Avenue, Huntington,
WV
Owned Residential Property -       Owned                                      Undetermined N/A                                         Undetermined
Ogallala, NE Studios (Residence
used by OM), 119 West 4th
Street, Ogallala, NE 69153
Owned Tower Property - , 195       Owned                                      Undetermined N/A                                         Undetermined
Homestead Avenue, Rehoboth,
MA
Owned Tower Property - KSME-       Owned                                      Undetermined N/A                                         Undetermined
FM Tower, 46870 County Road
13, Fort Collins, CO 80524
Owned Tower Property - KTCN-       Owned                                      Undetermined N/A                                         Undetermined
AM Tower, County Road 84,
Credit River, MN
Owned Tower Property - WBZ-AM Owned                                           Undetermined N/A                                         Undetermined
Main Antenna Site, 45 Newport
Road, Hull, MA
Owned Tower Property - WESC- Owned                                            Undetermined N/A                                         Undetermined
FM Tower, Solomon Jones Road,
Caesar's Head, SC 29635
Owned Tower Property - WGRB- Owned                                            Undetermined N/A                                         Undetermined
AM Tower (Albany), 8526-8610 S.
Albany Avenue, Chicago, IL
60652
Owned Tower Property - WGRB- Owned                                            Undetermined N/A                                         Undetermined
AM Tower (Troy), 8524-61 S. Troy
Street, Chicago, IL 60623
Owned Tower Property - WHOF-       Owned                                      Undetermined N/A                                         Undetermined
FM Tower, Mt. Pleasant Road,
Franklin, OH 44622
Owned Tower Property - WIJD        Owned                                      Undetermined N/A                                         Undetermined
Tower, 2300 Smiley Lane,
Prichard, AL



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Debtor Name:          iHeartMedia Management Services, Inc.                                             Case Number:             18-31301 (MI)

                                                      Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Description and location of        Nature and extent of             Net book value of         Valuation method used        Current value of
property                           debtor's interest                debtor's interest         for current value            debtor's interest
Owned Tower Property - WIOD        Owned                                      Undetermined N/A                                         Undetermined
Relocation, Bird Drive Basis,
Miami, FL
Owned Tower Property - WNTM-       Owned                                      Undetermined N/A                                         Undetermined
AM Tower, Industrial Parkway
Extension, AL
Owned Tower Property - WPLV        Owned                                      Undetermined N/A                                         Undetermined
Transmitter, 1st Street & W. Smith
Road, West Point, GA 31833
Owned Tower Property - WRKO-       Owned                                      Undetermined N/A                                         Undetermined
AM Main Antenna Site, 8 Great
Meadow Road, Burlington, MA
Owned Tower Property - WSYR        Owned                                      Undetermined N/A                                         Undetermined
Tower, 311 Brookside Drive,
Onondaga, NY
Owned Tower Property - WWDM- Owned                                            Undetermined N/A                                         Undetermined
FM Aux. Tower (Inner City),
Tiveton Church , Middleton, SC
Owned Tower Property - WZRX-       Owned                                      Undetermined N/A                                         Undetermined
AM Tower, 2980 Forest Avenue
Extension, Jackson, MS 39213-
8132
                                                                                                                 TOTAL             $37,122,074.00
                                                                                                                          + undetermined amounts




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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
COPYRIGHT NUMBER NP MICROFILM #                                    Undetermined N/A                                              Undetermined
V003483 P068, REGISTERED ON 4/1/2002
FOR HIWIRE AD INSERTION PROGRAM;
COMPUTER SOFTWARE
COPYRIGHT NUMBER TX 7-060-070 ,                                    Undetermined N/A                                              Undetermined
REGISTERED ON 10/17/2014 FOR VIERO
TRANSACT
COPYRIGHT NUMBER TX 7-063-033 ,                                    Undetermined N/A                                              Undetermined
REGISTERED ON 10/17/2014 FOR VIERO
RADIO FUSION
COPYRIGHT NUMBER TX 7-063-387 ,                                    Undetermined N/A                                              Undetermined
REGISTERED ON 4/28/2008 FOR VIERO
BEST RATE
COPYRIGHT NUMBER TX 7-063-420 ,                                    Undetermined N/A                                              Undetermined
REGISTERED ON 4/28/2008 FOR VIERO
RMS
COPYRIGHT NUMBER TX 7-063-425 ,                                    Undetermined N/A                                              Undetermined
REGISTERED ON 4/28/2008 FOR VIERO
MERS
COPYRIGHT NUMBER TX07-060-092 ,                                    Undetermined N/A                                              Undetermined
REGISTERED ON 10/17/2014 FOR VIERO E-
PIF
PATENT NUMBER 11/139875 FOR                                        Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM
PATENT NUMBER 12/121697 FOR METHOD                                 Undetermined N/A                                              Undetermined
AND SYSTEM FOR TRANSFERRING FULL-
TRACK CONTENT MEDIA FILES FROM A
SERVER COMPUTER SYSTEM TO A USER
MOBILE DEVICE (ABANDONED)
PATENT NUMBER 12/239473 FOR                                        Undetermined N/A                                              Undetermined
DYNAMIC AUDIO FILE AND METHOD OF
USE
PATENT NUMBER 12/316881 FOR SYSTEM                                 Undetermined N/A                                              Undetermined
AND METHOD FOR SCHEDULING AND
DISTRIBUTING ADVERTISING CONTENT
TO A NETWORK OF DIGITAL DISPLAYS
(ABAONDONED)
PATENT NUMBER 12/382636 FOR                                        Undetermined N/A                                              Undetermined
AUTOMATED QUOTE GENERATION AND
ADVERTISING BUY PLACEMENTS
PATENT NUMBER 12/412313 FOR                                        Undetermined N/A                                              Undetermined
DELIVERING CONTENT RELATED TO A
COMMERCIAL MEDIA PROGRAM
(ABANDONED)
PATENT NUMBER 12/475375 FOR                                        Undetermined N/A                                              Undetermined
TRACKING PUBLIC PERFORMANCES
USING UNIQUE IDENTIFIERS
PATENT NUMBER 12/502872 FOR                                        Undetermined N/A                                              Undetermined
MERGING CONTRACT VERSIONS
(ABANDONED)
PATENT NUMBER 12/533872 FOR                                        Undetermined N/A                                              Undetermined
PROVIDING CONDITIONAL ADVERTISING




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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER 12/539885 FOR                                        Undetermined N/A                                              Undetermined
DETERMINING AUDIENCE RESPONSE TO
BROADCAST CONTENT
PATENT NUMBER 12/568670 FOR RULES-                                 Undetermined N/A                                              Undetermined
BASED USER PREFERENCE FOR STREAM
SWITCHING IN AN INTERNET RADIO
PLAYER (ABANDONED)
PATENT NUMBER 12/569375 FOR                                        Undetermined N/A                                              Undetermined
PROMOTION USING GEOPOSITIONING
TECHNOLOGY
PATENT NUMBER 12/613264 FOR SYSTEM                                 Undetermined N/A                                              Undetermined
AND METHOD FOR INTEGRATED,
AUTOMATED INVENTORY MANAGEMENT
AND ADVERTISEMENT DELIVERY
PATENT NUMBER 12/622432 FOR                                        Undetermined N/A                                              Undetermined
AUTOMATED TRAFFIC CONTROL AND
BILLING FOR BILLBOARD ADVERTISING
PATENT NUMBER 12/633346 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SYNCHRONIZATION
PATENT NUMBER 12/635616 FOR PUBLIC                                 Undetermined N/A                                              Undetermined
INSPECTION SYSTEM AND METHOD FOR
FCC LICENSED MEDIA OUTLET
(ABANDONED)
PATENT NUMBER 12/683269 FOR MAP-                                   Undetermined N/A                                              Undetermined
ASSISTED RADIO RATINGS ANALYSIS
PATENT NUMBER 12/917,596 FOR RULES                                 Undetermined N/A                                              Undetermined
BASED PLAYLIST GENERATION
(ABANDED)
PATENT NUMBER 12/949600 FOR SYSTEM                                 Undetermined N/A                                              Undetermined
AND METHOD FOR PROFILING LISTENERS
TO IMPROVE CONTENT DISTRIBUTION
AND LISTENER RETENTION
PATENT NUMBER 13/050490 FOR                                        Undetermined N/A                                              Undetermined
DYNAMICALLY CONFIGURED GRAPHICAL
USER INTERFACE FOR A SOFTWARE
APPLICATION
PATENT NUMBER 13/096186 FOR                                        Undetermined N/A                                              Undetermined
INVENTORY AND REVENUE
MAXIMIZATION METHOD AND SYSTEM
(ABANDONED)
PATENT NUMBER 13/271278 FOR MEDIA                                  Undetermined N/A                                              Undetermined
POSTING SYSTEM AND METHOD
PATENT NUMBER 13/541023 FOR REAL-                                  Undetermined N/A                                              Undetermined
TIME INSERTION AND REPORTING OF
MEDIA CONTENT
PATENT NUMBER 13/600552 FOR                                        Undetermined N/A                                              Undetermined
PROVIDING BROADCAST LISTENER
PARTICIPATION
PATENT NUMBER 13/609825 FOR                                        Undetermined N/A                                              Undetermined
PROMOTION USING GEOPOSITIONING
TECHNOLOGY (ABANDONED)
PATENT NUMBER 13/626,593 FOR                                       Undetermined N/A                                              Undetermined
ADVERTISING MONITORING SYSTEM
(ABANDONED)



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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER 13/656883 FOR                                        Undetermined N/A                                              Undetermined
PLAYLIST-BASED CONTENT ASSEMBLY
PATENT NUMBER 13/746400 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER BASED METHOD AND
SYSTEM FOR LOGGING IN A USER
MOBILE DEVICE AT A SERVER COMPUTER
SYSTEM
PATENT NUMBER 13/923966 FOR E-MAIL                                 Undetermined N/A                                              Undetermined
BASED DYNAMIC ADVERTISING
PATENT NUMBER 13/942,857 FOR                                       Undetermined N/A                                              Undetermined
COMPUTER-BASED METHOD AND
SYSTEM FOR PROCESSING A FILE
REQUEST IN RESPONSE TO A MESSAGE
RECEIVED FROM A USER MOBILE DEVICE
(ABANDONED)
PATENT NUMBER 14/057664 FOR                                        Undetermined N/A                                              Undetermined
AUTOMATED ADVERTISEMENT SYSTEM
PATENT NUMBER 14/076420 FOR SPLIT                                  Undetermined N/A                                              Undetermined
SPOT BREAKS
PATENT NUMBER 14/100649 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SYNCHRONIZATION
PATENT NUMBER 14/100689 FOR RADIO                                  Undetermined N/A                                              Undetermined
STATION MARKET ANALYSIS
PATENT NUMBER 14/109272 FOR                                        Undetermined N/A                                              Undetermined
DYNAMIC AUDIO FILE GENERATION
PATENT NUMBER 14/227087 FOR                                        Undetermined N/A                                              Undetermined
CUSTOMIZED ADVERTISEMENT
SCHEDULING
PATENT NUMBER 14/230170 FOR                                        Undetermined N/A                                              Undetermined
LOGGING IN A USER MOBILE DEVICE AT A
SERVER COMPUTER SYSTEM
PATENT NUMBER 14/231833 FOR CUSTOM                                 Undetermined N/A                                              Undetermined
VOICE TRACK
PATENT NUMBER 14/264274 FOR MEDIA                                  Undetermined N/A                                              Undetermined
DELIVERY TO LIMITED CAPABILITY
PLATFORMS
PATENT NUMBER 14/319162 FOR                                        Undetermined N/A                                              Undetermined
PROVIDING ACCESS TO REGISTERED-
USER WEBSITE
PATENT NUMBER 14/341234 FOR                                        Undetermined N/A                                              Undetermined
SCHEDULING ADVERTISING DURING
RESTRICTED PERIODS
PATENT NUMBER 14/482106 FOR                                        Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM FOR MEDIA ADVERTISING
(ABANDONED)
PATENT NUMBER 14/505164 FOR                                        Undetermined N/A                                              Undetermined
ATTRIBUTING USERS TO AUDIENCE
SEGMENTS
PATENT NUMBER 14/509861 FOR                                        Undetermined N/A                                              Undetermined
AUDIENCE RESPONSE DETERMINATION
TO DIGITAL-MEDIA CONTENT




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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER 14/521722 FOR LIVE                                   Undetermined N/A                                              Undetermined
MEDIA STREAM INCLUDING
PERSONALIZED NOTIFICATIONS
PATENT NUMBER 14/707,405 FOR                                       Undetermined N/A                                              Undetermined
LISTENER SURVEY TOOL WITH TIME
STAMPING
PATENT NUMBER 14/717669 FOR                                        Undetermined N/A                                              Undetermined
TRACKING PUBLIC PERFORMANCES OF
DIFFERENTLY INDEXED WORKS
PATENT NUMBER 14/721179 FOR                                        Undetermined N/A                                              Undetermined
PROGRAM AND SYNDICATED CONTENT
DETECTION
PATENT NUMBER 14/816484 FOR                                        Undetermined N/A                                              Undetermined
CONTENT REPLACEMENT IN
DOWNSTREAM STREAM PLAYER
PATENT NUMBER 14/837976 FOR METHOD                                 Undetermined N/A                                              Undetermined
AND SYSTEM FOR CONTROLLING A
SCHEDULING ORDER OF MULTIMEDIA
CONTENT FOR A BROADCAST
PATENT NUMBER 14/853225 FOR METHOD                                 Undetermined N/A                                              Undetermined
AND SYSTEM FOR CONTROLLING A
SCHEDULING ORDER PER CATEGORY IN
A MUSIC SCHEDULING SYSTEM
PATENT NUMBER 14/853401 FOR                                        Undetermined N/A                                              Undetermined
TRIGGERED CONTENT MODIFICATION
PATENT NUMBER 14/856776 FOR                                        Undetermined N/A                                              Undetermined
METHOD, SYSTEM AND GRAPHIC USER
INTERFACE FOR ENABLING A CUSTOMER
TO ACCESS AN UNPUBLISHED MEDIA FILE
PATENT NUMBER 14/880832 FOR RULES                                  Undetermined N/A                                              Undetermined
BASED PLAYLIST GENERATION
PATENT NUMBER 14/918739 FOR                                        Undetermined N/A                                              Undetermined
ALTERNATE MEDIA STATION SELECTION
USING SITUATIONAL PARAMETER
HISTORY (ABANDONED)
PATENT NUMBER 14/928145 FOR                                        Undetermined N/A                                              Undetermined
MANAGING LOCAL AND GENERAL
ADVERTISEMENT SPOT ALLOCATIONS
(ABANDONED)
PATENT NUMBER 14/953694 FOR                                        Undetermined N/A                                              Undetermined
IDENTIFICATION OF CHANGED
BROADCAST MEDIA ITEMS
PATENT NUMBER 15/017952 FOR TUNING                                 Undetermined N/A                                              Undetermined
BASED IN HISTORICAL GEOGRAPHIC
LOCATION
PATENT NUMBER 15/063927 FOR                                        Undetermined N/A                                              Undetermined
CUSTOMIZING PERISHABLE CONTENT OF
A MEDIA CHANNEL
PATENT NUMBER 15/092908 FOR SYSTEM                                 Undetermined N/A                                              Undetermined
AND METHOD FOR MANAGING MEDIA
ADVERTISING ENTERPRISE DATA
PATENT NUMBER 15/133802 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SYNCHRONIZATION




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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER 15/135162 FOR                                        Undetermined N/A                                              Undetermined
MANAGING SPOT BLOCKS
PATENT NUMBER 15/145552 FOR MULTI-                                 Undetermined N/A                                              Undetermined
INPUT PLAYLIST SELECTION
PATENT NUMBER 15/148845 FOR                                        Undetermined N/A                                              Undetermined
SUBSTITUTING STREAMING STATION FOR
OVER-THE-AIR BROADCAST
PATENT NUMBER 15/151578 FOR                                        Undetermined N/A                                              Undetermined
LICENSING AUTHORIZATION VIA MOBILE
DEVICE
PATENT NUMBER 15/162951 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST TRAFFIC INFORMATION
BOUNDING AREAS
PATENT NUMBER 15/177699 FOR HEAD                                   Undetermined N/A                                              Undetermined
MOUNTED ADVERTISING RATINGS
METHODS AND SYSTEMS
PATENT NUMBER 15/186622 FOR                                        Undetermined N/A                                              Undetermined
IDENTIFICATION OF BROADCAST SOURCE
ASSOCIATED WITH UNKNOWN
FINGERPRINT
PATENT NUMBER 15/199196 FOR STATION                                Undetermined N/A                                              Undetermined
OVERRIDE OF REQUESTS FOR
ENRICHING CONTENT
PATENT NUMBER 15/210137 FOR                                        Undetermined N/A                                              Undetermined
PROVIDER IDENTIFIER ANNOUNCEMENT
INSERTION
PATENT NUMBER 15/218113 FOR MEDIA                                  Undetermined N/A                                              Undetermined
STREAM MONITOR
PATENT NUMBER 15/224999 FOR MEDIA                                  Undetermined N/A                                              Undetermined
SUBSTITUTION TRIGGERED BY
BROADCAST WATERMARK
PATENT NUMBER 15/241874 FOR                                        Undetermined N/A                                              Undetermined
AUTOMATED CONTENT DELIVERY TO
DISTRIBUTED MEDIA OUTLETS
PATENT NUMBER 15/256961 FOR                                        Undetermined N/A                                              Undetermined
GRAPHICAL USER INTERFACE FOR
CONTENT MANAGEMENT
PATENT NUMBER 15/257027 FOR                                        Undetermined N/A                                              Undetermined
DYNAMIC ASSIGNMENT OF MEDIA
ADVERTISING ORDERS TO BROADCAST
INVENTORY
PATENT NUMBER 15/272794 FOR LIMITING                               Undetermined N/A                                              Undetermined
CANDIDATE PLAYLISTS IN MULTI-SHOT
SCHEDULING SYSTEM
PATENT NUMBER 15/279826 FOR                                        Undetermined N/A                                              Undetermined
DELIVERY OF ENHANCED CONTENT
RELATED TO A BROADCAST WORK
PATENT NUMBER 15/282691 FOR                                        Undetermined N/A                                              Undetermined
UNORDERED MATCHING OF AUDIO
FINGERPRINTS
PATENT NUMBER 15/296249 FOR                                        Undetermined N/A                                              Undetermined
INSERTION OF AD-SONG
ADVERTISEMENTS



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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER 15/333383 FOR                                        Undetermined N/A                                              Undetermined
MODIFYING MEDIA SCHEDULE BASED ON
CROSS-PLATFORM DETECTION OF
CONTENT TRIGGER
PATENT NUMBER 15/353837 FOR                                        Undetermined N/A                                              Undetermined
PROVIDING SUBSCRIPTION CONTENT
USING HOSTED MEDIA PROFILE
PATENT NUMBER 15/435606 FOR                                        Undetermined N/A                                              Undetermined
SCHEDULE SUBSCRIPTION SYSTEM WITH
VARIABLE RESTRICTIONS
PATENT NUMBER 15/447363 FOR                                        Undetermined N/A                                              Undetermined
ENTERPRISE DATA RE-MATCHING
PATENT NUMBER 15/494702 FOR                                        Undetermined N/A                                              Undetermined
MESSAGE CONTENT DELIVERY BASED ON
USER INTERACTIONS
PATENT NUMBER 15/498408 FOR RULES                                  Undetermined N/A                                              Undetermined
BASED PLAYLIST GENERATION
PATENT NUMBER 15/594916 FOR                                        Undetermined N/A                                              Undetermined
AUDIENCE MIGRATION INFORMATION
PATENT NUMBER 15/606955 FOR                                        Undetermined N/A                                              Undetermined
MANAGING LOCAL AND GENERAL
ADVERTISEMENT SPOT ALLOCATIONS
PATENT NUMBER 15/617700 FOR STATIC                                 Undetermined N/A                                              Undetermined
OR VARIABLE LOCATION PREFERENCE
PATENT NUMBER 15/637669 FOR                                        Undetermined N/A                                              Undetermined
DELIVERY OF CONTENT ASSOCIATED
WITH A BROADCAST WORK
PATENT NUMBER 15/652716 FOR                                        Undetermined N/A                                              Undetermined
ADJUSTMENT OF ADVERTISING
SCHEDULE USING PERFORMANCE TREND
PATENT NUMBER 15/652802 FOR                                        Undetermined N/A                                              Undetermined
MAXIMIZING ADVERTISING
PERFORMANCE
PATENT NUMBER 15/657566 FOR PROXY-                                 Undetermined N/A                                              Undetermined
CONTROLLED REQUEST ROUTING
PATENT NUMBER 15/668935 FOR MEDIA                                  Undetermined N/A                                              Undetermined
BALANCER EMPLOYING SELECTABLE
EVALUATION SOURCE
PATENT NUMBER 15/669526 FOR                                        Undetermined N/A                                              Undetermined
SIMULTANEOUS INJECTION OF
BROADCAST INSTRUCTIONS
PATENT NUMBER 15/700419 FOR                                        Undetermined N/A                                              Undetermined
SEGMENTED WANCASTING
PATENT NUMBER 15/720348 FOR MEDIA                                  Undetermined N/A                                              Undetermined
ASSET DISTRIBUTION WITH
PRIORITIZATION
PATENT NUMBER 15/725583 FOR SERVER                                 Undetermined N/A                                              Undetermined
CONTROL OF MULTIPLE MEDIA PLAYERS
IN A PLAYBACK PAGE
PATENT NUMBER 15/844749 FOR                                        Undetermined N/A                                              Undetermined
SELECTION OF PREFERRED CONTENT
PATENT NUMBER 15/847176 FOR                                        Undetermined N/A                                              Undetermined
PODCAST INTERFACE


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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER 15/847546 FOR RULES                                  Undetermined N/A                                              Undetermined
BASED PLAYLIST GENERATION
PATENT NUMBER 15/963166 FOR                                        Undetermined N/A                                              Undetermined
SCHEDULE TEMPLATE FOR A DIGITAL
DISPLAY
PATENT NUMBER 62/144825 FOR                                        Undetermined N/A                                              Undetermined
MANAGING LOCAL AND GENERAL
ADVERTISEMENT SPOT ALLOCATIONS
(EXPIRED)
PATENT NUMBER 9699232 FOR ADDING                                   Undetermined N/A                                              Undetermined
PERISHABLE CONTENT TO MEDIA
STREAM BASED ON USER LOCATION
PREFERENCE
PATENT NUMBER AU1998098276 FOR                                     Undetermined N/A                                              Undetermined
INVENTORY MANAGEMENT SYSTEM
PATENT NUMBER AU1999056936 FOR                                     Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM
PATENT NUMBER AU2003264625 FOR                                     Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM
PATENT NUMBER AU2013312344 FOR                                     Undetermined N/A                                              Undetermined
MULTI-INPUT PLAYLIST SELECTION
PATENT NUMBER AU2014281757 FOR E-                                  Undetermined N/A                                              Undetermined
MAIL BASED DYNAMIC ADVERTISING
PATENT NUMBER CA2306729 FOR                                        Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM
PATENT NUMBER CA2613679 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND APPARATUS FOR
IMPROVING THE ISOLATION
CHARACTERISTICS OF HD RADIO
COMBINERS
PATENT NUMBER CA2887359 FOR MULTI-                                 Undetermined N/A                                              Undetermined
INPUT PLAYLIST SELECTION
PATENT NUMBER CA2914350 FOR E-MAIL                                 Undetermined N/A                                              Undetermined
BASED DYNAMIC ADVERTISING
PATENT NUMBER EP1656742 (FRANCE)                                   Undetermined N/A                                              Undetermined
FOR METHOD, APPARATUS AND ARTICLE
FOR DATA REDUCTION
PATENT NUMBER EP1656742 (GERMANY)                                  Undetermined N/A                                              Undetermined
FOR METHOD, APPARATUS AND ARTICLE
FOR DATA REDUCTION
PATENT NUMBER EP1656742 (IRELAND)                                  Undetermined N/A                                              Undetermined
FOR METHOD, APPARATUS AND ARTICLE
FOR DATA REDUCTION
PATENT NUMBER EP1656742 (ITALY) FOR                                Undetermined N/A                                              Undetermined
METHOD, APPARATUS AND ARTICLE FOR
DATA REDUCTION
PATENT NUMBER EP1656742 (UK) FOR                                   Undetermined N/A                                              Undetermined
METHOD, APPARATUS AND ARTICLE FOR
DATA REDUCTION
PATENT NUMBER EP2893472 FOR MULTI-                                 Undetermined N/A                                              Undetermined
INPUT PLAYLIST SELECTION


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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER EP3011526 FOR E-MAIL                                 Undetermined N/A                                              Undetermined
BASED DYNAMIC ADVERTISING
PATENT NUMBER PCT/GB2014/050343                                    Undetermined N/A                                              Undetermined
FOR DISPLAY CASE (EXPIRED)
PATENT NUMBER PCT/US2013/058571 FOR                                Undetermined N/A                                              Undetermined
MULTI-INPUT PLAYLIST SELECTION
(EXPIRED)
PATENT NUMBER US6061691 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR INVENTORY
MANAGEMENT
PATENT NUMBER US6223210 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR AN
AUTOMATED BROADCAST SYSTEM
PATENT NUMBER US6253187 FOR                                        Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM
PATENT NUMBER US6260047 FOR                                        Undetermined N/A                                              Undetermined
INVENTORY MANAGEMENT SYSTEM
PATENT NUMBER US6567824 FOR                                        Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM
PATENT NUMBER US6910220 FOR                                        Undetermined N/A                                              Undetermined
DEMAND-BASED GOAL-DRIVEN
SCHEDULING SYSTEM
PATENT NUMBER US6920464 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM FOR GENERATING AN
ADVERTISING REVENUE PROJECTION
PATENT NUMBER US7386047 FOR                                        Undetermined N/A                                              Undetermined
METHOD FOR DETERMINING THE
LIKELIHOOD OF A MATCH BETWEEN
SOURCE DATA AND REFERENCE DATA
PATENT NUMBER US7386492 FOR                                        Undetermined N/A                                              Undetermined
INVENTORY AND REVENUE
MAXIMIZATION METHOD AND SYSTEM
PATENT NUMBER US7577195 FOR                                        Undetermined N/A                                              Undetermined
METHOD FOR DETERMINING THE
LIKELIHOOD OF A MATCH BETWEEN
SOURCE DATA AND REFERENCE DATA
PATENT NUMBER US7636390 FOR                                        Undetermined N/A                                              Undetermined
REDUCTION OF INPUT FRAMES OF A
SIGNAL
PATENT NUMBER US7689590 FOR                                        Undetermined N/A                                              Undetermined
INTEGRATED INVENTORY MANAGEMENT
SYSTEM FOR MEDIA ADVERTISING
PATENT NUMBER US7711791 FOR USING                                  Undetermined N/A                                              Undetermined
MULTIPLE MEDIA PLAYERS TO INSERT
DATA ITEMS INTO A MEDIA STREAM OF A
STREAMING MEDIA
PATENT NUMBER US7787973 FOR                                        Undetermined N/A                                              Undetermined
GENERATING A COMPOSITE MEDIA
STREAM




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                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER US7801778 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER-IMPLEMENTED ENTERPRISE
WIDE ADVERTISING INVENTORY
MANAGEMENT SYSTEM
PATENT NUMBER US7831222 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND APPARATUS FOR
IMPROVING THE ISOLATION
CHARACTERISTICS OF HD RADIO
COMBINERS
PATENT NUMBER US7890368 FOR                                        Undetermined N/A                                              Undetermined
PROVIDING TARGETED ADVERTISING
INVENTORY
PATENT NUMBER US7899390 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR SELECTIVELY
BROADCASTING MEDIA
PATENT NUMBER US7941350 FOR                                        Undetermined N/A                                              Undetermined
INVENTORY AND REVENUE
MAXIMIZATION METHOD AND SYSTEM
PATENT NUMBER US7966393 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR MEDIA
STREAM MONITORING
PATENT NUMBER US8103681 FOR                                        Undetermined N/A                                              Undetermined
ASSOCIATING WORKS WITH UNIQUE
IDENTIFIERS
PATENT NUMBER US8107876 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR SELECTIVELY
BROADCASTING MEDIA
PATENT NUMBER US8230460 FOR REAL-                                  Undetermined N/A                                              Undetermined
TIME INSERTION AND REPORTING OF
MEDIA CONTENT
PATENT NUMBER US8239376 FOR                                        Undetermined N/A                                              Undetermined
SUBSEQUENT TAILORING OF A SIGN-UP
PAGE BASED ON A SEARCH ENGINE
QUERY
PATENT NUMBER US8260193 FOR                                        Undetermined N/A                                              Undetermined
MODIFIED PLAYLISTS
PATENT NUMBER US8260230 FOR RADIO                                  Undetermined N/A                                              Undetermined
RECEIVER AND METHOD FOR RECEIVING
AND PLAYING SIGNALS FROM MULTIPLE
BROADCAST CHANNELS
PATENT NUMBER US8321041 FOR                                        Undetermined N/A                                              Undetermined
PLAYLIST-BASED CONTENT ASSEMBLY
PATENT NUMBER US8326215 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR SELECTIVELY
BROADCASTING MEDIA
PATENT NUMBER US8356037 FOR                                        Undetermined N/A                                              Undetermined
PROCESSES TO LEARN ENTERPRISE
DATA MATCHING
PATENT NUMBER US8359031 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER BASED METHOD AND
SYSTEM FOR LOGGING IN A USER
MOBILE DEVICE AT A SERVER COMPUTER
SYSTEM




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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER US8401974 FOR                                        Undetermined N/A                                              Undetermined
METHOD, SYSTEM AND GRAPHIC USER
INTERFACE FOR ENABLING A CUSTOMER
TO ACCESS A MEDIA FILE
PATENT NUMBER US8418182 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR
CONTROLLING A SCHEDULING ORDER
PER CATEGORY IN A MUSIC SCHEDULING
SYSTEM
PATENT NUMBER US8443046 FOR                                        Undetermined N/A                                              Undetermined
AUTOMATED CONTENT DELIVERY TO
DISTRIBUTED MEDIA OUTLETS
PATENT NUMBER US8489455 FOR                                        Undetermined N/A                                              Undetermined
ENTERPRISE DATA MATCHING
PATENT NUMBER US8490099 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR
CONTROLLING A SCHEDULING ORDER
PER DAYPART CATEGORY IN A MUSIC
SCHEDULING SYSTEM
PATENT NUMBER US8495676 FOR                                        Undetermined N/A                                              Undetermined
MANAGING UNDER-FILLED SPOT BLOCKS
PATENT NUMBER US8527527 FOR                                        Undetermined N/A                                              Undetermined
CONTENT ENRICHMENT USING UNIFIED
SYSTEM OF UNIQUE IDENTIFIERS
PATENT NUMBER US8532562 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR SELECTIVELY
BROADCASTING MEDIA DURING
DAYPARTS
PATENT NUMBER US8554787 FOR                                        Undetermined N/A                                              Undetermined
SECOND SEARCH ENGINE UTILIZING
SELECTED RESULTS FROM FIRST
SEARCH ENGINE
PATENT NUMBER US8565733 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER-BASED METHOD AND
SYSTEM FOR PROCESSING A FILE
REQUEST IN RESPONSE TO A MESSAGE
RECEIVED FROM A USER MOBILE DEVICE
PATENT NUMBER US8600813 FOR                                        Undetermined N/A                                              Undetermined
TECHNIQUE OF PROVIDING TARGETED
MEDIA ITEMS
PATENT NUMBER US8606617 FOR                                        Undetermined N/A                                              Undetermined
METHOD FOR COMPUTING REACH OF AN
ARBITRARY RADIO ADVERTISING
SCHEDULE
PATENT NUMBER US8639178 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SOURCE IDENTIFICATION
BASED ON MATCHING BROADCAST
SIGNAL FINGERPRINTS
PATENT NUMBER US8666807 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR CREATING
AND MANAGING MEDIA ADVERTISING
PROPOSALS
PATENT NUMBER US8671214 FOR                                        Undetermined N/A                                              Undetermined
CUSTOMIZING PERISHABLE CONTENT OF
A MEDIA CHANNEL


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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER US8682905 FOR                                        Undetermined N/A                                              Undetermined
ENTERPRISE DATA MATCHING
PATENT NUMBER US8706112 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER BASED METHOD AND
SYSTEM FOR LOGGING IN A USER
MOBILE DEVICE AT A SERVER COMPUTER
SYSTEM
PATENT NUMBER US8719080 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR SCHEDULING
ADVERTISEMENTS
PATENT NUMBER US8719349 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR PROVIDING A
RADIO-LIKE EXPERIENCE
PATENT NUMBER US8725742 FOR                                        Undetermined N/A                                              Undetermined
ENTERPRISE DATA MATCHING
PATENT NUMBER US8732577 FOR                                        Undetermined N/A                                              Undetermined
CONTEXTUAL FOCUS-BASED
TRANSLATION FOR BROADCAST
AUTOMATION SOFTWARE
PATENT NUMBER US8737910 FOR RADIO                                  Undetermined N/A                                              Undetermined
RECEIVER AND METHOD FOR RECEIVING
AND PLAYING SIGNALS FROM MULTIPLE
BROADCAST CHANNELS
PATENT NUMBER US8751497 FOR MULTI-                                 Undetermined N/A                                              Undetermined
SHOT SCHEDULING SYSTEM
PATENT NUMBER US8769652 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER BASED METHOD AND
SYSTEM FOR REGISTERING A USER AT A
SERVER COMPUTER SYSTEM
PATENT NUMBER US8799095 FOR                                        Undetermined N/A                                              Undetermined
INVENTORY AND REVENUE
MAXIMIZATION METHOD AND SYSTEM
PATENT NUMBER US8869182 FOR                                        Undetermined N/A                                              Undetermined
PRESENTING LISTENER INFORMATION
(NOTE: CO-OWNED WITH NIELSEN
COMPANY)
PATENT NUMBER US8892025 FOR RADIO                                  Undetermined N/A                                              Undetermined
RECEIVER AND METHOD FOR RECEIVING
AND PLAYING SIGNALS FROM MULTIPLE
BROADCAST CHANNELS
PATENT NUMBER US8949450 FOR USING                                  Undetermined N/A                                              Undetermined
MULTIPLE MEDIA PLAYERS TO INSERT
DATA ITEMS INTO A MEDIA STREAM OF A
STREAMING MEDIA
PATENT NUMBER US8977220 FOR                                        Undetermined N/A                                              Undetermined
DELIVERING CONTENT ASSOCIATED WITH
A UNIQUE IDENTIFIER
PATENT NUMBER US9003286 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR PROVIDING
BROADCAST LISTENER PARTICIPATION
PATENT NUMBER US9014615 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SOURCE IDENTIFICATION
BASED ON MATCHING BROADCAST
SIGNAL FINGERPRINTS



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                                                     Assets - Real and Personal Property

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                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER US9047256 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR MONITORING
AUDIENCE IN RESPONSE TO SIGNAGE
PATENT NUMBER US9047286 FOR                                        Undetermined N/A                                              Undetermined
PROGRAM AND SYNDICATED CONTENT
DETECTION
PATENT NUMBER US9082135 FOR THIRD                                  Undetermined N/A                                              Undetermined
PARTY DELIVERY OF PREFERRED
PERISHABLE CONTENT
PATENT NUMBER US9092264 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR
CONTROLLING A SCHEDULING ORDER
PER CATEGORY IN A MUSIC SCHEDULING
SYSTEM
PATENT NUMBER US9106654 FOR                                        Undetermined N/A                                              Undetermined
UNIFYING CONFLICTING MEDIA
IDENTIFIERS
PATENT NUMBER US9117198 FOR                                        Undetermined N/A                                              Undetermined
LISTENER SURVEY TOOL WITH TIME
STAMPING
PATENT NUMBER US9135061 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR
CONTROLLING A SCHEDULING ORDER
PER CATEGORY IN A MUSIC SCHEDULING
SYSTEM
PATENT NUMBER US9135218 FOR SONG                                   Undetermined N/A                                              Undetermined
REPLACEMENT WITH CONTENT
SCHEDULING IN STREAMING MEDIA
PATENT NUMBER US9143471 FOR                                        Undetermined N/A                                              Undetermined
METHOD, SYSTEM AND GRAPHIC USER
INTERFACE FOR ENABLING A CUSTOMER
TO ACCESS A MEDIA FILE
PATENT NUMBER US9152296 FOR                                        Undetermined N/A                                              Undetermined
METHOD AND SYSTEM FOR
CONTROLLING A SCHEDULING ORDER
PATENT NUMBER US9164996 FOR RULES                                  Undetermined N/A                                              Undetermined
BASED PLAYLIST GENERATION
PATENT NUMBER US9203445 FOR                                        Undetermined N/A                                              Undetermined
MITIGATING MEDIA STATION
INTERRUPTIONS
PATENT NUMBER US9203537 FOR                                        Undetermined N/A                                              Undetermined
MANAGING UNDER-FILLED SPOT BLOCKS
PATENT NUMBER US9203538 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SOURCE IDENTIFICATION
BASED ON MATCHING BROADCAST
SIGNAL FINGERPRINTS
PATENT NUMBER US9218415 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR PROVIDING
BROADCAST LISTENER PARTICIPATION
PATENT NUMBER US9300618 FOR                                        Undetermined N/A                                              Undetermined
CUSTOMIZING PERISHABLE CONTENT OF
A MEDIA CHANNEL




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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER US9306884 FOR                                        Undetermined N/A                                              Undetermined
COMPUTER-BASED METHOD AND
SYSTEM FOR PROCESSING A FILE
REQUEST IN RESPONSE TO A MESSAGE
RECEIVED FROM A USER MOBILE DEVICE
PATENT NUMBER US9311649 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR MANAGING
MEDIA ADVERTISING ENTERPRISE DATA
PATENT NUMBER US9323788 FOR                                        Undetermined N/A                                              Undetermined
MANAGING UNDER-FILLED SPOT BLOCKS
PATENT NUMBER US9355174 FOR MULTI-                                 Undetermined N/A                                              Undetermined
INPUT PLAYLIST SELECTION
PATENT NUMBER US9361372 FOR                                        Undetermined N/A                                              Undetermined
SYSTEM AND METHOD FOR PROVIDING
BROADCAST LISTENER PARTICIPATION
PATENT NUMBER US9373123 FOR                                        Undetermined N/A                                              Undetermined
WEARABLE ADVERTISING RATINGS
METHODS AND SYSTEMS
PATENT NUMBER US9374183 FOR                                        Undetermined N/A                                              Undetermined
BROADCAST SOURCE IDENTIFICATION
BASED ON MATCHING VIA BIT COUNT
PATENT NUMBER US9384465 FOR                                        Undetermined N/A                                              Undetermined
MERGING CONTRACT VERSIONS
PATENT NUMBER US9401813 FOR MEDIA                                  Undetermined N/A                                              Undetermined
STREAM MONITOR
PATENT NUMBER US9408042 FOR                                        Undetermined N/A                                              Undetermined
LOCATION-BASED OPERATIONAL
CONTROL OF A TRANSMITTER
PATENT NUMBER US9426017 FOR                                        Undetermined N/A                                              Undetermined
AUTOMATED CONTENT DELIVERY TO
DISTRIBUTED MEDIA OUTLETS
PATENT NUMBER US9444869 FOR                                        Undetermined N/A                                              Undetermined
ASSOCIATING UNIQUE IDENTIFIERS OF
PRIMARY AND ENRICHING CONTENT
PATENT NUMBER US9454553 FOR MULTI-                                 Undetermined N/A                                              Undetermined
SHOT SCHEDULING SYSTEM
PATENT NUMBER US9460201 FOR                                        Undetermined N/A                                              Undetermined
UNORDERED MATCHING OF AUDIO
FINGERPRINTS
PATENT NUMBER US9462023 FOR                                        Undetermined N/A                                              Undetermined
DELIVERY OF ENHANCED CONTENT
RELATED TO A BROADCAST WORK
PATENT NUMBER US9495883 FOR                                        Undetermined N/A                                              Undetermined
PROCESS AND WORKFLOW FOR
ENTERPRISE DATA MATCHING
PATENT NUMBER US9515754 FOR                                        Undetermined N/A                                              Undetermined
MEASURING AUDIENCE REACTION
PATENT NUMBER US9530158 FOR                                        Undetermined N/A                                              Undetermined
METHOD, SYSTEM AND GRAPHIC USER
INTERFACE FOR ENABLING A CUSTOMER
TO ACCESS INFORMATION ASSOCIATED
WITH A HOSTED USER PROFILE
PATENT NUMBER US9549293 FOR                                        Undetermined N/A                                              Undetermined
PREEMPTIVE TUNING


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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
PATENT NUMBER US9584234 FOR                                        Undetermined N/A                                              Undetermined
SCHEDULE SUBSCRIPTION SYSTEM
PATENT NUMBER US9619821 FOR                                        Undetermined N/A                                              Undetermined
ENTERPRISE DATA RE-MATCHING
PATENT NUMBER US9665569 FOR                                        Undetermined N/A                                              Undetermined
CONTEXTUAL, FOCUS-BASED
TRANSLATION FOR BROADCAST
AUTOMATION SOFTWARE
PATENT NUMBER US9679302 FOR                                        Undetermined N/A                                              Undetermined
AUDIENCE MIGRATION INFORMATION
PATENT NUMBER US9727978 FOR                                        Undetermined N/A                                              Undetermined
MAXIMIZING ADVERTISING
PERFORMANCE
PATENT NUMBER US9734152 FOR MEDIA                                  Undetermined N/A                                              Undetermined
BALANCER
PATENT NUMBER US9736259 FOR                                        Undetermined N/A                                              Undetermined
PLATFORM-AS-A-SERVICE WITH PROXY-
CONTROLLED REQUEST ROUTING
PATENT NUMBER US9769770 FOR IN-                                    Undetermined N/A                                              Undetermined
BAND ON-CHANNEL BROADCASTING VIA
MESH NETWORK
PATENT NUMBER US9781576 FOR                                        Undetermined N/A                                              Undetermined
SEGMENTED WANCASTING
PATENT NUMBER US9800636 FOR MEDIA                                  Undetermined N/A                                              Undetermined
ASSET DISTRIBUTION WITH
PRIORITIZATION
PATENT NUMBER US9805396 FOR USING                                  Undetermined N/A                                              Undetermined
MULTIPLE MEDIA PLAYERS TO INSERT
DATA ITEMS INTO A MEDIA STREAM OF A
STREAMING MEDIA
PATENT NUMBER US9860000 FOR                                        Undetermined N/A                                              Undetermined
IDENTIFICATION OF CHANGED
BROADCAST MEDIA ITEMS
PATENT NUMBER US9860288 FOR                                        Undetermined N/A                                              Undetermined
SYNCHRONIZATION OF PREFERRED
PERISHABLE CONTENT
PATENT NUMBER US9898499 FOR                                        Undetermined N/A                                              Undetermined
MULTIMEDIA SCHEDULING FOR AIRPLAY
WITH ALTERNATE CATEGORY SUPPORT
PATENT NUMBER US9904678 FOR                                        Undetermined N/A                                              Undetermined
CONTEXTUAL, FOCUS-BASED
TRANSLATION
PATENT NUMBER US9913225 FOR EDGE                                   Undetermined N/A                                              Undetermined
TRANSCEIVER FOR IN-BAND ON-
CHANNEL BROADCASTING (IBOC) MESH
NETWORK
PATENT NUMBER US9913226 FOR IN-                                    Undetermined N/A                                              Undetermined
BAND ON-CHANNEL BROADCASTING
DIFFERENT CONTENT BY DIFFERENT
MESH NETWORK TRANSCEIVERS
PATENT NUMBER WO2014204842 FOR E-                                  Undetermined N/A                                              Undetermined
MAIL BASED DYNAMIC ADVERTISING
(EXPIRED)



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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
TRADEMARK NUMBER 003178175,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 4/14/2003 FOR
MUSICPOINT DELIVERING NEW MUSIC &
DESIGN
TRADEMARK NUMBER 005125901,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 8/10/2007 FOR
GSELECTOR & DESIGN
TRADEMARK NUMBER 011528395,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 6/24/2013 FOR
SELECTOR2GO
TRADEMARK NUMBER 011882735,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/29/2013 FOR ZETTA
SPLITS
TRADEMARK NUMBER 011950912,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 11/27/2013 FOR
ZETTA2GO
TRADEMARK NUMBER 013086269,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 12/8/2014 FOR
POWERPLAYLIST
TRADEMARK NUMBER 013223581,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/26/2015 FOR
AQUIRA2GO
TRADEMARK NUMBER 013223714,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/26/2015 FOR RCS2GO
TRADEMARK NUMBER 013284773,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/12/2015 FOR
RCSNEWS
TRADEMARK NUMBER 015224231,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 3/17/2016 FOR
GSELECTOR
TRADEMARK NUMBER 1,533,984,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 4/11/1989 FOR
SELECTOR
TRADEMARK NUMBER 1,674,055,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/4/1992 FOR PRO-RATE
TRADEMARK NUMBER 1,700,214,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/14/1992 FOR
MUSICBASE
TRADEMARK NUMBER 1,723,454,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/13/1992 FOR LINKER
TRADEMARK NUMBER 1,723,455,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/13/1992 FOR
SONGTRACK
TRADEMARK NUMBER 1,775,013,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 6/8/1993 FOR RCS
(STYLIZED)
TRADEMARK NUMBER 1,780,086,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/6/1993 FOR RCS
TRADEMARK NUMBER 1,812,731,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 12/21/1993 FOR
TRACKER
TRADEMARK NUMBER 1001502,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 1/21/2015 FOR
POWERPLAYLIST


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                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
TRADEMARK NUMBER 1004518,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 3/4/2015 FOR RCS2GO
TRADEMARK NUMBER 1004520,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 3/4/2015 FOR
AQUIRA2GO
TRADEMARK NUMBER 1096081,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 8/31/2006 FOR M
MUSICPOINT DELIVERING NEW MUSIC &
DESIGN
TRADEMARK NUMBER 1120775,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 4/27/2007 FOR SPOT TEN
TRADEMARK NUMBER 1316606,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 7/9/2010 FOR AIRCHECK
TRADEMARK NUMBER 1350666,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 3/24/2011 FOR
MEDIABASE
TRADEMARK NUMBER 1566087,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 10/23/2013 FOR
ZETTA2GO
TRADEMARK NUMBER 1582835,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 1/29/2014 FOR
AUDIENCE MIGRATION
TRADEMARK NUMBER 1582845,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 1/29/2014 FOR
AUDIENCE REACTION
TRADEMARK NUMBER 1634730,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 10/22/2014 FOR
POWERPLAYLIST
TRADEMARK NUMBER 1644817,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 5/27/2015 FOR RCS2GO
TRADEMARK NUMBER 1644821,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 2/6/2015 FOR
AQUIRA2GO
TRADEMARK NUMBER 1648533,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 2/6/2015 FOR RCSNEWS
TRADEMARK NUMBER 2,282,075,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/28/1999 FOR HOT KEYS
TRADEMARK NUMBER 2,355,824,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 6/6/2000 FOR RCS
RADIOSHOW
TRADEMARK NUMBER 2,531,099,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/22/2002 FOR
MEDIABASE 24-7
TRADEMARK NUMBER 2,535,200,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/5/2002 FOR
MEDIABASE
TRADEMARK NUMBER 2,880,934,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/7/2004 FOR
MUSICPOINT DELIVERING NEW MUSIC &
DESIGN
TRADEMARK NUMBER 2,952,051,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/17/2005 FOR LIVING
LOG



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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
TRADEMARK NUMBER 2,986,539,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 8/16/2005 FOR VIERO
TRADEMARK NUMBER 3,014,153,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 11/8/2005 FOR SPOT TEN
TRADEMARK NUMBER 3,146,386,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/19/2006 FOR MEDIA
MONITORS & DESIGN (COLOR)
TRADEMARK NUMBER 3,158,656,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/17/2006 FOR IVT
TRADEMARK NUMBER 3,180,153,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 12/5/2006 FOR
RATETHEMUSIC
TRADEMARK NUMBER 3,204,597,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/30/2007 FOR
GSELECTOR
TRADEMARK NUMBER 3,260,632,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/10/2007 FOR NEXGEN
DIGITAL
TRADEMARK NUMBER 3,263,171,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/10/2007 FOR
MISCELLANEOUS DESIGN (VIERO)
TRADEMARK NUMBER 3,326,499,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/30/2007 FOR VIERO
BEST RATE
TRADEMARK NUMBER 3,346,041,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 11/27/2007 FOR VIERO
BOOKING AGENT
TRADEMARK NUMBER 3,389,773,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/26/2008 FOR THE BEST
USE THE BEST.
TRADEMARK NUMBER 3,393,079,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 3/4/2008 FOR VOICE
TRACKER
TRADEMARK NUMBER 3,393,084,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 3/4/2008 FOR SEGUE
EDITOR
TRADEMARK NUMBER 3,406,401,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 4/1/2008 FOR VIERO
TRANSACT
TRADEMARK NUMBER 3,504,567,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/23/2008 FOR LAN
INTERNATIONAL & DESIGN
TRADEMARK NUMBER 3,551,576,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 12/23/2008 FOR ZETTA
TRADEMARK NUMBER 3,553,185,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 12/30/2008 FOR AQUIRA
TRADEMARK NUMBER 3,579,541,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/24/2009 FOR MUSIC
SCHEDULING REINVENTED
TRADEMARK NUMBER 3,693,904,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/6/2009 FOR MSCORE




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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
TRADEMARK NUMBER 3,701,615,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/27/2009 FOR VIERO
AUDIENCEPRO
TRADEMARK NUMBER 3,714,693,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 11/24/2009 FOR Z-
PLAYER
TRADEMARK NUMBER 3,816,788,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/13/2010 FOR IPUSH
TRADEMARK NUMBER 3,883,098,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 11/30/2010 FOR ACUITAS
TRADEMARK NUMBER 3,919,160,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/15/2011 FOR SMART
CENTRAL
TRADEMARK NUMBER 4,090,459,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/24/2012 FOR TEST ALL
MEDIA
TRADEMARK NUMBER 4,113,271,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 3/13/2012 FOR SMART
RIPPER
TRADEMARK NUMBER 4,148,961,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/29/2012 FOR FLORICAL
SYSTEMS
TRADEMARK NUMBER 4,182,060,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/31/2012 FOR E-PIF
TRADEMARK NUMBER 4,217,444,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/2/2012 FOR
WANCASTING
TRADEMARK NUMBER 4,228,584,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 10/23/2012 FOR
RATETHEMUSIC & DESIGN
TRADEMARK NUMBER 4,248,916,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 11/27/2012 FOR
RCSREMOTE
TRADEMARK NUMBER 4,310,817,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 3/26/2013 FOR PERFECT
ROTATIONS ANYWHERE
TRADEMARK NUMBER 4,344,438,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/28/2013 FOR THE
LEADER IN LOCAL MEDIA MONITORING
TRADEMARK NUMBER 4,360,751,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 7/2/2013 FOR
SELECTOR2GO
TRADEMARK NUMBER 4,477,184,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/4/2014 FOR ZETTA
SPLITS
TRADEMARK NUMBER 4,477,873,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/4/2014 FOR AUDIENCE
REACTION
TRADEMARK NUMBER 4,477,874,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/4/2014 FOR AUDIENCE
MIGRATION
TRADEMARK NUMBER 4,691,306,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 2/24/2015 FOR
AQUIRA2GO


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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
TRADEMARK NUMBER 4,730,486,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/5/2015 FOR RCSNEWS
TRADEMARK NUMBER 4,740,509,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/19/2015 FOR
POWERPLAYLIST
TRADEMARK NUMBER 4,873,142,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 12/22/2015 FOR MM
ANALYTICS
TRADEMARK NUMBER 4.394,909,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/3/2013 FOR ADREV
TRADEMARK NUMBER 4.474,099,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/28/2014 FOR
ZETTA2GO
TRADEMARK NUMBER 5,041,254,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/13/2016 FOR RCS2GO
TRADEMARK NUMBER 5,129,836,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 1/24/2017 FOR ZCAST
TRADEMARK NUMBER 5,201,371,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/9/2017 FOR
MEDIABASE2GO
TRADEMARK NUMBER 5,201,554,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 5/9/2017 FOR THE
SELECTOR CLOUD
TRADEMARK NUMBER 5,258,067,                                        Undetermined N/A                                              Undetermined
REGISTERED ON 9/12/2017 FOR
FIRSTALERT
TRADEMARK NUMBER 752094,                                           Undetermined N/A                                              Undetermined
REGISTERED ON 11/4/2009 FOR LAN
INTERNATIONAL & DESIGN
TRADEMARK NUMBER 930569,                                           Undetermined N/A                                              Undetermined
REGISTERED ON 6/18/2013 FOR
MUSICPOINT
TRADEMARK NUMBER 931,581,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 3/14/2016 FOR
AQUIRA2GO
TRADEMARK NUMBER 933,599,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 4/4/2016 FOR RCSNEWS
TRADEMARK NUMBER 933635,                                           Undetermined N/A                                              Undetermined
REGISTERED ON 7/7/2003 FOR M
MUSICPOINT DELIVERING NEW MUSIC &
DESIGN
TRADEMARK NUMBER 952,650,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 10/19/2016 FOR
POWERPLAYLIST
TRADEMARK NUMBER 980143,                                           Undetermined N/A                                              Undetermined
REGISTERED ON 1/7/2014 FOR ZETTA2GO
TRADEMARK NUMBER R-30679,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR RCS &
DESIGN (7 BAR)
TRADEMARK NUMBER R-30680,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR RCS
TRADEMARK NUMBER R-30686,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR SELECTOR


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Debtor Name: iHeartMedia Management Services, Inc.                                                  Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
TRADEMARK NUMBER R-30689,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR HOT KEYS
TRADEMARK NUMBER S-19384,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR RCS
SOUND SOFTWARE & DESIGN
TRADEMARK NUMBER S-19386,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR MEDIA
MONITORS & DESIGN (VERTICAL)
TRADEMARK NUMBER S-19391,                                          Undetermined N/A                                              Undetermined
REGISTERED ON 9/6/2005 FOR SPOT TEN
                                                                                                       TOTAL                         $0.00
                                                                                                                    + undetermined amounts




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Debtor Name: iHeartMedia Management Services, Inc.                                                      Case Number: 18-31301 (MI)

                                                      Assets - Real and Personal Property

                                        Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                   Current value of debtor's
Description                                   Policy type                            Policy number
                                                                                                                   interest
Liberty Surplus Insurance Corporation         Environmental/Storage Tank             TXENYB1230011 7                                 Undetermined

National Union Fire Insurance Company of      Aviation                               GM 069810924-07                                 Undetermined
Pittsburgh, PA through AIG
Great American Insurance Company              Crime                                  UKA3001583.16                                   Undetermined

Lloyd's & Company Markets                     Individual Disability Insurance        DR1701577/003                                   Undetermined

Zurich American Insurance Company             Property                               PPR0113580-02                                   Undetermined

National Union Fire Insurance Company of      Crime                                  01-863-44-35                                    Undetermined
Pittsburgh
Illinois National Insurance Company           Fiduciary                              01-863-47-36                                    Undetermined

Illinois National Insurance Company           Directors and Officers Liability       01-869-22-32                                    Undetermined
                                              (Primary)
Starr Indemnity & Liability Company           Directors and Officers Liability       1000059671171                                   Undetermined
                                              (Excess #1)
QBE Insurance Corporation                     Directors and Officers Liability       QPLO368669                                      Undetermined
                                              (Excess #2)
ACE American Insurance Company                Directors and Officers Liability       G23661214 010                                   Undetermined
                                              (Excess #3)
Illinois National Insurance Company           Directors and Officers Liability       01-878-00-93                                    Undetermined
                                              (Excess #4)
Starpoint                                     Directors and Officers Liability       FSUSC1701813                                    Undetermined
                                              (Excess #5)
XL Specialty Insurance Company                Directors and Officers Liability       ELU151693-17                                    Undetermined
                                              (Excess #6)
Beazley Insurance Company, Inc.               Directors and Officers Liability       V15UVV171001                                    Undetermined
                                              (Excess #7)
Axis Insurance Company                        Directors and Officers Liability       MNN738149/01/20 17                              Undetermined
                                              (Excess #8)
Freedom Specialty Insurance Company           Directors and Officers Liability       XMF1701856                                      Undetermined
                                              (Excess #9)
Navigators Insurance Company                  Directors and Officers Liability       IS17DOL300599I V                                Undetermined
                                              (Excess #10)
Lloyd's Of London                             Directors and Officers Liability       FSUSC1701814                                    Undetermined
                                              (Excess #11)
Allianz Global Risks US Insurance Company     Directors and Officers Liability       DOX2009915                                      Undetermined
                                              (Excess #12)
Endurance American Insurance Company          Directors and Officers Liability       DOX10007656302                                  Undetermined
                                              (Excess #14)
Illinois National Insurance Company           Directors and Officers Liability       01-877-99-68                                    Undetermined
                                              (Excess #15)
Beazley Insurance Company, Inc.               Directors and Officers Liability       V1C679170201                                    Undetermined
                                              (Excess #16)
Old Republic Insurance Company                Directors and Officers Liability       ORPRO 39881                                     Undetermined
                                              (Excess #17)- CCOH
Old Republic Insurance Company                Directors and Officers Liability       ORPRO 39880                                     Undetermined
                                              (Excess #17)- iHM
Illinois National Insurance Company           Directors and Officers Liability       01-888-35-53                                    Undetermined
                                              (Excess #18)- CCOH



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Debtor Name: iHeartMedia Management Services, Inc.                                                       Case Number: 18-31301 (MI)

                                                      Assets - Real and Personal Property

                                         Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                    Current value of debtor's
Description                                    Policy type                            Policy number
                                                                                                                    interest
Illinois National Insurance Company            Directors and Officers Liability       01-877-99-71                                    Undetermined
                                               (Excess #18)- iHM
Federal Insurance Company                      Directors and Officers Liability       8222-4648                                       Undetermined
                                               (Excess #19)- CCOH
Federal Insurance Company                      Directors and Officers Liability       8210-5036                                       Undetermined
                                               (Excess #19)- CCOH
Endurance American Insurance Company           Directors and Officers Liability       ADX10009783601                                  Undetermined
                                               (Excess #20)- CCOH
Endurance American Insurance Company           Directors and Officers Liability       ADX10009783901                                  Undetermined
                                               (Excess #20)- CCOH
XL Specialty Insurance Company                 Directors and Officers Liability       ELU151689-17                                    Undetermined
                                               (Excess #21)- CCOH
XL Specialty Insurance Company                 Directors and Officers Liability       ELU151691-17                                    Undetermined
                                               (Excess #21)- CCOH
Illinois National Insurance Company            Errors and Omissions                   02-580-92-16                                    Undetermined

Axis Insurance Company                         Errors and Omissions                   MNN777323/01/20 17                              Undetermined

ACE American Insurance Company                 Errors and Omissions                   EON G21642794 016                               Undetermined

Lloyd's Of London                              Umbrella Liability (1st Layer)         B1526CSUSA1702 781                              Undetermined

Fireman's Fund Insurance Company               Excess Liability (2nd Layer)           SHX00049000136                                  Undetermined

XL Insurance America, Inc.                     Excess Liability (3rd Layer)           US00066207LI17 A                                Undetermined

Great American Insurance Company               Excess Liability (4th Layer)           EXC 2191688                                     Undetermined

Travelers Property Casualty Company of         Excess Liability (5th Layer-Shared)    ZUP-41M43414- 17-NF                             Undetermined
America
Ohio Casualty Insurance Company                Excess Liability (5th Layer-Shared)    ECO (18) 5836                                   Undetermined
                                                                                      4311
ACE American Insurance Company                 General Liability- Foreign Package     CSZ G27173810 006                               Undetermined

Magna Carta Insurance Ltd                      Punitives                              CSUSA1702954                                    Undetermined

Argo Re Ltd.                                   Directors and Officers Liability       ARGO-FULL-17- 000930.2                          Undetermined
                                               (Excess #13)
Zurich American Insurance Company              Property (Canada)                      8844182                                         Undetermined

XL Insurance America, Inc.                     Workers Compensation (All Other        RWD300052902                                    Undetermined
                                               States)
XL Specialty Insurance Company                 Workers Compensation (AK and WI) RWR300053002                                          Undetermined

Greenwich Insurance Company                    General Liability                      RGD300052802                                    Undetermined

Greenwich Insurance Company                    Auto Liability                         RAD943770902                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771003                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771103                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771203                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771303                                    Undetermined




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Debtor Name: iHeartMedia Management Services, Inc.                                                    Case Number: 18-31301 (MI)

                                                     Assets - Real and Personal Property

                                      Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                   Current value of debtor's
Description                                 Policy type                            Policy number
                                                                                                                   interest
Greenwich Insurance Company                 Railroad Protective Liability          RGO943771403                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771503                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771603                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771703                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771803                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771903                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772003                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772103                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772203                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772303                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772403                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772503                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772603                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772703                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943773403                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943774603                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943788201                                    Undetermined

Lincoln Life Elements                       Key Person Life Insurance              T400130248                                      Undetermined

                                                                                                           TOTAL                         $0.00
                                                                                                                        + undetermined amounts




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Debtor Name:           iHeartMedia Management Services, Inc.                                             Case Number:       18-31301 (MI)

                                                           Assets - Real and Personal Property

                                          Part 11, Question 77: Other property of any kind not already listed




Description                                                                            Current value of debtor's interest

Intercompany Receivable - AMFM Broadcasting Licenses, LLC                                                                      $606,351,947.00

Intercompany Receivable - AMFM Operating, Inc.                                                                                 $902,080,561.00

Intercompany Receivable - AMFM Radio Licenses, LLC                                                                             $791,238,496.00

Intercompany Receivable - AMFM Texas, LLC                                                                                            $9,782.00

Intercompany Receivable - AMFM Texas Licenses, LLC                                                                             $126,913,126.00

Intercompany Receivable - Capstar TX, LLC                                                                                      $703,547,418.00

Intercompany Receivable - CC Finco Holdings, LLC                                                                                       $112.00

Intercompany Receivable - CC Licenses, LLC                                                                                     $393,133,524.00

Intercompany Receivable - Cine Guarantors Ii, Inc.                                                                                  $10,000.00

Intercompany Receivable - Citicasters Licenses, Inc.                                                                            $54,493,245.00

Intercompany Receivable - Clear Channel Broadcasting Licenses, Inc.                                                             $95,132,142.00

Intercompany Receivable - Clear Channel Investments, Inc.                                                                       $33,604,177.00

Intercompany Receivable - Clear Channel Metro, LLC                                                                                  $19,354.00

Intercompany Receivable - Clear Channel Real Estate, LLC                                                                         $7,061,116.00

Intercompany Receivable - Critical Mass Media, Inc.                                                                             $15,547,173.00

Intercompany Receivable - iHeartCommunications, Inc.                                                                        $10,482,552,385.00

Intercompany Receivable - Katz Communications, Inc.                                                                            $102,071,416.00

Intercompany Receivable - Katz Net Radio Sales, Inc.                                                                             $5,238,689.00

Intercompany Receivable - Katz Millennium Sales & Marketing, Inc.                                                                $5,963,192.00

Intercompany Receivable - Terrestrial Rf Licensing, Inc.                                                                            $10,000.00

Other Current Assets                                                                                                             $1,864,527.00

Other Non Current Assets                                                                                                        $14,161,652.00

                                                                               TOTAL                                        $14,341,004,034.00




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          iHeartMedia Management Services, Inc.
                                Southern                             Texas,
                                                                     Houston
                     18-31301 (MI)                                   Divison




X




CIT BANK, N.A.
                                                                                                         Undetermined       Undetermined

                                                  Describe the lien
10201 CENTURION PARKWAY NORTH                     UCC Lien Number 17-0028378228 Dated 08/17/2017
SUITE 100
JACKSONVILLE, FL 32256



                                                  X

                        Undetermined
                                                  X



X                                                 X
                                                  X




CITIBANK N.A., AS ADMINISTRATIVE AGENT
                                                                                                         Undetermined       Undetermined

                                                  Describe the lien
CITIGROUP GLOBAL LOANS                            UCC Lien Number 09-0001380607 Dated 07/17/2013
2 PENNS WAY, SUITE 100
NEW CASTLE, DE 19720


                                                  X

                       Undetermined
                                                  X



 X                                                X
                                                  X




                                                                                                                     0.00
                                                                                                   + undetermined amounts


                                                                                                                                 18



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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.

2.3   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 09-0001380607 Dated 10/01/2014
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.4   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 09-0001444446 Dated 01/15/2009
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines



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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.5   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 09-0001444446 Dated 07/17/2013
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.6   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 09-0001444446 Dated 10/01/2014
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.7   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 08-0025553977 Dated 07/31/2008
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.8   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 09-0001380607 Dated 01/14/2009
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.9    Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025554110 Dated 10/01/2014
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.10   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025554110 Dated 07/31/2008
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.11   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025553977 Dated 01/14/2009
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.12   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025553977 Dated 10/01/2014
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.13   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025553977 Dated 05/23/2013
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.14   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025554110 Dated 01/14/2009
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.15   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 08-0025554110 Dated 05/23/2013
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.16   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK, N.A.                                        See Schedule D Disclosures

       Creditor's mailing address                            Describe the lien
       ATTN: KIRKWOOD R. ROLAND                              Guarantor of Term Loan D, maturity date of January 30, 2019
       390 GREENWICH ST, 1ST FLOOR
       NEW YORK, NY 10013




       Creditor's email address, if known                    Is the creditor an insider or related party?
       kirkwood.roland@citi.com                               X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.17   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK, N.A.                                        See Schedule D Disclosures

       Creditor's mailing address                            Describe the lien
       ATTN: KIRKWOOD R. ROLAND                              Guarantor of Term Loan E, maturity date of July 30, 2019
       390 GREENWICH ST, 1ST FLOOR
       NEW YORK, NY 10013




       Creditor's email address, if known                    Is the creditor an insider or related party?
       kirkwood.roland@citi.com                               X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.18   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 11-0005523178 Dated 02/23/2011
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.19   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 13-0006614011 Dated 03/01/2013
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.20   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 13-0006614011 Dated 10/01/2014
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.21   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 12-0033994293 Dated 08/15/2017
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.22   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 11-0005523178 Dated 10/01/2014
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.23   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 11-0005523178 Dated 08/27/2015
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.24   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 12-0033994293 Dated 10/01/2014
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.25   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 12-0033994293 Dated 10/26/2012
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.26   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 15-00059122669 Dated 02/26/2015
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.27   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 14-0029050596 Dated 09/10/2014
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.28   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 14-0029050596 Dated 10/01/2014
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.29   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 17-0017184514 Dated 05/18/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.30   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 17-0021557997 Dated 06/23/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.31   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       111 OLD EAGLE SCHOOL ROAD                             UCC Lien Number 15-0027128369 Dated 08/24/2015
       WAYNE, PA 19087




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.32   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       111 OLD EAGLE SCHOOL ROAD                             UCC Lien Number 16-0012934450 Dated 04/22/2016
       WAYNE, PA 19087




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartMedia Management Services, Inc.                                                      Case number (if known) 18-31301 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.33   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.                           See Schedule D Disclosures

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Guarantor of ABL Credit Agreement, maturity date of November
       888 7TH AVE, 35TH FLOOR                               30, 2020
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no other need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1    Last 4 digits of
         Name and address                                                                                      did you enter the          account number
                                                                                                               related creditor?          for this entity


    CITIBANK, N.A.
    ATTN: KIMBERLY M. SHELTON                                                                                     Line 16
    1615 BRETT ROAD
    NEW CASTLE, DE 19720



    CITIBANK, N.A.
    ATTN: KIMBERLY M. SHELTON                                                                                     Line 17
    1615 BRETT ROAD
    NEW CASTLE, DE 19720




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          iHeartMedia Management Services, Inc.
                                Southern                      Texas,
                                                              Houston
           18-31301 (MI)                                      Divison




X




                                                                        Undetermined   Undetermined
CITY & COUNTY OF DENVER DEPT. OF FINANCE
201 W. COLFAX AVE.                                X
DENVER, CO 80202-5329                             X
                                                  X

                                                  Tax Audit
Undetermined


                                                  X

                       8


                                                                        Undetermined   Undetermined
CITY & COUNTY OF DENVER DEPT. OF FINANCE
201 W. COLFAX AVE.                                X
DENVER, CO 80202-5329                             X
                                                  X

                                                  Tax Audit
Undetermined


                                                  X

                       8


                                                                        Undetermined   Undetermined
CITY & COUNTY OF DENVER DEPT. OF FINANCE
201 W. COLFAX AVE.                                X
DENVER, CO 80202-5329                             X
                                                  X

                                                  Tax Audit
Undetermined


                                                  X

                       8




                                                                                                457


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Debtor           iHeartMedia Management Services, Inc.                                                   Case number (if known) 18-31301 (MI)
                Name




Part 1.       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from
                                                                                                            Total claim                  Priority amount
the previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.



2.4      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         GEORGIA DEPARTMENT OF REVENUE                   As of the petition filing date, the claim is:
         PO BOX 105408                                   Check all that apply.
         ATLANTA, GA 30348-5408                           X
                                                          X
                                                          X

         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    Tax Audit

         Last 4 digits of account number               Is the claim subject to offset?
                                                        X No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) (8)



2.5      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         MISSISSIPPI DEPARTMENT OF REVENUE               As of the petition filing date, the claim is:
         PO BOX 960                                      Check all that apply.
         JACKSON, MS 39205                                X
                                                          X
                                                          X

         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    Tax Audit

         Last 4 digits of account number               Is the claim subject to offset?
                                                        X No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) (8)



2.6      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         NORTH CAROLINA DEPARTMENT OF REVENUE            As of the petition filing date, the claim is:
         PO BOX 25000                                    Check all that apply.
         RALEIGH, NC 27640-0700                           X
                                                          X
                                                          X

         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    Tax Audit

         Last 4 digits of account number               Is the claim subject to offset?
                                                        X No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) (8)



2.7      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         NY STATE DEPT. OF TAXATION & FINANCE            As of the petition filing date, the claim is:
         BANKRUPTCY SECTION                              Check all that apply.
         PO BOX 5300                                      X
         ALBANY , NY 12205-0300                           X
                                                          X

         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    Tax Audit

         Last 4 digits of account number               Is the claim subject to offset?
                                                        X No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) (8)

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 457


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Debtor           iHeartMedia Management Services, Inc.                                                   Case number (if known) 18-31301 (MI)
                Name




Part 1.       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from
                                                                                                            Total claim                  Priority amount
the previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.


2.8      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         NY STATE DEPT. OF TAXATION & FINANCE            As of the petition filing date, the claim is:
         BANKRUPTCY SECTION                              Check all that apply.
         PO BOX 5300                                      X
         ALBANY , NY 12205-0300                           X
                                                          X

         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    Tax Audit

         Last 4 digits of account number               Is the claim subject to offset?
                                                        X No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) (8)



2.9      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         OFFICE OF FINANCE-CITY OF LOS ANGELES           As of the petition filing date, the claim is:
         PO BOX 513996                                   Check all that apply.
         LOS ANGELES, CA 90051-3996                       X
                                                          X
                                                          X

         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    Tax Audit

         Last 4 digits of account number               Is the claim subject to offset?
                                                        X No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) (8)




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         iHeartMedia Management Services, Inc.                    18-31301 (MI)




201 RISING SUN FALL CREEK LP                                                             120.00
ATTN AP DEPT
9506 N SAM HOUSTON PKWY E #240
HUMBLE, TX 77396-4903

                                                  Voided Checks




                                                                                         876.00
343 PINE LLC
343 PINE ST STE 3
WILLIAMSPORT, PA 17701


                                                  Voided Checks




4 WHEEL PARTS-MEMPHIS                                                                  2,000.00
2369 COVINGTON PIKE
MEMPHIS, TN 38128


                                                  Voided Checks




                                                                                         500.00
605 WEST APARTMENTS
ATTN COMMUNITY MGR
605 WEST CHAPEL HILL ST
DURHAM, NC 27701

                                                  Voided Checks




                                                                                         761.15
84 LUMBER COMPANY
BLDG 8 SIGN SHOP
1019 ROUTE 519
EIGHTY FOUR, PA 15330

                                                  Voided Checks




84-86 WHITE STREET LLC                                                                    96.56
C/O WALLACK MANAGEMENT
POB 366
EMERSON, NJ 07630

                                                  Voided Checks




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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.7       Nonpriority creditor's name and mailing address                                                                                         $5,618.16

         A & M TOWERS LLC                                                As of the petition filing date, the claim is:
         306 DENTON AVE                                                  Check all that apply.
         AUBURNDALE, FL 33823




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.8       Nonpriority creditor's name and mailing address                                                                                             $600.00

         A CLEANER IMAGE                                                 As of the petition filing date, the claim is:
         POB 18252                                                       Check all that apply.
         HATTIESBURG, MS 39404




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.9       Nonpriority creditor's name and mailing address                                                                                             $365.00

         A1 MARKETING GROUP LLC                                          As of the petition filing date, the claim is:
         323 ZANDER LN                                                   Check all that apply.
         COLUMBUS, OH 43230




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.10      Nonpriority creditor's name and mailing address                                                                                              $61.00

         ABBOTT LABORATORIES                                             As of the petition filing date, the claim is:
         200 ABBOTT PARK RD                                              Check all that apply.
         DEPT CIB2 BLDG AP52
         ABBOTT PARK, IL 60064-6164



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.11      Nonpriority creditor's name and mailing address                                                                                         $3,695.00

         ABM PARKING SERVICES INC                                        As of the petition filing date, the claim is:
         3400 W OLIVE AVE STE 105                                        Check all that apply.
         BURBANK, CA 91505




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.12      Nonpriority creditor's name and mailing address                                                                                              $87.52

         AD RESULTS MEDIA LLC                                            As of the petition filing date, the claim is:
         ATTN ATHENA BATES                                               Check all that apply.
         6110 CLARKSON LN
         HOUSTON, TX 77055



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.13      Nonpriority creditor's name and mailing address                                                                                              $70.00

         AEC INVESTMENT GROUP LLC                                        As of the petition filing date, the claim is:
         401 COLORADO ST                                                 Check all that apply.
         AUGUSTA, GA 30901




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.14      Nonpriority creditor's name and mailing address                                                                                         $7,000.00

         TALENT NAME ON FILE 2018-156011                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.15      Nonpriority creditor's name and mailing address                                                                                         $1,034.00

         ALABAMA BROADCASTERS ASSOCIATION                                As of the petition filing date, the claim is:
         2180 PARKWAY LAKE DR                                            Check all that apply.
         HOOVER, AL 35244




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.16      Nonpriority creditor's name and mailing address                                                                                             $600.00

         VENDOR NAME ON FILE 2018-143824                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.17      Nonpriority creditor's name and mailing address                                                                                         $1,004.25

         ALII BAIL BONDS                                                 As of the petition filing date, the claim is:
         41 AKAMU PL                                                     Check all that apply.
         HONOLULU, HI 96817




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.18      Nonpriority creditor's name and mailing address                                                                                             $104.00

         VENDOR NAME ON FILE 2018-559241                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.19      Nonpriority creditor's name and mailing address                                                                                             $109.14

         ALTEX ELECTRONICS LTD                                           As of the petition filing date, the claim is:
         3215 BELMEADE                                                   Check all that apply.
         CARROLLTON, TX 75006




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.20      Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         VENDOR NAME ON FILE 2018-559339                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.21      Nonpriority creditor's name and mailing address                                                                                             $106.25

         AMS PRODUCTIONS                                                 As of the petition filing date, the claim is:
         8531 WINDERSGATE DR                                             Check all that apply.
         OLIVE BRANCH, MS 38654-1232




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.22      Nonpriority creditor's name and mailing address                                                                                             $500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.23      Nonpriority creditor's name and mailing address                                                                                         $2,826.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.24      Nonpriority creditor's name and mailing address                                                                                         $1,631.04

         APPALACHIAN POWER COMPANY                                       As of the petition filing date, the claim is:
         POB 24413                                                       Check all that apply.
         CANTON, OH 44701-4413




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.25      Nonpriority creditor's name and mailing address                                                                                             $160.00

         ARISE WORSHIP CENTER                                            As of the petition filing date, the claim is:
         1322 US HWY 72 E                                                Check all that apply.
         ATHENS, AL 35611




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.26      Nonpriority creditor's name and mailing address                                                                                              $20.00

         ARRINGTON DENTAL LLC                                            As of the petition filing date, the claim is:
         C/O FONDREN DENTAL                                              Check all that apply.
         4562 N STATE ST
         JACKSON, MS 39206



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.27      Nonpriority creditor's name and mailing address                                                                                        $15,595.60

         ASSEMBLY                                                        As of the petition filing date, the claim is:
         ATTN SAHEED INRAHEEM                                            Check all that apply.
         711 3RD AVE 3RD FL
         NEW YORK, NY 10017



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.28      Nonpriority creditor's name and mailing address                                                                                         $7,875.00

         ATLANTIC RECORDS                                                As of the petition filing date, the claim is:
         1290 AVENUE OF THE AMERICAS                                     Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.29      Nonpriority creditor's name and mailing address                                                                                             $502.80

         AUDIO SOLUTIONS INC                                             As of the petition filing date, the claim is:
         311 INDUSTRIAL DR                                               Check all that apply.
         GREENVILLE, SC 29607




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.30      Nonpriority creditor's name and mailing address                                                                                             $750.00

         BACK 40 TOURING INC                                             As of the petition filing date, the claim is:
         33 MUSIC SQ W STE 102B                                          Check all that apply.
         NASHVILLE, TN 37203




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.31      Nonpriority creditor's name and mailing address                                                                                              $31.98

         BARRS HARDWARE                                                  As of the petition filing date, the claim is:
         1254 W 4TH ST                                                   Check all that apply.
         WILLIAMSPORT, PA 17701




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.32      Nonpriority creditor's name and mailing address                                                                                              $337.05

         BAYCARE HEALTH SYSTEM                                           As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         2985 DREW ST
         CLEARWATER, FL 33759



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.33      Nonpriority creditor's name and mailing address                                                                                         $2,205.00

         BELL MEDIA                                                      As of the petition filing date, the claim is:
         ATTN RITA CHAPLINSKY                                            Check all that apply.
         969 ROBSON STE 500
         VANCOUVER, BC V6Z 1X5
         CANADA

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.34      Nonpriority creditor's name and mailing address                                                                                         $6,000.00

         BIG APPLE PY INC                                                As of the petition filing date, the claim is:
         34 3RD AVE #233                                                 Check all that apply.
         NEW YORK, NY 10003




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.35      Nonpriority creditor's name and mailing address                                                                                               $25.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.36      Nonpriority creditor's name and mailing address                                                                                              $595.00

         BIMBO BAKERIES USA                                              As of the petition filing date, the claim is:
         1045 BRENTWOOD CT #130                                          Check all that apply.
         LEXINGTON, KY 40511




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.37      Nonpriority creditor's name and mailing address                                                                                              $650.00

         BIOLIFE PLASMA SERVICES                                         As of the petition filing date, the claim is:
         2426 VILLAGE VIEW CT                                            Check all that apply.
         MIAMISBURG, OK 45342




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.38      Nonpriority creditor's name and mailing address                                                                                              $261.00

         BLOCK PARTY MEDIA INC                                           As of the petition filing date, the claim is:
         456 PROSPECT PL #2R                                             Check all that apply.
         BROOKLYN, NY 11238




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.39      Nonpriority creditor's name and mailing address                                                                                              $939.25

         BLUE STAR MEDIA LLC                                             As of the petition filing date, the claim is:
         4660 CHURCHILL ST                                               Check all that apply.
         SHOREVIEW, MN 55126




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.40      Nonpriority creditor's name and mailing address                                                                                         $5,123.00

         BOSTON MANCHESTER MKTING ASSOC CORP                             As of the petition filing date, the claim is:
         EA DMA 506                                                      Check all that apply.
         482 MOODY ST ATTN AP DEPT
         WALTHAM, MA 02453



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.41      Nonpriority creditor's name and mailing address                                                                                              $169.76

         BOTTLING GROUP LLC                                              As of the petition filing date, the claim is:
         1999 BRYAN ST                                                   Check all that apply.
         DALLAS, TX 75201




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.42      Nonpriority creditor's name and mailing address                                                                                              $288.00

         BOW TIE BLACK CAR SERVICE                                       As of the petition filing date, the claim is:
         4740 N CUMBERLAND AVE STE 203                                   Check all that apply.
         CHICAGO, IL 60656




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.43      Nonpriority creditor's name and mailing address                                                                                              $895.00

         BROADCAST BIONICS                                               As of the petition filing date, the claim is:
         THE BARN HURSTWOOD GRANGE HURSTWOOD LN                          Check all that apply.
         HAYWARDS HEATH RH17 7QX
         UNITED KINGDOM



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.44      Nonpriority creditor's name and mailing address                                                                                               $60.00

         BROOME COUNTY CLERK                                             As of the petition filing date, the claim is:
         60 HAWLEY ST 3RD FL                                             Check all that apply.
         POB 2062
         BINGHAMTON, NY 13902



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.45      Nonpriority creditor's name and mailing address                                                                                              $432.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.46      Nonpriority creditor's name and mailing address                                                                                         $1,309.00

         BUFFALO BROADCASTING LLC                                        As of the petition filing date, the claim is:
         POB 1729                                                        Check all that apply.
         YREKA, CA 96097




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.47      Nonpriority creditor's name and mailing address                                                                                                $5.00

         BUMBLE TRADING INC                                              As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         1209 N ORANGE ST
         WILMINGTON, DE 19801



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.48      Nonpriority creditor's name and mailing address                                                                                               $60.30

         C R ESCAPE ZONE                                                 As of the petition filing date, the claim is:
         425 WATT ST                                                     Check all that apply.
         JEFFERSONVILLE, IN 47130




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.49      Nonpriority creditor's name and mailing address                                                                                         $1,320.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.50      Nonpriority creditor's name and mailing address                                                                                              $175.00

         CANAD INNS DESTINATION CENTRE                                   As of the petition filing date, the claim is:
         GRAND FORKS LP-ATTN AP DEPT                                     Check all that apply.
         1000 S 42ND ST
         GRAND FORKS, ND 58201



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.51      Nonpriority creditor's name and mailing address                                                                                              $112.00

         CANCER SERVICES OVERHEAD                                        As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         1100 CHARLOTTE AVE STE 800
         NASHVILLE, TN 37203



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.52      Nonpriority creditor's name and mailing address                                                                                         $1,384.50

         CAPITOL RECORDS                                                 As of the petition filing date, the claim is:
         3322 W END AVE 11TH FL                                          Check all that apply.
         NASHVILLE, TN 37203




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.53      Nonpriority creditor's name and mailing address                                                                                         $3,981.99

         CARAT                                                           As of the petition filing date, the claim is:
         POB 2516                                                        Check all that apply.
         SECAUCUS, NJ 07094




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.54      Nonpriority creditor's name and mailing address                                                                                         $6,156.00

         CAREER MARKETPLACE INC                                          As of the petition filing date, the claim is:
         ATTN STACY RICHARDSON                                           Check all that apply.
         800 MARKET AVE N STE 400
         CANTON, OH 44702



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.55      Nonpriority creditor's name and mailing address                                                                                              $30.00

         CARLOP MARKETING PRODUCTIONS INC                                As of the petition filing date, the claim is:
         233 N MICHIGAN STE 2700                                         Check all that apply.
         CHICAGO, IL 60601




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.56      Nonpriority creditor's name and mailing address                                                                                         $1,162.95

         CENTRAL GEORGIA EMC                                             As of the petition filing date, the claim is:
         923 S MULBERRY ST                                               Check all that apply.
         JACKSON, GA 30233




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.57      Nonpriority creditor's name and mailing address                                                                                         $1,378.49

         CERTIFIED STANDBY POWER                                         As of the petition filing date, the claim is:
         78 LORIMER ST                                                   Check all that apply.
         INDIAN ORCHARD, MA 01151




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.58      Nonpriority creditor's name and mailing address                                                                                              $714.00

         CHARLOTTE RADIOLOGY PA                                          As of the petition filing date, the claim is:
         POB 36937                                                       Check all that apply.
         CHARLOTTE, NC 28236-6937




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.59      Nonpriority creditor's name and mailing address                                                                                               $50.00

         CHRISTIAN MANUEL                                                As of the petition filing date, the claim is:
         22600 HALL RD STE 204                                           Check all that apply.
         CLINTON TOWNSHIP, MI 48036




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.60      Nonpriority creditor's name and mailing address                                                                                              $587.91

         VENDOR NAME ON FILE 2018-302946                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.61      Nonpriority creditor's name and mailing address                                                                                         $1,900.00

         CIRV RADIO                                                      As of the petition filing date, the claim is:
         ATTN MAGGIE MADEIROS                                            Check all that apply.
         1087 DUNDAS ST W
         TORONTO, ON M6J 1W9
         CANADA

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.62      Nonpriority creditor's name and mailing address                                                                                         $3,721.50

         CITY OF ATLANTA POLICE DEPT                                     As of the petition filing date, the claim is:
         BACKGROUND & RECRUITMENT UNIT                                   Check all that apply.
         SUPPORT SERVICES DIVISION
         226 PEACHTREE ST SW
         ATLANTA, GA 30303

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.63      Nonpriority creditor's name and mailing address                                                                                         $1,220.00

         CITY OF CHEYENNE                                                As of the petition filing date, the claim is:
         2101 ONEIL AVE                                                  Check all that apply.
         CHEYENNE, WY 82001




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.64      Nonpriority creditor's name and mailing address                                                                                              $421.20

         CITYLINE MOTOR CARS                                             As of the petition filing date, the claim is:
         2040 STATE ST                                                   Check all that apply.
         SCHENECTADY, NY 12304




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.65      Nonpriority creditor's name and mailing address                                                                                         $1,800.00

         CLOUDONE LLC                                                    As of the petition filing date, the claim is:
         ATTN: JIM CROUSE                                                Check all that apply.
         2105 C STREET
         VANCOUVER, WA 98663



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.66      Nonpriority creditor's name and mailing address                                                                                              $150.00

         CLUB EMOTIONS                                                   As of the petition filing date, the claim is:
         143 BRICK HOUSE DR                                              Check all that apply.
         HOLLY SPRINGS, MS 38635




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.67      Nonpriority creditor's name and mailing address                                                                                               $34.75

         CMG CORPORATE SERVICES                                          As of the petition filing date, the claim is:
         POB 105376                                                      Check all that apply.
         ATLANTA, GA 30348




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.68      Nonpriority creditor's name and mailing address                                                                                              $123.00

         COLE & WEBER UNITED                                             As of the petition filing date, the claim is:
         221 YALE AVE N STE 600                                          Check all that apply.
         SEATTLE, WA 98109-5430




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.69      Nonpriority creditor's name and mailing address                                                                                         $1,457.00

         COLORADO STATE PATROL                                           As of the petition filing date, the claim is:
         700 KIPLING ST                                                  Check all that apply.
         LAKEWOOD, CO 80215




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.70      Nonpriority creditor's name and mailing address                                                                                         $2,625.00

         COLUMBIA RECORDS                                                As of the petition filing date, the claim is:
         25 MADISON AVE                                                  Check all that apply.
         NEW YORK, NY 10010-8601




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.71      Nonpriority creditor's name and mailing address                                                                                              $252.25

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 15184                                                    Check all that apply.
         ATLANTA, GA 30348-5184




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.72      Nonpriority creditor's name and mailing address                                                                                         $1,573.35

         COMCORP OF EL PASO INC                                          As of the petition filing date, the claim is:
         104 HARDWICKE LN                                                Check all that apply.
         LITTLE ELM, TX 75068




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.73      Nonpriority creditor's name and mailing address                                                                                              $200.00

         CONVERGYS                                                       As of the petition filing date, the claim is:
         1228 E ORMAN                                                    Check all that apply.
         PUEBLO, CO 81004




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.74      Nonpriority creditor's name and mailing address                                                                                              $365.00

         CORRELL REFRIGERATION INC                                       As of the petition filing date, the claim is:
         210 S SPRUCE ST                                                 Check all that apply.
         OGALLALA, NE 69153




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.75      Nonpriority creditor's name and mailing address                                                                                              $350.00

         VENDOR NAME ON FILE 2018-140601                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.76      Nonpriority creditor's name and mailing address                                                                                               $57.00

         COUNTY OF SAN DIEGO RCS                                         As of the petition filing date, the claim is:
         5595 OVERLAND AVE STE 101                                       Check all that apply.
         SAN DIEGO, CA 92123-1206




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.77      Nonpriority creditor's name and mailing address                                                                                              $483.00

         COUNTY OF VENTURA                                               As of the petition filing date, the claim is:
         800 S VICTORIA AVE                                              Check all that apply.
         VENTURA, CA 93009




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.78      Nonpriority creditor's name and mailing address                                                                                         $1,050.00

         COWESETT INN INC                                                As of the petition filing date, the claim is:
         226 COWESETT AVE                                                Check all that apply.
         WEST WARWICK, RI 02893




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.79      Nonpriority creditor's name and mailing address                                                                                              $500.00

         TALENT NAME ON FILE 2018-119967                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.80      Nonpriority creditor's name and mailing address                                                                                         $2,120.00

         CREATIVE ARTIST AGENCY FSO THE OFFSPRING                        As of the petition filing date, the claim is:
         2000 AVENUE OF THE STARS                                        Check all that apply.
         LOS ANGELES, CA 90067




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.81      Nonpriority creditor's name and mailing address                                                                                         $3,958.55

         CREEDMOOR ROAD OFFICE CONDOMINIUM                               As of the petition filing date, the claim is:
         8009 CREEDMOOR RD STE 300                                       Check all that apply.
         RALEIGH, NC 27613




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.82      Nonpriority creditor's name and mailing address                                                                                              $700.00

         CRICKET COMMUNICATIONS                                          As of the petition filing date, the claim is:
         7330 SAN PEDRO AVE                                              Check all that apply.
         SAN ANTONIO, TX 78216




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.83      Nonpriority creditor's name and mailing address                                                                                              $500.00

         CRICKET COMMUNICATIONS INC                                      As of the petition filing date, the claim is:
         POB 501430                                                      Check all that apply.
         SAN DIEGO, CA 92150-1430




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.84      Nonpriority creditor's name and mailing address                                                                                              $111.30

         CRIDERS LAWN CARE                                               As of the petition filing date, the claim is:
         145 MICKS ST                                                    Check all that apply.
         GREENUP, KY 41144




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.85      Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         CT REAL ESTATE INVESTORS ASSOCIATION                            As of the petition filing date, the claim is:
         ATTN JOANNE BRISSETTE                                           Check all that apply.
         43 HUNTER DR
         WEST HARTFORD, CT 06107



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.86      Nonpriority creditor's name and mailing address                                                                                        $31,426.29

         CUSHMAN & WAKEFIELD                                             As of the petition filing date, the claim is:
         CORPORATE SERVICES - ATTN RACHEL AMADOR                         Check all that apply.
         55 WESTPORT PLZ STE 600
         SAINT LOUIS, MO 63146



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.87      Nonpriority creditor's name and mailing address                                                                                               $10.00

         CUYAHOGA COUNTY COURT OF COMMON PLEAS                           As of the petition filing date, the claim is:
         1 BRATENAHL PL                                                  Check all that apply.
         BRATENAHL, OH 44108




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.88      Nonpriority creditor's name and mailing address                                                                                               $76.00

         D3 INVESTMENT GROUP                                             As of the petition filing date, the claim is:
         25048 SPERRY DR                                                 Check all that apply.
         WESTLAKE, OH 44145




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.89      Nonpriority creditor's name and mailing address                                                                                               $42.00

         DA UNDERGROUND                                                  As of the petition filing date, the claim is:
         2907 TWO NOTCH RD                                               Check all that apply.
         COLUMBIA, SC 29204




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.90      Nonpriority creditor's name and mailing address                                                                                              $160.00

         LISTENER NAME ON FILE 2018-122157                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.91      Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.92      Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.93      Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.94      Nonpriority creditor's name and mailing address                                                                                         $1,785.00

         DAVIS ADVERTISING                                               As of the petition filing date, the claim is:
         ATTN LORI OCONNOR                                               Check all that apply.
         1331 GRAFTON ST
         WORCESTER, MA 01604



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.95      Nonpriority creditor's name and mailing address                                                                                         $2,750.00

         DAVIS SPECIALTY SERVICES                                        As of the petition filing date, the claim is:
         3995 CLEVE RD                                                   Check all that apply.
         WAYCROSS, GA 31503




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.96      Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         DBA APB ENTERTAINMENT                                           As of the petition filing date, the claim is:
         407 E 7TH 208                                                   Check all that apply.
         AUSTIN, TX 78701




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.97      Nonpriority creditor's name and mailing address                                                                                              $885.75

         DENTAL ASSISTING ACADEMY                                        As of the petition filing date, the claim is:
         400 BLANKENBAKER PKWY STE 100                                   Check all that apply.
         LOUISVILLE, KY 40243-1882




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.98      Nonpriority creditor's name and mailing address                                                                                               $97.97

         DENVER MANAGER OF FINANCE                                       As of the petition filing date, the claim is:
         DENVER FIRE DEPARTMENT                                          Check all that apply.
         ATTN INSPECTIONS
         POB 40385
         DENVER, CO 80204

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.99      Nonpriority creditor's name and mailing address                                                                                              $250.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.100     Nonpriority creditor's name and mailing address                                                                                               $84.00

         DHARMA PRODUCTIONS & EVENTS                                     As of the petition filing date, the claim is:
         ATTN PRINCE ROMNEY                                              Check all that apply.
         1462 PACIFIC ST 4C
         BROOKLYN, NY 11213



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.101     Nonpriority creditor's name and mailing address                                                                                              $903.00

         DIAMOND POTOMAC TOWN CENTER L                                   As of the petition filing date, the claim is:
         OPERATING ACCOUNT                                               Check all that apply.
         1730 RHODE ISLAND AVE NW 512
         WASHINGTON, DC 20036



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.102     Nonpriority creditor's name and mailing address                                                                                              $120.00

         DIOCESE OF COVINGTON                                            As of the petition filing date, the claim is:
         1125 MADISON AVE                                                Check all that apply.
         COVINGTON, KY 41011




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.103     Nonpriority creditor's name and mailing address                                                                                              $930.90

         DIRECT ENERGY BUSINESS                                          As of the petition filing date, the claim is:
         POB 660749                                                      Check all that apply.
         DALLAS, TX 75266




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.104     Nonpriority creditor's name and mailing address                                                                                              $279.56

         DIXIE LP GAS INC                                                As of the petition filing date, the claim is:
         3711 WASHINGTON RD                                              Check all that apply.
         MARTINEZ, GA 30907




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.105     Nonpriority creditor's name and mailing address                                                                                              $446.00

         DMV RENEWAL                                                     As of the petition filing date, the claim is:
         POB 942894                                                      Check all that apply.
         SACRAMENTO, CA 94294




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.106     Nonpriority creditor's name and mailing address                                                                                        $20,000.00

         DUFOUR & CO PRODUCTIONS LLC                                     As of the petition filing date, the claim is:
         1901 N FORT MEYER DR STE 502                                    Check all that apply.
         ARLINGTON, VA 22209




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.107     Nonpriority creditor's name and mailing address                                                                                              $5.36

         DUKE CITY COMEDY                                                As of the petition filing date, the claim is:
         ATTN ROBERT FLIPPO                                              Check all that apply.
         12205 HAINES AVE APT D
         ALBUQUERQUE, NM 87112



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.108     Nonpriority creditor's name and mailing address                                                                                              $7.00

         DUPONT WEALTH SOLUTIONS                                         As of the petition filing date, the claim is:
         4386 SWENSON ST                                                 Check all that apply.
         HILLIARD, OH 43026




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.109     Nonpriority creditor's name and mailing address                                                                                         $1,096.51

         DUQUESNE LIGHT COMPANY                                          As of the petition filing date, the claim is:
         PAYMENT PROCESSING CENTER                                       Check all that apply.
         POB 10
         PITTSBURGH, PA 15230



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.110     Nonpriority creditor's name and mailing address                                                                                         $2,590.00

         EL FENIX CORPORATION                                            As of the petition filing date, the claim is:
         ATTN ANNE ALEXANDER                                             Check all that apply.
         1845 WOODALL RODGERS FWY STE 1100
         DALLAS, TX 75201



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.111     Nonpriority creditor's name and mailing address                                                                                         $6,984.47

         EL PASO ELECTRIC CO                                             As of the petition filing date, the claim is:
         POB 982                                                         Check all that apply.
         EL PASO, TX 79960-0982




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.112     Nonpriority creditor's name and mailing address                                                                                         $2,880.85

         ELITE HEATING & AIR                                             As of the petition filing date, the claim is:
         2114 58TH AVE E                                                 Check all that apply.
         BRADENTON, FL 34203-5059




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.113     Nonpriority creditor's name and mailing address                                                                                              $300.75

         ELITE PLUMBING                                                  As of the petition filing date, the claim is:
         2114 58TH AVE E                                                 Check all that apply.
         BRADENTON, FL 34203-5059




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.114     Nonpriority creditor's name and mailing address                                                                                              $104.00

         VENDOR NAME ON FILE 2018-559237                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.115     Nonpriority creditor's name and mailing address                                                                                         $1,851.30

         EMKAY DESIGNS                                                   As of the petition filing date, the claim is:
         1395 LAKELAND AVE - STE 35                                      Check all that apply.
         BOHEMIA, NY 11716




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.116     Nonpriority creditor's name and mailing address                                                                                         $4,500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.117     Nonpriority creditor's name and mailing address                                                                                              $124.95

         ENTERTAINMENT MARKETING GROUP                                   As of the petition filing date, the claim is:
         8501 WILSHIRE BLVD                                              Check all that apply.
         BEVERLY HILLS, CA 90211




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.118     Nonpriority creditor's name and mailing address                                                                                                $3.00

         EQUINOX HOLDINGS INC                                            As of the petition filing date, the claim is:
         9465 WILSHIRE BLVD #200                                         Check all that apply.
         BEVERLY HILLS, CA 90212-2616




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.119     Nonpriority creditor's name and mailing address                                                                                         $5,338.99

         EVERSOURCE                                                      As of the petition filing date, the claim is:
         POB 650031                                                      Check all that apply.
         DALLAS, TX 75265-0031




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.120     Nonpriority creditor's name and mailing address                                                                                               $55.00

         EXELL WELDING & TANK REPAIR LLC                                 As of the petition filing date, the claim is:
         114 E ST S                                                      Check all that apply.
         GLEN ULLIN, ND 58631




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.121     Nonpriority creditor's name and mailing address                                                                                              $265.00

         EXTRA SPACE STORAGE                                             As of the petition filing date, the claim is:
         5225 SEPULVEDA BLVD                                             Check all that apply.
         SHERMAN OAKS, CA 91403




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.122     Nonpriority creditor's name and mailing address                                                                                              $135.00

         EXTRA SPACE STORAGE OF SALINAS                                  As of the petition filing date, the claim is:
         311 W ROSSI ST                                                  Check all that apply.
         SALINAS, CA 93907




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.123     Nonpriority creditor's name and mailing address                                                                                              $325.00

         F&M FARM                                                        As of the petition filing date, the claim is:
         101 E MAIN                                                      Check all that apply.
         POB 588
         WINCHESTER, IA 52057



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.124     Nonpriority creditor's name and mailing address                                                                                                $6.00

         FANTASY ALARM COM                                               As of the petition filing date, the claim is:
         ATTN AL WILLIAMS                                                Check all that apply.
         419 MAIN ST #130
         HUNTINGTON BEACH, CA 92648



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.125     Nonpriority creditor's name and mailing address                                                                                              $133.00

         FAO ENTERTAINMENT                                               As of the petition filing date, the claim is:
         3420 CLARINET DR                                                Check all that apply.
         LOUISVILLE, KY 40216




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.126     Nonpriority creditor's name and mailing address                                                                                              $640.00

         FARWEST CORPUS CHRISTI                                          As of the petition filing date, the claim is:
         227 NEW LAREDO HWY                                              Check all that apply.
         SAN ANTONIO, TX 78211




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.127     Nonpriority creditor's name and mailing address                                                                                              $375.00

         FBR MANAGEMENT LLC                                              As of the petition filing date, the claim is:
         801 SPRINGDALE RD                                               Check all that apply.
         AUSTIN, TX 78702




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.128     Nonpriority creditor's name and mailing address                                                                                        $10,000.00

         FINAL TOUCH CONSTRUCTION AND REMODELING                         As of the petition filing date, the claim is:
         21012 AURORA RD                                                 Check all that apply.
         BEDFORD, OH 44146




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.129     Nonpriority creditor's name and mailing address                                                                                               $37.40

         FITZGERALD AND CO                                               As of the petition filing date, the claim is:
         333 PIEDMONT RD NE STE 1100                                     Check all that apply.
         ATLANTA, GA 30305-1712




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.130     Nonpriority creditor's name and mailing address                                                                                               $10.00

         FLASH BACK CRUISES                                              As of the petition filing date, the claim is:
         7901 HISPANOLA AVE APT 602                                      Check all that apply.
         NORTH BAY VILLAGE, FL 33141-4153




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.131     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         FLETCHER BABB                                                   As of the petition filing date, the claim is:
         2100 ABBOTT KINNEY BLVD UNIT F                                  Check all that apply.
         VENICE, CA 90291




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.132     Nonpriority creditor's name and mailing address                                                                                               $25.12

         FOREST CITY HAWAII LLC                                          As of the petition filing date, the claim is:
         5137 NIMITZ RD                                                  Check all that apply.
         HONOLULU, HI 96818-6234




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.133     Nonpriority creditor's name and mailing address                                                                                               $22.52

         FORREST AUTO SUPPLY                                             As of the petition filing date, the claim is:
         907 OAKWOOD AVE                                                 Check all that apply.
         NAPOLEON, OH 43545




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.134     Nonpriority creditor's name and mailing address                                                                                               $31.30

         FRIENDLY HONDA                                                  As of the petition filing date, the claim is:
         1143 DUTCHESS TPKE                                              Check all that apply.
         POUGHKEEPSIE, NY 12603




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.135     Nonpriority creditor's name and mailing address                                                                                               $52.00

         G S V PRODUCTIONS                                               As of the petition filing date, the claim is:
         POB 1016                                                        Check all that apply.
         MAPLEWOOD, NJ 07040




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.136     Nonpriority creditor's name and mailing address                                                                                              $534.42

         GEN-TECH INC                                                    As of the petition filing date, the claim is:
         7901 N 70TH AVE                                                 Check all that apply.
         GLENDALE, AZ 85303




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.137     Nonpriority creditor's name and mailing address                                                                                              $731.55

         GOLD STAR CAR WASH INC                                          As of the petition filing date, the claim is:
         455 PATERSON AVE                                                Check all that apply.
         WALLINGTON, NJ 07057




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.138     Nonpriority creditor's name and mailing address                                                                                              $240.00

         GRACE LIMOUSINE LLC                                             As of the petition filing date, the claim is:
         324 BENHAM                                                      Check all that apply.
         BRIDGEPORT, CT 06604




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.139     Nonpriority creditor's name and mailing address                                                                                              $247.67

         GREENBERG GRANT & RICHARDS INC                                  As of the petition filing date, the claim is:
         5858 WESTHEIMER STE 500                                         Check all that apply.
         HOUSTON, TX 77057




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.140     Nonpriority creditor's name and mailing address                                                                                              $410.25

         GREG TUCKER LICENSE COMMISSIONER                                As of the petition filing date, the claim is:
         CLINTON SOUTH COURTHOUSE ANNEX                                  Check all that apply.
         100 S CLINTON ST STE B
         ATHENS, AL 35611



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.141     Nonpriority creditor's name and mailing address                                                                                         $2,068.05

         GS & F INC                                                      As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         209 10TH AVE S STE 222
         NASHVILLE, TN 37203



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.142     Nonpriority creditor's name and mailing address                                                                                         $1,400.07

         HALL COMMUNICATIONS INC                                         As of the petition filing date, the claim is:
         70 JOY DR                                                       Check all that apply.
         SOUTH BURLINGTON, VT 05403




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.143     Nonpriority creditor's name and mailing address                                                                                              $498.21

         HAPPY HOUR MEDIA GROUP                                          As of the petition filing date, the claim is:
         3400 188TH ST SW STE 300                                        Check all that apply.
         LYNNWOOD, WA 98037




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.144     Nonpriority creditor's name and mailing address                                                                                              $135.00

         HAPPY HOUR MEDIA LLC                                            As of the petition filing date, the claim is:
         3400 188TH ST SW STE 300                                        Check all that apply.
         LYNWOOD, WA 98037




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.145     Nonpriority creditor's name and mailing address                                                                                              $478.70

         HARBOR FREIGHT TOOLS                                            As of the petition filing date, the claim is:
         4001 S LAMAR BLVD STE #3                                        Check all that apply.
         AUSTIN, TX 78704




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.146     Nonpriority creditor's name and mailing address                                                                                        $27,080.00

         HARRINGTON RIGHTER & PARSONS LLC                                As of the petition filing date, the claim is:
         ONE DAG HAMMARSKJOLD PLZ                                        Check all that apply.
         885 SECOND AVE
         NEW YORK, NY 10017



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.147     Nonpriority creditor's name and mailing address                                                                                              $198.00

         HARTMOOR ARENA                                                  As of the petition filing date, the claim is:
         8151 N HARTMAN ARENA DR                                         Check all that apply.
         PARK CITY, KS 67147




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.148     Nonpriority creditor's name and mailing address                                                                                              $879.75

         HARTMOOR ARENA LLC                                              As of the petition filing date, the claim is:
         ATTN ABBY MARR                                                  Check all that apply.
         10500 E BERKELEY SQUARE PKWY STE 100
         WICHITA, KS 67206-6816



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.149     Nonpriority creditor's name and mailing address                                                                                               $72.22

         HAWAII VOICE KTV & LOUNGE                                       As of the petition filing date, the claim is:
         1021 SMITH ST 301                                               Check all that apply.
         HONOLULU, HI 96817




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.150     Nonpriority creditor's name and mailing address                                                                                               $59.00

         HAY COULEE TRUCK & WELDING INC                                  As of the petition filing date, the claim is:
         JEFFREY L BRUNNER - TONY A KUMMER                               Check all that apply.
         101-125TH ST SE
         SURREY, ND 58785



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.151     Nonpriority creditor's name and mailing address                                                                                              $321.00

         HAYNES HEATING & COOLING                                        As of the petition filing date, the claim is:
         MB HAYNES CORPORATION                                           Check all that apply.
         POB 16589
         ASHEVILLE, NC 28816



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.152     Nonpriority creditor's name and mailing address                                                                                              $130.92

         HEEIA PIER GENERAL STORE & DELI                                 As of the petition filing date, the claim is:
         902 MAUNAWILLI RD                                               Check all that apply.
         KAILUA, HI 96734




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.153     Nonpriority creditor's name and mailing address                                                                                               $21.00

         HEJIMEN LLC                                                     As of the petition filing date, the claim is:
         3601 S WESTERN AVE                                              Check all that apply.
         OKLAHOMA CITY, OK 73109




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.154     Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         HOLLYWOOD RECORDS                                               As of the petition filing date, the claim is:
         POB 101622                                                      Check all that apply.
         PASADENA, CA 91189-1622




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.155     Nonpriority creditor's name and mailing address                                                                                         $1,702.75

         HORIZON MEDIA INC                                               As of the petition filing date, the claim is:
         75 VARICK ST                                                    Check all that apply.
         NEW YORK, NY 10013




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.156     Nonpriority creditor's name and mailing address                                                                                         $5,015.00

         HOSPICE OF THE BLUEGRASS                                        As of the petition filing date, the claim is:
         2312 ALEXANDRIA DR                                              Check all that apply.
         LEXINGTON, KY 40504-3277




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.157     Nonpriority creditor's name and mailing address                                                                                         $3,900.00

         ICE EXPRESS                                                     As of the petition filing date, the claim is:
         8257 GULF FWY                                                   Check all that apply.
         HOUSTON, TX 77017




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.158     Nonpriority creditor's name and mailing address                                                                                        $20,091.51

         ID MEDIA                                                        As of the petition filing date, the claim is:
         100 W 33RD ST                                                   Check all that apply.
         NEW YORK, NY 10001




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.159     Nonpriority creditor's name and mailing address                                                                                              $208.00

         VENDOR NAME ON FILE 2018-559218                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.160     Nonpriority creditor's name and mailing address                                                                                              $570.00

         INFOWORX DIRECT LLC                                             As of the petition filing date, the claim is:
         2255 GLADES RD STE 324A                                         Check all that apply.
         BOCA RATON, FL 33431




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.161     Nonpriority creditor's name and mailing address                                                                                              $139.00

         INTEGER                                                         As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         7245 W ALASKA DR
         LAKEWOOD, CO 80226



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.162     Nonpriority creditor's name and mailing address                                                                                         $3,425.25

         INTERNATIONAL EDUCATION CORPORATION                             As of the petition filing date, the claim is:
         16485 LAGUNA CANYON RD STE 300                                  Check all that apply.
         IRVINE, CA 92618




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.163     Nonpriority creditor's name and mailing address                                                                                                $3.00

         INVINCIBLE COMICS                                               As of the petition filing date, the claim is:
         1557 ATLANTIC AVE                                               Check all that apply.
         RIPON, CA 95366




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.164     Nonpriority creditor's name and mailing address                                                                                               $25.00

         IOWA BROADCASTERS ASSOCIATION                                   As of the petition filing date, the claim is:
         POB 71186                                                       Check all that apply.
         DES MOINES, IA 50325




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.165     Nonpriority creditor's name and mailing address                                                                                         $2,869.94

         IOWA PUBLIC TELEVISION                                          As of the petition filing date, the claim is:
         POB 6450                                                        Check all that apply.
         JOHNSTON, IA 50131




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.166     Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.167     Nonpriority creditor's name and mailing address                                                                                               $34.05

         ISLAND CAFE & AMUSEMENTS                                        As of the petition filing date, the claim is:
         91-1310 KAIOKIA                                                 Check all that apply.
         EWA BEACH, HI 96706




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.168     Nonpriority creditor's name and mailing address                                                                                               $29.04

         J AND E PRODUCTIONS                                             As of the petition filing date, the claim is:
         720 ROSE AVE                                                    Check all that apply.
         LAUREL, MS 39440




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.169     Nonpriority creditor's name and mailing address                                                                                         $1,524.00

         J R PUTMAN INC                                                  As of the petition filing date, the claim is:
         11330 SUNRISE PARK DR STE A                                     Check all that apply.
         RANCHO CORDOVA, CA 95742




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.170     Nonpriority creditor's name and mailing address                                                                                              $400.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.171     Nonpriority creditor's name and mailing address                                                                                               $50.00

         JAMAICA TOURIST BOARD                                           As of the petition filing date, the claim is:
         301 E 57TH ST                                                   Check all that apply.
         NEW YORK, NY 10022




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.172     Nonpriority creditor's name and mailing address                                                                                               $25.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.173     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         VENDOR NAME ON FILE 2018-301740                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.174     Nonpriority creditor's name and mailing address                                                                                              $103.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.175     Nonpriority creditor's name and mailing address                                                                                         $1,465.00

         JANNUS LIVE                                                     As of the petition filing date, the claim is:
         200 1ST AVE N STE 206                                           Check all that apply.
         SAINT PETERSBURG, FL 33701-3335




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.176     Nonpriority creditor's name and mailing address                                                                                              $140.00

         JASMINE ENTERTAINMENT LLC                                       As of the petition filing date, the claim is:
         DBA COWBOY UP SALOON                                            Check all that apply.
         702 EDWARDS DR
         HARKER HEIGHTS, TX 76548



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.177     Nonpriority creditor's name and mailing address                                                                                              $256.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.178     Nonpriority creditor's name and mailing address                                                                                         $3,640.00

         JEFFERSON PERFORMING ARTS SOCIETY                               As of the petition filing date, the claim is:
         1118 CLEARVIEW PKWY                                             Check all that apply.
         METAIRIE, LA 70001




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.179     Nonpriority creditor's name and mailing address                                                                                              $450.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.180     Nonpriority creditor's name and mailing address                                                                                              $120.00

         VENDOR NAME ON FILE 2018-559170                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.181     Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.182     Nonpriority creditor's name and mailing address                                                                                                $3.00

         JEWELS BY SIMPSON                                               As of the petition filing date, the claim is:
         TRAVIS SIMPSON                                                  Check all that apply.
         3224 S BROADWAY ST 112
         EDMOND, OK 73013



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.183     Nonpriority creditor's name and mailing address                                                                                               $65.00

         JF MEDIA LLC                                                    As of the petition filing date, the claim is:
         1226 BERMUDA LAKES LN UNIT 307                                  Check all that apply.
         KISSIMMEE, FL 34741




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.184     Nonpriority creditor's name and mailing address                                                                                         $3,483.43

         JL ELECTRIC                                                     As of the petition filing date, the claim is:
         4113 WINDSOR DR                                                 Check all that apply.
         FARMINGTON, NM 87402




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.185     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         JOBE ENTERTAINMENT LLC                                          As of the petition filing date, the claim is:
         20701 N SCOTTSDALE RD STE 107-627                               Check all that apply.
         SCOTTSDALE, AZ 85255




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.186     Nonpriority creditor's name and mailing address                                                                                              $182.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.187     Nonpriority creditor's name and mailing address                                                                                                $5.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.188     Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         JOHN WILLIAM POPE CIVITAS INST INC                              As of the petition filing date, the claim is:
         100 S HARRINGTON ST                                             Check all that apply.
         RALEIGH, NC 27603




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.189     Nonpriority creditor's name and mailing address                                                                                              $360.00

         JSR ADVERTISING                                                 As of the petition filing date, the claim is:
         466 BRIDGEPORT AVE                                              Check all that apply.
         SHELTON, CT 06484




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.190     Nonpriority creditor's name and mailing address                                                                                              $320.00

         KARISMATIC LLC                                                  As of the petition filing date, the claim is:
         ATTN JASON HUNTER                                               Check all that apply.
         22 LATHAM PARK
         ELKINS PARK, PA 19027



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.191     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         VENDOR NAME ON FILE 2018-559243                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.192     Nonpriority creditor's name and mailing address                                                                                         $2,916.67

         KCAL FM                                                         As of the petition filing date, the claim is:
         KCAL-FM KOLA-FM                                                 Check all that apply.
         ATTN JEFF PARKE
         1940 ORANGE TREE LN STE 200
         REDLANDS, CA 92374

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.193     Nonpriority creditor's name and mailing address                                                                                         $3,125.00

         KD CABLE LTD                                                    As of the petition filing date, the claim is:
         C/O KEN WILLIAMS                                                Check all that apply.
         719 DOVE LN
         GRAFORD, TX 76449



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.194     Nonpriority creditor's name and mailing address                                                                                        $13,722.83

         KEZR-FM                                                         As of the petition filing date, the claim is:
         ATTN: GENERAL MANAGER                                           Check all that apply.
         190 PARK CENTER PLZ STE 200
         SAN JOSE, CA 95113



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.195     Nonpriority creditor's name and mailing address                                                                                              $95.00

         KIDS CAMPAIGN                                                   As of the petition filing date, the claim is:
         3861 OCEAN DR                                                   Check all that apply.
         CORPUS CHRISTI, TX 78411-1255




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.196     Nonpriority creditor's name and mailing address                                                                                              $57.12

         KIESUB ELECTRONICS INC                                          As of the petition filing date, the claim is:
         3185 S HIGHLAND STE 10                                          Check all that apply.
         LAS VEGAS, NV 89109-1029




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.197     Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.198     Nonpriority creditor's name and mailing address                                                                                               $53.74

         KIMMEL CORP                                                     As of the petition filing date, the claim is:
         225 N SANDUSKY AVE                                              Check all that apply.
         POB 96
         UPPER SANDUSKY, OH 43351



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.199     Nonpriority creditor's name and mailing address                                                                                               $53.74

         KIMMEL CORPORATION                                              As of the petition filing date, the claim is:
         POB 98                                                          Check all that apply.
         UPPER SANDUSKY, OH 43351




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.200     Nonpriority creditor's name and mailing address                                                                                              $800.00

         KISSELL FIELD & TRANSPORTATION SERVICES                         As of the petition filing date, the claim is:
         1596 COUNTY RD 109                                              Check all that apply.
         CHEYENNE, WY 82009




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.201     Nonpriority creditor's name and mailing address                                                                                                $8.00

         KORN FERRY                                                      As of the petition filing date, the claim is:
         2703 ABBOTTS GLEN PL NW                                         Check all that apply.
         ACWORTH, GA 30101




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.202     Nonpriority creditor's name and mailing address                                                                                              $329.17

         KRANZLER KINGSLEY COMMUNICATION LTD                             As of the petition filing date, the claim is:
         DBA KK BOLD                                                     Check all that apply.
         POB 693
         BISMARCK, ND 58502



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.203     Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.204     Nonpriority creditor's name and mailing address                                                                                         $1,072.38

         LA GUARDIA COUNTYARD MARRIOTT                                   As of the petition filing date, the claim is:
         90-10 DITTMARS BLVD                                             Check all that apply.
         EAST ELMHURST, NY 11369




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.205     Nonpriority creditor's name and mailing address                                                                                              $500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.206     Nonpriority creditor's name and mailing address                                                                                              $400.00

         LAKE CLOUD ENTERTAINMENT                                        As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         825 ROVER HWY
         MOORESVILLE, NC 28117-9057



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.207     Nonpriority creditor's name and mailing address                                                                                              $800.00

         LEBANONS CAFE                                                   As of the petition filing date, the claim is:
         1500 S CARROLLTON AVE                                           Check all that apply.
         NEW ORLEANS, LA 70118




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.208     Nonpriority creditor's name and mailing address                                                                                              $240.51

         LEONARD TRUCK AND TRAILER                                       As of the petition filing date, the claim is:
         12800 LEONARD PKWY                                              Check all that apply.
         NORTH JACKSON, OH 44451




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.209     Nonpriority creditor's name and mailing address                                                                                               $56.10

         LEWIS ADVERTISING                                               As of the petition filing date, the claim is:
         1050 COUNTRY CLUB RD                                            Check all that apply.
         POB DRAWER L
         ROCKY MOUNT, NC 27802



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.210     Nonpriority creditor's name and mailing address                                                                                              $200.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.211     Nonpriority creditor's name and mailing address                                                                                                $8.00

         LINDYS DINER ON 4TH                                             As of the petition filing date, the claim is:
         431 N 4TH AVE                                                   Check all that apply.
         TUCSON, AZ 85705




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.212     Nonpriority creditor's name and mailing address                                                                                         $8,704.56

         LIST PARTNERS INC                                               As of the petition filing date, the claim is:
         3098 PIEDMONT RD NE STE 200                                     Check all that apply.
         ATLANTA, GA 30305




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.213     Nonpriority creditor's name and mailing address                                                                                              $149.50

         LOYAL TERMITE & PEST CONTROL                                    As of the petition filing date, the claim is:
         ATTN NICK LUPIHI                                                Check all that apply.
         2610 E PARHAM RD
         RICHMOND, VA 23228-2932



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.214     Nonpriority creditor's name and mailing address                                                                                              $465.00

         LUCKY 88 INC                                                    As of the petition filing date, the claim is:
         321 BENHAM AVE                                                  Check all that apply.
         BRIDGEPORT, CT 06604




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.215     Nonpriority creditor's name and mailing address                                                                                               $15.00

         LYCEUM SIX CINEMAS                                              As of the petition filing date, the claim is:
         7270 S BROADWAY                                                 Check all that apply.
         RED HOOK, NY 12571




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.216     Nonpriority creditor's name and mailing address                                                                                              $460.00

         MACON CHARTER ACADEMY INC                                       As of the petition filing date, the claim is:
         1314 WALNUT ST                                                  Check all that apply.
         MACON, GA 31201




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.217     Nonpriority creditor's name and mailing address                                                                                         $4,760.00

         MAIN LINE FERTILITY CENTER                                      As of the petition filing date, the claim is:
         825 OLD LANCASTER RD #170                                       Check all that apply.
         BRYN MAWR, PA 19010




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.218     Nonpriority creditor's name and mailing address                                                                                              $625.00

         MAIN STREET PROJECT LLC                                         As of the petition filing date, the claim is:
         50 N MAIN ST                                                    Check all that apply.
         WAYNESVILLE, NC 28786




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.219     Nonpriority creditor's name and mailing address                                                                                         $1,194.00

         MANHATTAN MINI STORAGE                                          As of the petition filing date, the claim is:
         POB 416345                                                      Check all that apply.
         BOSTON, MA 02241-6345




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.220     Nonpriority creditor's name and mailing address                                                                                              $665.00

         MANHEIM AUTO AUCTIONS                                           As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         7000 CENTRAL PKWY
         ATLANTA, GA 30328



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.221     Nonpriority creditor's name and mailing address                                                                                              $100.00

         VENDOR NAME ON FILE 2018-302387                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.222     Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.223     Nonpriority creditor's name and mailing address                                                                                              $594.04

         MARTINELLI & ASSOCIATED                                         As of the petition filing date, the claim is:
         C/O EZ                                                          Check all that apply.
         2435 HWY 34
         MANASQUAN, NJ 08736



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.224     Nonpriority creditor's name and mailing address                                                                                               $11.00

         MASTROILO LLC                                                   As of the petition filing date, the claim is:
         DBA MALONEYS TAVERN                                             Check all that apply.
         213 N 4TH AVE
         TUCSON, AZ 85705



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.225     Nonpriority creditor's name and mailing address                                                                                         $1,150.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.226     Nonpriority creditor's name and mailing address                                                                                              $113.00

         MCLANE FOODSERVICE INC                                          As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         2085 MIDWAY RD
         CARROLLTON, TX 75006



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.227     Nonpriority creditor's name and mailing address                                                                                        $70,591.20

         MEDIA GENERAL                                                   As of the petition filing date, the claim is:
         WYCW TV                                                         Check all that apply.
         250 INTERNATIONAL DR
         SPARTANBURG, SC 29303



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.228     Nonpriority creditor's name and mailing address                                                                                         $2,694.50

         MEDIA MIX COMMUNICATIONS INC                                    As of the petition filing date, the claim is:
         4630 BAYARD PARK DR                                             Check all that apply.
         EVANSVILLE, IN 47714




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.229     Nonpriority creditor's name and mailing address                                                                                         $1,621.38

         MEDIASMITH INCORPORATED                                         As of the petition filing date, the claim is:
         274 BRANNAN ST STE 601                                          Check all that apply.
         SAN FRANCISCO, CA 94107




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.230     Nonpriority creditor's name and mailing address                                                                                        $69,818.30

         MEDIAVEST                                                       As of the petition filing date, the claim is:
         1675 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10019




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.231     Nonpriority creditor's name and mailing address                                                                                              $629.49

         MEDIAVEST WORLDWIDE                                             As of the petition filing date, the claim is:
         27-01 QUEEN PLAZA N                                             Check all that apply.
         LONG ISLAND CITY, NY 11101




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.232     Nonpriority creditor's name and mailing address                                                                                               $49.00

         MELISSAS SPECIALTY CAKES                                        As of the petition filing date, the claim is:
         200 JEFF DAVIS AVE STE 3                                        Check all that apply.
         LONG BEACH, MS 39560




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.233     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         VENDOR NAME ON FILE 2018-302624                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.234     Nonpriority creditor's name and mailing address                                                                                              $750.00

         MEME VIDEO LTD                                                  As of the petition filing date, the claim is:
         16 TIOMKIN ST                                                   Check all that apply.
         TEL AVIV 657-8317
         ISRAEL



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.235     Nonpriority creditor's name and mailing address                                                                                              $211.22

         MET PHOTO INC                                                   As of the petition filing date, the claim is:
         1500 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10036




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.236     Nonpriority creditor's name and mailing address                                                                                              $867.71

         METRO CASH REGISTER AMERICAN METRO                              As of the petition filing date, the claim is:
         609 W COUNTY RD E                                               Check all that apply.
         SHOREVIEW, MN 55126




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.237     Nonpriority creditor's name and mailing address                                                                                              $250.00

         METRO PARKS AND RECREATION                                      As of the petition filing date, the claim is:
         ATTN LISA KING SPECIAL EVENTS                                   Check all that apply.
         POB 196340
         NASHVILLE, TN 37219-6340



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.238     Nonpriority creditor's name and mailing address                                                                                               $34.55

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.239     Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         MID-WEST MANAGEMENT INC                                         As of the petition filing date, the claim is:
         730 RAYOVAC DR                                                  Check all that apply.
         MADISON, WI 53711




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.240     Nonpriority creditor's name and mailing address                                                                                                $1.70

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.241     Nonpriority creditor's name and mailing address                                                                                               $14.40

         MMS AS PAYING COMPANY                                           As of the petition filing date, the claim is:
         27-01 QUEENS PLZ N                                              Check all that apply.
         LONG ISLAND CITY, NY 11101




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.242     Nonpriority creditor's name and mailing address                                                                                         $5,617.00

         MOBS MARKETING LLC                                              As of the petition filing date, the claim is:
         3095 W 38TH AVE                                                 Check all that apply.
         DENVER, CO 80211




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.243     Nonpriority creditor's name and mailing address                                                                                              $140.00

         MOSCATOS BELLA CUCINA                                           As of the petition filing date, the claim is:
         190 S GREENWOOD AVE                                             Check all that apply.
         EASTON, PA 18042




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.244     Nonpriority creditor's name and mailing address                                                                                         $7,644.00

         MT DIABLO GROUP INC                                             As of the petition filing date, the claim is:
         340 TOWNSEND ST 4TH FLOOR                                       Check all that apply.
         SAN FRANCISCO, CA 94107




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.245     Nonpriority creditor's name and mailing address                                                                                                $8.00

         MUSICAL ARTS CENTER                                             As of the petition filing date, the claim is:
         4626 WEDGEWOOD BLVD                                             Check all that apply.
         FREDERICK, MD 21703




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.246     Nonpriority creditor's name and mailing address                                                                                              $180.00

         MYLES RIVERA-FLAM                                               As of the petition filing date, the claim is:
         3100 PONTE MORINO DR STE 200                                    Check all that apply.
         CAMERON PARK, CA 95682




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.247     Nonpriority creditor's name and mailing address                                                                                         $4,320.32

         NATIONAL GRID                                                   As of the petition filing date, the claim is:
         POB 4710                                                        Check all that apply.
         SYRACUSE, NY 13221-4710




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.248     Nonpriority creditor's name and mailing address                                                                                              $456.52

         NATIONAL HERITAGE ACADEMIES                                     As of the petition filing date, the claim is:
         3850 BROADMOOR AVE SE STE 201                                   Check all that apply.
         GRAND RAPIDS, MI 49512




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.249     Nonpriority creditor's name and mailing address                                                                                               $20.00

         NATIONAL MEDIA CONSULTANT                                       As of the petition filing date, the claim is:
         3124 AVIEMORE WAY                                               Check all that apply.
         RICHFIELD, OH 44286




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.250     Nonpriority creditor's name and mailing address                                                                                               $79.32

         NCDMV                                                           As of the petition filing date, the claim is:
         MECKLENBURG COUNTY TAX OFFICE                                   Check all that apply.
         POB 36819
         CHARLOTTE, NC 28236



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.251     Nonpriority creditor's name and mailing address                                                                                              $102.13

         NEW MEXICO BIG PRINTS                                           As of the petition filing date, the claim is:
         5659 JEFFERSON NE                                               Check all that apply.
         ALBUQUERQUE, NM 87109




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.252     Nonpriority creditor's name and mailing address                                                                                               $15.00

         NEXT LEVEL STUDIOS LLC                                          As of the petition filing date, the claim is:
         19907 LIVERPOOL DR #268                                         Check all that apply.
         MACOMB, MI 48044




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.253     Nonpriority creditor's name and mailing address                                                                                         $4,500.00

         NFL PARTNERS LLC                                                As of the petition filing date, the claim is:
         838 HOLLINGSWORTH RD                                            Check all that apply.
         LAKELAND, FL 33801




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.254     Nonpriority creditor's name and mailing address                                                                                              $103.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.255     Nonpriority creditor's name and mailing address                                                                                              $100.00

         NIKE INC                                                        As of the petition filing date, the claim is:
         ATTN ABBY JENNINGS                                              Check all that apply.
         550 N RUSH ST
         CHICAGO, IL 60614



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.256     Nonpriority creditor's name and mailing address                                                                                              $104.74

         NIMITZ FISH MARKET                                              As of the petition filing date, the claim is:
         1114 LUNALILO ST 7                                              Check all that apply.
         HONOLULU, HI 96822




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.257     Nonpriority creditor's name and mailing address                                                                                              $250.00

         NORCROSS SOFTBALL DIAMOND CLUB                                  As of the petition filing date, the claim is:
         NORCROSS HIGH SCHOOL SOFTBALL                                   Check all that apply.
         5300 SPALDING DR
         NORCROSS, GA 30092



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.258     Nonpriority creditor's name and mailing address                                                                                         $3,699.40

         NORTH STAR TECHNICAL SERVICES INC                               As of the petition filing date, the claim is:
         POB 221992                                                      Check all that apply.
         HOLLYWOOD, FL 33022




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.259     Nonpriority creditor's name and mailing address                                                                                        $12,938.71

         NORTHEAST OHIO FULFILLMENT CENTER LLC                           As of the petition filing date, the claim is:
         650 S PROSPECT AVE                                              Check all that apply.
         HARTVILLE, OH 44632




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.260     Nonpriority creditor's name and mailing address                                                                                               $10.00

         NOTHING SHORT OF GLORY                                          As of the petition filing date, the claim is:
         1004 ARLINGTON ST                                               Check all that apply.
         CLINTON, MS 39056




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.261     Nonpriority creditor's name and mailing address                                                                                              $835.10

         OCTAGON WORLDWIDE                                               As of the petition filing date, the claim is:
         472 THE NORTH CHACE                                             Check all that apply.
         ATLANTA, GA 30328




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.262     Nonpriority creditor's name and mailing address                                                                                               $94.00

         ODEON CONCERT CLUB LLC                                          As of the petition filing date, the claim is:
         1295 OLD RIVER RD                                               Check all that apply.
         CLEVELAND, OH 44113




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.263     Nonpriority creditor's name and mailing address                                                                                              $155.41

         OHIO GAS COMPANY                                                As of the petition filing date, the claim is:
         POB 49370                                                       Check all that apply.
         SAN JOSE, CA 95161-9370




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.264     Nonpriority creditor's name and mailing address                                                                                               $83.00

         OLIVIA TUCSON LLC                                               As of the petition filing date, the claim is:
         3500 E SUNRISE DR                                               Check all that apply.
         TUCSON, AZ 85718




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.265     Nonpriority creditor's name and mailing address                                                                                              $425.00

         OMNIA AGENCY                                                    As of the petition filing date, the claim is:
         115 HARRIS AVE                                                  Check all that apply.
         PROVIDENCE, RI 02903




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.266     Nonpriority creditor's name and mailing address                                                                                                $4.00

         ONE TOWN PRODUCTIONS                                            As of the petition filing date, the claim is:
         5644 SYCAMORE RIDGE RD                                          Check all that apply.
         MEMPHIS, TN 38134




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.267     Nonpriority creditor's name and mailing address                                                                                              $102.00

         ORION TRADING                                                   As of the petition filing date, the claim is:
         POB 542035                                                      Check all that apply.
         OMAHA, NE 68154




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.268     Nonpriority creditor's name and mailing address                                                                                               $80.00

         OUTSIDE WORLD COLUMBUS LLC                                      As of the petition filing date, the claim is:
         1025 BROADWAY                                                   Check all that apply.
         COLUMBUS, GA 31901




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.269     Nonpriority creditor's name and mailing address                                                                                              $917.76

         PACIFIC RADIO ELECTRONICS                                       As of the petition filing date, the claim is:
         3031 THORNTON AVE                                               Check all that apply.
         BURBANK, CA 91504




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.270     Nonpriority creditor's name and mailing address                                                                                              $500.00

         PALOMAR COMMUNICATIONS INC                                      As of the petition filing date, the claim is:
         2230 MICRO PL                                                   Check all that apply.
         ESCONDIDO, CA 92029




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.271     Nonpriority creditor's name and mailing address                                                                                              $200.00

         PARDY & RODRIGUEZ PA                                            As of the petition filing date, the claim is:
         OPERATING ACCOUNT                                               Check all that apply.
         315 PARK LAKE CIR
         ORLANDO, FL 32803-3923



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.272     Nonpriority creditor's name and mailing address                                                                                               $28.90

         PATIENT ADVOCATE FOUNDATION                                     As of the petition filing date, the claim is:
         421 BUTLER FARM RD                                              Check all that apply.
         HAMPTON, VA 23666




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.273     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         PEACHTREE CITY                                                  As of the petition filing date, the claim is:
         ATTN MARY CAMBURN                                               Check all that apply.
         151 WILLOWBEND RD
         PEACHTREE CITY, GA 30269



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.274     Nonpriority creditor's name and mailing address                                                                                              $151.96

         PEPSI BEVERAGES COMPANY                                         As of the petition filing date, the claim is:
         355 BENTON ST                                                   Check all that apply.
         STRATFORD, CT 06615




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.275     Nonpriority creditor's name and mailing address                                                                                              $245.00

         PERFECTIONS GENTLEMANS CLUB                                     As of the petition filing date, the claim is:
         6205 30TH AVE                                                   Check all that apply.
         WOODSIDE, NY 11377




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.276     Nonpriority creditor's name and mailing address                                                                                               $25.50

         PHD                                                             As of the petition filing date, the claim is:
         195 BROADWAY                                                    Check all that apply.
         NEW YORK, NY 10007




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.277     Nonpriority creditor's name and mailing address                                                                                              $971.92

         PHD MEDIA LLC                                                   As of the petition filing date, the claim is:
         220 E 42ND ST 7TH FL                                            Check all that apply.
         NEW YORK, NY 10017-5806




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.278     Nonpriority creditor's name and mailing address                                                                                              $562.07

         PIERCE 100 INC                                                  As of the petition filing date, the claim is:
         4131 GUNN HWY                                                   Check all that apply.
         TAMPA, FL 33618




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.279     Nonpriority creditor's name and mailing address                                                                                         $5,500.00

         PIONEER HI-BEND INTERNATIONAL INC                               As of the petition filing date, the claim is:
         ATTN PAULA EASLEY                                               Check all that apply.
         POB 257
         JOHNSTON, IA 50131-0257



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.280     Nonpriority creditor's name and mailing address                                                                                         $2,548.00

         PITTSBURGH STEELERS PREMIUM SEATS LP                            As of the petition filing date, the claim is:
         PITTSBURGH STEELERS                                             Check all that apply.
         POB 643203
         PITTSBURGH, PA 15264-3203



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.281     Nonpriority creditor's name and mailing address                                                                                              $240.00

         PRECISION PERSONNEL INC                                         As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         414 OAKNOOL DR
         AMHERST, OH 44001



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.282     Nonpriority creditor's name and mailing address                                                                                              $190.00

         PRODUCT DISTRIBUTION COMPANY                                    As of the petition filing date, the claim is:
         3925 PRODUCE RD                                                 Check all that apply.
         LOUISVILLE, KY 40218




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.283     Nonpriority creditor's name and mailing address                                                                                               $50.80

         PROLAB GAMING                                                   As of the petition filing date, the claim is:
         ATTN AP SEPT                                                    Check all that apply.
         9919 HAGEMAN RD STE 100
         BAKERSFIELD, CA 93312



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.284     Nonpriority creditor's name and mailing address                                                                                               $10.00

         PROTECT AMERICAS CONSUMERS                                      As of the petition filing date, the claim is:
         ATTN DANIEL CENTINELLO                                          Check all that apply.
         1776 K ST NW
         WASHINGTON, DC 20006-2304



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.285     Nonpriority creditor's name and mailing address                                                                                                $9.00

         PSI MARKETING CONSULTANTS INC                                   As of the petition filing date, the claim is:
         3501 ALGONQUIN RD                                               Check all that apply.
         ROLLING MEADOWS, IL 60008




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.286     Nonpriority creditor's name and mailing address                                                                                              $192.00

         PSU LV THON                                                     As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         3748 E VIEW DR
         OREFIELD, PA 18069



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.287     Nonpriority creditor's name and mailing address                                                                                              $575.00

         PUEO TATTOO LLC                                                 As of the petition filing date, the claim is:
         4993 RUSSELL PKWY STE 580                                       Check all that apply.
         WARNER ROBINS, GA 31088




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.288     Nonpriority creditor's name and mailing address                                                                                               $38.52

         PYE-BARKER FIRE & SAFETY INC                                    As of the petition filing date, the claim is:
         POB 69                                                          Check all that apply.
         ROSWELL, GA 30077-0069




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.289     Nonpriority creditor's name and mailing address                                                                                              $150.00

         QUAKER STEAK & LUBE RESTAURANT                                  As of the petition filing date, the claim is:
         5800 INTERSTATE BLVD                                            Check all that apply.
         AUSTINTOWN, OH 44515




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.290     Nonpriority creditor's name and mailing address                                                                                               $75.00

         RAPID DELIVERY SERVICE                                          As of the petition filing date, the claim is:
         POB 14511                                                       Check all that apply.
         BRADENTON, FL 34280




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.291     Nonpriority creditor's name and mailing address                                                                                              $119.75

         RATO & ERB LLC                                                  As of the petition filing date, the claim is:
         C/O ERBELLIS                                                    Check all that apply.
         8744 E STATE RD 70 STE 301
         BRADENTON, FL 34202-3720



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.292     Nonpriority creditor's name and mailing address                                                                                         $2,932.50

         RE RESOURCES ZENITH OPTIMEDIA                                   As of the petition filing date, the claim is:
         ATTN RITA PARRIZZI                                              Check all that apply.
         27-01 QUEENS PLAZA N 3RD FL
         LONG ISLAND CITY, NY 11101



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.293     Nonpriority creditor's name and mailing address                                                                                               $27.45

         REECE PURCELL                                                   As of the petition filing date, the claim is:
         CARNIVAL BEATS                                                  Check all that apply.
         5729 SMOKERANCH RD
         LAS VEGAS, NV 89108



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.294     Nonpriority creditor's name and mailing address                                                                                        $15,000.00

         REFINERY ROOFTOP                                                As of the petition filing date, the claim is:
         54 W 40TH ST OFFICE 919                                         Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.295     Nonpriority creditor's name and mailing address                                                                                              $147.00

         REVOLUTION                                                      As of the petition filing date, the claim is:
         600 W CHICAGO STE 220                                           Check all that apply.
         CHICAGO, IL 60654




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.296     Nonpriority creditor's name and mailing address                                                                                              $140.00

         RICHLAND COMMUNITY COMPLEX                                      As of the petition filing date, the claim is:
         11685 CR 350                                                    Check all that apply.
         SIDNEY, MT 59270




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.297     Nonpriority creditor's name and mailing address                                                                                         $1,442.44

         RIGHT STRATEGIES LLC                                            As of the petition filing date, the claim is:
         3176 SUMMIT SQUARE DR APT B10                                   Check all that apply.
         OAKTON, VA 22124-2877




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.298     Nonpriority creditor's name and mailing address                                                                                         $2,250.00

         RNC MEDIA INC                                                   As of the petition filing date, the claim is:
         ATTN FINANCE DEPARTMENT                                         Check all that apply.
         171-A RUE JEAN-PROULX
         GATINEAU, QC J8Z 1W5
         CANADA

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.299     Nonpriority creditor's name and mailing address                                                                                              $522.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.300     Nonpriority creditor's name and mailing address                                                                                        $10,000.00

         RONALD MCDONALD HOUSE CHARITIES OF SO CA                        As of the petition filing date, the claim is:
         9777 MISSION BLVD 5                                             Check all that apply.
         RIVERSIDE, CA 92509




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.301     Nonpriority creditor's name and mailing address                                                                                         $3,852.00

         ROTTWEILER CLEANING SERVICE INC                                 As of the petition filing date, the claim is:
         8030 TIMBERLANE DR                                              Check all that apply.
         TAMPA, FL 33615




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.302     Nonpriority creditor's name and mailing address                                                                                              $182.50

         RUMBA TROPICAL ISLAND BAY                                       As of the petition filing date, the claim is:
         2715 PATRICIAN CIR                                              Check all that apply.
         KISSIMMEE, FL 34746




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.303     Nonpriority creditor's name and mailing address                                                                                         $1,575.00

         SALEM RADIO PROPERTIES                                          As of the petition filing date, the claim is:
         ATTN BETH TUASON                                                Check all that apply.
         4880 SANTA ROSA RD STE 300
         CAMARILLO, CA 93012



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.304     Nonpriority creditor's name and mailing address                                                                                               $20.00

         SAMS CLUB WEST JORDAN                                           As of the petition filing date, the claim is:
         7571 S 3800 W                                                   Check all that apply.
         WEST JORDAN, UT 84084-4319




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.305     Nonpriority creditor's name and mailing address                                                                                              $200.00

         SAMSUNG                                                         As of the petition filing date, the claim is:
         3245 146TH PL                                                   Check all that apply.
         BELLEVUE, WA 98007




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.306     Nonpriority creditor's name and mailing address                                                                                              $334.25

         SANDERS WINGO ADVERTISING INC                                   As of the petition filing date, the claim is:
         221 N KANSAS ST STE 900                                         Check all that apply.
         EL PASO, TX 79901




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.307     Nonpriority creditor's name and mailing address                                                                                              $798.95

         SANTA FE MAZDA VOLVO SUZUKI                                     As of the petition filing date, the claim is:
         2704 CERRILLOS RD                                               Check all that apply.
         SANTA FE, NM 87507




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.308     Nonpriority creditor's name and mailing address                                                                                              $350.00

         VENDOR NAME ON FILE 2018-302997                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.309     Nonpriority creditor's name and mailing address                                                                                              $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.310     Nonpriority creditor's name and mailing address                                                                                              $500.00

         VENDOR NAME ON FILE 2018-140586                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.311     Nonpriority creditor's name and mailing address                                                                                         $8,000.00

         SENIOR ROAD TOWER GROUP                                         As of the petition filing date, the claim is:
         POB 807                                                         Check all that apply.
         MISSOURI CITY, TX 77459




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.312     Nonpriority creditor's name and mailing address                                                                                        $13,121.60

         SHARP ADVERTISING                                               As of the petition filing date, the claim is:
         1855 E SOUTHERN AVE STE 210                                     Check all that apply.
         MESA, AZ 85204




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.313     Nonpriority creditor's name and mailing address                                                                                               $20.00

         SHIFT PROPERTY MANAGEMENT LLC                                   As of the petition filing date, the claim is:
         100 GRANDVILLE AVE SW 301                                       Check all that apply.
         GRAND RAPIDS, MI 49503




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.314     Nonpriority creditor's name and mailing address                                                                                                $6.80

         SIERRA WEST ADVERTISING                                         As of the petition filing date, the claim is:
         1417 CROSBY DR                                                  Check all that apply.
         FORT WASHINGTON, PA 19034




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.315     Nonpriority creditor's name and mailing address                                                                                               $20.00

         SIN STUDIO TATTOO                                               As of the petition filing date, the claim is:
         645 ABBE RD S                                                   Check all that apply.
         ELYRIA, OH 44035




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.316     Nonpriority creditor's name and mailing address                                                                                              $125.00

         SISTER TRADE CONSIGNMENT                                        As of the petition filing date, the claim is:
         POB 4373                                                        Check all that apply.
         COLUMBUS, GA 31914-0373




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.317     Nonpriority creditor's name and mailing address                                                                                         $2,520.00

         SJB SIMPLECAR GROUP LLC                                         As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         615 N GENERAL BRUCE DR
         TEMPLE, TX 76504



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.318     Nonpriority creditor's name and mailing address                                                                                         $1,186.16

         SMG-TULSA LLC                                                   As of the petition filing date, the claim is:
         2448 E 81ST ST STE 5500                                         Check all that apply.
         TULSA, OK 74137




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.319     Nonpriority creditor's name and mailing address                                                                                              $220.55

         SOCALGAS                                                        As of the petition filing date, the claim is:
         POB C                                                           Check all that apply.
         MONTEREY PARK, CA 91756-5111




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.320     Nonpriority creditor's name and mailing address                                                                                                $8.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.321     Nonpriority creditor's name and mailing address                                                                                              $500.00

         SONY PICTURES ENTERTAINMENT                                     As of the petition filing date, the claim is:
         10202 W WASHINGTON BLVD                                         Check all that apply.
         CULVER CITY, CA 90232




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.322     Nonpriority creditor's name and mailing address                                                                                                $2.00

         SOUL CENTRAL MAGAZINE                                           As of the petition filing date, the claim is:
         20 VINCENT ROAD WOOD GREEN                                      Check all that apply.
         LONDON N22 6NY
         UNITED KINGDOM



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.323     Nonpriority creditor's name and mailing address                                                                                              $750.00

         SOUTHERN CITY BAND                                              As of the petition filing date, the claim is:
         513 WASHINGTON ST UNIT 1                                        Check all that apply.
         BRIGHTON, MA 02135




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.324     Nonpriority creditor's name and mailing address                                                                                               $40.00

         SOUTHERN ILLINOIS UNIVERSITY CARBONDALE                         As of the petition filing date, the claim is:
         ATTN KRISTY BEIGHTS                                             Check all that apply.
         1220 DOUGLAS DR
         CARBONDALE, IL 62901



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.325     Nonpriority creditor's name and mailing address                                                                                              $387.50

         SPARK COMMUNICATIONS                                            As of the petition filing date, the claim is:
         222 MERCHANDISE MART PLAZA, STE 550                             Check all that apply.
         CHICAGO, IL 60654




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.326     Nonpriority creditor's name and mailing address                                                                                              $142.80

         SPONSORSHIP SOLUTIONS                                           As of the petition filing date, the claim is:
         902 RAYMOND AVE                                                 Check all that apply.
         OAKDALE, PA 15071




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
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3.327     Nonpriority creditor's name and mailing address                                                                                              $299.20

         SPORTS MEDIA                                                    As of the petition filing date, the claim is:
         ATTN LARRY SIEGEL                                               Check all that apply.
         10685 HAZELHURST DR 17603
         HOUSTON, TX 77043



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.328     Nonpriority creditor's name and mailing address                                                                                               $32.99

         SPOTLIGHT MEDIA INTERNATIONAL                                   As of the petition filing date, the claim is:
         6303 OWENSMOUTH AVE STE 1000                                    Check all that apply.
         WOODLAND HILLS, CA 91367




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.329     Nonpriority creditor's name and mailing address                                                                                         $7,685.00

         SPRING INC                                                      As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         41 E 11TH ST STE 17
         NEW YORK, NY 10003



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.330     Nonpriority creditor's name and mailing address                                                                                              $563.64

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.331     Nonpriority creditor's name and mailing address                                                                                               $60.11

         STARCOM                                                         As of the petition filing date, the claim is:
         ATTN JEFFREY GRUBSTEIN                                          Check all that apply.
         27-01 QUEENS PLZ N
         LONG ISLAND, NY 11101



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.332     Nonpriority creditor's name and mailing address                                                                                         $3,342.00

         STATE OF DELAWARE                                               As of the petition filing date, the claim is:
         BUREAU OF ABANDONED PROPERTY                                    Check all that apply.
         PO BOX 8931
         WILMINGTON, DE 19899



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.333     Nonpriority creditor's name and mailing address                                                                                              $139.50

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.334     Nonpriority creditor's name and mailing address                                                                                              $599.00

         LISTENER NAME ON FILE 2018-135571                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.335     Nonpriority creditor's name and mailing address                                                                                              $500.00

         STEVE AMARAL DESIGN                                             As of the petition filing date, the claim is:
         4708 S LAND PARK DR                                             Check all that apply.
         SACRAMENTO, CA 95822




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.336     Nonpriority creditor's name and mailing address                                                                                               $11.00

         STICKER SHOCK SIGNS                                             As of the petition filing date, the claim is:
         4023 E SPRAGUE AVE                                              Check all that apply.
         SPOKANE, WA 99202




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.337     Nonpriority creditor's name and mailing address                                                                                               $51.00

         STRATEGIC MEDIA SERVICES INC                                    As of the petition filing date, the claim is:
         1911 FORT MYER DR STE 400                                       Check all that apply.
         ALEXANDRIA, VA 22209




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.338     Nonpriority creditor's name and mailing address                                                                                              $180.75

         STRATEGIES 360                                                  As of the petition filing date, the claim is:
         1505 WESTLAKE AVE N STE1000                                     Check all that apply.
         SEATTLE, WA 98109




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.339     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.340     Nonpriority creditor's name and mailing address                                                                                              $500.00

         SUNNYSIDE HIGH SCHOOL                                           As of the petition filing date, the claim is:
         ATTN RICKY TORRES                                               Check all that apply.
         1725 E BILBY RD
         TUCSON, AZ 85707



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.341     Nonpriority creditor's name and mailing address                                                                                         $2,350.00

         SUPERPUMPER INC                                                 As of the petition filing date, the claim is:
         CORPORATE HEADQUARTERS                                          Check all that apply.
         POB 1847
         MINOT, ND 58702-1847



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.342     Nonpriority creditor's name and mailing address                                                                                              $200.01

         TAMPA ELECTRIC                                                  As of the petition filing date, the claim is:
         TECO                                                            Check all that apply.
         POB 31318
         TAMPA, FL 33631-3318



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.343     Nonpriority creditor's name and mailing address                                                                                         $8,697.00

         TANDUM LLC                                                      As of the petition filing date, the claim is:
         3212 WEST END AVE STE 401                                       Check all that apply.
         NASHVILLE, TN 37203




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.344     Nonpriority creditor's name and mailing address                                                                                               $70.00

         TAYLOR BOY RECORDS & ENTERTAINMENT                              As of the petition filing date, the claim is:
         803 BROADACRE AVE                                               Check all that apply.
         CLAWSON, MI 48017




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.345     Nonpriority creditor's name and mailing address                                                                                               $45.00

         TC PRODUCTIONS                                                  As of the petition filing date, the claim is:
         256 AVENUE B                                                    Check all that apply.
         PORT SAINT JOE, FL 32456-1508




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.346     Nonpriority creditor's name and mailing address                                                                                              $236.00

         TC PROPERTIES AND DEVELOPMENT INC                               As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         31 S REAL RD
         BAKERSFIELD, CA 93309



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.347     Nonpriority creditor's name and mailing address                                                                                              $839.12

         TERRY LEE MCBROOM                                               As of the petition filing date, the claim is:
         CHERI MATYK                                                     Check all that apply.
         320 16TH AVE
         INDIAN ROCKS BEACH, FL 33785



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.348     Nonpriority creditor's name and mailing address                                                                                               $75.00

         TEXAS GAME WARDEN ASSOCIATION INC                               As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         4367 FM 1047
         HAMILTON, TX 76531



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.349     Nonpriority creditor's name and mailing address                                                                                              $150.00

         THAI TOPAZ II LLC                                               As of the petition filing date, the claim is:
         ATTN SOMIJIRA NAMARSA                                           Check all that apply.
         2177-A NW MILITARY HWY
         SAN ANTONIO, TX 78213



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.350     Nonpriority creditor's name and mailing address                                                                                               $39.00

         THE BACKYARD - BOYNTON BEACH                                    As of the petition filing date, the claim is:
         POB 1340                                                        Check all that apply.
         BOYNTON BEACH, FL 33435




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.351     Nonpriority creditor's name and mailing address                                                                                               $17.00

         THE DANCE ACADEMY OF CEDAR RAPIDS                               As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         4840 ARMAR DR SE
         CEDAR RAPIDS, IA 52403



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.352     Nonpriority creditor's name and mailing address                                                                                              $400.00

         THE FAMILY                                                      As of the petition filing date, the claim is:
         5116 CITATION DR                                                Check all that apply.
         RACINE, WI 53402




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.353     Nonpriority creditor's name and mailing address                                                                                              $525.00

         THE MCCONNELL GROUP                                             As of the petition filing date, the claim is:
         POB 156                                                         Check all that apply.
         LAKE LURE, NC 28746




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.354     Nonpriority creditor's name and mailing address                                                                                               $90.00

         THE NUMBER ONE FAST FOOD LLC                                    As of the petition filing date, the claim is:
         5425 SHELDON RD                                                 Check all that apply.
         TAMPA, FL 33615




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.355     Nonpriority creditor's name and mailing address                                                                                         $1,543.00

         THE REEF OF MYRTLE BEACH                                        As of the petition filing date, the claim is:
         2101 S OCEAN BLVD                                               Check all that apply.
         MYRTLE BEACH, SC 29577




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.356     Nonpriority creditor's name and mailing address                                                                                              $216.00

         THE STONE HOUSE 343 PINE LLC                                    As of the petition filing date, the claim is:
         343 PINE ST STE 2                                               Check all that apply.
         WILLIAMSPORT, PA 17701-6209




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
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3.357     Nonpriority creditor's name and mailing address                                                                                              $868.42

         THE TOMBRAS GROUP                                               As of the petition filing date, the claim is:
         POB 15151                                                       Check all that apply.
         KNOXVILLE, TN 37901-5151




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.358     Nonpriority creditor's name and mailing address                                                                                              $418.39

         THE UPS STORE                                                   As of the petition filing date, the claim is:
         5692                                                            Check all that apply.
         2009 W BROADWAY AVE #400
         FOREST LAKE, MN 55025



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.359     Nonpriority creditor's name and mailing address                                                                                         $1,250.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.360     Nonpriority creditor's name and mailing address                                                                                              $720.00

         TIERNEY & PARTNERS OMAHA                                        As of the petition filing date, the claim is:
         POB 542001                                                      Check all that apply.
         OMAHA, NE 68154




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.361     Nonpriority creditor's name and mailing address                                                                                               $17.00

         TIFFANIS BOUTIQUE                                               As of the petition filing date, the claim is:
         C/O THE JOSEPH AGENCY                                           Check all that apply.
         5 BURGEE CT
         COLUMBIA, SC 29229



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.362     Nonpriority creditor's name and mailing address                                                                                         $1,236.81

         TOSHIBA FINANCIAL SERVICES                                      As of the petition filing date, the claim is:
         POB 790448                                                      Check all that apply.
         SAINT LOUIS, MO 63179-0448




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.363     Nonpriority creditor's name and mailing address                                                                                                $4.00

         TOWN OF NEW PALTZ                                               As of the petition filing date, the claim is:
         COMMUNITY PARTNERSHIP                                           Check all that apply.
         POB 550 1 VETERANS DR
         NEW PALTZ, NY 12561-0050



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.364     Nonpriority creditor's name and mailing address                                                                                              $104.70

         TOYOTA OF BROOKHAVEN                                            As of the petition filing date, the claim is:
         890 BROOKWAY BLVD                                               Check all that apply.
         BROOKHAVEN, MS 39601




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.365     Nonpriority creditor's name and mailing address                                                                                              $274.00

         VENDOR NAME ON FILE 2018-135376                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.366     Nonpriority creditor's name and mailing address                                                                                         $2,329.02

         TREIBLE OFFICE PRODUCTS                                         As of the petition filing date, the claim is:
         2743 CASTRO VALLEY BLVD                                         Check all that apply.
         CASTRO VALLEY, CA 94546




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.367     Nonpriority creditor's name and mailing address                                                                                               $10.00

         TRUE TATTOO LLC                                                 As of the petition filing date, the claim is:
         ATTN SCOTT CALCATERRA                                           Check all that apply.
         6112 JAHNKE RD
         RICHMOND, VA 23225



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.368     Nonpriority creditor's name and mailing address                                                                                         $2,520.00

         TSG MUSIC INC                                                   As of the petition filing date, the claim is:
         FSO THE GLORIOUS SONS                                           Check all that apply.
         745 BURNETT ST
         KINGSTON, ON K7M 5W2
         CANADA

                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.369     Nonpriority creditor's name and mailing address                                                                                              $740.00

         TTR ENTERPRISES INC                                             As of the petition filing date, the claim is:
         DBA AIR SERVICES/ALL SERVICES PLUMBING                          Check all that apply.
         1617 E GRAND
         SPRINGFIELD, MO 65804



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.370     Nonpriority creditor's name and mailing address                                                                                               $10.00

         TWELVE OAKS MALL                                                As of the petition filing date, the claim is:
         DBA TWELVE OAKS - ATTN AP DEPT                                  Check all that apply.
         27500 NOVI RD
         NOVI, MI 48377



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.371     Nonpriority creditor's name and mailing address                                                                                              $143.05

         UGI UTILITIES INC                                               As of the petition filing date, the claim is:
         POB 15503                                                       Check all that apply.
         WILMINGTON, DE 19886-5503




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.372     Nonpriority creditor's name and mailing address                                                                                         $3,800.00

         ULTIMATE VACATIONS                                              As of the petition filing date, the claim is:
         650 IWILEI RD STE 400                                           Check all that apply.
         HONOLULU, HI 96817




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.373     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         TALENT NAME ON FILE 2018-144102                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.374     Nonpriority creditor's name and mailing address                                                                                              $136.26

         UNIFIRST HOLDINGS INC                                           As of the petition filing date, the claim is:
         1514 FAIR PARK BLVD                                             Check all that apply.
         HARLINGEN, TX 78550




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.375     Nonpriority creditor's name and mailing address                                                                                              $120.00

         UNITED BANK                                                     As of the petition filing date, the claim is:
         401 S SANDUSKY AVE                                              Check all that apply.
         BUCYRUS, OH 44820




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.376     Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         UNIVERSAL MUSIC GROUP                                           As of the petition filing date, the claim is:
         PB 32152                                                        Check all that apply.
         CHICAGO, IL 60693-0321




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
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3.377     Nonpriority creditor's name and mailing address                                                                                              $42.00

         UNIVERSITY OF ALASKA                                            As of the petition filing date, the claim is:
         3211 PROVIDENCE DR ISB 101E                                     Check all that apply.
         ANCHORAGE, AK 99508




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.378     Nonpriority creditor's name and mailing address                                                                                         $2,050.00

         UNIVERSITY OF SOUTH FLORIDA                                     As of the petition filing date, the claim is:
         5355 MEDPACE WAY                                                Check all that apply.
         CINCINNATI, OH 45227




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.379     Nonpriority creditor's name and mailing address                                                                                               $5.00

         UTAH VALLEY GUN SHOW                                            As of the petition filing date, the claim is:
         1650 N 1250 W                                                   Check all that apply.
         PROVO, UT 84604




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.380     Nonpriority creditor's name and mailing address                                                                                         $5,920.00

         VANGUARD EMERGENCY MANAGEMENT                                   As of the petition filing date, the claim is:
         188 BROOKE RD STE 300                                           Check all that apply.
         WINCHESTER, VA 22603-5798




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.381     Nonpriority creditor's name and mailing address                                                                                              $15.00

         VAPORS DREAM LLC                                                As of the petition filing date, the claim is:
         38 S STATE ST                                                   Check all that apply.
         GIRARD, OH 44420-2907




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
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3.382     Nonpriority creditor's name and mailing address                                                                                              $174.00

         VIABILITY INC                                                   As of the petition filing date, the claim is:
         5 FRANKLIN ST                                                   Check all that apply.
         NORTHAMPTON, MA 01060




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.383     Nonpriority creditor's name and mailing address                                                                                        $14,875.00

         TALENT NAME ON FILE 2018-124503                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.384     Nonpriority creditor's name and mailing address                                                                                         $2,255.11

         VICTORY AUTO BODY & PAINT INC                                   As of the petition filing date, the claim is:
         4220 W MAGNOLIA BLVD                                            Check all that apply.
         BURBANK, CA 91505




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.385     Nonpriority creditor's name and mailing address                                                                                              $202.30

         VIDA RAE SMITH                                                  As of the petition filing date, the claim is:
         304 BROAD ST                                                    Check all that apply.
         DERIDDER, LA 70634-3840




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.386     Nonpriority creditor's name and mailing address                                                                                               $32.00

         VIDA SUPER                                                      As of the petition filing date, the claim is:
         ATTN FREDERICO GONZALEZ                                         Check all that apply.
         2750 OCEAN CLUB BLVD APT 206
         HOLLYWOOD, FL 33019



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
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3.387     Nonpriority creditor's name and mailing address                                                                                              $369.00

         VIRGINIA STATE                                                  As of the petition filing date, the claim is:
         12132 PERCIVAL ST                                               Check all that apply.
         CHESTER, VA 23831-4739




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.388     Nonpriority creditor's name and mailing address                                                                                        $34,112.57

         VOICES INC                                                      As of the petition filing date, the claim is:
         3550 WILSHIRE BLVD #916                                         Check all that apply.
         LOS ANGELES, CA 90010




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.389     Nonpriority creditor's name and mailing address                                                                                               $31.41

         WAKA KICKBALL                                                   As of the petition filing date, the claim is:
         1359 W BARRY AVE                                                Check all that apply.
         CHICAGO, IL 60657




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.390     Nonpriority creditor's name and mailing address                                                                                                $7.23

         WASTE CONNECTIONS OF FLORIDA                                    As of the petition filing date, the claim is:
         POB 5278                                                        Check all that apply.
         CAROL STREAM, IL 60197-5278




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.391     Nonpriority creditor's name and mailing address                                                                                              $110.00

         WATCHDOG PAC                                                    As of the petition filing date, the claim is:
         ATTN JASON REDMOND                                              Check all that apply.
         POB 52663
         NEW ORLEANS, LA 70152



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.392     Nonpriority creditor's name and mailing address                                                                                               $85.95

         WATER REVENUE BUREAU                                            As of the petition filing date, the claim is:
         CITY OF PHILADELPHIA-DEPT OF REVENUE                            Check all that apply.
         POB 41496
         PHILADELPHIA, PA 19101-1496



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.393     Nonpriority creditor's name and mailing address                                                                                              $384.20

         WEBER ADVERTISING & MARKETING INC                               As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         633 JANET AVE
         LANCASTER, PA 17601



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.394     Nonpriority creditor's name and mailing address                                                                                              $150.00

         WEBER SHANDWICK                                                 As of the petition filing date, the claim is:
         600 BATTERY ST                                                  Check all that apply.
         SAN FRANCISCO, CA 94111




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.395     Nonpriority creditor's name and mailing address                                                                                               $36.00

         WEST CORPORATION                                                As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         1015 BELVIDERE ST
         EL PASO, TX 79912



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.396     Nonpriority creditor's name and mailing address                                                                                              $148.00

         WHIZZYBABY ENTERTAINMENT                                        As of the petition filing date, the claim is:
         5343 CHARLOTTE AVE                                              Check all that apply.
         NASHVILLE, TN 37209




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.397     Nonpriority creditor's name and mailing address                                                                                        $24,000.00

         WHOLE FOODS MARKET                                              As of the petition filing date, the claim is:
         ATTN MELISSA TRAVERSE                                           Check all that apply.
         250 FOREST ST
         MARLBOROUGH, MA 01752



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.398     Nonpriority creditor's name and mailing address                                                                                               $40.00

         WICKED WAYS TATTOO                                              As of the petition filing date, the claim is:
         C/O CHRIS MILLER                                                Check all that apply.
         4407 LOVERS LN NE
         COMSTOCK PARK, MI 49321



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.399     Nonpriority creditor's name and mailing address                                                                                              $100.00

         WILD WOLF BREWING CO                                            As of the petition filing date, the claim is:
         2461 ROCKFISH VALLEY HWY                                        Check all that apply.
         NELLYSFORD, VA 22958




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.400     Nonpriority creditor's name and mailing address                                                                                              $345.00

         WILTSHIRE FOR TROY                                              As of the petition filing date, the claim is:
         112 ARCADIA AVE                                                 Check all that apply.
         ALBANY, NY 12203




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.401     Nonpriority creditor's name and mailing address                                                                                               $16.00

         WITTY ENTERTAINMENT                                             As of the petition filing date, the claim is:
         314 TROUBADOUR DR                                               Check all that apply.
         NORTHFIELD, OH 44067




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.402     Nonpriority creditor's name and mailing address                                                                                         $5,778.91

         WKNR-AM                                                         As of the petition filing date, the claim is:
         ATTN: SAM PINES                                                 Check all that apply.
         1301 E 9TH ST STE 252
         CLEVELAND, OH 44114-1800



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.403     Nonpriority creditor's name and mailing address                                                                                        $13,333.33

         WKXW-FM                                                         As of the petition filing date, the claim is:
         ATTN: GENERAL MANAGER                                           Check all that apply.
         109 WATERS AVE.
         TRENTON, NJ 08638



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.404     Nonpriority creditor's name and mailing address                                                                                        $15,000.00

         WORDEN SUMMIT LLC                                               As of the petition filing date, the claim is:
         POB 10660                                                       Check all that apply.
         ROCHESTER, NY 14610




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.405     Nonpriority creditor's name and mailing address                                                                                         $1,275.50

         WTRF TV                                                         As of the petition filing date, the claim is:
         201 HUMBOLDT ST                                                 Check all that apply.
         ROCHESTER, NY 14610




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.406     Nonpriority creditor's name and mailing address                                                                                              $138.45

         WYCW TV                                                         As of the petition filing date, the claim is:
         250 INTERNATIONAL DR                                            Check all that apply.
         SPARTANBURG, SC 29303




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.407     Nonpriority creditor's name and mailing address                                                                                               $48.00

         XTC CABARET                                                     As of the petition filing date, the claim is:
         3501 ANDTREE BLVD                                               Check all that apply.
         AUSTIN, TX 78724-2503




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.408     Nonpriority creditor's name and mailing address                                                                                              $100.00

         YEAR UP INC                                                     As of the petition filing date, the claim is:
         93 SUMMER ST 5TH FL                                             Check all that apply.
         BOSTON, MA 02110




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.409     Nonpriority creditor's name and mailing address                                                                                              $513.62

         YORK ENVIRONMENTAL SYSTEMS                                      As of the petition filing date, the claim is:
         35 CIDER HILL RD                                                Check all that apply.
         YORK, ME 03909




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.410     Nonpriority creditor's name and mailing address                                                                                               $13.95

         ZENITH                                                          As of the petition filing date, the claim is:
         C/O RESOURCES - ATTN KIRL DUVIVIER                              Check all that apply.
         27-01 QUEENS PLAZA N
         LONG ISLAND CITY, NY 11101-4020



                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.411     Nonpriority creditor's name and mailing address                                                                                              $573.75

         ZIMMERMAN ADVERTISING INC                                       As of the petition filing date, the claim is:
         600 N ANDREWS AVE                                               Check all that apply.
         FORT LAUDERDALE, FL 33309




                                                                         Basis for the claim: Voided Checks

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
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3.412     Nonpriority creditor's name and mailing address                                                                                              $519.35

         1345 GARAGE                                                     As of the petition filing date, the claim is:
         C/O FISHER BROS MGMT                                            Check all that apply.
         299 PARK AVE
         NEW YORK, NY 10171
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.413     Nonpriority creditor's name and mailing address                                                                                               $20.00

         1ON1 ENTERTAINMENT                                              As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.414     Nonpriority creditor's name and mailing address                                                                                         $4,960.28

         2 LIGHTS MEDIA                                                  As of the petition filing date, the claim is:
         26 THOMAS DR                                                    Check all that apply.
         WESTBROOK, ME 04092
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.415     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         254 CAPITAL GROUP LLC                                           As of the petition filing date, the claim is:
         3321 FRANKLIN AVE                                               Check all that apply.
         WACO, TX 76710
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.416     Nonpriority creditor's name and mailing address                                                                                         $1,360.00

         26 DOT TWO LLC                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
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3.417     Nonpriority creditor's name and mailing address                                                                                         $1,623.65

         365 SERVICES LLC                                                As of the petition filing date, the claim is:
         PO BOX 59715                                                    Check all that apply.
         LOS ANGELES, CA 90074-9715




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.418     Nonpriority creditor's name and mailing address                                                                                         $1,078.23

         3CLOGIC                                                         As of the petition filing date, the claim is:
         9201 CORPORATE BLVD STE 470                                     Check all that apply.
         ROCKVILLE, MD 20850
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.419     Nonpriority creditor's name and mailing address                                                                                              $575.00

         496720 BC LTD                                                   As of the petition filing date, the claim is:
         58A THERESA AVE                                                 Check all that apply.
         CAPE TOWN, TX 78209
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.420     Nonpriority creditor's name and mailing address                                                                                              $632.14

         4WALL LIGHTING ENTERTAINMENT                                    As of the petition filing date, the claim is:
         5435 W SAN FERNANDO RD                                          Check all that apply.
         LOS ANGELES, CA 90039




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.421     Nonpriority creditor's name and mailing address                                                                                         $1,223.38

         542 ENTERTAINMENT INC                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.422     Nonpriority creditor's name and mailing address                                                                                               $30.00

         700 COLUMBUS INVESTMENTS LLC                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.423     Nonpriority creditor's name and mailing address                                                                                              $667.76

         84-86 WHITE STREET LLC                                          As of the petition filing date, the claim is:
         C/O WALLACK MANAGEMENT                                          Check all that apply.
         POB 366
         EMERSON, NJ 07630



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.424     Nonpriority creditor's name and mailing address                                                                                              $536.00

         9 BAR/ THE COMPLEX                                              As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.425     Nonpriority creditor's name and mailing address                                                                                         $3,732.50

         A BETTER BAIL BOND DT                                           As of the petition filing date, the claim is:
         1416 WASHINGTON AVE                                             Check all that apply.
         HOUSTON, TX 77002
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.426     Nonpriority creditor's name and mailing address                                                                                         $2,100.00

         A PLACE LIKE HOME II                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.427     Nonpriority creditor's name and mailing address                                                                                         $2,372.00

         A POWERS ENTERPRISES LLC                                        As of the petition filing date, the claim is:
         3977 LAKE STAR DR                                               Check all that apply.
         LEAGUE CITY, TX 77573
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.428     Nonpriority creditor's name and mailing address                                                                                         $1,321.53

         ABBYS PLACE FOR WOMEN                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.429     Nonpriority creditor's name and mailing address                                                                                         $1,523.56

         ABC PHONES OF NORTH CAROLINA INC                                As of the petition filing date, the claim is:
         775 PRAIRIE CTR DR STE 420                                      Check all that apply.
         EDEN PRAIRIE, MN 55344
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.430     Nonpriority creditor's name and mailing address                                                                                              $499.01

         ABCO PEERLESS FIRE SUPPRESSION                                  As of the petition filing date, the claim is:
         50 MIDLAND AVE                                                  Check all that apply.
         HICKSVILLE, NY 11801




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.431     Nonpriority creditor's name and mailing address                                                                                         $7,788.38

         ABELCINE                                                        As of the petition filing date, the claim is:
         609 GREENWICH ST                                                Check all that apply.
         NEW YORK, NY 10014
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.432     Nonpriority creditor's name and mailing address                                                                                         $9,916.69

         ABELCINE GROUP LA                                               As of the petition filing date, the claim is:
         801 S MAIN ST                                                   Check all that apply.
         BURBANK, CA 91506




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.433     Nonpriority creditor's name and mailing address                                                                                         $1,100.00

         ABINGTON REPRODUCTIVE MEDICINE                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.434     Nonpriority creditor's name and mailing address                                                                                        $10,000.00

         ABX                                                             As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.435     Nonpriority creditor's name and mailing address                                                                                         $5,200.00

         ACADEMICA MANAGEMENT LLC                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.436     Nonpriority creditor's name and mailing address                                                                                         $2,294.10

         ACC BUSINESS                                                    As of the petition filing date, the claim is:
         POB 105306                                                      Check all that apply.
         ATLANTA, GA 30348-5306




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.437     Nonpriority creditor's name and mailing address                                                                                         $1,342.79

         ACCENT FOOD SERVICES                                            As of the petition filing date, the claim is:
         16209 CENTRAL COMMERCE DR                                       Check all that apply.
         PFLUGERVILLE, TX 78660
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.438     Nonpriority creditor's name and mailing address                                                                                       $115,500.00

         ACCENTURE LLP                                                   As of the petition filing date, the claim is:
         161 N CLARK ST                                                  Check all that apply.
         CHICAGO, IL 60601




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.439     Nonpriority creditor's name and mailing address                                                                                         $2,606.29

         ACCESS POINT INC                                                As of the petition filing date, the claim is:
         POB 382828                                                      Check all that apply.
         PITTSBURGH, PA 15251




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.440     Nonpriority creditor's name and mailing address                                                                                         $4,720.00

         ACCOUNTS PAYABLE MMI AGENCY                                     As of the petition filing date, the claim is:
         1712 PEASE ST                                                   Check all that apply.
         HOUSTON, TX 77003
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.441     Nonpriority creditor's name and mailing address                                                                                         $1,276.00

         ACCU CHEK ROCHE DIABETES CARE                                   As of the petition filing date, the claim is:
         9115 HAGUE RD                                                   Check all that apply.
         INDIANAPOLIS, IN 46256
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.442     Nonpriority creditor's name and mailing address                                                                                         $6,015.79

         ACCUSOFT CORPORATION                                            As of the petition filing date, the claim is:
         4001 N RIVERSIDE DR                                             Check all that apply.
         TAMPA, FL 33603
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.443     Nonpriority creditor's name and mailing address                                                                                         $4,262.00

         ACCUVANT                                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.444     Nonpriority creditor's name and mailing address                                                                                         $3,206.67

         ACCUVANT                                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.445     Nonpriority creditor's name and mailing address                                                                                              $492.00

         ACD2015 LLC                                                     As of the petition filing date, the claim is:
         DBA IMAGE 360                                                   Check all that apply.
         162 N FRANKLIN STE 200
         CHICAGO, IL 60606



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.446     Nonpriority creditor's name and mailing address                                                                                         $2,305.48

         ACQUIA INC                                                      As of the petition filing date, the claim is:
         DEPT 3550 POB 123550                                            Check all that apply.
         DALLAS, TX 75312-3550




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.447     Nonpriority creditor's name and mailing address                                                                                         $9,032.26

         ACQUIRE MEDIA                                                   As of the petition filing date, the claim is:
         ACQUIRE MEDIA VENTURES INC                                      Check all that apply.
         C/O 1ST CONSTITUTION BANK
         POB 574
         CRANBURY, NJ 08512

                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.448     Nonpriority creditor's name and mailing address                                                                                              $658.75

         ACROBATIX WORLDWIDE                                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.449     Nonpriority creditor's name and mailing address                                                                                              $497.25

         ACS COMMUNICATIONS                                              As of the petition filing date, the claim is:
         POB 196666                                                      Check all that apply.
         ANCHORAGE, AK 99519-6666




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.450     Nonpriority creditor's name and mailing address                                                                                        $15,423.96

         ACT 1 SYSTEMS INC                                               As of the petition filing date, the claim is:
         21031 VENTURA BLVD STE 1020                                     Check all that apply.
         WOODLAND HILLS, CA 91364




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.451     Nonpriority creditor's name and mailing address                                                                                         $1,241.63

         ACT ACADEMY CHARTER SCHOOL                                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.452     Nonpriority creditor's name and mailing address                                                                                         $3,055.00

         ACUITY MARKETING INC                                            As of the petition filing date, the claim is:
         2951 MARINA BAY DR STE 130-342                                  Check all that apply.
         LEAGUE CITY, TX 77573
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.453     Nonpriority creditor's name and mailing address                                                                                         $1,189.11

         AD PLACE MEDIA                                                  As of the petition filing date, the claim is:
         ATTN BARB NIGHTINGALE-ACCTS RECEIVABLE                          Check all that apply.
         118 E MAIN ST 2ND FL
         LOUISVILLE, KY 40202                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.454     Nonpriority creditor's name and mailing address                                                                                         $7,080.00

         AD PRO PHIL LONG DEARLSHIPS INC                                 As of the petition filing date, the claim is:
         1212 MOTOR CITY DR                                              Check all that apply.
         COLORADO SPRINGS, CO 80905
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.455     Nonpriority creditor's name and mailing address                                                                                        $17,258.06

         AD-JUSTER INC                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.456     Nonpriority creditor's name and mailing address                                                                                         $2,103.75

         ADAIR FLOORS N MOR INC                                          As of the petition filing date, the claim is:
         7441 S 27TH ST 100                                              Check all that apply.
         ATTN SHELLY ADAIR
         FRANKLIN, WI 53132                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.457     Nonpriority creditor's name and mailing address                                                                                         $1,652.92

         ADCO ELECTRICAL CORP                                            As of the petition filing date, the claim is:
         201 EDWARD CURRY AVE 3RD FL                                     Check all that apply.
         STATEN ISLAND, NY 10314




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.458     Nonpriority creditor's name and mailing address                                                                                         $4,745.22

         ADOBE SYSTEMS INCORPORATED                                      As of the petition filing date, the claim is:
         29322 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1293




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.459     Nonpriority creditor's name and mailing address                                                                                              $249.00

         ADORAMA CAMERA INC                                              As of the petition filing date, the claim is:
         42 W 18TH ST                                                    Check all that apply.
         NEW YORK, NY 10011
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.460     Nonpriority creditor's name and mailing address                                                                                         $1,025.00

         ADRIFT FLOAT SPA                                                As of the petition filing date, the claim is:
         8315 PRESTON RD                                                 Check all that apply.
         DALLAS, TX 75225
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.461     Nonpriority creditor's name and mailing address                                                                                        $10,936.80

         ADSPEC MARKETING INC                                            As of the petition filing date, the claim is:
         14796 79TH PL N                                                 Check all that apply.
         MAPLE GROVE, MN 55311
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.462     Nonpriority creditor's name and mailing address                                                                                        $31,165.25

         ADSTAFF MEDIA                                                   As of the petition filing date, the claim is:
         POB 770806                                                      Check all that apply.
         MEMPHIS, TN 38177
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.463     Nonpriority creditor's name and mailing address                                                                                       $335,136.61

         ADSWIZZ INC                                                     As of the petition filing date, the claim is:
         487 A S EL CAMINO REAL                                          Check all that apply.
         SAN MATEO, CA 94402
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.464     Nonpriority creditor's name and mailing address                                                                                              $521.51

         ADVANCED LOCKSMITH INC                                          As of the petition filing date, the claim is:
         224 WEST 35TH ST - STE 306                                      Check all that apply.
         NEW YORK, NY 10001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.465     Nonpriority creditor's name and mailing address                                                                                         $7,506.00

         ADVANTECH WIRELESS INC                                          As of the petition filing date, the claim is:
         657 ORLY AVE                                                    Check all that apply.
         DORVAL, QC H9P 1G1
         CANADA



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.466     Nonpriority creditor's name and mailing address                                                                                         $2,541.00

         ADVENTIST HEALTH SYSTEM                                         As of the petition filing date, the claim is:
         902 INSPIRATION AVE                                             Check all that apply.
         ALTAMONTE SPRINGS, FL 32714
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.467     Nonpriority creditor's name and mailing address                                                                                         $1,031.90

         ADVENTURE HOLDINGS LLC                                          As of the petition filing date, the claim is:
         2315 BEACH BLVD #203                                            Check all that apply.
         JACKSONVILLE BEACH, FL 32250
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.468     Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         ADVERTISING CLUB OF NEW YORK                                    As of the petition filing date, the claim is:
         989 AVENUE OF THE AMERICAS, 7TH FL                              Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.469     Nonpriority creditor's name and mailing address                                                                                         $4,100.00

         ADVERTISING RESEARCH FOUNDATION INC                             As of the petition filing date, the claim is:
         432 PARK AVE S 4TH FL                                           Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.470     Nonpriority creditor's name and mailing address                                                                                        $44,657.74

         ADVOCATE NETWORKS                                               As of the petition filing date, the claim is:
         T-100 TERRACE LEVEL                                             Check all that apply.
         6200 THE CORNERS PARKWAY
         NORCROSS, GA 30092



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.471     Nonpriority creditor's name and mailing address                                                                                         $1,517.25

         AEG MANAGEMENT TWN LLC                                          As of the petition filing date, the claim is:
         600 1ST AVE N                                                   Check all that apply.
         MINNEAPOLIS, MN 55403
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.472     Nonpriority creditor's name and mailing address                                                                                         $1,800.66

         AEG PRESENTS LLC DBA AEG PRESENTS NORTHEAST                     As of the petition filing date, the claim is:
         53 W 23RD ST FL 5                                               Check all that apply.
         NEW YORK, NY 10010
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.473     Nonpriority creditor's name and mailing address                                                                                         $2,894.00

         AF HOLDING INC                                                  As of the petition filing date, the claim is:
         6000 MONONA DR STE 204                                          Check all that apply.
         MONONA, WI 53716
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.474     Nonpriority creditor's name and mailing address                                                                                        $32,074.35

         AFFLE GLOBAL PTE LTD                                            As of the petition filing date, the claim is:
         100 PASIR PANJANG ROAD 06-07                                    Check all that apply.
         SINGAPORE 118518
         SINGAPORE



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.475     Nonpriority creditor's name and mailing address                                                                                         $2,382.43

         AGM CALIFORNIA INC                                              As of the petition filing date, the claim is:
         3620 SACRAMENTO DR STE 204                                      Check all that apply.
         SAN LUIS OBISPO, CA 93401




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.476     Nonpriority creditor's name and mailing address                                                                                         $5,074.50

         AGM-CALIFORNIA                                                  As of the petition filing date, the claim is:
         KISV-FM                                                         Check all that apply.
         POB 2700
         BAKERSFIELD, CA 93303                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.477     Nonpriority creditor's name and mailing address                                                                                              $144.00

         AILEEN AGUILERA HERNANDEZ                                       As of the petition filing date, the claim is:
         5119 CARTHAGE AVE                                               Check all that apply.
         CINCINNATI, OH 45212




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.478     Nonpriority creditor's name and mailing address                                                                                        $20,263.62

         AIRCRAFT COVERS INC                                             As of the petition filing date, the claim is:
         18850 ADAMS CT                                                  Check all that apply.
         MORGAN HILL, CA 95037-2816
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.479     Nonpriority creditor's name and mailing address                                                                                              $373.16

         AIRGAS USA LLC                                                  As of the petition filing date, the claim is:
         POB 802576                                                      Check all that apply.
         CHICAGO, IL 60680-2576




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.480     Nonpriority creditor's name and mailing address                                                                                         $1,294.67

         AJ MONIER & CO INC                                              As of the petition filing date, the claim is:
         1446 N FLORES ST                                                Check all that apply.
         SAN ANTONIO, TX 78212




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.481     Nonpriority creditor's name and mailing address                                                                                              $439.63

         AKRON M COURT                                                   As of the petition filing date, the claim is:
         217 S HIGH STREET, ROOM 830                                     Check all that apply.
         AKRON, OH 44308
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.482     Nonpriority creditor's name and mailing address                                                                                         $1,816.05

         ALAMO PAWN SHOP                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.483     Nonpriority creditor's name and mailing address                                                                                         $4,542.06

         ALBERTSONS                                                      As of the petition filing date, the claim is:
         STORE SUPPORT CENTER                                            Check all that apply.
         POB 20
         BOISE, ID 83726                                                  X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.484     Nonpriority creditor's name and mailing address                                                                                               $52.10

         ALG LLC                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.485     Nonpriority creditor's name and mailing address                                                                                         $1,296.44

         ALIANTE CASINO AND HOTEL ALIANTE GAMING                         As of the petition filing date, the claim is:
         7300 ALIANTE PKWY                                               Check all that apply.
         NORTH LAS VEGAS, NV 89084
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.486     Nonpriority creditor's name and mailing address                                                                                      $546,362.77

         ALIGHT SOLUTIONS LLC                                            As of the petition filing date, the claim is:
         POB 95135                                                       Check all that apply.
         CHICAGO, IL 60694-5135




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.487     Nonpriority creditor's name and mailing address                                                                                         $8,120.00

         ALL ACCESS LABS                                                 As of the petition filing date, the claim is:
         825 NINA WAY                                                    Check all that apply.
         WARMINSTER, PA 18974
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.488     Nonpriority creditor's name and mailing address                                                                                         $9,468.00

         ALL AMERICAN QUALITY FOODS INC                                  As of the petition filing date, the claim is:
         125 EAGLES LANDING PKWY                                         Check all that apply.
         STOCKBRIDGE, GA 30281
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.489     Nonpriority creditor's name and mailing address                                                                                          $806.80

         ALL CLEAN COMMERCIAL JANAITORIAL SERVICE                        As of the petition filing date, the claim is:
         POB 4583                                                        Check all that apply.
         EL DORADO HILLS, CA 95762




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.490     Nonpriority creditor's name and mailing address                                                                                         $1,935.92

         ALLIANCE CONNECT                                                As of the petition filing date, the claim is:
         7760 OFFICE PLAZA DR S                                          Check all that apply.
         WEST DES MOINES, IA 50266




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.491     Nonpriority creditor's name and mailing address                                                                                          $540.42

         ALLIED INTERSTATE INC                                           As of the petition filing date, the claim is:
         POB 361563                                                      Check all that apply.
         COLUMBUS, OH 43236
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.492     Nonpriority creditor's name and mailing address                                                                                         $3,101.56

         ALLIED TELECOM                                                  As of the petition filing date, the claim is:
         1400 CRYSTAL DR STE 700                                         Check all that apply.
         ARLINGTON, VA 22202




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.493     Nonpriority creditor's name and mailing address                                                                                          $540.02

         ALLO COMMUNICATION                                              As of the petition filing date, the claim is:
         POB 2697                                                        Check all that apply.
         OMAHA, NE 68103-2697
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.494     Nonpriority creditor's name and mailing address                                                                                         $1,032.88

         ALLO COMMUNICATIONS                                             As of the petition filing date, the claim is:
         PO BOX 2697                                                     Check all that apply.
         OMAHA, NE 68103




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.495     Nonpriority creditor's name and mailing address                                                                                        $22,274.25

         ALMA DDB                                                        As of the petition filing date, the claim is:
         2601 S BAYSHORE DR 4TH FL                                       Check all that apply.
         COCONUT GROVE, FL 33133
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.496     Nonpriority creditor's name and mailing address                                                                                      $189,437.50

         ALSBRIDGE INC                                                   As of the petition filing date, the claim is:
         15303 DALLAS PKWY STE 200                                       Check all that apply.
         ADDISON, TX 75001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.497     Nonpriority creditor's name and mailing address                                                                                         $5,316.05

         ALTITUDE SPORTS AND ENTERTAINMENT                               As of the petition filing date, the claim is:
         1000 CHOPPER CIR                                                Check all that apply.
         DENVER, CO 80204
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.498     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         ALWAYS MOUNTAIN TME LLC                                         As of the petition filing date, the claim is:
         5670 GREENWOOD PLAZA BLVD STE 506W                              Check all that apply.
         GREENWOOD VILLAGE, CA 80111
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.499     Nonpriority creditor's name and mailing address                                                                                         $3,700.00

         ALZHEIMERS ASSOCIATION                                          As of the petition filing date, the claim is:
         225 N MICHIGAN AVE 17TH FL                                      Check all that apply.
         CHICAGO, IL 60601
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.500     Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         AM PRODUCTIONS                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.501     Nonpriority creditor's name and mailing address                                                                                          $256.10

         AMA CONSULTING ENGINEERS PC                                     As of the petition filing date, the claim is:
         250 W 39TH ST 9TH FL                                            Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.502     Nonpriority creditor's name and mailing address                                                                                          $450.00

         AMANDA WIDONIAK                                                 As of the petition filing date, the claim is:
         1852 S SYCAMORE AVE                                             Check all that apply.
         LOS ANGELES, CA 90019




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.503     Nonpriority creditor's name and mailing address                                                                                          $101.72

         AMAZON COM                                                      As of the petition filing date, the claim is:
         SYNCB/AMAZON                                                    Check all that apply.
         POB 530958
         ATLANTA, GA 30353-0958                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.504     Nonpriority creditor's name and mailing address                                                                                     $1,493,189.27

         AMAZON WEB SERVICES INC                                         As of the petition filing date, the claim is:
         410 TERRY AVE N                                                 Check all that apply.
         SEATTLE, WA 98109-5210




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.505     Nonpriority creditor's name and mailing address                                                                                         $2,655.00

         AMER ASSOC FOR CANCER RESEARCH                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.506     Nonpriority creditor's name and mailing address                                                                                        $91,782.99

         AMERICAN FINANCIAL MANAGEMENT INC                               As of the petition filing date, the claim is:
         8755 W HIGGINS RD STE 610                                       Check all that apply.
         CHICAGO, IL 60631
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.507     Nonpriority creditor's name and mailing address                                                                                          $920.00

         AMERICAN RED CROSS LA REGION                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.508     Nonpriority creditor's name and mailing address                                                                                         $1,470.00

         AMERICAN SECURITY OF GREENVILLE LLC                             As of the petition filing date, the claim is:
         POB 486                                                         Check all that apply.
         GREENVILLE, SC 29602
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.509     Nonpriority creditor's name and mailing address                                                                                         $1,404.16

         AMERICAN TELESIS                                                As of the petition filing date, the claim is:
         POB 6659                                                        Check all that apply.
         HILTON HEAD ISLAND, SC 29938




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.510     Nonpriority creditor's name and mailing address                                                                                   $578,084,328.00

         AMFM BROADCASTING, INC.                                         As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.511     Nonpriority creditor's name and mailing address                                                                                   $155,100,235.00

         AMFM TEXAS BROADCASTING, LP                                     As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.512     Nonpriority creditor's name and mailing address                                                                                         $2,780.35

         AMG HOLDINGS LLC                                                As of the petition filing date, the claim is:
         114 S MAIN ST STE 100                                           Check all that apply.
         GREENSBURG, PA 15601-3114
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.513     Nonpriority creditor's name and mailing address                                                                                        $40,860.20

         AMPLIFI                                                         As of the petition filing date, the claim is:
         150 E 42ND ST                                                   Check all that apply.
         NEW YORK, NY 10017




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.514     Nonpriority creditor's name and mailing address                                                                                          $263.88

         AMY E ADCOCK COELLER&DETRICHPC                                  As of the petition filing date, the claim is:
         2727 E 21ST ST STE 200                                          Check all that apply.
         TULSA, OK 74114
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.515     Nonpriority creditor's name and mailing address                                                                                     $1,851,601.29

         ANDO MEDIA LLC                                                  As of the petition filing date, the claim is:
         POB 31001-2289                                                  Check all that apply.
         PASADENA, CA 91110-2289




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.516     Nonpriority creditor's name and mailing address                                                                                          $373.90

         ANGEL FIRE & SAFETY                                             As of the petition filing date, the claim is:
         5319 JACKWOOD                                                   Check all that apply.
         SAN ANTONIO, TX 78238




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.517     Nonpriority creditor's name and mailing address                                                                                          $113.63

         ANIXTER INC                                                     As of the petition filing date, the claim is:
         POB 847428                                                      Check all that apply.
         DALLAS, TX 75284-7428




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.518     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         ANLIND OF TEMECULA INC                                          As of the petition filing date, the claim is:
         28964 OLD TOWN FRONT ST                                         Check all that apply.
         TEMECULA, CA 92590
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.519     Nonpriority creditor's name and mailing address                                                                                          $382.50

         ANTHONY FUNERAL & CREMATIONS CHAPELS                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.520     Nonpriority creditor's name and mailing address                                                                                         $1,136.45

         APEX EXCHANGE                                                   As of the petition filing date, the claim is:
         299 W HOUSTON ST                                                Check all that apply.
         NEW YORK, NY 10014
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.521     Nonpriority creditor's name and mailing address                                                                                        $26,172.87

         API OUTSOURCING INC                                             As of the petition filing date, the claim is:
         2975 LONE OAK DR 100                                            Check all that apply.
         EAGAN, MN 55121




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.522     Nonpriority creditor's name and mailing address                                                                                         $1,257.75

         APOLLO PAINT & BODY                                             As of the petition filing date, the claim is:
         1 SUGAR CREEK BLVD #815                                         Check all that apply.
         SUGARLAND, TX 77478
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.523     Nonpriority creditor's name and mailing address                                                                                        $63,046.88

         APPLE COMPUTER INC                                              As of the petition filing date, the claim is:
         1 INFINITE LOOP                                                 Check all that apply.
         CUPERTINO, CA 95014




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.524     Nonpriority creditor's name and mailing address                                                                                          $145.21

         APPLE INC                                                       As of the petition filing date, the claim is:
         POB 846095                                                      Check all that apply.
         DALLAS, TX 75284-6095




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.525     Nonpriority creditor's name and mailing address                                                                                         $1,190.00

         APPLETON LEARNING CORPORATION                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.526     Nonpriority creditor's name and mailing address                                                                                          $280.65

         APPLIED TECHNOLOGY GROUP, INC                                   As of the petition filing date, the claim is:
         444 EASTON DRIVE                                                Check all that apply.
         BAKERSFIELD, CA 93309




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.527     Nonpriority creditor's name and mailing address                                                                                        $29,638.05

         ARAMARK REFRESHMENT SERVICES                                    As of the petition filing date, the claim is:
         17044 MONTANERO AVE UNIT 4                                      Check all that apply.
         CARSON, CA 90746




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.528     Nonpriority creditor's name and mailing address                                                                                         $3,490.00

         ARCHDIOCESE OF ST LOUIS                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.529     Nonpriority creditor's name and mailing address                                                                                        $12,988.55

         ARCHITECTURE PLUS INFORMATION                                   As of the petition filing date, the claim is:
         16 W 22ND ST 11TH FL                                            Check all that apply.
         NEW YORK, NY 10010




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.530     Nonpriority creditor's name and mailing address                                                                                          $630.00

         ARDAVON                                                         As of the petition filing date, the claim is:
         916 INDIANA AVE                                                 Check all that apply.
         SOUTH PASADENA, CA 91030




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.531     Nonpriority creditor's name and mailing address                                                                                         $1,629.39

         ARIZONA COCKTAIL WEEK LLC                                       As of the petition filing date, the claim is:
         8734 E JASMINE ST                                               Check all that apply.
         MESA, AZ 85207
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.532     Nonpriority creditor's name and mailing address                                                                                               $54.48

         ARMSTRONG                                                       As of the petition filing date, the claim is:
         PO BOX 37749                                                    Check all that apply.
         PHILADELPHIA, PA 19101-5049




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.533     Nonpriority creditor's name and mailing address                                                                                          $112.54

         ARMSTRONG CABLE SERVICES                                        As of the petition filing date, the claim is:
         POB 37749                                                       Check all that apply.
         PHILADELPHIA, PA 19101-5049




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.534     Nonpriority creditor's name and mailing address                                                                                          $459.50

         ARNETT DESIGNS INC                                              As of the petition filing date, the claim is:
         23372 MADERO RD STE C                                           Check all that apply.
         MISSION VIEJO, CA 92691




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.535     Nonpriority creditor's name and mailing address                                                                                      $170,934.08

         ARNOLD & PORTER KAYE SCHOLER LLP                                As of the petition filing date, the claim is:
         POB 759451                                                      Check all that apply.
         BALTIMORE, MD 21275-9451
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.536     Nonpriority creditor's name and mailing address                                                                                               $11.84

         ARROW ELECTRONICS INC                                           As of the petition filing date, the claim is:
         75 REMITTANCE DR STE 6020                                       Check all that apply.
         CHICAGO, IL 60675




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
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3.537     Nonpriority creditor's name and mailing address                                                                                         $2,727.90

         ARTICULATE GLOBAL INC                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.538     Nonpriority creditor's name and mailing address                                                                                         $2,250.00

         ASPEN WEALTH MANAGEMENT                                         As of the petition filing date, the claim is:
         1540 W DRY CREEK RD                                             Check all that apply.
         LITTLETON, CO 80120
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.539     Nonpriority creditor's name and mailing address                                                                                         $4,184.25

         ASSEMBLY                                                        As of the petition filing date, the claim is:
         ATTN SAHEED INRAHEEM                                            Check all that apply.
         711 3RD AVE 3RD FL
         NEW YORK, NY 10017                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.540     Nonpriority creditor's name and mailing address                                                                                         $3,175.00

         ASSOCIATED CREDIT UNION                                         As of the petition filing date, the claim is:
         6251 CROOKED CREEK RD                                           Check all that apply.
         NORCROSS, GA 30092-3028
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.541     Nonpriority creditor's name and mailing address                                                                                        $39,018.12

         ASSOCIATED PRESS                                                As of the petition filing date, the claim is:
         POB 414212                                                      Check all that apply.
         BOSTON, MA 02241-4212




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.542     Nonpriority creditor's name and mailing address                                                                                         $1,014.50

         AT THE BEACH INC                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.543     Nonpriority creditor's name and mailing address                                                                                          $280.38

         AT&T                                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.544     Nonpriority creditor's name and mailing address                                                                                     $1,536,935.72

         AT&T                                                            As of the petition filing date, the claim is:
         4513 WESTERN AVE                                                Check all that apply.
         LISLE, NE 60532




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.545     Nonpriority creditor's name and mailing address                                                                                               $92.81

         AT&T                                                            As of the petition filing date, the claim is:
         PO BOX 525                                                      Check all that apply.
         CAROL STREAM, IL 60197-5025




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.546     Nonpriority creditor's name and mailing address                                                                                               $35.23

         AT&T                                                            As of the petition filing date, the claim is:
         POB 105068                                                      Check all that apply.
         ATLANTA, GA 30348
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.547     Nonpriority creditor's name and mailing address                                                                                         $1,030.58

         AT&T                                                            As of the petition filing date, the claim is:
         POB 5011                                                        Check all that apply.
         CAROL STREAM, IL 60197
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.548     Nonpriority creditor's name and mailing address                                                                                                $2.79

         AT&T                                                            As of the petition filing date, the claim is:
         POB 78214                                                       Check all that apply.
         PHOENIX, AZ 85062
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.549     Nonpriority creditor's name and mailing address                                                                                               $45.27

         AT&T                                                            As of the petition filing date, the claim is:
         PO BOX 514                                                      Check all that apply.
         CAROL STREAM, IL 60197-5014




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.550     Nonpriority creditor's name and mailing address                                                                                               $38.80

         AT&T (AMARILLO)                                                 As of the petition filing date, the claim is:
         PO BOX 514                                                      Check all that apply.
         CAROL STREAM, IL 60197-5014




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.551     Nonpriority creditor's name and mailing address                                                                                      $289,060.33

         AT&T MOBILITY                                                   As of the petition filing date, the claim is:
         POB 5085                                                        Check all that apply.
         CAROL STREAM, IL 60197-5085
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.552     Nonpriority creditor's name and mailing address                                                                                        $11,896.51

         AT&T PRO-CABS                                                   As of the petition filing date, the claim is:
         POB 105373                                                      Check all that apply.
         ATLANTA, GA 30348




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.553     Nonpriority creditor's name and mailing address                                                                                          $296.65

         AT&T TELECONFERENCE SERVICES                                    As of the petition filing date, the claim is:
         POB 5002                                                        Check all that apply.
         CAROL STREAM, IL 60197-5002




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.554     Nonpriority creditor's name and mailing address                                                                                         $1,453.24

         ATLANTECH ONLINE INC                                            As of the petition filing date, the claim is:
         1010 WAYNE AVE STE 630                                          Check all that apply.
         SILVER SPRING, MD 20910-5620




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.555     Nonpriority creditor's name and mailing address                                                                                          $164.43

         ATLANTIC BROADBAND                                              As of the petition filing date, the claim is:
         POB 371801                                                      Check all that apply.
         PITTSBURGH, PA 15250-7801




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.556     Nonpriority creditor's name and mailing address                                                                                          $149.82

         ATMC                                                            As of the petition filing date, the claim is:
         POB 580079                                                      Check all that apply.
         CHARLOTTE, NC 28258-0079




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.557     Nonpriority creditor's name and mailing address                                                                                         $1,140.21

         ATT                                                             As of the petition filing date, the claim is:
         POB 5094                                                        Check all that apply.
         CAROL STREAM, IL 60197
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.558     Nonpriority creditor's name and mailing address                                                                                          $758.09

         ATT                                                             As of the petition filing date, the claim is:
         POB 5080                                                        Check all that apply.
         CAROL STREAM, IL 60197
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.559     Nonpriority creditor's name and mailing address                                                                                        $25,271.93

         AUDIATION INC                                                   As of the petition filing date, the claim is:
         110 BOBOLINK RD                                                 Check all that apply.
         YONKERS, NY 10701




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.560     Nonpriority creditor's name and mailing address                                                                                        $10,000.00

         AUGUSTA A BUSCH & CO OF MASSACHUSETTS IN                        As of the petition filing date, the claim is:
         440 RIVERSIDE AVE                                               Check all that apply.
         MEDFORD, MA 02155
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.561     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         AUTO NATION                                                     As of the petition filing date, the claim is:
         9055 W BELL RD                                                  Check all that apply.
         PEORIA, AZ 85382
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.562     Nonpriority creditor's name and mailing address                                                                                         $5,355.00

         AUTOMATED LOGIC CONTRACTING SERVICES                            As of the petition filing date, the claim is:
         POB 403257                                                      Check all that apply.
         ATLANTA, GA 30384-3257




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.563     Nonpriority creditor's name and mailing address                                                                                        $13,312.00

         AVANXO US LLC                                                   As of the petition filing date, the claim is:
         1001 S DAIRY ASHFORD STE 100                                    Check all that apply.
         HOUSTON, TX 77077




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.564     Nonpriority creditor's name and mailing address                                                                                         $5,162.15

         AVAYA INC                                                       As of the petition filing date, the claim is:
         POB 5125                                                        Check all that apply.
         CAROL STREAM, IL 60197-5125
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.565     Nonpriority creditor's name and mailing address                                                                                      $210,000.00

         AVIANA GLOBAL TECHNOLOGIES INC                                  As of the petition filing date, the claim is:
         915 W IMPERIAL HWY STE 100                                      Check all that apply.
         BREA, CA 92821




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.566     Nonpriority creditor's name and mailing address                                                                                        $26,530.64

         AXIS ENTERPRISES INC                                            As of the petition filing date, the claim is:
         POB 52501                                                       Check all that apply.
         NEWARK, NJ 07101-4402




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.567     Nonpriority creditor's name and mailing address                                                                                        $26,530.64

         AXIS PROMOTIONS                                                 As of the petition filing date, the claim is:
         POB 52501                                                       Check all that apply.
         NEWARK, NJ 07101-4402




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.568     Nonpriority creditor's name and mailing address                                                                                         $3,600.00

         AYRES MANAGEMENT LP                                             As of the petition filing date, the claim is:
         355 BRISTOL ST STE A                                            Check all that apply.
         COSTA MESA, CA 92626-9667
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.569     Nonpriority creditor's name and mailing address                                                                                         $1,312.47

         AZ ELITE SPORTS AND GYM                                         As of the petition filing date, the claim is:
         3029 N ALMA SCHOOL RD 122                                       Check all that apply.
         CHANDLER, AZ 85224
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.570     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         BACKGRID USA, INC.                                              As of the petition filing date, the claim is:
         C/O ONE LLP                                                     Check all that apply.
         ATTN: JOANNA ARDALAN
         9301 WILSHIRE BLVD., PENTHOUSE SUITE                             X
         BEVERLY HILLS, CA 90210                                          X
                                                                          X

                                                                         Basis for the claim: Demand Letter; Intelectual Property Infringement

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.571     Nonpriority creditor's name and mailing address                                                                                         $7,000.00

         BAI BRANDS LLC                                                  As of the petition filing date, the claim is:
         1800 E STATE ST STE 153                                         Check all that apply.
         HAMILTON, NJ 08609
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor            iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                           Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.572     Nonpriority creditor's name and mailing address                                                                                      $2,371,643.10

         BAIN                                                             As of the petition filing date, the claim is:
                                                                          Check all that apply.

                                                                           X


                                                                          Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                               No
         Last 4 digits of account number                                       Yes

3.573     Nonpriority creditor's name and mailing address                                                                                          $1,218.50

         BALANCE MARKETING GROUP                                          As of the petition filing date, the claim is:
         1000 WESTLAKES STE 110                                           Check all that apply.
         BERWYN, PA 19312
                                                                           X



                                                                          Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                     Is the claim subject to offset?
                                                                               No
         Last 4 digits of account number                                       Yes

3.574     Nonpriority creditor's name and mailing address                                                                                          $8,654.70

         BALCOM AGENCY LLC                                                As of the petition filing date, the claim is:
         ATTN NORMA RAMOS                                                 Check all that apply.
         1413 RIO GRANDE AVE
         FORT WORTH, TX 76102                                              X



                                                                          Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                     Is the claim subject to offset?
                                                                               No
         Last 4 digits of account number                                       Yes

3.575     Nonpriority creditor's name and mailing address                                                                                         $12,500.00

         BANDPAGE INC                                                     As of the petition filing date, the claim is:
         334 BRANNAN                                                      Check all that apply.
         SAN FRANCISCO, CA 94107
                                                                           X



                                                                          Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                  Is the claim subject to offset?
                                                                               No
         Last 4 digits of account number                                       Yes

3.576     Nonpriority creditor's name and mailing address                                                                                                $38.26

         BASCOM                                                           As of the petition filing date, the claim is:
         POB 316                                                          Check all that apply.
         BASCOM, OH 44809-0316




                                                                          Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                     Is the claim subject to offset?
                                                                               No
         Last 4 digits of account number                                       Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.577     Nonpriority creditor's name and mailing address                                                                                         $7,262.80

         BASECAMP FRANCHISING                                            As of the petition filing date, the claim is:
         170 S 1000 E                                                    Check all that apply.
         SALT LAKE CITY, UT 84102
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.578     Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         BAUMANS HARVEST FESTIVAL LLC                                    As of the petition filing date, the claim is:
         12989 HOWELL PRAIRIE RD NE                                      Check all that apply.
         GERVAIS, OR 97026
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.579     Nonpriority creditor's name and mailing address                                                                                        $20,026.98

         BBH SOLUTIONS INC                                               As of the petition filing date, the claim is:
         PO BOX 349                                                      Check all that apply.
         GLENHEAD, NY 11545




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.580     Nonpriority creditor's name and mailing address                                                                                          $541.25

         BCD JANITORIAL                                                  As of the petition filing date, the claim is:
         24818 SHINING ARROW                                             Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.581     Nonpriority creditor's name and mailing address                                                                                          $112.59

         BCD JANITORIAL                                                  As of the petition filing date, the claim is:
         24818 SHINING ARROW                                             Check all that apply.
         SAN ANTONIO, TX 78258
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.582     Nonpriority creditor's name and mailing address                                                                                               $64.10

         BEK COMMUNICATIONS COOPERATIVE                                  As of the petition filing date, the claim is:
         200 E BROADWAY POB 230                                          Check all that apply.
         STEELE, ND 58482




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.583     Nonpriority creditor's name and mailing address                                                                                         $1,604.00

         BEKAERT CORPORATION                                             As of the petition filing date, the claim is:
         1881 BEKAERT DR                                                 Check all that apply.
         VAN BUREN, AR 72956
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.584     Nonpriority creditor's name and mailing address                                                                                         $1,180.00

         BELL VIEW PARTNERS LLC                                          As of the petition filing date, the claim is:
         3299 K ST NW 700                                                Check all that apply.
         WASHINGTON, DC 20007
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.585     Nonpriority creditor's name and mailing address                                                                                        $24,130.22

         BENEVILLE STUDIOS INC                                           As of the petition filing date, the claim is:
         9 E 19TH ST 4TH FL                                              Check all that apply.
         NEW YORK, NY 10003




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.586     Nonpriority creditor's name and mailing address                                                                                         $4,107.03

         BERKLEE COLLEGE OF MUSIC                                        As of the petition filing date, the claim is:
         BERKLEENYC                                                      Check all that apply.
         441 W 53RD ST.
         NEW YORK, NY 10019



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.587     Nonpriority creditor's name and mailing address                                                                                         $1,350.00

         BERKWOOD FARMS                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.588     Nonpriority creditor's name and mailing address                                                                                               $22.10

         BERRY                                                           As of the petition filing date, the claim is:
         POB 790250                                                      Check all that apply.
         SAINT LOUIS, MO 63179-0250




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.589     Nonpriority creditor's name and mailing address                                                                                               $13.70

         BESTLINE COMMUNICATIONS LP                                      As of the petition filing date, the claim is:
         500 CAPITAL OF TEXAS HWY N BLDG 8 STE 200                       Check all that apply.
         AUSTIN, TX 78746




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.590     Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         BIG O TREE AND LAWN SERVICE INC                                 As of the petition filing date, the claim is:
         63 FLORY AVE                                                    Check all that apply.
         STUARTS DRAFT, VA 24477
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.591     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         BIG RED INC                                                     As of the petition filing date, the claim is:
         6500 RIVER PLACE BLVD BLDG 1 STE 450                            Check all that apply.
         AUSTIN, TX 78730
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.592     Nonpriority creditor's name and mailing address                                                                                         $6,662.00

         BIG Y FOODS INC                                                 As of the petition filing date, the claim is:
         POB 3050                                                        Check all that apply.
         SPRINGFIELD, MA 01102
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.593     Nonpriority creditor's name and mailing address                                                                                         $6,636.00

         BIGIDEA WRAPS SIGNS & GRAPHICS                                  As of the petition filing date, the claim is:
         2500 S PARK RD #4                                               Check all that apply.
         HALLANDALE BEACH, FL 33009




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.594     Nonpriority creditor's name and mailing address                                                                                         $3,260.10

         BILL KING FOR MAYOR                                             As of the petition filing date, the claim is:
         310 SUL ROSS                                                    Check all that apply.
         HOUSTON, TX 77006
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.595     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         BILLS PAWN AND JEWELRY                                          As of the petition filing date, the claim is:
         2906 W COMMERCE ST                                              Check all that apply.
         SAN ANTONIO, TX 78207
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.596     Nonpriority creditor's name and mailing address                                                                                         $2,004.00

         BILLY BOBS TEXAS                                                As of the petition filing date, the claim is:
         2520 RODEO PLAZA                                                Check all that apply.
         FORT WORTH, TX 76164
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.597     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         BIOLIFE PLASMA SERVICES                                         As of the petition filing date, the claim is:
         2426 VILLAGE VIEW CT                                            Check all that apply.
         MIAMISBURG, OK 45342
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.598     Nonpriority creditor's name and mailing address                                                                                         $1,599.21

         BIRCH COMMUNICATIONS                                            As of the petition filing date, the claim is:
         POB 105066                                                      Check all that apply.
         ATLANTA, GA 30348-5066




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.599     Nonpriority creditor's name and mailing address                                                                                         $4,374.80

         BIRCH COMMUNICATIONS                                            As of the petition filing date, the claim is:
         POB 105066                                                      Check all that apply.
         ATLANTA, GA 30348
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.600     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         BIRMINGHAM BARONS                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.601     Nonpriority creditor's name and mailing address                                                                                         $2,014.48

         BISMEAUX STUDIO                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.602     Nonpriority creditor's name and mailing address                                                                                         $1,013.41

         BKD ENTERPRISES INC                                             As of the petition filing date, the claim is:
         2955 KENTUCKY AVE                                               Check all that apply.
         INDIANAPOLIS, IN 46221
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.603     Nonpriority creditor's name and mailing address                                                                                          $975.07

         BLACK HILLS ENERGY                                              As of the petition filing date, the claim is:
         PO BOX 6001                                                     Check all that apply.
         RAPID CITY, SD 57709




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.604     Nonpriority creditor's name and mailing address                                                                                         $4,996.00

         BLACKSTONE SHOOTING SPORTS                                      As of the petition filing date, the claim is:
         2001 WILKINSON BLVD                                             Check all that apply.
         CHARLOTTE, NC 28208
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.605     Nonpriority creditor's name and mailing address                                                                                         $1,417.06

         BLEAKLEY PLATT & SCHMIDT, LLP                                   As of the petition filing date, the claim is:
         ONE NORTH LEXINGTON AVE                                         Check all that apply.
         PO BOX 5056
         WHITE PLAINS, NY 10602-5056



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.606     Nonpriority creditor's name and mailing address                                                                                          $770.00

         BLOOD SYSTEMS INC                                               As of the petition filing date, the claim is:
         6210 E OAK ST                                                   Check all that apply.
         SCOTTSDALE, AZ 85257
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.607     Nonpriority creditor's name and mailing address                                                                                          $720.36

         BLOOMBERG FINANCE LP                                            As of the petition filing date, the claim is:
         POB 416604                                                      Check all that apply.
         BOSTON, MA 02241-6604




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.608     Nonpriority creditor's name and mailing address                                                                                          $509.52

         BLOOMFIRE INC                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.609     Nonpriority creditor's name and mailing address                                                                                         $5,100.00

         BLUE MOUNTAIN SKI AREA                                          As of the petition filing date, the claim is:
         POB 216                                                         Check all that apply.
         PALMERTON, PA 18071
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.610     Nonpriority creditor's name and mailing address                                                                                               $92.99

         BLUE SKY SUPPLY                                                 As of the petition filing date, the claim is:
         18 N MAYBELLE AVE                                               Check all that apply.
         TULSA, OK 74127




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.611     Nonpriority creditor's name and mailing address                                                                                         $2,098.00

         BLUEGRASS HARLEY DAVIDSON                                       As of the petition filing date, the claim is:
         11701 GATEWIRTH WAY                                             Check all that apply.
         LOUISVILLE, KY 40299
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.612     Nonpriority creditor's name and mailing address                                                                                        $53,082.34

         BLUEGRASS INTEGRATED COMMUNICATIONS                             As of the petition filing date, the claim is:
         833 NANDINO BLVD                                                Check all that apply.
         LEXINGTON, KY 40511




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.613     Nonpriority creditor's name and mailing address                                                                                         $4,590.00

         BMW OF COLUMBUS                                                 As of the petition filing date, the claim is:
         6549 WHITTLESEY BLVD                                            Check all that apply.
         COLUMBUS, GA 31909
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.614     Nonpriority creditor's name and mailing address                                                                                      $106,132.63

         BOOMI                                                           As of the petition filing date, the claim is:
         POB 842848                                                      Check all that apply.
         BOSTON, MA 02284-2848




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.615     Nonpriority creditor's name and mailing address                                                                                         $1,800.00

         BOON DOCKS INC                                                  As of the petition filing date, the claim is:
         14854 BAY VIEW CIR                                              Check all that apply.
         PANAMA CITY, FL 32413
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.616     Nonpriority creditor's name and mailing address                                                                                         $1,387.50

         BOOST CREATIVE MARKETING                                        As of the petition filing date, the claim is:
         322 SE 3RD TERR                                                 Check all that apply.
         DANIA BEACH, FL 33004
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.617     Nonpriority creditor's name and mailing address                                                                                         $7,966.00

         BOTTLING GROUP LLC                                              As of the petition filing date, the claim is:
         1999 BRYAN ST                                                   Check all that apply.
         DALLAS, TX 75201
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.618     Nonpriority creditor's name and mailing address                                                                                         $2,067.57

         BOUNCEOLOGY INC                                                 As of the petition filing date, the claim is:
         419 CLEVELAND CT                                                Check all that apply.
         SAN ANTONIO, TX 78209




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.619     Nonpriority creditor's name and mailing address                                                                                         $1,252.00

         BOWMAN ENTERPRISES INC GREAT DEALS MAGAZ                        As of the petition filing date, the claim is:
         POB 1862                                                        Check all that apply.
         PORTAGE, MI 49081
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.620     Nonpriority creditor's name and mailing address                                                                                         $8,801.82

         BP AIR CONDITIONING CORP                                        As of the petition filing date, the claim is:
         83-40 72ND DR                                                   Check all that apply.
         GLENDALE, NY 11385




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.621     Nonpriority creditor's name and mailing address                                                                                         $1,066.50

         BRAND ADVANTAGE GROUP                                           As of the petition filing date, the claim is:
         3443 MOMENTUM PLACE                                             Check all that apply.
         CHICAGO, IL 60689




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.622     Nonpriority creditor's name and mailing address                                                                                         $1,740.00

         BRAND MORTGAGE GROUP LLC                                        As of the petition filing date, the claim is:
         1255 LAKES PKWY BLDG 300                                        Check all that apply.
         LAWRENCEVILLE, GA 30043
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.623     Nonpriority creditor's name and mailing address                                                                                               $49.22

         BRANTLEY TELEPHONE COMPANY                                      As of the petition filing date, the claim is:
         POB 255                                                         Check all that apply.
         NAHUNTA, GA 31553-0255




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.624     Nonpriority creditor's name and mailing address                                                                                          $700.00

         BRAUNLIN LLC                                                    As of the petition filing date, the claim is:
         1752 N KINGSLEY DR #106                                         Check all that apply.
         LOS ANGELES, CA 90027




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.625     Nonpriority creditor's name and mailing address                                                                                      $122,460.67

         BRAZE INC                                                       As of the petition filing date, the claim is:
         318 W 39TH ST 5TH FL                                            Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.626     Nonpriority creditor's name and mailing address                                                                                          $606.30

         BRESCO SOLUTIONS LLC                                            As of the petition filing date, the claim is:
         423 E TOWN ST STE 100                                           Check all that apply.
         COLUMBUS, OH 43215




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.627     Nonpriority creditor's name and mailing address                                                                                         $1,892.95

         BREVITY MEDIA INC                                               As of the petition filing date, the claim is:
         538 MORELAND RD                                                 Check all that apply.
         HUNTINGDON VALLEY, PA 19006
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.628     Nonpriority creditor's name and mailing address                                                                                         $1,024.25

         BREWER CARPET & DESIGN CENTER                                   As of the petition filing date, the claim is:
         300 S PORTLAND AVE                                              Check all that apply.
         OKLAHOMA CITY, OK 73108
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.629     Nonpriority creditor's name and mailing address                                                                                               $46.74

         BRIGHT HOUSE NETWORKS                                           As of the petition filing date, the claim is:
         PO BOX 3171                                                     Check all that apply.
         TAMPA, FL 33631-3710




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.630     Nonpriority creditor's name and mailing address                                                                                          $254.28

         BRIGHT NETWORKS                                                 As of the petition filing date, the claim is:
         POB 30262                                                       Check all that apply.
         TAMPA, FL 33630
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.631     Nonpriority creditor's name and mailing address                                                                                          $500.00

         BRIGHTON RESORT LLC                                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.632     Nonpriority creditor's name and mailing address                                                                                         $3,073.60

         BROADCAST COMMUNICATIONS MEDIA INC                              As of the petition filing date, the claim is:
         833 17TH ST #3                                                  Check all that apply.
         SANTA MONICA, CA 90403
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.633     Nonpriority creditor's name and mailing address                                                                                         $1,190.86

         BROADCASTERS GENERAL STORE INC                                  As of the petition filing date, the claim is:
         POB 116084                                                      Check all that apply.
         ATLANTA, GA 30368-6084




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.634     Nonpriority creditor's name and mailing address                                                                                        $10,023.55

         BROADVIEW NETWORKS                                              As of the petition filing date, the claim is:
         POB 9242                                                        Check all that apply.
         UNIONDALE, NY 11555-9242




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.635     Nonpriority creditor's name and mailing address                                                                                         $1,670.00

         BROOKLYN CENTER FOR THE PERFORMING ARTS                         As of the petition filing date, the claim is:
         POB 100843                                                      Check all that apply.
         BROOKLYN, NY 11210-0843
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.636     Nonpriority creditor's name and mailing address                                                                                         $1,002.00

         BRUNNER FURNITURE                                               As of the petition filing date, the claim is:
         5680 WISCONSIN 60 TRUNK                                         Check all that apply.
         HARTFORD, WI 53027
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.637     Nonpriority creditor's name and mailing address                                                                                               $26.62

         BTC BROADBAND                                                   As of the petition filing date, the claim is:
         POB 720514                                                      Check all that apply.
         NORMAN, OK 73070-4377




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.638     Nonpriority creditor's name and mailing address                                                                                          $882.69

         BUCKEYE BROADBAND                                               As of the petition filing date, the claim is:
         POB 10027                                                       Check all that apply.
         TOLEDO, OH 43699-0027




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.639     Nonpriority creditor's name and mailing address                                                                                               $10.36

         BUCKEYE BROADBAND                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.640     Nonpriority creditor's name and mailing address                                                                                               $28.43

         BUCKEYE MEDIA SERVICES                                          As of the petition filing date, the claim is:
         4216 VALLEY QUAIL BLVD SOUTH                                    Check all that apply.
         WESTERVILLE, OH 43081
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.641     Nonpriority creditor's name and mailing address                                                                                          $888.48

         BUCKEYE TELESYSTEM                                              As of the petition filing date, the claim is:
         POB 94536                                                       Check all that apply.
         CLEVELAND, OH 44101-4536




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.642     Nonpriority creditor's name and mailing address                                                                                               $51.22

         BUCKLAND TELEPHONE                                              As of the petition filing date, the claim is:
         105 S MAIN                                                      Check all that apply.
         BUCKLAND, OH 45819




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.643     Nonpriority creditor's name and mailing address                                                                                         $2,218.50

         BUDGET CAR SALES                                                As of the petition filing date, the claim is:
         61 MENDEL PKWY                                                  Check all that apply.
         MONTGOMERY, AL 36117
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.644     Nonpriority creditor's name and mailing address                                                                                         $1,300.00

         BURGER THEORY                                                   As of the petition filing date, the claim is:
         1616 MAIN ST                                                    Check all that apply.
         HOUSTON, TX 77002
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.645     Nonpriority creditor's name and mailing address                                                                                         $1,253.75

         BURGES & BURGES STRATEGISTS INC                                 As of the petition filing date, the claim is:
         26100 LAKE SHORE BLVD                                           Check all that apply.
         EUCLID, OH 44132-1111
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.646     Nonpriority creditor's name and mailing address                                                                                         $2,034.90

         BURKE ADVERTISING LLC                                           As of the petition filing date, the claim is:
         9 CEDARWOOD DR STE 11                                           Check all that apply.
         BEDFORD, NH 03110
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.647     Nonpriority creditor's name and mailing address                                                                                         $1,395.00

         BURKE PHARMACEUTICAL RESEARCH INC                               As of the petition filing date, the claim is:
         3633 CENTRAL AVE 1                                              Check all that apply.
         HOT SPRINGS, AR 71913
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.648     Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         BURNT TO A CRISP LLC                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.649     Nonpriority creditor's name and mailing address                                                                                        $13,361.16

         BURRELLESLUCE                                                   As of the petition filing date, the claim is:
         30B VREELAND RD                                                 Check all that apply.
         POB 674
         FLORHAM PARK, NJ 07932



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.650     Nonpriority creditor's name and mailing address                                                                                          $580.86

         BUTLER COUNTY COURT #3                                          As of the petition filing date, the claim is:
         9577 BECKETT RD STE 300                                         Check all that apply.
         WEST CHESTER, OH 45069
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.651     Nonpriority creditor's name and mailing address                                                                                         $1,740.50

         BY THE YARD INC                                                 As of the petition filing date, the claim is:
         16775 GREYSTONE LN                                              Check all that apply.
         JORDAN, MN 55352
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.652     Nonpriority creditor's name and mailing address                                                                                         $1,198.94

         C SPIRE WIRELESS                                                As of the petition filing date, the claim is:
         POB 519                                                         Check all that apply.
         MEADVILLE, MS 39653-0519




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.653     Nonpriority creditor's name and mailing address                                                                                          $784.85

         C6 DISPOSAL SYSTEMS INC                                         As of the petition filing date, the claim is:
         POB160489                                                       Check all that apply.
         SAN ANTONIO, TX 78280-2689




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.654     Nonpriority creditor's name and mailing address                                                                                               $45.17

         CABLE ONE                                                       As of the petition filing date, the claim is:
         PO BOX 78                                                       Check all that apply.
         PHOENIX, AZ 85062-8000




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.655     Nonpriority creditor's name and mailing address                                                                                          $139.35

         CABLE ONE                                                       As of the petition filing date, the claim is:
         PO BOX 919                                                      Check all that apply.
         LOUISVILLE, KY 40290-1009




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.656     Nonpriority creditor's name and mailing address                                                                                          $179.50

         CABLE ONE                                                       As of the petition filing date, the claim is:
         POB 9001009                                                     Check all that apply.
         LOUISVILLE, KY 40290-1009




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.657     Nonpriority creditor's name and mailing address                                                                                               $45.02

         CABLE ONE                                                       As of the petition filing date, the claim is:
         PO BOX 78                                                       Check all that apply.
         PHOENIX, AZ 85062-8000




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.658     Nonpriority creditor's name and mailing address                                                                                               $35.25

         CABLEVISION                                                     As of the petition filing date, the claim is:
         POB 371378                                                      Check all that apply.
         PITTSBURGH, PA 15250-7378




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.659     Nonpriority creditor's name and mailing address                                                                                      $135,090.70

         CAHILL GORDON & REINDEL                                         As of the petition filing date, the claim is:
         80 PINE ST                                                      Check all that apply.
         NEW YORK, NY 10005-1702
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.660     Nonpriority creditor's name and mailing address                                                                                               $25.50

         CAHOON & CROSS INC                                              As of the petition filing date, the claim is:
         4012 RAINTREE RD STE 100B                                       Check all that apply.
         CHESAPEAKE, VA 23321
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.661     Nonpriority creditor's name and mailing address                                                                                         $5,535.29

         CALIFORNIA CEMENT                                               As of the petition filing date, the claim is:
         1850 NORTH CENTRAL AVE #1400                                    Check all that apply.
         PHOENIX, AZ 85014
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.662     Nonpriority creditor's name and mailing address                                                                                        $14,128.00

         CALIFORNIA MILK ADVISORY BOARD                                  As of the petition filing date, the claim is:
         2316 ORCHARD PKWY STE 200                                       Check all that apply.
         TRACY, CA 95377
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.663     Nonpriority creditor's name and mailing address                                                                                         $1,341.26

         CAPE COD TITLE AND ESCROW                                       As of the petition filing date, the claim is:
         FIRST AMERICAN TITLE                                            Check all that apply.
         185 DARTMOUTH ST
         BOSTON, MA 02116                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.664     Nonpriority creditor's name and mailing address                                                                                          $176.61

         CAPITAL ONE BANK                                                As of the petition filing date, the claim is:
         4301 E PARHAM RD                                                Check all that apply.
         HENRICO, VA 23228
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.665     Nonpriority creditor's name and mailing address                                                                                 $3,301,276,152.00

         CAPSTAR RADIO OPERATING COMPANY                                 As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.666     Nonpriority creditor's name and mailing address                                                                                        $16,095.94

         CARBONITE INC                                                   As of the petition filing date, the claim is:
         DEPT CH 17997                                                   Check all that apply.
         PALATINE, IL 60055-7997




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.667     Nonpriority creditor's name and mailing address                                                                                         $3,129.00

         CAREFREE COMMUNITIES                                            As of the petition filing date, the claim is:
         6991 E CAMELBACK RD                                             Check all that apply.
         SCOTTSDALE, AZ 85251
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.668     Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         CARGILL INC                                                     As of the petition filing date, the claim is:
         POB 502333                                                      Check all that apply.
         SAINT LOUIS, MO 63150-2333
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.669     Nonpriority creditor's name and mailing address                                                                                          $967.74

         CARONET MANAGED HOSTING, INC.                                   As of the petition filing date, the claim is:
         196 CROSS BEAM DR                                               Check all that apply.
         SUITE 6
         CHARLOTTE, NC 28217



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.670     Nonpriority creditor's name and mailing address                                                                                         $6,144.46

         CARPATHIA                                                       As of the petition filing date, the claim is:
         C/O PNC BANK                                                    Check all that apply.
         POB 824144
         PHILADELPHIA, PA 19182-4144



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.671     Nonpriority creditor's name and mailing address                                                                                         $1,846.00

         CARPET WORLD OF BATON ROUGE INC                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.672     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         CARSANDTRUCKSDIRECT COM                                         As of the petition filing date, the claim is:
         33125 IH 10 W C                                                 Check all that apply.
         BOERNE, TX 78006
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.673     Nonpriority creditor's name and mailing address                                                                                               $51.98

         CAS CABLE                                                       As of the petition filing date, the claim is:
         1525 DUPONT RD                                                  Check all that apply.
         PARKERSBURG, WV 26101-9623




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.674     Nonpriority creditor's name and mailing address                                                                                        $22,068.33

         CATALINA MEDIA DEVELOPMENT II LLC                               As of the petition filing date, the claim is:
         3000 W ALAMEDA AVE                                              Check all that apply.
         BURBANK, CA 91505




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.675     Nonpriority creditor's name and mailing address                                                                                         $1,060.56

         CATAPULT STAFFING LLC                                           As of the petition filing date, the claim is:
         ATTN ALEX ANDERSON                                              Check all that apply.
         1820 PRESTON PARK BLVD STE 1600
         PLANO, TX 75093



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.676     Nonpriority creditor's name and mailing address                                                                                         $1,394.00

         CATHOLIC HEALTH INITIATIVES                                     As of the petition filing date, the claim is:
         PO BOX 636000                                                   Check all that apply.
         LITTLETON, CO 80163
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor           iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
                 Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.677     Nonpriority creditor's name and mailing address                                                                                        $30,875.18

         CBRE HEERY INC                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.678     Nonpriority creditor's name and mailing address                                                                                          $890.00

         CCIFA                                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.679     Nonpriority creditor's name and mailing address                                                                                          $801.01

         CCINTEGRATION INC                                               As of the petition filing date, the claim is:
         DEPT LA 24351                                                   Check all that apply.
         PASADENA, CA 91185-4351




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.680     Nonpriority creditor's name and mailing address                                                                                         $1,345.50

         CEAR CREST HOSPITAL AND RTC                                     As of the petition filing date, the claim is:
         3500 S IH 35                                                    Check all that apply.
         BELTON, TX 76513
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.681     Nonpriority creditor's name and mailing address                                                                                          $421.73

         CEDAR WHITE BRADLEY CONSULTING                                  As of the petition filing date, the claim is:
         SHEIKH ZAYED RD POB66300                                        Check all that apply.
         DUBAI, TX 78209
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.682     Nonpriority creditor's name and mailing address                                                                                        $16,114.84

         CELTRA INC                                                      As of the petition filing date, the claim is:
         545 BOYLSTON ST 11TH FL                                         Check all that apply.
         BOSTON, MA 02116




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.683     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         CENTER FOR PRIMARY CARE                                         As of the petition filing date, the claim is:
         363 N BELAIR RD                                                 Check all that apply.
         EVANS, GA 30809
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.684     Nonpriority creditor's name and mailing address                                                                                         $4,159.67

         CENTER FOR RELATIONSHIP EDUCATION                               As of the petition filing date, the claim is:
         8101 E BELLVIEW AVE G                                           Check all that apply.
         DENVER, CO 80237
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.685     Nonpriority creditor's name and mailing address                                                                                         $2,040.00

         CENTRAL TRANSPORT                                               As of the petition filing date, the claim is:
         5210 MARYLAND WAY                                               Check all that apply.
         BRENTWOOD, TN 37027
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.686     Nonpriority creditor's name and mailing address                                                                                               $2.07

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         PO BOX 91155                                                    Check all that apply.
         SEATTLE, WA 98111-9255




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.687     Nonpriority creditor's name and mailing address                                                                                               $69.08

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         PO BOX 91154                                                    Check all that apply.
         SEATTLE, WA 98111-9254




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.688     Nonpriority creditor's name and mailing address                                                                                          $488.89

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         POB 1319                                                        Check all that apply.
         CHARLOTTE, NC 28201-1319




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.689     Nonpriority creditor's name and mailing address                                                                                          $844.98

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         PO BOX 91154                                                    Check all that apply.
         SEATTLE, WA 98111-9254




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.690     Nonpriority creditor's name and mailing address                                                                                        $74,959.03

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         CENTURYLINK-ACCESS BILL                                         Check all that apply.
         POB 4648
         MONROE, LA 71211-4648



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.691     Nonpriority creditor's name and mailing address                                                                                               $29.12

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         POB 4300                                                        Check all that apply.
         CAROL STREAM, IL 60197
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.692     Nonpriority creditor's name and mailing address                                                                                               $35.32

         CENTURYLINK                                                     As of the petition filing date, the claim is:
         PO BOX 43                                                       Check all that apply.
         CAROL STREAM, IL 60197-4300




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.693     Nonpriority creditor's name and mailing address                                                                                        $26,033.94

         CERIDIAN                                                        As of the petition filing date, the claim is:
         POB 10989                                                       Check all that apply.
         NEWARK, NJ 07193




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.694     Nonpriority creditor's name and mailing address                                                                                          $728.07

         CERTIFIED                                                       As of the petition filing date, the claim is:
         286 MADISON AVE                                                 Check all that apply.
         NEW YORK, NY 10017




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.695     Nonpriority creditor's name and mailing address                                                                                          $634.08

         CHAMBERLAIN HRDLICKA WHITE WILLIAMS & AUGHTRY                   As of the petition filing date, the claim is:
         1200 SMITH ST STE 1400                                          Check all that apply.
         HOUSTON, TX 77002-4310




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.696     Nonpriority creditor's name and mailing address                                                                                         $1,204.03

         CHAMPION COURIER INC                                            As of the petition filing date, the claim is:
         POB 1196                                                        Check all that apply.
         NEW YORK, NY 10018-9998




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.697     Nonpriority creditor's name and mailing address                                                                                          $329.40

         CHAMPION ENERGY SERVICES LLC                                    As of the petition filing date, the claim is:
         1500 RANKIN RD STE 200                                          Check all that apply.
         HOUSTON, TX 77073




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.698     Nonpriority creditor's name and mailing address                                                                                                $4.00

         CHARITIES UNLIMITED                                             As of the petition filing date, the claim is:
         1400 BROOKPARK RD                                               Check all that apply.
         CLEVELAND, OH 44109
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.699     Nonpriority creditor's name and mailing address                                                                                          $141.77

         CHARTER COMMUNICATIONS                                          As of the petition filing date, the claim is:
         PO BOX 7426                                                     Check all that apply.
         CINCINNATI, OH 45274-2614




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.700     Nonpriority creditor's name and mailing address                                                                                               $30.51

         CHARTER COMMUNICATIONS                                          As of the petition filing date, the claim is:
         PO BOX 742616                                                   Check all that apply.
         CINCINNATI, OH 45274-2616




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.701     Nonpriority creditor's name and mailing address                                                                                         $2,360.00

         CHARTER COMMUNICATIONS                                          As of the petition filing date, the claim is:
         POB 790261                                                      Check all that apply.
         SAINT LOUIS, MO 63179-0261




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.702     Nonpriority creditor's name and mailing address                                                                                          $120.06

         CHARTER COMMUNICATIONS                                          As of the petition filing date, the claim is:
         PO BOX 319                                                      Check all that apply.
         MILWAUKEE, WI 53201-3019




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.703     Nonpriority creditor's name and mailing address                                                                                         $4,246.50

         CHEROKEE NATION ENTERTAINMENT                                   As of the petition filing date, the claim is:
         POB 179                                                         Check all that apply.
         TAHLEQUAH, OK 74465
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.704     Nonpriority creditor's name and mailing address                                                                                         $2,267.50

         CHILDRENS HOSPITAL OF WISCONSIN                                 As of the petition filing date, the claim is:
         ATTN JULIE PEDRETTI - PUBLIC RELATIONS & MKTG                   Check all that apply.
         MS 956 POB 1997
         MILWAUKEE, WI 53201                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.705     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         CHOCTAW NATION OF OKLAHOMA                                      As of the petition filing date, the claim is:
         POB 1210                                                        Check all that apply.
         DURANT, OK 74702
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.706     Nonpriority creditor's name and mailing address                                                                                         $7,019.00

         CHOICE MARKETING LLC                                            As of the petition filing date, the claim is:
         501 E 7TH ST                                                    Check all that apply.
         JOPLIN, MO 64801
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.707     Nonpriority creditor's name and mailing address                                                                                         $2,426.00

         CHP INTERNATIONAL INC                                           As of the petition filing date, the claim is:
         1040 NORTH BLVD STE 220                                         Check all that apply.
         OAK PARK, IL 60301
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.708     Nonpriority creditor's name and mailing address                                                                                         $1,515.00

         CHRISTMAS CITY HOTEL LLC DBA HOTEL BETHLEHEM                    As of the petition filing date, the claim is:
         437 MAIN ST                                                     Check all that apply.
         BETHLEHEM, PA 18018
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.709     Nonpriority creditor's name and mailing address                                                                                         $2,800.00

         CHURCH OF THE BLESSED SACRAMENT                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.710     Nonpriority creditor's name and mailing address                                                                                          $408.28

         CHVRCHES                                                        As of the petition filing date, the claim is:
         C/O PS BUSINESS MANAGEMENT                                      Check all that apply.
         235 PARK AVE S 9TH FL
         NEW YORK, NY 10003



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.711     Nonpriority creditor's name and mailing address                                                                                      $305,431.69

         CI&T                                                            As of the petition filing date, the claim is:
         90 NASSAU ST 4TH FL                                             Check all that apply.
         PRINCETON, NJ 08542




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.712     Nonpriority creditor's name and mailing address                                                                                         $7,540.00

         CIELO                                                           As of the petition filing date, the claim is:
         711 N 77 SUNSHINE STRIP                                         Check all that apply.
         HARLINGEN, TX 78550
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.713     Nonpriority creditor's name and mailing address                                                                                         $1,155.27

         CIMCO COMMUNICATIONS INC                                        As of the petition filing date, the claim is:
         POB 95900                                                       Check all that apply.
         CHICAGO, IL 60694
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.714     Nonpriority creditor's name and mailing address                                                                                        $35,621.08

         CINCINNATI BELL                                                 As of the petition filing date, the claim is:
         POB 748003                                                      Check all that apply.
         CINCINNATI, OH 45274-8003




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.715     Nonpriority creditor's name and mailing address                                                                                          $174.25

         CINCINNATI BELL                                                 As of the petition filing date, the claim is:
         POB 748003                                                      Check all that apply.
         CINCINNATI, OH 45274
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.716     Nonpriority creditor's name and mailing address                                                                                          $284.18

         CINTAS CORPORATION                                              As of the petition filing date, the claim is:
         POB 631025                                                      Check all that apply.
         CINCINNATI, OH 45263-1025




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.717     Nonpriority creditor's name and mailing address                                                                                          $840.00

         CIRCLE COMPUTER RESOURCES, INC.                                 As of the petition filing date, the claim is:
         845 CAPITAL DRIVE SW                                            Check all that apply.
         CEDAR RAPIDS, IA 52404




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.718     Nonpriority creditor's name and mailing address                                                                                          $344.52

         CISION US INC                                                   As of the petition filing date, the claim is:
         POB 98869                                                       Check all that apply.
         CHICAGO, IL 60693-8869




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.719     Nonpriority creditor's name and mailing address                                                                                   $770,798,430.00

         CITICASTERS CO.                                                 As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.720     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         CITY OF BUENA PARK                                              As of the petition filing date, the claim is:
         6650 BEACH BLVD BLDG 4                                          Check all that apply.
         BUENA PARK, CA 90622
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.721     Nonpriority creditor's name and mailing address                                                                                         $1,655.00

         CITY OF HELOTES GF OPERATING                                    As of the petition filing date, the claim is:
         POB 507                                                         Check all that apply.
         HELOTES, TX 78023-0507
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.722     Nonpriority creditor's name and mailing address                                                                                        $34,010.00

         CITY OF HOPE NATIONAL MEDICAL CENTER                            As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         1500 DUARTE RD FL 4
         DUARTE, CA 91010                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.723     Nonpriority creditor's name and mailing address                                                                                          $180.00

         CITY OF NEW ORLEANS                                             As of the petition filing date, the claim is:
         1300 PERDIDO ST RM 1W15                                         Check all that apply.
         NEW ORLEANS, LA 70112
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.724     Nonpriority creditor's name and mailing address                                                                                          $275.17

         CITY OF OGALLALA                                                As of the petition filing date, the claim is:
         411 EAST 2ND ST                                                 Check all that apply.
         OGALLALA, NE 69153




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.725     Nonpriority creditor's name and mailing address                                                                                         $5,829.00

         CITY VENTURES HOMEBUILDING LLC                                  As of the petition filing date, the claim is:
         3121 MICHELSON DR STE 150                                       Check all that apply.
         IRVINE, CA 92612
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.726     Nonpriority creditor's name and mailing address                                                                                          $798.41

         CITYNET LLC                                                     As of the petition filing date, the claim is:
         100 CITYNET DR                                                  Check all that apply.
         BRIDGEPORT, WV 26330




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.727     Nonpriority creditor's name and mailing address                                                                                      $167,100.84

         CIVIS ANALYTICS INC                                             As of the petition filing date, the claim is:
         200 W MONROE ST STE 2200                                        Check all that apply.
         ATTN ALAN FU
         CHICAGO, IL 60606



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.728     Nonpriority creditor's name and mailing address                                                                                          $960.00

         CLAROCISION RESEARCH & MARKETING                                As of the petition filing date, the claim is:
         2818 N UNIVERSITY DR                                            Check all that apply.
         CORAL SPRINGS, FL 33065




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.729     Nonpriority creditor's name and mailing address                                                                                $14,676,048,769.00

         CLEAR CHANNEL HOLDINGS, INC.                                    As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.730     Nonpriority creditor's name and mailing address                                                                                     $4,544,379.00

         CLEAR CHANNEL MEXICO HOLDINGS, INC.                             As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.731     Nonpriority creditor's name and mailing address                                                                                          $135.00

         CLEAR COMMUNICATORS                                             As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.732     Nonpriority creditor's name and mailing address                                                                                        $10,944.00

         CLEAR SEARCH CONSULTING                                         As of the petition filing date, the claim is:
         2014 FLAMINGO                                                   Check all that apply.
         SAN ANTONIO, TX 78209




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.733     Nonpriority creditor's name and mailing address                                                                                         $1,265.00

         CLEAR VIEW GLASS AND TINT LLC                                   As of the petition filing date, the claim is:
         4500 E SPEEDWAY 67                                              Check all that apply.
         TUCSON, AZ 85712
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.734     Nonpriority creditor's name and mailing address                                                                                               $0.01

         CLERK OF THE COURTLAWRENCE COUNTY                               As of the petition filing date, the claim is:
         10916 COUNTY RD                                                 Check all that apply.
         CHESAPEAKE, OH 45619
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.735     Nonpriority creditor's name and mailing address                                                                                         $1,126.49

         CLINICAL RESEARCH MANAGEMENT                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.736     Nonpriority creditor's name and mailing address                                                                                      $159,275.35

         CLOUD TECHNOLOGY PARTNERS INC                                   As of the petition filing date, the claim is:
         321 SUMMER ST FIFTH FL                                          Check all that apply.
         BOSTON, MA 02210




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.737     Nonpriority creditor's name and mailing address                                                                                        $24,064.31

         CLOUDHEALTH TECHNOLOGIES INC                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.738     Nonpriority creditor's name and mailing address                                                                                         $2,192.00

         COACHMANS INN ENTERPRISES INC                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.739     Nonpriority creditor's name and mailing address                                                                                         $2,205.00

         COBB TECHNOLOGIES                                               As of the petition filing date, the claim is:
         1000 TECHNOLOGY PARK DR                                         Check all that apply.
         GLEN ALLEN, VA 23059
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.740     Nonpriority creditor's name and mailing address                                                                                          $440.67

         COCA-COLA OF NORTH PLATTE                                       As of the petition filing date, the claim is:
         4700 S LEWIS BLVD                                               Check all that apply.
         PO BOX 3657
         SIOUX CITY, IA 51102



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.741     Nonpriority creditor's name and mailing address                                                                                         $4,891.36

         COGENT COMMUNICATIONS                                           As of the petition filing date, the claim is:
         POB 791087                                                      Check all that apply.
         BALTIMORE, MD 21279




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.742     Nonpriority creditor's name and mailing address                                                                                          $280.00

         COGNIZANT TECHNOLOGY SOLUTIONS US CORP                          As of the petition filing date, the claim is:
         24721 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1247
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.743     Nonpriority creditor's name and mailing address                                                                                        $94,372.50

         COGNIZANT TECHNOLOGY SOLUTIONS US CORP                          As of the petition filing date, the claim is:
         24721 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1247
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.744     Nonpriority creditor's name and mailing address                                                                                        $13,757.72

         COLLINS BUILDING SERVICES INC                                   As of the petition filing date, the claim is:
         COURT SQUARE PLACE                                              Check all that apply.
         24-01 44TH RD 15TH FLOOR
         LONG ISLAND CITY, NY 11101



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.745     Nonpriority creditor's name and mailing address                                                                                         $2,743.63

         COLORADO STATE UNIVERSITY                                       As of the petition filing date, the claim is:
         SPONSORED PROGRAMS                                              Check all that apply.
         601 S HOWES
         FORT COLLINS, CO 80523                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.746     Nonpriority creditor's name and mailing address                                                                                         $2,972.00

         COLUMBIA DISTRIBUTING YOUNGS MARKET CO                          As of the petition filing date, the claim is:
         6840 N CUTTER CIR                                               Check all that apply.
         PORTLAND, OR 97217
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.747     Nonpriority creditor's name and mailing address                                                                                          $300.00

         COLUMBUS INCOME TAX DIVISION                                    As of the petition filing date, the claim is:
         POB 182158                                                      Check all that apply.
         COLUMBUS, OH 43218
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.748     Nonpriority creditor's name and mailing address                                                                                               $30.12

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.749     Nonpriority creditor's name and mailing address                                                                                          $121.78

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.750     Nonpriority creditor's name and mailing address                                                                                               $61.21

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 3517                                                     Check all that apply.
         SEATTLE, WA 98124




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.751     Nonpriority creditor's name and mailing address                                                                                               $17.64

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.752     Nonpriority creditor's name and mailing address                                                                                               $49.93

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.753     Nonpriority creditor's name and mailing address                                                                                                $6.55

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 15184                                                    Check all that apply.
         ATLANTA, GA 30348-5184




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.754     Nonpriority creditor's name and mailing address                                                                                               $21.24

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.755     Nonpriority creditor's name and mailing address                                                                                          $142.52

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 1577                                                     Check all that apply.
         NEWARK, NJ




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.756     Nonpriority creditor's name and mailing address                                                                                                $4.78

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.757     Nonpriority creditor's name and mailing address                                                                                               $77.92

         COMCAST                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.758     Nonpriority creditor's name and mailing address                                                                                          $116.37

         COMCAST                                                         As of the petition filing date, the claim is:
         POB 35170                                                       Check all that apply.
         SEATTLE, WA 98124-5170




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.759     Nonpriority creditor's name and mailing address                                                                                               $74.24

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 75                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3005




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.760     Nonpriority creditor's name and mailing address                                                                                          $148.33

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 5398                                                     Check all that apply.
         ATLANTA, GA 30353-0098




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.761     Nonpriority creditor's name and mailing address                                                                                          $154.97

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.762     Nonpriority creditor's name and mailing address                                                                                               $24.90

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 5398                                                     Check all that apply.
         ATLANTA, GA 30353-0098




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.763     Nonpriority creditor's name and mailing address                                                                                               $35.73

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.764     Nonpriority creditor's name and mailing address                                                                                                $6.37

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 5398                                                     Check all that apply.
         ATLANTA, GA 30353-0098




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.765     Nonpriority creditor's name and mailing address                                                                                               $14.17

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.766     Nonpriority creditor's name and mailing address                                                                                                $6.44

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 66618                                                    Check all that apply.
         DALLAS, TX 75266-0618




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.767     Nonpriority creditor's name and mailing address                                                                                        $49,448.19

         COMCAST                                                         As of the petition filing date, the claim is:
         POB 771929                                                      Check all that apply.
         DETROIT, MI 48277




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.768     Nonpriority creditor's name and mailing address                                                                                                $4.50

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 66618                                                    Check all that apply.
         DALLAS, TX 75266-0618




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.769     Nonpriority creditor's name and mailing address                                                                                               $15.06

         COMCAST                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.770     Nonpriority creditor's name and mailing address                                                                                                $6.45

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 66618                                                    Check all that apply.
         DALLAS, TX 75266-0618




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.771     Nonpriority creditor's name and mailing address                                                                                          $107.89

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 5398                                                     Check all that apply.
         ATLANTA, GA 30353-0098




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.772     Nonpriority creditor's name and mailing address                                                                                               $10.63

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 1577                                                     Check all that apply.
         NEWARK, NJ 07101-1577




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.773     Nonpriority creditor's name and mailing address                                                                                               $62.69

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-3001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.774     Nonpriority creditor's name and mailing address                                                                                               $81.52

         COMCAST                                                         As of the petition filing date, the claim is:
         PO BOX 31                                                       Check all that apply.
         SOUTHEASTERN, PA 19398




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.775     Nonpriority creditor's name and mailing address                                                                                               $51.72

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.776     Nonpriority creditor's name and mailing address                                                                                               $48.20

         COMCAST BUSINES (BATTLE CREEK)                                  As of the petition filing date, the claim is:
         PO BOX 75                                                       Check all that apply.
         SOUTHEASTERN, PA 19398-7500




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.777     Nonpriority creditor's name and mailing address                                                                                               $33.78

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         PO BOX 15184                                                    Check all that apply.
         ATLANTA, GA 30348-5184




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.778     Nonpriority creditor's name and mailing address                                                                                                $9.80

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.779     Nonpriority creditor's name and mailing address                                                                                               $58.53

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         PO BOX 34744                                                    Check all that apply.
         SEATTLE, WA 98124-1744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.780     Nonpriority creditor's name and mailing address                                                                                               $32.51

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         PO BOX 5398                                                     Check all that apply.
         ATLANTA, GA 30353-0098




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.781     Nonpriority creditor's name and mailing address                                                                                          $794.59

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         POB 105184                                                      Check all that apply.
         ATLANTA, GA 30348-5184




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.782     Nonpriority creditor's name and mailing address                                                                                         $3,570.08

         COMCAST CABLE                                                   As of the petition filing date, the claim is:
         1701 JOHN F KENNEDY BLVD #5                                     Check all that apply.
         PHILADELPHIA, PA 19103




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.783     Nonpriority creditor's name and mailing address                                                                                         $1,015.00

         COMIC RELIEF INC                                                As of the petition filing date, the claim is:
         2224 N 3RD ST                                                   Check all that apply.
         SAINT CHARLES, MO 63301
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.784     Nonpriority creditor's name and mailing address                                                                                          $332.00

         COMMITTEE TO ELECT MAURO GARZA                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.785     Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         COMMUNITY COLLEGE OF DENVER                                     As of the petition filing date, the claim is:
         800 CURTIS ST                                                   Check all that apply.
         DENVER, CO 80204
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.786     Nonpriority creditor's name and mailing address                                                                                         $8,980.00

         COMPETITOR GROUP INC                                            As of the petition filing date, the claim is:
         3407 W MARTIN LUTHER KING JR BLVD #100                          Check all that apply.
         TAMPA, FL 33607
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.787     Nonpriority creditor's name and mailing address                                                                                               $24.80

         COMPORIUM                                                       As of the petition filing date, the claim is:
         POB 1042                                                        Check all that apply.
         ROCK HILL, SC 29731-7042




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.788     Nonpriority creditor's name and mailing address                                                                                      $245,400.58

         COMPUTER SOLUTIONS INC                                          As of the petition filing date, the claim is:
         POB 1847                                                        Check all that apply.
         SAN ANTONIO, TX 78297-1847




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.789     Nonpriority creditor's name and mailing address                                                                                         $2,772.35

         COMPUTERSHARE                                                   As of the petition filing date, the claim is:
         DEPT CH 16934                                                   Check all that apply.
         PALATINE, IL 60055-9228




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.790     Nonpriority creditor's name and mailing address                                                                                        $11,472.47

         COMSCORE INC                                                    As of the petition filing date, the claim is:
         14140 COLLECTION CENTER DR                                      Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.791     Nonpriority creditor's name and mailing address                                                                                        $53,004.74

         CON EDISON                                                      As of the petition filing date, the claim is:
         JAF STATION POB 1701                                            Check all that apply.
         NEW YORK, NY 10116-1701




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.792     Nonpriority creditor's name and mailing address                                                                                        $14,452.95

         CONCUR TECHNOLOGIES INC                                         As of the petition filing date, the claim is:
         62157 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.793     Nonpriority creditor's name and mailing address                                                                                         $2,972.42

         CONRAD NEW YORK                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.794     Nonpriority creditor's name and mailing address                                                                                         $1,302.41

         CONSOLIDATED COMMUNICATIONS                                     As of the petition filing date, the claim is:
         POB 66523                                                       Check all that apply.
         SAINT LOUIS, MO 63166-6523




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.795     Nonpriority creditor's name and mailing address                                                                                          $431.21

         CONSOLIDATED COMMUNICATIONS                                     As of the petition filing date, the claim is:
         POB 1408                                                        Check all that apply.
         DICKINSON, ND 58602-1408




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.796     Nonpriority creditor's name and mailing address                                                                                         $1,945.00

         CONSOLIDATED COMMUNICATIONS                                     As of the petition filing date, the claim is:
         121 S 17TH ST                                                   Check all that apply.
         MATTOON, IL 61938
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.797     Nonpriority creditor's name and mailing address                                                                                               $86.21

         CONSOLIDATED COMMUNICATIONS                                     As of the petition filing date, the claim is:
         POB 3188                                                        Check all that apply.
         MILWAUKEE, WI 53201-3188




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.798     Nonpriority creditor's name and mailing address                                                                                               $19.66

         CONSOLIDATED TELEPHONE                                          As of the petition filing date, the claim is:
         POB 6147                                                        Check all that apply.
         LINCOLN, NE 68506-0147




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.799     Nonpriority creditor's name and mailing address                                                                                        $30,850.00

         CONTEXTLOGIC INC                                                As of the petition filing date, the claim is:
         ONE SANSOME ST 40TH FL                                          Check all that apply.
         SAN FRANCISCO, CA 94104
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.800     Nonpriority creditor's name and mailing address                                                                                         $1,760.00

         CONVENE INC                                                     As of the petition filing date, the claim is:
         6983 E FOWLER AVE                                               Check all that apply.
         TEMPLE TERRACE, FL 33617
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.801     Nonpriority creditor's name and mailing address                                                                                               $71.92

         CORPORATE COFFEE SYSTEMS                                        As of the petition filing date, the claim is:
         745 SUMMA AVE                                                   Check all that apply.
         WESTBURY, NY 11590




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.802     Nonpriority creditor's name and mailing address                                                                                         $1,689.75

         CORPUS CHRISTI CONVENTION AND VISITORS                          As of the petition filing date, the claim is:
         101 N SHORELINE BLVD 430                                        Check all that apply.
         CORPUS CHRISTI, TX 78401
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.803     Nonpriority creditor's name and mailing address                                                                                         $5,700.00

         CORRECTION OFFICER BENEVOLENT                                   As of the petition filing date, the claim is:
         ATTN AP                                                         Check all that apply.
         75 BROAD ST STE 810
         NEW YORK, NY 10004-2415                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.804     Nonpriority creditor's name and mailing address                                                                                          $800.00

         COSA INVESTMENTS                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.805     Nonpriority creditor's name and mailing address                                                                                         $1,150.00

         COUCH AND THOMAS LLC                                            As of the petition filing date, the claim is:
         1686 NOTTING HILL DR                                            Check all that apply.
         HERNANDO, MS 38632-8075
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.806     Nonpriority creditor's name and mailing address                                                                                          $675.00

         COUNTRY CLUB HILLS FINANCE DEPARTMENT                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.807     Nonpriority creditor's name and mailing address                                                                                         $1,118.00

         COUNTRY THUNDER EAST LLC                                        As of the petition filing date, the claim is:
         730 GALLATIN PIKE N                                             Check all that apply.
         MADISON, TN 37115
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.808     Nonpriority creditor's name and mailing address                                                                                         $1,223.40

         COWBOYS FAR WEST LTD                                            As of the petition filing date, the claim is:
         3030 NE LOOP 410                                                Check all that apply.
         SAN ANTONIO, TX 78218
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.809     Nonpriority creditor's name and mailing address                                                                                         $3,406.62

         COX BUSINESS                                                    As of the petition filing date, the claim is:
         POB 29650 DEPT 880101                                           Check all that apply.
         PHOENIX, AZ 85038-9650




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.810     Nonpriority creditor's name and mailing address                                                                                          $129.04

         COX BUSINESS                                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.811     Nonpriority creditor's name and mailing address                                                                                          $606.00

         COX BUSINESS SERVICES                                           As of the petition filing date, the claim is:
         POB 2742                                                        Check all that apply.
         OMAHA, NE 68103-2742




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.812     Nonpriority creditor's name and mailing address                                                                                          $224.52

         COX BUSINESS-NEW ORLEANS                                        As of the petition filing date, the claim is:
         PO BOX 6127                                                     Check all that apply.
         NEW ORLEANS, LA 70161-1027




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.813     Nonpriority creditor's name and mailing address                                                                                          $190.82

         COX COMMUNICATIONS                                              As of the petition filing date, the claim is:
         PO BOX 53214                                                    Check all that apply.
         PHOENIX, AZ 85072-3214




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.814     Nonpriority creditor's name and mailing address                                                                                               $89.42

         COX COMMUNICATIONS                                              As of the petition filing date, the claim is:
         DEPT 78114                                                      Check all that apply.
         PO BOX 78
         DETROIT, MI 48278-1104



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.815     Nonpriority creditor's name and mailing address                                                                                          $114.92

         COX COMMUNICATIONS                                              As of the petition filing date, the claim is:
         PO BOX 248871                                                   Check all that apply.
         OKLAHOMA CITY, OK 73124-8871




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.816     Nonpriority creditor's name and mailing address                                                                                               $55.39

         COX COMMUNICATIONS                                              As of the petition filing date, the claim is:
         PO BOX 9178                                                     Check all that apply.
         LOUISVILLE, KY 40290-1078




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.817     Nonpriority creditor's name and mailing address                                                                                         $4,946.96

         COX COMMUNICATIONS                                              As of the petition filing date, the claim is:
         POB 248876                                                      Check all that apply.
         OKLAHOMA CITY, OK 73124-8876
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.818     Nonpriority creditor's name and mailing address                                                                                               $62.24

         COX COMMUNICATIONS INC-MACON                                    As of the petition filing date, the claim is:
         PO BOX 6129                                                     Check all that apply.
         NEW ORLEANS, LA 70161-1029




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.819     Nonpriority creditor's name and mailing address                                                                                         $4,264.12

         COX COMMUNICATIONS PHOENIX                                      As of the petition filing date, the claim is:
         POB 53249                                                       Check all that apply.
         PHOENIX, AZ 85072-3249




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.820     Nonpriority creditor's name and mailing address                                                                                          $142.50

         COX COMMUNICATIONS ROANOKE                                      As of the petition filing date, the claim is:
         PO BOX 9188                                                     Check all that apply.
         LOUISVILLE, KY 40290-1088




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.821     Nonpriority creditor's name and mailing address                                                                                         $1,629.84

         COX COMMUNICATIONS SAN DIEGO                                    As of the petition filing date, the claim is:
         POB 53214                                                       Check all that apply.
         PHOENIX, AZ 85072-3214




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.822     Nonpriority creditor's name and mailing address                                                                                               $66.49

         COX COMMUNICATIONS, INC.                                        As of the petition filing date, the claim is:
         PO BOX 9177                                                     Check all that apply.
         LOUISVILLE, KY 40290-1077




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.823     Nonpriority creditor's name and mailing address                                                                                          $206.46

         COX COMMUNICATIONS, INC.                                        As of the petition filing date, the claim is:
         PO BOX 248851                                                   Check all that apply.
         OKLAHOMA CITY, OK 73124-8851




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.824     Nonpriority creditor's name and mailing address                                                                                          $368.83

         COX COMMUNICTIONS                                               As of the petition filing date, the claim is:
         PO BOX 53249                                                    Check all that apply.
         PHOENIX, AZ 85072-3249




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.825     Nonpriority creditor's name and mailing address                                                                                         $9,354.84

         COX MEDIA GROUP                                                 As of the petition filing date, the claim is:
         6205 PEACHTREE DUNWOODY RD                                      Check all that apply.
         ATLANTA, GA 30328




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.826     Nonpriority creditor's name and mailing address                                                                                        $31,056.10

         COX RADIO INC                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.827     Nonpriority creditor's name and mailing address                                                                                      $154,134.75

         CPS ENERGY                                                      As of the petition filing date, the claim is:
         POB 2678                                                        Check all that apply.
         SAN ANTONIO, TX 78289-0001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.828     Nonpriority creditor's name and mailing address                                                                                         $3,612.90

         CQ ROLL CALL                                                    As of the petition filing date, the claim is:
         1625 I ST NW STE 200                                            Check all that apply.
         WASHINGTON, DC 20006
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.829     Nonpriority creditor's name and mailing address                                                                                        $11,457.41

         CRAZY DUCK PRODUCTIONS INC                                      As of the petition filing date, the claim is:
         DBA CRAZY DUCK VIDEO + PHOTOGRAPHY                              Check all that apply.
         7 HACKENSACK AVE
         WEEHAWKEN, NJ 07086



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.830     Nonpriority creditor's name and mailing address                                                                                         $2,988.00

         CREATIVE CIRCLE LLC                                             As of the petition filing date, the claim is:
         POB 74008799                                                    Check all that apply.
         CHICAGO, IL 60674-8799




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.831     Nonpriority creditor's name and mailing address                                                                                               $44.62

         CREDIT COLLECTIONS BUREAU                                       As of the petition filing date, the claim is:
         POB 778                                                         Check all that apply.
         BISMARCK, ND 58502
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.832     Nonpriority creditor's name and mailing address                                                                                          $324.80

         CREDITORS SERVICE BUREAU                                        As of the petition filing date, the claim is:
         POB 255                                                         Check all that apply.
         SPRINGFIELD, IL 62705
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.833     Nonpriority creditor's name and mailing address                                                                                         $3,650.00

         CREWS CHEVROLET                                                 As of the petition filing date, the claim is:
         8199 RIVERS AVE                                                 Check all that apply.
         NORTH CHARLESTON, SC 29406
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.834     Nonpriority creditor's name and mailing address                                                                                         $1,583.00

         CRICKET WIRELESS                                                As of the petition filing date, the claim is:
         ATTN A/P                                                        Check all that apply.
         5887 COPLEY DR
         SAN DIEGO, CA 92111                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.835     Nonpriority creditor's name and mailing address                                                                                          $456.95

         CRITICAL HUB NETWORKS, INC.                                     As of the petition filing date, the claim is:
         PO BOX 11278                                                    Check all that apply.
         SAN JUAN, PR 910




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.836     Nonpriority creditor's name and mailing address                                                                                         $1,166.00

         CROSBY EQUIPMENT LLC                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.837     Nonpriority creditor's name and mailing address                                                                                        $20,103.23

         CROSS-SELL                                                      As of the petition filing date, the claim is:
         ATTN 330148                                                     Check all that apply.
         325 JOHN KNOX RD BLDG L200
         TALLAHASSEE, FL 32303



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.838     Nonpriority creditor's name and mailing address                                                                                               $60.00

         CROWN MEDIA SERVICE LLC                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.839     Nonpriority creditor's name and mailing address                                                                                                $2.30

         CROWN PLAZA HOTEL CLEVELAND AIRPORT                             As of the petition filing date, the claim is:
         7230 ENGLE RD                                                   Check all that apply.
         MIDDLEBURG HTS, OH 44130
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.840     Nonpriority creditor's name and mailing address                                                                                        $59,980.09

         CT CORPORATION                                                  As of the petition filing date, the claim is:
         POB 4349                                                        Check all that apply.
         CAROL STREAM, IL 60197-4349




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.841     Nonpriority creditor's name and mailing address                                                                                          $948.41

         CUMMINS SALES AND SERVICE                                       As of the petition filing date, the claim is:
         3715 CLAY AVE SW                                                Check all that apply.
         GRAND RAPIDS, MI 49548




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.842     Nonpriority creditor's name and mailing address                                                                                         $3,169.57

         CUMMINS SOUTHERN PLAINS                                         As of the petition filing date, the claim is:
         POB 206039                                                      Check all that apply.
         DALLAS, TX 75320-6039




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.843     Nonpriority creditor's name and mailing address                                                                                         $1,042.10

         CUMULUS ABILENE                                                 As of the petition filing date, the claim is:
         3586 MOMENTUM PL                                                Check all that apply.
         CHICAGO, IL 60689-5335




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.844     Nonpriority creditor's name and mailing address                                                                                          $591.60

         CUMULUS ABILENE KCDD FM                                         As of the petition filing date, the claim is:
         3586 MOMENTUM PL                                                Check all that apply.
         CHICAGO, IL 60689-5335




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.845     Nonpriority creditor's name and mailing address                                                                                          $408.00

         CUMULUS ALBUQUERQUE                                             As of the petition filing date, the claim is:
         3629 MOMENTUM PL                                                Check all that apply.
         CUMULUS-ALBUQUERQUE-KKOB-FM
         CHICAGO, IL 60689-5336



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.846     Nonpriority creditor's name and mailing address                                                                                          $508.30

         CUMULUS AMARILLO                                                As of the petition filing date, the claim is:
         3588 MOMENTUM PL                                                Check all that apply.
         CHICAGO, IL 60689-5335




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.847     Nonpriority creditor's name and mailing address                                                                                         $6,009.50

         CUMULUS ATLANTA                                                 As of the petition filing date, the claim is:
         3664 MOMENTUM PL                                                Check all that apply.
         CHICAGO, IL 60689-5336




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.848     Nonpriority creditor's name and mailing address                                                                                         $1,598.00

         CUMULUS DALLAS                                                  As of the petition filing date, the claim is:
         3670 MOMENTUM PL                                                Check all that apply.
         CUMULUS - DALLAS KLIF AM
         CHICAGO, IL 60689-5336



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.849     Nonpriority creditor's name and mailing address                                                                                         $5,151.00

         CUMULUS LOS ANGELES                                             As of the petition filing date, the claim is:
         KLOS-FM                                                         Check all that apply.
         3581 MOMENTUM PL
         CHICAGO, IL 60689-5335



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.850     Nonpriority creditor's name and mailing address                                                                                        $28,064.52

         CUMULUS MEDIA INC                                               As of the petition filing date, the claim is:
         ATTN NICOLE WALLER VICE PRESIDENT                               Check all that apply.
         ASSISTANT GENERAL COUNSEL
         3280 PEACHTREE RD STE 2300
         ATLANTA, GA 30305

                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.851     Nonpriority creditor's name and mailing address                                                                                         $7,250.50

         CUMULUS MODESTO                                                 As of the petition filing date, the claim is:
         3656 MOMENTUM PL                                                Check all that apply.
         CHICAGO, IL 60689




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.852     Nonpriority creditor's name and mailing address                                                                                        $49,572.00

         CUMULUS NEW YORK                                                As of the petition filing date, the claim is:
         3583 MOMENTUM PL                                                Check all that apply.
         CUMULUS NEW YORK WPLJ-FM
         CHICAGO, IL 60689-5335



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.853     Nonpriority creditor's name and mailing address                                                                                         $1,258.00

         CUMULUS RENO                                                    As of the petition filing date, the claim is:
         KKOH AM                                                         Check all that apply.
         3652 MOMENTUM PL
         CHICAGO, IL 60689-5336



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.854     Nonpriority creditor's name and mailing address                                                                                          $416.50

         CUMULUS-KNOXVILLE                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.855     Nonpriority creditor's name and mailing address                                                                                        $56,076.51

         CURVATURE INC                                                   As of the petition filing date, the claim is:
         14416 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.856     Nonpriority creditor's name and mailing address                                                                                         $8,996.83

         CURVATURE LLC                                                   As of the petition filing date, the claim is:
         6500 HOLLISTER AVE STE 210                                      Check all that apply.
         SANTA BARBARA, CA 93117




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.857     Nonpriority creditor's name and mailing address                                                                                      $607,846.53

         CUSHMAN & WAKEFIELD                                             As of the petition filing date, the claim is:
         8925 STERLING ST STE 260                                        Check all that apply.
         IRVING, TX 75063




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.858     Nonpriority creditor's name and mailing address                                                                                        $21,000.20

         CVENT INC                                                       As of the petition filing date, the claim is:
         POB 822699                                                      Check all that apply.
         PHILADELPHIA, PA 19182-2699




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.859     Nonpriority creditor's name and mailing address                                                                                        $10,782.00

         CW MATTHEWS CONTRACTING CO INC                                  As of the petition filing date, the claim is:
         1600 KENVIEW DR                                                 Check all that apply.
         MARIETTA, GA 30060
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.860     Nonpriority creditor's name and mailing address                                                                                        $11,176.23

         CYBERSOURCE CORPORATION                                         As of the petition filing date, the claim is:
         POB 8999                                                        Check all that apply.
         SAN FRANCISCO, CA 94128




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.861     Nonpriority creditor's name and mailing address                                                                                         $1,571.00

         CYCLE COLLECTIVE LLC                                            As of the petition filing date, the claim is:
         55 WATER ST FL 5                                                Check all that apply.
         BROOKLYN, NY 11201




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.862     Nonpriority creditor's name and mailing address                                                                                          $600.00

         CYRUS A MCNEAL                                                  As of the petition filing date, the claim is:
         427 MONROE ST APT B                                             Check all that apply.
         BROOKLYN, NY 11221




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.863     Nonpriority creditor's name and mailing address                                                                                         $5,093.50

         D J WINDOW TINTING INC                                          As of the petition filing date, the claim is:
         7408 PRESTON HWY                                                Check all that apply.
         LOUISVILLE, KY 40219
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.864     Nonpriority creditor's name and mailing address                                                                                               $32.23

         DAF MARKETING                                                   As of the petition filing date, the claim is:
         305 KNICKERBOCKER AVE STE 4                                     Check all that apply.
         BOHEMIA, NY 11716
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.865     Nonpriority creditor's name and mailing address                                                                                         $2,951.34

         DAF MARKETING                                                   As of the petition filing date, the claim is:
         305 KNICKERBOCKER AVE STE 4                                     Check all that apply.
         BOHEMIA, NY 11716




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.866     Nonpriority creditor's name and mailing address                                                                                          $160.00

         DAMRON CORPORATION                                              As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.867     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         DANA LYNN PLEASANT PHOTOGRAPHY                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.868     Nonpriority creditor's name and mailing address                                                                                               $50.00

         DANIELS OIL COMPANY INC                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.869     Nonpriority creditor's name and mailing address                                                                                         $3,818.36

         DANNY WIMMER PRESENTS LLC                                       As of the petition filing date, the claim is:
         10350 SANTA MONICA BLVD #350                                    Check all that apply.
         LOS ANGELES, CA 90025
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.870     Nonpriority creditor's name and mailing address                                                                                         $2,917.00

         DATA-TELE CONTRACTORS INC                                       As of the petition filing date, the claim is:
         657 MAPLE AVE                                                   Check all that apply.
         RIDGFIELD, NJ 07657




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.871     Nonpriority creditor's name and mailing address                                                                                          $747.45

         DATABANK                                                        As of the petition filing date, the claim is:
         PO BOX 7322                                                     Check all that apply.
         DALLAS, TX 84065




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.872     Nonpriority creditor's name and mailing address                                                                                          $642.11

         DATACHAMBERS, LLC                                               As of the petition filing date, the claim is:
         CONTROLLERS DEPT.                                               Check all that apply.
         331 OLD LEXINGTON RD
         WINSTON-SALEM, NC 27107



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.873     Nonpriority creditor's name and mailing address                                                                                         $3,122.91

         DATADOG INC                                                     As of the petition filing date, the claim is:
         ATTN AR                                                         Check all that apply.
         620 8TH AVE FL 45
         NEW YORK, NY 10018-1741



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.874     Nonpriority creditor's name and mailing address                                                                                         $1,968.20

         DAVID A BANKS INC                                               As of the petition filing date, the claim is:
         25268 GOV STOCKLEY RD                                           Check all that apply.
         GEORGETOWN, DE 19947
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.875     Nonpriority creditor's name and mailing address                                                                                         $4,300.00

         DAVID BRIGGS ENTERPRISES INC DBA JAZZ CITY ADVERTISING          As of the petition filing date, the claim is:
         641 PAPWORTH AVE                                                Check all that apply.
         METAIRLE, LA 70005
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.876     Nonpriority creditor's name and mailing address                                                                                        $10,758.00

         DAVIS WRIGHT TREMAINE LLP                                       As of the petition filing date, the claim is:
         1201 THIRD AVE STE 2200                                         Check all that apply.
         SEATTLE, WA 98101-3045




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.877     Nonpriority creditor's name and mailing address                                                                                         $1,128.00

         DAY ENTERPRISES LP                                              As of the petition filing date, the claim is:
         774 WISSLER RD                                                  Check all that apply.
         QUICKSBURG, VA 22847
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.878     Nonpriority creditor's name and mailing address                                                                                         $2,671.76

         DB VIDEO LLC                                                    As of the petition filing date, the claim is:
         632 W IRIS DR #B                                                Check all that apply.
         NASHVILLE, TN 37204




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.879     Nonpriority creditor's name and mailing address                                                                                         $1,165.00

         DBS SOUND AND LIGHTING LLC                                      As of the petition filing date, the claim is:
         7142 SLAUSON AVE                                                Check all that apply.
         COMMERCE, CA 90040




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.880     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         DCPRODUCTIONS INC                                               As of the petition filing date, the claim is:
         1015 BURCHWOOD AVE                                              Check all that apply.
         NASHVILLE, TN 37216




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.881     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         DDR DB STONE OAK MRKT FUND                                      As of the petition filing date, the claim is:
         POB 228042                                                      Check all that apply.
         3300 ENTERPRISE PKWY
         BEACHWOOD, OH 44122                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.882     Nonpriority creditor's name and mailing address                                                                                         $6,238.20

         DEBRA-KUEMPEL                                                   As of the petition filing date, the claim is:
         POB 701620                                                      Check all that apply.
         CINCINNATI, OH 45270-1620




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.883     Nonpriority creditor's name and mailing address                                                                                               $26.00

         DEFIANCE CITY INCOME TAX DEPT                                   As of the petition filing date, the claim is:
         POB 669                                                         Check all that apply.
         DEFIANCE, OH 43512
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.884     Nonpriority creditor's name and mailing address                                                                                          $647.68

         DELAWARE DIV OF REVENUE ATTNMS#1 TW                             As of the petition filing date, the claim is:
         POB 8717                                                        Check all that apply.
         WILMINGTON, DE 19899
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.885     Nonpriority creditor's name and mailing address                                                                                         $1,900.00

         DELAWARE ELECTRIC COOPERATIVE                                   As of the petition filing date, the claim is:
         POB 600                                                         Check all that apply.
         GREENWOOD, DE 19950
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.886     Nonpriority creditor's name and mailing address                                                                                        $69,062.19

         DELOITTE CONSULTING LLP                                         As of the petition filing date, the claim is:
         LBX #844717                                                     Check all that apply.
         1950 N STEMMONS FWY STE 5010
         DALLAS, TX 75207



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.887     Nonpriority creditor's name and mailing address                                                                                        $11,917.72

         DELTACOM 1058                                                   As of the petition filing date, the claim is:
         POB 2252                                                        Check all that apply.
         BIRMINGHAM, AL 35246-1058




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.888     Nonpriority creditor's name and mailing address                                                                                         $1,675.00

         DENNEMEYER                                                      As of the petition filing date, the claim is:
         2 N RIVERSIDE PLZ STE 1500                                      Check all that apply.
         CHICAGO, IL 60606




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.889     Nonpriority creditor's name and mailing address                                                                                         $2,146.00

         DENTISTRY BY DESIGN                                             As of the petition filing date, the claim is:
         DR LELAND JUDD                                                  Check all that apply.
         4831 LARSON BEACH RD
         MCFARLAND, WI 53558                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.890     Nonpriority creditor's name and mailing address                                                                                          $200.00

         DEPARTMENT OF JUSTICE                                           As of the petition filing date, the claim is:
         303 MARCONI BLVD STE 200                                        Check all that apply.
         COLUMBUS, OH 43215
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.891     Nonpriority creditor's name and mailing address                                                                                         $4,499.97

         DEROSA MEDICAL PC                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.892     Nonpriority creditor's name and mailing address                                                                                         $1,381.25

         DESAUTEL HEGE                                                   As of the petition filing date, the claim is:
         315 W RIVERSIDE STE 200                                         Check all that apply.
         SPOKANE, WA 99201
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.893     Nonpriority creditor's name and mailing address                                                                                         $2,163.30

         DEVELOPER MARKETING AND MANAGEMENT CO LL                        As of the petition filing date, the claim is:
         1381 WALD RD B                                                  Check all that apply.
         NEW BRAUNFELS, TX 78132
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.894     Nonpriority creditor's name and mailing address                                                                                         $1,720.00

         DEWBERRY FARM LLC                                               As of the petition filing date, the claim is:
         POB 1489                                                        Check all that apply.
         BROOKSHIRE, TX 77423
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.895     Nonpriority creditor's name and mailing address                                                                                          $370.00

         DEX MEDIA                                                       As of the petition filing date, the claim is:
         POB 619009                                                      Check all that apply.
         DFW AIRPORT, TX 75261-9009




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.896     Nonpriority creditor's name and mailing address                                                                                         $2,319.00

         DFW VAPOR                                                       As of the petition filing date, the claim is:
         720 VALLEY RIDGE CIR 20                                         Check all that apply.
         LEWISVILLE, TX 75057
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.897     Nonpriority creditor's name and mailing address                                                                                         $2,528.58

         DIGICERT INC                                                    As of the petition filing date, the claim is:
         2801 N THANKSGIVING WAY STE 500                                 Check all that apply.
         LEHI, UT 84043




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.898     Nonpriority creditor's name and mailing address                                                                                         $2,013.70

         DIRECTEMPLOYERS                                                 As of the petition filing date, the claim is:
         9002 N PURDUE RD STE 100                                        Check all that apply.
         INDIANAPOLIS, IN 46268




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.899     Nonpriority creditor's name and mailing address                                                                                         $6,300.00

         DIRECTOR OF THE USPTO                                           As of the petition filing date, the claim is:
         ATTN DEPOSIT ACCOUNTS                                           Check all that apply.
         2051 JAMIESON AVE STE 300
         ALEXANDRIA, VA 22314



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.900     Nonpriority creditor's name and mailing address                                                                                          $144.56

         DIRECTV                                                         As of the petition filing date, the claim is:
         PO BOX 15249                                                    Check all that apply.
         ATLANTA, GA 30348-5249




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.901     Nonpriority creditor's name and mailing address                                                                                         $9,484.29

         DIRECTV INC                                                     As of the petition filing date, the claim is:
         POB 105249                                                      Check all that apply.
         ATLANTA, GA 30348-5249




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.902     Nonpriority creditor's name and mailing address                                                                                          $218.35

         DISH                                                            As of the petition filing date, the claim is:
         POB 94063                                                       Check all that apply.
         PALATINE, IL 60094-4063




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.903     Nonpriority creditor's name and mailing address                                                                                         $9,974.35

         DLA PIPER US LLP                                                As of the petition filing date, the claim is:
         POB 75190                                                       Check all that apply.
         BALTIMORE, MD 21275




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.904     Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         DLR RESTAURANTS LLC                                             As of the petition filing date, the claim is:
         611 COMMERCE ST STE 2911                                        Check all that apply.
         NASHVILLE, TN 37203
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.905     Nonpriority creditor's name and mailing address                                                                                         $1,368.50

         DOLABANY COMMUNCATIONS GROUP                                    As of the petition filing date, the claim is:
         325 WOOD RD STE 104                                             Check all that apply.
         BRAINTREE, MA 02184
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.906     Nonpriority creditor's name and mailing address                                                                                          $510.00

         DOROTA KOSCIELNIAK                                              As of the petition filing date, the claim is:
         13408 S 88TH AVE                                                Check all that apply.
         ORLAND PARK, IL 60462




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.907     Nonpriority creditor's name and mailing address                                                                                         $4,196.46

         DOUBLEVERIFY INC                                                As of the petition filing date, the claim is:
         POB 392268                                                      Check all that apply.
         PITTSBURGH, PA 15251-9268




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.908     Nonpriority creditor's name and mailing address                                                                                         $1,696.00

         DOW AGROSCIENCES                                                As of the petition filing date, the claim is:
         6750 WESTOWN PKWY                                               Check all that apply.
         WEST DES MOINES, IA 50266
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.909     Nonpriority creditor's name and mailing address                                                                                        $15,000.00

         DOW JONES & COMPANY                                             As of the petition filing date, the claim is:
         HARBORSIDE FINANCIAL CTR                                        Check all that apply.
         800 PLAZA TWO
         JERSEY CITY, NJ 07311



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.910     Nonpriority creditor's name and mailing address                                                                                         $4,575.00

         DOWNTOWN TRAVEL INC DBA CRUISE & TOUR                           As of the petition filing date, the claim is:
         POB 398                                                         Check all that apply.
         WATERFORD, WI 53185
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.911     Nonpriority creditor's name and mailing address                                                                                         $1,810.78

         DR FORTRESS, LLC                                                As of the petition filing date, the claim is:
         3375 KOAPAKA STREET                                             Check all that apply.
         STE D198
         HONOLULU, HI 96819



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.912     Nonpriority creditor's name and mailing address                                                                                         $5,090.00

         DR MEMAR DERMATOLOGY                                            As of the petition filing date, the claim is:
         50 E WASHINGTON ST STE 200                                      Check all that apply.
         CHICAGO, IL 60602
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.913     Nonpriority creditor's name and mailing address                                                                                        $23,778.30

         DR2MARKETING                                                    As of the petition filing date, the claim is:
         62 MAIN ST STE 110                                              Check all that apply.
         COLLEYVILLE, TX 76034
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.914     Nonpriority creditor's name and mailing address                                                                                         $6,809.64

         DROPBOX                                                         As of the petition filing date, the claim is:
         DEPT LA 24086                                                   Check all that apply.
         PASADENA, CA 91185-4086




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.915     Nonpriority creditor's name and mailing address                                                                                         $1,445.00

         DRURY UNIVERSITY                                                As of the petition filing date, the claim is:
         900 N BENTON AVE                                                Check all that apply.
         SPRINGFIELD, MO 65802-3791
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.916     Nonpriority creditor's name and mailing address                                                                                        $31,549.83

         DSG INTERNATIONAL                                               As of the petition filing date, the claim is:
         105 EUCALYPTUS DR                                               Check all that apply.
         EL SEGUNDO, CA 90245




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.917     Nonpriority creditor's name and mailing address                                                                                          $500.00

         DTS INC                                                         As of the petition filing date, the claim is:
         5220 LAS VIRGENES RD                                            Check all that apply.
         CALABASAS, CA 91302




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.918     Nonpriority creditor's name and mailing address                                                                                        $12,500.00

         DUCERA PARTNERS LLC                                             As of the petition filing date, the claim is:
         499 PARK AVE 16TH FL                                            Check all that apply.
         NEW YORK, NY 10022
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.919     Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         DUCHARME MCMILLEN & ASSOCIATES INC                              As of the petition filing date, the claim is:
         POB 914                                                         Check all that apply.
         MIDDLETOWN, OH 45044-0914




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.920     Nonpriority creditor's name and mailing address                                                                                         $4,843.83

         DUKE ENERGY                                                     As of the petition filing date, the claim is:
         POB 1004                                                        Check all that apply.
         CHARLOTTE, NC 28201-1004




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.921     Nonpriority creditor's name and mailing address                                                                                      $117,537.60

         DUN & BRADSTREET                                                As of the petition filing date, the claim is:
         POB 75434                                                       Check all that apply.
         CHICAGO, IL 60675-5434




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.922     Nonpriority creditor's name and mailing address                                                                                         $1,700.00

         DX MEDIA DIRECT                                                 As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         3514 ELM BOTTOM CIR
         AUBREY, TX 76227                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.923     Nonpriority creditor's name and mailing address                                                                                          $300.00

         DYKEMA GOSSETT PLLC                                             As of the petition filing date, the claim is:
         400 RENAISSANCE CENTER                                          Check all that apply.
         38TH FL - ACCOUNTING
         DETROIT, MI 48243



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.924     Nonpriority creditor's name and mailing address                                                                                      $157,719.00

         DYNAMIC LOGIC                                                   As of the petition filing date, the claim is:
         POB 7247-7413                                                   Check all that apply.
         PHILADELPHIA, PA 19170-7413




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.925     Nonpriority creditor's name and mailing address                                                                                          $650.55

         E-XPEDIENT                                                      As of the petition filing date, the claim is:
         PO BOX 64529                                                    Check all that apply.
         PITTSBURGH, PA 15264-5209




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.926     Nonpriority creditor's name and mailing address                                                                                         $1,096.98

         EARTHLINK BUSINESS                                              As of the petition filing date, the claim is:
         POB 88104                                                       Check all that apply.
         CHICAGO, IL 60680-1104




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.927     Nonpriority creditor's name and mailing address                                                                                          $200.00

         EASYSTREET                                                      As of the petition filing date, the claim is:
         PO BOX 4544                                                     Check all that apply.
         PORTLAND, OR 97208-4544




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.928     Nonpriority creditor's name and mailing address                                                                                         $2,015.00

         EBY-BROWN COMPANY LLC                                           As of the petition filing date, the claim is:
         1415 W DIEHL RD STE 300 N                                       Check all that apply.
         NAPERVILLE, IL 60583-1197
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.929     Nonpriority creditor's name and mailing address                                                                                         $3,349.89

         ECOGUARD PEST CONTROL                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.930     Nonpriority creditor's name and mailing address                                                                                          $150.75

         EDELMAN FINANCIAL SERVICES LLC                                  As of the petition filing date, the claim is:
         ATTN ACCTS RCVBL                                                Check all that apply.
         4000 LEGATO RD FL 9
         FAIRFAX, VA 22033-4055                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.931     Nonpriority creditor's name and mailing address                                                                                         $6,908.00

         EDNY ASSOCIATES INC                                             As of the petition filing date, the claim is:
         204 E 83RD ST 2ND FL                                            Check all that apply.
         NEW YORK, NY 10028




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.932     Nonpriority creditor's name and mailing address                                                                                          $200.00

         EDUCATION CORPORATION OF AMERICA                                As of the petition filing date, the claim is:
         MEDICAL CAREER CENTER                                           Check all that apply.
         3660 GRANDVIEW PKWY STE 300
         BIRMINGHAM, AL 35243                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.933     Nonpriority creditor's name and mailing address                                                                                         $8,352.00

         EDUCATIONAL PLAY CARE LTD                                       As of the petition filing date, the claim is:
         POB 129                                                         Check all that apply.
         WEST SIMSBURY, CT 06092
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.934     Nonpriority creditor's name and mailing address                                                                                         $2,092.50

         EGS CUSTOMER CARE INC                                           As of the petition filing date, the claim is:
         2201 WAUKEGAN RD 300                                            Check all that apply.
         BANNOCKBURN, IL 60015
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.935     Nonpriority creditor's name and mailing address                                                                                         $6,042.43

         ELDER BRAY & BANKLER PC                                         As of the petition filing date, the claim is:
         755 E MULBERRY STE 450                                          Check all that apply.
         SAN ANTONIO, TX 78212




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.936     Nonpriority creditor's name and mailing address                                                                                        $59,404.91

         ELECTRA LINK INC                                                As of the petition filing date, the claim is:
         POB 4346 DEPT 467                                               Check all that apply.
         HOUSTON, TX 77210-4346




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.937     Nonpriority creditor's name and mailing address                                                                                        $30,000.00

         ELEVATE RECRUITING GROUP                                        As of the petition filing date, the claim is:
         ATTN ACCOUNTS PAYABLE                                           Check all that apply.
         POB 977
         SUN VALLEY, ID 83353



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.938     Nonpriority creditor's name and mailing address                                                                                         $1,190.00

         ELITE AIRWAYS LLC                                               As of the petition filing date, the claim is:
         4607 LAKEVIEW CANYON RD #588                                    Check all that apply.
         WESTLAKE VILLAGE, CA 91361
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.939     Nonpriority creditor's name and mailing address                                                                                        $24,000.00

         ELITE ANALYTICS LLC                                             As of the petition filing date, the claim is:
         11782 JOLLYVILLE RD STE 216                                     Check all that apply.
         AUSTIN, TX 78759
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.940     Nonpriority creditor's name and mailing address                                                                                          $191.13

         ELLIOTT ELECTRIC SUPPLY INC                                     As of the petition filing date, the claim is:
         POB 206524                                                      Check all that apply.
         DALLAS, TX 75320-6524




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.941     Nonpriority creditor's name and mailing address                                                                                          $288.38

         EMBARQ UNITED TELE OF OHIO-11                                   As of the petition filing date, the claim is:
         CARRIER ACCESS BILLING                                          Check all that apply.
         POB 4648
         MONROE, LA 71211-4648



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.942     Nonpriority creditor's name and mailing address                                                                                         $1,202.11

         EMERSON GROUP                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.943     Nonpriority creditor's name and mailing address                                                                                        $15,599.99

         EMG                                                             As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.944     Nonpriority creditor's name and mailing address                                                                                        $18,299.71

         EMG                                                             As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.945     Nonpriority creditor's name and mailing address                                                                                               $24.00

         EMI RESEARCH SOLUTIONS                                          As of the petition filing date, the claim is:
         8280 MONTGOMERY RD STE 200                                      Check all that apply.
         CINCINNATI, OH 45236




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.946     Nonpriority creditor's name and mailing address                                                                                        $39,150.00

         EMMIS OPERATING CO                                              As of the petition filing date, the claim is:
         25673 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1256




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.947     Nonpriority creditor's name and mailing address                                                                                          $735.00

         EMPIRE DISTRIBUTORS INC                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.948     Nonpriority creditor's name and mailing address                                                                                        $23,465.23

         EMPLOYEE NAME ON FILE 2017-2782877                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.949     Nonpriority creditor's name and mailing address                                                                                         $4,056.02

         EMPLOYEE NAME ON FILE 2017-2783238                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.950     Nonpriority creditor's name and mailing address                                                                                         $4,046.21

         EMPLOYEE NAME ON FILE 2017-2783340                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.951     Nonpriority creditor's name and mailing address                                                                                               $99.64

         EMPLOYEE NAME ON FILE 2017-2784241                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.952     Nonpriority creditor's name and mailing address                                                                                        $25,323.54

         EMPLOYEE NAME ON FILE 2017-2784256                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.953     Nonpriority creditor's name and mailing address                                                                                         $4,007.71

         EMPLOYEE NAME ON FILE 2017-2784264                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.954     Nonpriority creditor's name and mailing address                                                                                          $837.49

         EMPLOYEE NAME ON FILE 2017-2784340                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.955     Nonpriority creditor's name and mailing address                                                                                        $22,759.93

         EMPLOYEE NAME ON FILE 2017-2784614                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.956     Nonpriority creditor's name and mailing address                                                                                               $18.66

         EMPLOYEE NAME ON FILE 2017-2784623                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.957     Nonpriority creditor's name and mailing address                                                                                        $81,371.48

         EMPLOYEE NAME ON FILE 2017-2784679                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.958     Nonpriority creditor's name and mailing address                                                                                         $4,007.71

         EMPLOYEE NAME ON FILE 2017-2784835                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.959     Nonpriority creditor's name and mailing address                                                                                         $3,916.46

         EMPLOYEE NAME ON FILE 2017-2784839                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.960     Nonpriority creditor's name and mailing address                                                                                         $7,056.33

         EMPLOYEE NAME ON FILE 2017-2784900                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.961     Nonpriority creditor's name and mailing address                                                                                        $18,554.71

         EMPLOYEE NAME ON FILE 2017-2784949                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.962     Nonpriority creditor's name and mailing address                                                                                          $152.55

         EMPLOYEE NAME ON FILE 2017-2784979                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.963     Nonpriority creditor's name and mailing address                                                                                          $608.45

         EMPLOYEE NAME ON FILE 2017-2785035                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.964     Nonpriority creditor's name and mailing address                                                                                          $192.33

         EMPLOYEE NAME ON FILE 2017-2785040                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.965     Nonpriority creditor's name and mailing address                                                                                        $24,182.70

         EMPLOYEE NAME ON FILE 2017-2785094                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.966     Nonpriority creditor's name and mailing address                                                                                         $3,627.50

         EMPLOYEE NAME ON FILE 2017-2785274                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.967     Nonpriority creditor's name and mailing address                                                                                          $186.26

         EMPLOYEE NAME ON FILE 2017-2785356                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.968     Nonpriority creditor's name and mailing address                                                                                        $24,239.19

         EMPLOYEE NAME ON FILE 2017-2785404                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.969     Nonpriority creditor's name and mailing address                                                                                        $16,892.92

         EMPLOYEE NAME ON FILE 2017-2785475                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.970     Nonpriority creditor's name and mailing address                                                                                        $23,771.48

         EMPLOYEE NAME ON FILE 2017-2785500                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.971     Nonpriority creditor's name and mailing address                                                                                        $21,242.60

         EMPLOYEE NAME ON FILE 2017-2785531                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.972     Nonpriority creditor's name and mailing address                                                                                        $20,897.22

         EMPLOYEE NAME ON FILE 2017-2785607                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.973     Nonpriority creditor's name and mailing address                                                                                               $51.02

         EMPLOYEE NAME ON FILE 2017-2785630                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.974     Nonpriority creditor's name and mailing address                                                                                        $27,817.69

         EMPLOYEE NAME ON FILE 2017-2785932                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.975     Nonpriority creditor's name and mailing address                                                                                         $5,698.10

         EMPLOYEE NAME ON FILE 2017-2786012                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.976     Nonpriority creditor's name and mailing address                                                                                               $18.66

         EMPLOYEE NAME ON FILE 2017-2786022                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.977     Nonpriority creditor's name and mailing address                                                                                                $3.00

         EMPLOYEE NAME ON FILE 2017-2786033                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.978     Nonpriority creditor's name and mailing address                                                                                        $15,161.26

         EMPLOYEE NAME ON FILE 2017-2786078                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.979     Nonpriority creditor's name and mailing address                                                                                               $63.88

         EMPLOYEE NAME ON FILE 2017-2786247                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.980     Nonpriority creditor's name and mailing address                                                                                         $8,064.38

         EMPLOYEE NAME ON FILE 2017-2786340                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.981     Nonpriority creditor's name and mailing address                                                                                        $21,046.39

         EMPLOYEE NAME ON FILE 2017-2786390                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.982     Nonpriority creditor's name and mailing address                                                                                           $577.28

         EMPLOYEE NAME ON FILE 2017-2786399                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.983     Nonpriority creditor's name and mailing address                                                                                               $30.99

         EMPLOYEE NAME ON FILE 2017-2786452                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.984     Nonpriority creditor's name and mailing address                                                                                         $4,189.96

         EMPLOYEE NAME ON FILE 2017-2786606                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.985     Nonpriority creditor's name and mailing address                                                                                        $15,105.64

         EMPLOYEE NAME ON FILE 2017-2786897                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.986     Nonpriority creditor's name and mailing address                                                                                         $3,527.42

         EMPLOYEE NAME ON FILE 2017-2787025                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.987     Nonpriority creditor's name and mailing address                                                                                         $2,918.58

         EMPLOYEE NAME ON FILE 2017-2787072                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.988     Nonpriority creditor's name and mailing address                                                                                           $274.98

         EMPLOYEE NAME ON FILE 2017-2787123                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.989     Nonpriority creditor's name and mailing address                                                                                         $2,603.67

         EMPLOYEE NAME ON FILE 2017-2787157                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.990     Nonpriority creditor's name and mailing address                                                                                        $27,591.42

         EMPLOYEE NAME ON FILE 2017-2787183                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.991     Nonpriority creditor's name and mailing address                                                                                        $21,594.97

         EMPLOYEE NAME ON FILE 2017-2787235                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.992     Nonpriority creditor's name and mailing address                                                                                         $1,593.58

         EMPLOYEE NAME ON FILE 2017-2787263                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.993     Nonpriority creditor's name and mailing address                                                                                          $112.06

         EMPLOYEE NAME ON FILE 2017-2787389                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.994     Nonpriority creditor's name and mailing address                                                                                        $23,771.48

         EMPLOYEE NAME ON FILE 2017-2787528                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.995     Nonpriority creditor's name and mailing address                                                                                          $306.47

         EMPLOYEE NAME ON FILE 2017-2787737                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.996     Nonpriority creditor's name and mailing address                                                                                        $27,205.53

         EMPLOYEE NAME ON FILE 2017-2787952                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.997     Nonpriority creditor's name and mailing address                                                                                        $17,561.18

         EMPLOYEE NAME ON FILE 2017-2788209                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.998     Nonpriority creditor's name and mailing address                                                                                        $45,483.78

         EMPLOYEE NAME ON FILE 2017-2788220                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.999     Nonpriority creditor's name and mailing address                                                                                          $343.52

         EMPLOYEE NAME ON FILE 2017-2788240                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1000    Nonpriority creditor's name and mailing address                                                                                         $6,412.34

         EMPLOYEE NAME ON FILE 2017-2788413                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1001    Nonpriority creditor's name and mailing address                                                                                        $23,402.42

         EMPLOYEE NAME ON FILE 2017-2788425                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1002    Nonpriority creditor's name and mailing address                                                                                        $16,159.46

         EMPLOYEE NAME ON FILE 2017-2788450                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1003    Nonpriority creditor's name and mailing address                                                                                         $8,079.73

         EMPLOYEE NAME ON FILE 2017-2788471                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1004    Nonpriority creditor's name and mailing address                                                                                         $6,736.07

         EMPLOYEE NAME ON FILE 2017-2788516                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1005    Nonpriority creditor's name and mailing address                                                                                          $440.61

         EMPLOYEE NAME ON FILE 2017-2788727                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1006    Nonpriority creditor's name and mailing address                                                                                        $20,231.04

         EMPLOYEE NAME ON FILE 2017-2788742                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1007    Nonpriority creditor's name and mailing address                                                                                               $62.41

         EMPLOYEE NAME ON FILE 2017-2788746                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1008    Nonpriority creditor's name and mailing address                                                                                          $806.76

         EMPLOYEE NAME ON FILE 2017-2788752                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1009    Nonpriority creditor's name and mailing address                                                                                               $21.10

         EMPLOYEE NAME ON FILE 2017-2788814                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1010    Nonpriority creditor's name and mailing address                                                                                          $396.29

         EMPLOYEE NAME ON FILE 2017-2788883                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1011    Nonpriority creditor's name and mailing address                                                                                         $4,258.21

         EMPLOYEE NAME ON FILE 2017-2788950                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1012    Nonpriority creditor's name and mailing address                                                                                        $10,557.16

         EMPLOYEE NAME ON FILE 2017-2788962                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1013    Nonpriority creditor's name and mailing address                                                                                        $19,719.75

         EMPLOYEE NAME ON FILE 2017-2789165                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1014    Nonpriority creditor's name and mailing address                                                                                        $19,391.35

         EMPLOYEE NAME ON FILE 2017-2789405                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1015    Nonpriority creditor's name and mailing address                                                                                        $24,239.19

         EMPLOYEE NAME ON FILE 2017-2789430                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1016    Nonpriority creditor's name and mailing address                                                                                        $23,265.70

         EMPLOYEE NAME ON FILE 2017-2789488                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1017    Nonpriority creditor's name and mailing address                                                                                           $280.05

         EMPLOYEE NAME ON FILE 2017-2789607                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1018    Nonpriority creditor's name and mailing address                                                                                        $49,609.20

         EMPLOYEE NAME ON FILE 2017-2789617                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1019    Nonpriority creditor's name and mailing address                                                                                         $6,843.75

         EMPLOYEE NAME ON FILE 2017-2789623                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1020    Nonpriority creditor's name and mailing address                                                                                         $7,756.25

         EMPLOYEE NAME ON FILE 2017-2789636                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1021    Nonpriority creditor's name and mailing address                                                                                         $6,451.50

         EMPLOYEE NAME ON FILE 2017-2790226                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1022    Nonpriority creditor's name and mailing address                                                                                         $6,221.64

         EMPLOYEE NAME ON FILE 2017-2790295                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1023    Nonpriority creditor's name and mailing address                                                                                        $22,623.24

         EMPLOYEE NAME ON FILE 2017-2790297                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1024    Nonpriority creditor's name and mailing address                                                                                          $409.25

         EMPLOYEE NAME ON FILE 2017-2790637                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1025    Nonpriority creditor's name and mailing address                                                                                         $5,367.73

         EMPLOYEE NAME ON FILE 2017-2791131                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1026    Nonpriority creditor's name and mailing address                                                                                        $35,156.60

         EMPLOYEE NAME ON FILE 2017-2792155                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1027    Nonpriority creditor's name and mailing address                                                                                        $52,898.00

         EMPLOYEE NAME ON FILE 2017-2793918                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1028    Nonpriority creditor's name and mailing address                                                                                        $13,555.59

         EMPLOYEE NAME ON FILE 2017-2798964                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Outstanding Severance Balance as of April Month End

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1029    Nonpriority creditor's name and mailing address                                                                                         $2,830.36

         EMPLOYEE NAME ON FILE 2017-2801000                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1030    Nonpriority creditor's name and mailing address                                                                                         $4,687.41

         EMPLOYEE NAME ON FILE 2018-620859                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1031    Nonpriority creditor's name and mailing address                                                                                         $7,260.52

         EMPLOYEE NAME ON FILE 2018-620860                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1032    Nonpriority creditor's name and mailing address                                                                                         $9,929.83

         EMPLOYEE NAME ON FILE 2018-620861                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1033    Nonpriority creditor's name and mailing address                                                                                        $12,163.74

         EMPLOYEE NAME ON FILE 2018-620862                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1034    Nonpriority creditor's name and mailing address                                                                                         $9,775.04

         EMPLOYEE NAME ON FILE 2018-620863                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1035    Nonpriority creditor's name and mailing address                                                                                        $12,561.34

         EMPLOYEE NAME ON FILE 2018-620864                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1036    Nonpriority creditor's name and mailing address                                                                                         $1,218.90

         EMPORIUM PRESENTS                                               As of the petition filing date, the claim is:
         3819 SENTINEL DR                                                Check all that apply.
         NASHVILLE, TN 37209
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1037    Nonpriority creditor's name and mailing address                                                                                               $93.79

         EPB FIBER OPTICS                                                As of the petition filing date, the claim is:
         POB 182251                                                      Check all that apply.
         CHATTANOOGA, TN 37422-7251




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1038    Nonpriority creditor's name and mailing address                                                                                         $1,127.08

         EQUINIX, INC.                                                   As of the petition filing date, the claim is:
         4252 SOLUTIONS CENTER                                           Check all that apply.
         CHICAGO, IL 60677-4002




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1039    Nonpriority creditor's name and mailing address                                                                                         $1,993.00

         EQUIPMENT DEPOT                                                 As of the petition filing date, the claim is:
         POB 974287                                                      Check all that apply.
         DALLAS, TX 75397
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1040    Nonpriority creditor's name and mailing address                                                                                         $1,886.21

         ERB TRANSPORT                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1041    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         ERIC MATTHEW VAJDA                                              As of the petition filing date, the claim is:
         E-V PRODUCTIONS LLC                                             Check all that apply.
         3804 FRANKLIN BLVD
         CLEVELAND, OH 44113



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1042    Nonpriority creditor's name and mailing address                                                                                        $35,198.00

         ESPLANADE BUILDERS INC                                          As of the petition filing date, the claim is:
         23820 HAWTHORNE BLVD STE 100 - 101                              Check all that apply.
         TORRANCE, CA 90505




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1043    Nonpriority creditor's name and mailing address                                                                                        $43,559.20

         EVAN M GREENSPAN INC                                            As of the petition filing date, the claim is:
         LICENSE ACCOUNT                                                 Check all that apply.
         4181 SUNSWEPT DR 2ND FL
         STUDIO CITY, CA 91604



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1044    Nonpriority creditor's name and mailing address                                                                                         $1,700.00

         EVERLASTING INC                                                 As of the petition filing date, the claim is:
         1850 S STEWART AVE                                              Check all that apply.
         SPRINGFIELD, MO 65804
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1045    Nonpriority creditor's name and mailing address                                                                                         $3,960.00

         EXCELLERENT TECHNOLOGY SOLUTIONS INC                            As of the petition filing date, the claim is:
         875 GREENTREE RD                                                Check all that apply.
         7 PKWY CENTER STE 180
         PITTSBURGH, PA 15220



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1046    Nonpriority creditor's name and mailing address                                                                                         $1,482.50

         EXECUTIVE MOTORS                                                As of the petition filing date, the claim is:
         8967 NW 182ND TER                                               Check all that apply.
         HIALEAH, FL 33018
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1047    Nonpriority creditor's name and mailing address                                                                                        $29,335.02

         EXECUTIVE/MANAGER 069                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1048    Nonpriority creditor's name and mailing address                                                                                        $35,493.14

         EXECUTIVE/MANAGER 087                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1049    Nonpriority creditor's name and mailing address                                                                                        $10,572.80

         EXECUTIVE/MANAGER 088                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1050    Nonpriority creditor's name and mailing address                                                                                         $6,310.11

         EXECUTIVE/MANAGER 105                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1051    Nonpriority creditor's name and mailing address                                                                                         $5,059.98

         EXECUTIVE/MANAGER 116                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1052    Nonpriority creditor's name and mailing address                                                                                         $4,050.07

         EXECUTIVE/MANAGER 134                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1053    Nonpriority creditor's name and mailing address                                                                                        $11,890.05

         EXECUTIVE/MANAGER 136                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1054    Nonpriority creditor's name and mailing address                                                                                         $4,007.71

         EXECUTIVE/MANAGER 137                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1055    Nonpriority creditor's name and mailing address                                                                                         $9,618.50

         EXECUTIVE/MANAGER 138                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1056    Nonpriority creditor's name and mailing address                                                                                         $9,620.98

         EXECUTIVE/MANAGER 139                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1057    Nonpriority creditor's name and mailing address                                                                                        $37,933.21

         EXECUTIVE/MANAGER 272                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1058    Nonpriority creditor's name and mailing address                                                                                         $5,372.12

         EXECUTIVE/MANAGER 277                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1059    Nonpriority creditor's name and mailing address                                                                                         $2,887.61

         EXECUTIVE/MANAGER 284                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1060    Nonpriority creditor's name and mailing address                                                                                        $30,228.37

         EXECUTIVE/MANAGER 308                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1061    Nonpriority creditor's name and mailing address                                                                                        $11,342.96

         EXECUTIVE/MANAGER 322                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1062    Nonpriority creditor's name and mailing address                                                                                        $35,268.10

         EXECUTIVE/MANAGER 385                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1063    Nonpriority creditor's name and mailing address                                                                                        $13,018.60

         EXECUTIVE/MANAGER 394                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1064    Nonpriority creditor's name and mailing address                                                                                        $13,062.72

         EXECUTIVE/MANAGER 405                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1065    Nonpriority creditor's name and mailing address                                                                                        $28,867.75

         EXECUTIVE/MANAGER 450                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1066    Nonpriority creditor's name and mailing address                                                                                        $32,875.45

         EXECUTIVE/MANAGER 455                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1067    Nonpriority creditor's name and mailing address                                                                                         $6,156.97

         EXECUTIVE/MANAGER 471                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1068    Nonpriority creditor's name and mailing address                                                                                         $5,696.82

         EXECUTIVE/MANAGER 486                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1069    Nonpriority creditor's name and mailing address                                                                                        $30,346.57

         EXECUTIVE/MANAGER 489                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1070    Nonpriority creditor's name and mailing address                                                                                               $1.05

         EXELL COMPANIES                                                 As of the petition filing date, the claim is:
         POB 5393                                                        Check all that apply.
         JACKSON, MS 39296-5393




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1071    Nonpriority creditor's name and mailing address                                                                                         $1,666.00

         EXPLORE COMMUNICATIONS                                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1072    Nonpriority creditor's name and mailing address                                                                                         $5,426.94

         EXPRESS                                                         As of the petition filing date, the claim is:
         9155 TRADE PL                                                   Check all that apply.
         SAN DIEGO, CA 92126




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1073    Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         EYE CARE ONE                                                    As of the petition filing date, the claim is:
         3152 WASHINGTON RD                                              Check all that apply.
         ATTN COLLEEN SYRIA
         AUGUSTA, GA 30907                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1074    Nonpriority creditor's name and mailing address                                                                                         $1,063.93

         EYECARE SERVICE PARTNERS MANAGEMENT                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1075    Nonpriority creditor's name and mailing address                                                                                         $8,472.25

         F R C ENTERPRISES INC                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1076    Nonpriority creditor's name and mailing address                                                                                         $4,037.50

         F W R WISCONSIN LLC DBA VERLO MASTRESS FACOTRY STORES           As of the petition filing date, the claim is:
         301 N BROADWAY 300                                              Check all that apply.
         MILWAUKEE, WI 53202
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1077    Nonpriority creditor's name and mailing address                                                                                         $3,724.31

         FACE LITE COMMUNICATIONS                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1078    Nonpriority creditor's name and mailing address                                                                                         $1,099.34

         FAIRPOINT COMMUNICATIONS                                        As of the petition filing date, the claim is:
         POB 580028                                                      Check all that apply.
         CHARLOTTE, NC 28258-0028




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1079    Nonpriority creditor's name and mailing address                                                                                               $26.87

         FAIRPOINT COMMUNICATIONS                                        As of the petition filing date, the claim is:
         PO BOX 1121                                                     Check all that apply.
         LEWISTON, ME 63179-0086




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1080    Nonpriority creditor's name and mailing address                                                                                         $1,629.86

         FAITH CATHEDRAL FELLOWSHIP INC                                  As of the petition filing date, the claim is:
         POB 691                                                         Check all that apply.
         WALTERBORO, SC 29488
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1081    Nonpriority creditor's name and mailing address                                                                                         $1,750.00

         FANCY PANTS GROUP                                               As of the petition filing date, the claim is:
         ATTN LISA YU                                                    Check all that apply.
         145 W 28TH ST 4TH FL
         NEW YORK, NY 10001



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                           Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1082    Nonpriority creditor's name and mailing address                                                                                         $3,178.28

         FAST FORWARD GROUP LLC                                          As of the petition filing date, the claim is:
         34 REID AVE                                                     Check all that apply.
         PORT WASHINGTON, NY 11050




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1083    Nonpriority creditor's name and mailing address                                                                                      $312,198.98

         FASTLY INC                                                      As of the petition filing date, the claim is:
         475 BRANNAN ST STE 300                                          Check all that apply.
         SAN FRANCISCO, CA 94107




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1084    Nonpriority creditor's name and mailing address                                                                                         $3,825.00

         FASTPITCH PARTNERS LLC                                          As of the petition filing date, the claim is:
         ATTN STACY CORP                                                 Check all that apply.
         1575 FIRESTONE PKWY
         AKRON, OH 44301-1645                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1085    Nonpriority creditor's name and mailing address                                                                                      $184,361.90

         FATHERLY INC                                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1086    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         FCC ENFORCEMENT BUREAU FEDERAL COMMUNICATIONS                   As of the petition filing date, the claim is:
         COMMISSION                                                      Check all that apply.
         445 12TH STREET SW
         WASHINGTON, DC 20554                                             X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Telephone Rule

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1087    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         FCC ENFORCEMENT BUREAUFEDERAL COMMUNICATIONS                    As of the petition filing date, the claim is:
         COMMISSION                                                      Check all that apply.
         445 12TH STREET SW
         WASHINGTON, DC 20554                                             X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation Matter

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1088    Nonpriority creditor's name and mailing address                                                                                               $8.92

         FEARWORM                                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1089    Nonpriority creditor's name and mailing address                                                                                               $7.22

         FEDEX                                                           As of the petition filing date, the claim is:
         200 W 57TH ST                                                   Check all that apply.
         NEW YORK, NY 10019
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1090    Nonpriority creditor's name and mailing address                                                                                      $148,812.42

         FEDEX ERS                                                       As of the petition filing date, the claim is:
         ATTN EDI PAYMENT                                                Check all that apply.
         POB 371741
         PITTSBURGH, PA 15250-7741



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1091    Nonpriority creditor's name and mailing address                                                                                         $1,707.65

         FELD ENTERTAINMENT INC                                          As of the petition filing date, the claim is:
         ATTN MICHELLE WEIGHT A/P                                        Check all that apply.
         2001 US HWY 301
         PALMETTO, FL 34221                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1092    Nonpriority creditor's name and mailing address                                                                                          $384.05

         FIBER COMM                                                      As of the petition filing date, the claim is:
         POB 416                                                         Check all that apply.
         SIOUX CITY, IA 51102-0416




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1093    Nonpriority creditor's name and mailing address                                                                                          $424.06

         FIBERPIPE, INC.                                                 As of the petition filing date, the claim is:
         10215 W. EMERALD DRIVE                                          Check all that apply.
         SUITE 160
         BOISE, ID 83704



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1094    Nonpriority creditor's name and mailing address                                                                                        $62,683.61

         FIDELITY INVESTMENTS INSTITUTIONAL                              As of the petition filing date, the claim is:
         OPERATIONS COMPANY INC                                          Check all that apply.
         POB 73307
         CHICAGO, IL 60673-7307
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1095    Nonpriority creditor's name and mailing address                                                                                          $615.40

         FIELD MARKETING SOLUTIONS                                       As of the petition filing date, the claim is:
         ATTN ACCOUNTS PAYABLE                                           Check all that apply.
         4651 BABCOCK ST NE
         PALM BAY, FL 32905                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1096    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         FINDLAY                                                         As of the petition filing date, the claim is:
         POB 3459                                                        Check all that apply.
         1885 E EDMONTON AVE
         POST FALLS, ID 83877                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1097    Nonpriority creditor's name and mailing address                                                                                         $2,681.04

         FINEST TECHNICAL GROUP INC                                      As of the petition filing date, the claim is:
         112 KATAN AVE                                                   Check all that apply.
         STATEN ISLAND, NY 10308




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1098    Nonpriority creditor's name and mailing address                                                                                          $244.97

         FIRE EXTINGUISHER SERVICE CO INC                                As of the petition filing date, the claim is:
         255 40TH ST                                                     Check all that apply.
         BROOKLYN, NY 11232




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1099    Nonpriority creditor's name and mailing address                                                                                         $1,299.00

         FIRESIDE CHALETS LLC                                            As of the petition filing date, the claim is:
         POB 602                                                         Check all that apply.
         PIGEON FORGE, TN 37868
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1100    Nonpriority creditor's name and mailing address                                                                                         $1,878.89

         FIRETROL PROTECTION SYSTEMS INC                                 As of the petition filing date, the claim is:
         105 WINDY MEADOWS DR BLDG 1                                     Check all that apply.
         SCHERTZ, TX 78154




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1101    Nonpriority creditor's name and mailing address                                                                                        $10,360.00

         FIRST 5 LA                                                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1102    Nonpriority creditor's name and mailing address                                                                                         $3,165.00

         FIRST BAPTSIST CHURCH OF HOUSTON                                As of the petition filing date, the claim is:
         7401 KATY FREEWAY                                               Check all that apply.
         HOUSTON, TX 77024
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1103    Nonpriority creditor's name and mailing address                                                                                          $683.95

         FIRST CHOICE COFFEE SERVICES                                    As of the petition filing date, the claim is:
         5610 W SLIGH AVE SUITE 106                                      Check all that apply.
         TAMPA, FL 33634




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1104    Nonpriority creditor's name and mailing address                                                                                          $113.94

         FIRST CHOICE TECHNOLOGY                                         As of the petition filing date, the claim is:
         POB 95311                                                       Check all that apply.
         GRAPEVINE, TX 76099-9734




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1105    Nonpriority creditor's name and mailing address                                                                                               $97.79

         FIRST COMMUNICATIONS LLC                                        As of the petition filing date, the claim is:
         POB 772069                                                      Check all that apply.
         DETROIT, MI 48277-0269




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1106    Nonpriority creditor's name and mailing address                                                                                         $1,020.00

         FIRST ELECTRIC COOPERATIVE                                      As of the petition filing date, the claim is:
         1000 S JP WRIGHT LOOP RD                                        Check all that apply.
         JACKSONVILLE, AR 72076
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1107    Nonpriority creditor's name and mailing address                                                                                         $2,730.00

         FIRST STAGE                                                     As of the petition filing date, the claim is:
         325 W WALNUT ST                                                 Check all that apply.
         MILWAUKEE, WI 53212
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1108    Nonpriority creditor's name and mailing address                                                                                         $1,411.66

         FIRSTLIGHT                                                      As of the petition filing date, the claim is:
         POB 11019                                                       Check all that apply.
         LEWISTON, ME 04243-9470




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1109    Nonpriority creditor's name and mailing address                                                                                        $63,941.92

         FIS AVANTGARD LLC                                               As of the petition filing date, the claim is:
         BANK OF AMERICA                                                 Check all that apply.
         14044 COLLECTIONS CENTER DR
         CHICAGO, IL 60693



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1110    Nonpriority creditor's name and mailing address                                                                                        $19,000.00

         FISCOWL LLC                                                     As of the petition filing date, the claim is:
         88 E MAIN ST STE 125                                            Check all that apply.
         MENDHAM, NJ 07945




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1111    Nonpriority creditor's name and mailing address                                                                                         $2,844.00

         FIVE STAR CAL CENTERS                                           As of the petition filing date, the claim is:
         4901 E 26TH ST                                                  Check all that apply.
         SIOUX FALLS, SD 57110
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1112    Nonpriority creditor's name and mailing address                                                                                         $3,330.00

         FIVEFIFTY                                                       As of the petition filing date, the claim is:
         3001 BRIGHTON BLVD #2793                                        Check all that apply.
         DENVER, CO 80216
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1113    Nonpriority creditor's name and mailing address                                                                                         $1,060.00

         FLIGHT TRAMPOLINE PARK                                          As of the petition filing date, the claim is:
         3514 N POWER RD                                                 Check all that apply.
         MESA, AZ 85215
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1114    Nonpriority creditor's name and mailing address                                                                                         $6,490.08

         FLIXEL INC                                                      As of the petition filing date, the claim is:
         C/O GRAND CENTRAL TECH                                          Check all that apply.
         335 MADISON AVE FL4
         NEW YORK, NY 10017



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1115    Nonpriority creditor's name and mailing address                                                                                          $137.50

         FLORIDA HIGH SPEED INTERNET                                     As of the petition filing date, the claim is:
         1311 BEDFORD DR                                                 Check all that apply.
         MELBOURNE, FL 32940




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1116    Nonpriority creditor's name and mailing address                                                                                         $3,014.00

         FLORIDA HOUSE EXPERIENCE                                        As of the petition filing date, the claim is:
         505 S FEDERAL HWY                                               Check all that apply.
         DEERFIELD BEACH, FL 33441
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1117    Nonpriority creditor's name and mailing address                                                                                         $3,034.00

         FLORIDA INTERNATIONAL AIRSHOW INC                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1118    Nonpriority creditor's name and mailing address                                                                                               $29.50

         FLORIDA MOBILE TELECOM INC                                      As of the petition filing date, the claim is:
         1711 S DIVISION AVE                                             Check all that apply.
         ORLANDO, FL 32805




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1119    Nonpriority creditor's name and mailing address                                                                                         $5,500.00

         FLORIN ROEBIG PA                                                As of the petition filing date, the claim is:
         777 ALDERMAN RD                                                 Check all that apply.
         PALM HARBOR, FL 34683-2604
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1120    Nonpriority creditor's name and mailing address                                                                                         $9,423.80

         FOCUS BRANDS INC                                                As of the petition filing date, the claim is:
         5620 GLENRIDGE DR NE                                            Check all that apply.
         ATLANTA, GA 30342
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1121    Nonpriority creditor's name and mailing address                                                                                         $2,250.00

         FORCE ONE ENTERTAINMENT NY LA INC                               As of the petition filing date, the claim is:
         POB 366                                                         Check all that apply.
         TARRYTON, NY 10591




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1122    Nonpriority creditor's name and mailing address                                                                                         $3,995.00

         FORTUNE BAY RESORT AND CASINO DBA THE WILDERNESS GOLF           As of the petition filing date, the claim is:
         CASINO                                                          Check all that apply.
         1450 BOLS FORTE RD
         TOWER, MN 55790                                                  X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1123    Nonpriority creditor's name and mailing address                                                                                         $1,750.00

         FOUR SEASONS VETERINARY SPECIALIST LLC                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1124    Nonpriority creditor's name and mailing address                                                                                        $25,000.00

         FOURSQUARE LABS INC                                             As of the petition filing date, the claim is:
         POB 392184                                                      Check all that apply.
         PITTSBURGH, PA 15251-9184




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1125    Nonpriority creditor's name and mailing address                                                                                        $50,000.00

         FOX BROADCASTING COMPANY                                        As of the petition filing date, the claim is:
         10201 W PICO BLVD. BLDG 100 RM 2400                             Check all that apply.
         LOS ANGELES, CA 90064
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1126    Nonpriority creditor's name and mailing address                                                                                          $310.31

         FOX SERVICE COMPANY II LLC                                      As of the petition filing date, the claim is:
         DBA FOX SERVICE COMPANY                                         Check all that apply.
         POB 19047
         AUSTIN, TX 78760



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1127    Nonpriority creditor's name and mailing address                                                                                         $2,690.65

         FRACKERS BASEBALL                                               As of the petition filing date, the claim is:
         100 W BROADWAY                                                  Check all that apply.
         FARMINGTON, NM 87401
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1128    Nonpriority creditor's name and mailing address                                                                                         $1,868.43

         FRANCESCA PICASSO                                               As of the petition filing date, the claim is:
         400 CHAMBERS STREET #6E                                         Check all that apply.
         NEW YORK, NY 10282
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1129    Nonpriority creditor's name and mailing address                                                                                         $2,270.00

         FRANCIS DRILLING FLUIDS LTD                                     As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1130    Nonpriority creditor's name and mailing address                                                                                         $3,190.00

         FRANK B FUHRER WHOLESALE COMPANY                                As of the petition filing date, the claim is:
         3100 E CARSON ST                                                Check all that apply.
         PITTSBURGH, PA 15203
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1131    Nonpriority creditor's name and mailing address                                                                                        $30,000.00

         FRANK RECRUITMENT GROUP                                         As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         110 WILLIAM ST 21ST FL
         NEW YORK, NY 10038



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1132    Nonpriority creditor's name and mailing address                                                                                               $36.89

         FRANKLIN COUNTY CLERKS OFFICE CIVIL DIV                         As of the petition filing date, the claim is:
         375 S HIGH ST 3RD FL                                            Check all that apply.
         COLUMBUS, OH 43215
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1133    Nonpriority creditor's name and mailing address                                                                                         $1,833.45

         FRED HAAS TOYOTA COUNTRY                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1134    Nonpriority creditor's name and mailing address                                                                                         $2,010.24

         FREEDOM FITNESS                                                 As of the petition filing date, the claim is:
         POB 60267                                                       Check all that apply.
         CORPUS CHRISTI, TX 78466
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1135    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         FRESNO BASEBALL CLUB LLC                                        As of the petition filing date, the claim is:
         1800 TULARE ST                                                  Check all that apply.
         FRESNO, CA 93721
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1136    Nonpriority creditor's name and mailing address                                                                                          $645.00

         FRIENDS OF THE ROSAMOND GIFFORD ZOO                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1137    Nonpriority creditor's name and mailing address                                                                                        $11,976.99

         FRONTIER                                                        As of the petition filing date, the claim is:
         POB 740407                                                      Check all that apply.
         CINCINNATI, OH 45274




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1138    Nonpriority creditor's name and mailing address                                                                                         $1,539.12

         FRONTIER CITIZENS COMM OF IL                                    As of the petition filing date, the claim is:
         ATTN ACCESS BILLING                                             Check all that apply.
         POB 92713
         ROCHESTER, NY 14692



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1139    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         FSH OF SAN ANTONIO                                              As of the petition filing date, the claim is:
         14000 N PORTLAND 204                                            Check all that apply.
         OKLAHOMA CITY, OK 73134
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1140    Nonpriority creditor's name and mailing address                                                                                               $72.80

         FTC                                                             As of the petition filing date, the claim is:
         POB 743076                                                      Check all that apply.
         ATLANTA, GA 30374




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1141    Nonpriority creditor's name and mailing address                                                                                         $2,272.00

         FTS INTERNATIONAL INC                                           As of the petition filing date, the claim is:
         777 MAIN ST STE 300                                             Check all that apply.
         FORT WORTH, TX 76102
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1142    Nonpriority creditor's name and mailing address                                                                                         $1,998.00

         FUSION SURPLUS SOLUTIONS INC                                    As of the petition filing date, the claim is:
         330 2ND ST 301                                                  Check all that apply.
         OAKLAND, CA 94607
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1143    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         FUTURE AFFAIRS PRODUCTION                                       As of the petition filing date, the claim is:
         95 GRAND AVE                                                    Check all that apply.
         PAWTUCKET, RI 02861




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1144    Nonpriority creditor's name and mailing address                                                                                        $21,540.00

         FW STRASSER ASSOCIATES LLC                                      As of the petition filing date, the claim is:
         409 SECOND AVE                                                  Check all that apply.
         BRADLEY BEACH, NJ 07720




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1145    Nonpriority creditor's name and mailing address                                                                                         $7,500.00

         FW WEBB COMPANY                                                 As of the petition filing date, the claim is:
         160 MIDDLESEX TURNPIKE                                          Check all that apply.
         BEDFORD, MA 01730
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1146    Nonpriority creditor's name and mailing address                                                                                         $4,421.70

         GALEANA CHRYSLER JEEP KIA                                       As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1147    Nonpriority creditor's name and mailing address                                                                                          $122.39

         GALLAGHER BASSETT SERVICES INC                                  As of the petition filing date, the claim is:
         15763 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1148    Nonpriority creditor's name and mailing address                                                                                         $2,403.62

         GANN PR                                                         As of the petition filing date, the claim is:
         904 MANZANO ST NE                                               Check all that apply.
         ALBUQUERQUE, NM 87110
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1149    Nonpriority creditor's name and mailing address                                                                                        $70,835.70

         GARTNER INC                                                     As of the petition filing date, the claim is:
         POB 911319                                                      Check all that apply.
         DALLAS, TX 75391-1319




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1150    Nonpriority creditor's name and mailing address                                                                                         $2,380.00

         GATEWAY WIRELESS LLC DBA CRICKET WIRELESS                       As of the petition filing date, the claim is:
         412 WILLOW CREEK DR                                             Check all that apply.
         FARMINGTON, MO 63640-9238
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1151    Nonpriority creditor's name and mailing address                                                                                          $800.00

         GAVIN HAMMON LLC                                                As of the petition filing date, the claim is:
         567 WEST J ST                                                   Check all that apply.
         BENICIA, CA 94510




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1152    Nonpriority creditor's name and mailing address                                                                                         $3,230.44

         GCI                                                             As of the petition filing date, the claim is:
         POB 99001                                                       Check all that apply.
         ANCHORAGE, AK 99509-9001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1153    Nonpriority creditor's name and mailing address                                                                                        $13,949.80

         GEICO INDEMNITY CO                                              As of the petition filing date, the claim is:
         ONE GEICO CTR                                                   Check all that apply.
         MACON, GA 31296-0001
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1154    Nonpriority creditor's name and mailing address                                                                                               $98.15

         GENERAL REVENUE CORP                                            As of the petition filing date, the claim is:
         POB 495999-1AWG                                                 Check all that apply.
         CINCINNATI, OH 45249
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1155    Nonpriority creditor's name and mailing address                                                                                          $239.01

         GENERALSESSIONS COURTCLERK                                      As of the petition filing date, the claim is:
         POB 682247                                                      Check all that apply.
         FRANKLIN, TN 37068
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1156    Nonpriority creditor's name and mailing address                                                                                         $5,010.00

         GEODIS                                                          As of the petition filing date, the claim is:
         7101 EXECUTIVE CTR DR SITE 333                                  Check all that apply.
         BRENTWOOD, TN 37027
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1157    Nonpriority creditor's name and mailing address                                                                                          $340.00

         GEOMETRY GLOBAL                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1158    Nonpriority creditor's name and mailing address                                                                                                $7.11

         GEORGE R KLEIN NEWS CO                                          As of the petition filing date, the claim is:
         2635 PAYNE AVE                                                  Check all that apply.
         CLEVELAND, OH 44114
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1159    Nonpriority creditor's name and mailing address                                                                                               $27.00

         GERICO MARKETING SERVICES INC                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1160    Nonpriority creditor's name and mailing address                                                                                         $4,237.50

         GETTY IMAGES INC                                                As of the petition filing date, the claim is:
         605 5TH AVE S STE 400                                           Check all that apply.
         SEATTLE, WA 96104




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1161    Nonpriority creditor's name and mailing address                                                                                         $9,822.00

         GLAMSQUAD                                                       As of the petition filing date, the claim is:
         54 W 21ST ST STE 301                                            Check all that apply.
         NEW YORK, NY 10010




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1162    Nonpriority creditor's name and mailing address                                                                                        $48,387.18

         GLC ADVISORS & CO LLC                                           As of the petition filing date, the claim is:
         451 JACKSON ST 2ND FL                                           Check all that apply.
         SAN FRANCISCO, CA 94111
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1163    Nonpriority creditor's name and mailing address                                                                                        $21,099.19

         GLOBAL APP TESTING                                              As of the petition filing date, the claim is:
         BASE KX - 103C CAMLEY ST                                        Check all that apply.
         LONDON N1C 4PF
         UNITED KINGDOM



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1164    Nonpriority creditor's name and mailing address                                                                                               $98.38

         GLOBAL CAPACITY                                                 As of the petition filing date, the claim is:
         POB 674041                                                      Check all that apply.
         DALLAS, TX 75267




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1165    Nonpriority creditor's name and mailing address                                                                                         $5,419.35

         GLOBAL RISK & INVESTIGATIVE DILIGENCE                           As of the petition filing date, the claim is:
         CARNEGIE HALL TOWER                                             Check all that apply.
         152 W 57TH ST 56TH FLOOR
         NEW YORK, NY 10019
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1166    Nonpriority creditor's name and mailing address                                                                                          $351.12

         GLOBALSTAR USA INC                                              As of the petition filing date, the claim is:
         POB 30519                                                       Check all that apply.
         LOS ANGELES, CA 90030




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1167    Nonpriority creditor's name and mailing address                                                                                          $549.00

         GM FINANCIAL LEASING                                            As of the petition filing date, the claim is:
         75 REMITTANCE DR STE 1738                                       Check all that apply.
         CHICAGO, IL 60675-1738




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1168    Nonpriority creditor's name and mailing address                                                                                         $1,275.00

         GMLV LLC                                                        As of the petition filing date, the claim is:
         POB 32010                                                       Check all that apply.
         NEWARK, NJ 07102
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1169    Nonpriority creditor's name and mailing address                                                                                         $4,233.00

         GO AUTO LOW COST CAR INSURANCE                                  As of the petition filing date, the claim is:
         POB 83728                                                       Check all that apply.
         BATON ROUGE, LA 70884
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1170    Nonpriority creditor's name and mailing address                                                                                         $1,840.00

         GOALS INTERNATIONAL LLC                                         As of the petition filing date, the claim is:
         DBA JOHN MORGAN SEMINARS                                        Check all that apply.
         1902 HOLLOWAY RD
         PLANT CITY, FL 33567-2518                                        X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1171    Nonpriority creditor's name and mailing address                                                                                         $1,431.40

         GODWINS GATORLAND INC                                           As of the petition filing date, the claim is:
         14501 S ORANGE BLOSSOM TRL                                      Check all that apply.
         ORLANDO, FL 32837
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1172    Nonpriority creditor's name and mailing address                                                                                         $1,135.50

         GOLDBERG & JONES PLLC                                           As of the petition filing date, the claim is:
         1200 WESTLAKE AVE N STE 700                                     Check all that apply.
         SEATTLE, WA 98109-3529
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1173    Nonpriority creditor's name and mailing address                                                                                         $1,071.00

         GOLDEN NUGGET LAKE CHARLES LLC                                  As of the petition filing date, the claim is:
         2550 GOLDEN NUGGET BLVD                                         Check all that apply.
         LAKE CHARLES, LA 70601
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1174    Nonpriority creditor's name and mailing address                                                                                         $1,637.00

         GOLDS HOLDING CORP                                              As of the petition filing date, the claim is:
         4001 MAPLE AVE STE 200                                          Check all that apply.
         DALLAS, TX 75219
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1175    Nonpriority creditor's name and mailing address                                                                                        $32,896.36

         GOOGLE LLC                                                      As of the petition filing date, the claim is:
         DEPT 33654 POB 39000                                            Check all that apply.
         SAN FRANCISCO, CA 94139




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1176    Nonpriority creditor's name and mailing address                                                                                         $1,325.00

         GOVCONNECTION INC                                               As of the petition filing date, the claim is:
         7503 STANDISH PL                                                Check all that apply.
         ROCKVILLE, MD 20855
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1177    Nonpriority creditor's name and mailing address                                                                                        $46,027.40

         GRACENOTE INC                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1178    Nonpriority creditor's name and mailing address                                                                                         $2,558.39

         GRACENOTE MEDIA SERVICES LLC                                    As of the petition filing date, the claim is:
         PO BOX 29421                                                    Check all that apply.
         CHICAGO, IL 60673-0877




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1179    Nonpriority creditor's name and mailing address                                                                                        $85,946.90

         GRANITE TELECOMMUNICATIONS                                      As of the petition filing date, the claim is:
         POB 983119                                                      Check all that apply.
         CLIENT ID #311
         BOSTON, MA 02298-3119



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1180    Nonpriority creditor's name and mailing address                                                                                         $1,110.00

         GREAT BAY DISTRIBUTORS INC                                      As of the petition filing date, the claim is:
         2310 STARKEY RD                                                 Check all that apply.
         LARGO, FL 33771
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1181    Nonpriority creditor's name and mailing address                                                                                         $6,299.00

         GREAT HEARTS AMERICA TEXAS                                      As of the petition filing date, the claim is:
         824 BROADWAY ST STE101                                          Check all that apply.
         SAN ANTONIO, TX 78215
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1182    Nonpriority creditor's name and mailing address                                                                                          $600.00

         GREATER CHANGE CATHEDRAL                                        As of the petition filing date, the claim is:
         3542 SUSAN LN                                                   Check all that apply.
         STEGER, IL 60475
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1183    Nonpriority creditor's name and mailing address                                                                                          $412.81

         GREATER CINCINNATI WATER WORKS                                  As of the petition filing date, the claim is:
         POB 5487                                                        Check all that apply.
         CAROL STREAM, IL 60197-5487




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1184    Nonpriority creditor's name and mailing address                                                                                         $1,685.00

         GREATER HARVEST MB CHURCH                                       As of the petition filing date, the claim is:
         5141 S STATE ST                                                 Check all that apply.
         CHICAGO, IL 60609
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1185    Nonpriority creditor's name and mailing address                                                                                         $1,008.00

         GREATER WORKS THAN THESE MINISTRIES INC                         As of the petition filing date, the claim is:
         POB 983                                                         Check all that apply.
         BRUNSWICK, GA 31521
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1186    Nonpriority creditor's name and mailing address                                                                                          $898.25

         GREENBERG GRANT & RICHARDS INC                                  As of the petition filing date, the claim is:
         5858 WESTHEIMER STE 500                                         Check all that apply.
         HOUSTON, TX 77057




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1187    Nonpriority creditor's name and mailing address                                                                                        $39,000.00

         GREENBERG KIRSHENBAUM INC                                       As of the petition filing date, the claim is:
         1133 BROADWAY STE 1204                                          Check all that apply.
         NEW YORK, NY 10010




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1188    Nonpriority creditor's name and mailing address                                                                                          $473.60

         GREENBERG TRAURIG                                               As of the petition filing date, the claim is:
         333 SE 2ND AVE STE 4400                                         Check all that apply.
         MIAMI, FL 33131




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1189    Nonpriority creditor's name and mailing address                                                                                          $328.90

         GREENVIEW BREWING LLC                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1190    Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         GRONBACH FOOD SYSTEMS LLC                                       As of the petition filing date, the claim is:
         2525 RIDGMAR BLVD STE 250                                       Check all that apply.
         FORT WORTH, TX 76116
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1191    Nonpriority creditor's name and mailing address                                                                                         $2,142.00

         GROUP WEST ADVERTISING & PUBLIC RELATION                        As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1192    Nonpriority creditor's name and mailing address                                                                                        $87,955.94

         GTT COMMUNICATIONS INC                                          As of the petition filing date, the claim is:
         7900 TYSONS ONE PL STE 1450                                     Check all that apply.
         MCLEAN, VA 22102




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1193    Nonpriority creditor's name and mailing address                                                                                         $3,999.92

         GUEST HOUSE AT GRACELAND LLC                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1194    Nonpriority creditor's name and mailing address                                                                                         $7,559.66

         GULF COAST PAPER CO INC                                         As of the petition filing date, the claim is:
         POB 4227                                                        Check all that apply.
         VICTORIA, TX 77903-4227




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1195    Nonpriority creditor's name and mailing address                                                                                         $1,725.94

         GWM                                                             As of the petition filing date, the claim is:
         4500 PALMYRA ST                                                 Check all that apply.
         NEW ORLEANS, LA 70119
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1196    Nonpriority creditor's name and mailing address                                                                                         $2,608.00

         H20 CREATIVE GROUP LLC                                          As of the petition filing date, the claim is:
         1206 NEWCASTLE ST                                               Check all that apply.
         BRUNSWICK, GA 31520
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1197    Nonpriority creditor's name and mailing address                                                                                         $2,343.65

         HABITAT FOR HUMANITY                                            As of the petition filing date, the claim is:
         ATTN LYNN ZUCKER                                                Check all that apply.
         370 E MARK ST
         MARION, OH 43302                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1198    Nonpriority creditor's name and mailing address                                                                                         $4,000.00

         HAGADONE PHOTOGRAPHY BLUE 541                                   As of the petition filing date, the claim is:
         319 FRONT AVE                                                   Check all that apply.
         COEUR D ALENE, ID 83814
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1199    Nonpriority creditor's name and mailing address                                                                                         $1,513.85

         HALL MEDIA INC                                                  As of the petition filing date, the claim is:
         ATTN LARRY HALL                                                 Check all that apply.
         1795 AYSHEBA WAY STE 3203
         LEXINGTON, KY 40509-2280                                         X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1200    Nonpriority creditor's name and mailing address                                                                                               $6.68

         HAMILTON COUNTY MUNICIPAL COURT                                 As of the petition filing date, the claim is:
         1000 MAIN ST #115                                               Check all that apply.
         CINCINNATI, OH 45202
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1201    Nonpriority creditor's name and mailing address                                                                                         $2,106.80

         HANDYMAN MATTERS                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1202    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         HARD ROCK CAFE                                                  As of the petition filing date, the claim is:
         2606 SAWGRASS MILLS CIR                                         Check all that apply.
         SUNRISE, FL 33323
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1203    Nonpriority creditor's name and mailing address                                                                                         $2,015.45

         HARD ROCK CAFE INTERNATIONAL STP INC                            As of the petition filing date, the claim is:
         6100 OLD PARK LN                                                Check all that apply.
         ORLANDO, FL 32835
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1204    Nonpriority creditor's name and mailing address                                                                                          $234.58

         HARGRAY                                                         As of the petition filing date, the claim is:
         POB 100116                                                      Check all that apply.
         COLUMBIA, SC 29202-3116
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1205    Nonpriority creditor's name and mailing address                                                                                         $5,352.34

         HARPER+SCOTT INC                                                As of the petition filing date, the claim is:
         524 BROADWAY 11TH FL                                            Check all that apply.
         NEW YORK, NY 10012




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1206    Nonpriority creditor's name and mailing address                                                                                         $4,710.00

         HARTE HANKS                                                     As of the petition filing date, the claim is:
         2 EXECUTIVE DR STE 103                                          Check all that apply.
         CHELMSFORD, MA 01824
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1207    Nonpriority creditor's name and mailing address                                                                                         $7,347.00

         HARVARD BUSINESS SCHOOL PUBLIS                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1208    Nonpriority creditor's name and mailing address                                                                                         $1,236.66

         HARWOOD FINANCIAL GROUP                                         As of the petition filing date, the claim is:
         13191 STARKEY RD STE 1                                          Check all that apply.
         LARGO, FL 33773
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1209    Nonpriority creditor's name and mailing address                                                                                        $17,000.00

         HAVAS MEDIA                                                     As of the petition filing date, the claim is:
         200 HUDSON ST                                                   Check all that apply.
         NEW YORK, NY 10013
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1210    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         HAVEN HILL BRANDS                                               As of the petition filing date, the claim is:
         88 WILSON AVE                                                   Check all that apply.
         KINGSTON, NY 12401
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1211    Nonpriority creditor's name and mailing address                                                                                         $3,809.29

         HAWAII PACIFIC HEALTH                                           As of the petition filing date, the claim is:
         55 MERCHANT ST 24TH FLOOR                                       Check all that apply.
         HONOLULU, HI 96813
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1212    Nonpriority creditor's name and mailing address                                                                                         $5,143.85

         HAWAIIAN TELCOM                                                 As of the petition filing date, the claim is:
         POB 30770                                                       Check all that apply.
         HONOLULU, HI 96820-0770




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1213    Nonpriority creditor's name and mailing address                                                                                         $7,912.00

         HEALTH QUEST SYSTEMS INC                                        As of the petition filing date, the claim is:
         ATTN ALICIA FLORES                                              Check all that apply.
         54 PAGE PARK DR
         POUGHKEEPSIE, NY 12603                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1214    Nonpriority creditor's name and mailing address                                                                                         $9,664.50

         HEARD CITY                                                      As of the petition filing date, the claim is:
         16 W 22ND ST 5TH FL                                             Check all that apply.
         NEW YORK, NY 10010




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1215    Nonpriority creditor's name and mailing address                                                                                        $23,544.36

         HEERY INTERNATIONAL INC                                         As of the petition filing date, the claim is:
         999 PEACHTREE ST NE                                             Check all that apply.
         ATLANTA, GA 30309




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1216    Nonpriority creditor's name and mailing address                                                                                         $3,040.00

         HERIRLOOM BED CO                                                As of the petition filing date, the claim is:
         1150 N LOOP 1604 W 108-612                                      Check all that apply.
         SAN ANTONIO, TX 78248
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1217    Nonpriority creditor's name and mailing address                                                                                         $2,900.00

         HIGH WIRE PRODUCTIONS LLC                                       As of the petition filing date, the claim is:
         2925 RIVER BEND DR                                              Check all that apply.
         NASHVILLE, TN 37214




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1218    Nonpriority creditor's name and mailing address                                                                                         $2,970.00

         HIGHLAND FALLS LLC                                              As of the petition filing date, the claim is:
         ATTN ANGELA CARON                                               Check all that apply.
         183 WATER ST
         WILLIAMSTOWN, MA 01267                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1219    Nonpriority creditor's name and mailing address                                                                                               $71.37

         HIGHSPEEDLINK                                                   As of the petition filing date, the claim is:
         1528 COUNTRY CLUB RD                                            Check all that apply.
         HARRISONBURG, VA 22802




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1220    Nonpriority creditor's name and mailing address                                                                                        $19,974.91

         HILL HOLLIDAY LLC                                               As of the petition filing date, the claim is:
         53 STATE ST                                                     Check all that apply.
         BOSTON, MA 02109
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1221    Nonpriority creditor's name and mailing address                                                                                         $1,900.50

         HINCKLEY ALLEN & SNYDER LLP                                     As of the petition filing date, the claim is:
         28 STATE ST                                                     Check all that apply.
         BOSTON, MA 02109-1775




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1222    Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         HIRAKATA FARMS & PRODUCE LLC 06 12                              As of the petition filing date, the claim is:
         22161 CR CC                                                     Check all that apply.
         ROCKY FORD, CO 81067
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1223    Nonpriority creditor's name and mailing address                                                                                         $6,554.19

         HIRERIGHT LLC                                                   As of the petition filing date, the claim is:
         POB 847891                                                      Check all that apply.
         DALLAS, TX 75284-7891




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1224    Nonpriority creditor's name and mailing address                                                                                        $21,395.00

         HOFFMAN LEWIS CORPORATION                                       As of the petition filing date, the claim is:
         353 SACRAMENTO ST 21ST FL                                       Check all that apply.
         SAN FRANCISCO, CA 94111
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1225    Nonpriority creditor's name and mailing address                                                                                               $45.16

         HOLIDAY INTERIORS                                               As of the petition filing date, the claim is:
         POB 241498                                                      Check all that apply.
         SAN ANTONIO, TX 78224
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1226    Nonpriority creditor's name and mailing address                                                                                         $1,350.00

         HOLLOWAYS APPLIANCES LLC                                        As of the petition filing date, the claim is:
         1430 HOPMEADOW ST                                               Check all that apply.
         SIMSBURY, CT 06070
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1227    Nonpriority creditor's name and mailing address                                                                                          $459.95

         HOME DEPOT CREDIT SERVICES                                      As of the petition filing date, the claim is:
         POB 9001043                                                     Check all that apply.
         LOUISVILLE, KY 40290-1043




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1228    Nonpriority creditor's name and mailing address                                                                                          $233.62

         HOME LIFE STORIES                                               As of the petition filing date, the claim is:
         223 W ERIE STE 5EC                                              Check all that apply.
         CHICAGO, IL 60610
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1229    Nonpriority creditor's name and mailing address                                                                                         $3,703.00

         HOPE FOODS LLC DBA HOPE HUMMUS                                  As of the petition filing date, the claim is:
         1850 DOGWOOD ST                                                 Check all that apply.
         LOUISVILLE, CO 80027
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1230    Nonpriority creditor's name and mailing address                                                                                          $590.24

         HORIZON                                                         As of the petition filing date, the claim is:
         POB 480                                                         Check all that apply.
         CHILLICOTHE, OH 45601-0480




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1231    Nonpriority creditor's name and mailing address                                                                                        $38,032.26

         HORTONWORKS INC                                                 As of the petition filing date, the claim is:
         5470 GREAT AMERICA PKWY                                         Check all that apply.
         SANTA CLARA, CA 95054
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1232    Nonpriority creditor's name and mailing address                                                                                         $2,010.29

         HOSTIRIAN                                                       As of the petition filing date, the claim is:
         PO BOX 28336                                                    Check all that apply.
         SAINT LOUIS, MO 63146




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1233    Nonpriority creditor's name and mailing address                                                                                          $171.17

         HOTWIRE COMMUNICATIONS                                          As of the petition filing date, the claim is:
         POB 57330                                                       Check all that apply.
         PHILADELPHIA, PA 19111-7330




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1234    Nonpriority creditor's name and mailing address                                                                                         $1,080.00

         HOUSTON COUNTY HEALTH DEPARTMENT                                As of the petition filing date, the claim is:
         DBA NORTH CENTRAL HEALTH DISTRICT                               Check all that apply.
         201 2ND ST STE 1100
         MACON, GA 31201-6328                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1235    Nonpriority creditor's name and mailing address                                                                                          $918.32

         HTC                                                             As of the petition filing date, the claim is:
         PO DRAWER 1820                                                  Check all that apply.
         CONWAY, SC 29528
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1236    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         HUG PREOWNED                                                    As of the petition filing date, the claim is:
         11727 HWY 71 S                                                  Check all that apply.
         FORT SMITH, AR 72916
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1237    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         HUNTSVILLE MADISON COUNTY CONVENTION                            As of the petition filing date, the claim is:
         500 CHURCH ST NW STE A                                          Check all that apply.
         HUNTSVILLE, AL 35801
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1238    Nonpriority creditor's name and mailing address                                                                                         $1,979.00

         HYDE PARK SCHOOLS                                               As of the petition filing date, the claim is:
         POB 4486                                                        Check all that apply.
         AUSTIN, TX 78765
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1239    Nonpriority creditor's name and mailing address                                                                                          $140.30

         I WIRELESS SERVICES LP                                          As of the petition filing date, the claim is:
         PAYMENT PROCESSING CENTER                                       Check all that apply.
         POB 402003
         DES MOINES, IA 50940-2003



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1240    Nonpriority creditor's name and mailing address                                                                                          $506.00

         I-10 RACE PROMOTIONS INC                                        As of the petition filing date, the claim is:
         302 N SHERIDAN ST                                               Check all that apply.
         CORONA, CA 92880
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1241    Nonpriority creditor's name and mailing address                                                                                        $18,469.60

         IAB                                                             As of the petition filing date, the claim is:
         116 E 27TH ST 7TH FLR                                           Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1242    Nonpriority creditor's name and mailing address                                                                                        $21,053.06

         IBM                                                             As of the petition filing date, the claim is:
         POB 676673                                                      Check all that apply.
         DALLAS, TX 75267-6673




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1243    Nonpriority creditor's name and mailing address                                                                                      $329,902.66

         ID&A INC                                                        As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         1700 S FIFTH ST
         LOUISVILLE, KY 40208



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1244    Nonpriority creditor's name and mailing address                                                                                         $1,050.00

         IDEA GARDEN ADVERTISING LLC                                     As of the petition filing date, the claim is:
         865 16TH PLACE                                                  Check all that apply.
         VERO BEACH, FL 32960-5513
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1245    Nonpriority creditor's name and mailing address                                                                                 $1,320,877,633.00

         IHEARTMEDIA + ENTERTAINMENT, INC.                               As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.1246    Nonpriority creditor's name and mailing address                                                                                    $25,629,870.00

         IHEARTMEDIA, INC.                                               As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1247    Nonpriority creditor's name and mailing address                                                                                    $79,978,105.00

         IHM IDENTITY, INC.                                              As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.1248    Nonpriority creditor's name and mailing address                                                                                          $100.00

         ILLINOIS SECRETARY OF STATE                                     As of the petition filing date, the claim is:
         501 S 2ND ST RM 350                                             Check all that apply.
         SPRINGFIELD, IL 62756
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1249    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         IMAGE MODELS INC                                                As of the petition filing date, the claim is:
         4959 HAMILTON BLVD                                              Check all that apply.
         ALLENTOWN, PA 18106
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1250    Nonpriority creditor's name and mailing address                                                                                          $303.55

         IMMEDION, LLC                                                   As of the petition filing date, the claim is:
         PO BOX 6335                                                     Check all that apply.
         CHARLOTTE, NC 28260-3350




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1251    Nonpriority creditor's name and mailing address                                                                                         $2,558.16

         IMMUNO TEK PLASMA LLC                                           As of the petition filing date, the claim is:
         5711 JOHNSTON ST                                                Check all that apply.
         LAFAYETTE, LA 70503
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1252    Nonpriority creditor's name and mailing address                                                                                          $449.54

         IMON COMMUNICATIONS                                             As of the petition filing date, the claim is:
         POB 3446                                                        Check all that apply.
         CEDAR RAPIDS, IA 52406-3446




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1253    Nonpriority creditor's name and mailing address                                                                                         $1,168.26

         IMPACT PARTNERSHIP ALLIED WEALTH                                As of the petition filing date, the claim is:
         13810 CHAMPION FOREST DR                                        Check all that apply.
         HOUSTON, TX 77069
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1254    Nonpriority creditor's name and mailing address                                                                                          $170.54

         IMPACT TELECOM                                                  As of the petition filing date, the claim is:
         POB 981038                                                      Check all that apply.
         BOSTON, MA 02298-1038




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1255    Nonpriority creditor's name and mailing address                                                                                               $34.82

         INCONTACT INC                                                   As of the petition filing date, the claim is:
         PAYMENT CENTER #5450 POB 410468                                 Check all that apply.
         SALT LAKE CITY, UT 84141




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1256    Nonpriority creditor's name and mailing address                                                                                                $7.73

         INCONTACT INC                                                   As of the petition filing date, the claim is:
         PAYMENT CENTER #5450 POB 410468                                 Check all that apply.
         SALT LAKE CITY, UT 84141
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1257    Nonpriority creditor's name and mailing address                                                                                          $700.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1258    Nonpriority creditor's name and mailing address                                                                                          $372.34

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1259    Nonpriority creditor's name and mailing address                                                                                          $550.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1260    Nonpriority creditor's name and mailing address                                                                                               $10.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1261    Nonpriority creditor's name and mailing address                                                                                         $4,061.21

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1262    Nonpriority creditor's name and mailing address                                                                                               $75.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1263    Nonpriority creditor's name and mailing address                                                                                        $76,972.22

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1264    Nonpriority creditor's name and mailing address                                                                                        $30,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1265    Nonpriority creditor's name and mailing address                                                                                         $3,706.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1266    Nonpriority creditor's name and mailing address                                                                                         $1,100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1267    Nonpriority creditor's name and mailing address                                                                                         $7,262.40

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1268    Nonpriority creditor's name and mailing address                                                                                         $2,431.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1269    Nonpriority creditor's name and mailing address                                                                                          $600.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1270    Nonpriority creditor's name and mailing address                                                                                          $200.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1271    Nonpriority creditor's name and mailing address                                                                                          $200.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1272    Nonpriority creditor's name and mailing address                                                                                          $600.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1273    Nonpriority creditor's name and mailing address                                                                                          $750.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1274    Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1275    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1276    Nonpriority creditor's name and mailing address                                                                                          $650.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1277    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1278    Nonpriority creditor's name and mailing address                                                                                         $1,083.15

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1279    Nonpriority creditor's name and mailing address                                                                                               $9.24

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1280    Nonpriority creditor's name and mailing address                                                                                          $675.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1281    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1282    Nonpriority creditor's name and mailing address                                                                                         $1,050.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1283    Nonpriority creditor's name and mailing address                                                                                          $675.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1284    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1285    Nonpriority creditor's name and mailing address                                                                                          $250.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1286    Nonpriority creditor's name and mailing address                                                                                          $930.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1287    Nonpriority creditor's name and mailing address                                                                                          $175.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1288    Nonpriority creditor's name and mailing address                                                                                         $1,089.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1289    Nonpriority creditor's name and mailing address                                                                                          $750.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1290    Nonpriority creditor's name and mailing address                                                                                          $500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1291    Nonpriority creditor's name and mailing address                                                                                          $700.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1292    Nonpriority creditor's name and mailing address                                                                                          $200.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1293    Nonpriority creditor's name and mailing address                                                                                         $1,856.40

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1294    Nonpriority creditor's name and mailing address                                                                                         $5,500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1295    Nonpriority creditor's name and mailing address                                                                                          $237.30

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1296    Nonpriority creditor's name and mailing address                                                                                         $1,342.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1297    Nonpriority creditor's name and mailing address                                                                                               $9.97

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1298    Nonpriority creditor's name and mailing address                                                                                          $368.52

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1299    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1300    Nonpriority creditor's name and mailing address                                                                                         $4,398.75

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1301    Nonpriority creditor's name and mailing address                                                                                         $7,014.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1302    Nonpriority creditor's name and mailing address                                                                                         $3,190.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1303    Nonpriority creditor's name and mailing address                                                                                         $1,803.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1304    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1305    Nonpriority creditor's name and mailing address                                                                                          $600.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1306    Nonpriority creditor's name and mailing address                                                                                               $44.82

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1307    Nonpriority creditor's name and mailing address                                                                                          $446.45

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1308    Nonpriority creditor's name and mailing address                                                                                          $392.60

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1309    Nonpriority creditor's name and mailing address                                                                                          $653.67

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1310    Nonpriority creditor's name and mailing address                                                                                         $1,261.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1311    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1312    Nonpriority creditor's name and mailing address                                                                                          $100.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1313    Nonpriority creditor's name and mailing address                                                                                         $1,650.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1314    Nonpriority creditor's name and mailing address                                                                                         $1,116.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1315    Nonpriority creditor's name and mailing address                                                                                        $75,900.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1316    Nonpriority creditor's name and mailing address                                                                                         $1,146.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1317    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1318    Nonpriority creditor's name and mailing address                                                                                          $800.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1319    Nonpriority creditor's name and mailing address                                                                                         $1,428.00

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1320    Nonpriority creditor's name and mailing address                                                                                         $1,149.99

         INFINITY MARKETING SOLUTIONS INC                                As of the petition filing date, the claim is:
         874 S PLEASANTBURG DR                                           Check all that apply.
         GREENVILLE, SC 29607
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1321    Nonpriority creditor's name and mailing address                                                                                         $9,755.91

         INFORMATICA LLC                                                 As of the petition filing date, the claim is:
         POB 741089                                                      Check all that apply.
         LOS ANGELES, CA 90074-1089




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1322    Nonpriority creditor's name and mailing address                                                                                          $859.00

         INGORMATION INTEGRATION INC                                     As of the petition filing date, the claim is:
         2225 TOM LYNN ST                                                Check all that apply.
         RICHMOND, VA 23230
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1323    Nonpriority creditor's name and mailing address                                                                                         $4,480.00

         INNOVATIVE INFORMATION TECHNOLOGIES INC                         As of the petition filing date, the claim is:
         200 METROPLEX DR STE 408                                        Check all that apply.
         EDISON, NJ 08817
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1324    Nonpriority creditor's name and mailing address                                                                                         $2,498.55

         INNOVID INC                                                     As of the petition filing date, the claim is:
         POB 347961                                                      Check all that apply.
         PITTSBURGH, PA 15251-4961




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1325    Nonpriority creditor's name and mailing address                                                                                        $38,995.34

         INSIDESALES COM                                                 As of the petition filing date, the claim is:
         POB 30015 DEPT 408                                              Check all that apply.
         SALT LAKE CITY, UT 84130




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1326    Nonpriority creditor's name and mailing address                                                                                          $100.00

         INSTA PHOTO LLC                                                 As of the petition filing date, the claim is:
         8711 BURNET RD                                                  Check all that apply.
         AUSTIN, TX 78757
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1327    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         INSTA PHOTO LLC                                                 As of the petition filing date, the claim is:
         8711 BURNET RD                                                  Check all that apply.
         SUITE A4
         AUSTIN, TX 78757



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1328    Nonpriority creditor's name and mailing address                                                                                         $4,755.00

         INSTITUTE OF MEDICAL CAREERS INC                                As of the petition filing date, the claim is:
         5617 W RIDGE RD                                                 Check all that apply.
         ERIE, PA 16506
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1329    Nonpriority creditor's name and mailing address                                                                                         $7,763.77

         INTEGRA TELECOM                                                 As of the petition filing date, the claim is:
         POB 2966                                                        Check all that apply.
         MILWAUKEE, WI 53201-2966




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1330    Nonpriority creditor's name and mailing address                                                                                         $3,139.37

         INTEGRAL AD SCIENCE INC                                         As of the petition filing date, the claim is:
         POB 200197                                                      Check all that apply.
         PITTSBURGH, PA 15251-0197




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1331    Nonpriority creditor's name and mailing address                                                                                          $300.00

         INTELLIGENT LIGHTING LLC                                        As of the petition filing date, the claim is:
         POB 402217                                                      Check all that apply.
         MIAMI BEACH, FL 33140
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1332    Nonpriority creditor's name and mailing address                                                                                               $10.75

         INTELLIVERSE                                                    As of the petition filing date, the claim is:
         POB 678495                                                      Check all that apply.
         DALLAS, TX 75267-8495




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1333    Nonpriority creditor's name and mailing address                                                                                          $913.03

         INTERCALL                                                       As of the petition filing date, the claim is:
         POB 281866                                                      Check all that apply.
         ATLANTA, GA 30384-1866




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1334    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         INTERIOR FEDERAL CREDIT UNION                                   As of the petition filing date, the claim is:
         1849 C ST NW RM B038                                            Check all that apply.
         WASHINGTON, DC 20240
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1335    Nonpriority creditor's name and mailing address                                                                                         $4,502.71

         INTERNAP NETWORK SERVICES                                       As of the petition filing date, the claim is:
         DEPT 0526 POB 120526                                            Check all that apply.
         DALLAS, TX 75312-0526




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1336    Nonpriority creditor's name and mailing address                                                                                         $6,925.00

         INTERNATIONAL SPY MUSEUM INC                                    As of the petition filing date, the claim is:
         ATTN REBEKAN BRANNAN                                            Check all that apply.
         800 F ST NW
         WASHINGTON, DC 20004                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1337    Nonpriority creditor's name and mailing address                                                                                         $4,607.18

         INTRALINKS INC                                                  As of the petition filing date, the claim is:
         POB 392134                                                      Check all that apply.
         PITTSBURGH, PA 15251-9134




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1338    Nonpriority creditor's name and mailing address                                                                                         $2,218.50

         INVESTAR BANK                                                   As of the petition filing date, the claim is:
         7244 PERKINS RD                                                 Check all that apply.
         BATON ROUGE, LA 70808
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1339    Nonpriority creditor's name and mailing address                                                                                        $17,589.75

         IOOF TEMPLE                                                     As of the petition filing date, the claim is:
         419 7TH ST NW STE 404                                           Check all that apply.
         WASHINGTON, DC 20004




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1340    Nonpriority creditor's name and mailing address                                                                                         $2,850.00

         IOWA PORK PRODUCERS ASSOCIATION                                 As of the petition filing date, the claim is:
         BOX 71009                                                       Check all that apply.
         CLIVE, IA 50325-0009
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1341    Nonpriority creditor's name and mailing address                                                                                        $16,911.91

         IRON MOUNTAIN                                                   As of the petition filing date, the claim is:
         POB 601002                                                      Check all that apply.
         PASADENA, CA 91189-1002




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1342    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         IRON MOUNTAIN INTELLECTUAL PROPERTY MGT                         As of the petition filing date, the claim is:
         POB 27131                                                       Check all that apply.
         NEW YORK, NY 10087-7131




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1343    Nonpriority creditor's name and mailing address                                                                                         $1,162.25

         IRONSOURCE MOBILE LTD                                           As of the petition filing date, the claim is:
         AZRIELI SARONA TOWER                                            Check all that apply.
         DERECH MENACHEM BEGIN 121
         TEL AVIV 370-1318
         ISRAEL

                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1344    Nonpriority creditor's name and mailing address                                                                                          $250.00

         IRTS FOUNDATION                                                 As of the petition filing date, the claim is:
         1697 BROADWAY 10TH FL                                           Check all that apply.
         NEW YORK, NY 10019




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1345    Nonpriority creditor's name and mailing address                                                                                         $1,942.00

         IRVS PUB                                                        As of the petition filing date, the claim is:
         801 E CHOCOLATE AVE                                             Check all that apply.
         HERSHEY, PA 17033
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1346    Nonpriority creditor's name and mailing address                                                                                               $18.85

         ITS TELECOMMUNICATIONS SYSTEMS INC                              As of the petition filing date, the claim is:
         POB 308                                                         Check all that apply.
         INDIANTOWN, FL 34956




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1347    Nonpriority creditor's name and mailing address                                                                                         $1,100.00

         J V RESTAURANT                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1348    Nonpriority creditor's name and mailing address                                                                                          $520.00

         J&J CLEANING SERVICES                                           As of the petition filing date, the claim is:
         697 BURNT CREEK WAY                                             Check all that apply.
         LILBURN, GA 30047




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1349    Nonpriority creditor's name and mailing address                                                                                        $36,618.00

         JA WILSON INC                                                   As of the petition filing date, the claim is:
         10555 NEWKIRK RD STE 500                                        Check all that apply.
         DALLAS, TX 75220
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1350    Nonpriority creditor's name and mailing address                                                                                         $1,600.00

         JACK B KELLEY INC                                               As of the petition filing date, the claim is:
         801 S FILLMORE ST 505                                           Check all that apply.
         AMARILLO, TX 79101
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1351    Nonpriority creditor's name and mailing address                                                                                        $28,057.86

         JACK NADEL INTERNATIONAL                                        As of the petition filing date, the claim is:
         POB 8342                                                        Check all that apply.
         PASADENA, CA 91109-8342




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1352    Nonpriority creditor's name and mailing address                                                                                         $1,568.00

         JACKSON STATE UNIVERSITY                                        As of the petition filing date, the claim is:
         POB 17250                                                       Check all that apply.
         JACKSON, MS 39217-0250
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1353    Nonpriority creditor's name and mailing address                                                                                         $2,869.00

         JARDINES DE SAN JUAN                                            As of the petition filing date, the claim is:
         15190 OAK HILL DR                                               Check all that apply.
         SALINAS, CA 93907
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1354    Nonpriority creditor's name and mailing address                                                                                         $1,419.00

         JBI HOLDINGS LLC                                                As of the petition filing date, the claim is:
         POB 55838                                                       Check all that apply.
         LITTLE ROCK, AR 72215
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1355    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         JCCR                                                            As of the petition filing date, the claim is:
         4085 UNIVERSITY BLVD 1                                          Check all that apply.
         JACKSONVILLE, FL 32216
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1356    Nonpriority creditor's name and mailing address                                                                                         $6,480.00

         JDM MANAGEMENT CORP                                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1357    Nonpriority creditor's name and mailing address                                                                                         $4,246.00

         JEFF RUBY CULINARY ENTERTAINMENT INC                            As of the petition filing date, the claim is:
         700 WALNUT ST STE 200                                           Check all that apply.
         CINCINNATI, OH 45202-2015
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1358    Nonpriority creditor's name and mailing address                                                                                         $3,242.89

         JEFFERSON CANO ALLISON BARKLEY PLLC                             As of the petition filing date, the claim is:
         112 E PECAN ST STE 1650                                         Check all that apply.
         SAN ANTONIO, TX 78205
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1359    Nonpriority creditor's name and mailing address                                                                                     $1,277,344.74

         JELLI INC                                                       As of the petition filing date, the claim is:
         703 S B ST                                                      Check all that apply.
         SAN MATEO, CA 94401




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1360    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         JESSE WELCH                                                     As of the petition filing date, the claim is:
         6976 VENTURE CIR                                                Check all that apply.
         ORLANDO, FL 32807
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1361    Nonpriority creditor's name and mailing address                                                                                         $1,125.00

         JIMS MEAT MARKET INC                                            As of the petition filing date, the claim is:
         1436 NORTHPORT DR                                               Check all that apply.
         MADISON, WI 53704
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1362    Nonpriority creditor's name and mailing address                                                                                         $1,003.00

         JJ KELLER & ASSOCIATES INC                                      As of the petition filing date, the claim is:
         POB 6614                                                        Check all that apply.
         CAROL STREAM, IL 60197-6614




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1363    Nonpriority creditor's name and mailing address                                                                                         $2,424.48

         JOE W FLY CO INC                                                As of the petition filing date, the claim is:
         POB 560666                                                      Check all that apply.
         DALLAS, TX 75356-0666




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1364    Nonpriority creditor's name and mailing address                                                                                         $1,898.00

         JOHN YURCONIC AGENCY                                            As of the petition filing date, the claim is:
         5910 HAMILTON BLVD                                              Check all that apply.
         ALLENTOWN, PA 18106
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1365    Nonpriority creditor's name and mailing address                                                                                         $9,761.80

         JOHNSON MEDIA SERVICES INC                                      As of the petition filing date, the claim is:
         OUTGOING II                                                     Check all that apply.
         3751 HARTS MILLS CT
         CHAMBLEE, GA 30341                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1366    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         JONES LANG LASALLE AMERICAS INC                                 As of the petition filing date, the claim is:
         POB 45799                                                       Check all that apply.
         SAN FRANCISCO, CA 94145-0799
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1367    Nonpriority creditor's name and mailing address                                                                                          $599.00

         JORDAN SALES AND SERVICE INC                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1368    Nonpriority creditor's name and mailing address                                                                                         $1,190.50

         JRP SERVICES                                                    As of the petition filing date, the claim is:
         8411 MOSSHANG CT                                                Check all that apply.
         HOUSTON, TX 77040
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1369    Nonpriority creditor's name and mailing address                                                                                        $93,308.56

         JUN GROUP PRODUCTIONS LLC                                       As of the petition filing date, the claim is:
         650 FIFTH AVE FL 27                                             Check all that apply.
         NEW YORK, NY 10019




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1370    Nonpriority creditor's name and mailing address                                                                                        $24,145.83

         JW PLAYER - LONGTAIL AD SOLUTIONS INC                           As of the petition filing date, the claim is:
         2 PARK AVE FL 10                                                Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1371    Nonpriority creditor's name and mailing address                                                                                        $86,935.04

         KANTAR MEDIA-INTELLIGENCE                                       As of the petition filing date, the claim is:
         POB 7247-9301                                                   Check all that apply.
         PHILADELPHIA, PA 19170-9301




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1372    Nonpriority creditor's name and mailing address                                                                                         $5,879.25

         KARA PAINTING & WALLPAPERING CORP                               As of the petition filing date, the claim is:
         4540 CENTER BLVD 1404                                           Check all that apply.
         LONG ISLAND CITY, NY 11109




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1373    Nonpriority creditor's name and mailing address                                                                                   $273,612,561.00

         KATZ MEDIA GROUP, INC.                                          As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.1374    Nonpriority creditor's name and mailing address                                                                                         $6,028.75

         KAUFF MCGUIRE & MARGOLIS LLP                                    As of the petition filing date, the claim is:
         950 THIRD AVE 14TH FLOOR                                        Check all that apply.
         NEW YORK, NY 10022




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1375    Nonpriority creditor's name and mailing address                                                                                         $3,282.70

         KAUFFMAN CREATIVE SERVICES INC                                  As of the petition filing date, the claim is:
         250 LYNDEL DR                                                   Check all that apply.
         PALMYRA, PA 17078
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1376    Nonpriority creditor's name and mailing address                                                                                         $1,520.00

         KAYTON COMPANY                                                  As of the petition filing date, the claim is:
         1045 GRAPE ST                                                   Check all that apply.
         WHITEHALL, PA 18052
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1377    Nonpriority creditor's name and mailing address                                                                                          $175.00

         KB VOICEOVERS LLC                                               As of the petition filing date, the claim is:
         2061 EXPERIMENT STATION RD STE 301                              Check all that apply.
         WATKINSVILLE, GA 30677
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1378    Nonpriority creditor's name and mailing address                                                                                        $20,651.76

         KEATING MUETHING & KLEKAMP PLL                                  As of the petition filing date, the claim is:
         1 E FOURTH ST STE 1400                                          Check all that apply.
         CINCINNATI, OH 45202
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1379    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         KEC LLC DBA REUNITED AUTO SALES                                 As of the petition filing date, the claim is:
         2425 BROAD RIVER RD                                             Check all that apply.
         COLUMBIA, SC 29210
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1380    Nonpriority creditor's name and mailing address                                                                                          $266.80

         KEITH COUNTY COURT                                              As of the petition filing date, the claim is:
         POB 358                                                         Check all that apply.
         OGALLALA, NE 69153
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1381    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         KELLER ISD ATHLETIC ASSOCIATION                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1382    Nonpriority creditor's name and mailing address                                                                                        $54,017.17

         KELLEY DRYE & WARREN LLP                                        As of the petition filing date, the claim is:
         ATTN TREASURERS DEPARTMENT                                      Check all that apply.
         101 PARK AVE
         NEW YORK, NY 10178
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1383    Nonpriority creditor's name and mailing address                                                                                         $3,030.13

         KELLEY UUSTAL PLC                                               As of the petition filing date, the claim is:
         500 N FEDERAL HWY STE 200                                       Check all that apply.
         FORT LAUDERDALE, FL 33301
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1384    Nonpriority creditor's name and mailing address                                                                                         $7,350.50

         KELLY SCOTT & MADISON INC                                       As of the petition filing date, the claim is:
         303 E WACKER DR 8TH FL                                          Check all that apply.
         CHICAGO, IL 60601-5212
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1385    Nonpriority creditor's name and mailing address                                                                                         $1,266.25

         KELLY SCOTT AND MADISON INC                                     As of the petition filing date, the claim is:
         303 E WACKER DR 8TH FL                                          Check all that apply.
         CHICAGO, IL 60601
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1386    Nonpriority creditor's name and mailing address                                                                                               $80.00

         KENDALL COUNTY FAIR ASSOCIATION                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1387    Nonpriority creditor's name and mailing address                                                                                          $139.00

         KEYSTONE CONSTRUCTION & EXCAVATION LLC                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1388    Nonpriority creditor's name and mailing address                                                                                         $9,231.00

         KFMB                                                            As of the petition filing date, the claim is:
         7677 ENGINEER RD                                                Check all that apply.
         SAN DIEGO, CA 92111




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1389    Nonpriority creditor's name and mailing address                                                                                         $2,499.36

         KFORCE INC                                                      As of the petition filing date, the claim is:
         POB 277997                                                      Check all that apply.
         ATLANTA, GA 30384-7997




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1390    Nonpriority creditor's name and mailing address                                                                                               $25.50

         KGKL-FM                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1391    Nonpriority creditor's name and mailing address                                                                                         $1,722.50

         KIA OF LAUREL                                                   As of the petition filing date, the claim is:
         ATTN WESLEY ARMSTRONG                                           Check all that apply.
         2018 HWY 15 N
         LAUREL, MS 39440                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1392    Nonpriority creditor's name and mailing address                                                                                         $1,657.50

         KILMER KILMER MARSHALL DURAN INC                                As of the petition filing date, the claim is:
         125 TRUMAN NE                                                   Check all that apply.
         ALBUQUERQUE, NM 87108
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1393    Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         KIMPTON HOTELS & RESTAURANTS                                    As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         2021 BROADWAY
         NASHVILLE, TN 37203                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1394    Nonpriority creditor's name and mailing address                                                                                        $50,932.63

         KING & SPALDING LLP                                             As of the petition filing date, the claim is:
         POB 116133                                                      Check all that apply.
         ATLANTA, GA 30368-6133




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1395    Nonpriority creditor's name and mailing address                                                                                               $21.43

         KMTELECOM                                                       As of the petition filing date, the claim is:
         18 2ND AVE NW                                                   Check all that apply.
         KASSON, MN 55944-1491




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1396    Nonpriority creditor's name and mailing address                                                                                               $45.06

         KMTELECOM                                                       As of the petition filing date, the claim is:
         18 2ND AVE NW                                                   Check all that apply.
         KASSON, MN 55944
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1397    Nonpriority creditor's name and mailing address                                                                                          $819.02

         KNOLOGY                                                         As of the petition filing date, the claim is:
         POB 70999                                                       Check all that apply.
         CHARLOTTE, NC 28272-0999




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1398    Nonpriority creditor's name and mailing address                                                                                                $5.00

         KNOWLEDGE LEARNING CORPORATION                                  As of the petition filing date, the claim is:
         6140 KRUSE DR                                                   Check all that apply.
         SOLON, OH 44139
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1399    Nonpriority creditor's name and mailing address                                                                                         $2,002.00

         KOINONIA FOSTER HOMES INC                                       As of the petition filing date, the claim is:
         POB 1403                                                        Check all that apply.
         LOOMIS, CA 95650-1403
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1400    Nonpriority creditor's name and mailing address                                                                                               $95.00

         KOKEA CENTER                                                    As of the petition filing date, the claim is:
         600 KAPIOLANI BLVD #200                                         Check all that apply.
         HONOLULU, HI 96813




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1401    Nonpriority creditor's name and mailing address                                                                                        $34,813.63

         KP HOLDINGS LLC                                                 As of the petition filing date, the claim is:
         POB 978733                                                      Check all that apply.
         DALLAS, TX 75397-8733




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor             iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                            Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1402    Nonpriority creditor's name and mailing address                                                                                          $12,240.51

         KS MANAGEMENT SERVICES LLC DBA KELSEY SEYBOLD CLINIC              As of the petition filing date, the claim is:
         11511 SHADOW CREEK PKWY                                           Check all that apply.
         PEARLAND, TX 77584
                                                                            X



                                                                           Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                      Is the claim subject to offset?
                                                                                No
         Last 4 digits of account number                                        Yes

3.1403    Nonpriority creditor's name and mailing address                                                                                           $2,345.00

         KTG USA INC                                                       As of the petition filing date, the claim is:
         400 MAHANNAH AVE                                                  Check all that apply.
         MEMPHIS, TN 38107
                                                                            X



                                                                           Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                      Is the claim subject to offset?
                                                                                No
         Last 4 digits of account number                                        Yes

3.1404    Nonpriority creditor's name and mailing address                                                                                                 $30.60

         KZII-FM                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.




                                                                           Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                      Is the claim subject to offset?
                                                                                No
         Last 4 digits of account number                                        Yes

3.1405    Nonpriority creditor's name and mailing address                                                                                           $2,400.00

         LAHAINA ARCHITECTS                                                As of the petition filing date, the claim is:
         3268 GOVERNOR DR #141                                             Check all that apply.
         SAN DIEGO, CA 92122




                                                                           Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                      Is the claim subject to offset?
                                                                                No
         Last 4 digits of account number                                        Yes

3.1406    Nonpriority creditor's name and mailing address                                                                                           $1,515.00

         LAKE BUSINESS GROUP                                               As of the petition filing date, the claim is:
         W229 N1433 WESTWOOD DR 106                                        Check all that apply.
         WAUKESHA, WI 53186
                                                                            X



                                                                           Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                      Is the claim subject to offset?
                                                                                No
         Last 4 digits of account number                                        Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1407    Nonpriority creditor's name and mailing address                                                                                         $1,515.00

         LAKES BUSINESS GROUP                                            As of the petition filing date, the claim is:
         W1362 S SHORE DR                                                Check all that apply.
         PALMYRA, WI 53156
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1408    Nonpriority creditor's name and mailing address                                                                                         $1,778.00

         LAMAR UNIVERSITY                                                As of the petition filing date, the claim is:
         DISBURSEMENT ACCOUNT                                            Check all that apply.
         POB 10011
         BEAUMONT, TX 77710                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1409    Nonpriority creditor's name and mailing address                                                                                         $7,490.00

         LANGUAGE LOGIC LLC                                              As of the petition filing date, the claim is:
         POB 638946                                                      Check all that apply.
         CINCINNATI, OH 45263-8946




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1410    Nonpriority creditor's name and mailing address                                                                                         $1,740.00

         LAREDO WESTERN WEAR                                             As of the petition filing date, the claim is:
         2080 PEACHTREE IND CT STE 103                                   Check all that apply.
         CHAMBLEE, GA 30341
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1411    Nonpriority creditor's name and mailing address                                                                                         $1,050.00

         LARIMER CO DEPT OF HEALTH & ENVIRONMENT                         As of the petition filing date, the claim is:
         1525 BLUE SPRUCE DR                                             Check all that apply.
         FORT COLLINS, CO 80524
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1412    Nonpriority creditor's name and mailing address                                                                                         $3,250.00

         LAS VEGAS KILT LLC                                              As of the petition filing date, the claim is:
         3545 S LAS VEGAS BLVD L26                                       Check all that apply.
         LAS VEGAS, NV 89109
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1413    Nonpriority creditor's name and mailing address                                                                                         $1,813.67

         LATHAM & WATKINS                                                As of the petition filing date, the claim is:
         POB 894256                                                      Check all that apply.
         LOS ANGELES, CA 90189-4256
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1414    Nonpriority creditor's name and mailing address                                                                                               $18.75

         LATINWORKS MARKETING                                            As of the petition filing date, the claim is:
         ATTN KENDAL KLEIN                                               Check all that apply.
         2500 BEE CAVES RD BLDG 2 STE 300
         AUSTIN, TX 78746                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1415    Nonpriority creditor's name and mailing address                                                                                        $44,056.45

         LAUNCHSQUAD LLC                                                 As of the petition filing date, the claim is:
         340 PINE ST #100                                                Check all that apply.
         SAN FRANCISCO, CA 94104




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1416    Nonpriority creditor's name and mailing address                                                                                         $1,704.00

         LAURELWOOD SHOPPING CENTER INC                                  As of the petition filing date, the claim is:
         C/O THOMAS R PREWILT JR                                         Check all that apply.
         422 GROVE PARK RD
         MEMPHIS, TN 38117                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1417    Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         LAW DEBENTURE TRUST COMPANY                                     As of the petition filing date, the claim is:
         ATTN: JAMES HEANEY                                              Check all that apply.
         400 MADISON AVENUE
         NEW YORK, NY 10017                                               X
                                                                          X


                                                                         Basis for the claim: Guarantor of 14% Senior Notes, maturity date of February 1,
                                                                         2021
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1418    Nonpriority creditor's name and mailing address                                                                                          $1,680.00

         LAW OFFICE OF CARLOS WILLIAMS                                   As of the petition filing date, the claim is:
         616 S BOSTON AVE                                                Check all that apply.
         TULSA, OK 74119
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1419    Nonpriority creditor's name and mailing address                                                                                         $10,115.00

         LAW OFFICES OF MARK A REDMOND                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1420    Nonpriority creditor's name and mailing address                                                                                          $3,862.19

         LAW OFFICES OF ROBERT WHEATLEY                                  As of the petition filing date, the claim is:
         14661 FRANKLIN AVE STE 100                                      Check all that apply.
         TUSTIN, CA 92780




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1421    Nonpriority creditor's name and mailing address                                                                                          $2,300.00

         LEADSRX INC                                                     As of the petition filing date, the claim is:
         333 NW 9TH AVE STE 809                                          Check all that apply.
         PORTLAND, OR 97209




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1422    Nonpriority creditor's name and mailing address                                                                                         $5,364.52

         LEADSRX INC                                                     As of the petition filing date, the claim is:
         333 NW 9TH AVE STE 809                                          Check all that apply.
         PORTLAND, OR 97209




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1423    Nonpriority creditor's name and mailing address                                                                                         $1,246.63

         LEAF                                                            As of the petition filing date, the claim is:
         POB 742647                                                      Check all that apply.
         CINCINNATI, OH 45274-2647




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1424    Nonpriority creditor's name and mailing address                                                                                         $1,366.50

         LEAH MORIYAMA                                                   As of the petition filing date, the claim is:
         2133 DIVINE DR                                                  Check all that apply.
         MONTEREY PARK, CA 91754




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1425    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         LEAH MORIYAMA PHOTOGRAPHY                                       As of the petition filing date, the claim is:
         2133 DIVINE DR                                                  Check all that apply.
         MONTEREY PARK, CA 91754




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1426    Nonpriority creditor's name and mailing address                                                                                        $24,683.62

         LEVEL 3 COMMUNICATIONS LLC                                      As of the petition filing date, the claim is:
         POB 931843                                                      Check all that apply.
         ATLANTA, GA 31193-1843




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1427    Nonpriority creditor's name and mailing address                                                                                         $1,776.00

         LEVINE BLASZAK BLOCK                                            As of the petition filing date, the claim is:
         2001 L STREET NW STE 900                                        Check all that apply.
         WASHINGTON, DC 20036
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1428    Nonpriority creditor's name and mailing address                                                                                         $1,795.20

         LEWIS LLP                                                       As of the petition filing date, the claim is:
         5 CHAUNCEY LANE                                                 Check all that apply.
         LONDON, TX 78209
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1429    Nonpriority creditor's name and mailing address                                                                                        $18,315.67

         LEXMARK ENTERPRISE SOFTWARE                                     As of the petition filing date, the claim is:
         POB 846261                                                      Check all that apply.
         DALLAS, TX 75284-6261
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1430    Nonpriority creditor's name and mailing address                                                                                         $5,794.75

         LGI HOMES INC                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1431    Nonpriority creditor's name and mailing address                                                                                          $110.00

         LIEBER LAWYERS                                                  As of the petition filing date, the claim is:
         1181 STARR AVE APT 402                                          Check all that apply.
         SAINT HELENA, CA 94574




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1432    Nonpriority creditor's name and mailing address                                                                                         $1,550.00

         LIFE STYLE STAFFING                                             As of the petition filing date, the claim is:
         POB 2508                                                        Check all that apply.
         MADISON, WI 53701
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1433    Nonpriority creditor's name and mailing address                                                                                          $541.94

         LIGHTBOUND                                                      As of the petition filing date, the claim is:
         731 W HENRY ST                                                  Check all that apply.
         SUITE 21
         INDIANAPOLIS, IN 46225



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1434    Nonpriority creditor's name and mailing address                                                                                         $3,247.33

         LIGHTHOUSE COMMUNICATIONS                                       As of the petition filing date, the claim is:
         27049 SANTA CLARITA RD                                          Check all that apply.
         SANTA CLARITA, CA 91350




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1435    Nonpriority creditor's name and mailing address                                                                                          $630.00

         LIGHTING CONTROL SOLUTIONS                                      As of the petition filing date, the claim is:
         369 W MARIGOLD ST                                               Check all that apply.
         ALTADENA, CA 91001




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1436    Nonpriority creditor's name and mailing address                                                                                         $1,037.00

         LILA W PREZIOSO DBA PARTNERS INK SALES & MARKETING              As of the petition filing date, the claim is:
         2 BRUCEWOOD DR                                                  Check all that apply.
         PITTSBURGH, PA 15228
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1437    Nonpriority creditor's name and mailing address                                                                                         $2,680.67

         LINE SYSTEMS INC                                                As of the petition filing date, the claim is:
         POB 826590                                                      Check all that apply.
         PHILADELPHIA, PA 19182




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1438    Nonpriority creditor's name and mailing address                                                                                         $4,349.79

         LINK SYSTEMS INC                                                As of the petition filing date, the claim is:
         ONE DOCK ST                                                     Check all that apply.
         STAMFORD, CT 06902




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1439    Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         LIPMAN BROTHERS DISTRIBUTING                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1440    Nonpriority creditor's name and mailing address                                                                                          $200.00

         LIST PARTNERS INC                                               As of the petition filing date, the claim is:
         3098 PIEDMONT RD NE STE 200                                     Check all that apply.
         ATLANTA, GA 30305




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1441    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Employment Matter

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1442    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Demand Letter; Employment Matter

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1443    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Employment Matter, Case Number 49-124681

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1444    Nonpriority creditor's name and mailing address                                                                                         $2,087.92

         LIVEINTENT INC                                                  As of the petition filing date, the claim is:
         BOX 83398                                                       Check all that apply.
         WOBURN, MA 01813-3398




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1445    Nonpriority creditor's name and mailing address                                                                                         $5,852.65

         LIVEMORE AUTO GROUP                                             As of the petition filing date, the claim is:
         2566 KITTY HAWK RD                                              Check all that apply.
         LIVERMORE, CA 94551
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1446    Nonpriority creditor's name and mailing address                                                                                         $1,690.00

         LIVIN PURPOSE CHRISTIAN CHURCH                                  As of the petition filing date, the claim is:
         8477 SPOTTED FAWN DR                                            Check all that apply.
         BARTLETT, TN 38133
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1447    Nonpriority creditor's name and mailing address                                                                                         $2,448.75

         LMS INC                                                         As of the petition filing date, the claim is:
         POB 35747                                                       Check all that apply.
         HOUSTON, TX 77235
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1448    Nonpriority creditor's name and mailing address                                                                                        $49,000.00

         LOCALYTICS                                                      As of the petition filing date, the claim is:
         2 CENTER PLAZA 3RD FL                                           Check all that apply.
         BOSTON, MA 02108




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1449    Nonpriority creditor's name and mailing address                                                                                        $79,711.63

         LOEWS SANTA MONICA BEACH HOTEL                                  As of the petition filing date, the claim is:
         1700 OCEAN AVE                                                  Check all that apply.
         SANTA MONICA, CA 90401




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1450    Nonpriority creditor's name and mailing address                                                                                          $496.78

         LOGICAL SOLUTIONS                                               As of the petition filing date, the claim is:
         PO BOX 266                                                      Check all that apply.
         YELLOW SPRINGS, OH 45387




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1451    Nonpriority creditor's name and mailing address                                                                                        $76,634.03

         LOGICALIS                                                       As of the petition filing date, the claim is:
         POB 67000                                                       Check all that apply.
         DEPARTMENT #172301
         DETROIT, MI 48267-1723



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1452    Nonpriority creditor's name and mailing address                                                                                          $600.00

         LOHRE PAINTING COMPANY INC                                      As of the petition filing date, the claim is:
         1750 HARDING RD                                                 Check all that apply.
         NORTHFIELD, IL 60093




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1453    Nonpriority creditor's name and mailing address                                                                                         $1,008.00

         LONESTAR FAMILY FARM                                            As of the petition filing date, the claim is:
         990 N OLLIE ST                                                  Check all that apply.
         STEPHENVILLE, TX 76401
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1454    Nonpriority creditor's name and mailing address                                                                                               $41.45

         LONG DISTANCE CONSOLIDATED BILLING CO                           As of the petition filing date, the claim is:
         4010 W WALTON BLVD STE B                                        Check all that apply.
         WATERFORD, MI 48329




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1455    Nonpriority creditor's name and mailing address                                                                                               $30.00

         LOS ANGELES COUNTY                                              As of the petition filing date, the claim is:
         110 N GRANDE AVE RM 525                                         Check all that apply.
         LOS ANGELES, CA 90012
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1456    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         LOS ANGELES FIRE DEPARTMENT                                     As of the petition filing date, the claim is:
         HISTORICAL SOCIETY                                              Check all that apply.
         1355 N CAHUENGA BLVD
         HOLLYWOOD, CA 90028



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1457    Nonpriority creditor's name and mailing address                                                                                          $400.00

         LOST HIGHWAY TOURING                                            As of the petition filing date, the claim is:
         POB 3876                                                        Check all that apply.
         TEQUESTA, FL 33469




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1458    Nonpriority creditor's name and mailing address                                                                                      $267,527.66

         LOTAME SOLUTIONS INC                                            As of the petition filing date, the claim is:
         8850 STANFORD BLVD STE 4000                                     Check all that apply.
         COLUMBIA, MD 21045




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1459    Nonpriority creditor's name and mailing address                                                                                         $1,442.00

         LOVE WORTH FINDING MINISTRIES                                   As of the petition filing date, the claim is:
         POB 38300                                                       Check all that apply.
         MEMPHIS, TN 38183
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1460    Nonpriority creditor's name and mailing address                                                                                          $170.00

         LUCID HOLDINGS LLC                                              As of the petition filing date, the claim is:
         365 CANAL ST STE 700                                            Check all that apply.
         NEW ORLEANS, LA 70130




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1461    Nonpriority creditor's name and mailing address                                                                                         $4,000.00

         LUCKYS PUB HOUSTON LP                                           As of the petition filing date, the claim is:
         801 ST EMANUEL ST                                               Check all that apply.
         HOUSTON, TX 77003
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1462    Nonpriority creditor's name and mailing address                                                                                         $2,148.00

         LUCY PRODUCTIONS                                                As of the petition filing date, the claim is:
         366 JACKSON ST 101                                              Check all that apply.
         SAINT PAUL, MN 55101
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1463    Nonpriority creditor's name and mailing address                                                                                         $4,643.25

         LUMOS NETWORKS                                                  As of the petition filing date, the claim is:
         POB 11171                                                       Check all that apply.
         CHARLESTON, WV 25339-1171




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1464    Nonpriority creditor's name and mailing address                                                                                         $2,901.56

         LUNA MAR RECORDS INC                                            As of the petition filing date, the claim is:
         705 W 9TH ST APT 3401                                           Check all that apply.
         LOS ANGELES, CA 90015
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1465    Nonpriority creditor's name and mailing address                                                                                         $1,312.99

         LUTHER BLOOMINGTON HYUNDAI                                      As of the petition filing date, the claim is:
         4801 AMERICAN BLVD W                                            Check all that apply.
         BLOOMINGTON, MN 55437
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1466    Nonpriority creditor's name and mailing address                                                                                         $9,000.00

         LUX BOND & GREEN                                                As of the petition filing date, the claim is:
         ATTN ACCOUNTS PAYABLE                                           Check all that apply.
         POB 330250
         WEST HARTFORD, CT 06133-0250                                     X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1467    Nonpriority creditor's name and mailing address                                                                                         $2,850.00

         LYNCHBURG B CORPORATION                                         As of the petition filing date, the claim is:
         POB 10213                                                       Check all that apply.
         LYNCHBURG, VA 24506
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1468    Nonpriority creditor's name and mailing address                                                                                      $666,981.00

         M STREET CORPORATION                                            As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.1469    Nonpriority creditor's name and mailing address                                                                                        $18,360.00

         M11 MOTORS LLC                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1470    Nonpriority creditor's name and mailing address                                                                                          $979.96

         MACHOL & JOHANNES LLC                                           As of the petition filing date, the claim is:
         717 17TH ST STE 2300                                            Check all that apply.
         DENVER, CO 80202
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1471    Nonpriority creditor's name and mailing address                                                                                          $574.30

         MACRO TEK LLC DBA ATLANTA PRO AUDIO                             As of the petition filing date, the claim is:
         POB 1103                                                        Check all that apply.
         DECATUR, GA 30031




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1472    Nonpriority creditor's name and mailing address                                                                                          $273.23

         MAGNA5                                                          As of the petition filing date, the claim is:
         PO BOX 784                                                      Check all that apply.
         PHILADELPHIA, PA 19178-0410




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1473    Nonpriority creditor's name and mailing address                                                                                         $2,062.50

         MAGUIRE                                                         As of the petition filing date, the claim is:
         370 ELMIRA RD                                                   Check all that apply.
         ITHICA, NY 14850
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1474    Nonpriority creditor's name and mailing address                                                                                         $1,760.00

         MAIN LINE FERTILITY CENTER                                      As of the petition filing date, the claim is:
         825 OLD LANCASTER RD #170                                       Check all that apply.
         BRYN MAWR, PA 19010
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1475    Nonpriority creditor's name and mailing address                                                                                        $18,405.05

         MAIN STREET MEDIA GROUP                                         As of the petition filing date, the claim is:
         ATTN ACCOUNTS PAYABLE                                           Check all that apply.
         POB 25093
         ALEXANDRIA, VA 22313                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1476    Nonpriority creditor's name and mailing address                                                                                         $2,472.00

         MAKE MATH WORK LLC                                              As of the petition filing date, the claim is:
         30033 DE PORTOLA RD                                             Check all that apply.
         TEMECULA, CA 92592
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1477    Nonpriority creditor's name and mailing address                                                                                        $13,518.00

         MAKE MATH WORK LLC                                              As of the petition filing date, the claim is:
         30033 DE PORTOLA RD                                             Check all that apply.
         TEMECULA, CA 92592




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1478    Nonpriority creditor's name and mailing address                                                                                         $5,775.16

         MALDONADO NURSERY & LANDSCAPING                                 As of the petition filing date, the claim is:
         16348 NACOGDOCHES                                               Check all that apply.
         SAN ANTONIO, TX 78247




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1479    Nonpriority creditor's name and mailing address                                                                                          $402.95

         MALLORY HEADSETS INC                                            As of the petition filing date, the claim is:
         679 N MAIN ST                                                   Check all that apply.
         WEST BRIDGEWATER, MA 02379




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1480    Nonpriority creditor's name and mailing address                                                                                          $855.00

         MANAGEMENT & TRAINING CORPORATION                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1481    Nonpriority creditor's name and mailing address                                                                                               $13.87

         MARCUS COMMUNICATIONS LLC                                       As of the petition filing date, the claim is:
         POB 1498                                                        Check all that apply.
         MANCHESTER, CT 06045




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1482    Nonpriority creditor's name and mailing address                                                                                         $1,632.00

         MARCUS THOMAS LLC                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1483    Nonpriority creditor's name and mailing address                                                                                        $49,273.26

         MARINA DEL REY HOTEL                                            As of the petition filing date, the claim is:
         MARINA DEL REY HOTEL & MARINA                                   Check all that apply.
         13534 BALI WAY
         MARINA DEL REY, CA 90292



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1484    Nonpriority creditor's name and mailing address                                                                                         $6,400.00

         MARK BUSINESS INTELLIGENCE SYSTEMS LLC                          As of the petition filing date, the claim is:
         WELLS FARGO DEPOSITS                                            Check all that apply.
         14595 N SCOTTSDALE RD
         SCOTTSDALE, AZ 85254-3457



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1485    Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         MARKETING SCIENCE CONSULTING GROUP INC                          As of the petition filing date, the claim is:
         425 5TH AVE #33A                                                Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1486    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         MARKETING SPRINGS INC                                           As of the petition filing date, the claim is:
         17 JUNCTION DR STE 163                                          Check all that apply.
         GLEN CARBON, IL 62034
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1487    Nonpriority creditor's name and mailing address                                                                                               $75.00

         MARKETSPHERE                                                    As of the petition filing date, the claim is:
         EMMSPHERE LLC                                                   Check all that apply.
         POB 30031
         OMAHA, NE 68103-1223



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1488    Nonpriority creditor's name and mailing address                                                                                         $1,825.00

         MARKETSPHERE                                                    As of the petition filing date, the claim is:
         EMMSPHERE LLC                                                   Check all that apply.
         POB 30031
         OMAHA, NE 68103-1223
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1489    Nonpriority creditor's name and mailing address                                                                                         $5,067.57

         MARKMONITOR INC                                                 As of the petition filing date, the claim is:
         POB 71398                                                       Check all that apply.
         CHICAGO, IL 60694-1398




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1490    Nonpriority creditor's name and mailing address                                                                                         $1,790.40

         MARLOW MOTOR COMPANY INC                                        As of the petition filing date, the claim is:
         707 COMMERCE AVE                                                Check all that apply.
         FRONT ROVAL, VA 22630
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1491    Nonpriority creditor's name and mailing address                                                                                         $2,080.00

         MARSHALL SHREDDING CO                                           As of the petition filing date, the claim is:
         POB 91139                                                       Check all that apply.
         SAN ANTONIO, TX 78209




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1492    Nonpriority creditor's name and mailing address                                                                                          $202.20

         MASHELL TELECOM INC                                             As of the petition filing date, the claim is:
         ATTN CABS PROCESSING                                            Check all that apply.
         POB 639 104 WASHINGTON AVE N
         EATONVILLE, WA 98328-0639



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1493    Nonpriority creditor's name and mailing address                                                                                         $2,097.62

         MASS HOUSING                                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1494    Nonpriority creditor's name and mailing address                                                                                         $1,860.00

         MASSA AUTO PAWN INC                                             As of the petition filing date, the claim is:
         7801 W COLFAX AVE                                               Check all that apply.
         LAKEWOOD, CO 80214
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1495    Nonpriority creditor's name and mailing address                                                                                         $3,016.00

         MASTER DATA CENTER                                              As of the petition filing date, the claim is:
         POB 673451                                                      Check all that apply.
         DETROIT, MI 48267-3451




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1496    Nonpriority creditor's name and mailing address                                                                                               $20.06

         MATANUSKA TELEPHONE ASSOCIATION                                 As of the petition filing date, the claim is:
         POB 3009                                                        Check all that apply.
         PALMER, AK 99645-3009




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1497    Nonpriority creditor's name and mailing address                                                                                         $1,413.90

         MATTRESS FIRM                                                   As of the petition filing date, the claim is:
         10201 S MAIN ST                                                 Check all that apply.
         HOUSTON, TX 77025
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1498    Nonpriority creditor's name and mailing address                                                                                         $6,987.10

         MAXXISS COMMUMICATIONS                                          As of the petition filing date, the claim is:
         1951 VENTURA BLVD                                               Check all that apply.
         SUITE 216
         TARZANA, CA 91356



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1499    Nonpriority creditor's name and mailing address                                                                                          $656.51

         MAY DEPARTMENT STORE                                            As of the petition filing date, the claim is:
         307 ALBERMARLE DRIVE                                            Check all that apply.
         CHESAPEAKE, VA 23322
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1500    Nonpriority creditor's name and mailing address                                                                                         $1,780.00

         MAYBURY ASSOCIATES INC                                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1501    Nonpriority creditor's name and mailing address                                                                                         $2,962.50

         MBC GRAND BROADCASTING INC                                      As of the petition filing date, the claim is:
         300 E ROCK RD                                                   Check all that apply.
         ALLENTOWN, PA 18103-7519
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1502    Nonpriority creditor's name and mailing address                                                                                          $191.25

         MBM RADIO LP                                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1503    Nonpriority creditor's name and mailing address                                                                                         $1,460.89

         MCI                                                             As of the petition filing date, the claim is:
         MCI COMM SERVICE                                                Check all that apply.
         POB 15043
         ALBANY, NY 12212-5043



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1504    Nonpriority creditor's name and mailing address                                                                                         $1,024.25

         MCLAINE FOOD SERVICES                                           As of the petition filing date, the claim is:
         1985 HEBRON WAY                                                 Check all that apply.
         HEBRON, KY 41048
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1505    Nonpriority creditor's name and mailing address                                                                                        $14,993.75

         MCLIFF COFFEE + VENDING                                         As of the petition filing date, the claim is:
         5807 RITTIMAN PLAZA #103                                        Check all that apply.
         SAN ANTONIO, TX 78218




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1506    Nonpriority creditor's name and mailing address                                                                                          $539.86

         MCMASTER-CARR SUPPLY CO                                         As of the petition filing date, the claim is:
         POB 7690                                                        Check all that apply.
         CHICAGO, IL 60680-7690




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1507    Nonpriority creditor's name and mailing address                                                                                        $11,806.50

         MCNEELY PIGOTT & FOX PUBLIC RELATIONS                           As of the petition filing date, the claim is:
         CITY SPACE                                                      Check all that apply.
         611 COMMERCE ST STE 3000
         NASHVILLE, TN 37203                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1508    Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         MEALS ON WHEELS PEOPLE INC                                      As of the petition filing date, the claim is:
         POB 19477                                                       Check all that apply.
         PORTLAND, OR 97280
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1509    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         MEDI WEIGHT CLINIC                                              As of the petition filing date, the claim is:
         230 BROWNS WAY RD                                               Check all that apply.
         MIDLOTHIAN, VA 20853
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1510    Nonpriority creditor's name and mailing address                                                                                         $1,356.00

         MEDIA BUYING SERVICES                                           As of the petition filing date, the claim is:
         ATTN JAN MCGRATH                                                Check all that apply.
         362 ARBOR WAY
         CHARLOTTE, NC 28211                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1511    Nonpriority creditor's name and mailing address                                                                                         $2,622.25

         MEDIA CONNECTION LLC                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1512    Nonpriority creditor's name and mailing address                                                                                        $17,400.00

         MEDIA RATING COUNCIL INC                                        As of the petition filing date, the claim is:
         420 LEXINGTON AVE STE 343                                       Check all that apply.
         NEW YORK, NY 10170




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1513    Nonpriority creditor's name and mailing address                                                                                        $16,777.76

         MEDIA SOLUTIONS                                                 As of the petition filing date, the claim is:
         100 NORTHCREEK #250                                             Check all that apply.
         ATLANTA, GA 30327
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1514    Nonpriority creditor's name and mailing address                                                                                          $100.00

         MEDIA SPECIALISTS LLC                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1515    Nonpriority creditor's name and mailing address                                                                                         $1,198.50

         MEDIA VENUE                                                     As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1516    Nonpriority creditor's name and mailing address                                                                                          $563.23

         MEDIACOM                                                        As of the petition filing date, the claim is:
         POB 5744                                                        Check all that apply.
         CAROL STREAM, IL 60197-5744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1517    Nonpriority creditor's name and mailing address                                                                                               $34.80

         MEDIACOM                                                        As of the petition filing date, the claim is:
         PO BOX 5744                                                     Check all that apply.
         CAROL STREAM, IL 60197-5744




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1518    Nonpriority creditor's name and mailing address                                                                                        $34,375.00

         MEDIALINK LLC                                                   As of the petition filing date, the claim is:
         1901 AVENUE OF THE STARS STE 1775                               Check all that apply.
         LOS ANGELES, CA 90067




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1519    Nonpriority creditor's name and mailing address                                                                                      $171,612.91

         MEDIAOCEAN                                                      As of the petition filing date, the claim is:
         120 S RIVERSIDE PLZ 19TH FL                                     Check all that apply.
         CHICAGO, IL 60606




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1520    Nonpriority creditor's name and mailing address                                                                                        $19,355.96

         MEDIAVEST                                                       As of the petition filing date, the claim is:
         1675 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10019
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1521    Nonpriority creditor's name and mailing address                                                                                         $2,329.00

         MEDIAWORX                                                       As of the petition filing date, the claim is:
         4 CORPORATE DR STE 380                                          Check all that apply.
         SHELTON, CT 06484
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1522    Nonpriority creditor's name and mailing address                                                                                          $244.77

         MEGAPATH INC                                                    As of the petition filing date, the claim is:
         POB 150421 DEPT 111023                                          Check all that apply.
         HARTFORD, CT 06115




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1523    Nonpriority creditor's name and mailing address                                                                                          $442.66

         MELTWATER NEWS US INC                                           As of the petition filing date, the claim is:
         DEPT LA 23721                                                   Check all that apply.
         PASADENA, CA 91185-3721




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1524    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         MERCHANTS AUTOMOTIVE GROUP                                      As of the petition filing date, the claim is:
         1278 HOOKSETT RD                                                Check all that apply.
         HOOKSETT, NH 03106-1839
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1525    Nonpriority creditor's name and mailing address                                                                                         $2,314.18

         MEREDITH CORPORATION                                            As of the petition filing date, the claim is:
         1716 LOCUST ST                                                  Check all that apply.
         DES MOINES, IA 50309-3023
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1526    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         MERIT MEDICAL                                                   As of the petition filing date, the claim is:
         SYSTEMS                                                         Check all that apply.
         1600 MERIT PKWY
         SOUTH JORDAN, UT 84095                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1527    Nonpriority creditor's name and mailing address                                                                                         $3,357.32

         MET PHOTO INC                                                   As of the petition filing date, the claim is:
         1500 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10036




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1528    Nonpriority creditor's name and mailing address                                                                                         $2,091.00

         METRO                                                           As of the petition filing date, the claim is:
         600 NE GRAND AVE                                                Check all that apply.
         PORTLAND, OR 97232
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1529    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         METRO BEAUTY ACADEMY LLC                                        As of the petition filing date, the claim is:
         4977 MEDICAL CTR CIR                                            Check all that apply.
         ALLENTOWN, PA 18106
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1530    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         METRO FORD OF MADISON                                           As of the petition filing date, the claim is:
         5422 WAYNE TER                                                  Check all that apply.
         MADISON, WI 53718
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1531    Nonpriority creditor's name and mailing address                                                                                         $1,448.00

         METRO UNITED WAY INC                                            As of the petition filing date, the claim is:
         POB 950148 DEPT 52860                                           Check all that apply.
         LOUISVILLE, KY 40295-0148
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1532    Nonpriority creditor's name and mailing address                                                                                         $3,631.20

         METROCARE SERVICES                                              As of the petition filing date, the claim is:
         1345 RIVER BEND DR                                              Check all that apply.
         DALLAS, TX 75247
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1533    Nonpriority creditor's name and mailing address                                                                                               $69.96

         METROCAST CABLEVISION                                           As of the petition filing date, the claim is:
         POB 9253                                                        Check all that apply.
         CHELSEA, MA 02150-9253




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1534    Nonpriority creditor's name and mailing address                                                                                               $25.00

         METROPOLITAN APOSTOLIC COMMUNITY CHURCH                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1535    Nonpriority creditor's name and mailing address                                                                                         $2,370.00

         MFOUR MOBILE RESEARCH INC                                       As of the petition filing date, the claim is:
         POB 748727                                                      Check all that apply.
         LOS ANGELES, CA 90074-8727




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1536    Nonpriority creditor's name and mailing address                                                                                         $3,302.14

         MHC SOFTWARE INC                                                As of the petition filing date, the claim is:
         POB 1749                                                        Check all that apply.
         BURNSVILLE, MN 55337
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1537    Nonpriority creditor's name and mailing address                                                                                         $2,000.05

         MIAMI DADE COUNTY PUBLIC SCHOOLS                                As of the petition filing date, the claim is:
         1450 NE SCOND AVE                                               Check all that apply.
         MEDLEY, FL 33178
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1538    Nonpriority creditor's name and mailing address                                                                                        $48,557.86

         MICROSOFT CORP                                                  As of the petition filing date, the claim is:
         POB 842103                                                      Check all that apply.
         DALLAS, TX 75284-2103




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1539    Nonpriority creditor's name and mailing address                                                                                          $351.55

         MID-HUDSON CABLEVISION                                          As of the petition filing date, the claim is:
         POB 1354                                                        Check all that apply.
         WILLISTON, VT 05495-1354




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1540    Nonpriority creditor's name and mailing address                                                                                          $863.78

         MIDCONTINENT COMMUNICATIONS                                     As of the petition filing date, the claim is:
         POB 5010                                                        Check all that apply.
         SIOUX FALLS, SD 57117




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1541    Nonpriority creditor's name and mailing address                                                                                         $3,442.50

         MIDWEST EVENT SERVICES INC                                      As of the petition filing date, the claim is:
         ATTN SHANNON MEYER                                              Check all that apply.
         201 S CAPITOL AVE STE 600
         INDIANAPOLIS, IN 46225                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1542    Nonpriority creditor's name and mailing address                                                                                         $2,681.80

         MIKE PERRIN PRODUCTIONS                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1543    Nonpriority creditor's name and mailing address                                                                                         $1,113.00

         MILLBROOK PIONEERS ATHLETIC ASSOCIATION                         As of the petition filing date, the claim is:
         251 FIRST WOODS DR                                              Check all that apply.
         WINCHESTER, VA 22603
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1544    Nonpriority creditor's name and mailing address                                                                                          $387.50

         MILLSTONE FARM & GARDEN CENTER LLC                              As of the petition filing date, the claim is:
         13788 COLUMBIANA CANFIELD RD                                    Check all that apply.
         COLUMBIANA, OH 44408
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1545    Nonpriority creditor's name and mailing address                                                                                         $6,897.00

         MILLWARD BROWN DIGITAL                                          As of the petition filing date, the claim is:
         11 MADISON AVE                                                  Check all that apply.
         NEW YORK, NY 10010




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1546    Nonpriority creditor's name and mailing address                                                                                         $1,250.00

         MILROSE CONSULTANTS INC                                         As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         498 SEVENTH AVE 17TH FL
         NEW YORK, NY 10018



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1547    Nonpriority creditor's name and mailing address                                                                                          $308.42

         MISSION COURIER                                                 As of the petition filing date, the claim is:
         2101 LOCKHILL-SELMA RD STE 202                                  Check all that apply.
         SAN ANTONIO, TX 78213




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1548    Nonpriority creditor's name and mailing address                                                                                         $1,883.55

         MISSION RESTAURANT SUPPLY                                       As of the petition filing date, the claim is:
         1227 S ST MARYS                                                 Check all that apply.
         SAN ANTONIO, TX 78210




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1549    Nonpriority creditor's name and mailing address                                                                                          $249.52

         MITCHELL'S NY                                                   As of the petition filing date, the claim is:
         PO BOX 439                                                      Check all that apply.
         SUNNYSIDE, NY 11104




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1550    Nonpriority creditor's name and mailing address                                                                                        $11,917.00

         MITTCOM                                                         As of the petition filing date, the claim is:
         300 FIRST AVE STE 204                                           Check all that apply.
         NEEDHAM, MA 02494
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1551    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         MITTON MEDIA                                                    As of the petition filing date, the claim is:
         846 MERRICK DR                                                  Check all that apply.
         SUGAR LAND, TX 77478
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1552    Nonpriority creditor's name and mailing address                                                                                        $36,132.18

         MMS AS PAYING COMPANY                                           As of the petition filing date, the claim is:
         27-01 QUEENS PLZ N                                              Check all that apply.
         LONG ISLAND CITY, NY 11101
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1553    Nonpriority creditor's name and mailing address                                                                                        $14,571.70

         MOBIUS PARTNERS                                                 As of the petition filing date, the claim is:
         1711 CITADEL PLZ                                                Check all that apply.
         SAN ANTONIO, TX 78209
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1554    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         MODESTO IRRIGATION DISTRICT                                     As of the petition filing date, the claim is:
         POB 5355                                                        Check all that apply.
         MODESTO, CA 95352
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1555    Nonpriority creditor's name and mailing address                                                                                        $19,633.50

         MODIS                                                           As of the petition filing date, the claim is:
         DEPT CH 10682                                                   Check all that apply.
         PALATINE, IL 60055-0682




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1556    Nonpriority creditor's name and mailing address                                                                                         $1,632.00

         MOLALLA BUCKAROO ASSOCIATION                                    As of the petition filing date, the claim is:
         ATTN VAUGHN HANSEN                                              Check all that apply.
         POB 601
         MOLALLA, OR 97038                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1557    Nonpriority creditor's name and mailing address                                                                                               $30.70

         MON-CRE TELEPHONE COOPERATIVE INC                               As of the petition filing date, the claim is:
         POB 125                                                         Check all that apply.
         RAMER, AL 36069




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1558    Nonpriority creditor's name and mailing address                                                                                        $18,480.98

         MONGO DB                                                        As of the petition filing date, the claim is:
         4365 POB 894365                                                 Check all that apply.
         LOS ANGELES, CA 90189-4365




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1559    Nonpriority creditor's name and mailing address                                                                                        $31,712.66

         MOOD MEDIA                                                      As of the petition filing date, the claim is:
         POB 71070                                                       Check all that apply.
         CHARLOTTE, NC 28272-1070




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1560    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         MOOYAH ADFUND LLC                                               As of the petition filing date, the claim is:
         6865 WINDCREST DR STE 400                                       Check all that apply.
         PLANO, TX 75024
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1561    Nonpriority creditor's name and mailing address                                                                                         $3,000.00

         MORGAN & MORGAN                                                 As of the petition filing date, the claim is:
         POB 57007                                                       Check all that apply.
         ATLANTA, GA 30343-1007
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1562    Nonpriority creditor's name and mailing address                                                                                         $1,234.10

         MORRIS GROUP INC                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1563    Nonpriority creditor's name and mailing address                                                                                               $21.88

         MOSAIC TELECOM                                                  As of the petition filing date, the claim is:
         POB 664                                                         Check all that apply.
         CAMERON, WI 54822




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1564    Nonpriority creditor's name and mailing address                                                                                                $2.50

         MOUNT HOREB TELEPHONE COMPANY                                   As of the petition filing date, the claim is:
         POB 65                                                          Check all that apply.
         MOUNT HOREB, WI 53572




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1565    Nonpriority creditor's name and mailing address                                                                                          $275.71

         MR ELECTRIC OF BATON ROUGE                                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1566    Nonpriority creditor's name and mailing address                                                                                          $200.00

         MSG FORUM LLC                                                   As of the petition filing date, the claim is:
         C/O EVELYN CARRION                                              Check all that apply.
         3900 W MANCHESTER BLVD
         INGLEWOOD, CA 90305



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1567    Nonpriority creditor's name and mailing address                                                                                         $1,036.55

         MSG HOLDING LP                                                  As of the petition filing date, the claim is:
         2 PENNSYLVANIA PLAZA                                            Check all that apply.
         NEW YORK, NY 10121-0091
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1568    Nonpriority creditor's name and mailing address                                                                                               $21.49

         MT VERNON TELEPHONE COMPANY                                     As of the petition filing date, the claim is:
         ATTN BRENDA WENDT                                               Check all that apply.
         NW 8702 POB 1450
         MINNEAPOLIS, MN 55485-8702



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1569    Nonpriority creditor's name and mailing address                                                                                         $7,348.75

         MU2 PRODUCTIONS                                                 As of the petition filing date, the claim is:
         239 SE 34TH AVE                                                 Check all that apply.
         BOYNTON BEACH, FL 33435




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1570    Nonpriority creditor's name and mailing address                                                                                         $2,147.25

         MUHAMMADS HOLY TEMPLE OF ISLAM                                  As of the petition filing date, the claim is:
         7351 S STONY ISLAND AVE                                         Check all that apply.
         CHICAGO, IL 60649-3106
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1571    Nonpriority creditor's name and mailing address                                                                                          $425.00

         MUNN-REESE INC                                                  As of the petition filing date, the claim is:
         POB 220                                                         Check all that apply.
         COLDWATER, MI 49036




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1572    Nonpriority creditor's name and mailing address                                                                                         $2,127.87

         MUNSCH HARDT                                                    As of the petition filing date, the claim is:
         500 N AKARD ST                                                  Check all that apply.
         3800 LINCOLN PLZ
         DALLAS, TX 75201



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1573    Nonpriority creditor's name and mailing address                                                                                         $1,185.75

         MURIEL HONS MEDIA CONSULTANTS INC                               As of the petition filing date, the claim is:
         POB 127                                                         Check all that apply.
         WALLINGFORD, PA 19086
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1574    Nonpriority creditor's name and mailing address                                                                                         $3,500.00

         MUSCOGEE CREEK NATION CASINO                                    As of the petition filing date, the claim is:
         POB 70833                                                       Check all that apply.
         TULSA, OK 74170
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1575    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         MUSIC BUSINESS AFFAIRS                                          As of the petition filing date, the claim is:
         620 N ORCHARD DR                                                Check all that apply.
         BURBANK, CA 91506




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1576    Nonpriority creditor's name and mailing address                                                                                             $0.00
                                                                                                                                            + Undetermined
         MUSIC REPORTS INC                                               As of the petition filing date, the claim is:
         2112 ERWIN ST                                                   Check all that apply.
         WOODLAND HILLS, CA 91367
                                                                          X
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1577    Nonpriority creditor's name and mailing address                                                                                         $9,169.03

         MUSICOVERY                                                      As of the petition filing date, the claim is:
         16 BIS RUE MAYET                                                Check all that apply.
         PARIS 75006
         FRANCE



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1578    Nonpriority creditor's name and mailing address                                                                                         $2,796.00

         MY FLOOR BY PRINTS AND PAIN ATTENTION                           As of the petition filing date, the claim is:
         ATTN LAURA SMITH                                                Check all that apply.
         888 BUCYRUS RD
         GALION, OH 44833                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1579    Nonpriority creditor's name and mailing address                                                                                         $1,700.00

         MY HAIR CLOSET                                                  As of the petition filing date, the claim is:
         12529 S STONEBROOK CIR                                          Check all that apply.
         DAVIE, FL 33330
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1580    Nonpriority creditor's name and mailing address                                                                                          $252.03

         N CAROLINA STATE EDUCATION                                      As of the petition filing date, the claim is:
         POB 14109                                                       Check all that apply.
         RESEARCH TRIANGLE PA, NC 27709
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1581    Nonpriority creditor's name and mailing address                                                                                         $1,440.00

         NAFB                                                            As of the petition filing date, the claim is:
         1100 PLATTE FALLS RD                                            Check all that apply.
         PLATTE CITY, MO 64079




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1582    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         NAKATO JAPANESE STEAKHOUSE                                      As of the petition filing date, the claim is:
         2615 S GLENSTONE AVE                                            Check all that apply.
         SPRINGFIELD, MO 65804
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1583    Nonpriority creditor's name and mailing address                                                                                        $27,503.23

         NATIONAL ASSOCIATION OF BROADCASTERS                            As of the petition filing date, the claim is:
         1771 N ST NW                                                    Check all that apply.
         WASHINGTON, DC 20036




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1584    Nonpriority creditor's name and mailing address                                                                                         $3,550.00

         NATIONAL AUTO SALES INC                                         As of the petition filing date, the claim is:
         831 COBB PKWY N                                                 Check all that apply.
         MARIETTA, GA 30062
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1585    Nonpriority creditor's name and mailing address                                                                                         $1,825.00

         NATIONAL COMMUUTES                                              As of the petition filing date, the claim is:
         6991 E CAMELBACK                                                Check all that apply.
         SCOTTSDALE, AZ 85251
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1586    Nonpriority creditor's name and mailing address                                                                                        $38,965.00

         NATIONAL DISTRIBUTING COMPANY                                   As of the petition filing date, the claim is:
         ONE NATIONAL DR SW                                              Check all that apply.
         ATLANTA, GA 30336
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1587    Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         NATIONSWELL COUNCIL                                             As of the petition filing date, the claim is:
         394 BROADWAY                                                    Check all that apply.
         NEW YORK, NY 10013




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1588    Nonpriority creditor's name and mailing address                                                                                        $20,217.75

         NATIVEX                                                         As of the petition filing date, the claim is:
         1900 MEDICAL ARTS AVE S STE 200                                 Check all that apply.
         SARTELL, MN 55377




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1589    Nonpriority creditor's name and mailing address                                                                                        $18,667.42

         NBPA BROADCAST                                                  As of the petition filing date, the claim is:
         180 N STETSON AVE STE 2525                                      Check all that apply.
         CHICAGO, IL 60601
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1590    Nonpriority creditor's name and mailing address                                                                                         $8,500.00

         NBPA BROADCAST                                                  As of the petition filing date, the claim is:
         180 N STETSON AVE STE 2525                                      Check all that apply.
         CHICAGO, IL 60601




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1591    Nonpriority creditor's name and mailing address                                                                                         $4,855.90

         NEBRASKA PUBLIC POWER DIST                                      As of the petition filing date, the claim is:
         PO BOX 2860                                                     Check all that apply.
         OMAHA, NE 68103-2860




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1592    Nonpriority creditor's name and mailing address                                                                                         $1,630.00

         NEIGHBORCARE PHAMACY OF VIRGINIA                                As of the petition filing date, the claim is:
         8575 MAGELLAN PKWY 100                                          Check all that apply.
         RICHMOND, VA 23227
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1593    Nonpriority creditor's name and mailing address                                                                                        $41,654.93

         NEO @ OGILVY                                                    As of the petition filing date, the claim is:
         636 11TH AVE                                                    Check all that apply.
         NEW YORK, NY 10036
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1594    Nonpriority creditor's name and mailing address                                                                                        $92,500.00

         NET NET INC                                                     As of the petition filing date, the claim is:
         ATTN AR                                                         Check all that apply.
         217 E 24TH ST STE 010
         HOLLAND, MI 49423



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1595    Nonpriority creditor's name and mailing address                                                                                         $1,415.00

         NEVER HUNG OVER LLC                                             As of the petition filing date, the claim is:
         POB 30428                                                       Check all that apply.
         LAS VEGAS, NV 89173
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1596    Nonpriority creditor's name and mailing address                                                                                         $1,051.60

         NEW AMERICAN FUNDING                                            As of the petition filing date, the claim is:
         233 MILFORD RD                                                  Check all that apply.
         CORONA DEL MAR, CA 92625
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1597    Nonpriority creditor's name and mailing address                                                                                        $60,865.59

         NEW RELIC INC                                                   As of the petition filing date, the claim is:
         POB 101812                                                      Check all that apply.
         PASADENA, CA 91189-1812




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1598    Nonpriority creditor's name and mailing address                                                                                      $149,300.71

         NEW SKIES SATELLITES BV                                         As of the petition filing date, the claim is:
         DEPT 781848                                                     Check all that apply.
         POB 78000
         DETROIT, MI 48278-1848
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1599    Nonpriority creditor's name and mailing address                                                                                        $17,411.94

         NEW SKIES SATELLITES BV                                         As of the petition filing date, the claim is:
         DEPT 781848                                                     Check all that apply.
         POB 78000
         DETROIT, MI 48278-1848



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1600    Nonpriority creditor's name and mailing address                                                                                         $1,160.00

         NEW YORK CITY DEPARTMENT OF BUILDINGS                           As of the petition filing date, the claim is:
         280 BROADWAY 5TH FL                                             Check all that apply.
         NEW YORK, NY 10007
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1601    Nonpriority creditor's name and mailing address                                                                                               $5.00

         NEW YORK PUBLIC RADIO                                           As of the petition filing date, the claim is:
         160 VARICK ST                                                   Check all that apply.
         NEW YORK, NY 10013
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1602    Nonpriority creditor's name and mailing address                                                                                               $58.00

         NEWEGG BUSINESS INC                                             As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         17560 ROWLAND ST
         CITY OF INDUSTRY, CA 91748



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1603    Nonpriority creditor's name and mailing address                                                                                         $2,637.72

         NEWROADS TELECOM                                                As of the petition filing date, the claim is:
         POB 2670                                                        Check all that apply.
         FORT SMITH, AR 72902-2670




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1604    Nonpriority creditor's name and mailing address                                                                                         $1,450.00

         NEXCAR LLC DBA CHAMPION AUTOMOTIVE                              As of the petition filing date, the claim is:
         7220 AIRPORT BLVD                                               Check all that apply.
         MOBILE, AL 36608
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1605    Nonpriority creditor's name and mailing address                                                                                         $5,444.00

         NEXSTAR BROADCASTING INC                                        As of the petition filing date, the claim is:
         KXMC KXMB KXMD KXMA                                             Check all that apply.
         POB 1686
         MINOT, ND 58702                                                  X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1606    Nonpriority creditor's name and mailing address                                                                                         $1,016.00

         NEXT VAPOR LLC                                                  As of the petition filing date, the claim is:
         3201 SUMMERVILLE RD                                             Check all that apply.
         TEXARKANA, TX 75503
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1607    Nonpriority creditor's name and mailing address                                                                                          $333.42

         NEXTUP BASEBALL ACADEMY                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1608    Nonpriority creditor's name and mailing address                                                                                         $4,435.00

         NICHOLS STORE INC                                               As of the petition filing date, the claim is:
         1980 MOUNT HOLLY RD                                             Check all that apply.
         ROCK HILL, SC 29730
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1609    Nonpriority creditor's name and mailing address                                                                                      $349,349.00

         NIELSEN                                                         As of the petition filing date, the claim is:
         NIELSEN MEDIA RESEARCH                                          Check all that apply.
         85 BROAD ST
         NEW YORK, NY 10004



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1610    Nonpriority creditor's name and mailing address                                                                                         $1,339.00

         NISSAN OF SOUTH ATLANTA LLC                                     As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1611    Nonpriority creditor's name and mailing address                                                                                               $10.00

         NOBLE FINANCE CORP DBA FIRST CAPITAL FINANCE                    As of the petition filing date, the claim is:
         2420 W WACO DR                                                  Check all that apply.
         WACO, TX 76701
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1612    Nonpriority creditor's name and mailing address                                                                                         $4,875.88

         NOCTEL COMMUNICATIONS                                           As of the petition filing date, the claim is:
         11575 SW PACIFIC HWY #189                                       Check all that apply.
         PORTLAND, OR 97223




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1613    Nonpriority creditor's name and mailing address                                                                                               $54.89

         NOLAND HAMERLY ETIENNE & HOSS                                   As of the petition filing date, the claim is:
         333 SALINAS ST                                                  Check all that apply.
         SALINAS, CA 93901
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1614    Nonpriority creditor's name and mailing address                                                                                    $32,679,649.00

         NON-FILING ENTITIES                                             As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.1615    Nonpriority creditor's name and mailing address                                                                                         $2,400.00

         NON-LINEAR SOLUTIONS LLC                                        As of the petition filing date, the claim is:
         6656 BUTTONWOOD AVE                                             Check all that apply.
         OAK PARK, CA 91377




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1616    Nonpriority creditor's name and mailing address                                                                                         $1,050.00

         NONE BIOGEN                                                     As of the petition filing date, the claim is:
         125 CHUBB AVE                                                   Check all that apply.
         LYNDHURST, NJ 07071
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1617    Nonpriority creditor's name and mailing address                                                                                         $3,165.06

         NORTH STATE COMMUNICATIONS                                      As of the petition filing date, the claim is:
         POB 612                                                         Check all that apply.
         HIGH POINT, NC 27261




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1618    Nonpriority creditor's name and mailing address                                                                                         $2,499.00

         NORTH WEST ARKANSAS MALL                                        As of the petition filing date, the claim is:
         4201 N SHILOH DR                                                Check all that apply.
         FAYETTEVILLE, AR 72703
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1619    Nonpriority creditor's name and mailing address                                                                                         $1,836.00

         NORTH WOODS ADVERTISING                                         As of the petition filing date, the claim is:
         119 NORTH 4TH STREET                                            Check all that apply.
         200 TEXTILE BUILDING
         MINNEAPOLIS, MN 55401                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1620    Nonpriority creditor's name and mailing address                                                                                          $705.32

         NORTHLAND COMMUNICATIONS                                        As of the petition filing date, the claim is:
         POB 419                                                         Check all that apply.
         HOLLAND PATENT, NY 13354




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1621    Nonpriority creditor's name and mailing address                                                                                         $2,194.96

         NORTHSTAR HEALTHCARE ACQUISITIONS LLC                           As of the petition filing date, the claim is:
         11700 KATY FRWY STE 300                                         Check all that apply.
         HOUSTON, TX 77079
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1622    Nonpriority creditor's name and mailing address                                                                                         $1,140.00

         NOVACOPY INC                                                    As of the petition filing date, the claim is:
         5520 SHELBY OAKS DR                                             Check all that apply.
         MEMPHIS, TN 38134
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1623    Nonpriority creditor's name and mailing address                                                                                          $139.12

         NTS COMMUNICATIONS                                              As of the petition filing date, the claim is:
         PO BOX 173                                                      Check all that apply.
         LUBBOCK, TX 79408-3730




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1624    Nonpriority creditor's name and mailing address                                                                                          $709.05

         NU WAY PEST CONTROL LLC                                         As of the petition filing date, the claim is:
         POB 680072                                                      Check all that apply.
         SAN ANTONIO, TX 78268-0072




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1625    Nonpriority creditor's name and mailing address                                                                                               $66.65

         NULINK                                                          As of the petition filing date, the claim is:
         POB 23076                                                       Check all that apply.
         COLUMBUS, GA 31902-3076




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1626    Nonpriority creditor's name and mailing address                                                                                          $291.76

         NUNN TELEPHONE COMPANY                                          As of the petition filing date, the claim is:
         POB 249                                                         Check all that apply.
         NUNN, CO 80648-0249




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
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3.1627    Nonpriority creditor's name and mailing address                                                                                         $1,725.00

         NW ARKANSAS MALL REALTY LLC                                     As of the petition filing date, the claim is:
         C/O NAMDAR REALTY LLC                                           Check all that apply.
         150 GREAT NECK RD STE 304
         GREAT NECK, NY 11021                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1628    Nonpriority creditor's name and mailing address                                                                                          $858.07

         NYI                                                             As of the petition filing date, the claim is:
         WALL STREET STATION                                             Check all that apply.
         PO BOX 172
         NEW YORK, NY 10268-1702



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1629    Nonpriority creditor's name and mailing address                                                                                          $100.00

         NYS DEPARTMENT OF STATE                                         As of the petition filing date, the claim is:
         99 WASHINGTON AVE                                               Check all that apply.
         ALBANY, NY 12231
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1630    Nonpriority creditor's name and mailing address                                                                                               $95.94

         NYSE MARKET INC                                                 As of the petition filing date, the claim is:
         BOX 223695                                                      Check all that apply.
         PITTSBURGH, PA 15251-2695




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1631    Nonpriority creditor's name and mailing address                                                                                         $1,020.00

         O TOOLES RESTAURANT                                             As of the petition filing date, the claim is:
         KOHLS PLAZA 1814 CENTRAL AVE                                    Check all that apply.
         ALBANY, NY 12205
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
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3.1632    Nonpriority creditor's name and mailing address                                                                                         $4,003.00

         OAKTOPIA LLC                                                    As of the petition filing date, the claim is:
         4880 LONG PRAIRIE RD STE 200                                    Check all that apply.
         FLOWER MOUND, TX 75028
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1633    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         OBSCENE SOUNDS LLC                                              As of the petition filing date, the claim is:
         JONATHAN GARCIA                                                 Check all that apply.
         11360 SW 52 ST
         MIAMI, FL 33165



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1634    Nonpriority creditor's name and mailing address                                                                                          $327.78

         OCEANIC TIME WARNER CABLE                                       As of the petition filing date, the claim is:
         POB 30050                                                       Check all that apply.
         HONOLULU, HI 96820-0050
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1635    Nonpriority creditor's name and mailing address                                                                                        $19,400.00

         OCUCOM CORP                                                     As of the petition filing date, the claim is:
         333 MAMARONECK AVE STE 434                                      Check all that apply.
         WHITE PLAINS, NY 10605




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1636    Nonpriority creditor's name and mailing address                                                                                          $285.60

         OFFICE OF THE CIRCUIT CLERK                                     As of the petition filing date, the claim is:
         POB 16994                                                       Check all that apply.
         CLAYTON, MO 63105
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1637    Nonpriority creditor's name and mailing address                                                                                               $7.00

         OFFICE OF VITAL RECORDS                                         As of the petition filing date, the claim is:
         421 5TH AVE N - CENTRAL SERVICES BLDG 1S                        Check all that apply.
         NASHVILLE, TN 37243
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1638    Nonpriority creditor's name and mailing address                                                                                          $365.00

         OKLAHOMA TAX COMMISSION                                         As of the petition filing date, the claim is:
         POB 26920                                                       Check all that apply.
         OKLAHOMA CITY, OK 73126
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1639    Nonpriority creditor's name and mailing address                                                                                      $316,117.20

         OKTA                                                            As of the petition filing date, the claim is:
         301 BRANNAN ST STE 100                                          Check all that apply.
         SAN FRANCISCO, CA 94107




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1640    Nonpriority creditor's name and mailing address                                                                                         $1,776.00

         OMAHA MAGAZINE LTD                                              As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1641    Nonpriority creditor's name and mailing address                                                                                         $1,935.00

         OMAHA STEAKS                                                    As of the petition filing date, the claim is:
         318 FRIENDSHIP CHURCH RD                                        Check all that apply.
         COLUMBIA, MS 39429
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1642    Nonpriority creditor's name and mailing address                                                                                        $20,000.00

         OMNICOM GROUP INC                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1643    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         OMNISOURCE CORPORATION SOUTHERN INDIANA                         As of the petition filing date, the claim is:
         2115 S WEST ST                                                  Check all that apply.
         INDIANAPOLIS, IN 46206
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1644    Nonpriority creditor's name and mailing address                                                                                         $6,228.25

         ONE CLIPBOARD INC                                               As of the petition filing date, the claim is:
         DBA SPLASH ATTN ACCOUNTING DEPT                                 Check all that apply.
         122 W 26TH ST 4TH FL
         NEW YORK, NY 10001



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1645    Nonpriority creditor's name and mailing address                                                                                          $683.75

         OPENPATH PRODUCTS LLC                                           As of the petition filing date, the claim is:
         2065 GENERALS HIGHWAY                                           Check all that apply.
         ANNAPOLIS, MD 21401




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1646    Nonpriority creditor's name and mailing address                                                                                         $1,652.00

         OPINIONROUTE LLC                                                As of the petition filing date, the claim is:
         ATTN FINANCE                                                    Check all that apply.
         20620 JOHN CARROLL BLVD STE 202
         CLEVELAND, OH 44118



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1647    Nonpriority creditor's name and mailing address                                                                                               $62.23

         OPTIMUM                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1648    Nonpriority creditor's name and mailing address                                                                                               $54.74

         OPTIMUM                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1649    Nonpriority creditor's name and mailing address                                                                                          $330.61

         OPUS BEAUTY                                                     As of the petition filing date, the claim is:
         6442 SANTA MONICA BLVD #200B                                    Check all that apply.
         LOS ANGELES, CA 90038




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1650    Nonpriority creditor's name and mailing address                                                                                      $367,867.65

         ORACLE AMERICA INC                                              As of the petition filing date, the claim is:
         C/O ORACLE-MOAT                                                 Check all that apply.
         POB 44471
         SAN FRANCISCO, CA 94144-4471



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1651    Nonpriority creditor's name and mailing address                                                                                        $11,400.00

         ORACLE USA INC                                                  As of the petition filing date, the claim is:
         POB 44471                                                       Check all that apply.
         SAN FRANCISCO, CA 94144




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1652    Nonpriority creditor's name and mailing address                                                                                               $26.27

         OTELCO                                                          As of the petition filing date, the claim is:
         DEPT #0700 POB 2252                                             Check all that apply.
         OTELCO TELEPHONE LLC
         BIRMINGHAM, AL 35246-0700



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1653    Nonpriority creditor's name and mailing address                                                                                        $19,220.00

         OXFORD ROAD                                                     As of the petition filing date, the claim is:
         ATTN CHRISTINA WONG                                             Check all that apply.
         6430 W SUNSET BLVD STE 600
         LOS ANGELES, CA 90028-7909                                       X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1654    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         P F HARRIS MANUFACTURING CO LLC                                 As of the petition filing date, the claim is:
         POB 1922                                                        Check all that apply.
         CATERSVILLE, GA 30120
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1655    Nonpriority creditor's name and mailing address                                                                                         $3,331.32

         PA CYBER CHARTER SCHOOL                                         As of the petition filing date, the claim is:
         652 MIDLAND AVE                                                 Check all that apply.
         MIDLAND, PA 15059
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1656    Nonpriority creditor's name and mailing address                                                                                        $38,278.41

         PACIFIC OFFICE AUTOMATION                                       As of the petition filing date, the claim is:
         POB 41602                                                       Check all that apply.
         PHILADELPHIA, PA 19101-1602




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1657    Nonpriority creditor's name and mailing address                                                                                          $776.49

         PACIFIC WIRELESS SYSTEMS LLC                                    As of the petition filing date, the claim is:
         POB 1250                                                        Check all that apply.
         RICHLAND, WA 99352




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1658    Nonpriority creditor's name and mailing address                                                                                        $99,875.90

         PAETEC                                                          As of the petition filing date, the claim is:
         POB 9001013                                                     Check all that apply.
         LOUISVILLE, KY 40290-1013




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1659    Nonpriority creditor's name and mailing address                                                                                        $14,141.90

         PALISADES EAST LLC                                              As of the petition filing date, the claim is:
         C/O ELV ASSOC INC                                               Check all that apply.
         POB 845812
         BOSTON, MA 02284-5812



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1660    Nonpriority creditor's name and mailing address                                                                                         $4,244.83

         PALMER PROFESSIONAL CENTRE LLC                                  As of the petition filing date, the claim is:
         ATTN ACCOUNTING DEPT                                            Check all that apply.
         3108 PONTE MORINO DR STE 110
         CAMERON PARK, CA 95682



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1661    Nonpriority creditor's name and mailing address                                                                                         $1,761.00

         PANCARE OF FLORIDA INC                                          As of the petition filing date, the claim is:
         403 E 11TH ST                                                   Check all that apply.
         PANAMA CITY, FL 32401
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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3.1662    Nonpriority creditor's name and mailing address                                                                                         $1,861.50

         PAPA JOHNS ST LOUIS DMA                                         As of the petition filing date, the claim is:
         ATTN MISSIE WEIS                                                Check all that apply.
         2002 PAPA JOHNS BLVD
         LOUISVILLE, KY 40299                                             X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1663    Nonpriority creditor's name and mailing address                                                                                         $3,300.00

         PAPERLYTE LLC                                                   As of the petition filing date, the claim is:
         122 E 5TH ST STE A                                              Check all that apply.
         DALLAS, TX 75203




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1664    Nonpriority creditor's name and mailing address                                                                                          $963.00

         PARADIGM NORMAN PROPERTY LLC                                    As of the petition filing date, the claim is:
         DBA CAMPUS LODGE LP                                             Check all that apply.
         220 N MAIN ST
         GAINESVILLE, FL 32601                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1665    Nonpriority creditor's name and mailing address                                                                                               $40.00

         PARADIGM SAMPLE LLC                                             As of the petition filing date, the claim is:
         921 PORT WASHINGTON BLVD STE 11                                 Check all that apply.
         PORT WASHINGTON, NY 11050




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1666    Nonpriority creditor's name and mailing address                                                                                         $2,300.00

         PARK N FLY INC                                                  As of the petition filing date, the claim is:
         2060 MT PARAN RD NW - STE 207                                   Check all that apply.
         ATLANTA, GA 30327
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
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3.1667    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         PAROLE ANNAPOLIS ROTARY FOUNDATION INC                          As of the petition filing date, the claim is:
         NAPTOWN BARBAYQ                                                 Check all that apply.
         POB 6327
         ANNAPOLIS, MD 21401                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1668    Nonpriority creditor's name and mailing address                                                                                      $109,991.34

         PARSELY INC                                                     As of the petition filing date, the claim is:
         POB 674900                                                      Check all that apply.
         DETROIT, MI 48267-4900




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1669    Nonpriority creditor's name and mailing address                                                                                         $1,270.00

         PASO ROBLES CAB COLLECTIVE                                      As of the petition filing date, the claim is:
         6169 AIRPORT RD                                                 Check all that apply.
         PASO ROBLES, CA 93446
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1670    Nonpriority creditor's name and mailing address                                                                                          $112.60

         PATRICK CHEVROLET                                               As of the petition filing date, the claim is:
         4806 P MILE ROAD                                                Check all that apply.
         RICHMOND, VA 23223
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1671    Nonpriority creditor's name and mailing address                                                                                        $26,079.39

         PATTERSONBROADCAST                                              As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1672    Nonpriority creditor's name and mailing address                                                                                         $2,125.00

         PAUL COLLURAFICL INC                                            As of the petition filing date, the claim is:
         DBA TATTOO FACTORY                                              Check all that apply.
         4441 N BROADWAY
         CHICAGO, IL 60640-5659                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1673    Nonpriority creditor's name and mailing address                                                                                          $153.80

         PAULS AUTO COLLISION                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1674    Nonpriority creditor's name and mailing address                                                                                      $343,035.78

         PC CONNECTION SALES CORP                                        As of the petition filing date, the claim is:
         DBA CONNECTION                                                  Check all that apply.
         POB 536472
         PITTSBURGH, PA 15253-5906



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1675    Nonpriority creditor's name and mailing address                                                                                         $2,430.00

         PDRA RACING LLC                                                 As of the petition filing date, the claim is:
         1111 JULIAD CT                                                  Check all that apply.
         FREDERICKSBURG, VA 22406
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1676    Nonpriority creditor's name and mailing address                                                                                         $5,661.50

         PE STONE INC                                                    As of the petition filing date, the claim is:
         ELECTRICAL CONSTRUCTION                                         Check all that apply.
         50 WATTS ST
         NEW YORK, NY 10013-1912



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1677    Nonpriority creditor's name and mailing address                                                                                          $925.00

         PEACH CITY FILMS                                                As of the petition filing date, the claim is:
         POB 49827                                                       Check all that apply.
         IVY CHIU
         AUSTIN, TX 78765



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1678    Nonpriority creditor's name and mailing address                                                                                               $85.92

         PEAK 10, INC.                                                   As of the petition filing date, the claim is:
         PO BOX 53439                                                    Check all that apply.
         ATLANTA, GA 30353-4390




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1679    Nonpriority creditor's name and mailing address                                                                                          $591.00

         PENN POWER SYSTEMS                                              As of the petition filing date, the claim is:
         PENN POWER GROUP                                                Check all that apply.
         8330 STATE RD
         PHILADELPHIA, PA 19136



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1680    Nonpriority creditor's name and mailing address                                                                                         $2,345.00

         PENNWELL CORPORATION                                            As of the petition filing date, the claim is:
         1421 S SHERIDAN RD                                              Check all that apply.
         TULSA, OK 74112
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1681    Nonpriority creditor's name and mailing address                                                                                          $888.91

         PENTELEDATA LTD                                                 As of the petition filing date, the claim is:
         POB 401                                                         Check all that apply.
         PALMERTON, PA 18071-0401




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1682    Nonpriority creditor's name and mailing address                                                                                         $1,945.00

         PEPIN DISTRIBUTING COMPANY                                      As of the petition filing date, the claim is:
         4121 N 50TH ST                                                  Check all that apply.
         TAMPA, FL 33610
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1683    Nonpriority creditor's name and mailing address                                                                                         $1,320.00

         PEPPER SOURCE                                                   As of the petition filing date, the claim is:
         POB 8056                                                        Check all that apply.
         METAIRIE, LA 70011
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1684    Nonpriority creditor's name and mailing address                                                                                          $925.10

         PEPSI BEVERAGES CO                                              As of the petition filing date, the claim is:
         6500 W SUNSET                                                   Check all that apply.
         LAS VEGAS, NV 89117
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1685    Nonpriority creditor's name and mailing address                                                                                         $2,248.15

         PEPSI BEVERAGES COMPANY                                         As of the petition filing date, the claim is:
         355 BENTON ST                                                   Check all that apply.
         STRATFORD, CT 06615
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1686    Nonpriority creditor's name and mailing address                                                                                         $4,600.00

         PERI MARKETING & PUBLIC RELATIONS INC                           As of the petition filing date, the claim is:
         1777 LARIMER ST                                                 Check all that apply.
         DENVER, CO 80202
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1687    Nonpriority creditor's name and mailing address                                                                                         $1,164.00

         PERSONAL CAPITAL INC                                            As of the petition filing date, the claim is:
         POB 5166                                                        Check all that apply.
         BELMONT, CA 94002
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1688    Nonpriority creditor's name and mailing address                                                                                         $2,992.02

         PETTUS ADVERTISING INC                                          As of the petition filing date, the claim is:
         101 N SHORELINE BLVD STE 200                                    Check all that apply.
         CORPUS CHRISTI, TX 78401
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1689    Nonpriority creditor's name and mailing address                                                                                         $1,016.40

         PHD                                                             As of the petition filing date, the claim is:
         195 BROADWAY                                                    Check all that apply.
         NEW YORK, NY 10007
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1690    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         PHILADELPHIA SCHOOL PARTNERSHIP                                 As of the petition filing date, the claim is:
         150 S INDEPENDENCE MALL W1200                                   Check all that apply.
         PHILADELPHIA, PA 19106
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1691    Nonpriority creditor's name and mailing address                                                                                         $1,350.00

         PHOENIX INTERNET                                                As of the petition filing date, the claim is:
         2922 W CLARENDON AVE                                            Check all that apply.
         PHOENIX, AZ 85017-4609




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1692    Nonpriority creditor's name and mailing address                                                                                         $5,501.00

         PIAZZA HONDA OF READING                                         As of the petition filing date, the claim is:
         ATTN ROB SCHIEGEL                                               Check all that apply.
         915 LANCASTER AVE
         READING, PA 19607                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1693    Nonpriority creditor's name and mailing address                                                                                               $77.20

         PIEDMONT RURAL TELEPHONE COOPERATIVE INC                        As of the petition filing date, the claim is:
         POB 1026                                                        Check all that apply.
         LAURENS, SC 29360-1026




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1694    Nonpriority creditor's name and mailing address                                                                                         $1,998.00

         PILOT GROUP MANAGER LLC                                         As of the petition filing date, the claim is:
         C/O GREG BUDIN & ASSOCIATES LLC                                 Check all that apply.
         245 8TH AVE #195
         NEW YORK, NY 10011



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1695    Nonpriority creditor's name and mailing address                                                                                         $9,887.50

         PIN CHASERS INC                                                 As of the petition filing date, the claim is:
         6506 E FOWLER AVE                                               Check all that apply.
         TAMPA, FL 33617
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1696    Nonpriority creditor's name and mailing address                                                                                         $1,474.75

         PINNACLE PRODUCTION GROUP                                       As of the petition filing date, the claim is:
         4390 ROUND LAKE RD                                              Check all that apply.
         WEST ARDEN HILLS, MN 55112
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1697    Nonpriority creditor's name and mailing address                                                                                          $257.07

         PIONEER CREDIT RECOVERY INC                                     As of the petition filing date, the claim is:
         POB 205                                                         Check all that apply.
         ARCADE, NY 14056
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1698    Nonpriority creditor's name and mailing address                                                                                        $12,278.57

         PITNEY BOWES GLOBAL FINANCIAL SVCS LLC                          As of the petition filing date, the claim is:
         POB 371887                                                      Check all that apply.
         PITTSBURGH, PA 15250-7887




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1699    Nonpriority creditor's name and mailing address                                                                                         $4,438.16

         PJ MECHANICAL SERVICE & MAINTENANCE CO                          As of the petition filing date, the claim is:
         55 BROAD ST 4TH FL                                              Check all that apply.
         NEW YORK, NY 10004-2501




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1700    Nonpriority creditor's name and mailing address                                                                                        $30,127.26

         PLACED INC                                                      As of the petition filing date, the claim is:
         1501 4TH AVE STE 2500                                           Check all that apply.
         SEATTLE, WA 98101




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1701    Nonpriority creditor's name and mailing address                                                                                         $1,763.75

         PLAN A ADVERTISING LLC                                          As of the petition filing date, the claim is:
         3710 SHIPYARD BLVD STE B                                        Check all that apply.
         WILMINGTON, NC 28403
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1702    Nonpriority creditor's name and mailing address                                                                                          $123.52

         PLANET GREEN                                                    As of the petition filing date, the claim is:
         5873 S BRENTWOOD ST                                             Check all that apply.
         LOS ANGELES, CA 90003




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1703    Nonpriority creditor's name and mailing address                                                                                         $1,677.90

         PLATFORM ADVERTISING                                            As of the petition filing date, the claim is:
         15500 W 113TH ST STE 200                                        Check all that apply.
         SHAWNEE MISSION, KS 66219
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1704    Nonpriority creditor's name and mailing address                                                                                        $15,484.00

         PLURALSIGHT LLC                                                 As of the petition filing date, the claim is:
         DEPT CH 19719                                                   Check all that apply.
         PALATINE, IL 60055-9719
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1705    Nonpriority creditor's name and mailing address                                                                                          $600.00

         PLUSWORKS                                                       As of the petition filing date, the claim is:
         81 PROSPECT ST                                                  Check all that apply.
         BROOKLYN, NY 11201




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1706    Nonpriority creditor's name and mailing address                                                                                        $11,290.32

         POLARIS CONSULTING LLC                                          As of the petition filing date, the claim is:
         POB 1304                                                        Check all that apply.
         DBA POLARIS GOVERNMENT RELATIONS
         ALEXANDRIA, VA 22313



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1707    Nonpriority creditor's name and mailing address                                                                                          $415.00

         POMPER & GOODMAN                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1708    Nonpriority creditor's name and mailing address                                                                                         $1,225.00

         PORT AUTHORITY OF SAN ANTONIO                                   As of the petition filing date, the claim is:
         907 BILLY MITCHELL BLVD                                         Check all that apply.
         SAN ANTONIO, TX 78226
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1709    Nonpriority creditor's name and mailing address                                                                                         $7,500.00

         PORTLAND BREWERS FESTIVAL ASSOCIATION                           As of the petition filing date, the claim is:
         5019 SW LOWELL ST                                               Check all that apply.
         PORTLAND, OR 97221-2053
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1710    Nonpriority creditor's name and mailing address                                                                                         $2,176.00

         PORTSIDE ADVERTISING INC                                        As of the petition filing date, the claim is:
         POB 2683                                                        Check all that apply.
         DAPHNE, AL 36526
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1711    Nonpriority creditor's name and mailing address                                                                                        $20,427.82

         POSTUP DIGITAL LLC                                              As of the petition filing date, the claim is:
         75 REMITTANCE DR DEPT 6865                                      Check all that apply.
         CHICAGO, IL 60675-6865




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1712    Nonpriority creditor's name and mailing address                                                                                         $4,680.00

         PPG PAINTS                                                      As of the petition filing date, the claim is:
         400 BERTHA LAMME DR                                             Check all that apply.
         CRANBERRY TOWNSHIP, PA 16066
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1713    Nonpriority creditor's name and mailing address                                                                                          $119.18

         PR NEWSWIRE                                                     As of the petition filing date, the claim is:
         PR NEWSWIRE/MULTIVU                                             Check all that apply.
         GPO BOX 6584
         NEW YORK, NY 10249-6584



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1714    Nonpriority creditor's name and mailing address                                                                                         $1,564.00

         PRAIRIE MEADOWS                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1715    Nonpriority creditor's name and mailing address                                                                                         $2,619.00

         PRATERS MILL FOUNDATION                                         As of the petition filing date, the claim is:
         POB H                                                           Check all that apply.
         VARNELL, GA 30756
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1716    Nonpriority creditor's name and mailing address                                                                                          $225.00

         PRECISION SAMPLE LLC                                            As of the petition filing date, the claim is:
         3461 RINGSBY CT STE 240                                         Check all that apply.
         DENVER, CO 80216




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1717    Nonpriority creditor's name and mailing address                                                                                         $1,700.00

         PREMIER MENS MEDICAL CENTER                                     As of the petition filing date, the claim is:
         6261 NW 6TH WAY STE 206                                         Check all that apply.
         ATTN JACOB CORRAL
         FORT LAUDERDALE, FL 33309                                        X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1718    Nonpriority creditor's name and mailing address                                                                                        $14,020.00

         PREMIER PLUS MANAGEMENT                                         As of the petition filing date, the claim is:
         POB 23476                                                       Check all that apply.
         WACO, TX 76702
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1719    Nonpriority creditor's name and mailing address                                                                                          $591.04

         PREMIERE CREDIT OF NORTH AMERICA LLC                            As of the petition filing date, the claim is:
         POB 19309                                                       Check all that apply.
         INDIANAPOLIS, IN 46219
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1720    Nonpriority creditor's name and mailing address                                                                                      $100,875.94

         PREMIERE GLOBAL SERVICES                                        As of the petition filing date, the claim is:
         POB 404351                                                      Check all that apply.
         ATLANTA, GA 30384-4351




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1721    Nonpriority creditor's name and mailing address                                                                                          $153.39

         PREMIERE GLOBAL SERVICES                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1722    Nonpriority creditor's name and mailing address                                                                                    $84,684,448.00

         PREMIERE NETWORKS, INC.                                         As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.1723    Nonpriority creditor's name and mailing address                                                                                        $29,234.89

         PREMIERE RESPONSE LLC                                           As of the petition filing date, the claim is:
         POB 150482 DEPT 101026                                          Check all that apply.
         HARTFORD, CT 06115-0482




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1724    Nonpriority creditor's name and mailing address                                                                                         $3,592.74

         PRESSREADER                                                     As of the petition filing date, the claim is:
         #2-13111 VANIER PLACE                                           Check all that apply.
         RICHMOND, BC V6V 2J1
         CANADA



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1725    Nonpriority creditor's name and mailing address                                                                                          $208.69

         PRESTIGE FINANCIAL SERVICE                                      As of the petition filing date, the claim is:
         1420 S 500 W                                                    Check all that apply.
         SALT LAKE CITY, UT 84115
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1726    Nonpriority creditor's name and mailing address                                                                                          $346.50

         PRESTO MARKETING ADVERTISING                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1727    Nonpriority creditor's name and mailing address                                                                                         $1,155.00

         PRETTY PROPER HAIR                                              As of the petition filing date, the claim is:
         1169 FLATBUSH AVE                                               Check all that apply.
         BROOKLYN, NY 11226
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1728    Nonpriority creditor's name and mailing address                                                                                         $4,692.00

         PRIMACY                                                         As of the petition filing date, the claim is:
         1577 NEW BRITAIN AVE                                            Check all that apply.
         FARMINGTON, CT 06032
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1729    Nonpriority creditor's name and mailing address                                                                                          $223.23

         PRIMUS                                                          As of the petition filing date, the claim is:
         POB 3246                                                        Check all that apply.
         MILWAUKEE, WI 53201




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1730    Nonpriority creditor's name and mailing address                                                                                        $31,647.82

         PRITCHARD INDUSTRIES INC                                        As of the petition filing date, the claim is:
         150 E 42ND ST 7TH FL                                            Check all that apply.
         NEW YORK, NY 10017




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1731    Nonpriority creditor's name and mailing address                                                                                               $78.00

         PRO TECH AUTO SALES                                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1732    Nonpriority creditor's name and mailing address                                                                                        $10,731.91

         PRODEGE LLC                                                     As of the petition filing date, the claim is:
         DEPT LA 24252                                                   Check all that apply.
         PASADENA, CA 91185-4252




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1733    Nonpriority creditor's name and mailing address                                                                                         $6,110.00

         PRODUCTION NETWORKING INC                                       As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1734    Nonpriority creditor's name and mailing address                                                                                         $2,927.46

         PRODUCTION RESOURCE GROUP LLC                                   As of the petition filing date, the claim is:
         POB 419470                                                      Check all that apply.
         BOSTON, MA 02241




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1735    Nonpriority creditor's name and mailing address                                                                                         $6,756.54

         PROFORMA                                                        As of the petition filing date, the claim is:
         POB 640814                                                      Check all that apply.
         CINCINNATI, OH 45264-0814




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1736    Nonpriority creditor's name and mailing address                                                                                         $1,224.93

         PROSHRED SECURITY                                               As of the petition filing date, the claim is:
         5 W MAIN ST                                                     Check all that apply.
         ELMSFORD, NY 10523




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1737    Nonpriority creditor's name and mailing address                                                                                      $124,377.19

         PROSKAUER ROSE LLP                                              As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         ELEVEN TIMES SQUARE
         NEW YORK, NY 10036
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1738    Nonpriority creditor's name and mailing address                                                                                        $45,915.53

         PROSYS                                                          As of the petition filing date, the claim is:
         28545 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1285




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1739    Nonpriority creditor's name and mailing address                                                                                         $1,990.00

         PROVIDENCE HEALTH & SERVICES                                    As of the petition filing date, the claim is:
         POB 389672 CUST# 1307                                           Check all that apply.
         SEATTLE, WA 98138-9672
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1740    Nonpriority creditor's name and mailing address                                                                                          $299.00

         PRYOR LEARNING SOLUTIONS                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1741    Nonpriority creditor's name and mailing address                                                                                         $1,778.58

         PSAV                                                            As of the petition filing date, the claim is:
         23918 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1239




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1742    Nonpriority creditor's name and mailing address                                                                                               $79.86

         PSE&G CO                                                        As of the petition filing date, the claim is:
         POB 14444                                                       Check all that apply.
         NEW BRUNSWICK, NJ 08906-4444




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1743    Nonpriority creditor's name and mailing address                                                                                         $4,935.48

         PUBLIC AFFAIRS SUPPORT SERVICES INC                             As of the petition filing date, the claim is:
         1950 ROLAND CLARKE PLACE STE 300                                Check all that apply.
         RESTON, VA 20191
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1744    Nonpriority creditor's name and mailing address                                                                                         $1,149.60

         PUBLIC BROADCASTING OF COLORADO CO PUBLIC RADIO                 As of the petition filing date, the claim is:
         7409 S ALTON CT                                                 Check all that apply.
         CENTENIAL, CO 80112
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1745    Nonpriority creditor's name and mailing address                                                                                         $1,017.00

         PUBLIC SERVICE CREDIT UNION                                     As of the petition filing date, the claim is:
         7055 E EVANS AVE                                                Check all that apply.
         DENVER, CO 80224
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1746    Nonpriority creditor's name and mailing address                                                                                        $12,500.00

         PULLSTRING INC                                                  As of the petition filing date, the claim is:
         77 MAIDEN LN 3RD FL                                             Check all that apply.
         SAN FRANCISCO, CA 94108




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1747    Nonpriority creditor's name and mailing address                                                                                         $1,326.00

         PURCELLS WALLPAPER & PAINT CO INC                               As of the petition filing date, the claim is:
         5900 BRIDGE ST                                                  Check all that apply.
         EAST SYRACUSE, NY 13057
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1748    Nonpriority creditor's name and mailing address                                                                                          $869.35

         QUALITY TECHNOLOGY SERVICES METRO II, LLC                       As of the petition filing date, the claim is:
         PO BOX 74524                                                    Check all that apply.
         CLEVELAND, OH 44194-4524




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1749    Nonpriority creditor's name and mailing address                                                                                          $213.55

         QUANTUMLINK COMMUNICATIONS                                      As of the petition filing date, the claim is:
         POB 98820                                                       Check all that apply.
         LAS VEGAS, NV 89193-8820




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1750    Nonpriority creditor's name and mailing address                                                                                          $237.25

         QWEST                                                           As of the petition filing date, the claim is:
         POB 29040                                                       Check all that apply.
         PHOENIX, AZ 85038-9040




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1751    Nonpriority creditor's name and mailing address                                                                                         $1,887.39

         R&M SERVICES                                                    As of the petition filing date, the claim is:
         POB 3484                                                        Check all that apply.
         PFLUGERVILLE, TX 78660




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1752    Nonpriority creditor's name and mailing address                                                                                          $370.33

         RACKSPACE                                                       As of the petition filing date, the claim is:
         PO BOX 73759                                                    Check all that apply.
         DALLAS, TX 75373-0759




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1753    Nonpriority creditor's name and mailing address                                                                                          $103.17

         RACOM CORPORATION                                               As of the petition filing date, the claim is:
         201 W STATE                                                     Check all that apply.
         MARSHALLTOWN, IA 50158




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1754    Nonpriority creditor's name and mailing address                                                                                      $174,322.00

         RADIO ADVERTISING BUREAU INC                                    As of the petition filing date, the claim is:
         POB 972036                                                      Check all that apply.
         DALLAS, TX 75397-2036




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1755    Nonpriority creditor's name and mailing address                                                                                         $1,817.30

         RADIO COMMUNICATIONS SYSTEMS                                    As of the petition filing date, the claim is:
         4445 ROBARDS LN                                                 Check all that apply.
         LOUISVILLE, KY 40218
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1756    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         RADIODNS LIMITED                                                As of the petition filing date, the claim is:
         96A CURTAIN ROAD                                                Check all that apply.
         LONDON EC2A 3AA
         UNITED KINGDOM



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1757    Nonpriority creditor's name and mailing address                                                                                        $37,127.07

         RADIUS INTELLIGENCE INC                                         As of the petition filing date, the claim is:
         255 BUSH ST 12TH FL                                             Check all that apply.
         SAN FRANCISCO, CA 94104




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1758    Nonpriority creditor's name and mailing address                                                                                         $1,892.00

         RAIN FOR RENT                                                   As of the petition filing date, the claim is:
         5101 OFFICE PARK DR                                             Check all that apply.
         BAKERSFIELD, CA 93309
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1759    Nonpriority creditor's name and mailing address                                                                                               $17.40

         RAINIER CONNECT                                                 As of the petition filing date, the claim is:
         POB 34540                                                       Check all that apply.
         SEATTLE, WA 98124-1540




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1760    Nonpriority creditor's name and mailing address                                                                                         $1,031.90

         RAISING CANES                                                   As of the petition filing date, the claim is:
         100 N ST STE 802                                                Check all that apply.
         BATON ROUGE, LA 70802
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1761    Nonpriority creditor's name and mailing address                                                                                               $51.70

         RAJU SHAH                                                       As of the petition filing date, the claim is:
         200 EAST BASSE                                                  Check all that apply.
         SAN ANTONIO, TX 78209
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1762    Nonpriority creditor's name and mailing address                                                                                          $300.00

         RAMADA PLAZA                                                    As of the petition filing date, the claim is:
         28600 RIDGEHILLS DR                                             Check all that apply.
         WICKLIFFE, OH 44092
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1763    Nonpriority creditor's name and mailing address                                                                                         $3,500.70

         RAMSEY MEDIA WORKS LLC                                          As of the petition filing date, the claim is:
         ATTN AMANDA MARTIN                                              Check all that apply.
         POB 279
         JOPLIN, MO 64802                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1764    Nonpriority creditor's name and mailing address                                                                                          $379.26

         RAYFIELD COMMUNICATIONS INC                                     As of the petition filing date, the claim is:
         2018 W WOODLAND                                                 Check all that apply.
         SPRINGFIELD, MO 65807




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1765    Nonpriority creditor's name and mailing address                                                                                        $24,000.00

         RCA RECORDS                                                     As of the petition filing date, the claim is:
         550 MADISON AVE 10TH FL                                         Check all that apply.
         NEW YORK, NY 10022
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1766    Nonpriority creditor's name and mailing address                                                                                         $7,050.00

         RCM ENTERTAINMENT LP                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1767    Nonpriority creditor's name and mailing address                                                                                          $414.62

         RCN                                                             As of the petition filing date, the claim is:
         POB 11816                                                       Check all that apply.
         NEWARK, NJ 07101-8116




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1768    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         RDM PRODUCTIONS                                                 As of the petition filing date, the claim is:
         160 POWERS ST 2                                                 Check all that apply.
         BROOKLYN, NY 11211




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1769    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         REAL WIRELESS INC                                               As of the petition filing date, the claim is:
         ATTN FELIX FERNANDEZ                                            Check all that apply.
         3115 S GARNETT RD
         TULSA, OK 74146                                                  X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1770    Nonpriority creditor's name and mailing address                                                                                         $1,728.10

         RED MOUNTAIN ENTERTAINMENT INC                                  As of the petition filing date, the claim is:
         2107 5TH AVE N                                                  Check all that apply.
         BIRMINGHAM, AL 35203
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1771    Nonpriority creditor's name and mailing address                                                                                         $1,350.20

         RED RIVER SKI AREA INC                                          As of the petition filing date, the claim is:
         POB 990                                                         Check all that apply.
         RED RIVER, NM 87558
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1772    Nonpriority creditor's name and mailing address                                                                                         $5,200.45

         REED SMITH LLP                                                  As of the petition filing date, the claim is:
         POB 844487                                                      Check all that apply.
         DALLAS, TX 75284-4487




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1773    Nonpriority creditor's name and mailing address                                                                                      $120,000.00

         REHABSTUDIO INC                                                 As of the petition filing date, the claim is:
         118 COMMERCIAL ST                                               Check all that apply.
         LONDON E1 6NF
         UNITED KINGDOM



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1774    Nonpriority creditor's name and mailing address                                                                                          $825.03

         REID & REIGE PC                                                 As of the petition filing date, the claim is:
         ONE FINANCIAL PLAZA                                             Check all that apply.
         HARTFORD, CT 06103
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1775    Nonpriority creditor's name and mailing address                                                                                        $80,898.39

         RELAUNCH RADIO LLC                                              As of the petition filing date, the claim is:
         POB 210                                                         Check all that apply.
         WEXFORD, PA 15090




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1776    Nonpriority creditor's name and mailing address                                                                                         $1,134.87

         RENEW RECOVERY LLC                                              As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1777    Nonpriority creditor's name and mailing address                                                                                         $4,241.34

         RESEARCH NOW INC                                                As of the petition filing date, the claim is:
         POB 974063                                                      Check all that apply.
         DALLAS, TX 75397-4063




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1778    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         RESIDENCE INN PITTSBURGH UNIV                                   As of the petition filing date, the claim is:
         3896 BIGELOW BLVD                                               Check all that apply.
         PITTSBURGH, PA 15213
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1779    Nonpriority creditor's name and mailing address                                                                                          $457.03

         RETELE COMMUNICATIONS INC                                       As of the petition filing date, the claim is:
         POB 920391                                                      Check all that apply.
         NEEDHAM, MA 02492




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1780    Nonpriority creditor's name and mailing address                                                                                         $4,369.00

         REVELWOOD INC                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1781    Nonpriority creditor's name and mailing address                                                                                      $175,507.69

         REVENUE ANALYTICS INC                                           As of the petition filing date, the claim is:
         300 GALLERIA PKWY SE STE 1900                                   Check all that apply.
         ATLANTA, GA 30339




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1782    Nonpriority creditor's name and mailing address                                                                                      $135,247.50

         RICOH USA INC                                                   As of the petition filing date, the claim is:
         POB 660342                                                      Check all that apply.
         DALLAS, TX 75266-0342




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1783    Nonpriority creditor's name and mailing address                                                                                         $1,099.00

         RIDE ON MOTO INC                                                As of the petition filing date, the claim is:
         4110 VALLEY PIKE                                                Check all that apply.
         WINCHESTER, VA 22602
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1784    Nonpriority creditor's name and mailing address                                                                                         $1,312.00

         RIDERSVILLE HONDA                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1785    Nonpriority creditor's name and mailing address                                                                                         $1,409.94

         RIGEL PEST CONTROL INC                                          As of the petition filing date, the claim is:
         POB 720834                                                      Check all that apply.
         JACKSON HEIGHTS, NY 11372




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1786    Nonpriority creditor's name and mailing address                                                                                        $14,858.00

         RIPPE KEANE MARKETING INC                                       As of the petition filing date, the claim is:
         ATTN JUDY GIBSON                                                Check all that apply.
         525 JUNCTION RD STE 8200
         MADISON, WI 53717-2157                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1787    Nonpriority creditor's name and mailing address                                                                                               $33.70

         RISE BROADBAND                                                  As of the petition filing date, the claim is:
         POB 844580                                                      Check all that apply.
         BOSTON, MA 02284-4580




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1788    Nonpriority creditor's name and mailing address                                                                                         $1,911.72

         RITA REGIONAL INCOME TAX AGENCY                                 As of the petition filing date, the claim is:
         POB 477900                                                      Check all that apply.
         BROADVIEW HEIGHTS, OH 44147
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1789    Nonpriority creditor's name and mailing address                                                                                      $140,257.66

         RIVERSAND TECHNOLOGIES INC                                      As of the petition filing date, the claim is:
         2929 BRIARPARK DR STE 200                                       Check all that apply.
         HOUSTON, TX 77042




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1790    Nonpriority creditor's name and mailing address                                                                                          $201.16

         ROADRUNNER AUTO & TRUCK SERVICE CENTER                          As of the petition filing date, the claim is:
         213 PEPPERTOWN PLZ                                              Check all that apply.
         FULTON, MS 38843




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1791    Nonpriority creditor's name and mailing address                                                                                               $37.22

         ROADRUNNER WIRELESS SERVICES INC                                As of the petition filing date, the claim is:
         5722 2ND ST NW                                                  Check all that apply.
         ALBUQUERQUE, NM 87107




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1792    Nonpriority creditor's name and mailing address                                                                                          $366.00

         ROBERT HALF FINANCE & ACCOUNTING                                As of the petition filing date, the claim is:
         POB 743295                                                      Check all that apply.
         LOS ANGELES, CA 90074-3295
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1793    Nonpriority creditor's name and mailing address                                                                                         $8,767.50

         ROBERT HALF MANAGEMENT RESOURCES                                As of the petition filing date, the claim is:
         POB 743295                                                      Check all that apply.
         LOS ANGELES, CA 90074-3295
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1794    Nonpriority creditor's name and mailing address                                                                                         $1,212.00

         ROBERT HALF TECHNOLOGY                                          As of the petition filing date, the claim is:
         POB 743295                                                      Check all that apply.
         LOS ANGELES, CA 90074-3295




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1795    Nonpriority creditor's name and mailing address                                                                                         $1,135.00

         ROBERTSON WEALTH MANAGEMENT                                     As of the petition filing date, the claim is:
         5120 WOODWAY STE 9029                                           Check all that apply.
         HOUSTON, TX 77056
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1796    Nonpriority creditor's name and mailing address                                                                                         $1,750.96

         ROCKETRIP                                                       As of the petition filing date, the claim is:
         14 E 38TH ST 2ND FL                                             Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1797    Nonpriority creditor's name and mailing address                                                                                         $1,910.00

         ROCKINGHAM COOPERATIVE                                          As of the petition filing date, the claim is:
         1044 HIGH ST                                                    Check all that apply.
         HARRISONBURG, VA 22801
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1798    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         ROCKY MOUNTAIN                                                  As of the petition filing date, the claim is:
         MARKETING & PROMOTIONS IN                                       Check all that apply.
         300 S JACKSON ST 400
         DENVER, CO 80209                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1799    Nonpriority creditor's name and mailing address                                                                                         $2,140.00

         ROCKYS AUTO INC                                                 As of the petition filing date, the claim is:
         6360 N. FEDERAL BLVD                                            Check all that apply.
         DENVER, CO 80221
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1800    Nonpriority creditor's name and mailing address                                                                                         $2,600.00

         RON HOOVER RV & MARINE                                          As of the petition filing date, the claim is:
         1510 W MARKET ST                                                Check all that apply.
         ROCKPORT, TX 78382
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1801    Nonpriority creditor's name and mailing address                                                                                          $200.00

         RONALD MCDONALD CHARITIES OF                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1802    Nonpriority creditor's name and mailing address                                                                                         $3,175.00

         ROSWELL PARK CANCER INSTITUTE CORP                              As of the petition filing date, the claim is:
         666 ELM ST                                                      Check all that apply.
         ELM & CARLTON ST
         BUFFALO, NY 14263                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1803    Nonpriority creditor's name and mailing address                                                                                        $15,669.93

         ROTH STAFFING                                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1804    Nonpriority creditor's name and mailing address                                                                                         $1,582.50

         ROUND ROCK TOYOTA                                               As of the petition filing date, the claim is:
         POB 1568                                                        Check all that apply.
         ROUND ROCK, TX 78680
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1805    Nonpriority creditor's name and mailing address                                                                                      $118,225.48

         ROVI DATA SOLUTIONS INC                                         As of the petition filing date, the claim is:
         POB 202624                                                      Check all that apply.
         DALLAS, TX 75320-2624




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1806    Nonpriority creditor's name and mailing address                                                                                         $1,272.96

         ROYAL WASTE SERVICES INC                                        As of the petition filing date, the claim is:
         187-40 HOLLIS AVE                                               Check all that apply.
         HOLLIS, NY 11423




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1807    Nonpriority creditor's name and mailing address                                                                                          $675.00

         RR DONNELLEY                                                    As of the petition filing date, the claim is:
         7810 SOLUTION CENTER                                            Check all that apply.
         CHICAGO, IL 60677-7008




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1808    Nonpriority creditor's name and mailing address                                                                                         $3,304.00

         RUDYS OF LAKE ONTARIO INC                                       As of the petition filing date, the claim is:
         78 COUNTY RTE 89                                                Check all that apply.
         OSWEGO, NY 13126
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1809    Nonpriority creditor's name and mailing address                                                                                         $1,098.00

         RUTH REYES ELECTION COMMITTEE                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1810    Nonpriority creditor's name and mailing address                                                                                         $1,652.70

         RYANS SPORT SHOP INC                                            As of the petition filing date, the claim is:
         406 W MAIN ST                                                   Check all that apply.
         DURAND, WI 54736-1046
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1811    Nonpriority creditor's name and mailing address                                                                                               $50.86

         RYE TELEPHONE CO                                                As of the petition filing date, the claim is:
         POB 19048                                                       Check all that apply.
         COLORADO CITY, CO 81019




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1812    Nonpriority creditor's name and mailing address                                                                                        $11,726.00

         S&P GLOBAL MARKET INTELLIGENCE                                  As of the petition filing date, the claim is:
         33356 COLLECTION CENTER DR                                      Check all that apply.
         CHICAGO, IL 60693-0333




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1813    Nonpriority creditor's name and mailing address                                                                                          $132.24

         SACRED WIND COMMUNICATIONS INC                                  As of the petition filing date, the claim is:
         POB 4011                                                        Check all that apply.
         YATAHEY, NM 87375-4011




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1814    Nonpriority creditor's name and mailing address                                                                                         $1,323.00

         SADIBOU TOURE OR GREEN GATORS                                   As of the petition filing date, the claim is:
         9202 ANDERSON RD                                                Check all that apply.
         TAMPA, FL 33634
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1815    Nonpriority creditor's name and mailing address                                                                                          $400.50

         SAFESHRED INC                                                   As of the petition filing date, the claim is:
         9505 JOHNNY MORRIS RD                                           Check all that apply.
         AUSTIN, TX 78724




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1816    Nonpriority creditor's name and mailing address                                                                                          $552.79

         SAFESITE INC                                                    As of the petition filing date, the claim is:
         9505 JOHNNY MORRIS RD                                           Check all that apply.
         AUSTIN, TX 78724




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1817    Nonpriority creditor's name and mailing address                                                                                         $5,298.84

         SAGE SOFTWARE INC                                               As of the petition filing date, the claim is:
         14855 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1818    Nonpriority creditor's name and mailing address                                                                                        $77,466.67

         SAILPOINT TECHNOLOGIES INC                                      As of the petition filing date, the claim is:
         11305 FOUR POINTS DR                                            Check all that apply.
         BLDG 2 STE 100
         AUSTIN, TX 78726



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1819    Nonpriority creditor's name and mailing address                                                                                         $4,645.25

         SALEM COMMUNICAITONS HOLDING CORP                               As of the petition filing date, the claim is:
         SALEM MEDIA GROUP SALEM ATLANTA                                 Check all that apply.
         POB 932029
         ATLANTA, GA 31193-2029



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1820    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         SALEM COMMUNITY CORPORATION                                     As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1821    Nonpriority creditor's name and mailing address                                                                                         $4,007.26

         SALEM MEDIA CORP                                                As of the petition filing date, the claim is:
         777 TERRACE SVE                                                 Check all that apply.
         HASBROUCK HEIGHTS, NJ 07604
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1822    Nonpriority creditor's name and mailing address                                                                                         $4,699.75

         SALES MANAGER 013                                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1823    Nonpriority creditor's name and mailing address                                                                                         $6,412.34

         SALES MANAGER 063                                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: First Quarter Bonus

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1824    Nonpriority creditor's name and mailing address                                                                                        $72,753.10

         SALESFORCE COM INC                                              As of the petition filing date, the claim is:
         POB 203141                                                      Check all that apply.
         DALLAS, TX 75320-3141




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1825    Nonpriority creditor's name and mailing address                                                                                          $468.52

         SALT EXCHANGE INC                                               As of the petition filing date, the claim is:
         4231 DIRECTOR DR                                                Check all that apply.
         SAN ANTONIO, TX 78219




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1826    Nonpriority creditor's name and mailing address                                                                                         $2,883.22

         SAN ANTONIO WATER SYSTEM                                        As of the petition filing date, the claim is:
         POB 2990                                                        Check all that apply.
         SAN ANTONIO, TX 78299-2990




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1827    Nonpriority creditor's name and mailing address                                                                                          $250.00

         SANKOFA SAFE CHILD INITIATIVE                                   As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1828    Nonpriority creditor's name and mailing address                                                                                        $56,019.75

         SAP AMERICA INC                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1829    Nonpriority creditor's name and mailing address                                                                                          $400.00

         SASS MAGAZINE LLC                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1830    Nonpriority creditor's name and mailing address                                                                                         $8,165.52

         SAUL EWING LLP                                                  As of the petition filing date, the claim is:
         1500 MARKET ST 38TH FL                                          Check all that apply.
         CENTRE SQUARE WEST
         PHILADELPHIA, PA 19102-2186



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1831    Nonpriority creditor's name and mailing address                                                                                          $576.26

         SAV ON PRINTING & SIGNS                                         As of the petition filing date, the claim is:
         9924 N GARNETT RD                                               Check all that apply.
         OWASSO, OK 74055




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1832    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         SAWYER AUTOMOTIVE FOUNDATION INC                                As of the petition filing date, the claim is:
         166 ULSTER AVE                                                  Check all that apply.
         SAUGERTIES, NY 12477
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1833    Nonpriority creditor's name and mailing address                                                                                        $13,473.00

         SCENTSIBLE LLC                                                  As of the petition filing date, the claim is:
         DBA POOPOURRI - ATTN AP DEPT                                    Check all that apply.
         4901 KELLER SPRINGS RD STE 106D
         ADDISON, TX 75001-6354                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1834    Nonpriority creditor's name and mailing address                                                                                         $1,237.50

         SCHEELS                                                         As of the petition filing date, the claim is:
         4550 15TH AVE S                                                 Check all that apply.
         FARGO, ND 58103
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1835    Nonpriority creditor's name and mailing address                                                                                         $8,100.00

         SCHUSTER CONCRETE READY MIX LLC                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1836    Nonpriority creditor's name and mailing address                                                                                         $2,765.05

         SCHWARTZ DIRECT WOODBRIDGE WEALTH                               As of the petition filing date, the claim is:
         14225 VENTURA BLVD STE 100                                      Check all that apply.
         SHERMAN OAKS, CA 91423
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1837    Nonpriority creditor's name and mailing address                                                                                         $5,500.00

         SCHWEGMAN LUNDBERG & WOESSNER P A                               As of the petition filing date, the claim is:
         1600 TCF TOWER                                                  Check all that apply.
         1600 S 8TH ST
         MINNEAPOLIS, MN 55402



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1838    Nonpriority creditor's name and mailing address                                                                                        $11,187.50

         SCOBEY MOVING & STORAGE                                         As of the petition filing date, the claim is:
         9625 N BROADWAY POB 17269                                       Check all that apply.
         SAN ANTONIO, TX 78217




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1839    Nonpriority creditor's name and mailing address                                                                                         $2,258.06

         SCOOP MARKETING                                                 As of the petition filing date, the claim is:
         15821 VENTURA BLVD #270                                         Check all that apply.
         ENCINO, CA 91436
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1840    Nonpriority creditor's name and mailing address                                                                                         $1,779.96

         SCREAMER DESIGN LLC DBA SCREAMER CO                             As of the petition filing date, the claim is:
         107 LELAND ST STE 3                                             Check all that apply.
         AUSTIN, TX 78704-4379
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1841    Nonpriority creditor's name and mailing address                                                                                         $1,495.00

         SEATTLE THEATRE GROUP                                           As of the petition filing date, the claim is:
         911 PINE ST STE 900                                             Check all that apply.
         SEATTLE, WA 98101
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1842    Nonpriority creditor's name and mailing address                                                                                          $903.23

         SEGMANTA LTD                                                    As of the petition filing date, the claim is:
         45 ROTHSCHILD BLVD                                              Check all that apply.
         TEL AVIV 668-8304
         ISRAEL



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1843    Nonpriority creditor's name and mailing address                                                                                          $520.00

         SELECT CONNECT COMMUNICATIONS LLC                               As of the petition filing date, the claim is:
         1960 MCCULLOUGH BLVD                                            Check all that apply.
         TUPELO, MS 38801




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1844    Nonpriority creditor's name and mailing address                                                                                               $14.18

         SERVICE ELECTRIC BROADBAND CABLE                                As of the petition filing date, the claim is:
         SERVICE ELECTRIC CABLE TV OF NJ INC                             Check all that apply.
         75 REMITTANCE DR DEPT 6769
         CHCAGO, IL 60675-6769



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1845    Nonpriority creditor's name and mailing address                                                                                         $2,045.54

         SERVICE ELECTRIC TELEPHONE CO                                   As of the petition filing date, the claim is:
         4242 MAUCH CHUNK RD                                             Check all that apply.
         COPLAY, PA 18037-2198




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1846    Nonpriority creditor's name and mailing address                                                                                         $1,667.67

         SHANDI CHAVEZ                                                   As of the petition filing date, the claim is:
         100 CHOPPER CIR                                                 Check all that apply.
         DENVER, CO 80204
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1847    Nonpriority creditor's name and mailing address                                                                                         $7,000.00

         SHAREABLEE INC                                                  As of the petition filing date, the claim is:
         123 WILLIAMS ST 19TH FL                                         Check all that apply.
         NEW YORK, NY 10038




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1848    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         SHAW STOCKTON LOWRIDER SUPER SHOW                               As of the petition filing date, the claim is:
         355 E MCGLINCY                                                  Check all that apply.
         CAMPBELL, CA 95008
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1849    Nonpriority creditor's name and mailing address                                                                                         $2,668.00

         SHE'S HAPPY HAIR                                                As of the petition filing date, the claim is:
         3280 S LOOP W                                                   Check all that apply.
         HOUSTON, TX 77025
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1850    Nonpriority creditor's name and mailing address                                                                                          $630.00

         SHELDON DAVIS VIRGIN HAIR COLLECTION                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1851    Nonpriority creditor's name and mailing address                                                                                               $84.99

         SHENTEL                                                         As of the petition filing date, the claim is:
         POB 37014                                                       Check all that apply.
         BALTIMORE, MD 21297-3014




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1852    Nonpriority creditor's name and mailing address                                                                                               $82.81

         SHERWOOD MUTUAL TELEPHONE ASSOC INC                             As of the petition filing date, the claim is:
         105 WEST VINE ST POB 4572                                       Check all that apply.
         SHERWOOD, OH 43556-0572




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1853    Nonpriority creditor's name and mailing address                                                                                         $2,500.00

         SHINERS HOSPITALS FOR CHILDREN                                  As of the petition filing date, the claim is:
         FAIRFAX RD AT VIRGINA ST                                        Check all that apply.
         SALT LAKE CITY, UT 84103
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1854    Nonpriority creditor's name and mailing address                                                                                         $1,150.00

         SHIPYARD BREW PUB I LLC                                         As of the petition filing date, the claim is:
         POB 446                                                         Check all that apply.
         ELIOT, ME 03903
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1855    Nonpriority creditor's name and mailing address                                                                                         $1,496.00

         SHORR JOHNSON MAGNUS MEDIA ACCOUNT                              As of the petition filing date, the claim is:
         100 N 20TH STE 201                                              Check all that apply.
         PHILADELPHIA, PA 19103
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1856    Nonpriority creditor's name and mailing address                                                                                         $1,610.00

         SHOTTENKIRK CHEVROLET                                           As of the petition filing date, the claim is:
         755 HWY 6                                                       Check all that apply.
         WAUKEE, IA 50263
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1857    Nonpriority creditor's name and mailing address                                                                                         $1,501.00

         SHOWPALACE                                                      As of the petition filing date, the claim is:
         1411 SPENCER HWY S                                              Check all that apply.
         HOUSTON, TX 77587
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1858    Nonpriority creditor's name and mailing address                                                                                         $1,020.00

         SHURE-LINE ELECTRICAL INC                                       As of the petition filing date, the claim is:
         100 ARTISAN DR                                                  Check all that apply.
         SMYRNA, DE 19977
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1859    Nonpriority creditor's name and mailing address                                                                                        $16,705.64

         SIEMENS INDUSTRY INC                                            As of the petition filing date, the claim is:
         C/O CITIBANK (BLDG TECH)                                        Check all that apply.
         POB 2134
         CAROL STREAM, IL 60132-2134



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1860    Nonpriority creditor's name and mailing address                                                                                        $82,445.06

         SIGMA SOLUTIONS INC                                             As of the petition filing date, the claim is:
         SIGMA TECHNOLOGY SOLUTIONS INC                                  Check all that apply.
         POB 733113
         DALLAS, TX 75373-3113



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1861    Nonpriority creditor's name and mailing address                                                                                         $2,694.66

         SIGN A RAMA                                                     As of the petition filing date, the claim is:
         540 MERRICK RD                                                  Check all that apply.
         BALDWIN, NY 11510




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1862    Nonpriority creditor's name and mailing address                                                                                          $524.40

         SIGN RAMA                                                       As of the petition filing date, the claim is:
         1004 8TH AVE S                                                  Check all that apply.
         NASHVILLE, TN 37203
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1863    Nonpriority creditor's name and mailing address                                                                                         $7,180.31

         SIGNARAMA                                                       As of the petition filing date, the claim is:
         540 MERRICK RD                                                  Check all that apply.
         BALDWIN, NY 11510




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1864    Nonpriority creditor's name and mailing address                                                                                         $4,501.00

         SIGNATURE BANK OF ARKANSAS                                      As of the petition filing date, the claim is:
         POB 8550                                                        Check all that apply.
         PAYETTEVILLE, AR 72703
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1865    Nonpriority creditor's name and mailing address                                                                                        $17,733.75

         SIGNATURE PRODUCTIONS                                           As of the petition filing date, the claim is:
         ATTN AP DEPT                                                    Check all that apply.
         12750 JEFFERSON DAVIS HWY
         CHESTER, VA 23831-5308                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1866    Nonpriority creditor's name and mailing address                                                                                         $1,150.35

         SILSBEE KIA                                                     As of the petition filing date, the claim is:
         1565 HWY 96 BYPASS                                              Check all that apply.
         SILSBEE, TX 77656
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1867    Nonpriority creditor's name and mailing address                                                                                         $1,138.12

         SILVER STAR TELECOM                                             As of the petition filing date, the claim is:
         16420 SE MCGILLIVRAY STE 103-233                                Check all that apply.
         VANCOUVER, WA 98683-3461




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1868    Nonpriority creditor's name and mailing address                                                                                               $72.00

         SILVER WRAPPER                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1869    Nonpriority creditor's name and mailing address                                                                                         $1,205.00

         SILVER WRAPPER INC                                              As of the petition filing date, the claim is:
         5352 N LOCKWOOD AVE                                             Check all that apply.
         CHESTER, VA 23831
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1870    Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         SIMCOS OPERATING ACCOUNT                                        As of the petition filing date, the claim is:
         12220 BIRMINGHAM HWY BLDG 60                                    Check all that apply.
         MILTON, GA 30004
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1871    Nonpriority creditor's name and mailing address                                                                                        $14,047.16

         SIMPLEREACH INC                                                 As of the petition filing date, the claim is:
         POB 203823                                                      Check all that apply.
         DALLAS, TX 75320-3823




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1872    Nonpriority creditor's name and mailing address                                                                                         $1,965.00

         SIMSBURY REAL ESTATE HOLDINGS LLC                               As of the petition filing date, the claim is:
         POB 578                                                         Check all that apply.
         SIMSBURY, CT 06070-0578
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1873    Nonpriority creditor's name and mailing address                                                                                         $2,587.68

         SINCLAIR BROADCAST                                              As of the petition filing date, the claim is:
         C/O WLOS                                                        Check all that apply.
         POB 206270
         DALLAS, TX 75320-6270



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1874    Nonpriority creditor's name and mailing address                                                                                        $12,681.04

         SINCLAIR BROADCAST GROUP INC                                    As of the petition filing date, the claim is:
         C/O WTWC                                                        Check all that apply.
         POB 206270
         DALLAS, TX 75320-6270                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1875    Nonpriority creditor's name and mailing address                                                                                          $596.16

         SINGLETARY                                                      As of the petition filing date, the claim is:
         POB 587                                                         Check all that apply.
         JACKSON, MS 39205
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1876    Nonpriority creditor's name and mailing address                                                                                         $2,980.15

         SINGLETON & PARTNERS                                            As of the petition filing date, the claim is:
         740 W SUPERIOR AVE STE 102                                      Check all that apply.
         CLEVELAND, OH 44113
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1877    Nonpriority creditor's name and mailing address                                                                                      $259,550.48

         SINTECMEDIA NYC INC                                             As of the petition filing date, the claim is:
         BOX 200663                                                      Check all that apply.
         PITTSBURGH, PA 15251-2662




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1878    Nonpriority creditor's name and mailing address                                                                                         $1,455.00

         SIOUX CITY SYMPHONY ORCHESTRA                                   As of the petition filing date, the claim is:
         518 PIERCE ST                                                   Check all that apply.
         SIOUX CITY, IA 51101
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1879    Nonpriority creditor's name and mailing address                                                                                                $5.91

         SIRIUS XM RADIO INC                                             As of the petition filing date, the claim is:
         PO BOX 91399                                                    Check all that apply.
         LOUISVILLE, KY 40290-1399




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1880    Nonpriority creditor's name and mailing address                                                                                               $30.41

         SIRIUS XM RADIO INC                                             As of the petition filing date, the claim is:
         PO BOX 91399                                                    Check all that apply.
         LOUISVILLE, KY 40290-1399




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1881    Nonpriority creditor's name and mailing address                                                                                               $23.52

         SIRIUS XM RADIO INC                                             As of the petition filing date, the claim is:
         PO BOX 91399                                                    Check all that apply.
         LOUISVILLE, KY 40290-1399




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1882    Nonpriority creditor's name and mailing address                                                                                          $899.58

         SIZMEK TECHNOLOGIES INC                                         As of the petition filing date, the claim is:
         POB 206848                                                      Check all that apply.
         DALLAS, TX 75320-6848




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1883    Nonpriority creditor's name and mailing address                                                                                         $7,141.41

         SJG AIR INC                                                     As of the petition filing date, the claim is:
         STEVEN J GREY                                                   Check all that apply.
         4121 SW 31ST DR
         WEST PARK, FL 33023



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1884    Nonpriority creditor's name and mailing address                                                                                         $3,565.00

         SKECHERS USA INC                                                As of the petition filing date, the claim is:
         228 MANHATTEN BEACH BLVD                                        Check all that apply.
         MANHATTAN BEACH, CA 90266




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1885    Nonpriority creditor's name and mailing address                                                                                          $302.09

         SKYTEL                                                          As of the petition filing date, the claim is:
         POB 5749                                                        Check all that apply.
         CAROL STREAM, IL 60197-5749




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1886    Nonpriority creditor's name and mailing address                                                                                         $3,500.00

         SKYVENTURE MANAGEMENT LLC                                       As of the petition filing date, the claim is:
         6034 W COUNTRYARD DR STE 135                                    Check all that apply.
         AUSTIN, TX 78730
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1887    Nonpriority creditor's name and mailing address                                                                                         $1,670.81

         SLACK TECHNOLOGIES INC                                          As of the petition filing date, the claim is:
         155 5TH ST 6TH FL                                               Check all that apply.
         SAN FRANCISCO, CA 94103




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1888    Nonpriority creditor's name and mailing address                                                                                          $772.92

         SMARTCOM TELEPHONE                                              As of the petition filing date, the claim is:
         POB 3097                                                        Check all that apply.
         MCALLEN, TX 78502-3097




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1889    Nonpriority creditor's name and mailing address                                                                                         $5,845.50

         SMARTSHEET                                                      As of the petition filing date, the claim is:
         DEPT 3421 POB 123421                                            Check all that apply.
         DALLAS, TX 75312-3421




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1890    Nonpriority creditor's name and mailing address                                                                                          $212.50

         SMG/OSCEOLA HERITAGE PARK                                       As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1891    Nonpriority creditor's name and mailing address                                                                                         $3,414.00

         SMILE DOCTORS LLC                                               As of the petition filing date, the claim is:
         285 SE INNERLOOP STE 110                                        Check all that apply.
         GEORGETOWN, TX 78626
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1892    Nonpriority creditor's name and mailing address                                                                                        $38,514.40

         SMS SYSTEMS MAINTENANCE SERVICES INC                            As of the petition filing date, the claim is:
         14416 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1893    Nonpriority creditor's name and mailing address                                                                                      $266,769.74

         SNAP INC                                                        As of the petition filing date, the claim is:
         POB 845502                                                      Check all that apply.
         LOS ANGELES, CA 90084-5502




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1894    Nonpriority creditor's name and mailing address                                                                                        $91,981.45

         SNAP INC                                                        As of the petition filing date, the claim is:
         POB 845502                                                      Check all that apply.
         LOS ANGELES, CA 90084-5502
                                                                          X



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1895    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         SOAR ADVENTURE TOWER LLC                                        As of the petition filing date, the claim is:
         3794 CAROTHERS PKWY                                             Check all that apply.
         FRANKLIN, TN 37067
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1896    Nonpriority creditor's name and mailing address                                                                                         $1,620.00

         SOARING WINGS HQ LLC DBA WING                                   As of the petition filing date, the claim is:
         7491 ULMERTON RD STE B                                          Check all that apply.
         LARGO, FL 33771
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1897    Nonpriority creditor's name and mailing address                                                                                        $40,963.92

         SOCIALFLOW INC                                                  As of the petition filing date, the claim is:
         52 VANDERBILT AVE 12TH FL                                       Check all that apply.
         NEW YORK, NY 10017




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1898    Nonpriority creditor's name and mailing address                                                                                         $5,059.49

         SOLS SYSTEM INC                                                 As of the petition filing date, the claim is:
         535 FIFTH AVE 30TH FL                                           Check all that apply.
         NEW YORK, NY 10017
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1899    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         SONY CLASSICS                                                   As of the petition filing date, the claim is:
         550 MADISON AVE 8TH FLOOR                                       Check all that apply.
         NEW YORK, NY 10022
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1900    Nonpriority creditor's name and mailing address                                                                                        $12,250.00

         SONY ENTERTAINMENT                                              As of the petition filing date, the claim is:
         550 MADISON AVE 23RD FL                                         Check all that apply.
         NEW YORK, NY 10022
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1901    Nonpriority creditor's name and mailing address                                                                                         $3,500.00

         SONY ENTERTAINMENT                                              As of the petition filing date, the claim is:
         550 MADISON AVE                                                 Check all that apply.
         NEW YORK, NY 10022
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1902    Nonpriority creditor's name and mailing address                                                                                         $2,384.00

         SOUND LIVE MUSIC GROUP LLC                                      As of the petition filing date, the claim is:
         ATTN JANE ROGERS                                                Check all that apply.
         3262 N SUMMIT POINTE DR
         TOPANGA, CA 90290-4468                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1903    Nonpriority creditor's name and mailing address                                                                                     $2,284,829.99

         SOUNDEXCHANGE INC                                               As of the petition filing date, the claim is:
         DEPT 4037                                                       Check all that apply.
         WASHINGTON, DC 20042-4037




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1904    Nonpriority creditor's name and mailing address                                                                                         $1,995.00

         SOUTH COAST WINERY & RESORT LLC                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1905    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         SOUTHEAST GEORGIA HEALTH SYSTEM                                 As of the petition filing date, the claim is:
         POB 1518                                                        Check all that apply.
         BRUNSWICK, GA 31521
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1906    Nonpriority creditor's name and mailing address                                                                                               $54.66

         SOUTHERN CALIFORNIA BROADCASTERS ASSOC I                        As of the petition filing date, the claim is:
         13351 RIVERSIDE DR #669                                         Check all that apply.
         SHERMAN OAKS, CA 91423




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1907    Nonpriority creditor's name and mailing address                                                                                         $1,540.80

         SOUTHERN LIGHT LLC                                              As of the petition filing date, the claim is:
         107 SAINT FRANCIS ST STE 1800                                   Check all that apply.
         MOBILE, AL 36602




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1908    Nonpriority creditor's name and mailing address                                                                                          $361.69

         SOUTHWEST CYBERPORT                                             As of the petition filing date, the claim is:
         521 INDIAN SCHOOL NE                                            Check all that apply.
         SUITE 6
         ALBUQUERQUE, NM 87110-3950



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1909    Nonpriority creditor's name and mailing address                                                                                        $23,532.40

         SOUTHWEST KIA ROUND ROCK                                        As of the petition filing date, the claim is:
         600 JEFFREY WAY                                                 Check all that apply.
         ROUND ROCK, TX 78665
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1910    Nonpriority creditor's name and mailing address                                                                                         $4,367.30

         SPA PALACE                                                      As of the petition filing date, the claim is:
         4275 N NEVADA AVE                                               Check all that apply.
         COLORADO SPRINGS, CO 80907-4305
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1911    Nonpriority creditor's name and mailing address                                                                                         $1,913.99

         SPARK FOUNDRY                                                   As of the petition filing date, the claim is:
         ATTN RUBEN DIAZ - AP                                            Check all that apply.
         27-01 QUEENS PLAZA N
         LONG ISLAND CIATY, NY 11101-4020                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1912    Nonpriority creditor's name and mailing address                                                                                      $165,124.86

         SPEAKR INC FKA TWTMOB INC                                       As of the petition filing date, the claim is:
         1680 N VINE ST STE 1112                                         Check all that apply.
         HOLLYWOOD, CA 90028




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1913    Nonpriority creditor's name and mailing address                                                                                               $26.25

         SPECTRUM BUSINESS                                               As of the petition filing date, the claim is:
         PO BOX 742614                                                   Check all that apply.
         CINCINNATI, OH 45274-2614




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1914    Nonpriority creditor's name and mailing address                                                                                                $9.55

         SPECTRUM BUSINESS                                               As of the petition filing date, the claim is:
         PO BOX 742614                                                   Check all that apply.
         CINCINNATI, OH 45274-2614




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1915    Nonpriority creditor's name and mailing address                                                                                          $150.00

         SPEKULOR CORP                                                   As of the petition filing date, the claim is:
         2851 W 120TH ST STE E273                                        Check all that apply.
         HAWTHORNE, CA 90250




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1916    Nonpriority creditor's name and mailing address                                                                                         $1,126.01

         SPIRIT COMMUNICATIONS                                           As of the petition filing date, the claim is:
         POB 603030                                                      Check all that apply.
         CHARLOTTE, NC 28260-3030




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1917    Nonpriority creditor's name and mailing address                                                                                         $1,806.45

         SPLASH NEWS & PICTURE AGENCY LLC                                As of the petition filing date, the claim is:
         POB 515777                                                      Check all that apply.
         LOS ANGELES, CA 90051-5220




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1918    Nonpriority creditor's name and mailing address                                                                                         $2,519.34

         SPORTECH VENUES CT                                              As of the petition filing date, the claim is:
         600 LONG WHARF DR                                               Check all that apply.
         NEW HAVEN, CT 06450
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1919    Nonpriority creditor's name and mailing address                                                                                         $6,000.00

         SPORTS DIRECT INC                                               As of the petition filing date, the claim is:
         211 HORSESHOE LAKE DR                                           Check all that apply.
         HALIFAX, NS B3S 0B9
         CANADA



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1920    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         SPORTS INFORMATION                                              As of the petition filing date, the claim is:
         12 SE 10TH AVE                                                  Check all that apply.
         FORT LAUDERDALE, FL 33301
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1921    Nonpriority creditor's name and mailing address                                                                                               $17.90

         SPRING VALLEY TELEPHONE                                         As of the petition filing date, the claim is:
         131 S MCKAY AVE                                                 Check all that apply.
         POB 220
         SPRING VALLEY, WI 54767



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1922    Nonpriority creditor's name and mailing address                                                                                         $3,378.00

         SPRINGFREE TRAMPOLINE USA INC                                   As of the petition filing date, the claim is:
         1875 NW POPLAR WAY STE 1                                        Check all that apply.
         ISSAQUAH, WA 98027
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1923    Nonpriority creditor's name and mailing address                                                                                         $3,967.31

         SPRINT                                                          As of the petition filing date, the claim is:
         POB 4191                                                        Check all that apply.
         CAROL STREAM, IL 60197-4191
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1924    Nonpriority creditor's name and mailing address                                                                                         $8,186.77

         SQAD LLC                                                        As of the petition filing date, the claim is:
         303 S BROADWAY STE 130                                          Check all that apply.
         TARRYTOWN, NY 10591-5410




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1925    Nonpriority creditor's name and mailing address                                                                                         $3,195.86

         SRT COMMUNICATIONS                                              As of the petition filing date, the claim is:
         POB 2027                                                        Check all that apply.
         MINOT, ND 58702




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1926    Nonpriority creditor's name and mailing address                                                                                         $3,500.00

         SSAE 16 PROFESSIONALS LLP                                       As of the petition filing date, the claim is:
         8502 E CHAPMAN AVE STE 301                                      Check all that apply.
         ORANGE, CA 92869




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1927    Nonpriority creditor's name and mailing address                                                                                         $2,930.00

         ST ANDREWS VILLAGE                                              As of the petition filing date, the claim is:
         13801 E YALE AVE                                                Check all that apply.
         AURORA, CO 80014
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1928    Nonpriority creditor's name and mailing address                                                                                         $3,005.00

         ST BASIL THE GREAT GREEK ORTHODOX CHURCH                        As of the petition filing date, the claim is:
         1100 ELDRIDGE PKWY                                              Check all that apply.
         HOUSTON, TX 77077
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1929    Nonpriority creditor's name and mailing address                                                                                         $1,040.00

         ST PAUL AREA ASSOC OF REALTORS                                  As of the petition filing date, the claim is:
         325 EAST ROSELAWN AVE                                           Check all that apply.
         ST PAUL, MN 55117
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1930    Nonpriority creditor's name and mailing address                                                                                      $408,839.94

         STAPLES NATIONAL ADVANTAGE                                      As of the petition filing date, the claim is:
         DEPT SNA                                                        Check all that apply.
         POB 415256
         BOSTON, MA 02241-5256



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1931    Nonpriority creditor's name and mailing address                                                                                        $14,647.37

         STAPLES PRINT SOLUTIONS                                         As of the petition filing date, the claim is:
         POB 71928                                                       Check all that apply.
         CHICAGO, IL 60694
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1932    Nonpriority creditor's name and mailing address                                                                                          $440.63

         STAR 2 STAR COMMUNICATIONS                                      As of the petition filing date, the claim is:
         DEPT CH16873                                                    Check all that apply.
         PALATINE, IL 60055-6873




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1933    Nonpriority creditor's name and mailing address                                                                                        $15,000.00

         STARCOM MEDIAVEST GROUP INC                                     As of the petition filing date, the claim is:
         POB 3369                                                        Check all that apply.
         CAROL STREAM, IL 60132-3369




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1934    Nonpriority creditor's name and mailing address                                                                                        $14,622.59

         STATE & FEDERAL COMMUNICATIONS INC                              As of the petition filing date, the claim is:
         80 S SUMMIT ST STE 100                                          Check all that apply.
         AKRON, OH 44308




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1935    Nonpriority creditor's name and mailing address                                                                                          $450.00

         STELLA WEB SOLUTIONS LLC                                        As of the petition filing date, the claim is:
         518-7 OLD POST RD #293                                          Check all that apply.
         EDISON, NJ 08817
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1936    Nonpriority creditor's name and mailing address                                                                                         $1,075.00

         STEPHEN M PERLITSH                                              As of the petition filing date, the claim is:
         110 W 34TH ST ST 300                                            Check all that apply.
         NEW YORK, NY 10001
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1937    Nonpriority creditor's name and mailing address                                                                                          $286.39

         STERLING CHURCH FURNITURE STORE INC                             As of the petition filing date, the claim is:
         2425 NIMMO PKWY B                                               Check all that apply.
         VIRGINIA BEACH, VA 23456
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1938    Nonpriority creditor's name and mailing address                                                                                         $1,088.00

         STOCKMENS SUPPLY WEST                                           As of the petition filing date, the claim is:
         1716 40TH AVE SE                                                Check all that apply.
         MANDAN, ND 58554
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1939    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         STONE BALLOON 1ST STATE VENTURE LLC                             As of the petition filing date, the claim is:
         115 E MAIN ST                                                   Check all that apply.
         NEWARK, DE 19711
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1940    Nonpriority creditor's name and mailing address                                                                                        $67,177.93

         STONE OAK 17 TX LLC                                             As of the petition filing date, the claim is:
         ATTN WP CARE INC                                                Check all that apply.
         50 ROCKEFELLER PLAZA 2ND FL
         NEW YORK, NY 10020
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1941    Nonpriority creditor's name and mailing address                                                                                         $2,258.75

         STONEYBROOK SANITATION FULLER                                   As of the petition filing date, the claim is:
         SEPTIC SERVICES                                                 Check all that apply.
         2051 BOWES RD
         LOWELL, MI 49331                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1942    Nonpriority creditor's name and mailing address                                                                                        $43,838.61

         STRATA MARKETING INC                                            As of the petition filing date, the claim is:
         23608 NETWORK PLACE                                             Check all that apply.
         CHICAGO, IL 60673




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1943    Nonpriority creditor's name and mailing address                                                                                         $6,693.50

         STRATEGIC AMERICA                                               As of the petition filing date, the claim is:
         6600 WESTOWN PKWY STE 100                                       Check all that apply.
         WEST DES MOINES, IA 50266
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1944    Nonpriority creditor's name and mailing address                                                                                         $3,078.00

         STRATEGIC AMERICA INC                                           As of the petition filing date, the claim is:
         6600 WESTOWN PKWY STE 100                                       Check all that apply.
         WEST DES MOINES, IA 50266
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1945    Nonpriority creditor's name and mailing address                                                                                         $4,309.20

         STRIKEIRON INC                                                  As of the petition filing date, the claim is:
         POB 347948                                                      Check all that apply.
         PITTSBURGH, PA 15251-4948
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1946    Nonpriority creditor's name and mailing address                                                                                         $5,000.00

         STUDIO MOVIE GRILL                                              As of the petition filing date, the claim is:
         805 TOWN & COUNTRY BLVD                                         Check all that apply.
         HOUSTON, TX 77024
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1947    Nonpriority creditor's name and mailing address                                                                                          $175.00

         STUDIO PARTNERS INC                                             As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1948    Nonpriority creditor's name and mailing address                                                                                         $1,642.24

         SUBURBAN NOIZE RECORDS INC                                      As of the petition filing date, the claim is:
         22110 CLARENDON ST STE 103                                      Check all that apply.
         WOODLAND HILLS, CA 91367
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1949    Nonpriority creditor's name and mailing address                                                                                               $40.66

         SUDDENLINK                                                      As of the petition filing date, the claim is:
         POB 660365                                                      Check all that apply.
         DALLAS, TX 75266-0365




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1950    Nonpriority creditor's name and mailing address                                                                                         $2,214.00

         SUITE TREATMENTS                                                As of the petition filing date, the claim is:
         1100 57TH AVE                                                   Check all that apply.
         OAKLAND, CA 94621
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1951    Nonpriority creditor's name and mailing address                                                                                         $2,923.04

         SULLIVAN UNIVERSITY SYSTEM INC                                  As of the petition filing date, the claim is:
         3101 BARDSTOWN RD                                               Check all that apply.
         LOUISVILLE, KY 40205
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1952    Nonpriority creditor's name and mailing address                                                                                         $1,076.73

         SUMMIT MEDIA INC                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1953    Nonpriority creditor's name and mailing address                                                                                         $1,914.00

         SUN COUNTRY AIRLINES                                            As of the petition filing date, the claim is:
         GROUP DEPARTMENT                                                Check all that apply.
         1300 CORPORATE CENTER CURVE
         EAGAN, MN 55121                                                  X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1954    Nonpriority creditor's name and mailing address                                                                                        $57,707.00

         SUN HIGHLANDS PLAZA LLC                                         As of the petition filing date, the claim is:
         C/O BALKE BROWN TRANSWESTERN                                    Check all that apply.
         1001 HIGHLANDS PLAZA DR WEST STE 150
         SAINT LOUIS, MO 63110



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1955    Nonpriority creditor's name and mailing address                                                                                         $6,765.00

         SUN TAN CITY                                                    As of the petition filing date, the claim is:
         POB 275                                                         Check all that apply.
         AUGUSTA, ME 04332
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1956    Nonpriority creditor's name and mailing address                                                                                          $312.50

         SUNGARD AVAILABILITY SERVICES                                   As of the petition filing date, the claim is:
         91233 COLLECTION CENTER DRIVE                                   Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1957    Nonpriority creditor's name and mailing address                                                                                         $4,000.00

         SUNSHINE DIVISION INC                                           As of the petition filing date, the claim is:
         687 N THOMPSON ST                                               Check all that apply.
         PORTLAND, OR 97227
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1958    Nonpriority creditor's name and mailing address                                                                                         $2,774.01

         SUNSHINE SACHS WEST                                             As of the petition filing date, the claim is:
         C/O SUNSHINE SACHS                                              Check all that apply.
         136 MADISON AVE 17TH FL
         NEW YORK, NY 10016



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1959    Nonpriority creditor's name and mailing address                                                                                               $68.85

         SUNVEN ENTERTAINMENT GROUP                                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1960    Nonpriority creditor's name and mailing address                                                                                          $527.44

         SUPERIOR OFFICE SYSTEMS                                         As of the petition filing date, the claim is:
         49 W 37TH ST 3RD FLR                                            Check all that apply.
         NEW YORK, NY 10018
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1961    Nonpriority creditor's name and mailing address                                                                                         $1,520.00

         SURVEY SAMPLING INTERNATIONAL                                   As of the petition filing date, the claim is:
         ACCOUNT # 2000031628378                                         Check all that apply.
         POB 8500-7741
         PHILADELPHIA, PA 19178-7741



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1962    Nonpriority creditor's name and mailing address                                                                                          $909.50

         SUSAN SWENSON HEALTH & LIFESTYLE NETWORK                        As of the petition filing date, the claim is:
         2988 BLAZING STAR DR                                            Check all that apply.
         THOUSAND OAKS, CA 91362
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1963    Nonpriority creditor's name and mailing address                                                                                         $3,763.29

         SWEET SPOT MUSIC INC                                            As of the petition filing date, the claim is:
         35 E 9TH ST                                                     Check all that apply.
         NEW YORK, NY 10003




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1964    Nonpriority creditor's name and mailing address                                                                                        $24,919.00

         SWELL SHARK LLC                                                 As of the petition filing date, the claim is:
         55 W 39TH ST 18TH FL                                            Check all that apply.
         NEW YORK, NY 10018
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1965    Nonpriority creditor's name and mailing address                                                                                          $161.99

         SYNCB NEWEGG                                                    As of the petition filing date, the claim is:
         POB 965055                                                      Check all that apply.
         ORLANDO, FL 32896-5055




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1966    Nonpriority creditor's name and mailing address                                                                                         $1,536.00

         SYRACUSE UNIVERSITY HOTEL & CONFERENCE                          As of the petition filing date, the claim is:
         CENTER LLC                                                      Check all that apply.
         801 UNIVERSITY AVE
         SYRACUSE, NY 13210-1720                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1967    Nonpriority creditor's name and mailing address                                                                                         $5,632.00

         T AND D TECHNOLOGIES LLC                                        As of the petition filing date, the claim is:
         2608 N WALKER DR                                                Check all that apply.
         LEANDER, TX 78641




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1968    Nonpriority creditor's name and mailing address                                                                                         $1,542.50

         T MEDIA LLC                                                     As of the petition filing date, the claim is:
         620 CALLE MIRAMAR                                               Check all that apply.
         REDONDO BEACH, CA 90277
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1969    Nonpriority creditor's name and mailing address                                                                                        $11,752.10

         T REX PLANET PROMOTIONS                                         As of the petition filing date, the claim is:
         7636 TERNES ST                                                  Check all that apply.
         DEARBORN, MI 48126
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1970    Nonpriority creditor's name and mailing address                                                                                         $1,968.22

         T-MOBILE USA INC                                                As of the petition filing date, the claim is:
         POB 742596                                                      Check all that apply.
         CINCINNATI, OH 45274-2596
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1971    Nonpriority creditor's name and mailing address                                                                                         $1,511.25

         T3 COMMUNICATIONS INC                                           As of the petition filing date, the claim is:
         2401 FIRST ST STE 300                                           Check all that apply.
         FORT MYERS, FL 33901




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1972    Nonpriority creditor's name and mailing address                                                                                         $1,010.00

         TACTICAL PRO SHOP                                               As of the petition filing date, the claim is:
         2416 W VICTORY BLVD                                             Check all that apply.
         BURBANK, CA 91506
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1973    Nonpriority creditor's name and mailing address                                                                                      $355,262.72

         TALENT NAME ON FILE 2018-120017                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1974    Nonpriority creditor's name and mailing address                                                                                        $12,548.27

         TALENT NAME ON FILE 2018-124033                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1975    Nonpriority creditor's name and mailing address                                                                                         $3,612.90

         TALENT NAME ON FILE 2018-127739                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1976    Nonpriority creditor's name and mailing address                                                                                        $10,501.00

         TALENT NAME ON FILE 2018-128933                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.

                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1977    Nonpriority creditor's name and mailing address                                                                                         $3,217.21

         TALENT NAME ON FILE 2018-134860                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1978    Nonpriority creditor's name and mailing address                                                                                          $800.00

         TALENT NAME ON FILE 2018-140270                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1979    Nonpriority creditor's name and mailing address                                                                                      $171,921.37

         TALENT NAME ON FILE 2018-145928                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.1980    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         TALENT NAME ON FILE 2018-152259                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1981    Nonpriority creditor's name and mailing address                                                                                         $1,239.25

         TALLASSEE AUTOMOTIVE INC                                        As of the petition filing date, the claim is:
         1618 GILMER AVE                                                 Check all that apply.
         TALLASSEE, AL 36078
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1982    Nonpriority creditor's name and mailing address                                                                                          $319.05

         TALX CORPORATION                                                As of the petition filing date, the claim is:
         4076 PAYSPHERE CIR                                              Check all that apply.
         CHICAGO, IL 60674-4076




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1983    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         TAMPA METROPOLITAN AREA YMCA                                    As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1984    Nonpriority creditor's name and mailing address                                                                                        $14,332.16

         TAPJOY INC                                                      As of the petition filing date, the claim is:
         DEPT CH 19729                                                   Check all that apply.
         PALATINE, IL 60055-9729




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1985    Nonpriority creditor's name and mailing address                                                                                      $273,669.96

         TAPTICA INC                                                     As of the petition filing date, the claim is:
         115 SANSOME ST STE 801                                          Check all that apply.
         SAN FRANCISCO, CA 94104




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1986    Nonpriority creditor's name and mailing address                                                                                         $2,326.58

         TARGET BROADCAST SALES INC                                      As of the petition filing date, the claim is:
         280 AVENUE RD                                                   Check all that apply.
         TORONTO, ON M4V 2G7
         CANADA



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1987    Nonpriority creditor's name and mailing address                                                                                        $55,972.37

         TATA AMERICA INTERNATIONAL CORP                                 As of the petition filing date, the claim is:
         12977 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1988    Nonpriority creditor's name and mailing address                                                                                         $1,776.00

         TAX RESOURCE CENTER                                             As of the petition filing date, the claim is:
         18010 ISLE ROYALE CT                                            Check all that apply.
         HUMBLE, TX 77346
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1989    Nonpriority creditor's name and mailing address                                                                                         $4,513.91

         TCAA                                                            As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1990    Nonpriority creditor's name and mailing address                                                                                          $240.90

         TCCNETWORKS                                                     As of the petition filing date, the claim is:
         125 FIREWORKS CIR UNIT 5                                        Check all that apply.
         BRIDGEWATER, MA 02324




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1991    Nonpriority creditor's name and mailing address                                                                                         $1,847.93

         TCG SERVICES LLC                                                As of the petition filing date, the claim is:
         POB 632                                                         Check all that apply.
         EL DORADO, KS 67042




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1992    Nonpriority creditor's name and mailing address                                                                                         $1,008.10

         TCI MEDIA INC                                                   As of the petition filing date, the claim is:
         7878 N 16TH ST                                                  Check all that apply.
         PHOENIX, AZ 85020
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1993    Nonpriority creditor's name and mailing address                                                                                         $1,650.00

         TD TOUCH POINT MARKETING LLC                                    As of the petition filing date, the claim is:
         20906 N 38TH PL                                                 Check all that apply.
         PHOENIX, AZ 85050
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1994    Nonpriority creditor's name and mailing address                                                                                         $5,648.28

         TDS                                                             As of the petition filing date, the claim is:
         POB 94510                                                       Check all that apply.
         PALATINE, IL 60094-4510




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1995    Nonpriority creditor's name and mailing address                                                                                         $4,516.13

         TEAM OF SCIENTISTS                                              As of the petition filing date, the claim is:
         382 MCGUINNESS BLVD 2                                           Check all that apply.
         BROOKLYN, NY 11222




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1996    Nonpriority creditor's name and mailing address                                                                                          $560.90

         TEC                                                             As of the petition filing date, the claim is:
         POB 940                                                         Check all that apply.
         JACKSON, MS 39205




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.1997    Nonpriority creditor's name and mailing address                                                                                         $1,253.01

         TECH VALLEY COMMUNICATIONS INC                                  As of the petition filing date, the claim is:
         41 STATE ST 10TH FL                                             Check all that apply.
         ALBANY, NY 12207-2838




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1998    Nonpriority creditor's name and mailing address                                                                                          $561.97

         TEL WEST NETWORK SERVICES                                       As of the petition filing date, the claim is:
         POB 123279 DEPARTMENT 3279                                      Check all that apply.
         DALLAS, TX 75312




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.1999    Nonpriority creditor's name and mailing address                                                                                         $4,319.41

         TELEPACIFIC COMMUNICATIONS                                      As of the petition filing date, the claim is:
         POB 509013                                                      Check all that apply.
         SAN DIEGO, CA 92150-9013




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2000    Nonpriority creditor's name and mailing address                                                                                          $640.54

         TELMAR INFORMATION SERVICES CORP                                As of the petition filing date, the claim is:
         711 THIRD AVE 15TH FL                                           Check all that apply.
         NEW YORK, NY 10017




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2001    Nonpriority creditor's name and mailing address                                                                                          $112.69

         TELRITE CORPORATION                                             As of the petition filing date, the claim is:
         POB 60093                                                       Check all that apply.
         NEW ORLEANS, LA 70160




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2002    Nonpriority creditor's name and mailing address                                                                                         $7,944.75

         TEMPUS TECHNOLOGIES INC                                         As of the petition filing date, the claim is:
         635 W 11TH ST                                                   Check all that apply.
         AUBURN, IN 46706




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2003    Nonpriority creditor's name and mailing address                                                                                         $9,000.00

         TEXAS DERMATOLOGY & LASER SPECIALISTS                           As of the petition filing date, the claim is:
         3320 OAKWELL CT                                                 Check all that apply.
         SAN ANTONIO, TX 78218-3019
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2004    Nonpriority creditor's name and mailing address                                                                                         $3,890.00

         THE BATTERMAN GROUP INC                                         As of the petition filing date, the claim is:
         263 EVANTE ST                                                   Check all that apply.
         LAS VEGAS, NV 89138




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2005    Nonpriority creditor's name and mailing address                                                                                         $1,980.00

         THE BLIND FACTORY                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2006    Nonpriority creditor's name and mailing address                                                                                         $9,237.25

         THE BOSCO                                                       As of the petition filing date, the claim is:
         1182 FLUSHING AVE STE 308                                       Check all that apply.
         BROOKLYN, NY 11237




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2007    Nonpriority creditor's name and mailing address                                                                                         $4,145.00

         THE CARPET MAN INC                                              As of the petition filing date, the claim is:
         ATTN CHRIS JACKSON                                              Check all that apply.
         1988 WELLS RD
         ORANGE PARK, FL 32073                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2008    Nonpriority creditor's name and mailing address                                                                                         $1,806.45

         THE CONRAD GROUP                                                As of the petition filing date, the claim is:
         415 NEW JERSEY AVE SE UNIT 1                                    Check all that apply.
         WASHINGTON, DC 20003




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2009    Nonpriority creditor's name and mailing address                                                                                         $1,806.45

         THE CONRAD GROUP                                                As of the petition filing date, the claim is:
         415 NEW JERSEY AVE SE UNIT 1                                    Check all that apply.
         WASHINGTON, DC 20003
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2010    Nonpriority creditor's name and mailing address                                                                                         $1,530.00

         THE DAVIS GROUP                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2011    Nonpriority creditor's name and mailing address                                                                                         $3,550.00

         THE DISTILLERY MUSIC                                            As of the petition filing date, the claim is:
         ATTN CARL BARC                                                  Check all that apply.
         9 CONSELYEA ST 3
         BROOKLYN, NY 11211



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2012    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         THE EMPORIUM                                                    As of the petition filing date, the claim is:
         200 PERRY ST                                                    Check all that apply.
         CASTLE ROCK, CO 80104
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2013    Nonpriority creditor's name and mailing address                                                                                         $8,180.70

         THE ERIC RYAN CORPORATION                                       As of the petition filing date, the claim is:
         POB 473                                                         Check all that apply.
         ELLWOOD CITY, PA 16117




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2014    Nonpriority creditor's name and mailing address                                                                                         $1,054.00

         THE FINAL FINISH INC                                            As of the petition filing date, the claim is:
         180 N MAIN ST                                                   Check all that apply.
         BRANFORD, CT 06405-3021
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2015    Nonpriority creditor's name and mailing address                                                                                         $1,350.00

         THE GULF COAST CENTER                                           As of the petition filing date, the claim is:
         4444 W MAIN                                                     Check all that apply.
         LEAGUE CITY, TX 77573
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2016    Nonpriority creditor's name and mailing address                                                                                          $180.65

         THE INTERNET CONNECTION, INC DBA GOT.NET                        As of the petition filing date, the claim is:
         33 POTRERO ST                                                   Check all that apply.
         SUITE 4-E
         SANTA CRUZ, CA 95060



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2017    Nonpriority creditor's name and mailing address                                                                                         $1,831.09

         THE INTERPUBLIC GROUP OF COMPANIES INC                          As of the petition filing date, the claim is:
         13801 FNB PKWY                                                  Check all that apply.
         POB 542011
         OMAHA, NE 68154



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2018    Nonpriority creditor's name and mailing address                                                                                          $600.00

         THE MARKETING GROUP                                             As of the petition filing date, the claim is:
         1025 16TH AVE S STE 102                                         Check all that apply.
         NASHVILLE, TN 37174
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2019    Nonpriority creditor's name and mailing address                                                                                         $1,319.00

         THE MARQUEE                                                     As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2020    Nonpriority creditor's name and mailing address                                                                                               $20.00

         THE MATTRESS STORE                                              As of the petition filing date, the claim is:
         500 W. MAINE                                                    Check all that apply.
         HENDERSONVILLE, TN 37075
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2021    Nonpriority creditor's name and mailing address                                                                                         $6,600.00

         THE OAKS GOLF COURSE                                            As of the petition filing date, the claim is:
         4740 PIERCEVILLLE RD                                            Check all that apply.
         COTTAGE GROVE, WI 53527
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2022    Nonpriority creditor's name and mailing address                                                                                         $2,091.15

         THE PAUL WILKINSON LAW FIRM LLC                                 As of the petition filing date, the claim is:
         3900 E MEXICO AVE 500                                           Check all that apply.
         DENVER, CO 80210
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2023    Nonpriority creditor's name and mailing address                                                                                          $516.00

         THE PEDDLER GROUP INC                                           As of the petition filing date, the claim is:
         3440 LAKE DR                                                    Check all that apply.
         SMYRNA, GA 30082




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2024    Nonpriority creditor's name and mailing address                                                                                         $1,381.25

         THE PM GROUP                                                    As of the petition filing date, the claim is:
         7550 IH-10 W STE 510                                            Check all that apply.
         SAN ANTONIO, TX 78229




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2025    Nonpriority creditor's name and mailing address                                                                                         $9,513.20

         THE PRESTIGIOUS MARK                                            As of the petition filing date, the claim is:
         8603 N NEW BRAUNFELS                                            Check all that apply.
         SAN ANTONIO, TX 78217




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2026    Nonpriority creditor's name and mailing address                                                                                         $3,593.30

         THE SALVATION ARMY                                              As of the petition filing date, the claim is:
         855 ASYLUM AVE                                                  Check all that apply.
         HARTFORD, CT 06142
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2027    Nonpriority creditor's name and mailing address                                                                                        $79,950.00

         THE SAVO GROUP                                                  As of the petition filing date, the claim is:
         222 W MERCHANDISE MART PLZ STE 1710                             Check all that apply.
         CHICAGO, IL 60654




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2028    Nonpriority creditor's name and mailing address                                                                                         $1,080.00

         THE SPICY OLIVE                                                 As of the petition filing date, the claim is:
         761 COX LN                                                      Check all that apply.
         WEST CHESTER, OH 45069
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2029    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         THE SPINNING WHEEL RESTAURANT INC                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2030    Nonpriority creditor's name and mailing address                                                                                         $5,765.92

         THE SWITCH                                                      As of the petition filing date, the claim is:
         POB 12018                                                       Check all that apply.
         LEWISTON, ME 04243-9494




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2031    Nonpriority creditor's name and mailing address                                                                                         $1,019.00

         THE UNIVERSITY OF OKLAHOMA                                      As of the petition filing date, the claim is:
         ATTN PAM WHITNEY                                                Check all that apply.
         660 PARRINGTON OVAL RM 303
         NORMAN, OK 73019                                                 X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2032    Nonpriority creditor's name and mailing address                                                                                         $8,092.00

         THE WATER COOLER GROUP                                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2033    Nonpriority creditor's name and mailing address                                                                                         $2,260.00

         THE WEEKLEY GROUP OF COMPANIES                                  As of the petition filing date, the claim is:
         1111 N POST OAK RD                                              Check all that apply.
         HOUSTON, TX 77055
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2034    Nonpriority creditor's name and mailing address                                                                                         $9,036.46

         THE WEEKS-LERMAN GROUP LLC                                      As of the petition filing date, the claim is:
         58 38 PAGE PL                                                   Check all that apply.
         MASPETH, NY 11378




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2035    Nonpriority creditor's name and mailing address                                                                                         $5,200.00

         THEOREM CREATIONS                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2036    Nonpriority creditor's name and mailing address                                                                                        $20,310.96

         THIS IS HIT INC                                                 As of the petition filing date, the claim is:
         DBA BROKEN BOW RECORDS                                          Check all that apply.
         65 MUSIC SQUARE W
         NASHVILLE, TN 37203



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2037    Nonpriority creditor's name and mailing address                                                                                          $498.22

         THOMAS & BETTS POWER SOLUTIONS                                  As of the petition filing date, the claim is:
         27583 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1275




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2038    Nonpriority creditor's name and mailing address                                                                                     $2,483,654.72

         THOMAS H LEE MANAGEMENT COMPANY LLC                             As of the petition filing date, the claim is:
         100 FEDERAL ST 35TH FL                                          Check all that apply.
         BOSTON, MA 02110
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2039    Nonpriority creditor's name and mailing address                                                                                               $70.00

         THOMAS ROAD BAPTIST CHURCH                                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2040    Nonpriority creditor's name and mailing address                                                                                         $1,297.27

         THOMSON REUTERS                                                 As of the petition filing date, the claim is:
         THOMSON REUTERS GRC PAYMENT CENTER                              Check all that apply.
         POB 6292
         CAROL STREAM, IL 60197-6292



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2041    Nonpriority creditor's name and mailing address                                                                                        $39,291.15

         THOMSON REUTERS                                                 As of the petition filing date, the claim is:
         MASTER DATA CENTER                                              Check all that apply.
         POB 673451
         DETROIT, MI 48267-3451



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2042    Nonpriority creditor's name and mailing address                                                                                         $2,041.60

         THOUSANDEYES                                                    As of the petition filing date, the claim is:
         201 MISSION ST STE 1700                                         Check all that apply.
         SAN FRANCISCO, CA 94105




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2043    Nonpriority creditor's name and mailing address                                                                                      $113,094.20

         THRIVE GLOBAL                                                   As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2044    Nonpriority creditor's name and mailing address                                                                                         $2,357.40

         THYSSENKRUPP ELEVATOR                                           As of the petition filing date, the claim is:
         3660 THOUSAND OAKS DR STE 210                                   Check all that apply.
         SAN ANTONIO, TX 78247




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2045    Nonpriority creditor's name and mailing address                                                                                         $1,467.75

         TIERPOINT OKLAHOMA, LLC                                         As of the petition filing date, the claim is:
         12444 POWERSCOURT DR                                            Check all that apply.
         STE 45
         ST. LOUIS, MO 63131



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2046    Nonpriority creditor's name and mailing address                                                                                               $95.00

         TIERPOINT, LLC                                                  As of the petition filing date, the claim is:
         PO BOX 8267                                                     Check all that apply.
         LINCOLN, NE 68501




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2047    Nonpriority creditor's name and mailing address                                                                                         $1,500.00

         TIFFS TREATS HOUSTON INC                                        As of the petition filing date, the claim is:
         8900 SHOAL CREEK BLVD STE 127                                   Check all that apply.
         AUSTIN, TX 78757
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2048    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         TIM LEE FOR CHAIRMAN                                            As of the petition filing date, the claim is:
         1480 BENTCREEK DR                                               Check all that apply.
         MARIETTA, GA 30062
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2049    Nonpriority creditor's name and mailing address                                                                                          $153.84

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 7872                                                     Check all that apply.
         CHARLOTTE, NC 28272-0872




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2050    Nonpriority creditor's name and mailing address                                                                                          $199.93

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 16                                                       Check all that apply.
         CAROL STREAM, IL 60132-1060




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2051    Nonpriority creditor's name and mailing address                                                                                               $29.16

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 674                                                      Check all that apply.
         CITY OF INDUSTRY, CA 91716-0074




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2052    Nonpriority creditor's name and mailing address                                                                                               $81.48

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 4639                                                     Check all that apply.
         CAROL STREAM, IL 60197-4639




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2053    Nonpriority creditor's name and mailing address                                                                                         $1,362.72

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 674                                                      Check all that apply.
         CITY OF INDUSTRY, CA 91716-0074




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2054    Nonpriority creditor's name and mailing address                                                                                          $554.03

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 674                                                      Check all that apply.
         CITY OF INDUSTRY, CA 91716-0074




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2055    Nonpriority creditor's name and mailing address                                                                                          $265.26

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 916                                                      Check all that apply.
         CAROL STREAM, IL 60132-0916




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2056    Nonpriority creditor's name and mailing address                                                                                               $33.52

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 674                                                      Check all that apply.
         CITY OF INDUSTRY, CA 91716-0074




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2057    Nonpriority creditor's name and mailing address                                                                                               $58.04

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 674                                                      Check all that apply.
         CITY OF INDUSTRY, CA 91716-0074




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2058    Nonpriority creditor's name and mailing address                                                                                        $12,908.28

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         POB 70872                                                       Check all that apply.
         CHARLOTTE, NC 28272-0872




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2059    Nonpriority creditor's name and mailing address                                                                                                $6.64

         TIME WARNER CABLE                                               As of the petition filing date, the claim is:
         PO BOX 674                                                      Check all that apply.
         CITY OF INDUSTRY, CA 91716-0074




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2060    Nonpriority creditor's name and mailing address                                                                                          $185.70

         TIME WARNER CABLE-NORTHEAST                                     As of the petition filing date, the claim is:
         PO BOX 91                                                       Check all that apply.
         CAROL STREAM, IL 60132-0901




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2061    Nonpriority creditor's name and mailing address                                                                                          $305.42

         TIME WARNER CABLE-SWO DIVISION                                  As of the petition filing date, the claim is:
         PO BOX 16                                                       Check all that apply.
         CAROL STREAM, IL 60132-1060




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2062    Nonpriority creditor's name and mailing address                                                                                               $28.62

         TIME WARNER CABLE-SWO DIVISION                                  As of the petition filing date, the claim is:
         PO BOX 16                                                       Check all that apply.
         CAROL STREAM, IL 60132-1060




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2063    Nonpriority creditor's name and mailing address                                                                                          $953.39

         TIME WARNER COMMUNICATIONS                                      As of the petition filing date, the claim is:
         6555 QUINCE RD STE 400                                          Check all that apply.
         MEMPHIS, TN 38119
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2064    Nonpriority creditor's name and mailing address                                                                                         $3,593.00

         TIY ACADEMY LLC                                                 As of the petition filing date, the claim is:
         411 UNIVERSITY RDG STE 220                                      Check all that apply.
         GREENVILLE, SC 29601
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2065    Nonpriority creditor's name and mailing address                                                                                         $1,706.00

         TMART OPERATIONS I LLC                                          As of the petition filing date, the claim is:
         POB 120                                                         Check all that apply.
         WISCONSIN DELLS, WI 53965
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2066    Nonpriority creditor's name and mailing address                                                                                          $616.56

         TNCI                                                            As of the petition filing date, the claim is:
         POB 981038                                                      Check all that apply.
         BOSTON, MA 02298-1038




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2067    Nonpriority creditor's name and mailing address                                                                                         $1,254.00

         TOBIN CENTER FOR THE PERFORMING ARTS                            As of the petition filing date, the claim is:
         ATTN CHRIS NOVASAK                                              Check all that apply.
         115 AUDITORIUM CIR
         SAN ANTONIO, TX 78205                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2068    Nonpriority creditor's name and mailing address                                                                                        $20,300.00

         TOLER LAW GROUP PC                                              As of the petition filing date, the claim is:
         8500 BLUFFSTONE COVE STE A201                                   Check all that apply.
         AUSTIN, TX 78759




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2069    Nonpriority creditor's name and mailing address                                                                                          $585.00

         TOM AHL CHRYSLER DODGE INC                                      As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2070    Nonpriority creditor's name and mailing address                                                                                         $1,250.00

         TOM STRAIN & SONS                                               As of the petition filing date, the claim is:
         5105 HILL AVE                                                   Check all that apply.
         TOLEDO, OH 43616
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2071    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         TOP BRASS RANGERS LLC                                           As of the petition filing date, the claim is:
         105 DUANE ST 34G                                                Check all that apply.
         NEW YORK, NY 10007
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2072    Nonpriority creditor's name and mailing address                                                                                               $27.82

         TOTAH COMMUNICATIONS INC                                        As of the petition filing date, the claim is:
         POB 269069                                                      Check all that apply.
         OKLAHOMA CITY, OK 73126




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2073    Nonpriority creditor's name and mailing address                                                                                          $219.63

         TOTAL RECORDS INFORMATION MANAGEMENT LLC                        As of the petition filing date, the claim is:
         371 STARKE RD                                                   Check all that apply.
         CARLSTADT, NJ 07072




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2074    Nonpriority creditor's name and mailing address                                                                                               $50.00

         TOWERS ENTERPRISES                                              As of the petition filing date, the claim is:
         4450 SW 53RD PL                                                 Check all that apply.
         TRENTON, FL 32693




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2075    Nonpriority creditor's name and mailing address                                                                                         $1,285.00

         TOWNSQUARE MEDIA WEST CENTRAL                                   As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         240 GREENWICH AVE
         GREENWICH, CT 06830                                              X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2076    Nonpriority creditor's name and mailing address                                                                                         $2,399.99

         TOYOTA OF HOLLYWOOD                                             As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2077    Nonpriority creditor's name and mailing address                                                                                         $1,037.00

         TOYOTA REDLANDS                                                 As of the petition filing date, the claim is:
         ATTN GAYLE IN A/P                                               Check all that apply.
         921 NEW YORK ST
         REDLANDS, CA 92374                                               X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2078    Nonpriority creditor's name and mailing address                                                                                         $1,022.53

         TPX COMMUNICATIONS                                              As of the petition filing date, the claim is:
         PO BOX 5913                                                     Check all that apply.
         SAN DIEGO, CA 92150-9013




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2079    Nonpriority creditor's name and mailing address                                                                                         $1,600.00

         TRACTOR SUPPLY CO                                               As of the petition filing date, the claim is:
         5401 VIRGINIA WAY                                               Check all that apply.
         BRENTWOOD, TN 37027
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2080    Nonpriority creditor's name and mailing address                                                                                         $3,700.44

         TRACX US INC                                                    As of the petition filing date, the claim is:
         DEPT CH 19926                                                   Check all that apply.
         PALATINE, IL 60055-9926




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2081    Nonpriority creditor's name and mailing address                                                                                         $1,585.50

         TRANSAMERICAN AUTO PARTS                                        As of the petition filing date, the claim is:
         400 W ARTESIA BLVD                                              Check all that apply.
         COMPTON, CA 90220-5103
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2082    Nonpriority creditor's name and mailing address                                                                                         $1,660.00

         TREASURER TOWNSHIP OF LOWER MERION                              As of the petition filing date, the claim is:
         75 E LANCASTER AVE                                              Check all that apply.
         ARDMORE, PA 19003
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2083    Nonpriority creditor's name and mailing address                                                                                         $1,164.90

         TRIBUNE MEDIA                                                   As of the petition filing date, the claim is:
         435 N MICHIGAN AVE 8TH FL                                       Check all that apply.
         CHICAGO, IL 60611
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2084    Nonpriority creditor's name and mailing address                                                                                         $4,265.00

         TRINA HEALTH                                                    As of the petition filing date, the claim is:
         10700 SANTA MONICA BLVD                                         Check all that apply.
         LOS ANGELES, CA 90025
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2085    Nonpriority creditor's name and mailing address                                                                                         $1,142.71

         TRISPARK MEDIA GROUP                                            As of the petition filing date, the claim is:
         5400 S UNIVERSITY DR STE 208                                    Check all that apply.
         DAVIE, FL 33328
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2086    Nonpriority creditor's name and mailing address                                                                                               $3.00

         TRITON HEALTH SYSTEMS LLC                                       As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2087    Nonpriority creditor's name and mailing address                                                                                         $1,552.00

         TROY CROSSINGS LLC                                              As of the petition filing date, the claim is:
         2405 15TH ST                                                    Check all that apply.
         TROY, NY 12180
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2088    Nonpriority creditor's name and mailing address                                                                                          $275.40

         TRUCKEE TAHOE RADIO LLC                                         As of the petition filing date, the claim is:
         KTKE FM                                                         Check all that apply.
         12030 DONNER PASS RD #5
         TRUCKEE, CA 96161



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2089    Nonpriority creditor's name and mailing address                                                                                          $961.51

         TSC                                                             As of the petition filing date, the claim is:
         POB 408                                                         Check all that apply.
         WAPAKONETA, OH 45895




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2090    Nonpriority creditor's name and mailing address                                                                                   $162,524,132.00

         TTWN MEDIA NETWORKS, LLC                                        As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.2091    Nonpriority creditor's name and mailing address                                                                                   $117,441,506.00

         TTWN NETWORKS, LLC                                              As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2092    Nonpriority creditor's name and mailing address                                                                                         $2,912.50

         TULSA COMMUNITY FOUNDATION                                      As of the petition filing date, the claim is:
         ATTN JESSICA LEE                                                Check all that apply.
         7030 S YALE STE 600
         TULSA, OK 74136                                                  X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2093    Nonpriority creditor's name and mailing address                                                                                         $2,124.12

         TUNE INC                                                        As of the petition filing date, the claim is:
         2200 WESTERN AVE STE 200                                        Check all that apply.
         SEATTLE, WA 98121




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2094    Nonpriority creditor's name and mailing address                                                                                          $151.80

         TUNNEL TO TOWERS FOUNDATION                                     As of the petition filing date, the claim is:
         2361 HYLAN BLVD                                                 Check all that apply.
         STATEN ISLAND, NY 10306
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2095    Nonpriority creditor's name and mailing address                                                                                      $206,193.54

         TURNER BROADCASTING SYSTEM INC                                  As of the petition filing date, the claim is:
         ATTN AYESHA KARDAR                                              Check all that apply.
         3500 W OLIVE AVE 9TH FL
         BURBANK, CA 91505                                                X



                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2096    Nonpriority creditor's name and mailing address                                                                                          $115.07

         TWINLOGIC STRATEGIES LLP                                        As of the petition filing date, the claim is:
         6313 EVERMAY DR                                                 Check all that apply.
         MCLEAN, VA 22101-2309




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2097    Nonpriority creditor's name and mailing address                                                                                          $650.00

         TWOMATOS INC                                                    As of the petition filing date, the claim is:
         16260 SW 81 ST                                                  Check all that apply.
         MIAMI, FL 33193




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2098    Nonpriority creditor's name and mailing address                                                                                          $200.00

         TYPE E DESIGN                                                   As of the petition filing date, the claim is:
         6924 STONEYBROOKE LN                                            Check all that apply.
         ALEXANDRIA, VA 22306




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2099    Nonpriority creditor's name and mailing address                                                                                         $1,620.00

         TYPHOON TEXAS                                                   As of the petition filing date, the claim is:
         5306 BEACON DR H                                                Check all that apply.
         AUSTIN, TX 78734
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2100    Nonpriority creditor's name and mailing address                                                                                          $317.03

         U PULL R PARTS                                                  As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2101    Nonpriority creditor's name and mailing address                                                                                         $5,866.56

         ULINE                                                           As of the petition filing date, the claim is:
         ATTN ACCOUNTS RECEIVABLE                                        Check all that apply.
         POB 88741
         CHICAGO, IL 60680-1741



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2102    Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         UMB BANK                                                        As of the petition filing date, the claim is:
         ATTN: LAURA ROBERSON                                            Check all that apply.
         2 SOUTH BROADWAY SUITE 600
         ST. LOUIS, MO 63102                                              X
                                                                          X


                                                                         Basis for the claim: Guarantor of 11.25% Priority Guarantee Notes, maturity date of
                                                                         March 1, 2021
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2103    Nonpriority creditor's name and mailing address                                                                                               $15.46

         UNCLAIMED PROPERTY OWNER 2018-615100                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2104    Nonpriority creditor's name and mailing address                                                                                          $1,000.00

         UNCLAIMED PROPERTY OWNER 2018-615154                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2105    Nonpriority creditor's name and mailing address                                                                                            $351.64

         UNCLAIMED PROPERTY OWNER 2018-615342                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2106    Nonpriority creditor's name and mailing address                                                                                               $54.17

         UNCLAIMED PROPERTY OWNER 2018-615405                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2107    Nonpriority creditor's name and mailing address                                                                                               $36.50

         UNCLAIMED PROPERTY OWNER 2018-615568                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2108    Nonpriority creditor's name and mailing address                                                                                          $114.36

         UNCLAIMED PROPERTY OWNER 2018-615781                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2109    Nonpriority creditor's name and mailing address                                                                                               $57.10

         UNCLAIMED PROPERTY OWNER 2018-615827                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2110    Nonpriority creditor's name and mailing address                                                                                         $1,003.36

         UNCLAIMED PROPERTY OWNER 2018-616155                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2111    Nonpriority creditor's name and mailing address                                                                                          $181.80

         UNCLAIMED PROPERTY OWNER 2018-616218                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2112    Nonpriority creditor's name and mailing address                                                                                               $20.00

         UNCLAIMED PROPERTY OWNER 2018-616234                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2113    Nonpriority creditor's name and mailing address                                                                                          $140.37

         UNCLAIMED PROPERTY OWNER 2018-616362                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2114    Nonpriority creditor's name and mailing address                                                                                               $81.32

         UNCLAIMED PROPERTY OWNER 2018-616372                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2115    Nonpriority creditor's name and mailing address                                                                                               $97.57

         UNCLAIMED PROPERTY OWNER 2018-616453                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2116    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         UNCLAIMED PROPERTY OWNER 2018-616530                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2117    Nonpriority creditor's name and mailing address                                                                                          $212.08

         UNCLAIMED PROPERTY OWNER 2018-616737                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2118    Nonpriority creditor's name and mailing address                                                                                               $90.20

         UNCLAIMED PROPERTY OWNER 2018-616926                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2119    Nonpriority creditor's name and mailing address                                                                                          $350.00

         UNCLAIMED PROPERTY OWNER 2018-616962                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2120    Nonpriority creditor's name and mailing address                                                                                                $8.00

         UNCLAIMED PROPERTY OWNER 2018-617108                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2121    Nonpriority creditor's name and mailing address                                                                                          $500.00

         UNCLAIMED PROPERTY OWNER 2018-617136                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2122    Nonpriority creditor's name and mailing address                                                                                               $17.22

         UNCLAIMED PROPERTY OWNER 2018-617323                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2123    Nonpriority creditor's name and mailing address                                                                                               $37.93

         UNCLAIMED PROPERTY OWNER 2018-617501                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2124    Nonpriority creditor's name and mailing address                                                                                          $800.00

         UNCLAIMED PROPERTY OWNER 2018-617572                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2125    Nonpriority creditor's name and mailing address                                                                                               $46.87

         UNCLAIMED PROPERTY OWNER 2018-617696                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2126    Nonpriority creditor's name and mailing address                                                                                         $1,987.66

         UNCLAIMED PROPERTY OWNER 2018-617804                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2127    Nonpriority creditor's name and mailing address                                                                                          $118.20

         UNCLAIMED PROPERTY OWNER 2018-617963                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2128    Nonpriority creditor's name and mailing address                                                                                               $21.12

         UNCLAIMED PROPERTY OWNER 2018-618070                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2129    Nonpriority creditor's name and mailing address                                                                                          $167.20

         UNCLAIMED PROPERTY OWNER 2018-618159                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2130    Nonpriority creditor's name and mailing address                                                                                               $65.32

         UNCLAIMED PROPERTY OWNER 2018-618194                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2131    Nonpriority creditor's name and mailing address                                                                                               $53.85

         UNCLAIMED PROPERTY OWNER 2018-618922                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2132    Nonpriority creditor's name and mailing address                                                                                               $35.82

         UNCLAIMED PROPERTY OWNER 2018-619136                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2133    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         UNCLAIMED PROPERTY OWNER 2018-619249                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2134    Nonpriority creditor's name and mailing address                                                                                               $93.25

         UNCLAIMED PROPERTY OWNER 2018-619394                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2135    Nonpriority creditor's name and mailing address                                                                                          $250.00

         UNCLAIMED PROPERTY OWNER 2018-619424                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2136    Nonpriority creditor's name and mailing address                                                                                                $5.29

         UNCLAIMED PROPERTY OWNER 2018-619493                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2137    Nonpriority creditor's name and mailing address                                                                                          $212.77

         UNCLAIMED PROPERTY OWNER 2018-619516                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2138    Nonpriority creditor's name and mailing address                                                                                          $600.00

         UNCLAIMED PROPERTY OWNER 2018-619664                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2139    Nonpriority creditor's name and mailing address                                                                                          $147.76

         UNCLAIMED PROPERTY OWNER 2018-619857                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2140    Nonpriority creditor's name and mailing address                                                                                          $540.17

         UNCLAIMED PROPERTY OWNER 2018-620301                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2141    Nonpriority creditor's name and mailing address                                                                                         $1,650.00

         UNCLAIMED PROPERTY OWNER 2018-620464                            As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2142    Nonpriority creditor's name and mailing address                                                                                      $186,276.75

         UNIFIED ENTERPRISES CORP                                        As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2143    Nonpriority creditor's name and mailing address                                                                                         $6,373.00

         UNIQLO USA LLC                                                  As of the petition filing date, the claim is:
         165 POLITO AVE                                                  Check all that apply.
         LYNDHURST, NJ 07071
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2144    Nonpriority creditor's name and mailing address                                                                                        $10,865.08

         UNITED ASSET RECOVERY                                           As of the petition filing date, the claim is:
         640 GRAND AVE STE C                                             Check all that apply.
         CARLSBAD, CA 92008
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2145    Nonpriority creditor's name and mailing address                                                                                               $59.25

         UNITED LAW CENTER                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2146    Nonpriority creditor's name and mailing address                                                                                         $1,595.00

         UNITED WATER                                                    As of the petition filing date, the claim is:
         200 OLD HOOK RD                                                 Check all that apply.
         HARRINGTON PARK, NJ 07640
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2147    Nonpriority creditor's name and mailing address                                                                                      $302,389.12

         UNIVERSAL MUSIC GROUP INC                                       As of the petition filing date, the claim is:
         2220 COLORADO AVE                                               Check all that apply.
         SANTA MONICA, CA 90404




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2148    Nonpriority creditor's name and mailing address                                                                                         $2,252.00

         UNIVERSITY OF COLORADO HEALTH                                   As of the petition filing date, the claim is:
         C/O POUDRE VALLEY HEALTH CARE INC                               Check all that apply.
         2315 E HARMONY RD STE 200
         FORT COLLINS, CO 80528                                           X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2149    Nonpriority creditor's name and mailing address                                                                                         $2,165.00

         UNIVERSITY OF TEXAS MEDICAL BR                                  As of the petition filing date, the claim is:
         301 UNIVERSITY BLVD                                             Check all that apply.
         GALVESTON, TX 77555
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2150    Nonpriority creditor's name and mailing address                                                                                        $53,980.10

         UNIVISION RECEIVABLES CO LLC                                    As of the petition filing date, the claim is:
         POB 740721                                                      Check all that apply.
         LOS ANGELES, CA 90074-0721




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2151    Nonpriority creditor's name and mailing address                                                                                               $99.00

         UNSI                                                            As of the petition filing date, the claim is:
         75 REMITTANCE DR                                                Check all that apply.
         CHICAGO, IL 60675
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2152    Nonpriority creditor's name and mailing address                                                                                       $191,677.87

         UPLAND SOFTWARE INC                                             As of the petition filing date, the claim is:
         POB 205921                                                      Check all that apply.
         DALLAS, TX 75320-5921




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2153    Nonpriority creditor's name and mailing address                                                                                          $1,510.93

         UPS                                                             As of the petition filing date, the claim is:
         LOCKBOX 577                                                     Check all that apply.
         CAROL STREAM, IL 60132-0577
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2154    Nonpriority creditor's name and mailing address                                                                                            $390.00

         UPTOWN LIVE CHARLOTTE                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2155    Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         US BANK                                                         As of the petition filing date, the claim is:
         ATTN: KRISTEL D. RICHARDS                                       Check all that apply.
         13737 NOEL ROAD, SUITE 800
         DALLAS, TX 75240                                                 X
                                                                          X


                                                                         Basis for the claim: Guarantor of 10.625% Priority Guarantee Notes, maturity date of
                                                                         March 15, 2023
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2156    Nonpriority creditor's name and mailing address                                                                                            $686.97

         US CELLULAR                                                     As of the petition filing date, the claim is:
         DEPT 0205                                                       Check all that apply.
         PALATINE, IL 60055-0205




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2157    Nonpriority creditor's name and mailing address                                                                                         $1,321.75

         US INTERNATIONAL MEDIA LLC                                      As of the petition filing date, the claim is:
         1201 ALTA LOMA RD                                               Check all that apply.
         LOS ANGELES, CA 90069
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2158    Nonpriority creditor's name and mailing address                                                                                         $3,748.20

         US PONY HOLDINGS LLC                                            As of the petition filing date, the claim is:
         1450 BROADWAY 3RD FLOOR                                         Check all that apply.
         NEW YORK, NY 10018
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2159    Nonpriority creditor's name and mailing address                                                                                         $6,420.00

         US STARS                                                        As of the petition filing date, the claim is:
         147 SEALE RD                                                    Check all that apply.
         SAN ANTONIO, TX 78219




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2160    Nonpriority creditor's name and mailing address                                                                                          $150.00

         UTAH SMILE CLINIC                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2161    Nonpriority creditor's name and mailing address                                                                                         $2,000.00

         UTC MALL                                                        As of the petition filing date, the claim is:
         4545 LA JOLLA VILLAGE DR STE E25                                Check all that apply.
         SAN DIEGO, CA 92122
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2162    Nonpriority creditor's name and mailing address                                                                                          $458.58

         UTILITY TELEPHONE                                               As of the petition filing date, the claim is:
         POB 8489                                                        Check all that apply.
         STOCKTON, CA 95208-9998




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2163    Nonpriority creditor's name and mailing address                                                                                               $1.00

         VA HEALTHCARE                                                   As of the petition filing date, the claim is:
         950 CAMPBELL AVE                                                Check all that apply.
         WEST HAVEN, CT 06516
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2164    Nonpriority creditor's name and mailing address                                                                                         $2,038.00

         VALLEY POOL & SPA                                               As of the petition filing date, the claim is:
         1520 N DELPHINE AVE                                             Check all that apply.
         WAYNESBORO, VA 22980-1910
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2165    Nonpriority creditor's name and mailing address                                                                                         $1,702.60

         VANGUARD EM                                                     As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2166    Nonpriority creditor's name and mailing address                                                                                        $10,997.70

         VANTRIX CORPORATION                                             As of the petition filing date, the claim is:
         910 PEEL ST STE G1                                              Check all that apply.
         MONTREAL, QC H3C 2H8
         CANADA



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2167    Nonpriority creditor's name and mailing address                                                                                          $987.00

         VENDOR NAME ON FILE 2018-141585                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2168    Nonpriority creditor's name and mailing address                                                                                          $637.49

         VENDOR NAME ON FILE 2018-302871                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2169    Nonpriority creditor's name and mailing address                                                                                          $496.12

         VERACITY NETWORKS                                               As of the petition filing date, the claim is:
         170 ELECTION RD STE 200                                         Check all that apply.
         DRAPER, UT 84020-6420




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2170    Nonpriority creditor's name and mailing address                                                                                        $80,331.25

         VERITONE ENTERPRISE LLC                                         As of the petition filing date, the claim is:
         575 ANTON BLVD STE 900                                          Check all that apply.
         COSTA MESA, CA 92626




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2171    Nonpriority creditor's name and mailing address                                                                                         $8,490.65

         VERITONE MEDIA INC                                              As of the petition filing date, the claim is:
         3560 DUNHILL ST STE 120                                         Check all that apply.
         SAN DIEGO, CA 92121
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2172    Nonpriority creditor's name and mailing address                                                                                          $216.33

         VERIZON                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2173    Nonpriority creditor's name and mailing address                                                                                        $58,567.54

         VERIZON                                                         As of the petition filing date, the claim is:
         POB 660818                                                      Check all that apply.
         DALLAS, TX 75266-0818




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2174    Nonpriority creditor's name and mailing address                                                                                         $4,399.70

         VERIZON BUSINESS                                                As of the petition filing date, the claim is:
         PO BOX 1543                                                     Check all that apply.
         ALBANY, NY 12212-5043




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2175    Nonpriority creditor's name and mailing address                                                                                      $103,981.46

         VERIZON BUSINESS                                                As of the petition filing date, the claim is:
         POB 15043                                                       Check all that apply.
         ALBANY, NY 12212-5043




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2176    Nonpriority creditor's name and mailing address                                                                                               $62.81

         VERIZON BUSINESS                                                As of the petition filing date, the claim is:
         PO BOX 1543                                                     Check all that apply.
         ALBANY, NY 12212-5043




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2177    Nonpriority creditor's name and mailing address                                                                                         $7,845.14

         VERIZON CABS                                                    As of the petition filing date, the claim is:
         POB 4832                                                        Check all that apply.
         TRENTON, NJ 08650-4832




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2178    Nonpriority creditor's name and mailing address                                                                                          $610.02

         VERIZON WIRELESS                                                As of the petition filing date, the claim is:
         POB 21074                                                       Check all that apply.
         TULSA, OK 74121-1074
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2179    Nonpriority creditor's name and mailing address                                                                                          $110.96

         VERIZON WIRELESS                                                As of the petition filing date, the claim is:
         PO BOX 48                                                       Check all that apply.
         NEWARK, NJ 07101-0408




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2180    Nonpriority creditor's name and mailing address                                                                                          $408.18

         VERIZON WIRELESS                                                As of the petition filing date, the claim is:
         PO BOX 25505                                                    Check all that apply.
         LEHIGH VALLEY, PA 18002-5505




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2181    Nonpriority creditor's name and mailing address                                                                                          $104.59

         VERIZON WIRELESS                                                As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2182    Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         VERTICAL BRIDGE                                                 As of the petition filing date, the claim is:
         POB 748551                                                      Check all that apply.
         LOS ANGELES, CA 90074-8551
                                                                          X
                                                                          X


                                                                         Basis for the claim: Costs Pursuant to Transition Services Agreement

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2183    Nonpriority creditor's name and mailing address                                                                                       $2,269,742.16

         VERTICAL BRIDGE CC FM LLC                                       As of the petition filing date, the claim is:
         951 BROKEN SOUND PARKWAY STE 320                                Check all that apply.
         BOCA RATON, FL 33487




                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2184    Nonpriority creditor's name and mailing address                                                                                               $30.41

         VERTICAL BRIDGE CC FM LLC                                       As of the petition filing date, the claim is:
         951 BROKEN SOUND PARKWAY STE 320                                Check all that apply.
         BOCA RATON, FL 33487




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2185    Nonpriority creditor's name and mailing address                                                                                          $3,954.00

         VESTAR PROPERTIES INC ITF VESTAR GREEN                          As of the petition filing date, the claim is:
         VALLEY LLC                                                      Check all that apply.
         2425 CAMELBACK RD STE 750
         PHOENIX, AZ 85016                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2186    Nonpriority creditor's name and mailing address                                                                                         $16,000.00

         VETTERY                                                         As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2187    Nonpriority creditor's name and mailing address                                                                                         $2,091.96

         VIA MEDIA                                                       As of the petition filing date, the claim is:
         4009 48TH AVE S                                                 Check all that apply.
         SEATTLE, WA 98118
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2188    Nonpriority creditor's name and mailing address                                                                                               $50.26

         VIAERO WIRELESS                                                 As of the petition filing date, the claim is:
         1228 W PLATTE AVE                                               Check all that apply.
         FORT MORGAN, CO 80701-2949




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2189    Nonpriority creditor's name and mailing address                                                                                         $5,840.55

         VIAWEST, INC.                                                   As of the petition filing date, the claim is:
         PO BOX 732368                                                   Check all that apply.
         DALLAS, TX 75373-2368




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2190    Nonpriority creditor's name and mailing address                                                                                         $7,500.00

         VIBRANT DESIGN LLC                                              As of the petition filing date, the claim is:
         521 12TH ST 2R                                                  Check all that apply.
         BROOKLYN, NY 11215




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2191    Nonpriority creditor's name and mailing address                                                                                          $400.00

         VICTOR CHUN                                                     As of the petition filing date, the claim is:
         4140 ARCH DR 102                                                Check all that apply.
         STUDIO CITY, CA 91604




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2192    Nonpriority creditor's name and mailing address                                                                                          $412.50

         VINYL DEVELOPMENT DBA ZUDY                                      As of the petition filing date, the claim is:
         POB 2727                                                        Check all that apply.
         ORLEANS, MA 02653




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2193    Nonpriority creditor's name and mailing address                                                                                         $1,200.00

         VIOLA & SHARI TALENT GROUP LLC                                  As of the petition filing date, the claim is:
         34 MILL ST                                                      Check all that apply.
         MOUNT HOLLY, NJ 08060




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2194    Nonpriority creditor's name and mailing address                                                                                               $50.00

         VIRGINIA DEPARTMENT OF TAXATION                                 As of the petition filing date, the claim is:
         POB 27407                                                       Check all that apply.
         RICHMOND, VA 23261
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2195    Nonpriority creditor's name and mailing address                                                                                          $243.88

         VIRTUAL INTERACTIVE CENTER                                      As of the petition filing date, the claim is:
         ATTN: ACCOUNTING DEPT                                           Check all that apply.
         PO BOX 36
         KNOXVILLE, TN 37901-0306



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2196    Nonpriority creditor's name and mailing address                                                                                         $6,815.30

         VISION MEDIA                                                    As of the petition filing date, the claim is:
         795 RIDGELAKE BLVD                                              Check all that apply.
         ATTN SHANE NORMAN
         MEMPHIS, TN 38120                                                X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2197    Nonpriority creditor's name and mailing address                                                                                          $528.00

         VISIONARY COMMUNICATIONS, INC.                                  As of the petition filing date, the claim is:
         PO BOX 2799                                                     Check all that apply.
         GILLETTE, WY 82717-2799




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2198    Nonpriority creditor's name and mailing address                                                                                          $400.00

         VISUAL EDGE INC                                                 As of the petition filing date, the claim is:
                                                                         Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2199    Nonpriority creditor's name and mailing address                                                                                         $1,664.00

         VITO C QUASTELA MD PLLC                                         As of the petition filing date, the claim is:
         973 E AVE                                                       Check all that apply.
         ROCHESTER, NY 14607
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2200    Nonpriority creditor's name and mailing address                                                                                         $5,882.21

         VIVA LIFE LLC                                                   As of the petition filing date, the claim is:
         5955 CARNEGIE BLVD STE 300                                      Check all that apply.
         CHARLOTTE, NC 28209
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2201    Nonpriority creditor's name and mailing address                                                                                        $34,587.13

         VMWARE INC                                                      As of the petition filing date, the claim is:
         27575 NETWORK PL                                                Check all that apply.
         CHICAGO, IL 60673-1275




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2202    Nonpriority creditor's name and mailing address                                                                                         $2,550.00

         VTECH ELECTRONICS NORTH AMERICA LLC                             As of the petition filing date, the claim is:
         1156 W SHURE DR 200                                             Check all that apply.
         ARLINGTON HEIGHTS, IL 60004
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2203    Nonpriority creditor's name and mailing address                                                                                         $2,035.87

         VXCHNGE                                                         As of the petition filing date, the claim is:
         PO BOX 825534                                                   Check all that apply.
         PHILADELPHIA, PA 19182-5534




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2204    Nonpriority creditor's name and mailing address                                                                                         $2,562.50

         WADE COLLEGE                                                    As of the petition filing date, the claim is:
         1950 N STEMMONS FWY                                             Check all that apply.
         DALLAS, TX 75207
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2205    Nonpriority creditor's name and mailing address                                                                                        $11,512.50

         WALMART                                                         As of the petition filing date, the claim is:
         705 SW 8TH ST                                                   Check all that apply.
         BENTONVILLE, AR 72716-6299
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2206    Nonpriority creditor's name and mailing address                                                                                         $6,897.75

         WAMJ-FM - WUMJ-FM                                               As of the petition filing date, the claim is:
         POB 603441                                                      Check all that apply.
         CHARLOTTE, NC 28260-3441




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2207    Nonpriority creditor's name and mailing address                                                                                          $375.00

         WARNERCHAPPELL MUSIC INC                                        As of the petition filing date, the claim is:
         10585 SANTA MONICA BLVD                                         Check all that apply.
         LOS ANGELES, CA 90025
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2208    Nonpriority creditor's name and mailing address                                                                                         $4,552.40

         WARREN DISTRIBUTING CO                                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2209    Nonpriority creditor's name and mailing address                                                                                          $136.44

         WASTE CONNECTIONS INC                                           As of the petition filing date, the claim is:
         OGALLALA DISTRICT                                               Check all that apply.
         100 EAST 11TH
         OGALLALA, NE 69153



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2210    Nonpriority creditor's name and mailing address                                                                                          $266.91

         WATCH COMMUNICATIONS                                            As of the petition filing date, the claim is:
         POB 76835                                                       Check all that apply.
         CLEVELAND, OH 44101-5500




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2211    Nonpriority creditor's name and mailing address                                                                                          $364.20

         WATERLOGIC                                                      As of the petition filing date, the claim is:
         POB 677867                                                      Check all that apply.
         DALLAS, TX 75267-7867




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2212    Nonpriority creditor's name and mailing address                                                                                         $1,442.04

         WAUSAU SUPPLY COMPANY                                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2213    Nonpriority creditor's name and mailing address                                                                                          $738.75

         WAVE HELLO INC                                                  As of the petition filing date, the claim is:
         315 MELROSE ST UNIT 3L                                          Check all that apply.
         BROOKLYN, NY 11237




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2214    Nonpriority creditor's name and mailing address                                                                                               $30.04

         WCOIL                                                           As of the petition filing date, the claim is:
         215 N ELIZABETH ST                                              Check all that apply.
         LIMA, OH 45801




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2215    Nonpriority creditor's name and mailing address                                                                                          $145.15

         WE LL FLOOR U INC                                               As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2216    Nonpriority creditor's name and mailing address                                                                                          $248.08

         WEATHERALPHA LLC                                                As of the petition filing date, the claim is:
         3451 SLADE RUN DR                                               Check all that apply.
         FALLS CHURCH, VA 22042




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2217    Nonpriority creditor's name and mailing address                                                                                          $420.00

         WEBER S WORLDWIDE                                               As of the petition filing date, the claim is:
         676 N ST CLAIR #1000                                            Check all that apply.
         CHICAGO, IL 60611
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2218    Nonpriority creditor's name and mailing address                                                                                      $125,406.17

         WELLNESS CORPORATE SOLUTIONS                                    As of the petition filing date, the claim is:
         7617 ARLINGTON RD                                               Check all that apply.
         BETHESDA, MD 20814




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2219    Nonpriority creditor's name and mailing address                                                                                      $200,302.96

         WELLS FARGO VENDOR FINANCIAL SERVICES                           As of the petition filing date, the claim is:
         POB 931088                                                      Check all that apply.
         ATLANTA, GA 31193-1088




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2220    Nonpriority creditor's name and mailing address                                                                                         $1,810.00

         WEST DAIRY TRANSPORT LLC                                        As of the petition filing date, the claim is:
         POB 590                                                         Check all that apply.
         CABOOL, MO 65689
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2221    Nonpriority creditor's name and mailing address                                                                                               $45.19

         WEST UNIFIED COMMUNICATIONS SERVICES INC                        As of the petition filing date, the claim is:
         POB 281866                                                      Check all that apply.
         ATLANTA, GA 30384-1866




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2222    Nonpriority creditor's name and mailing address                                                                                               $48.26

         WEST WISCONSIN TELECOM                                          As of the petition filing date, the claim is:
         POB 115                                                         Check all that apply.
         DOWNSVILLE, WI 54735




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2223    Nonpriority creditor's name and mailing address                                                                                         $2,034.65

         WESTERN ALLIED CORPORATION                                      As of the petition filing date, the claim is:
         POB 3628                                                        Check all that apply.
         SANTA FE SPRINGS, CA 90670-1628




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2224    Nonpriority creditor's name and mailing address                                                                                               $18.75

         WESTERN IOWA TELEPHONE                                          As of the petition filing date, the claim is:
         POB 38                                                          Check all that apply.
         LAWTON, IA 51030-0038




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2225    Nonpriority creditor's name and mailing address                                                                                        $10,500.00

         WESTFIELD LLC                                                   As of the petition filing date, the claim is:
         2049 CENTURY PARK E STE 4100                                    Check all that apply.
         LOS ANGELES, CA 90067-3216
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2226    Nonpriority creditor's name and mailing address                                                                                         $2,350.00

         WESTON SANTOS                                                   As of the petition filing date, the claim is:
         6117 SIMPSON AVE                                                Check all that apply.
         DBA THE BOYZ PHOTOS
         NORTH HOLLYWOOD, CA 91606



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2227    Nonpriority creditor's name and mailing address                                                                                         $12,250.00

         WHITE GREER & MAGGARD PSC                                       As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2228    Nonpriority creditor's name and mailing address                                                                                               $76.19

         WI SCTF                                                         As of the petition filing date, the claim is:
         BOX 74400                                                       Check all that apply.
         MILWAUKEE, WI 53274
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2229    Nonpriority creditor's name and mailing address                                                                                            $499.12

         WILINE NETWORKS INC                                             As of the petition filing date, the claim is:
         DEPT LA 24599                                                   Check all that apply.
         PASADENA, CA 91185-4599




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2230    Nonpriority creditor's name and mailing address                                                                                          $4,306.50

         WILKINS FINSTON FRIEDMAN                                        As of the petition filing date, the claim is:
         12001 CENTRAL EXPY STE 1150                                     Check all that apply.
         DALLAS, TX 75243




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2231    Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WILMINGTON TRUST                                                As of the petition filing date, the claim is:
         ATTN: JACK NEEDHAM                                              Check all that apply.
         1100 N. MARKET STREET
         WILMINGTON, DE 19890                                             X
                                                                          X


                                                                         Basis for the claim: Guarantor of 9% Priority Guarantee Notes, maturity date of
                                                                         September 15, 2022
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2232    Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WILMINGTON TRUST                                                As of the petition filing date, the claim is:
         ATTN: JACK NEEDHAM                                              Check all that apply.
         1100 N. MARKET STREET
         WILMINGTON, DE 19890                                             X
                                                                          X


                                                                         Basis for the claim: Guarantor of 9% Priority Guarantee Notes, maturity date of
                                                                         December 15, 2019
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2233    Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WILMINGTON TRUST                                                As of the petition filing date, the claim is:
         ATTN: JACK NEEDHAM                                              Check all that apply.
         1100 N. MARKET STREET
         WILMINGTON, DE 19890                                             X
                                                                          X


                                                                         Basis for the claim: Guarantor of 9% Priority Guarantee Notes, maturity date of March
                                                                         1, 2021
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.2234    Nonpriority creditor's name and mailing address                                                                                         $14,179.95

         WILSHIRE CHAUFFEURED SERVICES                                   As of the petition filing date, the claim is:
         11231 S LA CIENEGA BLVD                                         Check all that apply.
         LOS ANGELES, CA 90045




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2235    Nonpriority creditor's name and mailing address                                                                                            $118.00

         WILSON ELSER MOSKOWITZ EDELMAN & DICKER                         As of the petition filing date, the claim is:
         150 E 42ND ST                                                   Check all that apply.
         NEW YORK, NY 10017




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2236    Nonpriority creditor's name and mailing address                                                                                            $400.00

         WINDERMERE REAL ESTATE                                          As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2237    Nonpriority creditor's name and mailing address                                                                                          $599.63

         WINDHAM PROFESSIONALS INC                                       As of the petition filing date, the claim is:
         380 MAIN ST                                                     Check all that apply.
         SALEM, NH 03079
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2238    Nonpriority creditor's name and mailing address                                                                                          $995.00

         WINDSOUTH CREDIT UNION FINANCIAL SVCS                           As of the petition filing date, the claim is:
                                                                         Check all that apply.
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2239    Nonpriority creditor's name and mailing address                                                                                        $10,743.66

         WINDSTREAM                                                      As of the petition filing date, the claim is:
         POB 9001013                                                     Check all that apply.
         LOUISVILLE, KY 40290-1013




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2240    Nonpriority creditor's name and mailing address                                                                                        $19,999.46

         WINDSTREAM                                                      As of the petition filing date, the claim is:
         POB 9001908                                                     Check all that apply.
         LOUISVILLE, KY 40290-1908




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2241    Nonpriority creditor's name and mailing address                                                                                         $4,177.70

         WINDSTREAM COMMUNICATIONS                                       As of the petition filing date, the claim is:
         POB 843006                                                      Check all that apply.
         KANSAS CITY, MO 64184-3006
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2242    Nonpriority creditor's name and mailing address                                                                                          $270.71

         WINDSTREAM KENTUCKY EAST LLC                                    As of the petition filing date, the claim is:
         POB 9001908                                                     Check all that apply.
         LOUISVILLE, KY 40290-1908




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2243    Nonpriority creditor's name and mailing address                                                                                        $15,056.31

         WINGSTOP DALLAS-FORT WORTH COOP                                 As of the petition filing date, the claim is:
         WDFW                                                            Check all that apply.
         POB 48000
         DENVER, CO 80204-8000                                            X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2244    Nonpriority creditor's name and mailing address                                                                                        $11,526.50

         WINSTON & STRAWN LLP                                            As of the petition filing date, the claim is:
         36235 TREASURY CENTER                                           Check all that apply.
         CHICAGO, IL 60694-6200




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2245    Nonpriority creditor's name and mailing address                                                                                          $722.58

         WISPER ISP                                                      As of the petition filing date, the claim is:
         9711 FUESSER RD                                                 Check all that apply.
         MASCOUTAH, IL 62258




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2246    Nonpriority creditor's name and mailing address                                                                                          $578.26

         WISPER ISP INC                                                  As of the petition filing date, the claim is:
         9711 FUESSER RD                                                 Check all that apply.
         MASCOUTAH, IL 62258




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2247    Nonpriority creditor's name and mailing address                                                                                        $10,002.48

         WOCHIT INC                                                      As of the petition filing date, the claim is:
         12 E 33RD ST 4TH FL                                             Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2248    Nonpriority creditor's name and mailing address                                                                                               $94.13

         WOFPOFF                                                         As of the petition filing date, the claim is:
         702 KING FARM BLVD                                              Check all that apply.
         ROCKVILLE, MD 20850
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2249    Nonpriority creditor's name and mailing address                                                                                         $1,520.00

         WOODCRAFT                                                       As of the petition filing date, the claim is:
         3028 BLAKE JAMES DR                                             Check all that apply.
         LEXINGTON, KY 40509
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2250    Nonpriority creditor's name and mailing address                                                                                        $44,000.00

         WORKIVA INC                                                     As of the petition filing date, the claim is:
         2900 UNIVERSITY BLVD                                            Check all that apply.
         AMES, IA 50010




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2251    Nonpriority creditor's name and mailing address                                                                                         $8,555.59

         WORLD WIDE TECHNOLOGY INC                                       As of the petition filing date, the claim is:
         POB 957653                                                      Check all that apply.
         SAINT LOUIS, MO 63195-7653
                                                                          X


                                                                         Basis for the claim: Accrued Payable

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2252    Nonpriority creditor's name and mailing address                                                                                         $1,275.25

         WWE INC                                                         As of the petition filing date, the claim is:
         1241 E MAIN ST                                                  Check all that apply.
         STAMFORD, CT 06902-3520
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2253    Nonpriority creditor's name and mailing address                                                                                               $43.68

         XPO LOGISTICS                                                   As of the petition filing date, the claim is:
         29564 NETWORK PL                                                Check all that apply.
         CHICAGO, NY 60673-1564




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2254    Nonpriority creditor's name and mailing address                                                                                      $226,737.63

         YOUAPPI INC                                                     As of the petition filing date, the claim is:
         2 EMBARCADERO CTR STE 2310                                      Check all that apply.
         SAN FRANCISCO, CA 94111-3919




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2255    Nonpriority creditor's name and mailing address                                                                                        $15,000.00

         YOUNG AUDIENCES NEW YORK                                        As of the petition filing date, the claim is:
         1 E 53RD ST                                                     Check all that apply.
         NEW YORK, NY 10022




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2256    Nonpriority creditor's name and mailing address                                                                                        $16,738.20

         YOUNGBLOOD AUTO                                                 As of the petition filing date, the claim is:
         3505 S CAMPBELL AVE                                             Check all that apply.
         SPRINGFIELD, MO 65807
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.2257    Nonpriority creditor's name and mailing address                                                                                         $2,839.00

         ZACHRY ASSOCIATES                                               As of the petition filing date, the claim is:
         POB 1739                                                        Check all that apply.
         ABILENE, TX 79604
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2258    Nonpriority creditor's name and mailing address                                                                                          $872.95

         ZAYO COLOCATION, INC.                                           As of the petition filing date, the claim is:
         PO BOX 952136                                                   Check all that apply.
         DALLAS, TX 75395-2136




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2259    Nonpriority creditor's name and mailing address                                                                                        $44,398.29

         ZIMMERMAN AXELRAD MEYER STERN WISE PC                           As of the petition filing date, the claim is:
         3040 POST OAK BLVD STE 1300                                     Check all that apply.
         HOUSTON, TX 77056




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.2260    Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         ZONA ROZA 1                                                     As of the petition filing date, the claim is:
         6237 BELLAIRE BLVD                                              Check all that apply.
         HOUSTON, TX 77081
                                                                          X



                                                                         Basis for the claim: Client Refund

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes




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Debtor          iHeartMedia Management Services, Inc.                                                  Case number (if known) 18-31301 (MI)
               Name




 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.
If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



      Name and mailing address                                                                 On which line in Part 1 or Part 2 is           Last 4 digits of
                                                                                               the related creditor (if any) listed?          account number, if
                                                                                                                                              any




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iHeartMedia Management Services, Inc.                18-31301 (MI)




                                                                                       0.00
                                                                     + undetermined amounts




                                                                        21,623,210,139.86
                                                                     + undetermined amounts




                                                                        21,623,210,139.86
                                                                     + undetermined amounts




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    iHeartMedia Management Services, Inc.

                         Southern                               Texas, Houston
                                                                Divison
               18-31301 (MI)                                      11




X




                               Non-Disclosure Agreement Dated 01/09/2017    3CLOGIC INC.
                                                                            9201 CORPORATE BLVD
                                                                            SUITE 470
                                                                            ROCKVILLE, MD 20850

                               Undetermined




                               Service Order Dated 04/07/2017               3CLOGIC, INC.
                                                                            9201 CORPORATE BLVD., SUITE 470
                                                                            ROCKVILLE, MD 20850


                               Undetermined




                               Master Services Agreement Dated 04/07/2017   3CLOGIC, INC.
                                                                            9201 CORPORATE BLVD., SUITE 470
                                                                            ROCKVILLE, MD 20850


                               Undetermined




                               Software Quote                               4WARD
                                                                            ATTN: ACCOUNTS PAYABLE
                                                                            12 PENNS TRAIL
                                                                            NEWTOWN, PA 18950

                               Undetermined




                               4Ward Terms of Service                       4WARD SRL
                                                                            4WARD USA
                                                                            ATTN: CARL BAUMANN
                                                                            CEO
                                                                            12 PENNS TRAIL
                               Undetermined                                 NEWTOWN , PA 18950




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 4WARD SRL
            State what the contract or     4Ward Terms of Service
                                                                                 4WARD USA
            lease is for and the nature
2.6                                                                              ATTN: CARL BAUMANN
            of the debtor’s interest
                                                                                 CEO
                                                                                 12 PENNS TRAIL
                                                                                 NEWTOWN , PA 18950
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 4WARD SRL
            State what the contract or     4ward Terms of Service Dated
                                                                                 4WARD USA
            lease is for and the nature    08/31/2016
2.7                                                                              ATTN: CARL BAUMANN
            of the debtor’s interest
                                                                                 CEO
                                                                                 12 PENNS TRAIL
                                                                                 NEWTOWN , PA 18950
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 4WARD USA
            State what the contract or     Invoice 3 Dated 08/31/2016
                                                                                 12 PENNS TRAIL
            lease is for and the nature
2.8                                                                              NEWTOWN, PA 18940
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 A-CONNECT (US) INC.
            State what the contract or     Non-Disclosure and Confidentiality
                                                                                 ATTN: NINA EIGERMAN
            lease is for and the nature    Agreement Dated 04/08/2009
2.9                                                                              TALENT PARTNER
            of the debtor’s interest
                                                                                 100 FRANKLIN STREET
                                                                                 6TH FLOOR
                                                                                 BOSTON, MA 02110
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 A-CONNECT (US) INC.
            State what the contract or     Consulting Services Agreement Dated
                                                                                 ATTN: NINA EIGERMAN
            lease is for and the nature    03/24/2009
2.10                                                                             TALENT PARTNER
            of the debtor’s interest
                                                                                 100 FRANKLIN ST.
                                                                                 6TH FLOOR
                                                                                 BOSTON, MA 02110
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 A-CONNECT (US) INC.
            State what the contract or     Consulting Services Agreement Dated
                                                                                 ATTN: NINA EIGERMAN
            lease is for and the nature    03/24/2009
2.11                                                                             100 FRANKLIN ST.
            of the debtor’s interest
                                                                                 6TH FLOOR
                                                                                 BOSTON , MA 02110
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCENTURE LLP
            State what the contract or     ServiceNow Requirements Gathering
                                                                                 ATTN: JASON WOJAHN
            lease is for and the nature    and Implementation Services Dated
2.12                                                                             SENIOR VICE PRESIDENT
            of the debtor’s interest       11/28/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 ACCENTURE LLP
            State what the contract or     Lean Master Services Agreement
                                                                                 ATTN: JASON WOJAHN
            lease is for and the nature    Dated 11/29/2016
2.13                                                                             MANAGING DIRECTOR
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCENTURE, LLP
            State what the contract or     Master Services Agreement Dated
            lease is for and the nature    10/10/2017
2.14
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCENTURE, LLP
            State what the contract or     Master Services Agreement Dated
            lease is for and the nature    10/10/2017
2.15
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCENTURE, LLP
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.16
            of the debtor’s interest       12/17/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCENTURE, LLP
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.17
            of the debtor’s interest       12/07/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCRETIVE SOLUTIONS
            State what the contract or     Letter Service Agreement Dated
                                                                                 ATTN: DOUG MZYK
            lease is for and the nature    02/16/2010
2.18                                                                             VP, MARKET LEADER
            of the debtor’s interest
                                                                                 300 CONVENT STREET
                                                                                 SUITE 2460
                                                                                 SAN ANTONIO , TX 78205
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACCUVANT
            State what the contract or     Licensing Agreement - Invoice Dated
                                                                                 1125 17TH STREET
            lease is for and the nature    05/26/2015
2.19                                                                             SUITE 1700
            of the debtor’s interest
                                                                                 DENVER, CO 80202


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 ACQUIA, INC.
            State what the contract or     License Agreement - Order Dated
                                                                                 53 STATE STREET, 10TH FLOOR
            lease is for and the nature    11/01/2017
2.20                                                                             BOSTON, MA 02109
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACQUIA, INC.
            State what the contract or     Subscription and Services Agreement
                                                                                 ATTN: JOSEPH BULENS
            lease is for and the nature    Dated 03/11/2016
2.21                                                                             VP OF FINANCE
            of the debtor’s interest
                                                                                 53 STATE STREET
                                                                                 BOSTON , MA 02109
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ACT 1 SYSTEMS, INC.
            State what the contract or     Limited License Agreement Dated
                                                                                 21031 VENTURA BOULEVARD
            lease is for and the nature    01/01/2013
2.22                                                                             SUITE 1020
            of the debtor’s interest
                                                                                 WOODLAND HILLS , CA 91364


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ADDUCCO CONSULTING , LLC
            State what the contract or     Confidentiality Agreement Dated
                                                                                 ATTN: DEAN BROWN
            lease is for and the nature    10/12/2009
2.23                                                                             20079 STONE OAK PARKWAY
            of the debtor’s interest
                                                                                 SAN ANTONIO , TX 78259


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ADECCO
            State what the contract or     Exhibit A Statement of Work
                                                                                 ATTN: SY HASAN
            lease is for and the nature
2.24                                                                             36 DISCOVERY
            of the debtor’s interest
                                                                                 #250
                                                                                 IRVINE, CA 92618
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ADECCO
            State what the contract or     Statement of Work Dated 10/11/2016
                                                                                 ATTN: SY HASAN
            lease is for and the nature
2.25                                                                             36 DISCOVERY
            of the debtor’s interest
                                                                                 #250
                                                                                 IRVINE, CA 92618
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ADITI TECHNOLOGIES PVT. LTD.
            State what the contract or     Statement of Work Dated 12/01/2013
                                                                                 ATTN: VINEET KUMAR ARORA
            lease is for and the nature
2.26                                                                             CHIEF OPERATING OFFICER
            of the debtor’s interest
                                                                                 C-4 BLOCK, WING -A
                                                                                 MANYATA EMBASSY BUSINESS PARK
                                                                                 BANGALORE, KARNATAKA 560 045
            State the term remaining       Undetermined                          INDIA
            List the contract number of
            any government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Sales Order Dated 06/01/2017
                                                                                345 PARK AVENUE
            lease is for and the nature
2.27                                                                            SAN JOSE, CA 95110-2704
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Sales Order
                                                                                ATTN: CONTRACT ADMINISTRATION GROUP - RG
            lease is for and the nature
2.28                                                                            345 PARK AVENUE
            of the debtor’s interest
                                                                                SAN JOSE, CA 95110


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Adobe Enterprise Term License
                                                                                345 PARK AVENUE
            lease is for and the nature    Agreement - Sales Order Dated
2.29                                                                            SAN JOSE , CA 95110
            of the debtor’s interest       05/30/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     License Agreement Dated 05/29/2014
                                                                                ATTN: CONTRACT ADMINISTRATION GROUP - RG
            lease is for and the nature
2.30                                                                            345 PARK AVENUE
            of the debtor’s interest
                                                                                SAN JOSE , CA 95110


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Term License Agreement Sales Order
                                                                                ATTN: GREG SIMPSON
            lease is for and the nature    Dated 05/30/2014
2.31                                                                            DIRECTOR OF FINANCE ASSIST. CONTROLLER
            of the debtor’s interest
                                                                                345 PARK AVENUE
                                                                                SAN JOSE, CA 95110
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Adobe Sales Order Dated 05/30/2017
                                                                                345 PARK AVENUE
            lease is for and the nature
2.32                                                                            SAN JOSE , CA 95110-2704
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Amendment to License Agreement
                                                                                ATTN: CONTRACT OPERATIONS GROUP
            lease is for and the nature
2.33                                                                            345 PARK AVENUE
            of the debtor’s interest
                                                                                SAN JOSE, CA 95110


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Adobe Sales Order Dated 05/30/2017
                                                                                ATTN: ERIC PIZIALI
            lease is for and the nature
2.34                                                                            WW DIRECTOR OF REVENUE OPERATIONS
            of the debtor’s interest
                                                                                345 PARK AVENUE
                                                                                SAN JOSE , CA 95110
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS INCORPORATED
            State what the contract or     Sales Order Dated 05/30/2014
                                                                                345 PARK AVENUE
            lease is for and the nature
2.35                                                                            SAN JOSE, CA 95110-2704
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS SOFTWARE IRELAND
            State what the contract or     Sales Order
                                                                                4-6 RIVERWALK, CITY WEST
            lease is for and the nature
2.36                                                                            BUSINESS CAMPUS
            of the debtor’s interest
                                                                                DUBLIN 24
                                                                                IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS SOFTWARE IRELAND
            State what the contract or     Adobe Enterprise Term License
                                                                                4-6 RIVERWALK
            lease is for and the nature    Agreement - Sales Order Dated
2.37                                                                            CITY WEST
            of the debtor’s interest       05/30/2014
                                                                                BUSINESS CAMPUS
                                                                                DUBLIN 24
                                                                                IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS SOFTWARE IRELAND
            State what the contract or     License Agreement Dated 05/29/2014
                                                                                4-6 RIVERWALK
            lease is for and the nature
2.38                                                                            CITY WEST
            of the debtor’s interest
                                                                                BUSINESS CAMPUS
                                                                                DUBLIN 24
                                                                                IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS SOFTWARE IRELAND
            State what the contract or     Sales Order Dated 05/30/2014
                                                                                4-6 RIVERWALK, CITY WEST
            lease is for and the nature
2.39                                                                            BUSINESS CAMPUS
            of the debtor’s interest
                                                                                DUBLIN 24
                                                                                IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADOBE SYSTEMS SOFTWARE IRELAND LIMITED
            State what the contract or     Adobe Sales Order Dated 05/30/2017
                                                                                4-6 RIVERWALK
            lease is for and the nature
2.40                                                                            CITY WEST BUSINESS CAMPUS
            of the debtor’s interest
                                                                                DUBLIN 24
                                                                                IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ADRM SOFTWARE INC.
            State what the contract or     Data Model Maintenance Agreement
                                                                                2360 CORPORATE CIRCLE
            lease is for and the nature    Dated 08/06/2012
2.41                                                                            SUITE 400
            of the debtor’s interest
                                                                                HENDERSON , NV 89074-7739


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADRM SOFTWARE, INC.
            State what the contract or     Data Model Maintenance Agreement
                                                                                2360 CORPORATE CIRCLE
            lease is for and the nature    Dated 08/06/2012
2.42                                                                            SUITE 400
            of the debtor’s interest
                                                                                HENDERSON, NV 89074-7739


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADRM SOFTWARE, INC.
            State what the contract or     Data Model Maintenance Agreement
                                                                                2360 CORPORATE CIRCLE
            lease is for and the nature    Dated 08/06/2012
2.43                                                                            SUITE 400
            of the debtor’s interest
                                                                                HENDERSON, NV 89074-7739


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVERTISING RED BOOKS
            State what the contract or     Non-Disclosure Agreement Dated
            lease is for and the nature    09/05/2014
2.44
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATE NETWORKS, LLC D/B/A ADVOCATE
            State what the contract or     Professional Services Agreement
                                                                                ERS PARKWAY
            lease is for and the nature    Dated 01/30/2015
2.45                                                                            T-100
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATE NETWORKS, LLC DBA ADVOCATE INSIDERS
            State what the contract or     Letter of Authorization/Consultant
                                                                                ATTN: TOM MCLEAN
            lease is for and the nature    NDA Dated 09/15/2017
2.46                                                                            6200 THE CORNERS PARKWAY
            of the debtor’s interest
                                                                                SUITE T100
                                                                                NORCROSS , GA 30092
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Letter of Engagement Dated
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature    02/17/2015
2.47                                                                            SUITE T-100
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Statement of Work Dated 11/13/2015
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature
2.48                                                                            SUITE T-100
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Statement of Work Dated 11/23/2015
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature
2.49                                                                            SUITE T-100
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Addendum to Connectivity Lifecycle
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature    Management Statement of Work
2.50                                                                            SUITE T-100
            of the debtor’s interest       Dated 12/01/2015
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Engagement Letter to provide
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature    professional services Dated
2.51                                                                            SUITE T-100
            of the debtor’s interest       09/09/2014
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Statement of Work Dated 07/01/2015
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature
2.52                                                                            SUITE T-100
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Amendment #2 to Professional
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature    Services Agreement Dated
2.53                                                                            SUITE T-100
            of the debtor’s interest       01/29/2018
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ADVOCATES NETWORKS, LLC
            State what the contract or     Addendum to Connectivity Statement
                                                                                6200 THE CORNERS PARKWAY
            lease is for and the nature    of Work Dated 11/30/2015
2.54                                                                            SUITE T-100
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               ADVOCATES NETWORKS, LLC
            State what the contract or     Connectivity Lifecycle Services
                                                                               6200 THE CORNERS PARKWAY
            lease is for and the nature    Exhibits
2.55                                                                           SUITE T-100
            of the debtor’s interest
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               ADVOCATES NETWORKS, LLC
            State what the contract or     Addendum to Statement of Work
                                                                               6200 THE CORNERS PARKWAY
            lease is for and the nature    Dated 11/30/2015
2.56                                                                           SUITE T-100
            of the debtor’s interest
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               ADVOCATES NETWORKS, LLC
            State what the contract or     Amended and Restated Statement of
                                                                               6200 THE CORNERS PARKWAY
            lease is for and the nature    Work Dated 02/01/2018
2.57                                                                           SUITE T-100
            of the debtor’s interest
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               ADVOCATES NETWORKS, LLC
            State what the contract or     Letter of Engagement Dated
                                                                               6200 THE CORNERS PARKWAY
            lease is for and the nature    01/08/2014
2.58                                                                           SUITE T-100
            of the debtor’s interest
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               AEP ENERGY, INC.
            State what the contract or     Electric Service Agreement Dated
                                                                               225 WEST WACKER DRIVE
            lease is for and the nature    10/13/2014
2.59                                                                           SUITE 700
            of the debtor’s interest
                                                                               CHICAGO , IL 60606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               AEP ENERGY, INC.
            State what the contract or     Electric Service Agreement. Dated
                                                                               225 WEST WACKER DRIVE
            lease is for and the nature    10/13/2014
2.60                                                                           SUITE 700
            of the debtor’s interest
                                                                               CHICAGO , IL 60606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               AEXIOM CORPORATION
            State what the contract or     NCOA Processing Acknowledgement
                                                                               LARRY HORTON
            lease is for and the nature    Form Dated 12/21/2010
2.61                                                                           PRODUCT DATA SPECIALIST
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AIKEN ELECTRIC COOP INC
            State what the contract or     Agreement for Electric Service
                                                                                 POB 417
            lease is for and the nature
2.62                                                                             AIKEN, SC 29802
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ALEKSTRA, INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.63
            of the debtor’s interest       12/07/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ALIENVAULT INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 1875 S GRANT STREET
            lease is for and the nature    02/28/2017
2.64                                                                             SUITE 200
            of the debtor’s interest
                                                                                 SAN MATEO, CA 94402


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ALITALIA - SOCIETA AEREA ITALIANA S.P.A
            State what the contract or     Corporate Incentive Agreement Dated
                                                                                 FIUMICINO (RM)
            lease is for and the nature    03/01/2014
2.65                                                                             POSTCODE 00054
            of the debtor’s interest
                                                                                 VIA A. NASSETTI S.N.C.


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ALITALIA - SOCIETA AEREA ITALIANA S.P.A
            State what the contract or     Amendment to the Corporate
                                                                                 FIUMICINO (RM)
            lease is for and the nature    Agreement. Dated 01/15/2016
2.66                                                                             POSTCODE 00054
            of the debtor’s interest
                                                                                 VIA A. NASSETTI S.N.C.


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ALIXPARTNERS, LLP
            State what the contract or     Mutual Confidentiality and Non-
                                                                                 2000 TOWN CENTER
            lease is for and the nature    Disclosure Agreement Dated
2.67                                                                             SUITE 2400
            of the debtor’s interest       04/15/2014
                                                                                 SOUTHFIELD, MI 48075


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ALLIEDBARTON SECURITY SERVICES, LLC
            State what the contract or     Letter Agreement Dated 10/07/2016
                                                                                 9583 GREENTHREAD DRIVE
            lease is for and the nature
2.68                                                                             ZIONSVILLE, IN 46077
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    04/01/2013
2.69                                                                            900 108TH AVE NE
            of the debtor’s interest
                                                                                #206
                                                                                BELLEVUE, WA 98004
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    11/10/2014
2.70                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO , TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B Change Order No. 1 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    01/14/2014
2.71                                                                            DIRECTOR
            of the debtor’s interest
                                                                                800 108TH AVE NE
                                                                                #208
                                                                                BELLEVUE, WA 98004
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Master Service Agreement Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    04/01/2013
2.72                                                                            DIRECTOR
            of the debtor’s interest
                                                                                800 108TH AVE NE
                                                                                #208
                                                                                BELLEVUE, WA 98004
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    05/13/2013
2.73                                                                            DIRECTOR
            of the debtor’s interest
                                                                                800 108TH AVE NE
                                                                                #208
                                                                                BELLEVUE, WA 98004
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B Change Order No. 2 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    06/03/2014
2.74                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B Change Order No. 6 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    09/17/2015
2.75                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Statement of Work Dated 07/17/2017
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature
2.76                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    04/01/2013
2.77                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Change Order No. 1 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    07/07/2014
2.78                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Change Order No. 6 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    09/26/2015
2.79                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B Change Order No. 5 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    07/01/2015
2.80                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    03/14/2013
2.81                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B Change Order No. 2 Dated
                                                                                ATTN: MOGEN NAIDOO
            lease is for and the nature    12/16/2014
2.82                                                                            MANAGING PARTNER
            of the debtor’s interest
                                                                                7336 LAVERY DRIVE
                                                                                PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B - Change Order No. 5 Dated
                                                                                  ATTN: MOGEN NAIDOO
            lease is for and the nature    07/01/2015
2.83                                                                              MANAGING PARTNER
            of the debtor’s interest
                                                                                  7336 LAVERY DRIVE
                                                                                  PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B - Change Order No. 3 Dated
                                                                                  ATTN: MOGEN NAIDOO
            lease is for and the nature    01/02/2015
2.84                                                                              MANAGING PARTNER
            of the debtor’s interest
                                                                                  7336 LAVERY DRIVE
                                                                                  PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B - Change Order No. 4 Dated
                                                                                  ATTN: MOGEN NAIDOO
            lease is for and the nature    04/01/2015
2.85                                                                              MANAGING PARTNER
            of the debtor’s interest
                                                                                  7336 LAVERY DRIVE
                                                                                  PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  ALPHA PROFESSIONAL SERVICES
            State what the contract or     Exhibit B Change Order No.2 Dated
                                                                                  ATTN: MOGEN NAIDOO
            lease is for and the nature    01/02/2015
2.86                                                                              MANAGING PARTNER
            of the debtor’s interest
                                                                                  7336 LAVERY DRIVE
                                                                                  PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  ALPHA PROFESSIONAL SERVICES
            State what the contract or     Statement of Work Dated 06/06/2016
                                                                                  ATTN: MOGEN NAIDOO
            lease is for and the nature
2.87                                                                              MANAGING PARTNER
            of the debtor’s interest
                                                                                  7336 LAVERY DRIVE
                                                                                  PLANO, TX 75025
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  ALSBRIDGE, INC.
            State what the contract or     Statement of Work #4 Dated
                                                                                  15303 DALLAS PARKWAY
            lease is for and the nature    02/13/2017
2.88                                                                              SUITE 200
            of the debtor’s interest
                                                                                  ADDISON , TX 75001


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  ALSBRIDGE, INC.
            State what the contract or     Statement of Work #3.0 Dated
                                                                                  15303 DALLAS PARKWAY
            lease is for and the nature    09/27/2016
2.89                                                                              SUITE 200
            of the debtor’s interest
                                                                                  ADDISON , TX 75001


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ALSBRIDGE, INC.
            State what the contract or     Software License Agreement - Order
                                                                                15303 DALLAS PARKWAY
            lease is for and the nature    Form Dated 09/01/2017
2.90                                                                            SUITE 200
            of the debtor’s interest
                                                                                ADDISON, TX 75001


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALSBRIDGE, INC.
            State what the contract or     Software License Agreement Dated
                                                                                15303 DALLAS PARKWAY
            lease is for and the nature    12/31/2015
2.91                                                                            SUITE 200
            of the debtor’s interest
                                                                                ADDISON, TX 75001


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALSBRIDGE, INC.
            State what the contract or     Software License Agreement Dated
                                                                                15303 DALLAS PARKWAY
            lease is for and the nature    12/31/2016
2.92                                                                            SUITE 200
            of the debtor’s interest
                                                                                ADDISON, TX 75001


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ALSBRIDGE, INC.
            State what the contract or     Software License Agreement - Order
                                                                                15303 DALLAS PARKWAY
            lease is for and the nature    Form Dated 12/31/2016
2.93                                                                            SUITE 200
            of the debtor’s interest
                                                                                ADDISON, TX 75001


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMER TECHNOLOGY INC
            State what the contract or     Consulting Services Agreement -
                                                                                ATTN: BALWINDER DHILLON
            lease is for and the nature    Contract to Hire Dated 08/12/2011
2.94                                                                            5717 NW PARKWAY
            of the debtor’s interest
                                                                                SUITE 103
                                                                                SAN ANTONIO, TX 78249
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN AIRLINES
            State what the contract or     Corporate Travel Agreement - Terms
                                                                                4255 AMON CARTER BLVD.
            lease is for and the nature    and Conditions Dated 11/10/2016
2.95                                                                            FORT WORTH, TX 76155
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Letter Agreement Dated 10/15/2012
                                                                                WORLD FINANCIAL CENTER
            lease is for and the nature
2.96                                                                            AMERICAN EXPRESS TOWER
            of the debtor’s interest
                                                                                NEW YORK, NY 10285


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Letter - Agreement for American
                                                                                WORLD FINANCIAL CENTER
            lease is for and the nature    Express Card Acceptance Dated
2.97                                                                            AMERICAN EXPRESS TOWER
            of the debtor’s interest       10/15/2012
                                                                                NEW YORK, NY 10285


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Confidentiality Agreement Dated
                                                                                WORLD FINANCIAL CENTER
            lease is for and the nature    06/21/2012
2.98                                                                            AMERICAN EXPRESS TOWER
            of the debtor’s interest
                                                                                NEW YORK, NY 10285


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Letter Agreement Dated 10/15/2012
                                                                                ATTN: DEPARTMENT 87
            lease is for and the nature
2.99                                                                            PO BOX 299051
            of the debtor’s interest
                                                                                FORT LAUDERDALE, FL 33329


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Letter Agreement and Agreement for
                                                                                ATTN: DEPARTMENT 87
            lease is for and the nature    American Express Card Acceptance
2.100                                                                           PO BOX 299051
            of the debtor’s interest       Dated 10/15/2012
                                                                                FORT LAUDERDALE, FL 33329


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Confidentiality Agreement Dated
                                                                                WORLD FINANCIAL CENTER,
            lease is for and the nature    06/21/2012
2.101                                                                           AMERICAN EXPRESS TOWER
            of the debtor’s interest
                                                                                NEW YORK , NY 10285


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
            State what the contract or     Agreement for American Express
                                                                                ATTN: DEPARTMENT 87
            lease is for and the nature    Card Acceptance Dated 10/15/2012
2.102                                                                           PO BOX 299051
            of the debtor’s interest
                                                                                FORT LAUDERDALE , FL 33329


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN TELECONFERENCING SERVICES LTD D/B/A PREMIERE GLOBAL
            State what the contract or     Amendment #5 Dated 07/08/2016
                                                                                SERVICES
            lease is for and the nature
2.103                                                                           3280 PEACHTREE ROAD NE
            of the debtor’s interest
                                                                                SUITE 1000
                                                                                ATLANTA, GA 30305
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AMERICAN TELECONFERENCING SERVICES, LTD. D/B/A PREMIERE GLOBAL
            State what the contract or     PGI Amendment #4 Dated 08/05/2015
                                                                                 SERVICES
            lease is for and the nature
2.104                                                                            3280 PEACHTREE ROAD NE
            of the debtor’s interest
                                                                                 SUITE 1000
                                                                                 ATLANTA , GA 30305-2422
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APEX SYSTEMS INC
            State what the contract or     Exhibit B - Change Order No. 002
                                                                                 4400 COX ROAD
            lease is for and the nature    Dated 01/01/2013
2.105                                                                            SUITE 200
            of the debtor’s interest
                                                                                 GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APEX SYSTEMS INC
            State what the contract or     Exhibit B - Change Order No. 003
                                                                                 4400 COX ROAD
            lease is for and the nature    Dated 02/01/2013
2.106                                                                            SUITE 200
            of the debtor’s interest
                                                                                 GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APEX SYSTEMS INC
            State what the contract or     Technical Staffing Master Service
                                                                                 4400 COX ROAD
            lease is for and the nature    Agreement Dated 05/09/2008
2.107                                                                            SUITE 200
            of the debtor’s interest
                                                                                 GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APEX SYSTEMS INC
            State what the contract or     Exhibit B Change Order No 001 Dated
                                                                                 4400 COX ROAD
            lease is for and the nature    10/01/2012
2.108                                                                            SUITE 200
            of the debtor’s interest
                                                                                 GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APEX SYSTEMS INC
            State what the contract or     Statement of Work Dated 05/29/2012
                                                                                 4400 COX ROAD
            lease is for and the nature
2.109                                                                            SUITE 200
            of the debtor’s interest
                                                                                 GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APEX SYSTEMS INC
            State what the contract or     Consultant Contractor Services
                                                                                 4400 COX ROAD
            lease is for and the nature    Agreement Dated 08/10/2017
2.110                                                                            SUITE 200
            of the debtor’s interest
                                                                                 GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                APEX SYSTEMS INC
            State what the contract or     Statement of Work Dated 06/08/2016
                                                                                4400 COX ROAD
            lease is for and the nature
2.111                                                                           SUITE 200
            of the debtor’s interest
                                                                                GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APEX SYSTEMS INC
            State what the contract or     Consultant Contractor Services
                                                                                4400 COX ROAD
            lease is for and the nature    Agreement Dated 06/01/2016
2.112                                                                           SUITE 200
            of the debtor’s interest
                                                                                GLEN ALLEN, VA 23060


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APP DYNAMICS INC
            State what the contract or     App Dynamics Inc End User License
                                                                                303 SECOND STREET NORTH TOWER
            lease is for and the nature    Agreement
2.113                                                                           8TH FLOOR
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APP DYNAMICS INC
            State what the contract or     App Dynamics Inc End User License
                                                                                ATTN: DAN WRIGHT
            lease is for and the nature    Agreement Dated 10/11/2016
2.114                                                                           303 SECOND STREET
            of the debtor’s interest
                                                                                NORTH TOWER 8TH FLOOR
                                                                                SAN FRANCISCO , CA 94107
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APP DYNAMICS INC
            State what the contract or     AppDynamics Inc - End User License
                                                                                303 SECOND STREET
            lease is for and the nature    Agreement Dated 10/11/2016
2.115                                                                           NORTH TOWER 8TH FLOOR
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APP DYNAMICS INC
            State what the contract or     AppDynamics Inc End User License
                                                                                303 SECOND STREET
            lease is for and the nature    Agreement Dated 10/11/2016
2.116                                                                           NORTH TOWER 8TH FLOOR
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APP DYNAMICS INC
            State what the contract or     Order Form Dated 01/26/2017
                                                                                303 SECOND STREET
            lease is for and the nature
2.117                                                                           NORTH TOWER 8TH FLOOR
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                APPIRIO INC.
            State what the contract or     Statement of Work Dated 07/03/2012
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.118                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO , CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work Dated 01/01/2013
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.119                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work #7 Dated
                                                                                RBHATNAGAR@APPIRIO.COM
            lease is for and the nature    02/26/2013
2.120                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Change Order #4 Dated 09/11/2013
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.121                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work #6 Dated
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature    02/01/2013
2.122                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Change Order Dated 06/28/2012
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.123                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Change Order #3 Dated 03/14/2013
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.124                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                APPIRIO INC.
            State what the contract or     Statement of Work #2 Dated
                                                                                760 MARKET STREET
            lease is for and the nature    07/03/2012
2.125                                                                           SAN FRANCISCO , CA 94102
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work Dated 06/28/2012
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.126                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO , CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Technology-Enabled Services
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature    Agreement (for Technology-Enabled
2.127                                                                           760 MARKET STREET
            of the debtor’s interest       Services Dated 06/28/2012
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Change Order #4 Dated 09/11/2013
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature
2.128                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work #4 Dated
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature    11/28/2012
2.129                                                                           760 MARKET STREET
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work #8 Dated
                                                                                ATTN: RITU BHATNAGAR
            lease is for and the nature    03/07/2013
2.130                                                                           SAN FRANCISCO, CA 94102
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPIRIO INC.
            State what the contract or     Statement of Work #9 Dated
                                                                                760 MARKET STREET
            lease is for and the nature    03/14/2013
2.131                                                                           SAN FRANCISCO, CA 94102
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 APPIRIO INC.
            State what the contract or     Change Order Dated 04/01/2013
                                                                                 ATTN: RITU BHATNAGAR
            lease is for and the nature
2.132                                                                            760 MARKET STREET
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APPIRIO INC.
            State what the contract or     Statement of Work #3 Dated
                                                                                 ATTN: RITU BHATNAGAR
            lease is for and the nature    10/30/2012
2.133                                                                            760 MARKET STREET
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APPIRIO INC.
            State what the contract or     Statement of Work #5 Dated
                                                                                 ATTN: RITU BHATNAGAR
            lease is for and the nature    12/31/2012
2.134                                                                            760 MARKET STREET
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APPIRIO INC.
            State what the contract or     Technology-Enabled Services
                                                                                 760 MARKET STREET
            lease is for and the nature    Agreement for Technology-Enabled
2.135                                                                            SAN FRANCISCO, CA 94102
            of the debtor’s interest       Services Dated 06/28/2012


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APPIRIO, INC.
            State what the contract or     Statement of Work #1 Dated
                                                                                 ATTN: GENERAL COUNSEL
            lease is for and the nature    06/28/2012
2.136                                                                            760 MARKET STREET
            of the debtor’s interest
                                                                                 SAN FRANCISCO , CA 94102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APPIRIO, INC.
            State what the contract or     Technology-Enabled Services
                                                                                 760 MARKET STREET
            lease is for and the nature    Agreement Dated 06/28/2012
2.137                                                                            SAN FRANCISCO , CA 94102
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 APPLE, INC.
            State what the contract or     Credit Application Dated 08/25/2015
                                                                                 ATTN: U.S. CONTRACTS OPERATIONS
            lease is for and the nature
2.138                                                                            1 INFINITE LOOP
            of the debtor’s interest
                                                                                 M/S 318-6 OPS
                                                                                 CUPERTINO , CA 95014
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                APPLE, INC.
            State what the contract or     Self - Servicing Account Agreement
                                                                                ATTN: U.S. CONTRACTS OPERATIONS
            lease is for and the nature    Dated 11/15/2015
2.139                                                                           1 INFINITE LOOP
            of the debtor’s interest
                                                                                M/S 318-6 OPS
                                                                                CUPERTINO , CA 95014
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPNEXUS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: LEGAL DEPARTMENT
            lease is for and the nature    06/14/2017
2.140                                                                           28 WEST 23RD STREET
            of the debtor’s interest
                                                                                4TH FLOOR
                                                                                NEW YORK, NY 10010
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPTIO INC
            State what the contract or     Schedule No. 1 to Subscription
                                                                                225 108TH AVE NE
            lease is for and the nature    Services Agreement Dated
2.141                                                                           SUITE 200
            of the debtor’s interest       06/30/2011
                                                                                BELLEVUE , WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPTIO INC
            State what the contract or     Mutual Confidentiality and Non-
                                                                                225 108TH AVE NE
            lease is for and the nature    Disclosure Agreement Dated
2.142                                                                           SUITE 200
            of the debtor’s interest       08/23/2016
                                                                                BELLEVUE, WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPTIO INC
            State what the contract or     Agreement related to Evaluation
                                                                                225 108TH AVE NE
            lease is for and the nature    Material Dated 06/01/2011
2.143                                                                           SUITE 200
            of the debtor’s interest
                                                                                BELLEVUE, WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPTIO INC
            State what the contract or     Apptio Inc Subscription Services
                                                                                225 108TH AVE NE
            lease is for and the nature    Agreement Dated 07/29/2011
2.144                                                                           SUITE 200
            of the debtor’s interest
                                                                                BELLEVUE, WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                APPTIO INC
            State what the contract or     Mutual Confidentiality and Non-
                                                                                225 108TH AVE NE
            lease is for and the nature    Disclosure Agreement Dated
2.145                                                                           SUITE 200
            of the debtor’s interest       08/23/2016
                                                                                BELLEVUE, WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                APPTIO INC
            State what the contract or     Exhibit 1 Statement of Work #1 -
                                                                                225 108TH AVE NE
            lease is for and the nature    Service Costing and Bill of IT
2.146                                                                           SUITE 200
            of the debtor’s interest       Configuration Dated 06/30/2011
                                                                                BELLEVUE, WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AQUENT LLC
            State what the contract or     Statement of Work Dated 10/23/2012
                                                                                ATTN: DAYNA GILLIARD
            lease is for and the nature
2.147                                                                           711 BOYLSTON STREET
            of the debtor’s interest
                                                                                BOSTON, MA 02116


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AQUENT LLC
            State what the contract or     Statement of Work Dated 10/22/2012
                                                                                ATTN: DAYNA GILLIARD
            lease is for and the nature
2.148                                                                           711 BOYLSTON STREET
            of the debtor’s interest
                                                                                BOSTON, MA 02116


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AQUENT LLC
            State what the contract or     Statement of Work Dated 10/22/2012
                                                                                ATTN: DAYNA GILLIARD
            lease is for and the nature
2.149                                                                           711 BOYLSTON STREET
            of the debtor’s interest
                                                                                BOSTON, MA 02116


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ARBITRON, INC.
            State what the contract or     License and Services Agreement
                                                                                9705 PATUXENT WOODS DRIVE
            lease is for and the nature    Dated 04/01/2013
2.150                                                                           COLUMBIA, MD 21046
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ARDM SOFTWARE, INC.
            State what the contract or     Data Model License Agreement Dated
                                                                                2360 CORPORATE CIRCLE
            lease is for and the nature    08/06/2012
2.151                                                                           SUITE 400
            of the debtor’s interest
                                                                                HENDERSON, NV 89074-7722


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ARISTA NETWORKS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                5453 GREAT AMERICA PARKWAY
            lease is for and the nature    08/09/2016
2.152                                                                           SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AT&T
            State what the contract or     Amendment to Pricing Schedule
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature    Dated 06/30/2015
2.153                                                                           712 E. HUNTLAND
            of the debtor’s interest
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T
            State what the contract or     Amendment to ILEC Interstate
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature    Services Pricing Schedule Dated
2.154                                                                           712 E. HUNTLAND
            of the debtor’s interest       05/26/2015
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T
            State what the contract or     AVPN Service Level Agreement
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature    Attachment
2.155                                                                           712 E. HUNTLAND
            of the debtor’s interest
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T
            State what the contract or     Amendment to ILEC Intrastate
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature    Services Pricing Schedule Dated
2.156                                                                           712 E. HUNTLAND
            of the debtor’s interest       05/26/2015
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T
            State what the contract or     Service Level Agreement Attachment
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature
2.157                                                                           712 E. HUNTLAND
            of the debtor’s interest
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T
            State what the contract or     Amendment to Pricing Schedule for
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature    ILEC Services Dated 06/30/2015
2.158                                                                           712 E. HUNTLAND
            of the debtor’s interest
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T
            State what the contract or     ILEC Network Services Discount
                                                                                ATTN: CONNIE MOORE
            lease is for and the nature    Pricing Schedule Provided Pursuant
2.159                                                                           712 E HUNTLAND DR.
            of the debtor’s interest       to Custom Terms Dated 09/15/2009
                                                                                RM. 13
                                                                                AUSTIN, TX 78752
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AT&T ALABAMA
            State what the contract or     Addendum to Pricing Schedule Dated
                                                                                2180 LAKE BLVD
            lease is for and the nature    05/29/2015
2.160                                                                           7TH FLOOR
            of the debtor’s interest
                                                                                ATLANTA, GA 30319


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP
            State what the contract or     Teleconference Services Pricing
                                                                                ATTN: MARK BANIGAN
            lease is for and the nature    Schedule Dated 09/18/2009
2.161                                                                           712 E HUNTLAND
            of the debtor’s interest
                                                                                RM 313
                                                                                AUSTIN, TX 78752
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule - Change Order
                                                                                ATTN: GENERAL ATTORNEY
            lease is for and the nature    Dated 12/05/2017
2.162                                                                           ONE AT&T WAY
            of the debtor’s interest
                                                                                BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     VPN Service Pricing Addendum Dated
                                                                                ATTN: JOE MARSHALL
            lease is for and the nature    07/15/2016
2.163                                                                           7159 SAN PEDRO AVE.
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 08/21/2009
                                                                                ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.164                                                                           ONE AT&T WAY
            of the debtor’s interest
                                                                                BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule and Addendum
                                                                                7159 SAN PEDRO AVE
            lease is for and the nature    Dated 03/01/2010
2.165                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Master Agreement Amendment
                                                                                712 E HUNTLAND DR.
            lease is for and the nature    Number 1 Dated 11/03/2015
2.166                                                                           AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 08/11/2009
                                                                                712 E HUNTLAND DR
            lease is for and the nature
2.167                                                                           ROOM 313
            of the debtor’s interest
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     SDN OneNet BTB Pricing Schedule
                                                                                712 E HUNTLAND DR.
            lease is for and the nature    and Addendum Dated 03/10/2010
2.168                                                                           AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 09/15/2009
                                                                                712 E HUNTLAND DRIVE
            lease is for and the nature
2.169                                                                           ROOM 13
            of the debtor’s interest
                                                                                AUSTIN, TX 78752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 03/01/2010
                                                                                712 HUNTLAND DR.
            lease is for and the nature
2.170                                                                           AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 08/11/2009
                                                                                ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.171                                                                           ONE AT&T WAY
            of the debtor’s interest
                                                                                BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     License Agreement - Change Request
                                                                                ONE AT&T WAY
            lease is for and the nature    Form Dated 12/05/2017
2.172                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 09/18/2009
                                                                                ONE AT&T WAY
            lease is for and the nature
2.173                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 09/03/2009
                                                                                ONE AT&T WAY
            lease is for and the nature
2.174                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Service Level Agreement Attachment
                                                                                ONE AT&T WAY
            lease is for and the nature
2.175                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 08/11/2009
                                                                                ONE AT&T WAY
            lease is for and the nature
2.176                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Master Agreement Dated 08/24/2009
                                                                                ONE AT&T WAY
            lease is for and the nature
2.177                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 08/11/2009
                                                                                ONE AT&T WAY
            lease is for and the nature
2.178                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Local Switched Services Pricing
                                                                                ONE AT&T WAY
            lease is for and the nature    Schedule Dated 08/19/2009
2.179                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 09/15/2009
                                                                                ONE AT&T WAY
            lease is for and the nature
2.180                                                                           BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  AT&T CORP.
            State what the contract or     Trial Agreement Dated 09/29/2017
                                                                                  ATTN: JOE MARSHALL
            lease is for and the nature
2.181                                                                             7159 SAN PEDRO AVE.
            of the debtor’s interest
                                                                                  SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule Dated 03/01/2010
                                                                                  ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.182                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule for ILEC Services
                                                                                  ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature    SW & MW Dated 09/03/2009
2.183                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Network Integration Services Pricing
                                                                                  ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature    Schedule Dated 08/11/2009
2.184                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER , NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Master Agreement Dated 08/11/2009
                                                                                  ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.185                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     License Agreement - Change Order
                                                                                  ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature    Dated 04/17/2017
2.186                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule Dated 03/01/2010
                                                                                  1010 N. SAINT MARYS ST.
            lease is for and the nature
2.187                                                                             SAN ANTONIO, TX 78215
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AT&T CORP.
            State what the contract or     VPN Service Pricing Addendum Dated
                                                                                 ATTN: ROBERT WALLACE
            lease is for and the nature    08/31/2011
2.188                                                                            7159 SAN PEDRO AVE
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or     Pricing Addendum Dated 03/09/2012
                                                                                 7159 SAN PEDRO AVE
            lease is for and the nature
2.189                                                                            SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or     Corporate Digital Advantage Pricing
                                                                                 ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature    Schedule Dated 08/11/2009
2.190                                                                            ONE AT&T WAY
            of the debtor’s interest
                                                                                 BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or     Addendum to AT&T ILEC Intrastate
                                                                                 ONE AT&T WAY
            lease is for and the nature    Pricing Schedule Dated 05/29/2015
2.191                                                                            BEDMINSTER , NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or     Pricing Schedule and Addendum
                                                                                 7159 SAN PEDRO
            lease is for and the nature    Dated 03/01/2010
2.192                                                                            SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or     Amendment Number 1 Dated
                                                                                 712 E HUNTLAND DR
            lease is for and the nature    01/05/2016
2.193                                                                            AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or     Pricing Schedule Dated 07/12/2016
                                                                                 10999 W IH 10
            lease is for and the nature
2.194                                                                            SAN ANTONIO, TX 78230-1300
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  AT&T CORP.
            State what the contract or     Pricing Addendum Dated 03/20/2015
                                                                                  7159 SAN PEDRO AVE
            lease is for and the nature
2.195                                                                             SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Addendum to At&T ILEC Intrastate
                                                                                  ONE AT&T WAY
            lease is for and the nature    Pricing Schedule Dated 05/29/2015
2.196                                                                             BEDMINSTER , NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     AT&T VPN Service Pricing Addendum
                                                                                  ATTN: BOB WALLACE
            lease is for and the nature    Dated 03/20/2015
2.197                                                                             7159 SAN PEDRO AVE
            of the debtor’s interest
                                                                                  SAN ANTONIO , TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Master Agreement Dated 08/11/2009
                                                                                  ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.198                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Addendum Dated 08/25/2011
                                                                                  7159 SAN PEDRO AVE
            lease is for and the nature
2.199                                                                             SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule - Change Order
                                                                                  ATTN: GENERAL ATTORNEY
            lease is for and the nature    Dated 12/05/2017
2.200                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Network Integration Services Pricing
                                                                                  ATTN: GENERAL ATTORNEY
            lease is for and the nature    Schedule Dated 07/15/2016
2.201                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07920-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  AT&T CORP.
            State what the contract or     Managed Internet Service Pricing
                                                                                  ATTN: ROBERT A WALLACE
            lease is for and the nature    Addendum Dated 03/09/2012
2.202                                                                             7159 SAN PEDRO AVE
            of the debtor’s interest
                                                                                  SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule Dated 12/28/2011
                                                                                  7159 SAN PEDRO AVE
            lease is for and the nature
2.203                                                                             SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule Dated 07/31/2009
                                                                                  2200 N. GREENVILLE AVENUE
            lease is for and the nature
2.204                                                                             RICHARDSON, TX 75082
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule Dated 08/11/2009
                                                                                  1010 N SAINT MARYS ST.
            lease is for and the nature
2.205                                                                             SAN ANTONIO, TX 78215
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Network Integration Pricing Schedule
                                                                                  ATTN: GENERAL ATTORNEY
            lease is for and the nature    Dated 07/15/2016
2.206                                                                             ONE AT&T WAY
            of the debtor’s interest
                                                                                  BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     SDN OneNet BTB Pricing Schedule
                                                                                  712 E HUNTLAND DR.
            lease is for and the nature    and Addendum Dated 03/01/2010
2.207                                                                             AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or     Pricing Schedule Dated 07/12/2016
                                                                                  ATTN: RICHARD VILLASANA
            lease is for and the nature
2.208                                                                             10999 W IH 10
            of the debtor’s interest
                                                                                  SAN ANTONIO, TX 78230-1300


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AT&T CORP.
            State what the contract or     Pricing Addendum Dated 07/15/2016
                                                                                7519 SAN PEDRO AVENUE
            lease is for and the nature
2.209                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Master Agreement Amendment
                                                                                712 E HUNTLAND DR.
            lease is for and the nature    Number 1 Dated 01/05/2016
2.210                                                                           AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     IP Flexible Reach and IP Toll Free
                                                                                ATTN: RICHARD VILLASANA
            lease is for and the nature    Pricing Schedule Dated 07/08/2016
2.211                                                                           10999 W IH 10
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78230-1300


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Amendment Number 1 Dated
                                                                                712 E HUNTLAND DRIVE
            lease is for and the nature    11/03/2015
2.212                                                                           AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Pricing Schedule Dated 07/15/2016
                                                                                ONE AT&T WAY
            lease is for and the nature
2.213                                                                           BEDMINISTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Master Agreement Dated 08/24/2009
                                                                                ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.214                                                                           ONE AT&T WAY
            of the debtor’s interest
                                                                                BEDMINSTER, NJ 07921-0752


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AT&T CORP.
            State what the contract or     Addendum to Pricing Schedule Dated
                                                                                2180 LAKE BLVD
            lease is for and the nature    05/29/2015
2.215                                                                           7TH FLOOR
            of the debtor’s interest
                                                                                ATLANTA, GA 30319


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  AT&T ILEC SERVICE-PROVIDING AFFILIATE(S)
            State what the contract or     ILEC Intrastate Service Pricing
                                                                                  ATTN: BOB WALLACE
            lease is for and the nature    Schedule Provided Pursuant to
2.216                                                                             7159 SAN PEDRO
            of the debtor’s interest       Custom Terms Dated 12/29/2011
                                                                                  SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T MOBILITY NATIONAL ACCOUNTS LLC
            State what the contract or     Amendment No. 2 to Corporate Digital
            lease is for and the nature    Advantage Pricing Schedule Dated
2.217
            of the debtor’s interest       06/17/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T MOBILITY NATIONAL ACCOUNTS, LLC
            State what the contract or     Amendment No. 2 Dated 06/17/2014
            lease is for and the nature
2.218
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T MOBILITY NATIONAL ACCOUNTS, LLC
            State what the contract or     Amendment No. 3 Dated 03/17/2014
            lease is for and the nature
2.219
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T MOBILITY NATIONAL ACCOUNTS, LLC
            State what the contract or     Amendment No. 3 to Corporate Digital
            lease is for and the nature    Advantage Agreement Dated
2.220
            of the debtor’s interest       03/17/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T SALES CONTACT
            State what the contract or     Intrastate Service Pricing Schedule
                                                                                  ATTN: CONNIE MOORE
            lease is for and the nature    Dated 08/11/2009
2.221                                                                             712 E HUNTLAND
            of the debtor’s interest
                                                                                  RM. 313
                                                                                  AUSTIN, TX 78752
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  AUTH0, INC.
            State what the contract or     Non Disclosure Agreement Dated
                                                                                  10900 NE 8TH STREET
            lease is for and the nature    07/11/2017
2.222                                                                             SUITE 70
            of the debtor’s interest
                                                                                  BELLEVUE, WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              AVANADE INC.
            State what the contract or     Mutual Confidentiality Agreement
                                                                              818 STEWART STREET
            lease is for and the nature    Dated 07/11/2012
2.223                                                                         SUITE 400
            of the debtor’s interest
                                                                              SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              AVANADE INC.
            State what the contract or     Mutual Confidentiality Agreement
                                                                              818 STEWART ST.
            lease is for and the nature    Dated 07/11/2012
2.224                                                                         SUITE 400
            of the debtor’s interest
                                                                              SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              AVANXO BERMUDA LTD
            State what the contract or     Consultant Contractor Services
                                                                              31 VICTORIA PLACE
            lease is for and the nature    Agreement Dated 06/22/2017
2.225                                                                         HAMILTON
            of the debtor’s interest
                                                                              BERMUDA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              AVANXO BERMUDA LTD
            State what the contract or     Non-Disclosure Agreement Dated
                                                                              31 VICTORIA PLACE
            lease is for and the nature    06/01/2017
2.226                                                                         HAMILTON
            of the debtor’s interest
                                                                              BERMUDA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              AVANXO US LLC
            State what the contract or     Consultant Contractor Services
                                                                              1001 SOUTH DAIRY ASHFORD
            lease is for and the nature    Agreement Dated 06/22/2017
2.227                                                                         HOUSTON, TX 77077
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              AVANXO US LLC
            State what the contract or     Change Order Request Dated
                                                                              1001 SOUTH DAIRY ASHFORD
            lease is for and the nature    11/01/2017
2.228                                                                         HOUSTON, TX 77077
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              AVANXO US LLC
            State what the contract or     Consultant Contractor Services
                                                                              1001 SOUTH DAIRY ASHFORD
            lease is for and the nature    Agreement Dated 06/22/2017
2.229                                                                         HOUSTON, TX 77077
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                               Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   AVANXO US LLC
            State what the contract or     Consultant Contractor Services
                                                                                   ATTN: JAUN DAVID GARZON TOBON
            lease is for and the nature    Agreement Dated 06/22/2017
2.230                                                                              1001 SOUTH DAIRY
            of the debtor’s interest
                                                                                   ASHFORD, TX 77077


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   AVAYA INC.
            State what the contract or     Termination Letter Confirmation Dated
                                                                                   ATTN: VICE PRESIDENT, LAW
            lease is for and the nature    12/01/2017
2.231                                                                              211 MOUNT AIRY RD.
            of the debtor’s interest
                                                                                   BASKING RIDGE, NJ 07920


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   AVAYA, INC.
            State what the contract or     Termination Letter Dated 04/06/2017
                                                                                   PO BOX 5125
            lease is for and the nature
2.232                                                                              CAROL STREAM, IL 60197-5125
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   AVAYA, INC.
            State what the contract or     Termination Letter Dated 04/06/2017
                                                                                   PO BOX 5125
            lease is for and the nature
2.233                                                                              CAROL STREAM, IL 60197-5125
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   AVAYA, INC.
            State what the contract or     Service Agreement Invoices Dated
                                                                                   PO BOX 5125
            lease is for and the nature    12/01/2016
2.234                                                                              CAROL STREAM, IL 60197-5125
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 07/01/2013
                                                                                   ATTN: ERICA BAKER
            lease is for and the nature
2.235                                                                              13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                   SUITE 370
                                                                                   SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 07/01/2013
                                                                                   ATTN: ERICA BAKER
            lease is for and the nature
2.236                                                                              13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                   SUITE 370
                                                                                   SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 10/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.237                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 05/31/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.238                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 05/10/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.239                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 04/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.240                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 01/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.241                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 01/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.242                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 03/02/2015
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.243                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 05/20/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.244                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 06/10/2014
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.245                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 12/09/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.246                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 07/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.247                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 07/17/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.248                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 02/06/2015
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.249                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 10/10/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.250                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 12/03/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.251                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 08/28/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.252                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 01/02/2014
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.253                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 05/02/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.254                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 07/17/2012
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.255                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 11/03/2014
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.256                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 04/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.257                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 07/01/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.258                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 01/02/2015
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.259                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 01/02/2015
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.260                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 01/04/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.261                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Dated 01/02/2015
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.262                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Statement of Work Dated 07/15/2013
                                                                                ATTN: ERICA BAKER
            lease is for and the nature
2.263                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                AVENTINE HILL PARTNERS INC
            State what the contract or     Change Order Request Dated
                                                                                ATTN: ERICA BAKER
            lease is for and the nature    05/02/2012
2.264                                                                           13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                SUITE 370
                                                                                SAN ANTONIO, TX 78232
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AVENTINE HILL PARTNERS, INC
            State what the contract or     Mutual Confidentiality Agreement
                                                                                 13750 SAN PEDRO AVE.
            lease is for and the nature    Dated 07/10/2012
2.265                                                                            SUITE 370
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78232


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AVENTINE HILL PARTNERS, INC.
            State what the contract or     Mutual Confidentiality Agreement
                                                                                 13750 SAN PEDRO AVE
            lease is for and the nature    Dated 07/10/2012
2.266                                                                            SUITE 370
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78232


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AVISO GROUP LLC
            State what the contract or     Change Order Dated 01/01/2013
                                                                                 1015 34TH AVE E
            lease is for and the nature
2.267                                                                            SEATTLE, WA 98112
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AVISO GROUP LLC
            State what the contract or     Statement of Work Dated 07/30/2012
                                                                                 1015 34TH AVE E
            lease is for and the nature
2.268                                                                            SEATTLE, WA 98112
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AVISO GROUP LLC
            State what the contract or     Statement of Work Dated 07/30/2012
                                                                                 1015 34TH AVE E
            lease is for and the nature
2.269                                                                            SEATTLE, WA 98112
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 AVISO GROUP LLC
            State what the contract or     Consulting/Services Agreement Dated
                                                                                 1015 34TH AVE E
            lease is for and the nature    07/30/2012
2.270                                                                            SEATTLE, WA 98112
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BANC OF AMERICA MERCHANT SERVICES, LLC
            State what the contract or     Services Addendum to Master
            lease is for and the nature    Services Agreement Dated
2.271
            of the debtor’s interest       08/02/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 BANK OF AMERICA
            State what the contract or     Services Addendum to Master
                                                                                 ATTN: JULIA ERICKSON
            lease is for and the nature    Services Agreement Dated
2.272                                                                            540 W MADISON AVE 28TH FLOOR
            of the debtor’s interest       08/02/2017
                                                                                 CHICAGO, IL 60661


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BAS BROADCASTING, INC.
            State what the contract or     License Transfer Form Dated
                                                                                 ATTN: TOM KLEIN
            lease is for and the nature    06/30/2008
2.273                                                                            1640 CLEVELAND ROAD
            of the debtor’s interest
                                                                                 SANDUSKY, OH 44870


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BAS BROADCASTING, INC.
            State what the contract or     License Transfer Form Dated
                                                                                 ATTN: TOM KLEIN
            lease is for and the nature    06/30/2008
2.274                                                                            1640 CLEVELAND ROAD
            of the debtor’s interest
                                                                                 SANDUSKY, OH 44870


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BAS BROADCASTING, INC.
            State what the contract or     License Transfer Dated 06/30/2008
                                                                                 ATTN: TOM KLEIN, CEO
            lease is for and the nature
2.275                                                                            1640 CLEVELAND ROAD
            of the debtor’s interest
                                                                                 SANDUSKY, OH 44870


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BCD JANITORIAL
            State what the contract or     Janitorial Service Agreement Dated
                                                                                 24818 SHINING ARROW
            lease is for and the nature    08/01/2016
2.276                                                                            SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BERKLEY INSURANCE COMPANY
            State what the contract or     Financial Guarantee Bond & Power of
                                                                                 ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    Attorney Dated 07/16/2015
2.277                                                                            412 MOUNT KEMBLE AVE.
            of the debtor’s interest
                                                                                 SUITE 310N
                                                                                 MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 BERKLEY INSURANCE COMPANY
            State what the contract or     Bond Rider and Power of Attorney
                                                                                 ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    Dated 02/28/2017
2.278                                                                            412 MOUNT KEMBLE AVE.
            of the debtor’s interest
                                                                                 SUITE 310N
                                                                                 MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom
                                                                                    the debtor has an executory contract or unexpired lease

                                                                                    BERKLEY REGIONAL INSURANCE COMPANY
            State what the contract or     Utility Deposit Bond, Rider & Power of
                                                                                    1901 W CYPRESS CREEK RD.
            lease is for and the nature    Attorney Dated 12/18/2009
2.279                                                                               SUITE 500
            of the debtor’s interest
                                                                                    FORT LAUDERDALE, FL 33309


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    BERKLEY REGIONAL INSURANCE COMPANY
            State what the contract or     Utility Deposit Bond, Rider and Power
                                                                                    1901 W CYPRESS CREEK RD.
            lease is for and the nature    of Attorney Dated 12/18/2009
2.280                                                                               SUITE 500
            of the debtor’s interest
                                                                                    FORT LAUDERDALE, FL 33309


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    BERKLEY SURETY GROUP
            State what the contract or     Power of Attorney & Rider Dated
                                                                                    ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    02/10/2016
2.281                                                                               412 MOUNT KEMBLE AVENUE
            of the debtor’s interest
                                                                                    SUITE 310N
                                                                                    MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    BERKLEY SURETY GROUP
            State what the contract or     Financial Guarantee Bond Dated
                                                                                    ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    07/16/2005
2.282                                                                               412 MOUNT KEMBLE AVENUE
            of the debtor’s interest
                                                                                    SUITE 310N
                                                                                    MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    BERKLEY SURETY GROUP
            State what the contract or     Bond Rider and Power of Attorney
                                                                                    ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    Dated 02/10/2016
2.283                                                                               412 MOUNT KEMBLE AVE
            of the debtor’s interest
                                                                                    SUITE 310N
                                                                                    MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    BERKLEY SURETY GROUP
            State what the contract or     Rider & Power of Attorney Dated
                                                                                    ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    02/28/2017
2.284                                                                               412 MOUNT KEMBLE AVE
            of the debtor’s interest
                                                                                    SUITE 310N
                                                                                    MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    BERKLEY SURETY GROUP
            State what the contract or     Financial Guarantee Bond & Power of
                                                                                    ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature    Attorney Dated 07/16/2015
2.285                                                                               412 MOUNT KEMBLE AVE.
            of the debtor’s interest
                                                                                    SUITE 310N
                                                                                    MORRISTOWN, NJ 07960
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                BEYOND TRUST SOFTWARE INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                5090 NORTH 40TH STREET
            lease is for and the nature    04/26/2017
2.286                                                                           SUITE 400
            of the debtor’s interest
                                                                                PHOENIX, AZ 85018


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BIGCOMMERCE INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                11305 FOUR POINTS DRIVE
            lease is for and the nature    09/14/2017
2.287                                                                           BUILDING II
            of the debtor’s interest
                                                                                THIRD FLOOR
                                                                                AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BLACKBUCK INSIGHTS LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                1701 EAST WOODFIELD ROAD
            lease is for and the nature    09/15/2017
2.288                                                                           SUITE 650
            of the debtor’s interest
                                                                                SCHAUMBURG, IL 60173


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BLACKBUCK INSIGHTS LLC
            State what the contract or     Master Service Agreement Dated
                                                                                ATTN: BALASUBRAMANIAN PALANIVELU
            lease is for and the nature    10/02/2017
2.289                                                                           1701 E WOODFIELD ROAD
            of the debtor’s interest
                                                                                SUITE 650
                                                                                SCHAUMBURG , IL 60173
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BLAIR ENTERTAINMENT INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                26 PINNACLE ROAD
            lease is for and the nature    08/22/2016
2.290                                                                           STAMFORD, CT 06903
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BLAIR ENTERTAINMENT, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                26 PINNACLE ROCK RD.
            lease is for and the nature    08/22/2016
2.291                                                                           STAMFORD , CT 06903
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BLUE CHIP CONSULTING GROUP LLC
            State what the contract or     Statement of Work Dated 03/23/2015
                                                                                ATTN: SEAN POWER; ATTN: LINCOLN RUSSELL
            lease is for and the nature
2.292                                                                           6050 OAK TREE BOULEVARD
            of the debtor’s interest
                                                                                SUITE 290
                                                                                INDEPENDENCE, OH 44131
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  BLUE CHIP CONSULTING GROUP LLC
            State what the contract or     Master Service Agreement Dated
                                                                                  ATTN: BRIAN BRADLEY
            lease is for and the nature    09/23/2014
2.293                                                                             6050 OAK TREE BOULEVARD
            of the debtor’s interest
                                                                                  SUITE 290
                                                                                  INDEPENDENCE, OH 44131
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BLUE CHIP CONSULTING GROUP LLC
            State what the contract or     Master Services Agreement Dated
                                                                                  ATTN: BRIAN BRADLEY
            lease is for and the nature    09/23/2014
2.294                                                                             6050 OAK TREE BOULEVARD
            of the debtor’s interest
                                                                                  SUITE 290
                                                                                  INDEPENDENCE, OH 44131
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BLUE CHIP CONSULTING GROUP LLC
            State what the contract or     Statement of Work Dated 08/31/2015
                                                                                  ATTN: SCOTT ARBOGAST; JEFFREY MASTERS; DOUG KOCH
            lease is for and the nature
2.295                                                                             6050 OAK TREE BOULEVARD
            of the debtor’s interest
                                                                                  SUITE 290
                                                                                  INDEPENDENCE , OH 44131
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BLUEROCK ENERGY, INC.
            State what the contract or     Commercial Retail Electricity Supply
                                                                                  432 FRANKLIN STREET
            lease is for and the nature    Agreement Dated 06/18/2015
2.296                                                                             SUITE 20
            of the debtor’s interest
                                                                                  SYRACUSE, NY 13204


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BLUEROCK ENERGY, INC.
            State what the contract or     Commercial Retail Electricity Supply
                                                                                  432 FRANKLIN STREET
            lease is for and the nature    Agreement Dated 06/18/2015
2.297                                                                             SUITE 20
            of the debtor’s interest
                                                                                  SYRACUSE, NY 13204


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BMC SOFTWARE DISTRIBUTION, INC.
            State what the contract or     License Agreement - Product Order
                                                                                  2101 CITYWEST BLVD.
            lease is for and the nature    Dated 12/15/2005
2.298                                                                             HOUSTON, TX 77042
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BMC SOFTWARE DISTRIBUTION, INC.
            State what the contract or     Master License Agreement Dated
                                                                                  2101 CITY WEST BLVD.
            lease is for and the nature    12/15/2005
2.299                                                                             HOUSTON, TX 77042
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                BOB & TOM SHOW
            State what the contract or     Radio Program License Agreement
                                                                                C/O RADIO NETWORKS, LLC
            lease is for and the nature    Dated 01/01/2014
2.300                                                                           ATTN: SVP, AFFILIATE SALES & BROADCAST OPERATIONS
            of the debtor’s interest
                                                                                13725 MONTFORT DRIVE
                                                                                DALLAS, TX 75240
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BOB & TOM SHOW, LLC
            State what the contract or     Radio Program License Agreement
                                                                                2138 E. 62ND STREET
            lease is for and the nature    Dated 01/01/2014
2.301                                                                           PMB 324
            of the debtor’s interest
                                                                                INDIANAPOLIS, IN 46220


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BOB & TOM, LLC
            State what the contract or     Radio Program License Agreement
                                                                                2138 E. 62ND STREET
            lease is for and the nature    Dated 04/01/2014
2.302                                                                           PMB 324
            of the debtor’s interest
                                                                                INDIANAPOLIS, IN 46220


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BOMGAR CORP.
            State what the contract or     License Agreement - Purchase Order
                                                                                578 HIGHLAND COLONY PARKWAY
            lease is for and the nature    Dated 12/14/2016
2.303                                                                           PARAGON CENTRE SUITE 300
            of the debtor’s interest
                                                                                RIDGELAND, MS 39157


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BOOMI INC
            State what the contract or     Order Form Dated 12/22/2016
                                                                                801 CASSATT ROAD
            lease is for and the nature
2.304                                                                           SUITE 120
            of the debtor’s interest
                                                                                BERWYN, PA 19312


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BOOMI INC
            State what the contract or     Software Agreement Dated
                                                                                801 CASSATT ROAD
            lease is for and the nature    12/22/2016
2.305                                                                           SUITE 120
            of the debtor’s interest
                                                                                BERWYN, PA 19312


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                BOOST PAYMENT SOLUTIONS, LLC
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.306
            of the debtor’s interest       05/13/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  BORDER CITY MEDIA INC.
            State what the contract or     Short Form License Agreement Dated
                                                                                  1 BRIDGE STREET
            lease is for and the nature    01/01/2017
2.307                                                                             SUITE #105
            of the debtor’s interest
                                                                                  IRVINGTON , NY 10533


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BORDER CITY MEDIA INC.
            State what the contract or     Short Form License Agreement Dated
                                                                                  1 BRIDGE STREET
            lease is for and the nature    04/19/2017
2.308                                                                             SUITE #105
            of the debtor’s interest
                                                                                  IRVINGTON, NY 10533


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BOX INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  900 JEFFERSON AVE
            lease is for and the nature    04/11/2017
2.309                                                                             REDWOOD, CA 94063
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BRAINWARE, INC.
            State what the contract or     Service Agreement - Server Migration
                                                                                  20110 ASHBROOK PLACE
            lease is for and the nature    Acceptance Form Dated 01/31/2012
2.310                                                                             SUITE 150
            of the debtor’s interest
                                                                                  ASHBURN, VA 20147


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BROADWING COMMUNICATIONS SERVICES, INC.
            State what the contract or     Service Agreement - Pricing Summary
                                                                                  ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    Dated 04/06/2000
2.311                                                                             1122 CAPITAL OF TEXAS HWY. SOUTH
            of the debtor’s interest
                                                                                  AUSTIN, TX 78746-6426


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  BROOK GROUP
            State what the contract or     Project Authorization Document Dated
            lease is for and the nature    11/29/2006
2.312
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  C&H FINANCIAL, LLC DBA CLEARVIEW GROUP
            State what the contract or     Master Services Agreement Dated
                                                                                  ATTN: TONY CANNATA
            lease is for and the nature    07/15/2011
2.313                                                                             1350 DRESDEN DRIVE NE
            of the debtor’s interest
                                                                                  ATLANTA, GA 30319


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             CALLIDUS SOFTWARE INC
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                             ATTN: LEORA B. GORDON
            lease is for and the nature    Dated 05/11/2009
2.314                                                                        160 W. SANTA CLARA STREET
            of the debtor’s interest
                                                                             SUITE 1500
                                                                             SAN JOSE, CA 95113
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             CANDEO CORPORATION
            State what the contract or     Change Request Dated 05/30/2012
                                                                             ATTN: LANCE KYLE
            lease is for and the nature
2.315                                                                        10869 ARROYO BEACH PLACE SW
            of the debtor’s interest
                                                                             SEATTLE, WA 98146


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             CANDEO CORPORATION
            State what the contract or     Change Order Dated 08/29/2012
                                                                             ATTN: LANCE KYLE
            lease is for and the nature
2.316                                                                        10869 ARROYO BEACH PLACE SW
            of the debtor’s interest
                                                                             SEATTLE, WA 98146


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             CANDEO CORPORATION
            State what the contract or     Change Order Dated 10/01/2013
                                                                             ATTN: LANCE KYLE
            lease is for and the nature
2.317                                                                        10869 ARROYO BEACH PLACE SW
            of the debtor’s interest
                                                                             SEATTLE, WA 98146


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             CANDEO CORPORATION
            State what the contract or     Change Order Dated 09/01/2013
                                                                             ATTN: LANCE KYLE
            lease is for and the nature
2.318                                                                        10869 ARROYO BEACH PLACE SW
            of the debtor’s interest
                                                                             SEATTLE, WA 98146


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             CAROUSEL OF INDUSTRIES OF NORTH AMERICA
            State what the contract or     Non-Disclosure Agreement Dated
                                                                             659 SOUTH COUNTY TRAIL
            lease is for and the nature    01/18/2017
2.319                                                                        EXETER, RI 02882
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             CELIGO INC
            State what the contract or     Service Subscription Agreement
                                                                             1820 GATEWAY DR
            lease is for and the nature
2.320                                                                        SUITE 260
            of the debtor’s interest
                                                                             SAN MATEO, CA 94404


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 CELLCO PARTNERSHIP (D/B/A VERIZON WIRELESS)
            State what the contract or     Amendment No. 1 Dated 02/18/2010
                                                                                 ONE VERIZON WAY
            lease is for and the nature
2.321                                                                            BASKING RIDGE, NJ 07920-1097
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CENTERSTANCE
            State what the contract or     Change Order Dated 02/10/2015
                                                                                 ATTN: GREG LUECK
            lease is for and the nature
2.322
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CENTERSTANCE
            State what the contract or     Change Order Dated 04/09/2015
                                                                                 ATTN: GREG LUECK
            lease is for and the nature
2.323
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CENTURYLINK
            State what the contract or     Letter of Agency Dated 12/01/2018
                                                                                 POB 52187
            lease is for and the nature
2.324                                                                            BUSINESS SERVICES
            of the debtor’s interest
                                                                                 PHOENIX, AZ 85072-2187


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CENTURYLINK
            State what the contract or     Amendment to Qwest Corporation
                                                                                 POB 52187
            lease is for and the nature    Administrative Retail Services
2.325                                                                            BUSINESS SERVICES
            of the debtor’s interest       Agreement Dated 02/23/2016
                                                                                 PHOENIX, AZ 85072-2187


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CERIDIAN CORPORATION
            State what the contract or     Agreement for Products and Services
                                                                                 3311 EAST OLD SHAKOPEE ROAD
            lease is for and the nature    Dated 01/31/2011
2.326                                                                            MINNEAPOLIS, MN 55425
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CERIDIAN CORPORATION
            State what the contract or     Agreement for Products and Services
                                                                                 3311 EAST OLD SHAKOPEE RD.
            lease is for and the nature    Dated 01/31/2011
2.327                                                                            MINNEAPOLIS, MN 55425
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CERULEAN SOLUTIONS, LLC
            State what the contract or     Confidentiality Agreement Dated
                                                                               ATTN: JEFF HOLLOWAY
            lease is for and the nature    10/14/2009
2.328                                                                          2110 BISSONNET STREET
            of the debtor’s interest
                                                                               HOUSTON, TX 77005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CFTG INC. D/B/A DOCURATED
            State what the contract or     Non Disclosure Agreement Dated
                                                                               60 CHELSEA PIERS
            lease is for and the nature    11/16/2016
2.329                                                                          SUITE 6014
            of the debtor’s interest
                                                                               NEW YORK, NY 10011


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: CONTRACT MANAGER
            lease is for and the nature    Dated 11/06/2014
2.330                                                                          1500 RANKIN RD. SUITE 200
            of the debtor’s interest
                                                                               HOUSTON, TX 77073


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: PPL RETAIL MANAGER
            lease is for and the nature    Dated 11/13/2009
2.331                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: PPL RETAIL MANAGER
            lease is for and the nature    Dated 11/13/2009
2.332                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Amendment to Retail Power Sales
                                                                               ATTN: GENERAL COUNSEL
            lease is for and the nature    Agreement Dated 08/13/2012
2.333                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Amendment to Retail Power Sales
                                                                               ATTN: GENERAL COUNSEL
            lease is for and the nature    Agreement Dated 04/06/2012
2.334                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Amendment to Commercial Energy
                                                                               ATTN: GENERAL COUNSEL
            lease is for and the nature    Sales Agreement Dated 12/02/2009
2.335                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: PA RETAIL MANAGER
            lease is for and the nature    Dated 04/15/2010
2.336                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: PPL RETAIL MANAGER
            lease is for and the nature    Dated 03/04/2010
2.337                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY SERVICES, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: PPL RETAIL MANAGER
            lease is for and the nature    Dated 03/04/2010
2.338                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHAMPION ENERGY, LLC
            State what the contract or     Commercial Energy Sales Agreement
                                                                               ATTN: ILLINOIS RETAIL MANAGER
            lease is for and the nature    Dated 09/04/2009
2.339                                                                          13831 NW FREEWAY
            of the debtor’s interest
                                                                               SUITE 250
                                                                               HOUSTON, TX 77040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHARTER COMMUNICATIONS OPERATING LLC
            State what the contract or     Enterprise Price Amendment Dated
            lease is for and the nature    10/18/2017
2.340
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CHARTER COMMUNICATIONS OPERATING, LLC
            State what the contract or     Service Order Dated 12/08/2017
            lease is for and the nature
2.341
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  CHASE-WALKER SOLUTIONS LLC
            State what the contract or     Statement of Work Dated 08/05/2014
                                                                                  ATTN: MEREDITH CHASE
            lease is for and the nature
2.342
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHASE-WALKER SOLUTIONS LLC
            State what the contract or     Change Order Dated 01/05/2015
                                                                                  ATTN: MEREDITH CHASE
            lease is for and the nature
2.343
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHASE-WALKER SOLUTIONS LLC
            State what the contract or     Master Service Agreement Dated
                                                                                  ATTN: MEREDITH CHASE
            lease is for and the nature    08/05/2014
2.344
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHASE-WALKER SOLUTIONS LLC
            State what the contract or     Statement of Work Dated 08/05/2014
                                                                                  ATTN: MEREDITH CHASE
            lease is for and the nature
2.345
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHASE-WALKER SOLUTIONS LLC
            State what the contract or     Change Order Dated 01/05/2015
                                                                                  ATTN: MEREDITH CHASE
            lease is for and the nature
2.346
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHASE-WALKER SOLUTIONS LLC
            State what the contract or     Statement of Work Dated 11/03/2014
                                                                                  ATTN: MEREDITH CHASE
            lease is for and the nature
2.347
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHESAPEAKE SYSTEM SOLUTIONS
            State what the contract or     Software Maintenance - Invoice Dated
                                                                                  TWO OWINGS MILLS CORPORATE CENTER
            lease is for and the nature    01/01/2016
2.348                                                                             10461 MILL RUN CIRCLE, SUITE 600
            of the debtor’s interest
                                                                                  OWINGS MILLS, MD 21117


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  CHESAPEAKE SYSTEM SOLUTIONS
            State what the contract or     Software Maintenance - Invoice Dated
                                                                                  TWO OWINGS MILLS CORPORATE CENTER
            lease is for and the nature    01/01/2015
2.349                                                                             10461 MILL RUN CIRCLE, SUITE 600
            of the debtor’s interest
                                                                                  OWINGS MILLS, MD 21117


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHRISTIAN AASELUND INCORPORATED
            State what the contract or     Exhibit B - Change Order No. 1 Dated
                                                                                  4963 162ND PL SE
            lease is for and the nature    03/07/2012
2.350                                                                             BELLEVUE, WA 98006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHRISTIAN AASELUND INCORPORATED
            State what the contract or     Exhibit B - Change Order No. 2 Dated
                                                                                  4963 162ND PL SE
            lease is for and the nature    10/01/2012
2.351                                                                             BELLEVUE, WA 98006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHRISTIAN AASELUND INCORPORATED
            State what the contract or     Exhibit A - Statement of Work Dated
                                                                                  4963 162ND PL SE
            lease is for and the nature    03/06/2012
2.352                                                                             BELLEVUE, WA 98006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHRISTIAN AASELUND INCORPORATED
            State what the contract or     Exhibit A - Statement of Work Dated
                                                                                  4963 162ND PL SE
            lease is for and the nature    03/06/2012
2.353                                                                             BELLEVUE, WA 98006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHRISTIAN AASELUND INCORPORATED
            State what the contract or     Services Dated 03/06/2012
                                                                                  4963 162ND PL SE
            lease is for and the nature
2.354                                                                             BELLEVUE, WA 98006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CHRISTIAN AASELUND INCORPORATED
            State what the contract or     Exhibit B Change Order No. 3 Dated
                                                                                  4963 162ND PL SE
            lease is for and the nature    11/30/2012
2.355                                                                             BELLEVUE, WA 98006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CHRYSLER GROUP LLC,
            State what the contract or     Non-Disclosure Agreement (Letter)
                                                                                1000 CHRYSLER DRIVE,
            lease is for and the nature    Dated 07/17/2012
2.356                                                                           AUBURN HILLS, MI 48326-2766
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/06/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.357                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/26/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.358                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature    02/02/2017
2.359                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 05/10/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.360                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 01/27/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.361                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA , PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/06/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.362                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA , PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/06/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.363                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA , PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 01/31/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.364                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 06/28/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.365                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/22/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.366                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 04/20/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.367                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Deal Summary Sheet Dated
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature    05/16/2017
2.368                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 02/06/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.369                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/26/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.370                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC
            State what the contract or     Statement of Work Dated 09/06/2017
                                                                                ATTN: BRUNO GUICARDI NETO
            lease is for and the nature
2.371                                                                           630 FREEDOM BUSINESS CENTER
            of the debtor’s interest
                                                                                3RD FLOOR
                                                                                KING OF PRUSSIA, PA 19406
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CI&T INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                630 FREEDOM BUSINESS CENTER
            lease is for and the nature    11/11/2016
2.372                                                                           3RD FLOOR, 181
            of the debtor’s interest
                                                                                KING OF PRUSSIA, PA 19406


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CINCINNATI BELL TELEPHONE COMPANY LLC
            State what the contract or     Services Agreement Dated
                                                                                221 E FOURTH STREET
            lease is for and the nature    02/23/2016
2.373                                                                           PO BOX 2301
            of the debtor’s interest
                                                                                CINCINNATI, OH 45201


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CINTAS CORPORATION
            State what the contract or     National First Aid and Safety
                                                                                ATTN: SR. DIRECTOR SALES & OPERATIONS - STRATEGIC MARKETS
            lease is for and the nature    Agreement Dated 04/01/2015
2.374                                                                           6800 CINTAS BLVD.
            of the debtor’s interest
                                                                                PO BOX 625737
                                                                                CINCINNATI, OH 45262-5737
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CITY OF SAN ANTONIO POLICE DEPARTMENT
            State what the contract or     Alarm System Permit Dated
                                                                                214 WEST NUEVA STREET
            lease is for and the nature    08/01/2002
2.375                                                                           PO BOX 839948
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78283


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CITY OF SAN ANTONIO POLICE DEPARTMENT
            State what the contract or     Alarm System Permit Dated
                                                                                315 S. SANTA ROSA
            lease is for and the nature    08/31/2015
2.376                                                                           SAN ANTONIO, TX 78207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CLAIMCO, LLC D/B/A SPECTRUM SETTLEMENT RECOVERY
            State what the contract or     Settlement Recovery Dated
                                                                                22 BATTERY STREET
            lease is for and the nature    06/20/2013
2.377                                                                           SUITE 700
            of the debtor’s interest
                                                                                SAN FRANCISCO , CA 94111


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL CONSULTING
            State what the contract or     Statement of Work Dated 01/10/2012
                                                                                ATTN: JOHN SCARBOROUGH
            lease is for and the nature
2.378                                                                           911 TIMBER DR
            of the debtor’s interest
                                                                                NEW BRAUNFELS, TX 78130


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or     Corporate Services Agreement Dated
                                                                                20880 STONE OAK PKWY
            lease is for and the nature    11/10/2005
2.379                                                                           SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR SEARCH
            State what the contract or     Statement of Work Dated 01/20/2014
                                                                                ATTN: HAFEEZ UR RAHMAN S
            lease is for and the nature
2.380                                                                           11445 WELLSHIRE COMMONS CIRCLE
            of the debtor’s interest
                                                                                APT 1611
                                                                                CHARLOTTE, NC 28277
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 04/19/2013
                                                                                ATTN: SANDEEP KUMAR
            lease is for and the nature
2.381                                                                           CLEAR CHANNEL
            of the debtor’s interest
                                                                                20880 STONE OAK PARKWAY
                                                                                SAN ANTONIO, TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 06/29/2013
                                                                                ATTN: SANDEEP KUMAR
            lease is for and the nature
2.382                                                                           CLEAR CHANNEL
            of the debtor’s interest
                                                                                20880 STONE OAK PARKWAY
                                                                                SAN ANTONIO, TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 01/10/2012
                                                                                2014 FLAMINGO DR
            lease is for and the nature
2.383                                                                           SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 04/29/2013
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.384                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 06/29/2013
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.385                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 06/29/2013
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.386                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or     Statement of Work Dated 04/29/2013
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.387                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CLEARPATH SOLUTIONS
            State what the contract or     Recruiter Contract Dated 05/23/2012
                                                                                 ATTN: LISA MATTHIES
            lease is for and the nature
2.388
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CLEARSLIDE, INC.
            State what the contract or     Subscription Agreement - Order Form
                                                                                 548 MARKET ST., SUITE 21265
            lease is for and the nature    Dated 10/01/2014
2.389                                                                            SAN FRANCISCO, CA 21265
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 CLOUD TECHNOLOGY PARTNERS INC
            State what the contract or     Master Service Agreement Dated
                                                                                 263 SUMMER STREET
            lease is for and the nature    03/04/2016
2.390                                                                            4TH FLOOR
            of the debtor’s interest
                                                                                 BOSTON, MA 02210


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CLOUDCRAZE SOFTWARE LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               101 N UPPER WACKER DRIVE
            lease is for and the nature    01/03/2017
2.391                                                                          CHICAGO, IL 60606
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CLOUDGENIX INC.
            State what the contract or     Non Disclosure Agreement Dated
                                                                               2665 NORTH 1ST STREET
            lease is for and the nature    11/18/2016
2.392                                                                          SUITE 110
            of the debtor’s interest
                                                                               SAN JOSE, CA 95134


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CLOUDGENIX INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               2665 NORTH 1ST STREET
            lease is for and the nature    11/18/2016
2.393                                                                          SUITE 110
            of the debtor’s interest
                                                                               SAN JOSE, CA 95134


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CLOUDHEALTH TECHNOLOGIES INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               280 SUMMER STREET
            lease is for and the nature    06/27/2017
2.394                                                                          5TH FLOOR
            of the debtor’s interest
                                                                               BOSTON, MA 02210


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CLOUDHEALTH TECHNOLOGIES, INC.
            State what the contract or     Master Agreement Dated 10/01/2017
                                                                               280 SUMMER ST., 6TH FLOOR
            lease is for and the nature
2.395                                                                          BOSTON, MA 02210
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CLOUDHEALTH TECHNOLOGIES, INC.
            State what the contract or     Order Form & Agreement Dated
                                                                               280 SUMMER ST., 6TH FLOOR
            lease is for and the nature    10/01/2017
2.396                                                                          BOSTON, MA 02210
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CLOUDSENSE INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               1325 AVENUE OF THE AMERICAS
            lease is for and the nature    02/08/2017
2.397                                                                          FLOOR 28
            of the debtor’s interest
                                                                               NEW YORK, NY 10019


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CLW REALTY GROUP, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                4301 ANCHOR PLAZA PARKWAY
            lease is for and the nature    07/09/2009
2.398                                                                           SUITE 400
            of the debtor’s interest
                                                                                TAMPA, FL 33634


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CODE ZERO LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                1040 WEST MARIETTA STREET NW
            lease is for and the nature    03/24/2017
2.399                                                                           ATLANTA, GA 30318
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #4 Dated 09/09/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.400                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #39 Dated 05/02/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.401                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #41 Dated 11/10/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.402                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #42 Dated 12/22/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.403                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 01/01/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.404                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Agreement Dated 05/23/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.405                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #37 Dated 04/01/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.406                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #35 Dated 11/19/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.407                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 06/15/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.408                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #43 Dated 04/03/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.409                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 08/08/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.410                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #44 Dated 05/01/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.411                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Attachment 11-A Dated 04/10/2013
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.412                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Agreement Dated 08/15/2012
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.413                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #40 Dated 06/30/2016
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.414                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #46 Dated 09/20/2017
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.415                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 07/26/2012
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.416                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #43 Dated 03/31/2017
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.417                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work for Smart Bike #2
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature    Dated 01/01/2014
2.418                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #23 Dated 09/18/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.419                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #26 Dated 01/12/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.420                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 06/27/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.421                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #29 Dated 05/19/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.422                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #27 Dated 04/16/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.423                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #28 Dated 04/16/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.424                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #36 Dated 02/12/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.425                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #34 Dated 10/27/2015
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.426                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Attachment 11-A Dated 06/05/2014
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.427                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order Dated 04/10/2013
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.428                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 08/03/2012
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.429                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #24 Dated 10/01/2014
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.430                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work For Smart Bike #2
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature    Dated 12/11/2013
2.431                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work for SmartBike #2
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature    Dated 12/11/2013
2.432                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #38 Dated 03/09/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.433                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #33
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.434                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 07/26/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.435                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 06/15/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.436                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Agreement Dated 06/29/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.437                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #32 Dated 09/09/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.438                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 08/08/2012
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.439                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #43 Dated 03/30/2017
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.440                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #45 Dated 07/05/2017
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.441                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #31 Dated 08/20/2015
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.442                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #30 Dated 06/15/2015
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.443                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order #47 Dated 12/20/2017
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.444                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or     Attachment 11-A Dated 04/10/2013
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.445                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Mutual Confidentiality Agreement
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature    Dated 03/12/2012
2.446                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Agreement Dated 01/15/2013
                                                                              500 FRANK W. BURR BLVD
            lease is for and the nature
2.447                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Agreement Dated 06/29/2012
                                                                              500 FRANK W. BURR BLVD
            lease is for and the nature
2.448                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Change Order Dated 07/25/2012
                                                                              500 FRANK W. BURR BLVD
            lease is for and the nature
2.449                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Agreement Dated 08/15/2012
                                                                              500 FRANK W. BURR BLVD
            lease is for and the nature
2.450                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Agreement Dated 11/15/2012
                                                                              500 FRANK W BURR BLVD
            lease is for and the nature
2.451                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or     Agreement Dated 06/01/2012
                                                                              500 FRANK W. BURR BLVD.
            lease is for and the nature
2.452                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              COGNIZANT TECHNOLOGY SOLUTIONS US CORPORATION
            State what the contract or     Mutual Confidentiality Agreement
                                                                              500 FRANK W. BURR BLVD
            lease is for and the nature    Dated 03/12/2012
2.453                                                                         TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS US CORPORATION
            State what the contract or     Amendment to Master Service
                                                                                500 FRANK W. BURR BLVD.
            lease is for and the nature    Agreement Dated 11/16/2012
2.454                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COLUMN TECHNOLOGIES, INC
            State what the contract or     Change Request Dated 04/13/2015
                                                                                10 E. 22ND STREET
            lease is for and the nature
2.455                                                                           SUITE 300
            of the debtor’s interest
                                                                                LOMBARD, IL 60148


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COLUMN TECHNOLOGIES, INC
            State what the contract or     Statement of Work Dated 03/19/2015
                                                                                10 E. 22ND STREET
            lease is for and the nature
2.456                                                                           SUITE 300
            of the debtor’s interest
                                                                                LOMBARD, IL 60148


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COLUMN TECHNOLOGIES, INC
            State what the contract or     Mutual Confidentiality and Non-
                                                                                10 E. 22ND STREET
            lease is for and the nature    Disclosure Agreement Dated
2.457                                                                           SUITE 300
            of the debtor’s interest       01/14/2015
                                                                                LOMBARD, IL 60148


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMDATA CORPORATION
            State what the contract or     Amendment No. 4 to Commercial
                                                                                5301 MARYLAND WAY
            lease is for and the nature    Card Master Agreement Dated
2.458                                                                           BRENTWOOD, TN 37027
            of the debtor’s interest       05/26/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMDATA CORPORATION
            State what the contract or     Amendment to Commercial Card
                                                                                5301 MARYLAND WAY
            lease is for and the nature    Master Agreement Dated 05/27/2014
2.459                                                                           BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMDATA CORPORATION
            State what the contract or     Amendment to Commercial Card
                                                                                5301 MARYLAND WAY
            lease is for and the nature    Master Agreement Dated 07/29/2015
2.460                                                                           BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               COMDATA CORPORATION
            State what the contract or     Bond Rider and Power of Attorney
                                                                               5301 MARYLAND WAY
            lease is for and the nature    Dated 02/28/2017
2.461                                                                          BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COMDATA CORPORATION
            State what the contract or     Bond Rider and Power of Attorney
                                                                               5301 MARYLAND WAY
            lease is for and the nature    Dated 02/10/2016
2.462                                                                          BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COMDATA NETWORK, INC.
            State what the contract or     Master Agreement Dated 09/09/2010
                                                                               ATTN: RAND MORGAN, EVP
            lease is for and the nature
2.463                                                                          5301 MARYLAND WAY
            of the debtor’s interest
                                                                               BRENTWOOD, TN 37027


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COMDATA NETWORK, INC.
            State what the contract or     Master Agreement Dated 09/10/2010
                                                                               ATTN: RANDY MORGAN, EVP
            lease is for and the nature
2.464                                                                          5301 MARYLAND WAY
            of the debtor’s interest
                                                                               BRENTWOOD, TN 37027


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COMDATA NETWORK, INC.
            State what the contract or     Amendment to Commercial Card
                                                                               ATTN: RANDY MORGAN, EVP
            lease is for and the nature    Master Agreement Dated 04/03/2011
2.465                                                                          5301 MARYLAND WAY
            of the debtor’s interest
                                                                               BRENTWOOD, TN 37027


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COMDATA NETWORK, INC.
            State what the contract or     Commercial Card Master Agreement
                                                                               ATTN: RANDY MORGAN, EVP
            lease is for and the nature    Dated 09/10/2010
2.466                                                                          5301 MARYLAND WAY
            of the debtor’s interest
                                                                               BRENTWOOD, TN 37027


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               COMDATA NETWORKS, INC.
            State what the contract or     Power of Attorney & Rider Dated
                                                                               5301 MARYLAND WAY
            lease is for and the nature    02/28/2017
2.467                                                                          BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Power of Attorney & Rider Dated
                                                                             5301 MARYLAND WAY
            lease is for and the nature    02/10/2016
2.468                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                             5301 MARYLAND WAY
            lease is for and the nature    Dated 08/19/2010
2.469                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Amendment to Master Agreement
                                                                             5301 MARYLAND WAY
            lease is for and the nature    Dated 04/03/2011
2.470                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                             5301 MARYLAND WAY
            lease is for and the nature    Dated 08/19/2010
2.471                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Amendment to Master Agreement
                                                                             5301 MARYLAND WAY
            lease is for and the nature    Dated 05/27/2014
2.472                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                             5301 MARYLAND WAY
            lease is for and the nature    Dated 08/19/2010
2.473                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             COMDATA NETWORKS, INC.
            State what the contract or     Amendment No. 4 to Master
                                                                             5301 MARYLAND WAY
            lease is for and the nature    Agreement Dated 05/26/2017
2.474                                                                        BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                                 5301 MARYLAND WAY
            lease is for and the nature    Dated 08/19/2010
2.475                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Rider & Power of Attorney Dated
                                                                                 5301 MARYLAND WAY
            lease is for and the nature    02/28/2017
2.476                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Financial Guarantee Bond & Power of
                                                                                 5301 MARYLAND WAY
            lease is for and the nature    Attorney Dated 07/16/2015
2.477                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Amendment to Master Agreement
                                                                                 5301 MARYLAND WAY
            lease is for and the nature    Dated 07/29/2015
2.478                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Amendment Dated 05/27/2014
                                                                                 5301 MARYLAND WAY
            lease is for and the nature
2.479                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Financial Guarantee Bond Dated
                                                                                 5301 MARYLAND WAY
            lease is for and the nature    07/16/2005
2.480                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COMDATA NETWORKS, INC.
            State what the contract or     Amendment No. 4 Dated 05/26/2017
                                                                                 5301 MARYLAND WAY
            lease is for and the nature
2.481                                                                            BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COMDATA NETWORKS, INC.
            State what the contract or     Amendment Dated 04/03/2011
                                                                                5301 MARYLAND WAY
            lease is for and the nature
2.482                                                                           BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMDATA NETWORKS, INC.
            State what the contract or     Amendment Dated 07/29/2015
                                                                                5301 MARYLAND WAY
            lease is for and the nature
2.483                                                                           BRENTWOOD, TN 37027
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMMERCIAL TENANT SERVICES, INC.
            State what the contract or     Retention Letter/Agreement Dated
                                                                                288 E 45TH ST.
            lease is for and the nature    09/29/2014
2.484                                                                           9TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMPETITIVE MEDIA REPORTING, LLC D/B/A KANTAR MEDIA INTELLIGENCE
            State what the contract or     License Agreement Dated 01/01/2012
                                                                                11 MADISON AVENUE
            lease is for and the nature
2.485                                                                           NEW YORK, NY 10010
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COMPUCOM SYSTEMS, INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.486
            of the debtor’s interest       07/01/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CONCUR TECHNOLOGIES, INC.
            State what the contract or     Business Services Agreement Dated
                                                                                ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    03/24/2011
2.487                                                                           18400 N.E. UNION HILL ROAD
            of the debtor’s interest
                                                                                REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CONCUR TECHNOLOGIES, INC.
            State what the contract or     Business Services Agreement Dated
                                                                                ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    03/24/2011
2.488                                                                           18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                                REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Assignment and Assumption
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    Agreement Dated 12/07/2015
2.489                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Sales Order Form Dated 09/07/2011
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature
2.490                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Assignment and Assumption
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    Agreement Dated 12/07/2015
2.491                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Assignment and Assumption
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    Agreement Dated 12/07/2015
2.492                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Sales Order Form Dated 03/05/2015
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature
2.493                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Assignment and Assumption
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    Agreement Dated 12/07/2015
2.494                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CONCUR TECHNOLOGIES, INC.
            State what the contract or     Assignment and Assumption
                                                                               ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    Agreement Dated 12/07/2015
2.495                                                                          18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                               REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  CONCUR TECHNOLOGIES, INC.
            State what the contract or     Sales Order Form Dated 09/07/2011
                                                                                  ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature
2.496                                                                             18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                                  REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONCUR TECHNOLOGIES, INC.
            State what the contract or     Sales Order Form Dated 03/05/2015
                                                                                  ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature
2.497                                                                             18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                                  REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONCUR TECHNOLOGIES, INC.
            State what the contract or     Sales Order Dated 03/24/2011
                                                                                  ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature
2.498                                                                             18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                                  REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONCUR TECHNOLOGIES, INC.
            State what the contract or     Assignment and Assumption
                                                                                  ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    Agreement Dated 12/07/2015
2.499                                                                             18400 N.E. UNION HILL RD.
            of the debtor’s interest
                                                                                  REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONCUR TECHNOLOGIES, INC.
            State what the contract or     Business Services Agreement Dated
                                                                                  ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature    03/24/2011
2.500                                                                             18400 NE UNION HILL RD.
            of the debtor’s interest
                                                                                  REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONCUR TECHNOLOGIES, INC.
            State what the contract or     Business Service Dated 03/24/2011
                                                                                  ATTN: CHIEF LEGAL OFFICER
            lease is for and the nature
2.501                                                                             18400 NE UNION HILL ROAD
            of the debtor’s interest
                                                                                  REDMOND, WA 98052


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONSTELLATION NEWENERGY, INC.
            State what the contract or     Electricity Supply Agreement - Fixed
                                                                                  ATTN: CONTRACTS ADMINISTRATION
            lease is for and the nature    Price Solutions Dated 01/16/2015
2.502                                                                             1221 LAMAR ST.
            of the debtor’s interest
                                                                                  SUITE 750
                                                                                  HOUSTON, TX 77010
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  CONSTELLATION NEWENERGY, INC.
            State what the contract or     Electricity Supply Agreement - Fixed
                                                                                  ATTN: CONTRACTS ADMINISTRATION
            lease is for and the nature    Price Solutions Dated 01/09/2015
2.503                                                                             1221 LAMAR ST.
            of the debtor’s interest
                                                                                  SUITE 750
                                                                                  HOUSTON, TX 77010
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONVENE INC
            State what the contract or     Statement of Work Dated 06/20/2017
                                                                                  6983 E FOWLER AVE
            lease is for and the nature
2.504                                                                             TAMPA, FL 33617
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONVENE INC
            State what the contract or     Statement of Work Dated 06/26/2017
                                                                                  6983 E FOWLER AVE
            lease is for and the nature
2.505                                                                             TAMPA, FL 33617
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CONVENE INC
            State what the contract or     Consultant/Contractor Services
                                                                                  6983 E FOWLER AVE
            lease is for and the nature    Agreement Dated 06/16/2017
2.506                                                                             TAMPA, FL 33617
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CORENT TECHNOLOGY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  26895 ALISO CREEK ROAD
            lease is for and the nature    11/10/2017
2.507                                                                             SUITE B-654
            of the debtor’s interest
                                                                                  ALISO VIEJO, CA 92656


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CORENT TECHNOLOGY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  26895 ALISO CREEK ROAD
            lease is for and the nature    11/10/2017
2.508                                                                             SUITE B-654
            of the debtor’s interest
                                                                                  ALISO VIEJO, CA 92656


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  CORNERSTONE
            State what the contract or     Service Agreement - Purchase Order
                                                                                  1601 CLOVERFIELD BLVD STE 620 S
            lease is for and the nature    Dated 10/20/2017
2.509                                                                             SANTA MONICA, CA 90404
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CORNERSTONE
            State what the contract or     Service Agreement - Statement of
                                                                                1601 CLOVERFIELD BLVD STE 620 S
            lease is for and the nature    Work Dated 10/25/2017
2.510                                                                           SANTA MONICA, CA 90404
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CORNERSTONE ONDEMAND
            State what the contract or     Service Agreement - Purchase Order
            lease is for and the nature    Dated 10/20/2017
2.511
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                CORNERSTONE ONDEMAND, INC.
            State what the contract or     Master Agreement Dated 06/30/2016
            lease is for and the nature
2.512
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Statement of work Dated 03/23/2015
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.513
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Statement of work Dated 05/02/2016
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.514
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Statement of work Dated 08/22/2015
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.515
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.516
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.517
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.518
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 2 Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    07/01/2013
2.519
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 3 Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    09/01/2013
2.520
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 4 Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    12/04/2013
2.521
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 2 Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    05/21/2013
2.522
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 5 Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    06/17/2014
2.523
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 6 Dated
                                                                                  ADDRESS ON FILE
            lease is for and the nature    12/11/2014
2.524
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                  ADDRESS ON FILE
            lease is for and the nature    04/02/2012
2.525
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 4 Dated
                                                                                  ADDRESS ON FILE
            lease is for and the nature    01/02/2014
2.526
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 3 Dated
                                                                                  ADDRESS ON FILE
            lease is for and the nature    08/30/2013
2.527
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  COUNTERPARTY NAME ON FILE
            State what the contract or     Exhibit B Change Order No. 002
                                                                                  ADDRESS ON FILE
            lease is for and the nature    Dated 12/04/2012
2.528
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  COUNTERPARTY NAME ON FILE
            State what the contract or     Master Service Agreement - Recruiter
                                                                                  ADDRESS ON FILE
            lease is for and the nature    Services Dated 03/16/2015
2.529
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  COUNTERPARTY NAME ON FILE 2018-161629
            State what the contract or     Patent Application Assignment Dated
                                                                                  ADDRESS ON FILE
            lease is for and the nature    03/19/2009
2.530
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COUNTERPARTY NAME ON FILE 2018-161630
            State what the contract or     Patent Application Assignment Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature    03/19/2009
2.531
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-161632
            State what the contract or     Patent Application Assignment Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature    03/19/2009
2.532
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-161633
            State what the contract or     Patent Application Assignment Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature    03/19/2009
2.533
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-161634
            State what the contract or     Patent Application Assignment Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature    03/19/2009
2.534
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-161636
            State what the contract or     Patent Application Assignment Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature    03/19/2009
2.535
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-162107
            State what the contract or     Consulting Services Agreement
                                                                                 ADDRESS ON FILE
            lease is for and the nature    Dated 03/06/2012
2.536
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-162107
            State what the contract or     Statement of Work Dated 03/12/2012
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.537
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COUNTERPARTY NAME ON FILE 2018-162615
            State what the contract or     Change Order Dated 12/11/2013
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.538
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-162615
            State what the contract or     Statement of Work Dated 06/01/2013
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.539
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-162615
            State what the contract or     Statement of Work Dated 12/03/2012
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.540
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-162615
            State what the contract or     Change Order Dated 01/02/2014
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.541
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-162615
            State what the contract or     Statement of Work Dated 05/03/2013
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.542
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-162615
            State what the contract or     Master Services Agreement Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    12/03/2012
2.543
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-162761
            State what the contract or     Statement of work Dated 06/13/2012
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.544
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COUNTERPARTY NAME ON FILE 2018-162761
            State what the contract or     Statement of Work Dated 06/13/2012
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.545
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-162761
            State what the contract or     Consulting services in the field of
                                                                                 ADDRESS ON FILE
            lease is for and the nature    information technologies Dated
2.546
            of the debtor’s interest       06/13/2012


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-175207
            State what the contract or     Statement of Work Dated 11/22/2013
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.547
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-175210
            State what the contract or     Change Order Dated 11/22/2013
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.548
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-175212
            State what the contract or     Change Order Dated 11/22/2013
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.549
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-175213
            State what the contract or     Statement of Work Dated 05/21/2014
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.550
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-175218
            State what the contract or     Statement of Work Dated 05/21/2014
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.551
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COUNTERPARTY NAME ON FILE 2018-175835
            State what the contract or     Master Service Agreement Dated
                                                                                ADDRESS ON FILE
            lease is for and the nature    10/11/2012
2.552
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-175840
            State what the contract or     Statement of Work Dated 11/15/2013
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.553
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-175840
            State what the contract or     Change Order Dated 02/07/2014
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.554
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-175840
            State what the contract or     Statement of Work Dated 10/11/2012
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.555
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-175847
            State what the contract or     Change Order Dated 12/18/2012
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.556
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-175852
            State what the contract or     Statement of Work Dated 01/03/2014
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.557
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-175868
            State what the contract or     Statement of Work Dated 03/21/2014
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.558
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COUNTERPARTY NAME ON FILE 2018-248286
            State what the contract or     Offer Letter Dated 02/15/2012
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.559
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-95173
            State what the contract or     New Employment - Software
                                                                                ADDRESS ON FILE
            lease is for and the nature    Developer III Dated 11/01/2007
2.560
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-95180
            State what the contract or     New Employment - Software
                                                                                ADDRESS ON FILE
            lease is for and the nature    Developer III Dated 11/01/2007
2.561
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-95193
            State what the contract or     New Employment - Software
                                                                                ADDRESS ON FILE
            lease is for and the nature    Developer III Dated 11/01/2007
2.562
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-95457
            State what the contract or     Statement of Work Dated 05/15/2014
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.563
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUNTERPARTY NAME ON FILE 2018-95977
            State what the contract or     ILEC Network Services Discount
                                                                                ADDRESS ON FILE
            lease is for and the nature    Pricing Schedule Dated 09/15/2009
2.564
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                COUTIER'S INC. DBA ROBERT F BARNES CHB
            State what the contract or     POA Acknowledgement of Terms
                                                                                FIELD BARNES
            lease is for and the nature    Dated 01/04/2016
2.565                                                                           ROBERT F BARNES CUSTOMS BROKERS
            of the debtor’s interest
                                                                                216 E RHAPSODY
                                                                                SAN ANTONIO, TX 78216
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CPOWER, INC.
            State what the contract or     Demand Response Management
                                                                               ATTN: CONTRACT ADMINISTRATOR
            lease is for and the nature    Agreement Dated 08/26/2010
2.566                                                                          17 STATE ST. 19TH FLOOR
            of the debtor’s interest
                                                                               NEW YORK, NY 10004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CUSHMAN & WAKEFIELD
            State what the contract or     Addendum #7 to Master Services
                                                                               CORPORATE SERVICES
            lease is for and the nature    Agreement
2.567                                                                          ATTN OMAR ACOSTA
            of the debtor’s interest
                                                                               201 N FRANKLIN ST STE 3300
                                                                               TAMPA, FL 33602
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CUSHMAN & WAKEFIELD
            State what the contract or     Addendum #7 Master Services
                                                                               CORPORATE SERVICES
            lease is for and the nature    Agreement
2.568                                                                          ATTN OMAR ACOSTA
            of the debtor’s interest
                                                                               201 N FRANKLIN ST STE 3300
                                                                               TAMPA, FL 33602
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CUSHMAN & WAKEFIELD
            State what the contract or     Addendum 6 to Master Services
                                                                               CORPORATE SERVICES - ATTN RACHEL AMADOR
            lease is for and the nature    Agreement Dated 03/31/2016
2.569                                                                          55 WESTPORT PLZ STE 600
            of the debtor’s interest
                                                                               SAINT LOUIS, MO 63146


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CUSHMAN & WAKEFIELD
            State what the contract or     Work Order #5 Dated 03/31/2016
                                                                               CORPORATE SERVICES - ATTN RACHEL AMADOR
            lease is for and the nature
2.570                                                                          55 WESTPORT PLZ STE 600
            of the debtor’s interest
                                                                               SAINT LOUIS, MO 63146


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CVENT
            State what the contract or     Terms of Use For Event Management
                                                                               1765 GREENSBORO STATION PLACE
            lease is for and the nature    Product Dated 10/14/2016
2.571                                                                          7TH FLOOR
            of the debtor’s interest
                                                                               TYSONS CORNER, VA 22102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CVENT INC D/B/A CROWDCOMPASS
            State what the contract or     Terms of Use for CrowdCompass
                                                                               1765 GREENSBORO STATION PLACE
            lease is for and the nature    Dated 07/01/2016
2.572                                                                          7TH FLOOR
            of the debtor’s interest
                                                                               TYSONS CORNER, VA 22102


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CVENT INC. D/B/A CROWDCOMPASS
            State what the contract or     Mobile Event Solution Order Form
                                                                               1765 GREENSBORO STATION PLACE
            lease is for and the nature    Dated 08/09/2016
2.573                                                                          7TH FLOOR
            of the debtor’s interest
                                                                               TYSONS CORNER, VA 22102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CVENT INC. D/B/A CROWDCOMPASS
            State what the contract or     Mobile Event Solution Order Form
                                                                               1765 GREENSBORO STATION PLACE
            lease is for and the nature    Dated 07/01/2016
2.574                                                                          7TH FLOOR
            of the debtor’s interest
                                                                               TYSONS CORNER, VA 22102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CVENT, INC D/B/A CROWDCOMPASS
            State what the contract or     Mobile Event Solution Order Form
                                                                               1765 GREENSBORO STATION PLACE
            lease is for and the nature    Dated 08/12/2016
2.575                                                                          7TH FLOOR
            of the debtor’s interest
                                                                               TYSONS CORNER, VA 22102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CYBERSOURCE CORPORATION
            State what the contract or     Billing Service Agreement Dated
                                                                               ATTN: CYBERSOURCE LEGAL, M1-12SE
            lease is for and the nature    12/22/2014
2.576                                                                          PO BOX 8999
            of the debtor’s interest
                                                                               SAN FRANCISCO, CA 94128-8999


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CYBERSOURCE CORPORATION
            State what the contract or     Quotation - CyberSource Billing
                                                                               ATTN: CYBERSOURCE LEGAL, M1-12SE
            lease is for and the nature    Service Dated 12/22/2014
2.577                                                                          PO BOX 8999
            of the debtor’s interest
                                                                               SAN FRANCISCO, CA 94128-8999


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CYBERSOURCE CORPORATION
            State what the contract or     Payment Solutions Agreement Dated
                                                                               PO BOX 8999
            lease is for and the nature    11/06/2014
2.578                                                                          SAN FRANCISCO, CA 94128
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               CYBERSOURCE CORPORATION
            State what the contract or     Payment Solutions Agreement Dated
                                                                               ATTN: CYBERSOURCE LEGAL, M1-12SE
            lease is for and the nature    09/12/2014
2.579                                                                          PO BOX 8999
            of the debtor’s interest
                                                                               SAN FRANCISCO, CA 94128-8999


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               CYWARE LABS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               1501 BROADWAY
            lease is for and the nature    02/17/2017
2.580                                                                          12TH FLOOR
            of the debtor’s interest
                                                                               NEW YORK, NY 10036


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DAN LARSON GROUP LLC
            State what the contract or     Master Service Agreement Dated
                                                                               405 S. DALE MABRY HWY,
            lease is for and the nature    06/06/2011
2.581                                                                          STE 105
            of the debtor’s interest
                                                                               TAMPA, FL 33609


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DARKTRACE LIMITED
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               THE PLATINUM BUILDING
            lease is for and the nature    01/26/2017
2.582                                                                          ST JOHN'S INNOVATION CENTRE
            of the debtor’s interest
                                                                               COWLEY ROAD
                                                                               CAMBRIDGE CB4 0DS
                                                                               UNITED KINGDOM
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DATAART SOLUTIONS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               475 PARK AVENUE SOUTH
            lease is for and the nature    12/12/2017
2.583                                                                          FLOOR 15
            of the debtor’s interest
                                                                               NEW YORK, NY 10016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DATASTAX INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               3975 FREEDOM CIRCLE
            lease is for and the nature    11/30/2016
2.584                                                                          SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DELL SOFTWARE, INC.
            State what the contract or     Service Agreement - Invoice Dated
                                                                               5 POLARIS WAY
            lease is for and the nature    12/31/2015
2.585                                                                          ALISO VIEJO, CA 92656
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DELOITTE & TOUCHE LLP
            State what the contract or     Master Services Agreement Dated
                                                                               ATTN: ALAN SCHAUB
            lease is for and the nature    10/15/2013
2.586                                                                          200 RENAISSANCE CENTER, SUITE 3900
            of the debtor’s interest
                                                                               DETROIT, MI 48243


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             DELOITTE & TOUCHE, LLP
            State what the contract or     Master Services Agreement Dated
                                                                             ATTN: ALAN SCHAUM
            lease is for and the nature    10/15/2013
2.587                                                                        200 RENAISSANCE CENTER
            of the debtor’s interest
                                                                             SUITE 3900
                                                                             DETROIT, MI 48243
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DELOITTE & TOUCHE, LLP
            State what the contract or     Master Services Agreement Dated
                                                                             ATTN: ALAN SCHAUB
            lease is for and the nature    10/15/2013
2.588                                                                        PARTNER
            of the debtor’s interest
                                                                             200 RENAISSANCE CENTER
                                                                             SUITE 3900
                                                                             DETROIT , MI 48243
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DELOITTE CONSULTING LLP
            State what the contract or     Finance Analytics Project Dated
                                                                             100 KIMBALL DRIVE
            lease is for and the nature    03/22/2012
2.589                                                                        PARSIPPANY, NJ 07054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DELOITTE CONSULTING LLP
            State what the contract or     Services Agreement Dated
                                                                             ATTN: JAY MILLER
            lease is for and the nature    10/19/2012
2.590                                                                        333 AVENUE OF THE AMERICAS AVENUE
            of the debtor’s interest
                                                                             SUITE 3600
                                                                             MIAMI, FL 33131
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 8 Dated
                                                                             ATTN: DANIEL M. SIEGEL
            lease is for and the nature    01/01/2018
2.591                                                                        PRINCIPAL
            of the debtor’s interest
                                                                             100 KIMBALL DRIVE
                                                                             PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DELOITTE CONSULTING LLP
            State what the contract or     CO #2 to SOW 2016-20 Dated
                                                                             ATTN: DANIEL M. SIEGEL
            lease is for and the nature    05/17/2017
2.592                                                                        PRINCIPAL
            of the debtor’s interest
                                                                             100 KIMBALL DRIVE
                                                                             PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DELOITTE CONSULTING LLP
            State what the contract or     Change Order #1 to SOW 2016-20
                                                                             ATTN: DANIEL M. SIEGEL
            lease is for and the nature    Dated 04/27/2017
2.593                                                                        PRINCIPAL
            of the debtor’s interest
                                                                             100 KIMBALL DRIVE
                                                                             PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 6 Dated
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature    07/01/2014
2.594                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              DELOITTE CONSULTING LLP
            State what the contract or     SOW 2016-20 Form of Statement of
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature    Work Dated 09/20/2016
2.595                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 3 Dated
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature    10/01/2015
2.596                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              DELOITTE CONSULTING LLP
            State what the contract or     Change Order #1 Dated 05/01/2017
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.597                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              DELOITTE CONSULTING LLP
            State what the contract or     Deloitte LOI Dated 11/13/2012
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.598                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              DELOITTE CONSULTING LLP
            State what the contract or     SOW 2016-25 Dated 10/20/2016
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.599                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              DELOITTE CONSULTING LLP
            State what the contract or     Change Order Dated 04/22/2014
                                                                              ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.600                                                                         PRINCIPAL
            of the debtor’s interest
                                                                              100 KIMBALL DRIVE
                                                                              PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order #1 to Statement of
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    Work 002 Dated 02/28/2014
2.601                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Engagement Letter Dated 05/31/2017
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.602                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order #2
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.603                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order #10 Dated 04/20/2016
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.604                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Form of Statement of Work Dated
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    05/01/2017
2.605                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Appendix 2.1 Dated 11/07/2013
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.606                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 5 Dated
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    01/01/2016
2.607                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Change Order #2 Dated 10/18/2013
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.608                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 1 Dated
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature    05/01/2012
2.609                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Change Order #3 Dated 07/31/2012
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.610                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Change Order #1 to Statement of
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature    Work 002 Dated 02/28/2014
2.611                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Appendix Error! Reference Source Not
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature    Found. Dated 05/01/2017
2.612                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Appendix Error! Reference Source Not
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature    Found. Dated 05/01/2017
2.613                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or     Change Order # 5 Dated 07/31/2012
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.614                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 4 Dated
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    01/01/2016
2.615                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 7 Dated
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    07/01/2016
2.616                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 6 Dated
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    01/01/2017
2.617                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order No. 7 Dated
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature    07/01/2017
2.618                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING LLP
            State what the contract or     Change Order #9 Dated 04/08/2016
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.619                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NJ 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE CONSULTING, LLP
            State what the contract or     Deloitte LOI Dated 02/13/2012
                                                                                ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.620                                                                           PRINCIPAL
            of the debtor’s interest
                                                                                100 KIMBALL DRIVE
                                                                                PARSIPPANY , NY 07054
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                DELOITTE TAX LLP
            State what the contract or     Statement of Work Dated 04/05/2017
                                                                                LBX #844736
            lease is for and the nature
2.621                                                                           1950 N STEMMONS FWY STE 5010
            of the debtor’s interest
                                                                                DALLAS, TX 75207


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 DELTA AIR LINES, INC.
            State what the contract or     Corporate Incentive Agreement Dated
                                                                                 1030 DELTA BOULEVARD
            lease is for and the nature    03/01/2014
2.622                                                                            ATLANTA, GA 30320
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 DELTA DELTA LINES, INC.
            State what the contract or     Amendment to the Corporate
                                                                                 1030 DELTA BLVD
            lease is for and the nature    Agreement. Dated 01/15/2016
2.623                                                                            HARTSFIELD JACKSON INTERNATIONAL AIRPORT
            of the debtor’s interest
                                                                                 ATLANTA , GA 30320


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 DENIM GROUP LTD
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 1354 NORTH LOOP 1604 E
            lease is for and the nature    10/12/2017
2.624                                                                            SUITE 110
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78232


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 DEPENDABLE SOLUTIONS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 841 APOLLO STREET
            lease is for and the nature    10/26/2017
2.625                                                                            SUITE 324
            of the debtor’s interest
                                                                                 EL SEGUNDO, CA 90245


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 DETERMINE, INC.
            State what the contract or     Fourth Amendment to Master License
                                                                                 12800 NORTH MERIDIAN ST.
            lease is for and the nature    and Services Agreement Dated
2.626                                                                            SUITE 425
            of the debtor’s interest       03/26/2016
                                                                                 CARMEL, IN 78209


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 DIELECTRIC, LLC
            State what the contract or     Amendment to Agreement Dated
                                                                                 ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    07/01/2017
2.627                                                                            22 TOWER HILL ROAD
            of the debtor’s interest
                                                                                 RAYMOND, ME 04071


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Commodity Master Agreement Dated
                                                                                 ATTN: CUSTOMER SERVICE MANAGER
            lease is for and the nature    04/07/2017
2.628                                                                            1001 LIBERTY AVENUE
            of the debtor’s interest
                                                                                 PITTSBURGH, PA 15222


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Commodity Master Agreement Dated
                                                                                  ATTN: CUSTOMER SERVICE MANAGER
            lease is for and the nature    04/07/2017
2.629                                                                             1001 LIBERTY AVENUE
            of the debtor’s interest
                                                                                  PITTSBURGH, PA 15222


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Exhibit A Pricing Attachment Dated
                                                                                  1001 LIBERTY AVENUE
            lease is for and the nature    12/01/2017
2.630                                                                             PITTSBURGH, PA 15222
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Exhibit A Pricing Attachment Dated
                                                                                  1001 LIBERTY AVENUE
            lease is for and the nature    12/01/2017
2.631                                                                             PITTSBURGH, PA 15222
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Exhibit A Pricing Attachment Dated
                                                                                  1001 LIBERTY AVENUE
            lease is for and the nature    12/01/2017
2.632                                                                             PITTSBURGH, PA 15222
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Exhibit A Pricing Attachment Dated
                                                                                  ATTN: CUSTOMER SERVICES MANAGER
            lease is for and the nature    04/07/2017
2.633                                                                             1001 LIBERTY AVENUE
            of the debtor’s interest
                                                                                  PITTSBURGH, PA 15222


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DIRECT ENERGY BUSINESS, LLC
            State what the contract or     Electricity Transaction Confirmation
                                                                                  1001 LIBERTY AVE.
            lease is for and the nature    Dated 04/07/2017
2.634                                                                             PITTSBURGH, PA 15222
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DOCUSIGN INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  221 MAIN STREET
            lease is for and the nature    05/03/2017
2.635                                                                             SUITE 1000
            of the debtor’s interest
                                                                                  SAN FRANCISCO, CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                        Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            DREAM HOTELS
            State what the contract or     Corporate Rate Agreement Dated
                                                                            210 WEST 55TH STREET
            lease is for and the nature    01/01/2018
2.636                                                                       NEW YORK, NY 10019
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            DREAM HOTELS
            State what the contract or     Corporate Rate Agreement Dated
                                                                            355 WEST 16TH STREET
            lease is for and the nature    01/01/2018
2.637                                                                       NEW YORK, NY 10011
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            DROPBOX, INC.
            State what the contract or     License Agreement - Order Form
                                                                            ATTN: LEGAL DEPARTMENT
            lease is for and the nature    Dated 12/31/2016
2.638                                                                       PO BOX 77767
            of the debtor’s interest
                                                                            SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            DROPBOX, INC.
            State what the contract or     Business Agreement
                                                                            PO BOX 77767
            lease is for and the nature
2.639                                                                       SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            DROPBOX, INC.
            State what the contract or     Business Agreement
                                                                            PO BOX 77767
            lease is for and the nature
2.640                                                                       SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            DROPBOX, INC.
            State what the contract or     License Agreement - Order Form
                                                                            PO BOX 77767
            lease is for and the nature    Dated 12/31/2016
2.641                                                                       SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            DROPBOX, INC.
            State what the contract or     License Agreement - Order Form
                                                                            PO BOX 77767
            lease is for and the nature    Dated 12/31/2016
2.642                                                                       SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             DROPBOX, INC.
            State what the contract or     Paper Addendum
                                                                             PO BOX 77767
            lease is for and the nature
2.643                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DROPBOX, INC.
            State what the contract or     Paper Addendum
                                                                             PO BOX 77767
            lease is for and the nature
2.644                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DROPBOX, INC.
            State what the contract or     Business Agreement
                                                                             PO BOX 77767
            lease is for and the nature
2.645                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DROPBOX, INC.
            State what the contract or     License Agreement - Order Form
                                                                             PO BOX 77767
            lease is for and the nature    Dated 12/31/2016
2.646                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DROPBOX, INC.
            State what the contract or     Confidentiality Agreement Dated
                                                                             PO BOX 77767
            lease is for and the nature    06/16/2015
2.647                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DROPBOX, INC.
            State what the contract or     License Agreement - Order Form
                                                                             PO BOX 77767
            lease is for and the nature    Dated 02/01/2018
2.648                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             DROPBOX, INC.
            State what the contract or     Paper Addendum Dated 01/27/2017
                                                                             PO BOX 77767
            lease is for and the nature
2.649                                                                        SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               DROPBOX, INC.
            State what the contract or     Paper Addendum Dated 01/27/2017
                                                                               PO BOX 77767
            lease is for and the nature
2.650                                                                          SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DROPBOX, INC.
            State what the contract or     Paper Addendum Dated 01/27/2017
                                                                               PO BOX 77767
            lease is for and the nature
2.651                                                                          SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DROPBOX, INC.
            State what the contract or     Paper Addendum Dated 01/27/2017
                                                                               PO BOX 77767
            lease is for and the nature
2.652                                                                          SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DROPBOX, INC.
            State what the contract or     Business Agreement
                                                                               ATTN: LEGAL DEPARTMENT
            lease is for and the nature
2.653                                                                          PO BOX 77767
            of the debtor’s interest
                                                                               SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Amendment Dated 12/19/2012
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.654                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     NCOA Processing Acknowledgement
                                                                               NEEL CHAUHAN
            lease is for and the nature    Form Dated 12/21/2010
2.655                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Master Agreement Dated 06/12/2011
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.656                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               DUN & BRADSTREET
            State what the contract or     Amendment Dated 12/28/2009
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.657                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Amendment Dated 12/18/2013
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.658                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Order Form Dated 12/19/2011
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.659                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Amendment Dated 11/11/2011
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.660                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Order Form Dated 06/30/2015
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.661                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Master Agreement Dated 06/12/2011
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.662                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Master Agreement Dated 06/12/2011
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.663                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  DUN & BRADSTREET
            State what the contract or     Amendment Dated 06/12/2013
                                                                                  NEEL CHAUHAN
            lease is for and the nature
2.664                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or     Order Form Dated 06/30/2015
                                                                                  NEEL CHAUHAN
            lease is for and the nature
2.665                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or     Exhibit A to the Data Hub Powered by
                                                                                  NEEL CHAUHAN
            lease is for and the nature    Purusma Order Form Dated
2.666                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest       12/19/2008
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or     Amendment to Data Hub Order Dated
                                                                                  NEEL CHAUHAN
            lease is for and the nature    11/11/2011
2.667                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or     Order Form Dated 06/26/2011
                                                                                  NEEL CHAUHAN
            lease is for and the nature
2.668                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or     Order Form Dated 06/28/2011
                                                                                  NEEL CHAUHAN
            lease is for and the nature
2.669                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or     Order Form Dated 12/19/2011
                                                                                  NEEL CHAUHAN
            lease is for and the nature
2.670                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                               Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   DUN & BRADSTREET
            State what the contract or     Order Form Dated 06/19/2012
                                                                                   NEEL CHAUHAN
            lease is for and the nature
2.671                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   DUN & BRADSTREET
            State what the contract or     Order Form Dated 12/19/2008
                                                                                   NEEL CHAUHAN
            lease is for and the nature
2.672                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   DUN & BRADSTREET
            State what the contract or     Order Form Dated 12/19/2011
                                                                                   NEEL CHAUHAN
            lease is for and the nature
2.673                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   DUN & BRADSTREET
            State what the contract or     Order Form Dated 06/19/2012
                                                                                   NEEL CHAUHAN
            lease is for and the nature
2.674                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   DUN & BRADSTREET
            State what the contract or     Change Order Dated 01/15/2016
                                                                                   NEEL CHAUHAN
            lease is for and the nature
2.675                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   DUN & BRADSTREET
            State what the contract or     Amendment Dated 01/30/2009
                                                                                   NEEL CHAUHAN
            lease is for and the nature
2.676                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   DUN & BRADSTREET
            State what the contract or     Preferred pricing plan-Order for Risk
                                                                                   NEEL CHAUHAN
            lease is for and the nature    Management Solutions for Existing
2.677                                                                              LEADER PRODUCT MANAGEMENT
            of the debtor’s interest       Customers Dated 06/26/2009
                                                                                   103 JFK PARKWAY
                                                                                   SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               DUN & BRADSTREET
            State what the contract or     Amendment to DNBI for Risk
                                                                               NEEL CHAUHAN
            lease is for and the nature    Management Order Dated 06/12/2013
2.678                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Order Form Dated 10/31/2014
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.679                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Change Order Dated 01/15/2016
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.680                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Order Form Dated 10/31/2014
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.681                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Amendment to Order Form Dated
                                                                               NEEL CHAUHAN
            lease is for and the nature    11/30/2012
2.682                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Change Order Dated 01/15/2016
                                                                               NEEL CHAUHAN
            lease is for and the nature
2.683                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               DUN & BRADSTREET
            State what the contract or     Amendment to DNBI for Risk
                                                                               NEEL CHAUHAN
            lease is for and the nature    Management Order Dated 06/12/2013
2.684                                                                          LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                               103 JFK PARKWAY
                                                                               SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                       Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                    State the name and mailing address for all other parties with whom
                                                                           the debtor has an executory contract or unexpired lease

                                                                           DUN & BRADSTREET
            State what the contract or     Change Order Dated 01/15/2016
                                                                           NEEL CHAUHAN
            lease is for and the nature
2.685                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           DUN & BRADSTREET
            State what the contract or     Amendment Dated 12/19/2013
                                                                           NEEL CHAUHAN
            lease is for and the nature
2.686                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           DUN & BRADSTREET
            State what the contract or     Order Form Dated 10/31/2014
                                                                           NEEL CHAUHAN
            lease is for and the nature
2.687                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           DUN & BRADSTREET
            State what the contract or     Order Form Dated 10/31/2014
                                                                           NEEL CHAUHAN
            lease is for and the nature
2.688                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           DUN & BRADSTREET
            State what the contract or     Amendment to Order Form Dated
                                                                           NEEL CHAUHAN
            lease is for and the nature    12/18/2013
2.689                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           DUN & BRADSTREET
            State what the contract or     Amendment Dated 06/12/2013
                                                                           NEEL CHAUHAN
            lease is for and the nature
2.690                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           DUN & BRADSTREET
            State what the contract or     Order Form Dated 12/19/2011
                                                                           NEEL CHAUHAN
            lease is for and the nature
2.691                                                                      LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                           103 JFK PARKWAY
                                                                           SHORT HILLS, NJ 07078
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 DUO SECURITY, INC.
            State what the contract or     Order Form Dated 09/30/2016
                                                                                 ATTN: RUBEN GARCIA
            lease is for and the nature
2.692                                                                            123 N ASHLEY STREET
            of the debtor’s interest
                                                                                 SUITE 200
                                                                                 ANN ARBOR , MI 48104
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 EGENCIA LLC
            State what the contract or     Corporate Travel Services Agreement
                                                                                 333 108TH AVE. NE
            lease is for and the nature    Dated 05/08/2009
2.693                                                                            BELLEVUE, WA 98004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ELITE ANALYTICS LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: DANIELE MICCI-BARRECA
            lease is for and the nature    10/07/2016
2.694                                                                            11782 JOLLYVILLE ROAD
            of the debtor’s interest
                                                                                 SUITE 216
                                                                                 AUSTIN, TX 78759
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ELITE ANALYTICS LLC
            State what the contract or     Purchase Agreement Dated
                                                                                 ATTN: PAUL PATTERSON
            lease is for and the nature    08/09/2017
2.695                                                                            11782 JOLLYVILLE ROAD
            of the debtor’s interest
                                                                                 SUITE 216
                                                                                 AUSTIN, TX 78759
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ELITE ANALYTICS LLC
            State what the contract or     Master Service Agreement Dated
                                                                                 ATTN: PAUL PATTERSON
            lease is for and the nature    11/18/2016
2.696                                                                            11782 JOLLYVILLE ROAD
            of the debtor’s interest
                                                                                 SUITE 216
                                                                                 AUSTIN, TX 78759
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ELITE ANALYTICS LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 11782 JOLLYVILE ROAD
            lease is for and the nature    10/07/2016
2.697                                                                            SUITE 216
            of the debtor’s interest
                                                                                 AUSTIN, TX 78759


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ELITE ANALYTICS LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 11782 JOLLYVILLE ROAD
            lease is for and the nature    10/06/2016
2.698                                                                            SUITE 216
            of the debtor’s interest
                                                                                 AUSTIN, TX 78759


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                EMPLOYEE CONTRACTOR SERVICES, INC.
            State what the contract or     Change Order No. 2 Dated
            lease is for and the nature    09/15/2014
2.699
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or     Statement of Work Dated 07/27/2012
                                                                                1 KATTELVILLE ROAD
            lease is for and the nature
2.700                                                                           SUITE 4
            of the debtor’s interest
                                                                                BINGHAMTON, NY 13901


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or     Change Order No. 1 Dated
                                                                                1 KATTELVILLE ROAD
            lease is for and the nature    08/29/2014
2.701                                                                           SUITE 4
            of the debtor’s interest
                                                                                BINGHAMTON, NY 13901


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or     Change Order No. 1 Dated
                                                                                1 KATTELVILLE ROAD
            lease is for and the nature    08/29/2014
2.702                                                                           SUITE 4
            of the debtor’s interest
                                                                                BINGHAMTON, NY 13901


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ENVIRONMENTAL SYSTEMS RESEARCH INSTITUTE, INC.
            State what the contract or     Amendment No. 1 to Master License
                                                                                380 NEW YORK ST.
            lease is for and the nature    Agreement Dated 12/30/2013
2.703                                                                           REDLANDS, CA 92373-8100
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ENVY APPS, LLC
            State what the contract or     Change Request Dated 06/10/2012
            lease is for and the nature
2.704
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ERNEST COMMUNICATIONS, INC.
            State what the contract or     Local Service Customer Agreement
                                                                                5275 TRIANGLE PARKWAY
            lease is for and the nature    Dated 04/03/2012
2.705                                                                           SUITE 150
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ESKI INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                103 RUE DE LOUVAIN OUEST
            lease is for and the nature    09/15/2017
2.706                                                                           MONTREAL, QC H2N 1A3
            of the debtor’s interest
                                                                                CANADA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EVENT FARM INC.
            State what the contract or     Non Disclosure Agreement Dated
                                                                                2403 MAIN STREET
            lease is for and the nature    12/21/2016
2.707                                                                           SANTA MONICA, CA 90405
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EVENT FARM INC.
            State what the contract or     Master Services Agreement Dated
                                                                                2403 MAIN STREET
            lease is for and the nature    01/10/2017
2.708                                                                           SANTA MONICA, CA 90405
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT
            State what the contract or     Statement of Work Dated 05/14/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.709                                                                           PRESIDENT
            of the debtor’s interest
                                                                                875 GREENTREE ROAD
                                                                                SEVEN PARKWAY CENTER, SUITE 1801
                                                                                PITTSBURGH, PA 15203
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT
            State what the contract or     Statement of Work Dated 05/15/2013
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.710                                                                           PRESIDENT
            of the debtor’s interest
                                                                                875 GREENTREE ROAD
                                                                                SEVEN PARKWAY CENTER, SUITE 1801
                                                                                PITTSBURGH, PA 15203
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT
            State what the contract or     Statement of Work Dated 05/14/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.711                                                                           PRESIDENT
            of the debtor’s interest
                                                                                875 GREENTREE ROAD
                                                                                SEVEN PARKWAY CENTER, SUITE 1801
                                                                                PITTSBURGH, PA 15203
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 02 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    01/01/2014
2.712                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 03/03/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.713                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 01 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    09/01/2013
2.714                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 03/05/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.715                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 01/29/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.716                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 11/12/2012
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.717                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 2 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    01/01/2014
2.718                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 06/30/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.719                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 1 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    05/15/2015
2.720                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 02/03/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.721                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 03/05/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.722                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 1 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    01/02/2015
2.723                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 2 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    05/01/2015
2.724                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 01 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    09/01/2013
2.725                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Change Order No. 02 Dated
                                                                                ATTN: ORNE BEY
            lease is for and the nature    01/01/2014
2.726                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 05/02/2013
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.727                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 01/29/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.728                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 03/03/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.729                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or     Statement of Work Dated 02/03/2014
                                                                                ATTN: ORNE BEY
            lease is for and the nature
2.730                                                                           PRESIDENT
            of the debtor’s interest
                                                                                SEVEN PARKWAY CENTER, SUITE 180
                                                                                875 GREENTREE ROAD
                                                                                PITTSBURGH, PA 15220
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXECUTIVE/MANAGER 004
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.731
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXECUTIVE/MANAGER 007
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.732
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXECUTIVE/MANAGER 015
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.733
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 036
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.734
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 037
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.735
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 041
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.736
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 042
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.737
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 048
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.738
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 050
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.739
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 051
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.740
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 052
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.741
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 055
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.742
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 059
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.743
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 063
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.744
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 069
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.745
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 078
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.746
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 080
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.747
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 082
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.748
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 084
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.749
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 087
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.750
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 088
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.751
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 089
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.752
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 094
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.753
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 097
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.754
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 098
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.755
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 101
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.756
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 105
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.757
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 108
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.758
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 110
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.759
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 111
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.760
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 112
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.761
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 114
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.762
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 116
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.763
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 117
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.764
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 118
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.765
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 119
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.766
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 120
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.767
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 123
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.768
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 124
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.769
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 129
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.770
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 132
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.771
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 133
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.772
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 134
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.773
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 136
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.774
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 137
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.775
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 138
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.776
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 139
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.777
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 140
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.778
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 144
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.779
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 155
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.780
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 158
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.781
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 162
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.782
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 164
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.783
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 166
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.784
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 167
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.785
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 169
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.786
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 171
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.787
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 173
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.788
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 174
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.789
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 180
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.790
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 191
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.791
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 193
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.792
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 199
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.793
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 201
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.794
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 204
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.795
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 205
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.796
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 206
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.797
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 209
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.798
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 210
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.799
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 217
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.800
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 218
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.801
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 219
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.802
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 223
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.803
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 237
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.804
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 248
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.805
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 251
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.806
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 253
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.807
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 267
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.808
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 271
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.809
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 272
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.810
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 276
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.811
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 277
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.812
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 283
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.813
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 284
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.814
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 305
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.815
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 308
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.816
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 310
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.817
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 314
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.818
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 315
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.819
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 316
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.820
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 321
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.821
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 322
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.822
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 330
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.823
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 331
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.824
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 333
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.825
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 335
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.826
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 338
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.827
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 349
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.828
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 356
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.829
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 364
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.830
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 365
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.831
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 367
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.832
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 369
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.833
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 382
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.834
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 383
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.835
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 385
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.836
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 387
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.837
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 388
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.838
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 390
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.839
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 391
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.840
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 392
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.841
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 394
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.842
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 400
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.843
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 403
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.844
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 405
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.845
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 410
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.846
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 415
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.847
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 422
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.848
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 424
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.849
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 425
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.850
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 428
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.851
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 447
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.852
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 449
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.853
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 450
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.854
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 451
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.855
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 453
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.856
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 454
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.857
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 455
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.858
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 456
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.859
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 456
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.860
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 470
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.861
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 471
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.862
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 472
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.863
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 474
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.864
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 475
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.865
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 477
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.866
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 478
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.867
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 483
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.868
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 486
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.869
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 489
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.870
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 490
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.871
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 498
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.872
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 499
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.873
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                      Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXECUTIVE/MANAGER 500
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 502
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.875
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 503
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.876
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 511
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.877
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 516
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.878
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 517
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.879
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                           EXECUTIVE/MANAGER 518
            State what the contract or     Employment Agreement
                                                                           ADDRESS ON FILE
            lease is for and the nature
2.880
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                EXECUTIVE/MANAGER 519
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.881
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXECUTIVE/MANAGER 522
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.882
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXECUTIVE/MANAGER 528
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.883
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXPERIS US, INC
            State what the contract or     Statement of Work Dated 05/31/2016
                                                                                100 MANPOWER PLACE
            lease is for and the nature
2.884                                                                           MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXPERIS US, INC
            State what the contract or     Statement of Work Dated 09/19/2016
                                                                                100 MANPOWER PLACE
            lease is for and the nature
2.885                                                                           MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXPERIS US, INC
            State what the contract or     Statement of Work Dated 09/21/2017
                                                                                100 MANPOWER PLACE
            lease is for and the nature
2.886                                                                           MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXPERIS US, INC
            State what the contract or     Statement of Work Dated 11/07/2017
                                                                                100 MANPOWER PLACE
            lease is for and the nature
2.887                                                                           MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                EXPERIS US, INC
            State what the contract or     Statement of Work Dated 09/19/2016
                                                                                100 MANPOWER PLACE
            lease is for and the nature
2.888                                                                           MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXPERIS US, INC
            State what the contract or     Statement of Work Dated 12/04/2017
                                                                                100 MANPOWER PLACE
            lease is for and the nature
2.889                                                                           MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                EXPERIS US, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: BUSINESS LAW DEPARTMENT
            lease is for and the nature    02/24/2014
2.890                                                                           100 MANPOWER PLACE
            of the debtor’s interest
                                                                                MILWAUKEE, WI 53212


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FADEL PARTNERS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                22 ELM PLACE
            lease is for and the nature    10/11/2017
2.891                                                                           FLOOR 4
            of the debtor’s interest
                                                                                RYE, NY 10580


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FENTON DYNAMICS INC.
            State what the contract or     Change Order No. 1 Dated
                                                                                ATTN: ROBERT EHRHARD
            lease is for and the nature    01/23/2015
2.892                                                                           1203 AUTUMN RIDGE
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FENTON DYNAMICS INC.
            State what the contract or     Statement of Work Dated 10/20/2014
                                                                                ATTN: ROBERT EHRHARD
            lease is for and the nature
2.893                                                                           1203 AUTUMN RIDGE
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FENTON DYNAMICS INC.
            State what the contract or     Statement of Work Dated 10/20/2014
                                                                                ATTN: ROBERT EHRHARD
            lease is for and the nature
2.894                                                                           1203 AUTUMN RIDGE
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Master Services Agreement Dated
                                                                               ATTN: PETER BOUCHER, VP
            lease is for and the nature    06/01/2012
2.895                                                                          GLOBAL COMMERCIAL SERVICES
            of the debtor’s interest
                                                                               601 RIVERSIDE AVENUE
                                                                               JACKSONVILLE, FL 32204
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Service Attachment Dated
                                                                               ATTN: PETER BOUCHER
            lease is for and the nature    05/14/2012
2.896                                                                          601 RIVERSIDE AVENUE
            of the debtor’s interest
                                                                               JACKSONVILLE, FL 32204


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Change Request 9 Dated 03/28/2014
                                                                               601 RIVERSIDE AVE.
            lease is for and the nature
2.897                                                                          JACKSONVILLE, FL 32204
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Change Request 8 Dated 03/17/2014
                                                                               601 RIVERSIDE AVE.
            lease is for and the nature
2.898                                                                          JACKSONVILLE, FL 32204
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Mutual Confidentiality Agreement
                                                                               601 RIVERSIDE AVE.
            lease is for and the nature    Dated 03/12/2012
2.899                                                                          JACKSONVILLE, FL 32204
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Service Attachment Dated
                                                                               601 RIVERSIDE AVE.
            lease is for and the nature    01/02/2014
2.900                                                                          JACKSONVILLE, FL 32204
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Master Services Agreement Dated
                                                                               ATTN: PETER BOUCHER, VP
            lease is for and the nature    06/15/2012
2.901                                                                          GLOBAL COMMERCIAL SERVICES
            of the debtor’s interest
                                                                               601 RIVERSIDE AVE.
                                                                               JACKSONVILLE, FL 32204
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom
                                                                                    the debtor has an executory contract or unexpired lease

                                                                                    FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Service Attachment Dated
                                                                                    ATTN: PETER BOUCHER
            lease is for and the nature    03/05/2012
2.902                                                                               FIDELITY INFORMATION SERVICES LLC
            of the debtor’s interest
                                                                                    601 RIVERSIDE AVENUE
                                                                                    JACKSONVILLE, FL 32204
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Service Attachment #4 to MSA Dated
                                                                                    ATTN: PETER BOUCHER
            lease is for and the nature    06/08/2012
2.903                                                                               FIDELITY INFORMATION SERVICES LLC
            of the debtor’s interest
                                                                                    601 RIVERSIDE AVENUE
                                                                                    JACKSONVILLE, FL 32204
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Service Attachment Dated
                                                                                    ATTN: PETER BOUCHER
            lease is for and the nature    06/08/2012
2.904                                                                               FIDELITY INFORMATION SERVICES, LLC
            of the debtor’s interest
                                                                                    601 RIVERSIDE AVENUE
                                                                                    JACKSONVILLE, FL 32204
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Service Attachment #3 to MSA Dated
                                                                                    ATTN: PETER BOUCHER
            lease is for and the nature    07/02/2012
2.905                                                                               601 RIVERSIDE AVENUE
            of the debtor’s interest
                                                                                    JACKSONVILLE, FL 32204


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FIDELITY INFORMATION SERVICES, LLC
            State what the contract or     Statement of Work Dated 01/01/2013
                                                                                    ATTN: PETER BOUCHER
            lease is for and the nature
2.906                                                                               FIDELITY INFORMATION SERVICES, LLC
            of the debtor’s interest
                                                                                    601 RIVERSIDE AVENUE
                                                                                    JACKSONVILLE, FL 32204
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FINANCIAL RECOVERY SERVICES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or     Authorization agreement - Optical
                                                                                    STRATEGIES
            lease is for and the nature    Disk Drive Class Action Settlement
2.907                                                                               80 WESLEY STREET
            of the debtor’s interest       Dated 09/02/2015
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract

                                           Authorization Agreement - LCD Indirect
                                                                                    FINANCIAL RECOVERY SERVICES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or
                                           Purchaser Antitrust Lawsuit & Recovery   STRATEGIES
            lease is for and the nature
2.908                                      Settlement Dated 09/06/2016              80 WESLEY ST.
            of the debtor’s interest
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom
                                                                                    the debtor has an executory contract or unexpired lease

                                                                                    FINANCIAL RECOVERY SERVICES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or     Authorization Agreement - Lithium Ion
                                                                                    STRATEGIES
            lease is for and the nature    Batteries Class Action Settlement
2.909                                                                               80 WESLEY STREET
            of the debtor’s interest       Dated 09/02/2015
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract

                                           Authorization Agreement - LCD Indirect
                                                                                    FINANCIAL RECOVERY SERVICES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or
                                           Purchaser Antitrust Lawsuit & Recovery   STRATEGIES
            lease is for and the nature
2.910                                      Settlement Dated 09/06/2016              80 WESLEY STREET
            of the debtor’s interest
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FINANCIAL RECOVERY SERVICES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or     Authorization Agreement - Flexible
                                                                                    STRATEGIES
            lease is for and the nature    Polyurethane Foam Class Action
2.911                                                                               80 WESLEY STREET
            of the debtor’s interest       Dated 09/05/2015
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FINANCIAL RECOVERY SERVICES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or     Authorization Agreement - Class
                                                                                    STRATEGIES
            lease is for and the nature    Action Settlement Dated 09/02/2015
2.912                                                                               80 WESLEY STREET
            of the debtor’s interest
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FINANCIAL RECOVERY STRATEGIES, INC. D/B/A FINANCIAL RECOVERY
            State what the contract or     Authorization Agreement - Class
                                                                                    STRATEGIES
            lease is for and the nature    Action Settlements Dated 01/03/2017
2.913                                                                               80 WESLEY STREET
            of the debtor’s interest
                                                                                    SOUTH HACKENSACK, NJ 07606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FINANCIAL SYSTEMS SPECIALISTS, INC.
            State what the contract or     Agreement for Consulting Services
                                                                                    ATTN: JEFF WIESINGER
            lease is for and the nature    Dated 03/16/2011
2.914                                                                               13616 STONE DR.
            of the debtor’s interest
                                                                                    CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    FIORANO SOFTWARE INC.
            State what the contract or     Statement of Work Dated 01/02/2014
                                                                                    230 S. CALIFORNIA AVENUE
            lease is for and the nature
2.915                                                                               SUITE 103
            of the debtor’s interest
                                                                                    PALO ALTO, CA 94306


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                FIORANO SOFTWARE INC.
            State what the contract or     Statement of Work Dated 02/04/2014
                                                                                230 S. CALIFORNIA AVENUE
            lease is for and the nature
2.916                                                                           SUITE 103
            of the debtor’s interest
                                                                                PALO ALTO, CA 94306


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FIORANO SOFTWARE, INC.
            State what the contract or     Fiorano End-User License Agreement
                                                                                230 S. CALIFORNIA AVENUE
            lease is for and the nature    Dated 06/06/2013
2.917                                                                           SUITE 103
            of the debtor’s interest
                                                                                PALO ALTO , CA 94306


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FORD MOTOR COMPANY
            State what the contract or     2018 Competitive Price Allowance
                                                                                ATTN: RICH KUEHL
            lease is for and the nature    Program Terms and Conditions Dated
2.918                                                                           1335 S. CLEARVIEW AVE.
            of the debtor’s interest       12/01/2017
                                                                                MESA, AZ 85209


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FRANK RECRUITMENT GROUP INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                14 WALL STREET
            lease is for and the nature    12/13/2016
2.919                                                                           6TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10038


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                FULLSTORY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                120 OTTLEY DRIVE
            lease is for and the nature    11/30/2016
2.920                                                                           SUITE 100
            of the debtor’s interest
                                                                                ATLANTA, GA 30324


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GAMA AVIATION, INC.
            State what the contract or     Management Service Agreement
                                                                                ATTN: KC IHLEFELD, SVP, AIRCRAFT MANAGEMENT
            lease is for and the nature    Dated 01/01/2013
2.921                                                                           480 LORDSHIP BLVD.
            of the debtor’s interest
                                                                                STRATFORD, CT 06615


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GAMA AVIATION, INC.
            State what the contract or     Management Services Agreement
                                                                                ATTN: MK IHLEFELD, SVP, AIRCRAFT MANAGEMENT
            lease is for and the nature
2.922                                                                           480 LORDSHIP BLVD.
            of the debtor’s interest
                                                                                STRATFORD, CT 06615


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                GAMA AVIATION, INC.
            State what the contract or     Management Services Agreement
                                                                                ATTN: KC IHLEFELD, SVP, AIRCRAFT MANAGEMENT
            lease is for and the nature    Dated 06/11/2013
2.923                                                                           480 LORDSHIP BLVD.
            of the debtor’s interest
                                                                                STRATFORD, CT 06615


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GAMA AVIATION, INC.
            State what the contract or     Management Services Agreement
                                                                                ATTN: KC IHLEFELD, SVP, AIRCRAFT MANAGEMENT
            lease is for and the nature    Dated 06/11/2013
2.924                                                                           480 LORDSHIP BLVD.
            of the debtor’s interest
                                                                                STRATFORD, CT 06615


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GAMA AVIATION, INC.
            State what the contract or     Management Services Agreement
                                                                                ATTN: KC IHLEFELD, SVP, AIRCRAFT MANAGEMENT
            lease is for and the nature    Dated 01/01/2013
2.925                                                                           480 LORDSHIP BLVD.
            of the debtor’s interest
                                                                                STRATFORD, CT 06615


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GAMA AVIATION, INC.
            State what the contract or     Management Services Agreement
                                                                                ATTN: KC IHLEFELD, SVP, AIRCRAFT MANAGEMENT
            lease is for and the nature
2.926                                                                           480 LORDSHIP BLVD.
            of the debtor’s interest
                                                                                STRATFORD, CT 06615


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Vendor Evaluation to Replace HRMS:
                                                                                56 TOP GALLANT ROAD
            lease is for and the nature    Proposal and Statement of Work
2.927                                                                           STAMFORD, CT 06904
            of the debtor’s interest       Dated 03/15/2013


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Master Client Agreement Dated
                                                                                56 TOP GALLANT ROAD
            lease is for and the nature    06/29/2011
2.928                                                                           STAMFORD, CT 06904
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Service Agreement - Invoice Dated
                                                                                12651 GATEWAY BLVD.
            lease is for and the nature    10/01/2015
2.929                                                                           FT. MYERS, FL 33913
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                GARTNER, INC.
            State what the contract or     Service Agreement Dated 01/01/2016
                                                                                56 TOP GALLANT ROAD
            lease is for and the nature
2.930                                                                           STAMFORD, CT 06904
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Master Client Agreement Dated
                                                                                56 TOP GALLANT ROAD
            lease is for and the nature    07/06/2011
2.931                                                                           STANFORD, CT 06904
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Service Agreement Dated 10/01/2016
                                                                                56 TOP GALLANT ROAD
            lease is for and the nature
2.932                                                                           STAMFORD, CT 06904
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Consulting Services Supplement to
                                                                                56 TOP ROAD
            lease is for and the nature    the Master Client Agreement Dated
2.933                                                                           STANFORD, CT 06904
            of the debtor’s interest       03/14/2013


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GARTNER, INC.
            State what the contract or     Service Agreement - Invoice Dated
                                                                                12651 GATEWAY BLVD.
            lease is for and the nature    01/01/2016
2.934                                                                           FT. MYERS, FL 33931
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GATESAIR INC.
            State what the contract or     Amendment to Master Purchase
                                                                                ATTN: LEGAL DEPARTMENT
            lease is for and the nature    Agreement Dated 06/22/2017
2.935                                                                           5300 KINGS ISLAND DR.
            of the debtor’s interest
                                                                                SUITE 101
                                                                                MASON, OH 45040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GATESAIR INC.
            State what the contract or     Master Purchase Agreement Dated
                                                                                ATTN: LEGAL DEPARTMENT
            lease is for and the nature    05/03/2017
2.936                                                                           5300 KINGS ISLAND DR.
            of the debtor’s interest
                                                                                SUITE 101
                                                                                MASON, OH 45040
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                               Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   GBS - GIESLER BROADCAST SUPPLY, INC.
            State what the contract or     Broadcast Equipment Products &
                                                                                   PO BOX 416
            lease is for and the nature    Services Agreement Dated
2.937                                                                              ALVIN, TX 77512
            of the debtor’s interest       04/07/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL
            State what the contract or     Change Order to Statement of Work
                                                                                   ATTN: CONTRACTS DEPARTMENT
            lease is for and the nature    Dated 01/05/2016
2.938                                                                              THREE WORLD FINANCIAL CENTER
            of the debtor’s interest
                                                                                   200 VESEY STREET
                                                                                   NEW YORK, NY 10825
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL
            State what the contract or     Addendum Dated 01/31/2017
                                                                                   ATTN: CONTRACTS DEPARTMENT
            lease is for and the nature
2.939                                                                              THREE WORLD FINANCIAL CENTER
            of the debtor’s interest
                                                                                   200 VESEY STREET
                                                                                   NEW YORK, NY 10825
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL
            State what the contract or     Business Travel Services Agreement
                                                                                   ATTN: CONTRACTS DEPARTMENT
            lease is for and the nature    Dated 06/19/2015
2.940                                                                              THREE WORLD FINANCIAL CENTER
            of the debtor’s interest
                                                                                   200 VESEY STREET
                                                                                   NEW YORK, NY 10825
            State the term remaining       Undetermined
            List the contract number of
            any government contract

                                           Change Order to the Statement of Work
                                                                                   GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL
            State what the contract or
                                           and/or U.S. Business Travel Services    ATTN: CONTRACTS DEPARTMENT
            lease is for and the nature
2.941                                      Agreement Dated 12/02/2015              THREE WORLD FINANCIAL CENTER
            of the debtor’s interest
                                                                                   200 VESEY STREET
                                                                                   NEW YORK, NY 10825
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL
            State what the contract or     Mutual Confidentiality and Non-
                                                                                   ATTN: CONTRACTS DEPARTMENT
            lease is for and the nature    Disclosure Agreement Dated
2.942                                                                              THREE WORLD FINANCIAL CENTER
            of the debtor’s interest       08/28/2014
                                                                                   200 VESEY STREET
                                                                                   NEW YORK, NY 10825
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   GBT US, LLC (D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL)
            State what the contract or     Work Services Agreement Dated
                                                                                   ATTN: CORPORATE CARD UNIT
            lease is for and the nature    05/13/2015
2.943                                                                              20022 NORTH 31ST AVENUE
            of the debtor’s interest
                                                                                   PHOENIX, AZ 85027


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                GBT US, LLC D/B/A AMERICAN EXPRESS GLOBAL BUSINESS TRAVEL (GBT)
            State what the contract or     Business Travel Services Agreement
                                                                                ATTN: GENERAL COUNSEL'S OFFICE
            lease is for and the nature    Dated 05/18/2015
2.944                                                                           7 TIMES SQUARE
            of the debtor’s interest
                                                                                44TH FLOOR
                                                                                NEW YORK, NY 10036
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GENERAL MOTORS COMPANY
            State what the contract or     Competitive Assistance Program -
                                                                                29803 EDGEWATER DRIVE
            lease is for and the nature    2017 Dated 12/05/2016
2.945                                                                           MAGNOLIA, TX 77354
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GEOMETRIX DATA SYSTEMS, INC.
            State what the contract or     Support and Maintenance Agreement
                                                                                SUITE 301, 780 KINGS ROAD
            lease is for and the nature    - Invoice Dated 01/01/2016
2.946                                                                           VICTORIA, BC V8T 5A2
            of the debtor’s interest
                                                                                CANADA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GOOGLE, INC.
            State what the contract or     License Agreement Dated 07/11/2017
                                                                                1600 AMPHITHEATRE PARKWAY
            lease is for and the nature
2.947                                                                           MOUNTAIN VIEW, CA 94043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GRACENOTE, INC.
            State what the contract or     License Agreement Dated 09/29/2010
                                                                                2000 POWELL STREET
            lease is for and the nature
2.948                                                                           SUITE 1380
            of the debtor’s interest
                                                                                EMERYVILLE, CA 94608


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GRAMERCY CONSULTANTS LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                989 AVENUE OF THE AMERICANS
            lease is for and the nature    04/04/2017
2.949                                                                           18TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10018


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                GRAMERCY CONSULTANTS, LLC
            State what the contract or     Professional Services Agreement
                                                                                989 SIXTH AVENUE
            lease is for and the nature    Dated 06/23/2017
2.950                                                                           18TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10018


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 GSE CONSULTING, LP
            State what the contract or     Energy Services Agreement Dated
                                                                                 ATTN: BRIAN DAFFERNER
            lease is for and the nature    07/10/2009
2.951                                                                            1225 NORTH LOOP W.
            of the debtor’s interest
                                                                                 SUITE 1100
                                                                                 HOUSTON, TX 77008
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 GTT COMMUNICATIONS, INC.
            State what the contract or     Service Order Form Dated 09/22/2016
                                                                                 7900 TYSONS ONE PLACE
            lease is for and the nature
2.952                                                                            SUITE 1450
            of the debtor’s interest
                                                                                 MCLEAN , VA 22102


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 HCL AMERICA, INC.
            State what the contract or     Mutual Confidentiality Agreement
                                                                                 330 POTRERO AVENUE
            lease is for and the nature    Dated 10/26/2012
2.953                                                                            SUNNYVALE, CA 94085
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 HCL AMERICA, INC.
            State what the contract or     Mutual Confidentiality Agreement
                                                                                 330 POTRERO AVENUE
            lease is for and the nature    Dated 10/26/2012
2.954                                                                            SUNNYVALE, CA 94085
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 HERMAN MILLER, INC.
            State what the contract or     Facility Purchasing Agreement Dated
                                                                                 ATTN: CONTRACTS MANAGER
            lease is for and the nature    01/22/2013
2.955                                                                            LOCATION 0111
            of the debtor’s interest
                                                                                 855 E. MAIN AVE.
                                                                                 ZEELAND, MI 49464
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 HEWITT ASSOCIATES LLC
            State what the contract or     Administrative Services Agreement
                                                                                 ATTN: GENERAL COUNSEL
            lease is for and the nature    Dated 08/27/2012
2.956                                                                            100 HALF DAY RD.
            of the debtor’s interest
                                                                                 LINCOLNSHIRE, IL 60069


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 HITACHI CONSULTING CORPORATION
            State what the contract or     Master Consulting Agreement Dated
                                                                                 ATTN: BRIAN HICKERSON
            lease is for and the nature    08/01/2005
2.957                                                                            1950 STEMMONS FRWY.
            of the debtor’s interest
                                                                                 SUITE 6053
                                                                                 DALLAS, TX 75207
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                HITACHI CONSULTING CORPORATION
            State what the contract or     Change Order No. 2 to Statement of
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    Work Dated 09/05/2014
2.958                                                                           123 N. WACKER DRIVE.
            of the debtor’s interest
                                                                                SUITE 1200
                                                                                CHICAGO, IL 60606
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                HITACHI CONSULTING CORPORATION
            State what the contract or     Statement of Work Dated 04/07/2014
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature
2.959                                                                           123 N. WACKER DRIVE.
            of the debtor’s interest
                                                                                SUITE 1200
                                                                                CHICAGO, IL 60606
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                HITACHI CONSULTING CORPORATION
            State what the contract or     Change Order No. 1 to Statement of
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    Work Dated 07/10/2014
2.960                                                                           123 N. WACKER DRIVE.
            of the debtor’s interest
                                                                                SUITE 1200
                                                                                CHICAGO, IL 60606
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                HORTONWORKS, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: LEGAL DEPARTMENT
            lease is for and the nature    06/08/2015
2.961                                                                           5470 GREAT AMERICA PARKWAY
            of the debtor’s interest
                                                                                SANTA CLARA, CA 95054


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                HORTONWORKS, INC.
            State what the contract or     License Agreement - PO Exception
                                                                                5470 GREAT AMERICA PARKWAY
            lease is for and the nature    Form Dated 01/03/2017
2.962                                                                           SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                IASTA, INC.
            State what the contract or     Master License and Services
                                                                                12800 N. MERIDIAN ST.
            lease is for and the nature    Agreement Dated 04/01/2010
2.963                                                                           SUITE 425
            of the debtor’s interest
                                                                                CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                IASTA, INC.
            State what the contract or     First Amendment to Master License
                                                                                12800 N. MERIDIAN STREET
            lease is for and the nature    and Services Agreement Dated
2.964                                                                           SUITE 425
            of the debtor’s interest       09/01/2012
                                                                                CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               IASTA, INC.
            State what the contract or     Second Amendment to Master
                                                                               12800 NORTH MERIDIAN STREET
            lease is for and the nature    License and Services Agreement
2.965                                                                          SUITE 425
            of the debtor’s interest       Dated 03/28/2013
                                                                               CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IASTA, INC.
            State what the contract or     First Amendment to Master License
                                                                               12800 NORTH MERIDIAN STREET
            lease is for and the nature    and Services Agreement Dated
2.966                                                                          SUITE 425
            of the debtor’s interest       09/11/2012
                                                                               CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IASTA, INC.
            State what the contract or     Second Amendment to Master
                                                                               12800 N. MERIDIAN ST.
            lease is for and the nature    License and Services Agreement
2.967                                                                          SUITE 425
            of the debtor’s interest       Dated 03/28/2013
                                                                               CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IBM
            State what the contract or     License Agreement - Support
                                                                               1177 S. BELTLINE ROAD
            lease is for and the nature    Extension Dated 05/01/2017
2.968                                                                          COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IBM
            State what the contract or     License Agreement - Support
                                                                               1177 S. BELTLINE ROAD
            lease is for and the nature    Extension Dated 05/01/2017
2.969                                                                          COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IBM
            State what the contract or     Attachment for Service Extension
                                                                               ATTN: DEANDRA DURAHM
            lease is for and the nature    Support Dated 04/27/2017
2.970                                                                          1177 S. BELTLINE ROAD
            of the debtor’s interest
                                                                               COPPELL, TX 75019


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IBX GROUP AB
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.971
            of the debtor’s interest       11/30/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               ICERTIS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               14711 NE 29TH PLACE
            lease is for and the nature    04/06/2017
2.972                                                                          SUITE 100
            of the debtor’s interest
                                                                               BELLEVUE , WA 98007


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IGENTA INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               317 GEORGE STREET
            lease is for and the nature    10/27/2017
2.973                                                                          NEW BRUNSWICK, NJ 08901
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IMAGINE COMMUNICATIONS CORP
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               3001 DALLAS PARKWAY
            lease is for and the nature    05/03/2017
2.974                                                                          SUITE 300
            of the debtor’s interest
                                                                               FRISCO, TX 75034


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               IMFORMATICA LLC
            State what the contract or     License Agreement - Invoice Dated
                                                                               2100 SEAPORT BLVD.
            lease is for and the nature    04/01/2016
2.975                                                                          REDWOOD CITY, CA 94063
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INFORMATICA LLC
            State what the contract or     License Agreement - Invoice Dated
                                                                               2100 SEAPORT BLVD.
            lease is for and the nature    01/01/2017
2.976                                                                          REDWOOD CITY, CA 94063
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INFORMATICA LLC
            State what the contract or     License Agreement - Invoice Dated
                                                                               2100 SEAPORT BLVD.
            lease is for and the nature    06/01/2016
2.977                                                                          REDWOOD CITY, CA 94063
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INFORMATICA LLC
            State what the contract or     License Agreement - Invoice Dated
                                                                               2100 SEAPORT BLVD.
            lease is for and the nature    01/01/2016
2.978                                                                          REDWOOD CITY, CA 94063
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                INFORMATICA LLC
            State what the contract or     License Agreement - Invoice Dated
                                                                                2100 SEAPORT BLVD.
            lease is for and the nature    03/01/2017
2.979                                                                           REDWOOD CITY, CA 94063
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFORMATICA, LLC
            State what the contract or     Maintenance Agreement - Invoice
                                                                                PO BOX 49085
            lease is for and the nature    Dated 05/19/2016
2.980                                                                           SAN JOSE, CA 95161-9085
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFORMATICA, LLC
            State what the contract or     License Agreement - Invoice Dated
                                                                                PO BOX 49085
            lease is for and the nature    04/01/2017
2.981                                                                           SAN JOSE, CA 95161-9085
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS LIMITED
            State what the contract or     Mutual Confidentiality Agreement
                                                                                6100 TENNYSON PARKWAY
            lease is for and the nature    Dated 03/12/2012
2.982                                                                           PLANO, TX 75024
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS LIMITED
            State what the contract or     Statement of Work/Service Order
                                                                                ELECTRONIC CITY HOSUR ROAD
            lease is for and the nature    Dated 01/16/2012
2.983                                                                           BANGALORE 560100
            of the debtor’s interest
                                                                                INDIA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS LIMITED
            State what the contract or     Statement of Work Dated 01/16/2012
                                                                                ELECTRONIC CITY HOSUR ROAD
            lease is for and the nature
2.984                                                                           BANGALORE 560100
            of the debtor’s interest
                                                                                INDIA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS LIMITED
            State what the contract or     Work Order Dated 11/14/2011
                                                                                6100 TENNYSON PARKWAY
            lease is for and the nature
2.985                                                                           SUITE 200
            of the debtor’s interest
                                                                                PLANO , TX 75024


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                INFOSYS LIMITED
            State what the contract or     Statement of Work Dated 01/16/2012
                                                                                ELECTRONIC CITY HOSUR ROAD
            lease is for and the nature
2.986                                                                           BANGALORE 560100
            of the debtor’s interest
                                                                                INDIA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS LIMITED
            State what the contract or     Mutual Confidentiality Agreement
                                                                                6100 TENNYSON PARKWAY
            lease is for and the nature    Dated 03/12/2012
2.987                                                                           PLANO, TX 75024
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or     Statement of Work Dated 01/16/2012
                                                                                BUILDING 10 3000
            lease is for and the nature
2.988                                                                           LONGDONG AVENUE
            of the debtor’s interest
                                                                                SHANGHAI 201203
                                                                                CHINA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or     Statement of Work Dated 01/16/2012
                                                                                BUILDING 10
            lease is for and the nature
2.989                                                                           3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                                SHANGHAI 201203
                                                                                CHINA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or     Statement of Work/Service Order
                                                                                BUILDING 10 3000 LONGDONG AVENUE
            lease is for and the nature    Dated 01/16/2012
2.990                                                                           SHANGHAI 201203
            of the debtor’s interest
                                                                                CHINA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or     Statement of Work Dated 01/16/2012
                                                                                ROOM 401 & 501
            lease is for and the nature
2.991                                                                           BUILDING 5
            of the debtor’s interest
                                                                                NO. 555
                                                                                DONGCHUAN ROAD, MINHANG DISTRICT
                                                                                SHANGHAI 200241
            State the term remaining       Undetermined                         CHINA
            List the contract number of
            any government contract
                                                                                INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or     Statement of Work Dated 01/16/2012
                                                                                ROOM 401 & 501
            lease is for and the nature
2.992                                                                           BUILDING 5
            of the debtor’s interest
                                                                                NO. 555
                                                                                DONGCHUAN ROAD
                                                                                MINHANG DISTRICT
            State the term remaining       Undetermined                         SHANGHAI 200241
            List the contract number of                                         CHINA
            any government contract




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              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or     Statement of Work/Service Order
                                                                               ROOM 401&501,
            lease is for and the nature    Dated 01/16/2012
2.993                                                                          BUILDING 5,
            of the debtor’s interest
                                                                               NO. 555,
                                                                               DONGCHUAN ROAD,
                                                                               MINHANG DISTRICT,
            State the term remaining       Undetermined                        SHANGHAI 200241
            List the contract number of                                        CHINA
            any government contract
                                                                               INNOVA SOLUTIONS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               3211 SCOTT BOULEVARD
            lease is for and the nature    02/13/2017
2.994                                                                          SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INSIGHT SOURCING GROUP, INC.
            State what the contract or     Scope of Work #2 Dated 09/07/2016
                                                                               5555 TRIANGLE PARKWAY
            lease is for and the nature
2.995                                                                          SUITE 300
            of the debtor’s interest
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INSIGHT SOURCING GROUP, INC.
            State what the contract or     Scope of Work #1 Dated 09/07/2016
                                                                               5555 TRIANGLE PARKWAY
            lease is for and the nature
2.996                                                                          SUITE 300
            of the debtor’s interest
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INSIGHT SOURCING GROUP, LLC
            State what the contract or     Spend Assessment and Strategic
                                                                               5555 TRIANGLE PARKWAY
            lease is for and the nature    Sourcing Services Agreement Dated
2.997                                                                          SUITE 300
            of the debtor’s interest       09/07/2016
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INSIGHT SOURCING GROUP, LLC
            State what the contract or     Spend Assessment and Strategic
                                                                               555 TRIANGLE PARKWAY
            lease is for and the nature    Sourcing Services Agreement Dated
2.998                                                                          SUITE 300
            of the debtor’s interest       09/07/2016
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               INSIGHT SOURCING GROUP, LLC
            State what the contract or     Spend Assessment and Strategic
                                                                               5555 TRIANGLE PARKWAY
            lease is for and the nature    Sourcing Services Agreement Dated
2.999                                                                          SUITE 300
            of the debtor’s interest       07/13/2016
                                                                               NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                INSIGHTSQUARED INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                4 COPLEY PLACE
            lease is for and the nature    11/08/2017
2.1000                                                                          4TH FLOOR
            of the debtor’s interest
                                                                                BOSTON, MA 02116


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS
            State what the contract or     Contract Extension Letter Dated
                                                                                ATTN: BUSINESS MANAGER
            lease is for and the nature    03/12/2012
2.1001                                                                          LOCAL 474
            of the debtor’s interest
                                                                                1870 MADISON AVE.
                                                                                MEMPHIS, TN 38104
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS
            State what the contract or     Contract Extension Letter Dated
                                                                                LOCAL UNION 474
            lease is for and the nature    03/08/2012
2.1002                                                                          ATTN: BUSINESS MANAGER
            of the debtor’s interest
                                                                                1870 MADISON AVE.
                                                                                MEMPHIS, TN 38104
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINE CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                                PO BOX 676673
            lease is for and the nature    05/01/2016
2.1003                                                                          DALLAS, TX 75267-6673
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or     License Agreement - Quote Dated
                                                                                PO BOX 643600
            lease is for and the nature    10/12/2017
2.1004                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or     Addendum Dated 04/01/2013
                                                                                PO BOX 643600
            lease is for and the nature
2.1005                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or     Statement of Work Dated 09/01/2015
                                                                                PO BOX 643600
            lease is for and the nature
2.1006                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or     Project Change Request Dated
                                                                                PO BOX 643600
            lease is for and the nature    09/12/2016
2.1007                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or     License Agreement - Proof of
                                                                                PO BOX 643600
            lease is for and the nature    Entitlement Dated 05/26/2017
2.1008                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or     Statement of Work Dated 08/05/2016
                                                                                PO BOX 643600
            lease is for and the nature
2.1009                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORPORATION
            State what the contract or     Quote Dated 05/01/2017
                                                                                ATTN: HOWARD A. BRUSKIN
            lease is for and the nature
2.1010                                                                          PO BOX 643600
            of the debtor’s interest
                                                                                PITTSBURGH, PA 15264-3600


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORPORATION
            State what the contract or     Firm Order for Quote Dated
                                                                                ATTN: RAK MISTRY
            lease is for and the nature    07/29/2015
2.1011                                                                          NA SALES LEADER, SALES PERFORMANCE MANAGEMENT
            of the debtor’s interest
                                                                                11501 BURNET ROAD
                                                                                AUSTIN , TX 78758
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORPORATION
            State what the contract or     Order Management Dated
                                                                                PO BOX 643600
            lease is for and the nature    04/28/2017
2.1012                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                INTERNATIONAL BUSINESS MACHINES CORPORATION
            State what the contract or     Firm Order Letter Dated 10/11/2017
                                                                                PO BOX 643600
            lease is for and the nature
2.1013                                                                          PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             INTRUSION INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                             1101 EAST ARAPAHO ROAD
            lease is for and the nature    08/01/2017
2.1014                                                                       SUITE 200
            of the debtor’s interest
                                                                             RICHARDSON, TX 75081


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             IPASS INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1015
            of the debtor’s interest       06/22/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             ISG INFORMATION SERVICES GROUP AMERICAS, INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1016
            of the debtor’s interest       02/02/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             JTP & ASSOCIATES, INC.
            State what the contract or     Mutual Confidentiality and Non-
                                                                             PO BOX 522307
            lease is for and the nature    Disclosure Agreement Dated
2.1017                                                                       SALT LAKE CITY, UT 84152-2307
            of the debtor’s interest       07/22/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             KENNA SECURITY INC.
            State what the contract or     Non-Disclosure Agreement
                                                                             560 MISSION STREET
            lease is for and the nature
2.1018                                                                       SAN FRANCISCO, CA 94105
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             KFORCE INC.
            State what the contract or     Master Service Agreement Dated
                                                                             1777 NE INTERSTATE 410 OR
            lease is for and the nature    11/22/2013
2.1019                                                                       9601N MCALLISTER FWY #913
            of the debtor’s interest
                                                                             SAN ANTONIO , TX


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             KNOWBE4 INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                             33 NORTH GARDEN AVENUE
            lease is for and the nature    10/27/2017
2.1020                                                                       SUITE 1200
            of the debtor’s interest
                                                                             CLEARWATER, FL 33755


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 KNOWBE4, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: LARS LETONOFF, CHIEF REVENUE OFFICER
            lease is for and the nature    11/01/2017
2.1021                                                                           33 N. GARDEN AVENUE
            of the debtor’s interest
                                                                                 SUITE 1200
                                                                                 CLEARWATER , FL 33755
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 KNOWBE4, INC.
            State what the contract or     Master Agreement Dated 11/03/2017
                                                                                 ATTN: LEGAL
            lease is for and the nature
2.1022                                                                           33 N. GARDEN AVE., SUITE 1200
            of the debtor’s interest
                                                                                 CLEARWATER, FL 33755


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 KONINKLIJKE LUCHTVAART MAATSCHAPPIJ N.V.
            State what the contract or     Corporate Incentive Agreement Dated
                                                                                 AMSTERDAMSEWEG 55
            lease is for and the nature    03/01/2014
2.1023                                                                           1182GP AMSTELVEEN
            of the debtor’s interest
                                                                                 NETHERLANDS


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 KONINKLIJKE LUCHTVAART MAATSCHAPPIJ N.V. (KLM ROYAL DUTCH
            State what the contract or     Amendment to the Corporate
                                                                                 AIRLINES)
            lease is for and the nature    Agreement. Dated 01/15/2016
2.1024                                                                           AMSTERDAMSEWEG 55
            of the debtor’s interest
                                                                                 AMSTELVEEN
                                                                                 NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LAYER 7 TECHNOLOGIES, INC.
            State what the contract or     Master Purchase and License
                                                                                 1100 MELVILLE STREET, SUITE 405
            lease is for and the nature    Agreement Dated 05/30/2013
2.1025                                                                           VANCOUVER, BC V6E 4A6
            of the debtor’s interest
                                                                                 CANADA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LEVEL 3 COMMUNICATIONS, LLC
            State what the contract or     Master Service Agreement Dated
                                                                                 ATTN: GENERAL COUNSEL
            lease is for and the nature    01/30/2014
2.1026                                                                           1025 ELDORADO BLVD.
            of the debtor’s interest
                                                                                 BROOMFIELD, CO 80021


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LEVEL 3 COMMUNICATIONS, LLC
            State what the contract or     Master Service Agreement Dated
                                                                                 ATTN: GENERAL COUNSEL
            lease is for and the nature    02/23/2016
2.1027                                                                           1025 ELDORADO BLVD.
            of the debtor’s interest
                                                                                 BROOMFIELD, CO 80021


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom
                                                                                    the debtor has an executory contract or unexpired lease

                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Utility Deposit Bond, Rider & Power of
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature    Attorney Dated 12/18/2009
2.1028                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Sales Confirmation Fixed Price
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature    Product Dated 12/02/2009
2.1029                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Sales Confirmation Dated 06/27/2012
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature
2.1030                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Master Sales Agreement & Sales
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature    Confirmation Fixed Price Product
2.1031                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest       Dated 11/13/2009
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Sales Confirmation Fixed Price
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature    Product Dated 11/23/2009
2.1032                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Sale Confirmation Fixed Price Product
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature    Dated 03/01/2010
2.1033                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                    LIBERTY POWER HOLDINGS
            State what the contract or     Sales Confirmation Fixed Price
                                                                                    ATTN: ALBERTO DAIRE
            lease is for and the nature    Product Dated 05/05/2010
2.1034                                                                              1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                    SUITE 600
                                                                                    FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 LIBERTY POWER HOLDINGS
            State what the contract or     Sales Confirmation Fixed Price
                                                                                 ATTN: ALBERTO DAIRE
            lease is for and the nature    Product Dated 05/05/2010
2.1035                                                                           1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                 SUITE 600
                                                                                 FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LIBERTY POWER HOLDINGS
            State what the contract or     Sales Confirmation Dated 06/27/2012
                                                                                 ATTN: ALBERTO DAIRE
            lease is for and the nature
2.1036                                                                           1901 W. CYPRESS CREEK RD.
            of the debtor’s interest
                                                                                 SUITE 600
                                                                                 FT. LAUDERDALE, FL 33309
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LINK SYSTEMS, INC.
            State what the contract or     ProLease Real Estate Management
                                                                                 ONE DOCK STREET
            lease is for and the nature    Software Contract Dated 06/30/2009
2.1037                                                                           STAMFORD, CT 06902
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LINK SYSTEMS, INC.
            State what the contract or     Amendment #1 for ProLease Real
                                                                                 ONE DOCK STREET
            lease is for and the nature    Estate Management Software Dated
2.1038                                                                           STAMFORD, CT 06902
            of the debtor’s interest       08/19/2009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LINK SYSTEMS, INC.
            State what the contract or     Amendment #1 Dated 08/19/2009
                                                                                 ONE DOCK STREET
            lease is for and the nature
2.1039                                                                           STAMFORD, CT 06902
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LINK SYSTEMS, INC.
            State what the contract or     Software Contract Dated 06/30/2009
                                                                                 ONE DOCK STREET
            lease is for and the nature
2.1040                                                                           STAMFORD, CT 06902
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 LOGOGRAB LIMITED
            State what the contract or     Form of Statement of Work Dated
                                                                                 ATTN: LUCA BOSCHIN
            lease is for and the nature    08/01/2017
2.1041                                                                           37 BLACKBURNE SQUARE
            of the debtor’s interest
                                                                                 RATHFARNHAM GATE
                                                                                 RATHFARNHAM, DUBLIN 14 D14 AY88
                                                                                 IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 LOGOGRAB LIMITED
            State what the contract or     Master Services Agreement Dated
                                                                                 ATTN: LUCA BOSCHIN
            lease is for and the nature    08/01/2017
2.1042                                                                           37 BLACKBURNE SQUARE
            of the debtor’s interest
                                                                                 RATHFARNHAM GATE
                                                                                 RATHFARNHAM, DUBLIN 14 D14 AY88
                                                                                 IRELAND (EIRE)
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MADRONA SOLUTIONS GROUP, INC.
            State what the contract or     Change Order No. 001 Dated
                                                                                 119 1ST AVENUE SOUTH, STE 400
            lease is for and the nature    09/17/2012
2.1043                                                                           SEATTLE, WA 98104
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MADRONA SOLUTIONS GROUP, INC.
            State what the contract or     Change Order No. 002 - Exhibit B
                                                                                 119 1ST AVENUE SOUTH, STE 400
            lease is for and the nature    Dated 10/11/2012
2.1044                                                                           SEATTLE, WA 98104
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MADRONA SOLUTIONS GROUP, INC.
            State what the contract or     Statement of Work - Exhibit A Dated
                                                                                 119 1ST AVENUE SOUTH, STE 400
            lease is for and the nature    08/28/2012
2.1045                                                                           SEATTLE, WA 98104
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MADRONA SOLUTIONS GROUP, INC.
            State what the contract or     Master Service Agreement Dated
                                                                                 119 1ST AVENUE SOUTH, STE 400
            lease is for and the nature    08/28/2012
2.1046                                                                           SEATTLE, WA 98104
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MAGNETICONE COMPANY
            State what the contract or     Migration Service Agreement Dated
            lease is for and the nature    07/29/2016
2.1047
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MAGNETICONE COMPANY
            State what the contract or     Migration Service Agreement Dated
            lease is for and the nature    07/29/2016
2.1048
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 MAGNETICONE COMPANY
            State what the contract or     Migration Service Agreement Dated
            lease is for and the nature    07/29/2016
2.1049
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MAGNITUDE SOFTWARE, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: KEVIN MISCHNICK
            lease is for and the nature    04/27/2017
2.1050                                                                           SVP- FINANCE & ACCOUNTING
            of the debtor’s interest
                                                                                 515 CONGRESS AVENUE
                                                                                 SUITE 1510
                                                                                 AUSTIN, TX 78701
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MARTECH MANAGEMENT GROUP, INC.
            State what the contract or     Email with a Statement of Work
                                                                                 ATTN: JASON LOGSDON, PRESIDENT
            lease is for and the nature    attached Dated 01/26/2015
2.1051                                                                           13731 SE 172 STREET
            of the debtor’s interest
                                                                                 RENTON, WA 98058


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MARTECH MANAGEMENT GROUP, INC.
            State what the contract or     Statement of Work Dated 01/23/2013
                                                                                 ATTN: JASON LOGSDON, PRESIDENT
            lease is for and the nature
2.1052                                                                           13731 SE 172 STREET
            of the debtor’s interest
                                                                                 RENTON, WA 98058


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MARTECH MANAGEMENT GROUP, INC.
            State what the contract or     Change Order No. 2 Dated
                                                                                 ATTN: JASON LOGSDON, PRESIDENT
            lease is for and the nature    01/27/2016
2.1053                                                                           13731 SE 172 STREET
            of the debtor’s interest
                                                                                 RENTON, WA 98058


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MARTECH MANAGEMENT GROUP, INC.
            State what the contract or     Change order No. 1 Dated 01/25/2014
                                                                                 ATTN: JASON LOGSDON, PRESIDENT
            lease is for and the nature
2.1054                                                                           13731 SE 172 STREET
            of the debtor’s interest
                                                                                 RENTON, WA 98058


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 MARTECH MANAGEMENT GROUP, INC.
            State what the contract or     Master Service Agreement Dated
                                                                                 ATTN: JASON LOGSDON, PRESIDENT
            lease is for and the nature    10/21/2016
2.1055                                                                           13731 SE 172 STREET
            of the debtor’s interest
                                                                                 RENTON, WA 98058


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                 Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom
                                                                                     the debtor has an executory contract or unexpired lease

                                                                                     MATISIA CONSULTANT COMPANY
            State what the contract or     Change Order to the Statement of
                                                                                     ATTN: JOEY DELOVINO
            lease is for and the nature    Work Dated 06/20/2014
2.1056                                                                               3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                     SEATTLE, WA 98121


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MCGRIFF SEIBELS & WILLIAMS INC
            State what the contract or     Confirmation of Coverage: Aircraft Hull
                                                                                     3023 80TH AVE SE STE 300
            lease is for and the nature    & Liability Policy Dated 11/01/2017
2.1057                                                                               MERCER ISLAND, WA 98040
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MCLIFF COFFEE + VENDING
            State what the contract or     Service Agreement - Attachment B
                                                                                     5807 RITTIMAN PLAZA #103
            lease is for and the nature    Dated 10/23/2017
2.1058                                                                               SAN ANTONIO, TX 78218
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MCLIFF COFFEE + VENDING
            State what the contract or     Service Agreement - MiMart Dated
                                                                                     5807 RITTIMAN PLAZA #103
            lease is for and the nature    10/23/2017
2.1059                                                                               SAN ANTONIO, TX 78218
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MCLIFF COFFEE + VENDING
            State what the contract or     Service Agreement - Attachment A
                                                                                     5807 RITTIMAN PLAZA #103
            lease is for and the nature    Dated 10/23/2017
2.1060                                                                               SAN ANTONIO, TX 78218
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MICELLO
            State what the contract or     Product Order Dated 11/01/2016
            lease is for and the nature
2.1061
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                                     1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    02/01/2015
2.1062                                                                               DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    05/01/2015
2.1063                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Program
                                                                               DEPT. 551, VOLUME LICENSING
            lease is for and the nature    Signature Form Dated 08/22/2016
2.1064                                                                         6100 NEIL ROAD, SUITE 210
            of the debtor’s interest
                                                                               RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    02/01/2015
2.1065                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     Volume Licensing - Program
                                                                               DEPT. 551, VOLUME LICENSING
            lease is for and the nature    Signature Form and Amendment
2.1066                                                                         6100 NEIL ROAD, SUITE 210
            of the debtor’s interest       Dated 06/29/2015
                                                                               RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    06/01/2016
2.1067                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    03/31/2016
2.1068                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    12/01/2015
2.1069                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    09/01/2015
2.1070                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    09/01/2016
2.1071                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    06/01/2016
2.1072                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    11/01/2015
2.1073                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               C/O BANK OF AMERICA
            lease is for and the nature    05/01/2015
2.1074                                                                         1950 N STEMMONS FWY STE 5010 LB #842467
            of the debtor’s interest
                                                                               DALLAS, TX 75207


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    05/01/2015
2.1075                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     Volume Licensing - Customer Price
                                                                               1950 N. STEMMONS FWY STE 5010
            lease is for and the nature    Sheet - Final Pricing Dated
2.1076                                                                         DALLAS, TX 75207
            of the debtor’s interest       05/28/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY STE 5010
            lease is for and the nature    06/01/2015
2.1077                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Enrollment
                                                                               1950 N. STEMMONS FWY STE 5010
            lease is for and the nature    Summary Dated 02/01/2016
2.1078                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    02/01/2016
2.1079                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    06/01/2016
2.1080                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     Volume Licensing - Previous
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    Enrollment(s)/Agreement(s) Form
2.1081                                                                         DALLAS, TX 75207
            of the debtor’s interest       Dated 05/01/2009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    03/01/2016
2.1082                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORP.
            State what the contract or     Transaction Tax Terms and
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    Conditions - Establishes delivery
2.1083                                                                         DALLAS, TX 75207
            of the debtor’s interest       method


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               MICROSOFT CORP.
            State what the contract or     License Agreement - Invoice Dated
                                                                               1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature    09/01/2016
2.1084                                                                         DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORPORATION
            State what the contract or     Microsoft Volume Licensing
                                                                               ONE MICROSOFT WAY
            lease is for and the nature    #68519659
2.1085                                                                         REDMOND, WA 98052
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORPORATION
            State what the contract or     Program Signature Form Dated
                                                                               ATTN: DEPT 551, VOLUME LICENSING
            lease is for and the nature    06/01/2015
2.1086                                                                         6100 NEIL ROAD, SUITE 210
            of the debtor’s interest
                                                                               RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT CORPORATION
            State what the contract or     Volume Licensing - Program
                                                                               DEPARTMENT 551, VOLUME LICENSING
            lease is for and the nature    Signature Form and Amendment
2.1087                                                                         6100 NEIL ROAD,
            of the debtor’s interest       Dated 06/29/2015
                                                                               SUITE 210
                                                                               RENO, NV 89511-1137
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT LICENSING, GP
            State what the contract or     Volume Licensing/Enterprise
                                                                               DEPT. 551, VOLUME LICENSING
            lease is for and the nature    Agreement Dated 05/31/2012
2.1088                                                                         6100 NEIL ROAD, SUITE 210
            of the debtor’s interest
                                                                               RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT LICENSING, GP
            State what the contract or     Volume Licensing Dated 05/31/2012
                                                                               DEPT. 551, VOLUME LICENSING
            lease is for and the nature
2.1089                                                                         6100 NEIL ROAD, SUITE 210
            of the debtor’s interest
                                                                               RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               MICROSOFT LICENSING, GP
            State what the contract or     License Transfer Form Dated
                                                                               DEPT. 551, VOLUME LICENSING
            lease is for and the nature    06/30/2008
2.1090                                                                         6100 NEIL ROAD, SUITE 210
            of the debtor’s interest
                                                                               RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                MICROSOFT LICENSING, GP
            State what the contract or     License Transfer Form Dated
                                                                                DEPT. 551, VOLUM LICENSING
            lease is for and the nature    06/30/2008
2.1091                                                                          6100 NEIL ROAD, SUITE 210
            of the debtor’s interest
                                                                                RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MICROSOFT LICENSING, GP
            State what the contract or     Volume Licensing/Previous
                                                                                DEPT. 551, VOLUME LICENSING
            lease is for and the nature    Enrollment(s)/Agreement(s) Form
2.1092                                                                          6100 NEIL ROAD, SUITE 210
            of the debtor’s interest       Dated 06/01/2012
                                                                                RENO, NV 89511-1137


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MICROTEK
            State what the contract or     Statement of Work Dated 06/19/2013
                                                                                222 N SEPULVEDA BLVD
            lease is for and the nature
2.1093                                                                          SUITE 1240
            of the debtor’s interest
                                                                                EL SEGUNDO, CA 90245-4319


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MID VENTURES, INC. DBA MICROTEK
            State what the contract or     Master Service Agreement Dated
                                                                                2001 BUTTERFIELD ROAD
            lease is for and the nature    05/28/2013
2.1094                                                                          SUITE 1500
            of the debtor’s interest
                                                                                DOWNERS GROVE, IL 60515


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MILLER HEIMANN
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    disclosure Agreement Dated
2.1095
            of the debtor’s interest       11/20/2012


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MJC CONSULTING GROUP
            State what the contract or     Change Order #1 Dated 06/26/2015
                                                                                726 ROUTE 202 SOUTH
            lease is for and the nature
2.1096                                                                          SUITE 320-133
            of the debtor’s interest
                                                                                BRIDGEWATER, NJ 08807


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MJC CONSULTING GROUP
            State what the contract or     Change Order #1 Dated 06/26/2015
                                                                                726 ROUTE 202 SOUTH
            lease is for and the nature
2.1097                                                                          SUITE 320-133
            of the debtor’s interest
                                                                                BRIDGEWATER, NJ 08807


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                MJC CONSULTING GROUP, LLC
            State what the contract or     Master Service Agreement Dated
                                                                                726 ROUTE 202 SOUTH
            lease is for and the nature    05/06/2015
2.1098                                                                          SUITE 320-133
            of the debtor’s interest
                                                                                BRIDGEWATER, NJ 08807


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MOBIUS PARTNERS
            State what the contract or     Service Agreement - Invoice Dated
                                                                                1711 CITADEL PLAZA
            lease is for and the nature    01/01/2016
2.1099                                                                          SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MOBIUS PARTNERS
            State what the contract or     Service Agreement - Invoice Dated
                                                                                1711 CITADEL PLAZA
            lease is for and the nature    08/21/2015
2.1100                                                                          SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MOBIUS PARTNERS
            State what the contract or     Service Agreement - Invoice Dated
                                                                                1711 CITADEL PLAZA
            lease is for and the nature    03/31/2015
2.1101                                                                          SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Master Service Agreement Dated
                                                                                10001 REUNION PLACE
            lease is for and the nature    09/11/2013
2.1102                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Change order to the Statement of
                                                                                10001 REUNION PLACE
            lease is for and the nature    Work Dated 07/07/2014
2.1103                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Statement of Work Dated 02/05/2015
                                                                                10001 REUNION PLACE
            lease is for and the nature
2.1104                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                MODIS, INC.
            State what the contract or     Statement of Work Dated 02/05/2015
                                                                                10001 REUNION PLACE
            lease is for and the nature
2.1105                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Statement of Work Dated 05/09/2015
                                                                                10001 REUNION PLACE
            lease is for and the nature
2.1106                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Statement of Work Dated 06/04/2014
                                                                                10001 REUNION PLACE
            lease is for and the nature
2.1107                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Statement of work Dated 10/01/2013
                                                                                10001 REUNION PLACE
            lease is for and the nature
2.1108                                                                          STE 170
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MODIS, INC.
            State what the contract or     Change Order No 1 to a previous
                                                                                10001 REUNION PLACE
            lease is for and the nature    statement of work of a consultant
2.1109                                                                          STE 170
            of the debtor’s interest       Dated 12/01/2013
                                                                                SAN ANTONIO, TX 78216


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MR. MASTER, INC.
            State what the contract or     Statement of Work Dated 11/01/2017
                                                                                ATTN: STUART JACOBS
            lease is for and the nature
2.1110                                                                          28720 ROADSIDE DRIVE, SUITE 310
            of the debtor’s interest
                                                                                AGOURA HILLS, CA 91301


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                MR. MASTER, INC.
            State what the contract or     Master Service Agreement Dated
                                                                                ATTN: STUART JACOBS
            lease is for and the nature    10/26/2017
2.1111                                                                          28720 ROADSIDE DRIVE, SUITE 310
            of the debtor’s interest
                                                                                AGOURA HILLS, CA 91301


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                 Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom
                                                                                     the debtor has an executory contract or unexpired lease

                                                                                     MR. MASTER, INC.
            State what the contract or     License and Sales Representation
                                                                                     ATTN: STUART JACOBS
            lease is for and the nature    Agreement Dated 11/01/2017
2.1112                                                                               28720 ROADSIDE DRIVE, SUITE 310
            of the debtor’s interest
                                                                                     AGOURA HILLS, CA 91301


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MULESOFT INC.
            State what the contract or     Non Disclosure Agreement Dated
                                                                                     77 GEARY STREET
            lease is for and the nature    10/17/2016
2.1113                                                                               SUITE 400
            of the debtor’s interest
                                                                                     SAN FRANCISCO, CA 94108


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     MULESOFT, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                     77 GEARY STREET, SUITE 400
            lease is for and the nature    10/18/2016
2.1114                                                                               SAN FRANCISCO, , CA 94108
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     NATIONAL BUREAU OF PROPERTY ADMINISTRATION, INC.
            State what the contract or     Statement of Work Dated 09/26/2017
                                                                                     TWO PRUDENTIAL PLAZA, SUITE 2525
            lease is for and the nature
2.1115                                                                               CHICAGO, IL 60601
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     NATIONAL BUREAU OF PROPERTY ADMINISTRATION, INC.
            State what the contract or     Statement of Work Dated 09/26/2017
                                                                                     TWO PRUDENTIAL PLAZA, SUITE 2525
            lease is for and the nature
2.1116                                                                               CHICAGO, IL 60601
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA.
            State what the contract or     Confirmation of Coverage: Aircraft Hull
                                                                                     CONNELL CORPORATE CENTER I
            lease is for and the nature    & Liability Policy Dated 11/01/2017
2.1117                                                                               100 CONNELL DRIVE, SUITE 2100
            of the debtor’s interest
                                                                                     BERKELEY HEIGHTS, NJ 07922


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                     NAUTEL LIMITED
            State what the contract or     Broadcast Equipment Products &
                                                                                     10089 PEGGY'S COVE ROAD
            lease is for and the nature    Services Agreement Dated
2.1118                                                                               HACKETT'S COVE, NOVA SCOTIA B3Z 3J4
            of the debtor’s interest       04/28/2017
                                                                                     CANADA


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 NAUTEL LIMITED
            State what the contract or     Amendment to Broadcast Equipment
                                                                                 10089 PEGGY'S COVE ROAD
            lease is for and the nature    Products & Services Agreement Dated
2.1119                                                                           HACKETT'S COVE, NOVA SCOTIA B3Z 3J4
            of the debtor’s interest       06/27/2017
                                                                                 CANADA


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NET(NET), INC.
            State what the contract or     Mutual Confidentiality and Non-
                                                                                 217 E 24TH STREET
            lease is for and the nature    Disclosure Agreement Dated
2.1120                                                                           SUITE 010
            of the debtor’s interest       10/30/2015
                                                                                 HOLLAND, MI 49423


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NET(NET), INC.
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                                 217 E 24TH STREET
            lease is for and the nature    Dated 02/08/2011
2.1121                                                                           SUITE 010
            of the debtor’s interest
                                                                                 HOLLAND, MI 49423


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NET(NET), INC.
            State what the contract or     Statement of Work Dated 12/14/2015
                                                                                 217 EAST 24TH STREET
            lease is for and the nature
2.1122                                                                           SUITE 101
            of the debtor’s interest
                                                                                 HOLLAND, MI 49423


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NETSUITE
            State what the contract or     Service Agreement - Invoice Dated
                                                                                 2955 CAMPUS DRIVE
            lease is for and the nature    12/31/2015
2.1123                                                                           SUITE 100
            of the debtor’s interest
                                                                                 SAN MATEO, CA 94403-2511


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NETSUITE INC.
            State what the contract or     Subscription Service Agreement
                                                                                 2955 CAMPUS DRIVE, SUITE 100
            lease is for and the nature    Dated 12/30/2015
2.1124                                                                           SAN MATEO, CA 94403
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 01/01/2015
                                                                                 ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1125                                                                           ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                                 2517 KR
                                                                                 THE HAGUE
                                                                                 NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                         Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 01/01/2015
                                                                             ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1126                                                                       ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                             2517 KR
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 01/01/2015
                                                                             ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1127                                                                       ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                             2517 KR
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 01/01/2015
                                                                             ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1128                                                                       ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                             2517 KR
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 02/01/2017
                                                                             ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1129                                                                       ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                             2517 KR
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 01/01/2015
                                                                             ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1130                                                                       ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                             2517 KR
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Service Order Dated 01/01/2018
                                                                             ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1131                                                                       ROOSEVELTPLANSOEN 4
            of the debtor’s interest
                                                                             2517 KR
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                             NEW SKIES SATELLITES B.V.
            State what the contract or     Master Services Agreement Dated
                                                                             ROOSEVELTPLANTSOEN 4
            lease is for and the nature    11/15/2011
2.1132                                                                       2517 KR
            of the debtor’s interest
                                                                             THE HAGUE
                                                                             NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 NEW SKIES SATELLITES, B.V.
            State what the contract or     Service Order Dated 01/01/2018
                                                                                 ATTN: LEGAL SERVICES, COMMERCIAL
            lease is for and the nature
2.1133                                                                           ROOSEVELTPLANTSOEN 4
            of the debtor’s interest
                                                                                 2517 KR
                                                                                 THE HAGUE
                                                                                 NETHERLANDS
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NEXTERA ENERGY SERVICES MARYLAND, LLC
            State what the contract or     Business Electricity Authorization
                                                                                 20455 STATE HIGHWAY 249
            lease is for and the nature    Dated 01/01/2018
2.1134                                                                           SUITE 200
            of the debtor’s interest
                                                                                 HOUSTON, TX 77070


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NGINX SOFTWARE, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: MARK ELCHINOFF
            lease is for and the nature    07/19/2017
2.1135                                                                           85 FEDERAL STREET
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NIELSEN COMPANY, LLC
            State what the contract or     Amendment Dated 12/01/2008
            lease is for and the nature
2.1136
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NIGEL FRANK INTERNATIONAL INC.
            State what the contract or     Change Order to a statement of work
                                                                                 65 BROADWAY, SUITE 1084
            lease is for and the nature    Dated 06/30/2014
2.1137                                                                           NEW YORK, NY 10006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NIGEL FRANK INTERNATIONAL INC.
            State what the contract or     Mutual Confidentiality and Non-
                                                                                 65 BROADWAY, SUITE 1084
            lease is for and the nature    disclosure Agreement
2.1138                                                                           NEW YORK, NY 10006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NIGEL FRANK INTERNATIONAL INC.
            State what the contract or     Change Order to a Statement of Work
                                                                                 65 BROADWAY, SUITE 1084
            lease is for and the nature    Dated 06/30/2014
2.1139                                                                           NEW YORK, NY 10006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 NIGEL FRANK INTERNATIONAL INC.
            State what the contract or     Agreed Terms of Business for
                                                                                 65 BROADWAY, SUITE 1084
            lease is for and the nature    Contract Recruitment Services Dated
2.1140                                                                           NEW YORK, NY 10006
            of the debtor’s interest       01/30/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NTT CENTERSTANCE
            State what the contract or     Master Services Agreement Dated
                                                                                 ATTN: GREG LUECK
            lease is for and the nature    09/30/2014
2.1141                                                                           514 SW 6TH AVE
            of the debtor’s interest
                                                                                 PORTLAND, OR 97204


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 NUGGET ENTERPRISE, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: JON LINDLEY
            lease is for and the nature    08/11/2017
2.1142                                                                           VICE PRESIDENT
            of the debtor’s interest
                                                                                 5128 SERVICE CENTER DRIVE
                                                                                 SAN ANTONIO, TX 78218
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 OASIS CREATIVE PLANTSCAPES
            State what the contract or     Service Agreement - Termination
                                                                                 23011 MOULTON PARKWAY #I-3
            lease is for and the nature    Dated 10/24/2017
2.1143                                                                           LAGUNA HILLS, CA 92653
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 OCELOTI, INC.
            State what the contract or     SQL Server and BI Consulting Dated
            lease is for and the nature    08/26/2009
2.1144
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 OKTA INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 301 BRANNAN STREET
            lease is for and the nature    12/13/2016
2.1145                                                                           SUITE 100
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 OKTA, INC.
            State what the contract or     License Agreement - SOW Dated
                                                                                 301 BRANNAN STREET, SUITE 100
            lease is for and the nature    11/01/2017
2.1146                                                                           SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 OKTA, INC.
            State what the contract or     License Agreement - Order Form
                                                                                 301 BRANNAN STREET, SUITE 100
            lease is for and the nature    Dated 10/13/2017
2.1147                                                                           SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 OKTA, INC.
            State what the contract or     Master Subscription Agreement Dated
                                                                                 301 BRANNAN STREET, SUITE 100
            lease is for and the nature    09/25/2017
2.1148                                                                           SAN FRANCISCO, CA 94107
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 OKTA, INC.
            State what the contract or     Non-Disclosure Agreement
                                                                                 301 BRANNAN STREET
            lease is for and the nature
2.1149                                                                           SUITE 100
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94107


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ONE SOURCE NETWORK, INC.
            State what the contract or     Order for SIP Voice Services Dated
                                                                                 6200 BRIDGE POINT PARKWAY, BUILDING 4, SUITE 100
            lease is for and the nature    08/23/2011
2.1150                                                                           AUSTIN, TX 78730
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ONE SOURCE NETWORK, INC.
            State what the contract or     Addendum to the Master Service
                                                                                 6200 BRIDGE POINT PARKWAY, BUILDING 4, SUITE 100
            lease is for and the nature    Agreement - Public IP Services
2.1151                                                                           AUSTIN, TX 78730
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ONE SOURCE NETWORK, INC.
            State what the contract or     Amendment to the service agreement
                                                                                 14402 BLANCO ROAD, SUITE 300
            lease is for and the nature    Dated 06/01/2007
2.1152                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 ONE SOURCE NETWORK, INC.
            State what the contract or     Addendum to the Master Service
                                                                                 ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    Agreement - Remote Site Monitoring
2.1153                                                                           110 STONE OAK LOOP, SUITE 104
            of the debtor’s interest       Services Dated 06/01/2007
                                                                                 SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ONE SOURCE NETWORK, INC.
            State what the contract or     Addendum to the Master Service
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    Agreement - Managed Network
2.1154                                                                          6200 BRIDGE POINT PARKWAY, BUILDING 4, SUITE 100
            of the debtor’s interest       Services
                                                                                AUSTIN, TX 78730


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONE SOURCE NETWORK, INC.
            State what the contract or     Addendum to the Master Services
                                                                                6200 BRIDGE POINT PARKWAY, BUILDING4, SUITE 100
            lease is for and the nature    Agreement - Voice Over IP Service
2.1155                                                                          AUSTIN, TX 78730
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONE SOURCE NETWORK, INC.
            State what the contract or     Master Service Agreement
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature
2.1156                                                                          6200 BRIDGE POINT PARKWAY, BUILDING 4, SUITE 100
            of the debtor’s interest
                                                                                AUSTIN, TX 78730


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONE SOURCE NETWORKS INC.
            State what the contract or     Services Agreement Dated
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    06/01/2007
2.1157                                                                          2243 WINDING VIEW
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONE SOURCE NETWORKS INC.
            State what the contract or     Services Agreement Dated
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    06/01/2007
2.1158                                                                          2243 WINDING VIEW
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONE SOURCE NETWORKS INC.
            State what the contract or     Services Agreement Dated
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    06/01/2007
2.1159                                                                          2243 WINDING VIEW
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONE SOURCE NETWORKS, INC.
            State what the contract or     Service Agreement Dated 06/01/2007
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature
2.1160                                                                          2243 WINDING VIEW
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78258


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ONE SOURCE NETWORKS, INC.
            State what the contract or     Addendum to the Master Service
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    Agreement - Private Line Digital &
2.1161                                                                          6200 BRIDGE POINT PARKWAY, BUILDING 4, SUITE 100
            of the debtor’s interest       Optical Services
                                                                                AUSTIN, TX 78730


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONELOGIN INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                150 SPEAR STREET
            lease is for and the nature    11/30/2016
2.1162                                                                          SUITE 1400
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ONELOGIN INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                150 SPEAR STREET
            lease is for and the nature    11/30/2016
2.1163                                                                          SUITE 1400
            of the debtor’s interest
                                                                                SAN FRANCISCO, CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                OPTIV SECURITY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: JACQUELYN WAYNE
            lease is for and the nature    04/11/2017
2.1164                                                                          SR. DIRECTOR OF CONTRACTS
            of the debtor’s interest
                                                                                1125 17TH
                                                                                SUITE 1700
                                                                                DENVER, CO 80202
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ORACLE AMERICA, INC.
            State what the contract or     Service Agreement - SOW Dated
                                                                                ATTN: MARCUS TAYLOR
            lease is for and the nature    12/20/2017
2.1165                                                                          DEAL SPECIALIST, AMERICAS SSC, DEAL MANAGEMENT
            of the debtor’s interest
                                                                                500 ORACLE PARKWAY
                                                                                REDWOOD CITY, CA 94065
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ORACLE AMERICA, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: MARCUS TAYLOR
            lease is for and the nature    07/18/2017
2.1166                                                                          DEAL SPECIALIST, AMERICAS SSC, DEAL MANAGEMENT
            of the debtor’s interest
                                                                                500 ORACLE PARKWAY
                                                                                REDWOOD CITY, CA 94065
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ORACLE AMERICA, INC.
            State what the contract or     Service Agreement - Estimate Dated
                                                                                500 ORACLE PARKWAY
            lease is for and the nature    12/20/2017
2.1167                                                                          REDWOOD SHORES, CA 94065
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                               Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   OTHER EMPLOYEE 007
            State what the contract or     Employment Agreement
                                                                                   ADDRESS ON FILE
            lease is for and the nature
2.1168
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   OUTSOLVE, LLC
            State what the contract or     Master Services Agreement Dated
                                                                                   ATTN: ELI ST. JULIEN
            lease is for and the nature    07/12/2013
2.1169                                                                             3116 5TH STREET
            of the debtor’s interest
                                                                                   METAIRIE, LA 70002


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   OUTSOLVE, LLC
            State what the contract or     Statement of Work Dated 07/12/2013
                                                                                   3116 5TH STREET
            lease is for and the nature
2.1170                                                                             METAIRIE, LA 70002
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   OXFORD COMPUTER GROUP LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                   ATTN: STEPHEN BRUGGER
            lease is for and the nature    05/22/2017
2.1171                                                                             PRESIDENT
            of the debtor’s interest
                                                                                   22122 20TH AVE SE
                                                                                   #158
                                                                                   BOTHELL , WA 98021
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   OXFORD COMPUTER GROUP LLC
            State what the contract or     Confirmation of Services Delivered as
                                                                                   22122 20TH AVE SE
            lease is for and the nature    Outlined Dated 08/14/2017
2.1172                                                                             STE 158
            of the debtor’s interest
                                                                                   BOTHELL, WA 98021


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   OXFORD COMPUTER GROUP LLC
            State what the contract or     Confirmation of Milestone Completion
                                                                                   22122 20TH AVE SE
            lease is for and the nature    #1 Dated 08/07/2017
2.1173                                                                             STE 158
            of the debtor’s interest
                                                                                   BOTHELL, WA 98021


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   OXFORD COMPUTER GROUP LLC
            State what the contract or     Statement of Work - IDM Proof of
                                                                                   22122 20TH AVE SE
            lease is for and the nature    Concept Dated 08/02/2017
2.1174                                                                             STE 158
            of the debtor’s interest
                                                                                   BOTHELL, WA 98021


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                PACIFIC OFFICE AUTOMATION
            State what the contract or     Document Solutions Agreement
                                                                                ATTN: DOUG PITASSI
            lease is for and the nature
2.1175                                                                          14747 NW GREENBRIER PARKWAY
            of the debtor’s interest
                                                                                BEAVERTON, OR 97006


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PACIFIC OFFICE AUTOMATION
            State what the contract or     Document Solutions Agreement Dated
                                                                                ATTN: DOUG PITASSI
            lease is for and the nature    02/24/2016
2.1176                                                                          14747 NW GREENBRIER PARKWAY
            of the debtor’s interest
                                                                                BEAVERTON, OR 97006


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                                14747 NW GREENBRIER PARKWAY
            lease is for and the nature    06/14/2017
2.1177                                                                          BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Master Agreement Dated 02/24/2016
                                                                                14747 NW GREENBRIER PARKWAY
            lease is for and the nature
2.1178                                                                          BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                                14747 NW GREENBRIER PARKWAY
            lease is for and the nature    05/11/2017
2.1179                                                                          BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Master Agreement Dated 02/24/2016
                                                                                14747 NW GREENBRIER PARKWAY
            lease is for and the nature
2.1180                                                                          BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Total Image Management Master
                                                                                14747 NW GREENBRIER PARKWAY
            lease is for and the nature    Agreement Dated 02/24/2016
2.1181                                                                          BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                               14747 GREENBRIER PARKWAY
            lease is for and the nature    04/26/2017
2.1182                                                                         BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                               14747 NW GREENBRIER PARKWAY
            lease is for and the nature    04/26/2017
2.1183                                                                         BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               PACIFIC OFFICE AUTOMATION - BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                               14747 NW GREENBRIER PARKWAY
            lease is for and the nature    05/11/2017
2.1184                                                                         BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               PACIFIC OFFICE AUTOMATION- BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                               14747 NW GREENBRIER PARKWAY
            lease is for and the nature    04/26/2017
2.1185                                                                         BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               PACIFIC OFFICE AUTOMATION-BRANCH 10
            State what the contract or     Advertising Spend Agreement Dated
                                                                               14747 NW GREENBRIER PARKWAY
            lease is for and the nature    05/12/2017
2.1186                                                                         BEAVERTON, OR 97006
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               PANTHEON SYSTEMS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               ATTN: HALID IBRAHIMOVIC
            lease is for and the nature    02/16/2017
2.1187                                                                         VP OF SALES
            of the debtor’s interest
                                                                               717 CALIFORNIA ST.
                                                                               3RD FLOOR
                                                                               SAN FRANCISCO, CA 94108
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               PATHMAKER GROUP, LP
            State what the contract or     Non-Disclosure Dated 01/11/2017
                                                                               ATTN: KEITH SQUIRES
            lease is for and the nature
2.1188                                                                         CEO
            of the debtor’s interest
                                                                               635 FRITZ DRIVE
                                                                               SUITE 110
                                                                               COPPELL, TX 75019
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                PC CONNECTION SALES CORP
            State what the contract or     Purchase Order Dated 02/29/2016
                                                                                730 MILFORD ROAD
            lease is for and the nature
2.1189                                                                          MERRIMACK, NH 03054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PC CONNECTION SALES CORP
            State what the contract or     Purchase Order Dated 02/22/2016
                                                                                730 MILFORD ROAD
            lease is for and the nature
2.1190                                                                          MERRIMACK , NH 03054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PC CONNECTION, INC.
            State what the contract or     Volume Licensing - Customer Price
                                                                                730 MILFORD RD., ROUTE 101A
            lease is for and the nature    Sheet - Final Pricing Dated
2.1191                                                                          MERRIMACK, NH 03054
            of the debtor’s interest       05/28/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PC CONNECTION, INC.
            State what the contract or     Adobe Sales Order Dated 05/30/2017
                                                                                730 MILFORD RD.
            lease is for and the nature
2.1192                                                                          RT 101 A, MS F-33
            of the debtor’s interest
                                                                                MERRIMACK , NH 03054-3641


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PC CONNECTIONS, INC.
            State what the contract or     Enterprise Enrollment (Direct)
                                                                                730 MILFORD RD., ROUTE 101A
            lease is for and the nature    Corporate
2.1193                                                                          MERRIMACK, NH 03054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PERFICIENT, INC.
            State what the contract or     Statement of Work Dated 03/09/2011
                                                                                5465 LEGACY DR # 250
            lease is for and the nature
2.1194                                                                          PLANO, TX 75204-3106
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PERFICIENT, INC.
            State what the contract or     Statement of Work - Implementation
                                                                                5465 LEGACY DR. #250
            lease is for and the nature    Phase 1 Dated 03/09/2011
2.1195                                                                          PLANO, TX 75024-3106
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                PERFICIENT, INC.
            State what the contract or     Settlement Agreement and Mutual
                                                                                5465 LEGACY DRIVE
            lease is for and the nature    Release Dated 01/30/2012
2.1196                                                                          DALLAS, TX 75024
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PERFICIENT, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                520 MARYVILLE CENTRE DRIVE, SUITE 400
            lease is for and the nature    03/08/2011
2.1197                                                                          ST. LOUIS, MO 63141
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PERFICIENT, INC.
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                                520 MARYVILLE CENTRE DRIVE,
            lease is for and the nature    Dated 11/08/2010
2.1198                                                                          SUITE #400,
            of the debtor’s interest
                                                                                ST. LOUIS,, MO 63141


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PERFICIENT, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                520 MARYVILLE CENTRE DRIVE
            lease is for and the nature    03/08/2011
2.1199                                                                          SUITE 400
            of the debtor’s interest
                                                                                ST. LOUIS, MO 63141


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PERFICIENT, INC.
            State what the contract or     Statement of Work Dated 03/09/2011
                                                                                5465 LEGACY DR #250
            lease is for and the nature
2.1200                                                                          PLANO, TX 75024-3106
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PITNEY BOWES INC
            State what the contract or     Rental Agreement Dated 11/22/2016
                                                                                POB 371874
            lease is for and the nature
2.1201                                                                          PITTSBURGH, PA 15250-7874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PITNEY BOWES INC
            State what the contract or     Rental Agreement Dated 11/22/2016
                                                                                POB 371874
            lease is for and the nature
2.1202                                                                          PITTSBURGH, PA 15250-7874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                                        Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                     State the name and mailing address for all other parties with whom
                                                                                            the debtor has an executory contract or unexpired lease

                                                                                            PITNEY BOWES INC
            State what the contract or     Master Agreement Dated 05/03/2016
                                                                                            POB 371874
            lease is for and the nature
2.1203                                                                                      PITTSBURGH, PA 15250-7874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                            PITNEY BOWES INC
            State what the contract or     Rental Agreement Dated 11/22/2016
                                                                                            POB 371874
            lease is for and the nature
2.1204                                                                                      PITTSBURGH, PA 15250-7874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                            PITNEY BOWES INC
            State what the contract or     Master Agreement Dated 05/03/2016
                                                                                            POB 371874
            lease is for and the nature
2.1205                                                                                      PITTSBURGH, PA 15250-7874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                            PITNEY BOWES INC
            State what the contract or     Rental Agreement Dated 11/22/2016
                                                                                            POB 371874
            lease is for and the nature
2.1206                                                                                      PITTSBURGH, PA 15250-7874
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract

                                           Office/Studio Lease - Gainesville, FL Florical
                                                                                            PK5 LLC
            State what the contract or
                                           Systems Office, 4500 NW 27th Avenue,             2815 NW 13TH STREET
            lease is for and the nature
2.1207                                     Gainesville, FL 32606                            SUITE 423
            of the debtor’s interest
                                                                                            GAINESVILLE, FL 32609


            State the term remaining
            List the contract number of
            any government contract
                                                                                            POINT B, INC.
            State what the contract or     Extension to Statement of Work Dated
                                                                                            1420 5TH AVENUE
            lease is for and the nature    12/15/2012
2.1208                                                                                      SUITE 2200
            of the debtor’s interest
                                                                                            SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                            POINT B, INC.
            State what the contract or     Additions to the statement or work
                                                                                            1420 5TH AVENUE
            lease is for and the nature    Dated 05/22/2014
2.1209                                                                                      SUITE 2200
            of the debtor’s interest
                                                                                            SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                POINT B, INC.
            State what the contract or     Statement of Work Dated 05/13/2013
                                                                                1420 5TH AVENUE
            lease is for and the nature
2.1210                                                                          SUITE 2200
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                POINT B, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: SHELLEY HOLM
            lease is for and the nature    09/13/2013
2.1211                                                                          1420 FIFTH AVENUE, SUITE 220
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                POINT B, INC.
            State what the contract or     Master Service Agreement Dated
                                                                                ATTN: SHELLEY HOLM
            lease is for and the nature    09/13/2013
2.1212                                                                          1420 FIFTH AVENUE, SUITE 220
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                POINT B, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: SHELLEY HOLM
            lease is for and the nature    09/13/2013
2.1213                                                                          1420 FIFTH AVENUE, SUITE 220
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                POINT B, INC.
            State what the contract or     Change Request for a Statement of
                                                                                1420 5TH AVENUE
            lease is for and the nature    Work Dated 02/28/2014
2.1214                                                                          SUITE 2200
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                POINT B, INC.
            State what the contract or     Statement of Work Dated 05/13/2013
                                                                                1420 5TH AVENUE
            lease is for and the nature
2.1215                                                                          SUITE 2200
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                POINT B, INC.
            State what the contract or     Extension of work Dated 08/31/2013
                                                                                1420 5TH AVENUE
            lease is for and the nature
2.1216                                                                          SUITE 2200
            of the debtor’s interest
                                                                                SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  POINT B, INC.
            State what the contract or     Extension to a Statement of Work
                                                                                  1420 5TH AVENUE
            lease is for and the nature    Dated 08/15/2013
2.1217                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Extension to the Statement of Work
                                                                                  1420 5TH AVENUE
            lease is for and the nature    Dated 08/15/2013
2.1218                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Change requests for the statement of
                                                                                  1420 5TH AVENUE
            lease is for and the nature    work Dated 11/18/2013
2.1219                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Change Request to extend Statement
                                                                                  1420 5TH AVENUE
            lease is for and the nature    of Work Dated 03/14/2014
2.1220                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Statement of Work Dated 06/09/2014
                                                                                  1420 5TH AVENUE
            lease is for and the nature
2.1221                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Extension to Statement of Work Dated
                                                                                  1420 5TH AVENUE
            lease is for and the nature    05/17/2013
2.1222                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Change Request to extend the
                                                                                  1420 5TH AVENUE
            lease is for and the nature    statement of work Dated 05/02/2014
2.1223                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  POINT B, INC.
            State what the contract or     Extension to Statement of Work Dated
                                                                                  1420 5TH AVENUE
            lease is for and the nature    09/27/2013
2.1224                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                  ATTN: SHELLEY HOLM
            lease is for and the nature    09/13/2013
2.1225                                                                            1420 FIFTH AVENUE, SUITE 220
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT B, INC.
            State what the contract or     Statement of Work Dated 03/18/2013
                                                                                  1420 5TH AVENUE, SUITE 2200
            lease is for and the nature
2.1226                                                                            SEATTLE, WA 98101
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT, B. INC.
            State what the contract or     Extension to Statement of Work Dated
                                                                                  1420 5TH AVENUE
            lease is for and the nature    11/01/2013
2.1227                                                                            SUITE 2200
            of the debtor’s interest
                                                                                  SEATTLE, WA 98101


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POINT-TO-POINT MARKETING, INC.
            State what the contract or     Services Agreement Dated
                                                                                  11562 NORTH COUNTY ROAD, #17
            lease is for and the nature    12/01/2012
2.1228                                                                            FORT COLLINS, CO 80524
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POPCORN TRAINING (PTY) LTD.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  ATTN: ANNA COLLARD
            lease is for and the nature    11/03/2017
2.1229                                                                            MANAGING DIRECTOR
            of the debtor’s interest
                                                                                  NO 8 ROBINSON AVENUE
                                                                                  LLANDUDNO, CAPETOWN 7806
                                                                                  SOUTH AFRICA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  POSTAL ADVOCATE INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1230
            of the debtor’s interest       02/07/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  POSTAL ADVOCATE INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1231
            of the debtor’s interest       02/07/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  PRECOCITY, LLC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  ATTN: TYLER LUDWIG
            lease is for and the nature    11/17/2017
2.1232                                                                            CONTRACT ADMINISTRATOR
            of the debtor’s interest
                                                                                  6860 DALLAS PARKWAY
                                                                                  SUITE 130
                                                                                  PLANO, TX 75024
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  PREMIERE ENERGY AUCTIONS
            State what the contract or     Letter of Authorization Dated
                                                                                  75 LATTE ROAD
            lease is for and the nature    03/29/2016
2.1233                                                                            SUITE 203
            of the debtor’s interest
                                                                                  FAIRFIELD , NJ 07004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  PREMIERE ENERGY AUCTIONS
            State what the contract or     Energy Procurement Advisory
                                                                                  75 LANE RD. STE. 203
            lease is for and the nature    Agreement Dated 02/18/2016
2.1234                                                                            FAIRFIELD, NJ 07004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  PREVOTY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                  11911 SAN VINCENTE BLVD
            lease is for and the nature    09/13/2016
2.1235                                                                            SUITE 355
            of the debtor’s interest
                                                                                  LOS ANGELES, CA 90049


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  PROFISEE GROUP INC.
            State what the contract or     Email; Master Data Maestro -
                                                                                  TWO NORTHWINDS TOWER
            lease is for and the nature    Specification schedule - 04 Dated
2.1236                                                                            2520 NORTHWINDS PARKWAY
            of the debtor’s interest       06/13/2012
                                                                                  SUITE 475
                                                                                  ALPHARETTA, GA 30009
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  PROFISEE GROUP, INC,
            State what the contract or     Master Data Maestro - Specification
                                                                                  2520 NORTHWINDS PARKWAY
            lease is for and the nature    schedule - 04; Schedule of software;
2.1237                                                                            ALPHARETTA, GA 30009
            of the debtor’s interest       Dated 06/13/2012


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Master Services Agreement for Time
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    and Materials Dated 06/13/2012
2.1238                                                                           4TH FLOOR
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Master Data Maestro Software
                                                                                 2620 NORTHWINDS PARKWAY,
            lease is for and the nature    Licensing Agreement Dated
2.1239                                                                           4TH FLOOR
            of the debtor’s interest       06/13/2012
                                                                                 ALPHARETTA, GA 30004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Master Services Agreement for "Time
                                                                                 2025 NORTHWINDS PARKWAY
            lease is for and the nature    and Materials" Based Projects Dated
2.1240                                                                           4TH FLOOR
            of the debtor’s interest       06/13/2012
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Master Data Maestro Software
                                                                                 2025 NORTHWINIDS PARKWAY
            lease is for and the nature    License Agreement Dated 06/13/2012
2.1241                                                                           ALPHARETTA, , GA 30009
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Master Data Maestro - Specification
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    Schedule Dated 06/15/2011
2.1242                                                                           4TH FLOOR
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Software License Agreement Dated
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    06/13/2012
2.1243                                                                           4TH FLOOR
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 PROFISEE GROUP, INC.
            State what the contract or     Master Data Maestro - Specification
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    Schedule Purchase Order Dated
2.1244                                                                           4TH FLOOR
            of the debtor’s interest       11/13/2014
                                                                                 ALPHARETTA, GA 30004


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                PROFISEE GROUP, INC.
            State what the contract or     Master Services Agreement for time
                                                                                2520 NORTHWINDS PARKWAY
            lease is for and the nature    and materials Dated 06/13/2012
2.1245                                                                          4TH FLOOR
            of the debtor’s interest
                                                                                ALPHARETTA, GA 30004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PROFISEE GROUP, INC.
            State what the contract or     Specification Schedule Dated
                                                                                2520 NORTHWINDS PARKWAY
            lease is for and the nature    06/13/2012
2.1246                                                                          4TH FLOOR
            of the debtor’s interest
                                                                                ALPHARETTA, GA 30004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PROFISEE GROUP, INC.
            State what the contract or     Confidential Exchange Agreement
                                                                                ATTN: IAN AHERN, PRESIDENT
            lease is for and the nature    Dated 04/26/2012
2.1247                                                                          2025 NORTHWINDS PARKWAY
            of the debtor’s interest
                                                                                ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PROFISEE GROUP, INC.
            State what the contract or     Confidential Exchange Agreement
                                                                                2520 NORTHWINDS PARKWAY,
            lease is for and the nature    Dated 04/26/2012
2.1248                                                                          4TH FLOOR
            of the debtor’s interest
                                                                                ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PROFISEE GROUP, INC.
            State what the contract or     Work Order 01 Dated 06/13/2012
                                                                                2520 NORTHWINDS PARKWAY
            lease is for and the nature
2.1249                                                                          SUITE 400
            of the debtor’s interest
                                                                                ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PROFISEE GROUP, INC.
            State what the contract or     Work Order 02 Dated 06/13/2012
                                                                                2520 NORTHWINDS PARKWAY
            lease is for and the nature
2.1250                                                                          SUITE 400
            of the debtor’s interest
                                                                                ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                PROGRAMMING EMPLOYEE/MANAGER 005
            State what the contract or     Employment Agreement
                                                                                ADDRESS ON FILE
            lease is for and the nature
2.1251
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                        Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            PROGRAMMING EMPLOYEE/MANAGER 094
            State what the contract or     Employment Agreement
                                                                            ADDRESS ON FILE
            lease is for and the nature
2.1252
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            PROGRAMMING EMPLOYEE/MANAGER 235
            State what the contract or     Employment Agreement
                                                                            ADDRESS ON FILE
            lease is for and the nature
2.1253
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            PROGRAMMING EMPLOYEE/MANAGER 484
            State what the contract or     Employment Agreement
                                                                            ADDRESS ON FILE
            lease is for and the nature
2.1254
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            PROGRAMMING EMPLOYEE/MANAGER 551
            State what the contract or     Employment Agreement
                                                                            ADDRESS ON FILE
            lease is for and the nature
2.1255
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            PROGRAMMING EMPLOYEE/MANAGER 592
            State what the contract or     Employment Agreement
                                                                            ADDRESS ON FILE
            lease is for and the nature
2.1256
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            PROGRAMMING EMPLOYEE/MANAGER 634
            State what the contract or     Employment Agreement
                                                                            ADDRESS ON FILE
            lease is for and the nature
2.1257
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            PROMOSUITE
            State what the contract or     Non Disclosure Agreement Dated
                                                                            65 BROADWAY
            lease is for and the nature    07/22/2016
2.1258                                                                      SUITE 602
            of the debtor’s interest
                                                                            NEW YORK, NY 10006


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                        Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            QUEST SOFTWARE INC.
            State what the contract or     Invoice Renewal Maintenance
                                                                            4 POLARIS WAY
            lease is for and the nature    Services Dated 12/31/2017
2.1259                                                                      ALISO VIEJO, CA 92656
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            QWEST
            State what the contract or     Amendment Dated 11/04/2011
                                                                            POB 91155
            lease is for and the nature
2.1260                                                                      SEATTLE, WA 98111-9255
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            QWEST
            State what the contract or     Amendment Dated 11/04/2011
                                                                            POB 91155
            lease is for and the nature
2.1261                                                                      SEATTLE, WA 98111-9255
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            RADIUS INTELLIGENCE, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                            ATTN: MARINA CLEMENTS
            lease is for and the nature    02/02/2017
2.1262                                                                      DIRECTOR OF LEGAL AFFAIRS
            of the debtor’s interest
                                                                            225 BUSH
                                                                            12TH FLOOR
                                                                            SAN FRANCISCO , CA 94104
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            RADIUS INTELLIGENCE, INC.
            State what the contract or     Statement of Work No. 1 Dated
                                                                            ATTN: MARINA CLEMENTS
            lease is for and the nature    08/15/2017
2.1263                                                                      DIRECTOR OF LEGAL AFFAIRS
            of the debtor’s interest
                                                                            225 BUSH
                                                                            12TH FLOOR
                                                                            SAN FRANCISCO , CA 94104
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            RADIUS INTELLIGENCE, INC.
            State what the contract or     Master Services Agreement
                                                                            ATTN: MARINA CLEMENTS
            lease is for and the nature
2.1264                                                                      DIRECTOR OF LEGAL AFFAIRS
            of the debtor’s interest
                                                                            225 BUSH
                                                                            12TH FLOOR
                                                                            SAN FRANCISCO , CA 94104
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            RAGE FRAMEWORK, INC.
            State what the contract or     Exchange agreement Dated
                                                                            200 LOWDER BROOK DRIVE
            lease is for and the nature    06/15/2009
2.1265                                                                      SUITE 2200
            of the debtor’s interest
                                                                            WESTWOOD , MA 02090


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 RANDSTAD TECHNOLOGIES LP
            State what the contract or     Statement of Work to support
                                                                                 ATTN: SALES SERVICE GROUP
            lease is for and the nature    infrastructure and operations team
2.1266                                                                           150 PRESIDENTIAL WAY, 3RD
            of the debtor’s interest       Dated 10/15/2014
                                                                                 WOBURN, MA 01801


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RANDSTAD TECHNOLOGIES LP
            State what the contract or     Statement of Work to support
                                                                                 ATTN: SALES SERVICE GROUP
            lease is for and the nature    infrastructure and operations team
2.1267                                                                           150 PRESIDENTIAL WAY, 3RD
            of the debtor’s interest       Dated 10/12/2014
                                                                                 WOBURN, MA 01801


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RANDSTAD TECHNOLOGIES LP
            State what the contract or     Direct Hire/Temporary to Permanent
                                                                                 ATTN: SALES SERVICE GROUP
            lease is for and the nature    Service Agreement Dated 10/15/2014
2.1268                                                                           150 PRESIDENTIAL WAY, 3RD
            of the debtor’s interest
                                                                                 WOBURN, MA 01801


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RANDSTAD TECHNOLOGIES, LP
            State what the contract or     Direct hire/Temporary to permanent
                                                                                 ATTN: SALES SERVICE GROUP
            lease is for and the nature    services agreement Dated 10/15/2014
2.1269                                                                           150 PRESIDENTIAL WAY, 3RD
            of the debtor’s interest
                                                                                 WOBURN, MA 01801


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RAPID7 LLC
            State what the contract or     Letter Termination of Managed
                                                                                 100 SUMMER STREET
            lease is for and the nature    Services Dated 12/15/2017
2.1270                                                                           13TH FLOOR
            of the debtor’s interest
                                                                                 BOSTON, MA 02110


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RAPID7 LLC
            State what the contract or     Letter Termination of Managed
                                                                                 100 SUMMER STREET
            lease is for and the nature    Services Dated 01/18/2018
2.1271                                                                           13TH FLOOR
            of the debtor’s interest
                                                                                 BOSTON, MA 02110


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RCG GLOBAL SERVICES, INC.
            State what the contract or     Master service agreement Dated
                                                                                 ATTN: JOHN BENDER, SVP & GENERAL MANAGER
            lease is for and the nature    10/06/2017
2.1272                                                                           5810 TENNYSON PKWY, SUITE 220
            of the debtor’s interest
                                                                                 PLANO, TX 75024


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                REAL SOFTWARE SYSTEMS, LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: KENT E. SAHIN
            lease is for and the nature    10/02/2017
2.1273                                                                          CEO
            of the debtor’s interest
                                                                                21255 BURBANK BOULEVARD
                                                                                SUITE 220
                                                                                WOODLAND HILLS , CA 91367
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RELIANT ENERGY
            State what the contract or     Electricity Sales Agreement Dated
                                                                                ATTN: RETAIL CONTRACT MANAGEMENT
            lease is for and the nature    01/26/2010
2.1274                                                                          1000 MAIN
            of the debtor’s interest
                                                                                HOUSTON, TX 77002


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RELIANT ENERGY RETAIL SERVICES, LLC
            State what the contract or     Electricity Sales Agreement Dated
                                                                                1000 MAIN
            lease is for and the nature    01/26/2010
2.1275                                                                          HOUSTON, TX 77002
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                REVENEW INTERNATIONAL, LLC
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: BOYD NOBLE
            lease is for and the nature    02/24/2011
2.1276                                                                          14100 SOUTHWEST FREEWAY
            of the debtor’s interest
                                                                                SUITE 320
                                                                                SUGAR LAND, TX 77478
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                REVENEW INTERNATIONAL, LLC
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: BOYD NOBLE
            lease is for and the nature    02/24/2011
2.1277                                                                          14100 SOUTHWEST FREEWAY
            of the debtor’s interest
                                                                                SUITE 320
                                                                                SUGAR LAND, TX 77478
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RIBYT A DIVISION OF ADVANCE MAGAZINE PUBLISHERS INC.
            State what the contract or     Master License Agreement Dated
                                                                                ONE WORLD TRADE CENTER
            lease is for and the nature    05/05/2017
2.1278                                                                          FLOOR 29
            of the debtor’s interest
                                                                                NEW YORK, NY 10007


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RIBYT A DIVISION OF ADVANCE MAGAZINE PUBLISHERS INC.
            State what the contract or     Statement of Work Dated 05/11/2017
                                                                                ONE WORLD TRADE CENTER
            lease is for and the nature
2.1279                                                                          FLOOR 29
            of the debtor’s interest
                                                                                NEW YORK, NY 10007


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 RIMINI STREET
            State what the contract or     Invoice PeopleSoft Support Services
                                                                                 3993 HOWARD HUGHES PARKWAY
            lease is for and the nature    Dated 09/01/2015
2.1280                                                                           SUITE 500
            of the debtor’s interest
                                                                                 LAS VEGAS, NV 89169


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RIMINI STREET
            State what the contract or     Invoice Renewal PeopleSoft Support
                                                                                 3993 HOWARD HUGHES PARKWAY
            lease is for and the nature    Dated 09/01/2016
2.1281                                                                           SUITE 500
            of the debtor’s interest
                                                                                 LAS VEGAS, NV 89169


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RIMINI STREET INC.
            State what the contract or     Amendment No. 2 Dated 07/10/2015
                                                                                 ATTN: LEGAL DEPARTMENT
            lease is for and the nature
2.1282                                                                           3993 HOWARD HUGHES PARKWAY
            of the debtor’s interest
                                                                                 SUITE 500
                                                                                 LAS VEGAS, NV 89169
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RIVERMINE SOFTWARE, INC.
            State what the contract or     Exhibit A - Fees & Payment Dated
                                                                                 3975 FAIR RIDGE DRIVE
            lease is for and the nature    12/30/2009
2.1283                                                                           SUITE 350
            of the debtor’s interest
                                                                                 SOUTH FAIRFAX, VA 22033-2924


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RIVERMINE SOFTWARE, INC.
            State what the contract or     Exhibit B - Invoice Loading and
                                                                                 3975 FAIR RIDGE DRIVE
            lease is for and the nature    Dispute Resolution Dated 12/30/2009
2.1284                                                                           SUITE 350
            of the debtor’s interest
                                                                                 SOUTH FAIRFAX, VA 22033-2924


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RIVERMINE SOFTWARE, INC.
            State what the contract or     Exhibit D - Subscription Services
                                                                                 3975 FAIR RIDGE DRIVE
            lease is for and the nature    Dated 12/30/2009
2.1285                                                                           SUITE 350
            of the debtor’s interest
                                                                                 SOUTH FAIRFAX, VA 22033-2924


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 RIVERMINE SOFTWARE, INC.
            State what the contract or     Exhibit E -- Implementation Sow
                                                                                 3975 FAIR RIDGE DRIVE
            lease is for and the nature    Dated 12/30/2009
2.1286                                                                           SUITE 350
            of the debtor’s interest
                                                                                 SOUTH FAIRFAX, VA 22033-2924


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                RIVERMINE SOFTWARE, INC.
            State what the contract or     Managed Services Agreement Dated
                                                                                3975 FAIR RIDGE DRIVE
            lease is for and the nature    12/30/2009
2.1287                                                                          SUITE 350
            of the debtor’s interest
                                                                                SOUTH FAIRFAX, VA 22033-2924


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RIVERSAND TECHNOLOGIES INC.
            State what the contract or     Statement of Work Dated 05/01/2017
                                                                                2929 BRIARPARK DRIVE
            lease is for and the nature
2.1288                                                                          SUITE 200
            of the debtor’s interest
                                                                                HOUSTON, TX 77042


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RIVERSAND TECHNOLOGIES INC.
            State what the contract or     Cloud Subscription Agreement Dated
                                                                                2929 BRIARPARK DRIVE
            lease is for and the nature    11/30/2017
2.1289                                                                          SUITE 200
            of the debtor’s interest
                                                                                HOUSTON, TX 77042


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                RIVERSAND TECHNOLOGIES, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: JAMES L. DUNN JR.
            lease is for and the nature    04/11/2017
2.1290                                                                          CFO
            of the debtor’s interest
                                                                                2929 BRIARPARK DRIVE
                                                                                SUITE 200
                                                                                HOUSTON, TX 77042
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROADMUNK INCORPORATED
            State what the contract or     Service Contract Dated 10/13/2016
                                                                                30 DUNCAN STREET,
            lease is for and the nature
2.1291                                                                          BASEMENT SUITE NORTH
            of the debtor’s interest
                                                                                TORONTO , ON M5V 2C3
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROADMUNK INCORPORATED
            State what the contract or     Service Level Agreement Dated
                                                                                30 DUNCAN STREET
            lease is for and the nature    10/21/2016
2.1292                                                                          BASEMENT SUITE
            of the debtor’s interest
                                                                                NORTH TORONTO, ON M5V 2C3
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROADMUNK, INCORPORATED
            State what the contract or     Service Agreement
                                                                                30 DUNCAN STREET,
            lease is for and the nature
2.1293                                                                          BASEMENT SUITE NORTH
            of the debtor’s interest
                                                                                TORONTO , ON M5V 2C3
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ROADMUNK, INCORPORATED
            State what the contract or     Service Agreement
                                                                                30 DUNCAN STREET,
            lease is for and the nature
2.1294                                                                          BASEMENT SUITE NORTH
            of the debtor’s interest
                                                                                TORONTO , ON M5V 2C3
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROADMUNK, INCORPORATED
            State what the contract or     Service Agreement Dated 10/22/2016
                                                                                30 DUNCAN STREET
            lease is for and the nature
2.1295                                                                          BASEMENT SUITE NORTH
            of the debtor’s interest
                                                                                TORONTO , ON M5V 2C3
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Statement of Work Dated 12/10/2012
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature
2.1296                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Change Order to the Statement of
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    Work Dated 03/11/2014
2.1297                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Statement of Work Dated 07/15/2013
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature
2.1298                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Change Order to the Statement of
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    Work Dated 06/30/2014
2.1299                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Change Order to the Statement of
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    Work Dated 06/02/2014
2.1300                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Statement of Work Dated 01/02/2014
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature
2.1301                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Change Order to the Statement of
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    Work Dated 07/16/2014
2.1302                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Statement of work Dated 07/15/2013
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature
2.1303                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    02/04/2013
2.1304                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Change Order to the Statement of
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    Work Dated 07/16/2014
2.1305                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    01/14/2013
2.1306                                                                          9901 1H 10 WEST
            of the debtor’s interest
                                                                                SUITE 230
                                                                                SAN ANTONIO, TX 78230
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROBERT HALF INTERNATIONAL, INC.
            State what the contract or     Exhibit A Statement of Work Dated
                                                                                ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature    11/19/2012
2.1307                                                                          ATTN: SCOTT STEELE
            of the debtor’s interest
                                                                                BRANCH MANAGER
                                                                                9901 1H 10 WEST
                                                                                SUITE 230
            State the term remaining       Undetermined                         SAN ANTONIO, TX 78230
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ROCKETRIP
            State what the contract or     Data Release Form Dated 01/10/2017
                                                                                14 E 38TH STREET
            lease is for and the nature
2.1308                                                                          NEW YORK, NY 10016
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROCKETRIP, INC.
            State what the contract or     First Renewal Order Form Dated
                                                                                14 EAST 38TH STREET
            lease is for and the nature    12/31/2017
2.1309                                                                          2ND FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROCKETRIP, INC.
            State what the contract or     Mutual Confidentiality and Non-
                                                                                14 EAST 38TH STREET
            lease is for and the nature    Disclosure Agreement Dated
2.1310                                                                          2ND FLOOR
            of the debtor’s interest       06/17/2016
                                                                                NEW YORK, NY 10016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROCKETRIP, INC.
            State what the contract or     Order Form Dated 12/31/2016
                                                                                14 EAST 38TH STREET
            lease is for and the nature
2.1311                                                                          2ND FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROCKETRIP, INC.
            State what the contract or     Amendment No. 1 Dated 01/31/2017
                                                                                14 EAST 38TH STREET
            lease is for and the nature
2.1312                                                                          2ND FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                ROSSLYN ANALYTICS, LTD.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1313
            of the debtor’s interest       07/27/2012


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Change Order Dated
                                                                                11305 FOUR POINTS DRIVE
            lease is for and the nature    03/28/2016
2.1314                                                                          BUILDING 2
            of the debtor’s interest
                                                                                SUITE 100
                                                                                AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                              Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Renewal Annual Standard
                                                                                  11305 FOUR POINTS DRIVE
            lease is for and the nature    Support Dated 04/01/2016
2.1315                                                                            BUILDING 2
            of the debtor’s interest
                                                                                  SUITE 100
                                                                                  AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Renewal Annual Support and
                                                                                  11305 FOUR POINTS DRIVE
            lease is for and the nature    Maintenance Dated 01/01/2016
2.1316                                                                            BUILDING 2
            of the debtor’s interest
                                                                                  SUITE 100
                                                                                  AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Renewal Annual Standard
                                                                                  11305 FOUR POINTS DRIVE
            lease is for and the nature    Support Dated 04/01/2017
2.1317                                                                            BUILDING 2
            of the debtor’s interest
                                                                                  SUITE 100
                                                                                  AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Perpetual Licenses Dated
                                                                                  11405 FOUR POINTS DRIVE
            lease is for and the nature    04/01/2015
2.1318                                                                            BUILDING 2
            of the debtor’s interest
                                                                                  SUITE 100
                                                                                  AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Managed Services Dated
                                                                                  11305 FOUR POINTS DRIVE
            lease is for and the nature    03/20/2015
2.1319                                                                            BUILDING 2
            of the debtor’s interest
                                                                                  SUITE 100
                                                                                  AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Schedule No. A-2 to Software License
                                                                                  11305 FOUR POINTS DRIVE
            lease is for and the nature    and Support Agreement Dated
2.1320                                                                            BUILDING 2
            of the debtor’s interest       09/23/2014
                                                                                  SUITE 100
                                                                                  AUSTIN , TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                  SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Schedule A-4 Software & Price
                                                                                  11305 FOUR POINTS DRIVE
            lease is for and the nature    Schedule Dated 04/01/2016
2.1321                                                                            BUILDING 2
            of the debtor’s interest
                                                                                  SUITE 100
                                                                                  AUSTIN , TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Schedule A-F Software & Price
                                                                               11305 FOUR POINTS DRIVE
            lease is for and the nature    Schedule Dated 04/01/2016
2.1322                                                                         BUILDING 2
            of the debtor’s interest
                                                                               SUITE 100
                                                                               AUSTIN , TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Schedule A-3 Software & Price
                                                                               11305 FOUR POINTS DRIVE
            lease is for and the nature    Schedule Dated 12/01/2015
2.1323                                                                         BUILDING 2
            of the debtor’s interest
                                                                               SUITE 100
                                                                               AUSTIN , TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Maintenance and Perpetual
                                                                               11305 FOUR POINTS DRIVE
            lease is for and the nature    Licenses Dated 04/01/2015
2.1324                                                                         BUILDING 2
            of the debtor’s interest
                                                                               SUITE 100
                                                                               AUSTIN , TX 78258
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SAILPOINT TECHNOLOGIES INC.
            State what the contract or     Invoice Identity Now Access Dated
                                                                               11305 FOUR POINTS
            lease is for and the nature    04/01/2016
2.1325                                                                         BUILDING 2
            of the debtor’s interest
                                                                               SUITE 100
                                                                               AUSTIN, TX 78726
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SAILPOINT TECHNOLOGIES, INC.
            State what the contract or     Software License and Support
                                                                               11305 FOUR POINTS DR. 100
            lease is for and the nature    Agreement Dated 02/07/2014
2.1326                                                                         AUSTIN, TX 78726
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SALES BENCHMARK INDEX
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1327
            of the debtor’s interest       11/15/2012


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SALES MANAGER 013
            State what the contract or     Employment Agreement
                                                                               ADDRESS ON FILE
            lease is for and the nature
2.1328
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SALES MANAGER 032
            State what the contract or     Employment Agreement
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.1329
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALES MANAGER 063
            State what the contract or     Employment Agreement
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.1330
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALES MANAGER 081
            State what the contract or     Employment Agreement
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.1331
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM
            State what the contract or     Master Subscription Agreement Dated
                                                                                 ATTN: CHRIS HARRIS
            lease is for and the nature    12/28/2012
2.1332                                                                           THE LANDMARK @ ONE MARKET
            of the debtor’s interest
                                                                                 SUITE 300
                                                                                 SAN FRANCISCO, CA 94105
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM
            State what the contract or     Order Form Dated 01/15/2013
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature
2.1333                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO , CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM
            State what the contract or     Order Form CRM Software Dated
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature    10/31/2017
2.1334                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO , CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM
            State what the contract or     Order Form
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature
2.1335                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO , CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SALESFORCE.COM
            State what the contract or     Order Form Dated 01/15/2016
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature
2.1336                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO , CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM
            State what the contract or     Order Form Dated 01/15/2013
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature
2.1337                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO , CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM
            State what the contract or     Order Form Dated 01/15/2013
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature
2.1338                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM INC.
            State what the contract or     Amendment No. 1 to Master
                                                                                 ONE MARKET STREET
            lease is for and the nature    Subscription Agreement Dated
2.1339                                                                           THE LANDMARK
            of the debtor’s interest       04/20/2015
                                                                                 SUITE 300
                                                                                 SAN FRANCISCO, CA 94105
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM INC.
            State what the contract or     Master Subscription Agreement Dated
                                                                                 ATTN.: VP WORLDWIDE SALES OPERATIONS
            lease is for and the nature    12/28/2012
2.1340                                                                           ONE MARKET
            of the debtor’s interest
                                                                                 THE LANDMARK
                                                                                 SUITE 300
                                                                                 SAN FRANCISCO, CA 94105
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM, INC.
            State what the contract or     Master Subscription Agreement
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature    Dated 12/28/2012
2.1341                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SALESFORCE.COM, INC.
            State what the contract or     Master Subscription Agreement
                                                                                 THE LANDMARK @ ONE MARKET
            lease is for and the nature    Dated 12/28/2012
2.1342                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SALESFORCE.COM, INC.
            State what the contract or     Master Subscription Agreement Dated
                                                                                 THE LANDMARK @ ONE MARKET,
            lease is for and the nature    12/28/2012
2.1343                                                                           SUITE 300
            of the debtor’s interest
                                                                                 SAN FRANCISCO, , CA 94105


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SAN FRANCISCO CONSULTING GROUP
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: DAVID EWING
            lease is for and the nature    07/25/2017
2.1344                                                                           CEO
            of the debtor’s interest
                                                                                 260 ADDIE ROY ROAD
                                                                                 SUITE 200
                                                                                 AUSTIN, TX 78746
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SANDRA J. PIOTROWSKI, LLC
            State what the contract or     Statement of Work - Contractor
                                                                                 19009 109TH AVE SE
            lease is for and the nature    Expertise Dated 03/15/2012
2.1345                                                                           SNOHOMISH, WA 98296
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SAVO GROUP LTD
            State what the contract or     Service Schedule Dated 10/01/2017
                                                                                 155 N WACKER DRIVE
            lease is for and the nature
2.1346                                                                           CHICAGO, IL 60606
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SAVO GROUP LTD
            State what the contract or     Applications Service Agreement
                                                                                 222 WEST MERCHANDISE MART
            lease is for and the nature    Dated 08/30/2017
2.1347                                                                           SUITE 1710
            of the debtor’s interest
                                                                                 CHICAGO, IL 60654


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SAVO GROUP LTD
            State what the contract or     Service Schedule Dated 10/01/2017
                                                                                 155 N. WACKER DRIVE
            lease is for and the nature
2.1348                                                                           CHICAGO, IL 60606
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SAVO GROUP LTD
            State what the contract or     Statement of Work Dated 08/30/2017
                                                                                 155 N. WACKER DRIVE
            lease is for and the nature
2.1349                                                                           CHICAGO, IL 60606
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SCIQUEST INC. D/B/A JAGGAER
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 3020 CARRINGTON MILL BLVD.
            lease is for and the nature    03/23/2017
2.1350                                                                           SUITE 100
            of the debtor’s interest
                                                                                 MORRISVILLE, NC 27560


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SCIQUEST, INC. D/B/A JAGGAER
            State what the contract or     Master Subscription Agreement Dated
                                                                                 ATTN: GENERAL COUNSEL
            lease is for and the nature    09/27/2017
2.1351                                                                           3020 CARRINGTON MILL BLVD., SUITE 100
            of the debtor’s interest
                                                                                 MORRISVILLE, NC 27560


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SCMS, INC.
            State what the contract or     Broadcast Equipment Products &
                                                                                 10201 RODNEY ST.
            lease is for and the nature    Services Agreement Dated
2.1352                                                                           PINEVILLE, NC 28134
            of the debtor’s interest       02/22/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SEATTLE BUSINESS SOFTWARE INC.
            State what the contract or     Terms and Conditions Software
                                                                                 C/O ORBUS SOFTWARE
            lease is for and the nature    License Agreement Dated 12/17/2017
2.1353                                                                           2 PARK AVENUE
            of the debtor’s interest
                                                                                 SUITE 2052
                                                                                 NEW YORK, NY 10016
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SEATTLE BUSINESS SOFTWARE INC.
            State what the contract or     Maintenance Agreement Dated
                                                                                 C/O ORBUS SOFTWARE
            lease is for and the nature    12/17/2017
2.1354                                                                           2 PARK AVENUE
            of the debtor’s interest
                                                                                 SUITE 2052
                                                                                 NEW YORK, NY 10016
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SEATTLE BUSINESS SOFTWARE INC.
            State what the contract or     End User License Agreement Dated
                                                                                 C/O ORBUS SOFTWARE
            lease is for and the nature    12/17/2017
2.1355                                                                           2 PARK AVENUE
            of the debtor’s interest
                                                                                 SUITE 2052
                                                                                 NEW YORK , NY 10016
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SELECTICA SOURCING
            State what the contract or     Termination Notice Letter Dated
                                                                                 2121 E. EL CAMINO REAL
            lease is for and the nature    03/30/2016
2.1356                                                                           SAN MATEO , CA 94403
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               SELECTICA SOURCING, INC. D/B/A IASTA, INC.
            State what the contract or     Third Amendment to Master License
                                                                               12800 NORTH MERIDIAN ST.
            lease is for and the nature    and Services Agreement Dated
2.1357                                                                         SUITE 425
            of the debtor’s interest       09/01/2015
                                                                               CARMEL, IN 46032


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SENTURUS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               ATTN: JAMES FRAZIER
            lease is for and the nature    02/27/2017
2.1358                                                                         VICE PRESIDENT OF CLIENT SOLUTIONS
            of the debtor’s interest
                                                                               533 AIRPORT BLVD.
                                                                               SUITE 400
                                                                               BURLINGAME, CA 94010
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SERVICENOW
            State what the contract or     Invoice-IT Operations Management
                                                                               4810 EASTGAGE MALL
            lease is for and the nature    Dated 06/26/2015
2.1359                                                                         SAN DIEGO, CA 92121
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SERVICENOW
            State what the contract or     Invoice IT Operations Management
                                                                               4810 EASTGATE MALL
            lease is for and the nature    Dated 03/31/2015
2.1360                                                                         SAN DIEGO, CA 92121
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SERVICENOW
            State what the contract or     Invoice IT Operations Management
                                                                               4810 EASTGATE MALL
            lease is for and the nature    Dated 06/11/2015
2.1361                                                                         SAN DIEGO, CA 92121
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SERVICENOW
            State what the contract or     Order form subscription services
                                                                               2225 LAWSON LANE
            lease is for and the nature    Dated 06/11/2016
2.1362                                                                         SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SERVICENOW
            State what the contract or     Invoice IT Operations Management
                                                                               4810 EASTGAGE MALL
            lease is for and the nature    Dated 06/30/2017
2.1363                                                                         SAN DIEGO, CA 92121
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SERVICENOW
            State what the contract or     Invoice Renewal IT Processes
                                                                                 4810 EASTGATE MALL
            lease is for and the nature    Management Software Dated
2.1364                                                                           SAN DIEGO, CA 92121
            of the debtor’s interest       06/30/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SERVICENOW INC
            State what the contract or     Order Form IT Operations
                                                                                 2225 LAWSON LANE
            lease is for and the nature    Management Dated 06/11/2016
2.1365                                                                           SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SERVICENOW, INC.
            State what the contract or     Order form for Service Subscription
                                                                                 2225 LAWSON LANE
            lease is for and the nature    Dated 06/11/2016
2.1366                                                                           SANTA CLARA, CA 95054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SHAPE SECURITY, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: RYAN THOMPSON
            lease is for and the nature    01/31/2017
2.1367                                                                           GENERAL COUNSEL
            of the debtor’s interest
                                                                                 800 W EL CAMINO REAL
                                                                                 #250
                                                                                 MOUNTAIN VIEW , CA 94040
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SHILSHOLE CONSULTING, INC.
            State what the contract or     Professional Services Agreement
            lease is for and the nature    Dated 10/25/2010
2.1368
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SHOPIFY, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: MARK BERGEN
            lease is for and the nature    09/18/2017
2.1369                                                                           DIRECTOR OF SALES
            of the debtor’s interest
                                                                                 57 ERB ST W
                                                                                 WATERLOO, ON N2L 6C2
                                                                                 CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SIGMA TECHNOLOGY SOLUTIONS INC D/B/A SIGMA SOLUTIONS
            State what the contract or     Invoice IT Consulting Dated
                                                                                 P.O. BOX 677680
            lease is for and the nature    05/11/2015
2.1370                                                                           DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                        Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            SIGMA TECHNOLOGY SOLUTIONS INC. D/B/A SIGMA SOLUTIONS
            State what the contract or     Invoice IT Consulting Dated
                                                                            P.O. BOX 677680
            lease is for and the nature    06/30/2015
2.1371                                                                      DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            SIGMA TECHNOLOGY SOLUTIONS INC. D/B/A SIGMA SOLUTIONS
            State what the contract or     Invoice IT Consulting Dated
                                                                            P.O. BOX 677680
            lease is for and the nature    03/25/2015
2.1372                                                                      DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            SIGMA TECHNOLOGY SOLUTIONS INC. D/B/A SIGMA SOLUTIONS
            State what the contract or     Invoice IT Consulting Dated
                                                                            P.O. BOX 677680
            lease is for and the nature    08/21/2015
2.1373                                                                      DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            SIGMA TECHNOLOGY SOLUTIONS INC. D/B/A SIGMA SOLUTIONS
            State what the contract or     Invoice IT Consulting Dated
                                                                            P.O. BOX 677680
            lease is for and the nature    08/11/2015
2.1374                                                                      DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            SIGMA TECHNOLOGY SOLUTIONS INC. D/B/A SIGMA SOLUTIONS
            State what the contract or     Invoice IT Consulting Dated
                                                                            P.O. BOX 677680
            lease is for and the nature    07/29/2015
2.1375                                                                      DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            SILANIS TECHNOLOGY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                            ATTN: KRISTY BROWN
            lease is for and the nature    07/05/2017
2.1376                                                                      LEGAL COUNSEL, CONTRACTS AND COMPLIANCE
            of the debtor’s interest
                                                                            8200 DECARIE BOULEVARD
                                                                            SUITE 300
                                                                            MONTREAL, QC H4P 2P5
            State the term remaining       Undetermined                     CANADA
            List the contract number of
            any government contract
                                                                            SILKROAD TECHNOLOGY, INC.
            State what the contract or     Subscription Order Form Dated
                                                                            20 WEST KINZIE STREET
            lease is for and the nature    12/08/2011
2.1377                                                                      SUITE 1220
            of the debtor’s interest
                                                                            CHICAGO, IL 60054


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SILKROAD TECHNOLOGY, INC.
            State what the contract or     Service Provider Agreement Dated
                                                                                 20 WEST KINZIE STREET
            lease is for and the nature    12/09/2011
2.1378                                                                           SUITE 1220
            of the debtor’s interest
                                                                                 CHICAGO, IL 60054


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SILKROAD TECHNOLOGY, INC.
            State what the contract or     Service Provider Agreement Dated
                                                                                 20 WEST KINZIE STREET
            lease is for and the nature    12/09/2011
2.1379                                                                           SUITE 1220
            of the debtor’s interest
                                                                                 CHICAGO, IL 60054


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SIRVA RELOCATION, LLC
            State what the contract or     Application and Relocation Service
                                                                                 6200 OAK TREE BLVD
            lease is for and the nature    Agreement Dated 08/27/2010
2.1380                                                                           SUITE 300
            of the debtor’s interest
                                                                                 INDEPENDENCE, OH 44131


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SLACK TECHNOLOGIES INC.
            State what the contract or     Master Subscription Agreement Dated
                                                                                 155 5TH STREET
            lease is for and the nature    02/21/2017
2.1381                                                                           6TH FLOOR
            of the debtor’s interest
                                                                                 SAN FRANCISCO, CA 94103


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SLALOM, LLC D/B/A SLALOM CONSULTING
            State what the contract or     Mutual Confidentiality Agreement
                                                                                 821 SECOND AVENUE
            lease is for and the nature    Dated 12/22/2011
2.1382                                                                           SUITE 1900
            of the debtor’s interest
                                                                                 SEATTLE , WA 98104


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SLALOM, LLC D/B/A SLALOM CONSULTING
            State what the contract or     Statement of Work Dated 04/25/2012
                                                                                 821 SECOND AVENUE
            lease is for and the nature
2.1383                                                                           SUITE 1900
            of the debtor’s interest
                                                                                 SEATTLE , WA 98104


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SLALOM, LLC D/B/A SLALOM CONSULTING
            State what the contract or     Statement of Work Dated 04/25/2012
                                                                                 821 SECOND AVENUE
            lease is for and the nature
2.1384                                                                           SUITE 1900
            of the debtor’s interest
                                                                                 SEATTLE , WA 98104


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SLALOM, LLC D/B/A SLALOM CONSULTING
            State what the contract or     Master Services Agreement Dated
                                                                                 821 SECOND AVENUE
            lease is for and the nature    04/16/2012
2.1385                                                                           SUITE 1900
            of the debtor’s interest
                                                                                 SEATTLE , WA 98104


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SOAD, LLC
            State what the contract or     Exhibit C- Agreement Dated
            lease is for and the nature    06/23/2016
2.1386
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SOAD, LLC
            State what the contract or     Exhibit C- Agreement Dated
            lease is for and the nature    06/23/2016
2.1387
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SOCIETE AIR FRANCE
            State what the contract or     Amendment to the Corporate
                                                                                 45 RUE DE PARIS
            lease is for and the nature    Agreement. Dated 01/15/2016
2.1388                                                                           95747 ROISSY CDG CEDEX FRANCE
            of the debtor’s interest
                                                                                 95747 ROISSY CDG CEDEX
                                                                                 FRANCE
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SOCIETE AIR FRANCE
            State what the contract or     Corporate Incentive Agreement Dated
                                                                                 45 RUE DE PARIS
            lease is for and the nature    03/01/2014
2.1389                                                                           F-95747 ROISSY CDG CEDEX
            of the debtor’s interest
                                                                                 FRANCE


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SOFTSERVE, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: HARRY PROPPER
            lease is for and the nature    11/17/2017
2.1390                                                                           EXECUTIVE VP
            of the debtor’s interest
                                                                                 12800 UNIVERSITY DRIVE
                                                                                 SUITE 410
                                                                                 FORT MYERS, FL 33907
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 SOUTHERN METHODIST UNIVERSITY
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: FANGYUN TOM TAN
            lease is for and the nature    03/21/2017
2.1391                                                                           ASSISTANT PROFESSOR OF INFORMATION TECHNOLOGY AND
            of the debtor’s interest
                                                                                 OPERATIONS MANAGER
                                                                                 6212 BISHOP BLVD
                                                                                 DALLAS, TX 75219
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                SPECIALIST SOFTWARE SERVICES INC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                D/B/A LIVINGSTONE
            lease is for and the nature    08/04/2017
2.1392                                                                          4514 COLE AVENUE
            of the debtor’s interest
                                                                                SUITE 600
                                                                                DALLAS, TX 75205
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SPENDHQ, LLC
            State what the contract or     Amendment of the Agreement Dated
                                                                                5555 TRIANGLE PARKWAY
            lease is for and the nature    10/13/2006
2.1393                                                                          SUITE 300
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SPENDHQ, LLC
            State what the contract or     Master Agreement Dated 01/12/2016
                                                                                5555 TRIANGLE PARKWAY
            lease is for and the nature
2.1394                                                                          SUITE 300
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SPENDHQ, LLC
            State what the contract or     Master Agreement Dated 01/12/2016
                                                                                5555 TRIANGLE PARKWAY
            lease is for and the nature
2.1395                                                                          SUITE 300
            of the debtor’s interest
                                                                                NORCROSS, GA 30092


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SPRINT SOLUTIONS, INC.
            State what the contract or     Customer Service Agreement Dated
            lease is for and the nature    01/13/2011
2.1396
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SQAD, INC.
            State what the contract or     Letter Agreement Dated 01/01/2013
                                                                                303 SOUTH BROADWAY
            lease is for and the nature
2.1397                                                                          SUITE 210
            of the debtor’s interest
                                                                                TARRYTOWN, NY 10591-5410


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SSB CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 05/01/2013
                                                                                3900 E. MEXICO AVENUE
            lease is for and the nature
2.1398                                                                          DENVER, CO 80210
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                SSB CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 08/27/2013
                                                                                3900 E. MEXICO AVENUE
            lease is for and the nature
2.1399                                                                          DENVER, CO 80210
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 1 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    10/17/2014
2.1400                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 1 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    10/17/2014
2.1401                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Mutual Confidentiality and
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    Nondisclosure Agreement Dated
2.1402                                                                          SUITE 890
            of the debtor’s interest       07/10/2012
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 3 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    02/08/2015
2.1403                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 2 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    12/20/2014
2.1404                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 3 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    02/08/2015
2.1405                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                STATERA
            State what the contract or     Change Order No. 3 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    02/17/2015
2.1406                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 1 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    10/18/2014
2.1407                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Change Order No. 1 Dated
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature    10/18/2014
2.1408                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STATERA
            State what the contract or     Statement of Work Dated 07/17/2012
                                                                                3101 NORTH CENTRAL AVE.
            lease is for and the nature
2.1409                                                                          SUITE 890
            of the debtor’s interest
                                                                                PHOENIX, AZ


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STELLAWEB SOLUTIONS, LLC
            State what the contract or     Master Services Agreement Dated
                                                                                518-7 OLD POST ROAD
            lease is for and the nature    10/10/2016
2.1410                                                                          SUITE 293
            of the debtor’s interest
                                                                                EDISON , NJ 08817


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                STROZ FRIEDBERG, LLC, AN AON COMPANY
            State what the contract or     Mutual Non-Disclosure Agreement
                                                                                ATTN: ROCCO F. GRILLO
            lease is for and the nature    Dated 08/10/2017
2.1411                                                                          32 AVENUE OF AMERICAS
            of the debtor’s interest
                                                                                4TH FLOOR
                                                                                NEW YORK, NY 10013
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                SUNGARD AVANTGARD LLC
            State what the contract or     Software Licensing Agreement Dated
                                                                                ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature    03/31/2014
2.1412                                                                          600 LANIDEX PLAZA
            of the debtor’s interest
                                                                                PARSIPPANY, NJ 07054


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               SUNGARD AVANTGARD, LLC
            State what the contract or     Software Licensing and Services
                                                                               600 LANIDEX PLAZA
            lease is for and the nature    Agreement Dated 03/31/2014
2.1413                                                                         PARSIPPANY, NJ 07054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SUNGARD AVANTGARD, LLC
            State what the contract or     Software Licensing and Services
                                                                               600 LANIDEX PLAZA
            lease is for and the nature    Agreement Dated 03/31/2014
2.1414                                                                         PARSIPPANY, NJ 07054
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SUPER MICRO COMPUTER INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               980 ROCK AVENUE
            lease is for and the nature    09/20/2017
2.1415                                                                         SAN JOSE, CA 95131
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SWN COMMUNICATIONS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               500 PLAZA DRIVE
            lease is for and the nature    11/14/2016
2.1416                                                                         SUITE 205
            of the debtor’s interest
                                                                               SECAUCUS, NJ 07094


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SWN COMMUNICATIONS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               500 PLAZA DRIVE
            lease is for and the nature    04/14/2016
2.1417                                                                         SUITE 205
            of the debtor’s interest
                                                                               SECAUCUS, NJ 07094


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SYMANTEC
            State what the contract or     License Transfer Dated 06/30/2008
                                                                               555 INTERNATIONAL WAY
            lease is for and the nature
2.1418                                                                         SPRINGFIELD, OR 97477
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               SYSTEMS MAINTENANCE SERVICES, INC.
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1419
            of the debtor’s interest       04/02/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               TABLCOU LLC D/B/A GISTIA LABS
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               15601 SW 86TH AVENUE
            lease is for and the nature    10/07/2016
2.1420                                                                         MIAMI , FL 33157
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TABLEAU SOFTWARE INC
            State what the contract or     Invoice Dated 03/24/2016
                                                                               837 NORTH 34TH STREET
            lease is for and the nature
2.1421                                                                         SUITE 200
            of the debtor’s interest
                                                                               SEATTLE, WA 98103


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TABLEAU SOFTWARE INC.
            State what the contract or     Invoice IT Operations Management
                                                                               837 NORTH 34TH STREET
            lease is for and the nature    Dated 08/31/2016
2.1422                                                                         SUITE 200
            of the debtor’s interest
                                                                               SEATTLE, WA 98103


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TABLEAU SOFTWARE, INC.
            State what the contract or     End User License Agreement (EULA)
                                                                               837 NORTH 34TH STREET
            lease is for and the nature    Dated 03/24/2016
2.1423                                                                         SUITE 200
            of the debtor’s interest
                                                                               SEATTLE , WA 98103


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TABLEAU SOFTWARE, INC.
            State what the contract or     Purchase Order Dated 09/25/2014
                                                                               837 NORTH 34TH STREET
            lease is for and the nature
2.1424                                                                         SUITE 200
            of the debtor’s interest
                                                                               SEATTLE, WA 98103


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TANGOE
            State what the contract or     MxPay Schedule Dated 12/03/2015
            lease is for and the nature
2.1425
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TANGOE, INC.
            State what the contract or     Amendment No.1 to Comm Care
            lease is for and the nature    Premium Mobile Schedule Dated
2.1426
            of the debtor’s interest       06/17/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              TANGOE, INC.
            State what the contract or     CommCare Premium Mobile Schedule
            lease is for and the nature    Dated 09/28/2013
2.1427
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              TANIUM INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                              ATTN: ERIC BROWN
            lease is for and the nature    02/28/2017
2.1428                                                                        CFO
            of the debtor’s interest
                                                                              2200 POWELL STREET
                                                                              SUITE 500
                                                                              EMERYVILLE, CA 94608
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Mutual Confidentiality Agreement
                                                                              101 PARK AVENUE
            lease is for and the nature    Dated 10/26/2012
2.1429                                                                        26TH FLOOR
            of the debtor’s interest
                                                                              NEW YORK, NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Mutual Confidentiality Agreement
                                                                              101 PARK AVENUE
            lease is for and the nature    Dated 10/26/2012
2.1430                                                                        26TH FLOOR
            of the debtor’s interest
                                                                              NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub-Work Order #5
                                                                              101 PARK AVENUE
            lease is for and the nature    Dated 07/24/2014
2.1431                                                                        26TH FLOOR
            of the debtor’s interest
                                                                              NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Work Order #1 Dated 03/25/2013
                                                                              101 PARK AVENUE
            lease is for and the nature
2.1432                                                                        26TH FLOOR
            of the debtor’s interest
                                                                              NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #2 Dated
                                                                              101 PARK AVENUE
            lease is for and the nature    03/25/2013
2.1433                                                                        26TH FLOOR
            of the debtor’s interest
                                                                              NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #1 Dated 06/10/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1434                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work order #1 Dated 05/17/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1435                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Work Order 3# -Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #8 Dated 06/05/2017
2.1436                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 04/02/2014
2.1437                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work order #10 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    08/07/2017
2.1438                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order # 11 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    05/19/2014
2.1439                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #7 Dated 01/27/2014
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1440                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #1 Dated 06/10/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1441                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 3 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 08/05/2014
2.1442                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Work Order #2 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    05/16/2016
2.1443                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub - Work Order
                                                                                101 PARK AVENUE
            lease is for and the nature    #11 - Work Order #2 Dated
2.1444                                                                          26TH FLOOR
            of the debtor’s interest       03/04/2016
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work order #8 Dated 02/13/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1445                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 04/02/2014
2.1446                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #16 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    11/17/2014
2.1447                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #12 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    03/01/2015
2.1448                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub-Work Order #7
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 07/01/2015
2.1449                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #1 Dated 06/10/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1450                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #15 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    10/13/2014
2.1451                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work order #2 Dated 05/17/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1452                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work order #3 Dated 05/17/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1453                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #4 Dated 09/21/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1454                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #4
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 12/11/2013
2.1455                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #2 Dated 02/03/2014
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1456                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #5 Dated 02/03/2014
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1457                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Work Order #2 Dated 06/06/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1458                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #16 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    08/03/2015
2.1459                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Change Order No. 1 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    02/01/2015
2.1460                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #19 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    03/11/2015
2.1461                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub-Work Order #7
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 04/21/2014
2.1462                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Master Services Agreement Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    03/25/2013
2.1463                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #11 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    03/01/2015
2.1464                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub Work Order #7
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 01/01/2015
2.1465                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #1 Dated 03/25/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1466                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub - Work Order
                                                                                101 PARK AVENUE
            lease is for and the nature    #10 Dated 05/16/2016
2.1467                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work order #11 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    09/11/2017
2.1468                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Change Order No. 2 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    01/01/2015
2.1469                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Master Services Agreement Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    03/25/2013
2.1470                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #4 Dated 09/21/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1471                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub Work Order #13
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 08/01/2015
2.1472                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order 3
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 10/20/2014
2.1473                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #5 Dated 02/03/2014
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1474                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Work Order 3# -Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #1 Dated 05/17/2016
2.1475                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Work Order 3# -Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #6 Dated 01/03/2017
2.1476                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #4 Dated 09/21/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1477                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Work Order 1# - Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #20 Dated 02/23/2015
2.1478                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 04/02/2014
2.1479                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #5 Dated 02/03/2014
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1480                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Work Order #2 Dated 06/06/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1481                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Work Order #2 Dated 06/06/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1482                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Work Order 3# -Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #7 Dated 01/03/2017
2.1483                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub - Work order #14 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    07/20/2015
2.1484                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 4 to Sub-Work Order #13.
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 12/01/2015
2.1485                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #5 Dated 11/28/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1486                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #7 Dated 01/27/2014
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1487                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #7 Dated 01/03/2017
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1488                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 07/24/2014
2.1489                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub Work Order #13
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 07/01/2015
2.1490                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #6 Dated 01/03/2017
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1491                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #8 Dated 03/13/2017
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1492                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 3 to Sub Work Order #13
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 09/01/2015
2.1493                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 6 to Work Order #1 - Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work Order #13 Dated 07/22/2014
2.1494                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order # 4 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    01/13/2014
2.1495                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #4 Dated 11/18/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1496                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 4 to Work Order #1-Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work Order #15 Dated 10/13/2014
2.1497                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order # 20 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    02/23/2015
2.1498                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #1 Dated 06/10/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1499                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 07/24/2014
2.1500                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub - Work Order #4 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    11/08/2013
2.1501                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #3 Dated 11/05/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1502                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #2 Dated 08/22/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1503                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 3 to Work Order #1-Sub
                                                                                 101 PARK AVENUE
            lease is for and the nature    Work Order #17 Dated 11/20/2014
2.1504                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #4
                                                                                 101 PARK AVENUE
            lease is for and the nature    Dated 12/11/2013
2.1505                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #10 Dated
                                                                                 101 PARK AVENUE
            lease is for and the nature    09/20/2014
2.1506                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #12 Dated
                                                                                 101 PARK AVENUE
            lease is for and the nature    06/12/2014
2.1507                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order 3
                                                                                 101 PARK AVENUE
            lease is for and the nature    Dated 11/20/2014
2.1508                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #5
                                                                                 101 PARK AVENUE
            lease is for and the nature    Dated 04/02/2013
2.1509                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Signature page of Sub Work Order #1
                                                                                 101 PARK AVENUE
            lease is for and the nature    Dated 06/06/2013
2.1510                                                                           26TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Work Order #3 Dated 05/17/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1511                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #8 Dated 03/13/2017
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1512                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #9 Dated 03/21/2017
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1513                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 3 to Work Order #1 Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    05/16/2016
2.1514                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Work Order 1# - Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #22 Dated 02/01/2016
2.1515                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Work Order 1# - Sub
                                                                                101 PARK AVENUE
            lease is for and the nature    Work order #7 Dated 01/20/2014
2.1516                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Invoice Dated 08/19/2015
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1517                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #5 Dated 11/28/2016
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1518                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #4
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 12/11/2013
2.1519                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 4 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 12/01/2014
2.1520                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 2 to Sub-Work Order #5
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 07/24/2014
2.1521                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #3 Dated 03/25/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1522                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub Work Order #7
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 02/24/2014
2.1523                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Amendment 1 to Sub-Work Order #7
                                                                                101 PARK AVENUE
            lease is for and the nature    Dated 02/24/2014
2.1524                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #2 Dated 03/25/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1525                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Work Order #1 Dated 03/25/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1526                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Sub-Work Order #3 Dated 04/15/2013
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1527                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Termination Notice Letter Dated
                                                                                101 PARK AVENUE
            lease is for and the nature    06/27/2017
2.1528                                                                          26 TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10178


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA AMERICA INTERNATIONAL CORPORATION
            State what the contract or     Some part of unknown contract
                                                                                101 PARK AVENUE
            lease is for and the nature
2.1529                                                                          26TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK , NY 10176


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA CONSULTANCY
            State what the contract or     Services Agreement Renewal Dated
            lease is for and the nature    04/30/2016
2.1530
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TATA CONSULTANCY SERVICES
            State what the contract or     Deal Summary Sheet Dated
            lease is for and the nature    11/21/2016
2.1531
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               TATA CONSULTANCY SERVICES LIMITED
            State what the contract or     Notice Letter Dated 08/28/2015
            lease is for and the nature
2.1532
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TAX COMPLIANCE, INC.
            State what the contract or     Invoice and Renewal Amendment
                                                                               10089 WILLOW CREEK ROAD
            lease is for and the nature    Schedule Dated 01/01/2016
2.1533                                                                         SUITE 300
            of the debtor’s interest
                                                                               SAN DIEGO, CA 92131


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TECHMINDS GROUP, LLC
            State what the contract or     Statement of Work #3 Dated
                                                                               365 WEST PASSAIC STREET
            lease is for and the nature    02/01/2018
2.1534                                                                         SUITE 228
            of the debtor’s interest
                                                                               ROCHELLE PARK, NJ 07662


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TECHNOLOGY PARTNERS INTERNATIONAL, INC.
            State what the contract or     Professional Services Agreement
                                                                               10056 GROGAN'S MILL ROAD
            lease is for and the nature    Dated 11/30/2009
2.1535                                                                         SUITE 200
            of the debtor’s interest
                                                                               THE WOODLANDS , TX 77380


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TECTONIC LLC
            State what the contract or     Master Services Agreement Dated
                                                                               ATTN: CHRIS WILSON
            lease is for and the nature    07/27/2016
2.1536                                                                         1644 PLATTE STREET
            of the debtor’s interest
                                                                               3RD FLOOR
                                                                               DENVER , CO 80202
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TECTURA
            State what the contract or     Master Services Agreement Dated
                                                                               411 BOREL AVENUE
            lease is for and the nature    12/02/2011
2.1537                                                                         SUITE 205
            of the debtor’s interest
                                                                               SAN MATEO, CA 94402


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               TEMPUS TECHNOLOGIES, INC.
            State what the contract or     Master Agreement Dated 08/01/2017
                                                                               ATTN: PRESIDENT
            lease is for and the nature
2.1538                                                                         120 E. SEVENTH STREET
            of the debtor’s interest
                                                                               AUBURN, IN 46706


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TEMPUS TECHNOLOGIES, INC.
            State what the contract or     Tempus Technologies, Inc. Dated
                                                                                ATTN: PRESIDENT
            lease is for and the nature    08/01/2017
2.1539                                                                          120 E. SEVENTH STREET
            of the debtor’s interest
                                                                                AUBURN, IN 46706


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TEMPUS TECHNOLOGIES, INC.
            State what the contract or     Mutual Confidentiality and Non-
                                                                                120 E SEVENTH ST
            lease is for and the nature    Disclosure Agreement Dated
2.1540                                                                          AUBURN, IA 46706
            of the debtor’s interest       02/07/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TEMPUS TECHNOLOGIES, INC.
            State what the contract or     Master Agreement Dated 08/01/2017
                                                                                120 E SEVENTH ST
            lease is for and the nature
2.1541                                                                          AUBURN, IA 46706
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TEMPUS TECHNOLOGIES, INC.
            State what the contract or     Scope of Work Project (Addendum E)
                                                                                120 E SEVENTH ST
            lease is for and the nature    Dated 08/01/2017
2.1542                                                                          AUBURN, IA 46706
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TFS ENERGY SOLUTIONS, LLC
            State what the contract or     Mutual Confidentiality and Non-
            lease is for and the nature    Disclosure Agreement Dated
2.1543
            of the debtor’s interest       08/25/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ASSOCIATED PRESS
            State what the contract or     Addendum #3 to Member Agreement
                                                                                1100 13TH STREET NW
            lease is for and the nature    for Radio Dated 04/01/2013
2.1544                                                                          SUITE 700
            of the debtor’s interest
                                                                                WASHINGTON, DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ASSOCIATED PRESS
            State what the contract or     Addendum to Member Agreement for
                                                                                1100 13TH STREET NW
            lease is for and the nature    Radio Dated 04/01/2013
2.1545                                                                          SUITE 700
            of the debtor’s interest
                                                                                WASHINGTON, DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Addendum to Member Supplemental
                                                                                 1100 13TH STREET NW
            lease is for and the nature    Agreement for Radio Dated
2.1546                                                                           SUITE 700
            of the debtor’s interest       04/01/2013
                                                                                 WASHINGTON, DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Member Agreement for Radio Dated
                                                                                 1100 13TH ST. NW
            lease is for and the nature    04/01/2013
2.1547                                                                           SUITE 700
            of the debtor’s interest
                                                                                 WASHINGTON, DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Addendum #2 to Member Agreement
                                                                                 1100 13TH STREET NW
            lease is for and the nature    for Radio Dated 04/01/2013
2.1548                                                                           SUITE 700
            of the debtor’s interest
                                                                                 WASHINGTON, DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Addendum to Member Agreements for
                                                                                 1103 13TH STREET NW
            lease is for and the nature    Radio Dated 03/14/2013
2.1549                                                                           SUITE 700
            of the debtor’s interest
                                                                                 WASHINGTON , DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Addendum to GraphicsBank
                                                                                 1100 13TH STREET NW
            lease is for and the nature    Supplemental Agreement for Internet
2.1550                                                                           SUITE 700
            of the debtor’s interest       Use Dated 04/01/2013
                                                                                 WASHINGTON , DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Digital Use Agreement
                                                                                 1100 13TH STREET NW
            lease is for and the nature
2.1551                                                                           SUITE 700
            of the debtor’s interest
                                                                                 WASHINGTON , DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE ASSOCIATED PRESS
            State what the contract or     Addendum to Images Online
                                                                                 1100 13TH STREET NW
            lease is for and the nature    Supplemental Agreement Dated
2.1552                                                                           SUITE 700
            of the debtor’s interest       04/01/2013
                                                                                 WASHINGTON , DC 20005


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                THE AUTOSCRIBE CORP.
            State what the contract or     Cancellation Notification Dated
                                                                                9711 WASHINGTONIAN BLVD.
            lease is for and the nature    07/23/2017
2.1553                                                                          SUITE 440
            of the debtor’s interest
                                                                                GAITHERSBURG, MD 20878


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE BEEKMAN, A THOMPSON HOTEL
            State what the contract or     Corporate Rate Agreement Dated
            lease is for and the nature    01/01/2018
2.1554
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ERIC RYAN CORPORATION
            State what the contract or     Telecommunications Services
                                                                                ATTN: MARY DECARIA
            lease is for and the nature    Agreement Dated 02/09/2015
2.1555                                                                          1 EARLY STREET
            of the debtor’s interest
                                                                                SUITE A
                                                                                PO BOX 473
                                                                                ELLWOOD CITY, PA 16117
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ERIC RYAN CORPORATION
            State what the contract or     Mutual Confidentiality and Non-
                                                                                1 EARLY ST.
            lease is for and the nature    Disclosure Agreement Dated
2.1556                                                                          SUITE A
            of the debtor’s interest       02/12/2015
                                                                                PO BOX 473
                                                                                ELLWOOD CITY, PA 16117
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ERIC RYAN CORPORATION
            State what the contract or     Statement of Work Dated 02/09/2017
                                                                                1 EARLY ST.
            lease is for and the nature
2.1557                                                                          SUITE A
            of the debtor’s interest
                                                                                PO BOX 473
                                                                                ELLWOOD CITY, PA 16117
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ERIC RYAN CORPORATION
            State what the contract or     Services Agreement Dated
                                                                                ATTN: MARY DECARIA
            lease is for and the nature    06/21/2016
2.1558                                                                          1 EATLY ST.
            of the debtor’s interest
                                                                                SUITE A
                                                                                PO BOX 473
                                                                                ELLWOOD CITY, PA 16117
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                THE ERIC RYAN CORPORATION
            State what the contract or     Services Agreement Dated
                                                                                ATTN: MARY DECARIA
            lease is for and the nature    06/21/2016
2.1559                                                                          1 EATLY ST.
            of the debtor’s interest
                                                                                SUITE A
                                                                                PO BOX 473
                                                                                ELLWOOD CITY, PA 16117
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 THE GARRIGAN LYMAN GROUP INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 1524 FIFTH AVENUE
            lease is for and the nature    01/10/2018
2.1560                                                                           SEATTLE, WA 98101
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Work Order 2- Maestro Software
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    Development Kit (SDK) Dated
2.1561                                                                           SUITE 400
            of the debtor’s interest       06/01/2012
                                                                                 ALPHARETTA , GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Master Services Agreement for "Time
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    and Materials" Based Project Dated
2.1562                                                                           4TH FLOOR
            of the debtor’s interest       06/13/2012
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Statement of Work Dated 06/13/2012
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature
2.1563                                                                           SUITE 400
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Statement of Work Dated 06/13/2012
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature
2.1564                                                                           SUITE 400,
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Statement of Work Dated 06/15/2012
                                                                                 2520 NORTHWINDS PARKWAY,
            lease is for and the nature
2.1565                                                                           SUITE #400
            of the debtor’s interest
                                                                                 ALPHARETTA , GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Work Order 2 - Maestro Software
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    Development Lit (SDK) Dated
2.1566                                                                           SUITE 400
            of the debtor’s interest       06/13/2012
                                                                                 ALPHARETTA , GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Master Data Maestro - Specification
                                                                                 2520 NORTHWINDS PARKWAY
            lease is for and the nature    Schedule - Schedule of Software
2.1567                                                                           SUITE #400
            of the debtor’s interest       Dated 06/15/2011
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Statement of Work Dated 06/13/2012
                                                                                 2520 NORTHWINDS PARKWAY,
            lease is for and the nature
2.1568                                                                           SUITE 400,
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30009


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE PROFISEE GROUP, INC.
            State what the contract or     Work Order 01 - Master Data Service
                                                                                 2520 NORTHWINDS PARKWAY, SUITE 400
            lease is for and the nature    Accelerator Dated 06/01/2012
2.1569                                                                           ALPHARETTA, GA 30009
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE SAVO GROUP LTD
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 155 NORTH WACKER DRIVE
            lease is for and the nature    11/15/2016
2.1570                                                                           SUITE 1000
            of the debtor’s interest
                                                                                 CHICAGO, IL 60606


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THE UNIVERSITY OF TEXAS AT SAN ANTONIO
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: DR. CAN (JOHN) SAYGIN
            lease is for and the nature    03/27/2017
2.1571                                                                           ASSOCIATE VICE PRESIDENT FOR SPONSORED PROJECT
            of the debtor’s interest
                                                                                 ADMINISTRATION
                                                                                 ONE UTSA CIRCLE
                                                                                 SAN ANTONIO , TX 78249
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THIRD DEFENSE, INC.
            State what the contract or     Consulting Services Agreement
                                                                                 29105 NE 62ND PI
            lease is for and the nature    Dated 02/15/2013
2.1572                                                                           CARNATION , WA 98014
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THIRD DEFENSE, INC.
            State what the contract or     Mutual Non-disclosure Agreement
                                                                                 29105 NE 62ND PI
            lease is for and the nature    Dated 02/15/2013
2.1573                                                                           CARNATION , WA 98014
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 THIRD DEFENSE, INC.
            State what the contract or     Addendum to the Consulting Services
                                                                                 29105 NE 62ND PI
            lease is for and the nature    Agreement Dated 02/18/2013
2.1574                                                                           CARNATION , WA 98014
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THOMAS & BETTS POWER SOLUTIONS D/B/A JT PACKARD
            State what the contract or     Service Invoice Dated 01/29/2015
                                                                                 275 INVESTMENT COURT
            lease is for and the nature
2.1575                                                                           VERONA , WI 53593
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THOMAS & BETTS POWER SOLUTIONS LLC
            State what the contract or     Service Invoice Dated 02/24/2015
                                                                                 ATTN: ABB INC.
            lease is for and the nature
2.1576                                                                           275 INVESTMENT COURT
            of the debtor’s interest
                                                                                 VERONA , WI 53593


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THOMAS & BETTS POWER SOLUTIONS LLC
            State what the contract or     Service Invoice Dated 02/12/2015
                                                                                 ATTN: ABB INC.
            lease is for and the nature
2.1577                                                                           275 INVESTMENT COURT
            of the debtor’s interest
                                                                                 VERONA , WI 53593


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THOMAS & BETTS POWER SOLUTIONS LLC D/B/A JT PACKARD
            State what the contract or     Service Invoice Dated 01/29/2015
                                                                                 275 INVESTMENT COURT
            lease is for and the nature
2.1578                                                                           VERONA , WI 53593
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THOMSON REUTERS (TAX & ACCOUNTING) INC.
            State what the contract or     Order Form Dated 09/29/2016
                                                                                 ATTN: ORDER PROCESSING
            lease is for and the nature
2.1579                                                                           2395 MIDWAY ROAD
            of the debtor’s interest
                                                                                 CARROLLTON, TX 75006-2521


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 THOMSON REUTERS (TAX & ACCOUNTING) INC.
            State what the contract or     Statement of Work & Order Form
                                                                                 ATTN: ORDER PROCESSING
            lease is for and the nature    Dated 12/04/2015
2.1580                                                                           2395 MIDWAY ROAD
            of the debtor’s interest
                                                                                 CARROLLTON, TX 75006-2521


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 THOMSON REUTERS (TAX & ACCOUNTING), INC.
            State what the contract or     Multi Year Order Form and License
                                                                                 PO BOX 115008
            lease is for and the nature    Agreement Dated 10/20/2016
2.1581                                                                           CARROLLTON, TX 75001-5008
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TIME WARNER CABLE BUSINESS SERVICES
            State what the contract or     National Services Agreement Dated
                                                                                 13820 SUNRISE VALLEY DRIVE
            lease is for and the nature    10/11/2011
2.1582                                                                           HERNDON, VA 20171
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TIME WARNER CABLE, INC.
            State what the contract or     Amendment No. 1 to National Service
                                                                                 13820 SUNRISE VALLEY DRIVE
            lease is for and the nature    Agreement Dated 01/20/2012
2.1583                                                                           HERNDON, VA 20171
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TIME WARNER CABLE, INC.
            State what the contract or     Business Class Service Addendum
                                                                                 13820 SUNRISE VALLEY DR
            lease is for and the nature    Dated 08/18/2015
2.1584                                                                           HERNDON, VA 20171
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TIMOTHY FLANAGAN
            State what the contract or     Statement of Work Dated 07/06/2012
                                                                                 618 NW 87TH ST.
            lease is for and the nature
2.1585                                                                           SEATTLE, WA 98117
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TIMOTHY FLANAGAN
            State what the contract or     Services Dated 04/09/2012
                                                                                 618 NW 87TH ST.
            lease is for and the nature
2.1586                                                                           SEATTLE, WA 98117
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 TLC CREATIVE
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: JEFF WARD
            lease is for and the nature    09/18/2017
2.1587                                                                           MANAGER
            of the debtor’s interest
                                                                                 13428 MAXELLA AVE
                                                                                 #261
                                                                                 MARINA DEL REY, CA 90292
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TRACTION SALES AND MARKETING INC.
            State what the contract or     Statement of Work Dated 08/21/2013
                                                                                2700 PRODUCTION WAY
            lease is for and the nature
2.1588                                                                          5TH FLOOR
            of the debtor’s interest
                                                                                BURNABY, BC V5A 4V7
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TRACTION SALES AND MARKETING, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: DAVID NELSON
            lease is for and the nature    10/06/2017
2.1589                                                                          MANAGING DIRECTOR - TRACTION LABS
            of the debtor’s interest
                                                                                2700 PRODUCTION WAY
                                                                                BURNABY, BC V5A 0C2
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TRANSPARENT ENERGY
            State what the contract or     Letter of Authorization Dated
            lease is for and the nature    03/29/2017
2.1590
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TREND MICRO INCORPORATED
            State what the contract or     Mutual Confidentiality and Non-
                                                                                225 EAST JOHN CARPENTER FREEWAY
            lease is for and the nature    Disclosure Agreement Dated
2.1591                                                                          SUITE 1500
            of the debtor’s interest       11/09/2016
                                                                                IRVING , TX 75062


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TRIQUEST BUSINESS SERVICES
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: JANEL A. UMPHLETT
            lease is for and the nature    10/03/2013
2.1592                                                                          13526 GEORGE RD 201
            of the debtor’s interest
                                                                                SAN ANTONIO , TX 78230


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TRY IT NOW TRAINING, LLC
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: TOM WASHAM
            lease is for and the nature    11/02/2016
2.1593                                                                          2930 NORTH SHERIDAN
            of the debtor’s interest
                                                                                #1401
                                                                                CHICAGO , IL 60657
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TRY IT NOW TRAINING, LLC
            State what the contract or     Master Services Agreement Dated
                                                                                ATTN: TOM WASHAM
            lease is for and the nature    11/02/2016
2.1594                                                                          2930 NORTH SHERIDAN
            of the debtor’s interest
                                                                                CHICAGO , IL 60657


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                TW TELECOM HOLDINGS, INC.
            State what the contract or     Master Services Agreement Dated
                                                                                10475 PARK MEADOWS DRIVE
            lease is for and the nature    12/09/2011
2.1595                                                                          LITTLETON , CO 80124
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                TYCO INTEGRATED SECURITY, LLC
            State what the contract or     National Account Master Agreement
                                                                                ATTN: NATIONAL ACCOUNT MANAGER
            lease is for and the nature    Dated 07/01/2016
2.1596                                                                          2530 WHITEHALL PARK DR
            of the debtor’s interest
                                                                                CHARLOTTE, NC 28270


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UMT 360 LLC
            State what the contract or     Termination Notice Letter Dated
                                                                                10900 NR 4TH STREET
            lease is for and the nature    08/05/2015
2.1597                                                                          SUITE 2110
            of the debtor’s interest
                                                                                BELLEVUE , WA 98004


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UMT CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 03/12/2013
                                                                                1 BATTERY PARK PLAZA
            lease is for and the nature
2.1598                                                                          NEW YORK , NY 10004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UMT CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 07/25/2013
                                                                                1 BATTERY PARK PLAZA
            lease is for and the nature
2.1599                                                                          NEW YORK , NY 10004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UMT CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 07/25/2013
                                                                                1 BATTERY PARK PLAZA
            lease is for and the nature
2.1600                                                                          NEW YORK , NY 10004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UMT CONSULTING GROUP, LLC
            State what the contract or     Change Order No. 1 Dated
                                                                                1 BATTERY PARK PLAZA
            lease is for and the nature    07/18/2013
2.1601                                                                          NEW YORK , NY 10004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                UMT CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 02/01/2018
                                                                                1 BATTERY PARK PLAZA
            lease is for and the nature
2.1602                                                                          NEW YORK , NY 10004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UMT CONSULTING GROUP, LLC
            State what the contract or     Statement of Work Dated 02/05/2018
                                                                                1 BATTERY PARK PLAZA
            lease is for and the nature
2.1603                                                                          NEW YORK , NY 10004
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                UXC ECLIPSE (USA) LLC
            State what the contract or     Invoice Annual Support and
                                                                                174 HUDSON STREET
            lease is for and the nature    Maintenance Dated 06/24/2015
2.1604                                                                          NEW YORK, NY 10013
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VARICENT SOFTWARE INCORPORATED
            State what the contract or     Non-Disclosure and Restricted Use
                                                                                36 YORK MILLS ROAD
            lease is for and the nature    Agreement Dated 01/01/2008
2.1605                                                                          SUITE 200
            of the debtor’s interest
                                                                                TORONTO , ON M2P2E9
                                                                                CANADA
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VELOCLOUD NETWORKS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                295 NORTH BERNADO AVE
            lease is for and the nature    11/28/2016
2.1606                                                                          MOUNTAIN VIEW, CA 94043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VELOCLOUD NETWORKS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                295 NORTH BERNARDO AVE.
            lease is for and the nature    11/28/2016
2.1607                                                                          MOUNTAIN VIEW , CA 94043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON
            State what the contract or     Amendment to Business Service
                                                                                POB 920041
            lease is for and the nature    Agreement Dated 04/11/2017
2.1608                                                                          DALLAS, TX 75392-0041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Twenty-First Amendment to The
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Verizon Business Services Agreement
2.1609                                                                           ASHBURN, VA 20147
            of the debtor’s interest       Dated 02/23/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Nineteenth Amendment to the Verizon
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Business Service Agreement Dated
2.1610                                                                           ASHBURN, VA 20147
            of the debtor’s interest       07/14/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Twentieth Amendment to The Verizon
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Business Services Agreement Dated
2.1611                                                                           ASHBURN, VA 20147
            of the debtor’s interest       11/05/2015


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Amendment No. 1 to Service
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Agreement Dated 03/03/2016
2.1612                                                                           ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Twentieth Amendment to Service
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Agreement Dated 11/01/2015
2.1613                                                                           ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Nineteenth Amendment Dated
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    07/07/2015
2.1614                                                                           ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Sixteenth Amendment Dated
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    09/10/2012
2.1615                                                                           ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                               Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Application for Service -- Washington
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    DC Dated 02/23/2016
2.1616                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Application for Service Dated
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    02/23/2016
2.1617                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Application for Service -- Virginia
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Dated 02/23/2016
2.1618                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Fourteenth Amendment Dated
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    11/15/2011
2.1619                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Application for Service Dated
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    02/23/2016
2.1620                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Thirteenth Amendment Dated
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    04/11/2011
2.1621                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                   VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Fifteenth Amendment Dated
                                                                                   22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    05/31/2012
2.1622                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Twelfth Amendment Dated
                                                                                22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    01/31/2011
2.1623                                                                          ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Twenty-First Amendment to Service
                                                                                22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Agreement Dated 02/23/2016
2.1624                                                                          ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Application for Service --
                                                                                22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Pennsylvania Dated 02/23/2016
2.1625                                                                          ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or     Amendment No. 1 to Service
                                                                                22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature    Agreement Dated 03/03/2016
2.1626                                                                          ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON BUSINESS SERVICES
            State what the contract or     Service Agreement Dated 02/23/2016
                                                                                ATTN: CUSTOMER SERVICE
            lease is for and the nature
2.1627                                                                          6415-6455 BUSINESS CENTER DRIVE
            of the debtor’s interest
                                                                                HIGHLANDS RANCH, CO 80130


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON BUSINESS SERVICES, INC.
            State what the contract or     Service Agreement Dated 02/23/2016
                                                                                ATTN: CUSTOMER SERVICE
            lease is for and the nature
2.1628                                                                          6415-6455 BUSINESS CENTER DRIVE
            of the debtor’s interest
                                                                                HIGHLANDS RANCH, CO 80130


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                VERIZON DELAWARE, LLC
            State what the contract or     Application for Service --Delaware
            lease is for and the nature    Dated 02/23/2016
2.1629
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 VERIZON MARYLAND, LLC
            State what the contract or     Application for Service -- Maryland
            lease is for and the nature    Dated 02/23/2016
2.1630
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VERTICAL BRIDGE
            State what the contract or     Transition Services Agreement
                                                                                 POB 748551
            lease is for and the nature
2.1631                                                                           LOS ANGELES, CA 90074-8551
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                                 VINYL DEVELOPMENT LLC D/B/A ZUDY
            State what the contract or     Mutual Confidentiality And Non-
                                                                                 690 LINCOLN ROAD
            lease is for and the nature    Disclosure Agreement Dated
2.1632                                                                           SUITE 201
            of the debtor’s interest       02/19/2015
                                                                                 MIAMI BEACH, FL 33139


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VINYL DEVELOPMENT, LLC D/B/A ZUDY
            State what the contract or     Master Software License and
                                                                                 690 LINCOLN ROAD
            lease is for and the nature    Subscription Agreement Dated
2.1633                                                                           SUITE 201
            of the debtor’s interest       02/03/2016
                                                                                 MIAMI BEACH , FL 33139


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VINYL LLC D/B/A ZUDY
            State what the contract or     Master Software License and
                                                                                 690 LINCOLN ROAD
            lease is for and the nature    Subscription Agreement Dated
2.1634                                                                           SUITE 201
            of the debtor’s interest       02/03/2016
                                                                                 MIAMI BEACH, FL 33139


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VIPTELA, INC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                 ATTN: JAMES M. WINEBRENNER
            lease is for and the nature    01/04/2017
2.1635                                                                           VICE PRESIDENT, WORLDWIDE SALES
            of the debtor’s interest
                                                                                 1732 NORTH FIRST ST.
                                                                                 SUITE 600
                                                                                 SAN JOSE, CA 95112
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 VIRGIN ATLANTIC AIRWAYS LIMITED
            State what the contract or     Amendment to the Corporate
                                                                                 THE OFFICE MANOR ROYAL
            lease is for and the nature    Agreement. Dated 01/15/2016
2.1636                                                                           CRAWLEY
            of the debtor’s interest
                                                                                 WEST SUSSEX , ENGLAND RH10 9 NU
                                                                                 UNITED KINGDOM
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               VIRTRU CORPORATION
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               ATTN: JOHN ACKERLY
            lease is for and the nature    01/24/2017
2.1637                                                                         CEO
            of the debtor’s interest
                                                                               1808 FLORIDA AVE.
                                                                               WASHINGTON , DC 20009
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               VISTEX, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               ATTN: AMOS BIEGUN
            lease is for and the nature    11/02/2017
2.1638                                                                         MANAGING DIRECTOR
            of the debtor’s interest
                                                                               2300 BARRINGTON RD
                                                                               7TH FLOOR
                                                                               HOFFMAN ESTATES, IL 60169
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               VMWARE, INC.
            State what the contract or     Enterprise License Agreement
                                                                               ATTN: LEGAL DEPARTMENT
            lease is for and the nature    Maintenance Renewal Dated
2.1639                                                                         3401 HILLVIEW AVENUE
            of the debtor’s interest       12/13/2016
                                                                               PALO ALTO, CA 94304


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               VOICEBASE
            State what the contract or     Form of Statement of Work Dated
                                                                               ATTN: WALTER BACHTIER
            lease is for and the nature    01/02/2017
2.1640                                                                         107 STONETREE LANE
            of the debtor’s interest
                                                                               NOVATO, CA 94945


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               VOICEBASE
            State what the contract or     Master Services Agreement Dated
                                                                               ATTN: WALTER BACHTIER
            lease is for and the nature    01/02/2018
2.1641                                                                         107 STONETREE LANE
            of the debtor’s interest
                                                                               NOVATO, CA 94945


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               VOLOGY, INC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               ATTN: KEITH ARCHIBALD
            lease is for and the nature    05/18/2017
2.1642                                                                         CTO
            of the debtor’s interest
                                                                               15950 BAY VISTA DRIVE
                                                                               CLEARWATER, FL 33760
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               VOLT WORKFORCE SOLUTIONS
            State what the contract or     Professional Search Fee Schedule,
                                                                               A DIVISION OF VOLT MANAGEMENT CORP.
            lease is for and the nature    USA Dated 05/06/2012
2.1643
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                             Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 WHEATSTONE CORPORATION
            State what the contract or     Broadcast Equipment Products &
                                                                                 600 INDUSTRIAL DRIVE
            lease is for and the nature    Services Agreement Dated
2.1644                                                                           NEW BERN, NC 28562
            of the debtor’s interest       04/24/2017


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 WHEATSTONE CORPORATION
            State what the contract or     Amendment Dated 07/01/2017
                                                                                 600 INDUSTRIAL DRIVE
            lease is for and the nature
2.1645                                                                           NEW BERN, NC 28562
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 WHITE PLAINS PLAZA REALTY LLC
            State what the contract or     Office/Studio Lease - New York RCS
                                                                                 1 N BROADWAY
            lease is for and the nature    HQ, 445 Hamilton Avenue, Suite 210,
2.1646                                                                           SUITE 125
            of the debtor’s interest       White Plains, NY 10601
                                                                                 WHITE PLAINS, NY 10601


            State the term remaining
            List the contract number of
            any government contract
                                                                                 WIDEN ENTERPRISES INC.
            State what the contract or     Statement of Work: Digital Asset
                                                                                 6911 MANGROVE LANE
            lease is for and the nature    Management Services Dated
2.1647                                                                           MADISON, WI 53713
            of the debtor’s interest       06/15/2016


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 WIDEN ENTERPRISES INC.
            State what the contract or     Master Service Agreement Dated
                                                                                 6911 MANGROVE LANE
            lease is for and the nature    01/01/2014
2.1648                                                                           MADISON, WI 53713
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 WIDEN ENTERPRISES INC.
            State what the contract or     Master Service Agreement Dated
                                                                                 6911 MANGROVE LANE
            lease is for and the nature    06/10/2014
2.1649                                                                           MADISON, WI 53713
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                 WIDEN ENTERPRISES INC.
            State what the contract or     Amendment N. 5552 Dated
                                                                                 6911 MANGROVE LANE
            lease is for and the nature    09/18/2017
2.1650                                                                           MADISON, WI 53713
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                WIDEN ENTERPRISES, INC.
            State what the contract or     Statement of Work: Digital Asset
                                                                                6911 MANGROVE LANE
            lease is for and the nature    Management Services Dated
2.1651                                                                          MADISON, WI 53713
            of the debtor’s interest       05/30/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WIDEN ENTERPRISES, INC.
            State what the contract or     Statement of Work: Digital Asset
                                                                                6911 MANGROVE LANE
            lease is for and the nature    Management Services Dated
2.1652                                                                          MADISON, WI 53713
            of the debtor’s interest       05/30/2014


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WILSON HR, A WILSONHCG COMPANY
            State what the contract or     Contract for Services Dated
                                                                                400 NORTH ASHLEY DRIVE
            lease is for and the nature    09/06/2012
2.1653                                                                          SUITE 3000
            of the debtor’s interest
                                                                                TAMPA , FL 33602


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WILSON HUMAN CAPITAL GROUP D/B/A WILSONHCG
            State what the contract or     Master Services Agreement Dated
                                                                                400 NORTH ASHLEY DRIVE
            lease is for and the nature    07/01/2012
2.1654                                                                          SUITE 300
            of the debtor’s interest
                                                                                TAMPA, FL 33602


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WILSON HUMAN CAPITAL GROUP, LLC (D/B/A DBA WILSONHCG)
            State what the contract or     Statement of Work Dated 01/03/2012
                                                                                400 NORTH ASHLEY DRIVE
            lease is for and the nature
2.1655                                                                          SUITE 3000
            of the debtor’s interest
                                                                                TAMPA, FL 33602


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WILSON HUMAN CAPITAL GROUP, LLC (D/B/A DBA WILSONHCG)
            State what the contract or     Fee Agreement Dated 07/01/2012
                                                                                400 NORTH ASHLEY DRIVE
            lease is for and the nature
2.1656                                                                          SUITE 3000
            of the debtor’s interest
                                                                                TAMPA, FL 33602


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WINDSTREAM COMMUNICATIONS, LLC
            State what the contract or     Service Terms and Conditions Dated
                                                                                ATTN: CORRESPONDENCE DIVISION
            lease is for and the nature    02/23/2016
2.1657                                                                          1720 GALLERIA BLVD.
            of the debtor’s interest
                                                                                CHARLOTTE, NC 28270


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                WORKATO, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                ATTN: MARKUS ZIRN
            lease is for and the nature    12/19/2017
2.1658                                                                          VP BUSINESS DEVELOPMENT
            of the debtor’s interest
                                                                                20450 STEVENS CREEK BLVD
                                                                                #150
                                                                                CUPERTINO, CA 95014
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WORKDAY, INC.
            State what the contract or     Order Form #00106789.0 Dated
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    06/12/2016
2.1659                                                                          6230 STONERIDGE MALL ROAD
            of the debtor’s interest
                                                                                PLEASANTON , CA 94588


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WORKDAY, INC.
            State what the contract or     Amendment 1 to the Master
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    Subscription Agreement Dated
2.1660                                                                          6230 STONERIDGE MALL ROAD
            of the debtor’s interest       06/30/2016
                                                                                PLEASANTON , CA 94588


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WORKDAY, INC.
            State what the contract or     Statement of Work #104792 Dated
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    06/06/2016
2.1661                                                                          6230 STONERIDGE MALL ROAD
            of the debtor’s interest
                                                                                PLEASANTON , CA 94588


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WORKDAY, INC.
            State what the contract or     Mutual confidentiality and Non-
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    Disclosure Agreement Dated
2.1662                                                                          6230 STONERIDGE MALL ROAD
            of the debtor’s interest       11/26/2012
                                                                                PLEASANTON , CA 94588


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WORKDAY, INC.
            State what the contract or     Statement of Work Dated 04/29/2015
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature
2.1663                                                                          6230 STONERIDGE MALL ROAD
            of the debtor’s interest
                                                                                PLEASANTON , CA 94588


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                WORKDAY, INC.
            State what the contract or     Consulting and Training Addendum
                                                                                ATTN: GENERAL COUNSEL
            lease is for and the nature    and Amendment to Master
2.1664                                                                          6230 STONERIDGE MALL ROAD
            of the debtor’s interest       Subscription Agreement Dated
                                                                                PLEASANTON , CA 94588
                                           02/25/2014

            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               WORKDAY, INC.
            State what the contract or     Invoice Dated 01/10/2017
                                                                               6230 STONERIDGE MALL ROAD
            lease is for and the nature
2.1665                                                                         PLEASANTON , CA 94588
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WORKDAY, INC.
            State what the contract or     Master Subscription Agreement
                                                                               6230 STONERIDGE MALL ROAD
            lease is for and the nature    Dated 06/02/2013
2.1666                                                                         PLEASANTON , CA 94588
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WORLD WIDE TECHNOLOGIES INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               60 WELDON PARKWAY
            lease is for and the nature    08/04/2016
2.1667                                                                         ST. LOUIS, MO 63043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WORLD WIDE TECHNOLOGY INC.
            State what the contract or     Invoice Dated 12/29/2016
                                                                               60 WELDON PARKWAY
            lease is for and the nature
2.1668                                                                         ST. LOUIS, MO 63043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WORLD WIDE TECHNOLOGY INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               60 WELDON PARKWAY
            lease is for and the nature    08/04/2016
2.1669                                                                         ST. LOUIS, MO 63043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WORLD WIDE TECHNOLOGY INC.
            State what the contract or     Invoice Dated 01/30/2017
                                                                               60 WELDON PARKWAY
            lease is for and the nature
2.1670                                                                         ST. LOUIS, MO 63043
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/29/2016
2.1671                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               WRIKE INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    08/11/2016
2.1672                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/30/2016
2.1673                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     Change Order Form No. 2 Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/29/2017
2.1674                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/30/2016
2.1675                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/29/2016
2.1676                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/30/2016
2.1677                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                               100 WEST EVELYN STREET
            lease is for and the nature    09/29/2016
2.1678                                                                         MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                            Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                WRIKE INC.
            State what the contract or     SAAS Subscription Agreement Dated
                                                                                100 WEST EVELYN STREET
            lease is for and the nature    09/29/2016
2.1679                                                                          MOUNTAIN VIEW, CA 94041
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                X BY 2, LLC
            State what the contract or     Non-Disclosure Agreement Dated
                                                                                35055 WEST 12 MILE RD.
            lease is for and the nature    04/14/2016
2.1680                                                                          STE 220
            of the debtor’s interest
                                                                                FARMINGTON HILL, MI 48331


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                                7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1681                                                                          SUITE 940
            of the debtor’s interest
                                                                                SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                Y&L CONSULTING
            State what the contract or     Services Letter Agreement Dated
                                                                                7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1682                                                                          SUITE 940
            of the debtor’s interest
                                                                                SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                                7550IH 10 WEST
            lease is for and the nature    07/06/2012
2.1683                                                                          SUITE 940
            of the debtor’s interest
                                                                                SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                Y&L CONSULTING
            State what the contract or     Statement of Work Dated 07/16/2012
                                                                                7550IH 10 WEST
            lease is for and the nature
2.1684                                                                          SUITE 940
            of the debtor’s interest
                                                                                SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                                Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                                7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1685                                                                          SUITE 940
            of the debtor’s interest
                                                                                SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                           Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                               7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1686                                                                         SUITE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                               7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1687                                                                         SUITE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                               7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1688                                                                         SUITE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                               7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1689                                                                         SUITE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                               7550IH 10 WEST
            lease is for and the nature    08/29/2011
2.1690                                                                         SUITE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               Y&L CONSULTING
            State what the contract or     Consulting Work Order Dated
                                                                               7550IH 10 WEST
            lease is for and the nature    07/16/2012
2.1691                                                                         SUITE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                               Y&L CONSULTING, INC.
            State what the contract or     Letter Agreement Dated 06/16/2009
                                                                               7550 IH-10 WEST
            lease is for and the nature
2.1692                                                                         STE 940
            of the debtor’s interest
                                                                               SAN ANTONIO , TX 78229


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                          Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              YOTASCALE INC.
            State what the contract or     SAAS Services Agreement Dated
                                                                              68 WILLOW ROAD
            lease is for and the nature    06/20/2017
2.1693                                                                        MENLO PARK, CA 94025
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              YOTASCALE INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                              ATTN: ASIM RAZZAQ
            lease is for and the nature    05/22/2017
2.1694                                                                        68 WILLOW ROAD
            of the debtor’s interest
                                                                              MENLO PARK, CA 94025


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              ZOOMPH, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                              ATTN: KYLE ANDREWS
            lease is for and the nature    03/01/2017
2.1695                                                                        CONTROLLER
            of the debtor’s interest
                                                                              1856 OLD RESTON AVE
                                                                              #215
                                                                              RESTON, VA 20190
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              ZVT INC. LIMITED
            State what the contract or     Non-Disclosure Agreement Dated
                                                                              ATTN: DAVID SANDBERG
            lease is for and the nature    09/01/2017
2.1696                                                                        PARTNER MANAGER
            of the debtor’s interest
                                                                              1A ARCADE HOUSE
                                                                              TEMPLE FORTUNE
                                                                              LONDON NW11 7TL
            State the term remaining       Undetermined                       UNITED KINGDOM
            List the contract number of
            any government contract
                                                                              ZYCUS INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                              ATTN: MICHAEL PRZYBYSZ
            lease is for and the nature    04/27/2017
2.1697                                                                        VICE PRESIDENT, SALES
            of the debtor’s interest
                                                                              103 CARNEGIE CENTER
                                                                              SUITE #201
                                                                              PRINCETON, NJ 08540
            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              ZYNBIT.COM, INC
            State what the contract or     Subscription Agreement Dated
                                                                              3124 ZEBULON ROAD
            lease is for and the nature    04/20/2017
2.1698                                                                        ROCKY MOUNT, NC 27804
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                              ZYNBIT.COM, INC
            State what the contract or     Software License Agreement Dated
                                                                              3124 ZEBULON ROAD
            lease is for and the nature    04/21/2017
2.1699                                                                        ROCKY MOUNT, NC 27804
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartMedia Management Services, Inc.                                        Case number (if known) 18-31301 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            ZYNBIT.COM, INC.
            State what the contract or     Data Security Addendum Dated
                                                                            3124 ZEBULON ROAD
            lease is for and the nature    04/20/2017
2.1700                                                                      ROCKY MOUNT, NC 27804
            of the debtor’s interest


            State the term remaining       Undetermined
            List the contract number of
            any government contract
                                                                            ZYNBIT.COM, INC.
            State what the contract or     Non-Disclosure Agreement Dated
                                                                            ATTN: PHIL DIXON
            lease is for and the nature    04/06/2017
2.1701                                                                      CEO
            of the debtor’s interest
                                                                            3124 ZEBULON RD.
                                                                            ROCKY MOUNT, NC 27804
            State the term remaining       Undetermined
            List the contract number of
            any government contract




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         iHeartMedia Management Services, Inc.

                                Southern                       Texas,
                                                               Houston
                     18-31301 (MI)                             Divison




X




CC Broadcast Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                              X




Katz Communications, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                              X




AMFM Operating, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                              X




AMFM Radio Licenses, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.   X




AMFM Texas Broadcasting,      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
LP
                                                                                              X




AMFM Texas Licenses, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                              X




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Debtor          iHeartMedia Management Services, Inc.                                  Case number (if known) 18-31301 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                    Column 2: Creditor


            Name                           Mailing address                                         Name                        Check all schedules
                                                                                                                               that apply:

2.7    Katz Net Radio Sales, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.8    M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.9    Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.10   Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.11   TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.12   TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.13   iHeartMedia + Entertainment, 20880 STONE OAK PKWY       SAN ANTONIO, TX 78258          CITIBANK, N.A.
       Inc.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.14   iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.15   iHM Identity, Inc.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.16   Katz Communications, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.17   Katz Media Group, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G


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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.18   Katz Millennium Sales &      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       Marketing, Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.19   Clear Channel Investments,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.20   Clear Channel Metro, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.21   Clear Channel Mexico         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       Holdings, Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.22   Clear Channel Real Estate,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       LLC
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.23   Critical Mass Media, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.24   iHeartCommunications, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.25   Christal Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.26   Cine Guarantors II, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.27   Citicasters Co.              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.28   Citicasters Licenses, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G


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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                          Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.29   Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
       Licenses, Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.30   Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.31   AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.32   Capstar Radio Operating        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
       Company
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.33   Capstar TX, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.34   CC Broadcast Holdings, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.35   CC Finco Holdings, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
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2.36   CC Licenses, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.37   AMFM Broadcasting, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.38   AMFM Operating, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.39   AMFM Broadcasting              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
       Licenses, LLC                                                                         COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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Debtor          iHeartMedia Management Services, Inc.                                  Case number (if known) 18-31301 (MI)
               Name




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         Column 1: Codebtor                                                                    Column 2: Creditor


            Name                           Mailing address                                         Name                        Check all schedules
                                                                                                                               that apply:

2.40   AMFM Radio Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.41   AMFM Texas Broadcasting,         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
       LP                                                                                     COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.42   AMFM Texas Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.43   Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.44   Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.45   TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.46   TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
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2.47   iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
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2.48   iHM Identity, Inc.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.49   Katz Communications, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.50   Katz Media Group, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.51   Katz Millennium Sales &      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Marketing, Inc.                                                                       COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.52   Katz Net Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
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                                                                                                                               X E/F
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2.53   Clear Channel Investments,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Inc.                                                                                  COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.54   Clear Channel Metro, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
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                                                                                                                               X E/F
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2.55   Clear Channel Mexico         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Holdings, Inc.                                                                        COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.56   Clear Channel Real Estate,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       LLC                                                                                   COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.57   Critical Mass Media, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.58   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Inc.                                                                                  COMPANY
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                                                                                                                               X E/F
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2.59   Christal Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
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                                                                                                                               X E/F
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2.60   Cine Guarantors II, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.61   Citicasters Co.              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.62   Citicasters Licenses, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.63   Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
       Licenses, Inc.                                                                        COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.64   Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
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2.65   AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
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                                                                                                                               X E/F
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2.66   Capstar Radio Operating        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
       Company                                                                               COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.67   Capstar TX, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
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2.68   CC Broadcast Holdings, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
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                                                                                                                               X E/F
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2.69   CC Finco Holdings, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.70   CC Licenses, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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2.71   M Street Corporation           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.72   CC Licenses, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.73   Capstar TX, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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2.74   CC Broadcast Holdings, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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2.75   CC Finco Holdings, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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2.76   AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.77   Capstar Radio Operating        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
       Company                                                                               INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.78   Citicasters Licenses, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.79   Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
       Licenses, Inc.                                                                        INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.80   Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.81   Clear Channel Investments,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
       Inc.                                                                                  INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.82   Cine Guarantors II, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.83   Citicasters Co.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.84   M Street Corporation         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.85   Premiere Networks, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.86   AMFM Radio Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.87   AMFM Texas Broadcasting,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
       LP                                                                                    INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.88   Katz Media Group, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.89   Katz Millennium Sales &      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
       Marketing, Inc.                                                                       INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.90   Clear Channel Metro, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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2.91   Clear Channel Mexico         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
       Holdings, Inc.                                                                        INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.92   Clear Channel Real Estate,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
       LLC                                                                                   INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.93   Critical Mass Media, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.94   iHeartCommunications, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
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                                                                                                                              that apply:

2.95   Christal Radio Sales, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.96   AMFM Broadcasting               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
       Licenses, LLC                                                                         INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.97   AMFM Broadcasting, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.98   AMFM Operating, Inc.            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.99   AMFM Texas Licenses, LLC        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.100 Katz Net Radio Sales, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.101 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.102 TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.103 TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.104 iHeartMedia + Entertainment, 20880 STONE OAK PKWY       SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
      Inc.                                                                                   INC.
                                                                                                                               X D
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2.105 iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
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                                                                                                                              that apply:

2.106 iHM Identity, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.107 Katz Communications, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
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2.108 Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
      Licenses, Inc.
                                                                                                                                 D
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2.109 Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
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2.110 Christal Radio Sales, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
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2.111 Cine Guarantors II, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
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2.112 Critical Mass Media, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
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2.113 TTWN Media Networks, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
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2.114 TTWN Networks, LLC             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
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2.115 iHeartMedia Capital I, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
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2.116 iHM Identity, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
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                                                                                                                              that apply:

2.117 Katz Communications, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
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2.118 Katz Media Group, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
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2.119 Katz Millennium Sales &      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
      Marketing, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
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2.120 Katz Net Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.121 Clear Channel Investments,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.122 Clear Channel Metro, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.123 Clear Channel Mexico         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
      Holdings, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.124 Clear Channel Real Estate,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
      LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.125 CC Finco Holdings, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.126 CC Licenses, LLC             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.127 Capstar TX, LLC              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                          Mailing address                                         Name                        Check all schedules
                                                                                                                              that apply:

2.128 CC Broadcast Holdings, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.129 AMFM Texas, LLC                  20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.130 iHeartMedia + Entertainment, 20880 STONE OAK PKWY       SAN ANTONIO, TX 78258          UMB BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.131 Citicasters Co.                  20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.132 Citicasters Licenses, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.133 Capstar Radio Operating          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
      Company
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.134 AMFM Texas Broadcasting,         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
      LP
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.135 AMFM Texas Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.136 M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.137 Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.138 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                          Mailing address                                         Name                        Check all schedules
                                                                                                                              that apply:

2.139 AMFM Broadcasting, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.140 AMFM Operating, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.141 AMFM Radio Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.142 AMFM Broadcasting                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
      Licenses, LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.143 Katz Net Radio Sales, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.144 TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.145 M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.146 Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.147 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.148 Clear Channel Metro, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.149 Clear Channel Investments,       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.150 Katz Millennium Sales &       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Marketing, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.151 Katz Media Group, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.152 Katz Communications, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.153 iHM Identity, Inc.            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.154 iHeartMedia Capital I, LLC    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.155 TTWN Networks, LLC            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.156 CC Licenses, LLC              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.157 CC Finco Holdings, LLC        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.158 CC Broadcast Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.159 Capstar TX, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.160 Capstar Radio Operating       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Company
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.161 Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.162 AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.163 Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
      Licenses, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.164 Citicasters Licenses, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.165 Citicasters Co.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.166 Cine Guarantors II, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.167 Christal Radio Sales, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.168 iHeartMedia + Entertainment, 20880 STONE OAK PKWY     SAN ANTONIO, TX 78258            US BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.169 Critical Mass Media, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.170 Clear Channel Real Estate,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
      LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.171 Clear Channel Mexico           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
      Holdings, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                         Mailing address                                           Name                        Check all schedules
                                                                                                                              that apply:

2.172 AMFM Texas Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.173 AMFM Texas Broadcasting,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              US BANK
      LP
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.174 AMFM Radio Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.175 AMFM Operating, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.176 AMFM Broadcasting, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.177 AMFM Broadcasting            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              US BANK
      Licenses, LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.178 iHeartCommunications, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              WHITE PLAINS PLAZA REALTY
                                                                                             LLC
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G

2.179 AMFM Operating, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.180 AMFM Radio Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.181 AMFM Texas Broadcasting,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              WILMINGTON TRUST
      LP
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.182 AMFM Texas Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258              WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartMedia Management Services, Inc.                                 Case number (if known) 18-31301 (MI)
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            Name                          Mailing address                                         Name                        Check all schedules
                                                                                                                              that apply:

2.183 M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.184 Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.185 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.186 TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.187 TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.188 iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.189 iHM Identity, Inc.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.190 Katz Communications, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.191 Katz Media Group, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.192 Katz Millennium Sales &          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
      Marketing, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.193 Katz Net Radio Sales, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.194 Clear Channel Investments,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.195 Clear Channel Metro, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.196 Clear Channel Mexico          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Holdings, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.197 Clear Channel Real Estate,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.198 Critical Mass Media, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.199 iHeartMedia + Entertainment, 20880 STONE OAK PKWY    SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
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2.200 Christal Radio Sales, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.201 Cine Guarantors II, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.202 Citicasters Co.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
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2.203 Citicasters Licenses, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.204 Clear Channel Broadcasting    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Licenses, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
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           Name                         Mailing address                                           Name                        Check all schedules
                                                                                                                              that apply:

2.205 Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
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2.206 AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.207 Capstar Radio Operating        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
      Company
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.208 Capstar TX, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.209 CC Broadcast Holdings, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
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2.210 CC Finco Holdings, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
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2.211 CC Licenses, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.212 AMFM Broadcasting              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
      Licenses, LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.213 AMFM Broadcasting, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
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    iHeartMedia Management Services, Inc.

                           Southern                     Texas,
                                                        Houston
              18-31301 (MI)                             Divison




X

X

X

X

X

X




            5/14/2018                       /s/ Scott D. Hamilton




                                            Scott D. Hamilton


                                            Senior Vice President, Chief Accounting Officer and Assistant Secretary




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